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                EXHIBIT A
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                                                                                                                                    US010951680B2

 ( 12) United States Patent                                                                       ( 10) Patent No .:                           US 10,951,680 B2
      Brueck et al .                                                                              (45 ) Date of Patent :                                   * Mar . 16 , 2021

 (54) APPARATUS, SYSTEM , AND METHOD FOR                                                ( 56 )                                       References Cited
        MULTI -BITRATE CONTENT STREAMING
                                                                                                                           U.S. PATENT DOCUMENTS
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 (72) Inventors: David F. Brueck , Saratoga Springs, UT                                                                                 (Continued )
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                   (US ) ; R. Drew Major , Orem , UT (US )
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 ( 73 ) Assignee: DISH Technologies L.L.C. ,                                            EP                                        0365683 A1     5/1990
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 ( * ) Notice:      Subject to any disclaimer, the term of this                                                 OTHER PUBLICATIONS
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                                                                                                                                        (Continued )
 (21 ) Appl. No .: 16 /876,604
 (22) Filed :      May 18, 2020                                                         Primary Examiner Chirag R Patel
                                                                                        (74 ) Attorney, Agent, or Firm — Lorenz & Kopf LLP
 ( 65 )               Prior Publication Data
        US 2020/0280595 A1 Sep. 3 , 2020                                                ( 57 )                                         ABSTRACT
               Related U.S. Application Data                                            An apparatus for multi - bitrate content streaming includes a
 ( 63 ) Continuation of application No. 16 /004,056, filed on                           receiving module configured to capture media content, a
       Jun. 8 , 2018 , now Pat. No. 10,659,513 , which is a                             streamlet module configured to segment the media content
                         (Continued )                                                   and generate a plurality of streamlets, and an encoding
                                                                                        module configured to generate a set of streamlets . The
 (51 ) Int. Ci.                                                                         system includes the apparatus, wherein the set of streamlets
       H04L 29/06               ( 2006.01 )                                             comprises a plurality of streamlets having identical time
        H04L 12/927             ( 2013.01 )                                             indices and durations, and each streamlet of the set of
                          (Continued )                                                  streamlets having a unique bitrate, and wherein the encoding
 ( 52 ) U.S. CI .                                                                       module comprises a master module configured to assign an
        CPC        H04L 65/607 (2013.01 ) ; G06F 16/183                                 encoding job to one of a plurality of host computing modules
                         (2019.01 ) ; G06F 16/71 ( 2019.01 ) ;                          in response to an encoding job completion bid . A method
                       ( Continued )                                                    includes receiving media content, segmenting the media
 (58) Field of Classification Search                                                    content and generating a plurality of streamlets, and gener
      CPC                 HO4N 19/34 ; HO4N 19/40 ; H04N
                                                                                        ating a set of streamlets .
                                21/234327 ; HO4N 21/2662 ;
                          (Continued )                                                                                    29 Claims , 11 Drawing Sheets
                                              100



                                                                                                   Client
                                                                                                   Module
                                                                                                    114


                                                                  108                              End User
                                                     Publisher                   108                 104


                                               Web Server
                                                    116
                                                                             Internet
                                                                               106                                  Proxy Cache
                                                                                                                        118
                                                            108
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                                                                  . 108
                                                     Web Server
                                                          116                                              Proxy Cache
                                                                                                              118




                                                      120                                                           120
                                                                                Content Module
                                                                                       1112
                                                                                     Web Server
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                                                                          Content Server
                                                                               102
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               65/1069 ( 2013.01 ) ; H04L 65/4069 ( 2013.01 ) ;                                                                375 /240.08
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  100



         1
                                                                Client
                                                                Module
                                                                 114


                               108
                                                                End User
        Publisher                              108                104
              110


    Web Server
       116
                                           Internet
                                             106                                  Proxy Cache
                                                                                        118
                    108
                                                                   108
                                 108
         Web Server
               116                                                       Proxy Cache
                                                                            118




             120                                                                  120
                                              Content Module
                                                      112
                                                   Web Server
                                                      116


                                       Content Server
                                             102




                                       FIG . 1
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                                          200



                                  FIG . 2a


                                      Playback Time Duration

                                                204


                                                206
 202



                                                208




                                FIG . 2b
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                                                    302




              0      1       2         3      4      5          6         7      8         :         n




          303 303     303     303      303    303       303         303   303        303       303

                                        FIG . 3a
                                                     200

                    306a               306b             -306c                 306d         306n



  204 –       304                304              304                 304                  re        304



 206          304                304              304                 304                            304




 208 -        304                304              304                 304                            304




                                        FIG . 3b
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     EndUser 114                      Web Server 116


                         306
                                      Streamlt Da bse   408


                                                                                                            FIG
                                                                                                            4
                                                                                                            .
                        MCondtuel Encoder Module 406
                               112
                                212
                                                                              Metad Datbse414


                                      MStreamlt odule 404                     MMetad anger412
                                      RecivngModule     402


     Publisher   110
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     tq? E?TŠ?áchl? tá?Šú?Ù
      &
      ³??ñ?³
      [
      S?
      „
                              114                           Web Server 116                                                Host ?&ht?l.?KŠ?
                                    |
                                    ?




                                                                                                                          Host 6?úÑÙ?³ ?á
                                                            Streamlt Da bse   408

                                                                                                                          Host 504
                                        MCondtuel   112                                             Master Module 502                        FIG
                                                                                                                                             5a
                                                                                                                                             .
                                                                                                                          Host 504

                                                            Streamlt Module 404                                           Host 504

                                                            RecivngModule 402             EMnocduler 406                  Host 504

      Publisher 110
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   306d
                                   |3040c3
   306c |||3||04dcb1 |3I04cb04 3||||040b5
                    |||3|||04dcba2
   306b |3||04cba3
   306a 304a1 304a 304a5
                                                                                 502d
                                                                          502c                 5b
                                                                                               .
                                                                                               FIG
                                                              5025
          303n            EncodingTime             502a

         303e
         303d
         303c
         303b
         303a
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             QVT
             600

             QMX
             602a                                           QVT
                                                            600


             QMX
             602b                                           QMX
                                                            602

             QMX
             602c

                                                         FIG . 6b
         FIG . 6a
                                        QVT
                                        600

                            End                          Publisher
            Start                              Live
                                                           Data
             604            606                608
                                                            610

                       Bitrate Values
                             616                         Encryption
             Frame Size               Channels              612
                618                     620

               Codecs                 Sample Rate
                 622                     624              Duration
                                                            614
                        Frames Parser
                            626


                                 FIG . 6C
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                                                     15
                                                                                                             7




                                                      102345
                                                                                                                            13

                                                                                          304
                                 MSotadguilneg 709                304                                         151
                                                                                                                            ||10
                                                                                                                      191
   114   MCAongdtreulntr   702                                                  MCStoardecumhlet704 CStarecmhlt 710   .
                                                                                                                      14
                                                                                                                             12
                                                                                                                                    CNMoentdrwulek 706   7
                                                                                                                                                         .
                                                                                                                                                         FIG
                                                                    304
                                               !
                                               T                                                                      181
                                                                                                               6
                                                                                         304                               111
                                                                                                                           |||
                                                     View r 708

                                                                          WServber 116
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               800


                                                 Start
                                                  802



                                           Receive Content
                                                 804



                                         Generate streamlets
                                                808



                                          Encode Streamlets
                                                810



                                           Store Streamlets
                                                  812


                                           Serve Streamlets
                                                 814



                                                  End
                                                  816




                                             FIG . 8
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                                  2               Sheet 10 of 11          US 10,951,680 B2

              Start                        902                             900


     Provide Agent Controller
             Module                               904



        Request Streamlet                         906


                                  908

            Streamlet                            Request Streamlet from
         Stored Locally?                            Streamlet Server                916
                                      No
                                                  Archive Streamlet in
                                                        Cache                       918

     Retrieve Streamlet From
             Cache                                910



           Rate Shift ?                           911


       Arrange Streamlets                         912



        Deliver Streamlet                         914


               End                         920


                                      FIG . 9
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              Start                  1002
                                                                               1000

        Receive Streamlet               1004


        Monitor Receive
              Time                      1006


            Generate
          Performance                   1008
             Factor


                                1010                             1016
                                                                                         1017

            Upshift ?          Yes          Sustain Upshift      Yes           Upshift
                                               Quality?

                  No                                  No
                               1012
                                                                        1018

           Downshift ?         Yes             Downshift



                  No
                               1014

   No    End of Stream ?


                  Yes
                                 1016
              End
                                                                 FIG . 10
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                                                     US 10,951,680 B2
                                1                                                                    2
     APPARATUS, SYSTEM, AND METHOD FOR                                 Streaming offers the advantage of immediate access to the
      MULTI - BITRATE CONTENT STREAMING                             content but currently sacrifices quality compared with down
                                                                    loading a file of the same content. Streaming also provides
           CROSS - REFERENCES TO RELATED                            the opportunity for a user to select different content for
                       APPLICATIONS                               5
                                                                    viewing on an ad hoc basis , while downloading is by
                                                                    definition restricted to receiving a specific content selection
   This application is a continuation of U.S. patent applica-         in its entirety or not at all . Downloading also supports
 tion Ser. No. 16/ 004,056 filed on Jun . 8 , 2018 , which is a       rewind, fast forward, and direct seek operations, while
 continuation of U.S. patent application Ser. No. 15 / 414,025 streaming is unable to fully support these functions. Stream
 ( now U.S. Pat . No. 9,998,516 ) filed on Jan. 24 , 2017 , which 10 is also vulnerable to network failures or congestion .
 is a continuation of U.S. patent application Ser. No. 14/719 , ingAnother        technology , known as “ progressive downloads , ”
 122 filed on May 21 , 2015 , which is a continuation of U.S. attempts to combine the strengths of the above two tech
 patent application Ser. No. 14 / 106,051 filed on Dec. 13 , nologies . When a progressive download is initiated , the
 2013 (now U.S. Pat . No. 9,071,668 ) , which is a continuation media file download begins , and the media player waits to
 of U.S.patent application Ser. No. 13 / 617,114 , filed on Sep. 15 begin    playback until there is enough of the file downloaded
 14 , 2012 ( now U.S. Pat. No. 8,612,624 ) , which is a con that playback             can begin with the hope that the remainder of
 tinuation of U.S.patent Ser. No. 12 / 906,940 filed on Oct. 18 , the file will be       completely downloaded before playback
 2010 (now U.S. Pat . No. 8,402,156 ) , which is a continuation
 of U.S.patent application Ser. No. 11 / 673,483 , filed on Feb. “ catches up .” This waiting period before playback can be
 9 , 2007 (now U.S. Pat . No. 7,818,444 ) , which is a continu- 20 substantial depending on network conditions, and therefore
 ation - in - part of application Ser. No. 11 / 116,783 , filed on is not a complete or fully acceptable solution to the problem
 Apr. 28 , 2005 (now U.S. Pat . No. 8,868,772 ) , which claims of Generally
                                                                         media presentation over a network .
                                                                                   , three basic challenges exist with regard to data
 the benefit of U.S. Provisional Application No. 60/ 566,831 ,
 filed on Apr. 31 , 2004 , all of which are incorporated herein transport streaming over a network such as the Internet that
 by reference .                                                   25 has a varying amount of data loss . The first challenge is
                                                                     reliability. Most streaming solutions use a TCP connection ,
             BACKGROUND OF THE INVENTION                             or “ virtual circuit , ” for transmitting data . A TCP connection
                                                                     provides a guaranteed delivery mechanism so that data sent
                        Field of the Invention                       from one endpoint will be delivered to the destination, even
                                                                  30 if portions are lost and retransmitted . A break in the conti
     The invention relates to video streaming over packet nuity of a TCP connection can have serious consequences
 switched networks such as the Internet, and more particu when the data must be delivered in real- time. When a
 larly relates to adaptive - rate shifting of streaming content network adapter detects delays or losses in a TCP connec
 over such networks.                                                 tion , the adapter “ backs off from transmission attempts for
                                                                  35 a moment and then slowly resumes the original transmission
                    Description of the Related Art                   pace . This behavior is an attempt to alleviate the perceived
                                                                     congestion . Such a slowdown is detrimental to the viewing
     The Internet is fast becoming a preferred method for or listening experience of the user and therefore is not
 distributing media files to end users . It is currently possible acceptable .
 to download music or video to computers, cell phones , or 40 The second challenge to data transport is efficiency.
 practically any network capable device . Many portable Efficiency refers to how well the user's available bandwidth
 media players are equipped with network connections and is used for delivery of the content stream . This measure is
 enabled to play music or videos . The music or video files directly related to the reliability of the TCP connection .
 (hereinafter “ media files ” ) can be stored locally on the media When the TCP connection is suffering reliability problems,
 player or computer, or streamed or downloaded from a 45 a loss of bandwidth utilization results . The measure of
 server.                                                             efficiency sometimes varies suddenly, and can greatly
     “ Streaming media ” refers to technology that delivers impact the viewing experience.
 content at a rate sufficient for presenting the media to a user        The third challenge is latency. Latency is the time mea
 in real time as the data is received . The data may be stored sure form the client's point -of -view , of the interval between
 in memory temporarily until played and then subsequently 50 when a request is issued and the response data begins to
 deleted . The user has the immediate satisfaction of viewing arrive. This value is affected by the network connection's
 the requested content without waiting for the media file to reliability and efficiency, and the processing time required
 completely download . Unfortunately, the audio / video qual- by the origin to prepare the response . A busy or overloaded
 ity that can be received for real time presentation is con- server, for example, will take more time to process a request.
 strained by the available bandwidth of the user's network 55 As well as affecting the start time of a particular request,
 connection . Streaming may be used to deliver content on latency has a significant impact on the network throughput
 demand (previously recorded ) or from live broadcasts.              of TCP.
     Alternatively, media files may be downloaded and stored            From the foregoing discussion, it should be apparent that
 on persistent storage devices , such as hard drives or optical a need exists for an apparatus, system , and method that
 storage, for later presentation. Downloading complete media 60 alleviate the problems of reliability, efficiency, and latency.
 files can take large amounts of time depending on the Additionally, such an apparatus, system , and method would
 network connection . Once downloaded, however, the con- offer instantaneous viewing along with the ability to fast
 tent can be viewed repeatedly anytime or anywhere. Media forward, rewind, direct seek, and browse multiple streams.
 files prepared for downloading usually are encoded with a Beneficially, such an apparatus, system , and method would
 higher quality audio / video than can be delivered in real time . 65 utilize multiple connections between a source and destina
 Users generally dislike this option , as they tend to want to tion , requesting varying bitrate streams depending upon
 see or hear the media file instantaneously.                          network conditions .
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                                                     US 10,951,680 B2
                               3                                                                   4
             SUMMARY OF THE INVENTION                               Furthermore , the method may include converting the
                                                                  media content to raw audio or raw video , and segmenting the
    The present invention has been developed in response to content media into a plurality of sequential streamlets. The
 the present state of the art, and in particular, in response to method further comprises assigning an encoding job to one
 the problems and needs in the art that have not yet been fully 5 of a plurality of host computing modules in response to an
 solved by currently available content streaming systems. encoding job completion bid , and submitting an encoding
 Accordingly, the present invention has been developed to job completion bid based on a plurality of computing
 provide an apparatus, system , and method for adaptive -rate variables.
 content streaming that overcome many or all of the above- 10 Reference throughout this specification to features,
 discussed shortcomings in the art.                               advantages, or similar language does not imply that all of the
    The apparatus for adaptive -rate content streaming is pro- features and advantages that may be realized with the
 vided with a logic unit containing a plurality of modules present invention should be or are in any single embodiment
 configured to functionally execute the necessary steps . of the invention . Rather, language referring to the features
 These modules in the described embodiments include a 15 and advantages is understood to mean that a specific feature ,
 receiving module configured to receive media content, a advantage, or characteristic described in connection with an
 streamlet module configured to segment the media content            embodiment is included in at least one embodiment of the
 and generate a plurality of sequential streamlets, and an           present invention . Thus, discussion of the features and
 encoding module configured to encode each streamlet as a advantages, and similar language, throughout this specifi
 separate content file .                                       20 cation may , but do not necessarily , refer to the same embodi
    The encoding module is further configured to generate a ment.
 set of streamlets for each of the sequential streamlets. Each       Furthermore, the described features , advantages, and
 streamlet may comprise a portion of the media content characteristics of the invention may be combined in any
 having a predetermined length of time . The predetermined suitable manner in one or more embodiments. One skilled in
 length of time may be in the range ofbetween about 0.1 and 25 the relevant art will recognize that the invention may be
 5 seconds.                                                          practiced without one or more of the specific features or
    In one embodiment, a set of streamlets comprises a advantages of a particular embodiment. In other instances ,
 plurality of streamlets having identical time indices, and additional features and advantages may be recognized in
 each streamlet of the set of streamlets has a unique bitrate . certain embodiments that may not be present in all embodi
 The receiving module is configured to convert the media 30 ments of the invention .
 content to raw audio or raw video . The encoding module           These features and advantages of the present invention
 may include a master module configured to assign an will become more fully apparent from the following descrip
 encoding job to one of a plurality of host computing modules tion and appended claims , or may be learned by the practice
 in response to an encoding job completion bid . The job of the invention as set forth hereinafter.
 completion bid may be based on a plurality of computing 35
 variables selected from a group consisting of current encod                BRIEF DESCRIPTION OF THE DRAWINGS
 ing job completion percentage, average encoding job
 completion time , processor speed , and physical memory                In order that the advantages of the invention will be
 capacity.                                                           readily understood, a more particular description of the
    A system of the present invention is also presented for 40 invention briefly described above will be rendered by ref
 adaptive -rate content streaming. In particular, the system , in erence to specific embodiments that are illustrated in the
 one embodiment, includes a receiving module configured to appended drawings. Understanding that these drawings
 receive media content, a streamlet module configured to depict only typical embodiments of the invention and are not
 segment the media content and generate a plurality of therefore to be considered to be limiting of its scope , the
 sequential streamlets, each streamlet comprising a portion of 45 invention will be described and explained with additional
 the media content having a predetermined length of time , specificity and detail through the use of the accompanying
 and an encoding module configured to encode each stream- drawings, in which :
 let as a separate content file and generate a set of streamlets.       FIG . 1 is a schematic block diagram illustrating one
     The system also includes a plurality of streamlets having embodiment of a system for dynamic rate shifting of stream
 identical time indices and each streamlet of the set of 50 ing content in accordance with the present invention;
 streamlets having a unique bitrate . The encoding module               FIG . 2a is a schematic block diagram graphically illus
 comprises a master module configured to assign an encoding trating one embodiment of a media content file ;
 job to one of a plurality of host computing modules in                 FIG . 2b is a schematic block diagram illustrating one
 response to an encoding job completion bid .                        embodiment of a plurality of streams having varying degrees
    A method of the present invention is also presented for 55 of quality and bandwidth ;
 adaptive - rate content streaming. In one embodiment, the              FIG . 3a is a schematic block diagram illustrating one
 method includes receiving media content, segmenting the embodiment of a stream divided into a plurality of source
 media content and generating a plurality of sequential streamlets ;
 streamlets, and encoding each streamlet as a separate content          FIG . 3b is a schematic block diagram illustrating one
 file .                                                           60 embodiment of sets of streamlets in accordance with the
     The method also includes segmenting the media content present invention ;
 into a plurality of streamlets , each streamlet comprising a           FIG . 4 is a schematic block diagram illustrating in greater
 portion of the media content having a predetermined length detail one embodiment of the content module in accordance
 of time . In one embodiment, the method includes generating with the present invention ;
 a set of streamlets comprising a plurality of streamlets 65 FIG . 5a is a schematic block diagram illustrating one
 having identical time indices, and each streamlet of the set embodiment of an encoder module in accordance with the
 of streamlets having a unique bitrate .                             present invention;
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                                                      US 10,951,680 B2
                                5                                                                    6
    FIG . 56 is a schematic block diagram illustrating one similar language throughout this specification may, but do
 embodiment of parallel encoding of streamlets in accor- not necessarily, all refer to the same embodiment.
 dance with the present invention :                                    Reference to a signal bearing medium may take any form
    FIG . 6a is a schematic block diagram illustrating one capable of generating a signal, causing a signal to be
 embodiment of a virtual timeline in accordance with the 5 generated, or causing execution of a program of machine
 present invention ;                                                readable instructions on a digital processing apparatus. A
    FIG . 6b is a schematic block diagram illustrating an signal bearing medium may be embodied by a transmission
 alternative embodiment of a VT in accordance with the line, a compact disk , digital-video disk , a magnetic tape , a
 present invention :                                                Bernoulli drive, a magnetic disk , a punch card, flash
    FIG . 6c is a schematic block diagram illustrating one 10 memory , integrated circuits, or other digital processing
 embodiment of a QMX in accordance with the present apparatus memory device. In one embodiment, a computer
 invention;                                                         program product including a computer useable medium
    FIG . 7 is a schematic block diagram graphically illustrat- having a computer readable program of computer instruc
 ing one embodiment of a client module in accordance with 15 tions stored thereon that when executed on a computer
 the present invention :                                            causes the computer to carry out operations for multi- bitrate
    FIG . 8 is a schematic flow chart diagram illustrating one content streaming as described herein .
 embodiment of a method for processing content in accor-               Furthermore, the described features, structures, or char
 dance with the present invention ;                                 acteristics of the invention may be combined in any suitable
    FIG . 9 is a schematic flow chart diagram illustrating one 20 manner in one or more embodiments . In the following
 embodiment of a method for viewing a plurality of stream- description, numerous specific details are provided , such as
 lets in accordance with the present invention ; and                examples of programming, software modules , user selec
    FIG . 10 is a schematic flow chart diagram illustrating one tions , network transactions, database queries, database struc
 embodiment of a method for requesting streamlets within an tures, hardware modules , hardware circuits, hardware chips ,
 adaptive -rate shifting content streaming environment in 25 etc. , to provide a thorough understanding of embodiments of
 accordance with the present invention.                             the invention . One skilled in the relevant art will recognize,
                                                                    however, that the invention may be practiced without one or
             DETAILED DESCRIPTION OF THE                            more of the specific details, or with other methods, compo
                          INVENTION                                 nents, materials, and so forth . In other instances , well - known
                                                                 30 structures, materials, or operations are not shown or
    Many of the functional units described in this specifica- described in detail to avoid obscuring aspects of the inven
 tion have been labeled as modules, in order to more par- tion .
 ticularly emphasize their implementation independence . For           FIG . 1 is a schematic block diagram illustrating one
 example, a module may be implemented as a hardware embodiment of a system 100 for dynamic rate shifting of
 circuit comprising custom VLSI circuits or gate arrays, 35 streaming content in accordance with the present invention .
 off- the-shelf semiconductors such as logic chips, transistors , In one embodiment, the system 100 comprises a content
 or other discrete components. A module may also be imple- server 102 and an end user station 104. The content server
 mented in programmable hardware devices such as field 102 and the end user station 104 may be coupled by a data
 programmable gate arrays, programmable array logic , pro- communications network . The data communications net
 grammable logic devices or the like .                           40 work may include the Internet 106 and connections 108 to
    Modules mayalso be implemented in software for execu-           the Internet 106. Alternatively, the content server 102 and
 tion by various types of processors. An identified module of the end user 104 may be located on a common local area
 executable code may , for instance , comprise one or more network, wireless area network , cellular network , virtual
 physical or logical blocks of computer instructions which local area network , or the like. The end user station 104 may
 may, for instance, be organized as an object, procedure , or 45 comprise a personal computer ( PC ) , an entertainment sys
 function . Nevertheless , the executables of an identified tem configured to communicate over a network , or por
 module need not be physically located together, but may table electronic device configured to present content. For
 comprise disparate instructions stored in different locations example, portable electronic devices may include, but are
 which , when joined logically together, comprise the module not limited to , cellular phones , portable gaming systems, and
 and achieve the stated purpose for the module .                 50 portable computing devices .
    Indeed, a module of executable code may be a single                In the depicted embodiment, the system 100 also includes
 instruction , or many instructions, and may even be distrib- a publisher 110 , and a web server 116. The publisher 110
 uted over several different code segments , among different may be a creator or distributor of content. For example, if the
 programs, and across several memory devices. Similarly, content to be streamed were a broadcast of a television
 operational data may be identified and illustrated herein 55 program , the publisher 110 may be a television or cable
 within modules , and may be embodied in any suitable form network channel such as NBC® , or MTV® . Content may be
 and organized within any suitable type of data structure . The transferred over the Internet 106 to the content server 102 ,
 operational data may be collected as a single data set, or may where the content is received by a content module 112. The
 be distributed over different locations including over differ- content module 112 may be configured to receive , process,
 ent storage devices , and may exist, at least partially, merely 60 and store content. In one embodiment, processed content is
 as electronic signals on a system or network .                     accessed by a client module 114 configured to play the
    Reference throughout this specification to “ one embodi- content on the end user station 104. In a further embodiment,
 ment,” “ an embodiment. ” or similar language means that a the client module 114 is configured to receive different
 particular feature , structure , or characteristic described in portions of a content stream from a plurality of locations
 connection with the embodiment is included in at least one 65 simultaneously. For example , the client module 114 may
 embodiment of the present invention . Thus, appearances of request and receive content from any of the plurality of web
 the phrases " in one embodiment," " in an embodiment,” and           servers 116 .
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                               7                                                                  8
   Content from the content server 102 may be replicated to           As described above , the duration of one streamlet 304
 other web servers 116 or alternatively to proxy cache servers may be approximately two seconds . Likewise each set 306
 118. Replicating may occur by deliberate forwarding from may comprise a plurality of streamlets 304 where each
 the content server 102 , or by a web , cache , or proxy server streamlet 304 has a playable duration of two seconds .
 outside of the content server 102 asking for content on 5 Alternatively, the duration of the streamlet 304 may be
 behalf of the client module 114. In a further embodiment, predetermined or dynamically variable depending upon a
 content may be forwarded directly to web 116 or proxy 118 variety of factors including, but not limited to , network
 servers through direct communication channels 120 without congestion , system specifications, playback resolution and
 the need to traverse the Internet 106 .                            quality, etc. In the depicted embodiment, the content 200
   FIG. 2a is a schematic block diagram graphically illus- 10 may   be formed
                                                              sets 306        of theonplurality
                                                                       may depend      the lengthofof
                                                                                                   setsthe306. The200
                                                                                                           content number  of
                                                                                                                      and the
 trating one embodiment of a media content (hereinafter             length or duration of each streamlet 304 .
 " content ") file 200. In one embodiment, the content file 200       FIG . 4 is a schematic block diagram illustrating in greater
 is distributed by the publisher 110. The content file 200 may      detail one embodiment of the content module 112 in accor
 comprise a television broadcast, sports event, movie,music, 15 dance with the present invention. The content module 112
 concert, etc. The content file 200 may also be live or            may comprise a capture module 402 , a streamlet module
 archived content. The content file 200 may comprise uncom-        404 , an encoder module 406 , a streamlet database 408 , and
 pressed video and audio , or alternatively, video or audio .      the web server 116. In one embodiment, the capture module
 Alternatively, the content file 200 may be compressed using 402 is configured to receive the content file 200 from the
 standard or proprietary encoding schemes . Examples of 20 publisher 110. The capture module 402 may be configured to
 encoding schemes capable of use with the present invention “ decompress ” the content file 200. For example, if the
 include , but are not limited to , DivX® , Windows Media content file 200 arrives having been encoded with one of the
 Video® , Quicktime Sorenson 3® , On2, OGG Vorbis, MP3 , above described encoding schemes , the capture module 402
 or Quicktime 6.5 /MPEG - 4® encoded content.                      may convert the content file 200 into raw audio and /or video .
    FIG . 2b is a schematic block diagram illustrating one 25 Alternatively, the content file 200 may be transmitted by the
 embodiment of a plurality of streams 202 having varying publisher in a format 110 that does not require decompres
 degrees of quality and bandwidth . In one embodiment, the sion .
 plurality of streams 202 comprises a low quality stream 204 ,        The capture module 402 may comprise a capture card
 a medium quality stream 206 , and a high quality stream 208 . configured for TV and / or video capture. One example of a
 Each of the streams 204 , 206 , 208 is a copy of the content 30 capture card suitable for use in the present invention is the
 file 200 encoded and compressed to varying bit rates . For DRC - 2500 by Digital Rapids of Ontario , Canada . Alterna
 example , the low quality stream 204 may be encoded and tively, any capture card capable of capturing audio and video
 compressed to a bit rate of 100 kilobits per second ( kbps ), may be utilized with the present invention . In a further
 the medium quality stream 206 may be encoded and com- embodiment, the capture module 402 is configured to pass
 pressed to a bit rate of 200 kbps, and the high quality stream 35 the content file to the streamlet module 404 .
 208 may be encoded and compressed to 600 kbps.                       The streamlet module 404 , in one embodiment, is con
    FIG . 3a is a schematic block diagram illustrating one figured to segment the content file 200 and generate source
 embodiment of a stream 302 divided into a plurality of streamlets 303 that are not encoded . As used herein , the term
 source streamlets 303. As used herein , streamlet refers to " segment” refers to an operation to generate a streamlet of
 any sized portion of the content file 200. Each streamlet 303 40 the content file 200 having a duration or size equal to or less
 may comprise a portion of the content contained in stream than the duration or size of the content file 200. The
 302 , encapsulated as an independent media object. The streamlet module 404 may be configured to segment the
 content in a streamlet 303 may have a unique time index in content file 200 into streamlets 303 each having an equal
 relation to the beginning of the content contained in stream duration . Alternatively, the streamlet module 404 may be
 302. In one embodiment, the content contained in each 45 configured to segment the content file 200 into streamlets
 streamlet 303 may have a duration of two seconds . For 303 having equal file sizes .
 example, streamlet 0 may have a time index of 00:00                  The encoding module 406 is configured to receive the
 representing the beginning of content playback, and stream- source streamlets 303 and generate the plurality of streams
 let 1 may have a time index of 00:02 , and so on . Alterna- 202 of varying qualities. The original content file 200 from
 tively, the time duration of the streamlets 304 may be any 50 the publisher may be digital in form and may comprise
 duration smaller than the entire playback duration of the content having a high bit rate such as , for example , 2 mbps.
 content in stream 302. In a further embodiment, the stream-        The content may be transferred from the publisher 110 to the
 lets 303 may be divided according to file size instead of a        content module 112 over the Internet 106. Such transfers of
 time index and duration .                                          data are well known in the art and do not require further
   FIG. 3b is a schematic block diagram illustrating one 55 captured
 embodiment of sets 306 of streamlets in accordance with the
                                                            discussionbroadcast
                                                                        herein. Alternatively
                                                                                 .
                                                                                             , the content may comprise a
 present invention. As used herein , the term “ set ” refers to a   In a further embodiment, the encoding module 406 is
 group of streamlets having identical time indices and dura- configured to generate a plurality of sets 306 of streamlets
 tions but varying bitrates. In the depicted embodiment, the 304. The sets 306 , as described above with reference to FIG .
 set 306a encompasses all streamlets having a time index of 60 3b , may comprise streamlets having an identical time index
 00:00 . The set 306a includes encoded streamlets 304 having and duration, and a unique bitrate. As with FIG . 3b , the sets
 low, medium , and high 204 , 206 , 208 bitrates. Of course 306 and subsequently the plurality of streams 202 may
 each set 306 may include more than the depicted three comprise the low quality stream 204 , the medium quality
 bitrates which are given by way of example only. One stream 206 , and the high quality stream 208. Alternatively,
 skilled in the art will recognize that any number of streams 65 the plurality of streams 202 may comprise any number of
 having different bitrates may be generated from the original streams deemed necessary to accommodate end user band
 content 200 .                                                      width .
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   The encoder module 406 is further configured to encode            streamlet 303 to produce a raw streamlet. As used herein , the
 each source streamlet 303 into the plurality of streams 202        term " raw streamlet ” refers to a streamlet 303 that is
 and streamlet sets 306 and store the streamlets in the             uncompressed or lightly compressed to substantially reduce
 streamlet database 408. The encoding module 406 may size with no significant loss in quality. A lightly compressed
 utilize encoding schemes such as DivX® , Windows Media 5 raw streamlet can be transmitted more quickly and to more
 Video 9® , Quicktime 6.5 Sorenson 3® , or Quicktime 6.5 / hosts . Each host 504 is coupled with the master 502 and
 MPEG - 4® . Alternatively, a custom encoding scheme may configured to receive a raw streamlet from the master 502
 be employed.                                                           for encoding. The hosts 504 , in one example , generate a
     The content module 112 may also include a metadata plurality of streamlets 304 having identical time indices and
 module 412 and a metadata database 414. In one embodi- 10 durations, and varying bitrates. Essentially each host 504
 ment, metadata comprises static searchable content infor- may be configured to generate a set 306 from the raw
 mation . For example, metadata includes , but is not limited streamlet 503 sent from the master 502. Alternatively, each
 to , air date of the content, title , actresses, actors , length , and host 504 may be dedicated to producing a single bitrate in
 episode name . Metadata is generated by the publisher 110 , order to reduce the time required for encoding .
 and maybe configured to define an end user environment. In 15 Upon encoding completion , the host 504 returns the set
 one embodiment, the publisher 100 may define an end user 306 to the master 502 so that the encoding module 406 may
 navigational environment for the content including menus ,      store the set 306 in the streamlet database 408. The master
 thumbnails, sidebars, advertising, etc. Additionally , the pub- 502 is further configured to assign encoding jobs to the hosts
 lisher 110 may define functions such as fast forward , rewind, 504. Each host is configured to submit an encoding job
 pause , and play that may be used with the content file 200. 20 completion bid ( hereinafter “ bid ” ). The master 502 assigns
 The metadata module 412 is configured to receive the encoding jobs depending on the bids from the hosts 504 .
 metadata from the publisher 110 and store the metadata in Each host 504 generates a bid depending upon a plurality of
 the metadata database 414. In a further embodiment, the computing variables which may include, but are not limited
 metadata module 412 is configured to interface with the to , current encoding job completion percentage, average job
 client module 114 , allowing the client module 114 to search 25 completion time, processor speed and physical memory
 for content based upon at least one of a plurality of metadata capacity.
 criteria. Additionally, metadata may be generated by the          For example, a host 504 may submit a bid that indicates
 content module 112 through automated process (es ) or          that based on past performance history the host 504 would
 manual definition .                                            be able to complete the encoding job in 15 seconds . The
    Once the streamlets 304 have been received and pro- 30 master 502 is configured to select from among a plurality of
 cessed , the client module 114 may request streamlets 304 bids the best bid and subsequently submit the encoding job
 using HTTP from the web server 116. Using a standard to the host 504 with the best bid . As such , the described
 protocol such as HTTP eliminates the need for network encoding system does not require that each host 504 have
 administrators to configure firewalls to recognize and pass identical hardware but beneficially takes advantage of the
 through network traffic for a new , specialized protocol. 35 available computing power of the hosts 504. Alternatively,
 Additionally, since the client module 114 initiates the the master 502 selects the host 504 based on a first come first
 request, the web server 116 is only required to retrieve and serve basis , or some other algorithm deemed suitable for a
 serve the requested streamlet 304. In a further embodiment, particular encoding job .
 the client module 114 may be configured to retrieve stream-       The time required to encode one streamlet 304 is depen
 lets 304 from a plurality of web servers 116 .              40 dent upon the computing power of the host 504 , and the
    Each web server 116 may be located in various locations encoding requirements of the content file 200. Examples of
 across the Internet 106. The streamlets 304 may essentially encoding requirements may include, but are not limited to ,
 be static files . As such , no specialized media server or two or multi -pass encoding, and multiple streams of differ
 server - side intelligence is required for a client module 114 to ent bitrates. One benefit of the present invention is the ability
 retrieve streamlets 304. Streamlets 304 may be served by the 45 to perform two -pass encoding on a live content file 200 .
 web server 116 or cached by cache servers of Internet Typically, in order to perform two - pass encoding prior art
 Service Providers (ISPs ) , or any other network infrastructure     systems must wait for the content file to be completed before
 operators, and served by the cache server. Use of cache             encoding .
 servers is well known to those skilled in the art, and will not       The present invention , however, segments the content file
 be discussed further herein . Thus, a highly scalable solution 50 200 into source streamlets 303 and the two - pass encoding to
 is provided that is not hindered by massive amounts of client a plurality of streams 202 may be performed on each
 module 114 requests to the web server 116 at any specific corresponding raw streamlet without waiting for a TV show
 location , especially the web server 116 most closely asso- to end , for example. As such , the content module 112 is
 ciated with or within the content module 112                      capable of streaming the streamlets over the Internet shortly
   FIG. 5a is a schematic block diagram illustrating one 55 file
 embodiment of an encoder module 406 in accordance with
                                                            after200.
                                                                  the content module 112 begins capture of the content
                                                                       The delay between a live broadcast transmitted
 the present invention . In one embodiment, the encoder from the publisher 110 and the availability of the content
 module 406 may include a master module 502 and a depends on the computing power of the hosts 504 .
 plurality of host computing modules ( hereinafter “ host" )      FIG . 5b is a schematic block diagram illustrating one
 504. The hosts 504 may comprise personal computers, 60 embodiment of parallel encoding of streamlets in accor
 servers, etc. In a further embodiment, the hosts 504 may be dance with the present invention . In one example, the
 dedicated hardware, for example , cards plugged into a single capture module 402 ( of FIG . 4 ) begins to capture the content
 computer.                                                     file and the streamlet module 404 generates a first streamlet
    The master module (hereinafter “ master ” ) 502 is config- 303a and passes the streamlet to the encoding module 406 .
 ured to receive streamlets 303 from the streamlet module 65 The encoding module 406 may take 10 seconds , for
 404 and stage the streamlet 303 for processing. In one example, to generate the first set 306? of streamlets 304a
 embodiment, the master 502 may decompress each source (304al , 304a2 , 304a3 , etc. represent streamlets 304 of
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 different bitrates ). FIG . 5b illustrates the encoding process time - selective manner so that streamlets are processed at
 generically as block 502 to graphically illustrate the time regular time intervals and transmitted at these time intervals.
 duration required to process a raw or lightly encoded stream-        Returning now to FIG . 5a , as depicted , the master 502 and
 let 303 as described above with reference to the encoding the hosts 504 may be located within a single local area
 module 406. The encoding module 406 may simultaneously 5 network , or in other terms, the hosts 504 may be in close
 process more than one streamlet 303 , and processing of physical proximity to the master 502. Alternatively, the hosts
 streamlets will begin upon arrival of the streamlet from the 504 may receive encoding jobs from the master 502 over the
 capture module 402 .                                              Internet or other communications network. For example,
    During the 10 seconds required to encode the first stream- 10 consider a live sports event in a remote location where it
 let 303a , the streamlet module 404 has generated five would be difficult to setup multiple hosts . In this example, a
 additional 2 - second streamlets 303b , 303c , 303d, 303e , 3035, master performs no encoding or alternatively light encoding
 for encoding and the master 502 has prepared and staged the before publishing the streamlets online. The hosts 504 would
 corresponding raw streamlets. Two seconds after the first set then retrieve those streamlets and encode the streamlets into
 306? is available the next set 306b is available , and so on . 15 the multiple bitrate sets 306 as described above .
 As such, the content file 200 is encoded for streaming over         Furthermore, hosts 504 may be dynamically added or
 the Internet and appears live . The 10 second delay is given removed from the encoding module without restarting the
 herein by way of example only. Multiple hosts 504 may be encoding job and / or interrupting the publishing of stream
 added to the encoding module 406 in order to increase the lets . If a host 504 experiences a crash or some failure, its
 processing capacity of the encoding module 406. The delay 20 encoding work is simply reassigned to another host .
 may be shortened to an almost unperceivable level by the            The encoding module 406 , in one embodiment, may also
 addition of high CPU powered systems , or alternatively be configured to produce streamlets that are specific to a
 multiple low powered systems .                                   particular playback platform . For example, for a single raw
   A system as described above beneficially enables multi- streamlet, a single host 504 may produce streamlets for
 pass encoding of live events . Multi - pass encoding systems 25 different quality levels for personal computer playback ,
 of the prior art require that the entire content be captured (or streamlets for playback on cell phones with a different,
 be complete ) because in order to perform multi -pass encod- proprietary codec , a small video -only streamlet for use when
 ing the entire content must be scanned and processed more playing just a thumbnail view of the stream (like in a
 than once . This is impossible with prior art systems because programming guide) , and a very high quality streamlet for
 content from a live event is not complete until the event is 30 use in archiving.
 over. As such , with prior art systems, multi -pass encoding        FIG . 6a is a schematic block diagram illustrating one
 can only be performed once the event is over. Streamlets,          embodiment of a virtual timeline 600 in accordance with the
 ho ver, may be encoded as many times as is deemed                  present invention. In one embod ent, the virtual timeline
 necessary . Because the streamlet is an encapsulated media 600 comprises at least one quantum media extension 602 .
 object of 2 seconds ( for example ), multi -pass encoding may 35 The quantum media extension (hereinafter “ QMX ” ) 602
 begin on a live event once the first streamlet is captured. describes an entire content file 200. Therefore , the virtual
 Shortly after multi -pass encoding of the first streamlet 303a timeline (hereinafter “ VT ” ) 600 may comprise a file that is
 is finished , multi -pass encoding of the second streamlet configured to define a playlist for a user to view . For
 303b finishes, and as such multi - pass encoding is performed example, the VT may indicate that the publisher desires a
 on a live event and appears live to a viewer.                   40 user to watch a first show QMX 602a followed by QMX
    Any specific encoding scheme applied to a streamlet may 602b and QMX 602c . As such , the publisher may define a
 take longer to complete than the time duration of the broadcast schedule in a manner similar to a television
 streamlet itself, for example, a very high quality encoding of station .
 a 2 - second streamlet may take 5 seconds to finish . Alterna-       FIG . 6b is a schematic block diagram illustrating an
 tively, the processing time required for each streamlet may 45 alternative embodiment of a VT 600 in accordance with the
 be less than the time duration of a streamlet. However, present invention . In the depicted embodiment, the VT 600
 because the offset parallel encoding of successive streamlets may include a single QMX 602 which indicates that the
 are encoded by the encoding module at regular intervals publisher desires the same content to be looped over and
 (matching the intervals at which the those streamlets are over again . For example, the publisher may wish to broad
 submitted to the encoding module 406 , for example 2 50 cast a never -ending infomercial on a website.
 seconds ) the output timing of the encoding module 406 does          FIG . 6c is a schematic block diagram illustrating one
 not fall behind the real - time submission rate of the unen- embodiment of a QMX 602 in accordance with the present
 coded streamlets . Conversely, prior art encoding systems invention . In one embodiment, the QMX 602 contains a
 rely on the very fastest computing hardware and software multitude of information generated by the content module
 because the systems must generate the output immediately 55 112 configured to describe the content file 200. Examples of
 in lock - step with the input. A prior art system that takes 2.1 information include , but are not limited to , start index 604 ,
 seconds to encode 2 seconds worth of content is considered end index 606 , whether the content is live 608 , proprietary
 a failure . The present invention allows for slower than publisher data 610 , encryption level 612 , content duration
 real - time encoding processes yet still achieves a real - time 614 and bitrate values 616. The bitrate values 616 may
 encoding effect due to the parallel offset pipes .              60 include frame size 618 , audio channel 620 information ,
    The parallel offset pipeline approach described with ref- codecs 622 used, sample rate 624 , and frames parser 626 .
 erence to FIG . 5b beneficially allows for long or short             A publisher may utilize the QVT 600 together with the
 encoding times without “ falling behind ” the live event. QMX 602 in order to prescribe a playback order for users ,
 Additionally, arbitrarily complex encoding of streamlets to or alternatively selectively edit content. For example, a
 multiple profiles and optimizations only lengthens the 65 publisher may indicate in the QMX 602 that audio should be
 encoding time 502 without a perceptible difference to a user       muted at time index 10:42 or video should be skipped for 3
 because the sets 306 of streamlets 304 are encoded in a            seconds at time index 18:35 . As such , the publisher may
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 selectively skip offensive content without the processingrewind capabilities , the streamlet cache module 704 is
 requirements of editing the content.                     configured to store the plurality of streamlets 304 in the
   FIG . 7 is a schematic block diagram graphically illustrat-
                                                          streamlet cache 710 for a specified time period after the
 ing one embodiment of a client module 114 in accordance  streamlet 304 has been viewed . However, once the stream
 with the present invention . The client module 114 may 5 lets 304 have been deleted, they may be requested again
 comprise an agent controller module 702 , a streamlet cache          from the web server 116 .
 module 704 , and a network controller module 706. In one               The network controller module 706 may be configured to
 embodiment, the agent controller module 702 is configured            receive streamlet requests from the streamlet cache module
 to interface with a viewer 708 , and transmit streamlets 304 704 and open a connection to the web server 116 or other
 to the viewer 708. Alternatively, the agent controller module 10 remote streamlet 304 database (not shown) . In one embodi
 702 may be configured to simply reassemble streamlets into ment, the network controller module 706 opens a TCP/IP
 a single file for transfer to an external device such as a connection to the web server 116 and generates a standard
 portable video player .                                          HTTP GET request for the requested streamlet 304. Upon
    In a further embodiment , the client module 114 may receiving the requested streamlet 304 , the network controller
 comprise a plurality of agent controller modules 702. Each 15 module 706 passes the streamlet 304 to the streamlet cache
 agent controller module 702 may be configured to interface module 704 where it is stored in the streamlet cache 710. In
 with one viewer 708. Alternatively, the agent controller a further embodiment, the network controller module 706 is
 module 702 may be configured to interface with a plurality configured to process and request a plurality of streamlets
 of viewers 708. The viewer 708 may be a media player (not 304 simultaneously. The network controller module 706
 shown ) operating on a PC or handheld electronic device . 20 may also be configured to request a plurality of streamlets,
    The agent controller module 702 is configured to select a where each streamlet 304 is subsequently requested in
 quality level of streamlets to transmit to the viewer 708. The multiple parts.
 agent controller module 702 requests lower or higher quality            In a further embodiment, streamlet requests may comprise
 streams based upon continuous observation of time intervals requesting pieces of any streamlet file . Splitting the stream
 between successive receive times of each requested stream- 25 let 304 into smaller pieces or portions beneficially allows for
 let . The method of requesting higher or lower quality an increased efficiency potential, and also eliminates prob
 streams will be discussed in greater detail below with lems associated with multiple full - streamlet requests sharing
 reference to FIG . 10 .                                              the bandwidth at any given moment. This is achieved by
     The agent controller module 702 may be configured to using parallel TCP/IP connections for pieces of the stream
 receive user commands from the viewer 708. Such com- 30 lets 304. Consequently, efficiency and network loss prob
 mands may include play, fast forward, rewind, pause , and lems are overcome , and the streamlets arrive with more
 stop . In one embodiment, the agent controller module 702 useful and predictable timing .
 requests streamlets 304 from the streamlet cache module                 In one em !            the client module 114 is configured
 704 and arranges the received streamlets 304 in a staging to use multiple TCP connections between the client module
 module 709. The staging module 709 may be configured to 35 114 and the web server 116 or web cache . The intervention
 arrange the streamlets 304 in order of ascending playback of a cache may be transparent to the client or configured by
 time . In the depicted embodiment, the streamlets 304 are the client as a forward cache. By requesting more than one
 numbered 0 , 1 , 2 , 3 , 4 , etc. However, each streamlet 304 may streamlet 304 at a time in a manner referred to as “ parallel
 be identified with a unique filename.                                retrieval, ” or more than one part of a streamlet 304 at a time ,
    Additionally, the agent controller module 702 may be 40 efficiency is raised significantly and latency is virtually
 configured to anticipate streamlet 304 requests and pre- eliminated . In a further embodiment, the client module
 request streamlets 304. By pre -requesting streamlets 304 , allows a maximum of three outstanding streamlet 304
 the user may fast - forward, skip randomly, or rewind through requests. The client module 114 may maintain additional
 the content and experience no buffering delay. In a further open TCP connections as spares to be available should
 embodiment, the agent controller module 702 may request 45 another connection fail. Streamlet 304 requests are rotated
 the streamlets 304 that correspond to time index intervals of among all open connections to keep the TCP flow logic for
 30 seconds within the total play time of the content. Alter- any particular connection from falling into a slow - start or
 natively, the agent controller module 702 may request close mode . If the network controller module 706 has
 streamlets at any interval less than the length of the time requested a streamlet 304 in multiple parts, with each part
 index . This enables a “ fast- start " capability with no buffer- 50 requested on mutually independent TCP/IP connections, the
 ing wait when starting or fast - forwarding through content network controller module 706 reassembles the parts to
 file 200. In a further embodiment, the agent controller present a complete streamlet 304 for use by all other
 module 702 may be configured to pre - request streamlets 304 components of the client module 114 .
 corresponding to specified index points within the content or           When a TCP connection fails completely, a new request
 within other content in anticipation of the end user 104 55 may be sent on a different connection for the same streamlet
 selecting new content to view. In one embodiment, the 304. In a further embodiment, if a request is not being
 streamlet cache module 704 is configured to receive stream- satisfied in a timely manner,a redundant request may be sent
 let 304 requests from the agent controller module 702. Upon    on a different connection for the same streamlet 304. If the
 receiving a request, the streamlet cache module 704 first first streamlet request's response arrives before the redun
 checks a streamlet cache 710 to verify if the streamlet 304 60 dant request response , the redundant request can be aborted .
 is present. In a further embodiment, the streamlet cache If the redundant request response arrives before the first
 module 704 handles streamlet 304 requests from a plurality request response , the first request may be aborted.
 of agent controller modules 702. Alternatively, a streamlet        Several streamlet 304 requests may be sent on a single
 cache module 704 may be provided for each agent controller TCP connection, and the responses are caused to flow back
 module 702. If the requested streamlet 304 is not present in 65 in matching order along the same connection . This elimi
 the streamlet cache 410 , the request is passed to the network nates all but the first request latency. Because multiple
 controller module 706. In order to enable fast forward and responses are always being transmitted , the processing
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 latency of each new streamlet 304 response after the first is    FIG . 8 is a schematic flow chart diagram illustrating one
 not a factor in performance. This technique is known in the   embodiment of a method 800 for processing content in
 industry as " pipelining." Pipelining offers efficiency in    accordance with the present invention. In one embodiment
 request- response processing by eliminating most of the       the method 800 starts 802 , and the content module 112
 effects of request latency. However, pipelining has serious 5 receives 804 content from the publisher 110. Receiving
 vulnerabilities . Transmission delays affect all of the content 804 may comprise receiving 804 a digital copy of
 responses . If the single TCP connection fails, all of the the content file 200 , or digitizing a physical copy of the
 outstanding requests and responses are lost . Pipelining content       file 200. Alternatively, receiving 804 content may
                                                               comprise capturing a radio , television, cable, or satellite
 causes a serial dependency between the requests .
  Multiple TCP connections may be opened between the 10 broadcast
                                                        generates. 808
                                                                   Oncea received
                                                                         plurality 804
                                                                                   of ,source
                                                                                         the streamlet
                                                                                               streamletsmodule 404
                                                                                                           303 each
 client module 114 and the web server 116 to achieve the          having a fixed duration . Alternatively, the streamlets 303
 latency - reduction efficiency benefits of pipelining while      may be generated with a fixed file size .
 maintaining the independence of each streamlet 304 request.        In one embodiment, generating 808 streamlets comprises
 Several streamlet 304 requests may be sent concurrently, 15 dividing the content file 200 into a plurality of two second
 with each request being sent on a mutually distinct TCP streamlets 303. Alternatively, the streamlets may have any
 connection . This technique is labeled “ virtual pipelining ” length less than or equal to the length of the stream 202. The
 and is an innovation of the present invention . Multiple encoder module 406 then encodes 810 the streamlets 303
 responses may be in transit concurrently , assuring that into sets 306 of streamlets 304 , in a plurality of streams 202
 communication bandwidth between the client module 114 20 according to an encoding scheme . The quality may be
 and the web server 116 is always being utilized . Virtual predefined , or automatically set according to end user band
 pipelining eliminates the vulnerabilities of traditional pipe- width , or in response to pre -designated publisher guidelines
 lining . A delay in or complete failure of one response does      In a further embodiment, the encoding scheme comprises
 not affect the transmission of other responses because each a proprietary codec such as WMVI® . The encoder module
 response occupies an independent TCP connection. Any 25 406 then stores 812 the encoded streamlets 304 in the
 transmission bandwidth not in use by one of multiple              streamlet database 408. Once stored 812 , the web server 116
 responses (whether due to delays or TCP connection failure ) may then serve 814 the streamlets 304. In one embodiment,
 may be utilized by other outstanding responses.                   serving 814 the streamlets 304 comprises receiving stream
    A single streamlet 304 request may be issued for an entire let requests from the client module 114 , retrieving the
 streamlet 304 , or multiple requests may be issued , each for 30 requested streamlet 304 from the streamlet database 408 ,
 a different part or portion of the streamlet. If the streamlet is and subsequently transmitting the streamlet 304 to the client
 requested in several parts, the parts may be recombined by module 114. The method 800 then ends 816 .
 the client module 114 streamlet.                                     FIG . 9 is a schematic flow chart diagram illustrating one
    In order to maintain a proper balance between maximized embodiment of a method 900 for viewing a plurality of
 bandwidth utilization and response time , the issuance of new 35 streamlets in accordance with the present invention . The
 streamlet requests must be timed such that the web server method 900 starts and an agent controller module 702 is
 116 does not transmit the response before the client module provided 904 and associated with a viewer 708 and provided
 114 has fully received a response to one of the previously with a staging module 709. The agent controller module 702
 outstanding streamlet requests. For example, if three stream- then requests 906 a streamlet 304 from the streamlet cache
 let 304 requests are outstanding , the client module 114 40 module 704. Alternatively, the agent controller module 702
 should issue the next request slightly before one of the three may simultaneously request 906 a plurality of streamlets 304
 responses is fully received and “ out of the pipe.” In other the streamlet cache module 704. If the streamlet is stored
 words, request timing is adjusted to keep three responses in 908 locally in the streamlet cache 710 , the streamlet cache
 transit. Sharing of bandwidth among four responses dimin- module 704 retrieves 910 the streamlet 304 and sends the
 ishes the net response time of the other three responses. The 45 streamlet to the agent controller module 702. Upon retriev
 timing adjustment may be calculated dynamically by obser- ing 910 or receiving a streamlet, the agent controller module
 vation , and the request timing adjusted accordingly to main- 702 makes 911 a determination of whether or not to shift to
 tain the proper balance of efficiency and response times .        a higher or lower quality stream 202. This determination will
    The schematic flow chart diagrams that follow are gen- be described below in greater detail with reference to FIG .
 erally set forth as logical flow chart diagrams. As such , the 50 10 .
 depicted order and labeled steps are indicative of one               In one embodiment, the staging module 709 then arranges
 embodiment of the presented method . Other steps and 912 the streamlets 304 into the proper order, and the agent
 methods may be conceived that are equivalent in function , controller module 702 delivers 914 the streamlets to the
 logic , or effect to one or more steps, or portions thereof, of viewer 708. In a further embodiment, delivering 914 stream
 the illustrated method. Additionally, the format and symbols 55 lets
 employed are provided to explain the logical steps of the
                                                                      304 to the end user comprises playing video and or audio
                                                                 streamlets on the viewer 708. If the streamlets 304 are not
 method and are understood not to limit the scope of the stored 908 locally, the streamlet request is passed to the
 method. Although various arrow types and line types may be network controller module 706. The network controller
 employed in the flow chart diagrams, they are understood module 706 then requests 916 the streamlet 304 from the
 not to limit the scope of the corresponding method . Indeed , 60 web server 116. Once the streamlet 304 is received , the
 some arrows or other connectors may be used to indicate network controller module 706 passes the streamlet to the
 only the logical flow of the method. For instance , an arrow streamlet cache module 704. The streamlet cache module
 may indicate a waiting or monitoring period of unspecified 704 archives 918 the streamlet. Alternatively, the streamlet
 duration between enumerated steps of the depicted method . cache module 704 then archives 918 the streamlet and
 Additionally, the order in which a particular method occurs 65 passes the streamlet to the agent controller module 702 , and
 may or may not strictly adhere to the order of the corre-        the method 900 then continues from operation 910 as
 sponding steps shown .                                            described above.
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   Referring now to FIG . 10 , shown therein is a schematic              If the decision on whether or not to attempt upshift 1010
 flow chart diagram illustrating one embodiment of a method           is “ no ” , a decision about whether or not to downshift 1012
 1000 for requesting streamlets 304 within an adaptive -rate    is made . In one embodiment, a trigger threshold down is
 shifting content streaming environment in accordance with      defined in a manner analogous to up . If ( current> down then
 the present invention . The method 1000 may be used in one 5 the stream quality may be adequate , and the agent controller
 embodiment as the operation 911 of FIG . 9. The method module 702 does not downshift              1018 stream quality. How
 1000 starts and the agent controller module 702 receives ever, if ( currents down ? the agent controller module 702 does
 1004 a streamlet 304 as described above with reference to      downshift 1018 the stream quality . If the end of the stream
 FIG . 9. The agent controller module 702 then monitors 1006    has  not been reached 1014 , the agent controller module 702
 the receive time of the requested streamlet. In one embodi- 10 begins  to request and receive 1004 lower quality streamlets
                                                                and the method 1000 starts again . Of course , the above
 ment, the agent controller module 702 monitors the time described         equations and algorithms are illustrative only, and
 intervals A between successive receive times for each may be replaced             by alternative streamlet monitoring solu
 streamlet response . Ordering of the responses in relation to tions .
 the order of their corresponding requests is not relevant. 15 The present invention may be embodied in other specific
    Because network behavioral characteristics fluctuate, forms without departing from its spirit or essential charac
 sometimes quite suddenly, any given A may vary substan- teristics . The described embodiments are to be considered in
 tially from another. In order to compensate for this fluctua- all respects only as illustrative and not restrictive. The scope
 tion, the agent controller module 702 calculates 1008 a of the invention is , therefore, indicated by the appended
 performance ratio r across a window of n samples for 20 claims rather than by the foregoing description. All changes
 streamlets of playback length S. In one embodiment, the which come within the meaning and range of equivalency of
 performance ratio r is calculated using the equation :         the claims are to be embraced within their scope .
                                                                   What is claimed is :
                                                                   1. A system for adaptive -rate content streaming of video
                            r = S                                  25 playable on one or more end user stations over the Internet,
                                                                      the system comprising:
                                    SWI                              at least one processor executing non - transitory executable
                                                                        instructions for generating at least one virtual timeline
    Due to multiple simultaneous streamlet processing , and in 30 wherein the videoto the
                                                                        corresponding             video ;
                                                                                              encoded    at a plurality of different
 order to better judge the central tendency of the performance          bitrates  creating  a  plurality  of streams including a low
 ratio r , the agent controller module 702 may calculate a              quality   stream , a  medium     quality stream , and a high
 geometric mean , or alternatively an equivalent averaging              quality stream , the low quality stream , the medium
 algorithm , across a window of size m , and obtain a perfor            quality stream , and the high quality stream each com
 mance factor o :                                                 35    prising a group of streamlets encoded at a respective
                                                                        one of the plurality of different bitrates, each group of
                                          1                             streamlets comprising at least first and second stream
                         current =
                                   m
                                                                        lets , each of the streamlets corresponding to a portion
                                                                        of the video ;
                                                                  40 wherein at least one of the low quality stream , the medium
                                                                        quality stream , and the high quality stream is encoded
    The policy determination about whether or not to upshift            at a bitrate of no less than 600 kbps; and
 1010 playback quality begins by comparing current with a            wherein the first streamlet of each of the groups of
 trigger threshold up If ( current= 0up ' then an up shift to the       streamlets has the same first duration and encodes the
 next higher quality stream may be considered 1016. In one 45           same first portion of the video in each of the low quality
 embodiment, the trigger threshold up is determined by a                stream , the medium quality stream , and the high quality
 combination of factors relating to the current read ahead              stream , and wherein the first streamlet of the low
 margin ( i.e. the amount of contiguously available streamlets          quality stream encodes the same first portion of the
 that have been sequentially arranged by the staging module             video at a different bitrate than the first streamlet of the
 709 for presentation at the current playback time index ), and 50      high quality stream and the first streamlet of the
 a minimum safety margin. In one embodiment, the mini-                  medium quality stream .
 mum safety margin may be 24 seconds . The smaller the read          2. The system of claim 1 , wherein the processor is further
 ahead margin , the larger up is to discourage upshifting until for generating a plurality of virtual timelines wherein each
 a larger read ahead margin may be established to withstand virtual timeline corresponds to each of t the low quality
 network disruptions. If the agent controller module 702 is 55 stream , the medium quality stream , and the high quality
 able to sustain 1016 upshift quality, then the agent controller      stream .
 module 702 will upshift 1017 the quality and subsequently               3. The system of claim 1 , wherein the video is a live event
 request higher quality streams. The determination of                 video .
 whether use of the higher quality stream is sustainable 1016       4. The system of claim 1 , wherein the video includes
 is made by comparing an estimate of the higher quality 60 archived content.
 stream's performance factor, Phigher with ?? " If                  5. The system of claim 1 , wherein the second streamlet of
 Phigher Oup then use of the higher quality stream is consid- each of the groups of streamlets each has the same second
 ered sustainable. If the decision of whether or not the higher duration and corresponds to the same second portion of the
 stream rate is sustainable 1016 is “ no , " the agent controller video in the low quality stream , the medium quality stream ,
 module 702 will not attempt to upshift 1017 stream quality. 65 and the high quality stream , the second streamlet of the low
 If the end of the stream has been reached 1014 , the method          quality stream having the same bitrate as the first streamlet
 1000 ends 1016 .                                                     of the low quality stream .
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                               19                                                                  20
   6. The system of claim 5 , wherein the first and second                  establish one or more network connections between the
 durations are different.                                                     end user station and the server, wherein the server is
   7. The system of claim 1 , further comprising: a                           configured to access at least one of a plurality of
   plurality of web servers located at different locations 5                  groups of streamlets;
      across the internet, each web server configured to :                    wherein the video is encoded at a plurality of dif
      receive at least one streamlet request over one or more                   ferent bitrates to create a plurality of streams
      internet connections from the one or more end user                        including at least a low quality stream , a medium
      stations to retrieve the first streamlet storing a portion                quality stream , and a high quality stream , each of
      of the video , wherein the at least one streamlet request 10              the low quality stream , the medium quality
      from the one or more end user stations includes a                         stream , and the high quality stream comprising a
      request for a currently selected first streamlet from one                 group of streamlets encoded at the same respective
      of the low quality stream , the medium quality stream ,                   one of the different bitrates, each group compris
      and the high quality stream based upon a determination                    ing at least first and second streamlets, each of the
      by the end user station to select a higher or lower bitrate 15            streamlets corresponding to a portion of the video ;
      version of the streams; retrieve from the storage device                wherein at least one of the low quality stream , the
      the requested first streamlet from the currently selected                 medium quality stream , and the high quality
      one of the low quality stream , the medium quality                         stream is encoded at a bit rate of no less than 600
      stream , and the high quality stream ; and send the                       kbps; and wherein the first streamlets of each of
      retrieved first streamlet from the currently selected one 20              the low quality stream , the medium quality stream
      of the different copies to the requesting one of the end                  and the high quality stream each has an equal
      user stations over the one or more network connections .                  playback duration and each of the first streamlets
   8. The system of claim 1 , further comprising:                               encodes the same portion of the video at a different
   a first web server configured to :                                           one of the different bitrates;
   receive at least one virtual timeline request over the one 25           select a specific one of the low quality stream , the
      or more internet connections from the one or more end                   medium quality stream , and the high quality stream
      user stations to retrieve a virtual timeline ; and send the             based upon a determination by the end user station to
       virtual timeline to the requesting one of the end user                 select a higher or lower bitrate version of the
       stations over the one or more network connections.                     streams;
    9. The system of claim 8 , wherein the first web server is 30          place at least one virtual timeline request for at least
 further configured to :                                                      one virtual times based on the selected one of the he
    receive at least one streamlet request over one or more                   low quality stream , the medium quality stream , and
       internet connections from the one or more end user                     the high quality stream ; and
       stations to retrieve the first streamlet storing the first       receive the at least one virtual timeline .
       portion of the video ,                                     35 15. The end user station of claim 14 , wherein the non
    wherein the at least one streamlet request from the one or transitory machine - readable instructions that when
       more end user stations includes a request for a currently executed , further cause the processor to :
       selected first streamlet from one of the low quality          place one or more streamlet requests to the server over the
       stream , the medium quality stream , and the high quality        one or more network connections for the first streamlet
       stream based upon a determination by the end user 40             of the selected stream ; receive the requested first
       station to select a higher or lower bitrate version of the       streamlet from the server via the one or more network
       video ; retrieve from the storage device the requested           connections wherein the one or more streamlet requests
       first streamlet from the currently selected one of the           are based on the at least one virtual timeline ; and
       low quality stream , the medium quality stream , and the      provide the received first streamlet for playback of the
      high quality stream ; and send the retrieved first stream- 45        video .
      let from the currently selected one of the low quality             16. The end user station of claim 14 , wherein the second
       stream , the medium quality stream , and the high quality streamlet of each of the groups of streamlets each has the
       stream to the requesting one of the end user stations same second duration and corresponds to the same second
       over the one or more network connections.                    portion of the video in the low quality stream , the medium
    10. The system of claim 1 , wherein the at least one virtual 50 quality stream , and the high quality stream , the second
 timeline corresponds to the currently selected one of the low streamlet of the low quality stream having the same bitrate
 quality stream , the medium quality stream , and the high as the first streamlet of the low quality stream .
 quality stream .                                                    17. The end user station of claim 16 , wherein the first and
    11. The system of claim 1 , wherein the virtual timeline second durations are different.
 defines a playlist for a user to view .                       55    18. The end user station of claim 17 , wherein the virtual
    12. The system of claim 1 , wherein the virtual timeline timeline corresponds to the currently selected one of the low
 comprises a file that is configured to define a playlist for a quality stream , the medium quality stream , and the high
 user to view .                                                   quality stream .
    13. The system of claim 12 , wherein the virtual timeline        19. The end user station of claim 18 , wherein the virtual
 comprises at least one quantum media extension (QMX ). 60 timeline defines a playlist for a user to view .
   14. An end user station to stream a video over a network              20. The end user station of claim 14 , wherein the video is
 from a server for playback of the video, the content player           a live event video .
 device comprising:                                                       21. The end user station of claim 14 , wherein the video
   a processor ;                                             includes archived content.
   a digital processing apparatus memory device comprising 65 22. A process executable by one or more servers to stream
      non - transitory machine -readable instructions that, a video for playback by one or more end user stations , the
      when executed , cause the processor to :               process comprising:
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                               21                                                                      22
   storing , by the one or more servers , one or more virtual             24. The process of claim 22 , wherein the second streamlet
     timelines corresponding to a plurality of streams                  of each of the groups of streamlets each has the same second
     including a low quality stream , a medium quality                  duration and corresponds to the same second portion of the
                                                                        video in the low quality stream , the medium quality stream ,
      stream , and a high quality stream , wherein the low 5 and the high quality stream , the second streamlet of the low
      quality stream , the medium quality stream , and the high
      quality stream each comprise a group of streamlets quality                stream having the same bitrate as the first streamlet
      encoded at a respective one of a plurality of different of 25.     the low quality stream .
                                                                              The process of claim 22 , wherein the first and second
      bitrates, each group comprising at least first and second durations
      streamlets, each of the streamlets corresponding to a 10 26. Theareprocess         different.
                                                                                                of claim 22 , wherein the video is a live
      portion of the video ;
      wherein at least one of the low quality stream , the event              video .
                                                                        27. The process of claim 22 , wherein the video includes
         medium quality stream , and the high quality stream archived              content.
         is encoded at a bitrate of no less than 600 kbps; and          28.   A    process   executable by a content player device to
         wherein the first streamlet of each of the groups of
         streamlets has the same first duration and encodes 15 the    streamvideoa video  over   a network from a server for playback of
         the same first portion of the video in the low quality prising: by the content player device , the process com
         stream , the medium quality stream , and the high              establishing one or more network connections between
         quality stream , the first streamlet of the low quality             the content player device and the server ,
         stream having a different one of the different bitrates             wherein     the server accesses a plurality of streams
         than the first streamlet of the high quality stream and 20             including a low quality stream , a medium quality
         the first streamlet of the medium quality stream ;                     stream , and a high quality stream , wherein the low
   receiving at least one virtual timeline request over one or                  quality stream , the medium quality stream , and the
      more internet connections from the one or more end
      user stations to retrieve a virtual timeline correspond to                high quality stream each comprise a group of stream
      the first streamlet storing the first portion of the video , 25           lets encoded at a respective one of a plurality of
      wherein the at least one streamlet request from the one                   different   bitrates , each group comprising at least first
         or more end user stations includes a request for a                     and   second    streamlets, each of the streamlets corre
         currently selected first streamlet from one of the low                 sponding     to  a portion of the video ; wherein at least
         quality stream , the medium quality stream , and the                   one   of  the  low   quality stream , the medium quality
         high quality stream based upon a determination by 30                   stream , and the high quality stream is encoded at a
         the end user station to select a higher or lower bitrate               bitrate of no less than 600 kbps; and
         version of the video ;                                              wherein the first streamlet of each of the groups of
   retrieving from the storage device the requested virtual                     streamlets has the same first duration and encodes
      timeline for the currently selected one of the low                        the same first portion of the video in the low quality
      quality stream , the medium quality stream , and the high 35              stream , the medium quality stream , and the high
      quality stream ; and                                                      quality stream , the first streamlet of the low quality
      sending the retrieved virtual timeline to the requesting                  stream having a different bitrate than the first stream
         one of the end user stations over the one or more                      let of the high quality stream and the first streamlet
         network connections.                                                   of the medium quality stream ;
   23. The process of claim 22 , further comprising:               40   selecting    , by the content player device, a currently
   storing , by the one or more servers , a plurality of streams             selected    one of the low quality stream , the medium
      including a low quality stream , a medium quality                      quality stream , and the high quality stream based upon
      stream , and a high quality stream ; and                               a determination by the end user station to select a
   receiving at least one streamlet request over one or more 45 placing a orvirtual
                                                                             higher       lower bitrate version of the video ;
                                                                                                 time request over one or more internet
      internet connections from the one or more end user                     connections     from   the one or more end user stations to
      stations to retrieve the first streamlet storing the first             retrieve   at least   one  virtual timeline corresponding to
     portion of the video ,
   wherein the at least one streamlet request from the one or                the currently selected one of the low quality stream , the
      more end user stations includes a request for a currently              medium quality stream , and the high quality stream ;
                                                                             and
      selected first streamlet from one of the low quality 50 receiving                the requested virtual timeline from the server
      stream , the medium quality stream , and the high quality              via the one or more network connections.
      stream based upon a determination by the end user                 29. The process of claim 28 further comprising: placing a
      station to select a higher or lower bitrate version of the streamlet          request over one or more internet connections
     video
   retrieving from the storage device the requested first 55 from  the one
                                                             streamlet     or more
                                                                       storing       endportion
                                                                               the first user stations
                                                                                                of the tovideo
                                                                                                           retrieve  the first
                                                                                                               , wherein  the
     streamlet from the currently selected one of the low streamlet request is based , at least in part, on the received
     quality stream , the medium quality stream , and the high virtual timeline ;
     quality stream ; and                                         receiving the requested streamlet from the server via the
   sending the retrieved first streamlet from the currently          one or more network connections, and rendering, by
     selected one of the low quality stream , the medium 60         the content player device , the received streamlet for
     quality stream , and the high quality stream to the             playback of the video .
     requesting one of the end user stations over the one or
     more network connections.
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                   EXHIBIT B
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                    EXHIBIT C
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                                                                                                      USOO9407564B2


  (12) United States Patent                                                           (10) Patent No.:     US 9.407,564 B2
         Major et al.                                                                 (45) Date of Patent:     * Aug. 2, 2016
  (54) APPARATUS, SYSTEM, AND METHOD FOR                                         (58) Field of Classification Search
         ADAPTIVE-RATE SHIFTING OF                                                    None
         STREAMING CONTENT                                                            See application file for complete search history.
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  (72) Inventors: Robert Drew Major, Orem, UT (US);                                     5,168,356 A     12/1992 Acampora et al.
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  (73) Assignee: EchoStar Technologies L.L.C.,                                                 FOREIGN PATENT DOCUMENTS
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  (*) Notice:        Subject to any disclaimer, the term of this                 EP               0 711 077 A2       5, 1996
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  (21) Appl. No.: 14/516,303                                                     Primary Examiner — Ninos Donabed
  (22) Filed:        Oct. 16, 2014                                               (74) Attorney, Agent, or Firm — Ingrassia Fisher & Lorenz,
                                                                                 P.C.
  (65)                  Prior Publication Data                                   (57)                      ABSTRACT
         US 2015/OO39782 A1          Feb. 5, 2015                                An apparatus for adaptive-rate shifting of streaming content
                                                                                 includes an agent controller module configured to simulta
                                                                                 neously request at least portions of a plurality of streamlets.
               Related U.S. Application Data                                     The agent controller module is further configured to continu
                                                                                 ously monitor streamlet requests and Subsequent responses,
  (63) Continuation of application No. 1 1/116,783, filed on                     and accordingly request higher or lower quality streamlets. A
       Apr. 28, 2005, now Pat. No. 8,868,772.                                    staging module is configured to stage the streamlets and
  (60) Provisional application No. 60/566,831, filed on Apr.                     arrange the streamlets for playback on a content player. A
         30, 2004.                                                               system includes a data communications network, a content
                                                                                 server coupled to the data communications network and hav
  (51)   Int. C.                                                                 ing a content module configured to process content and gen
         H04L 12/853             (2013.01)                                       erate a plurality of high and low quality streams, and the
         H04L (2/825             (2013.01)                                       apparatus. A method includes simultaneously requesting at
                          (Continued)                                            least portions of a plurality of streamlets, continuously moni
                                                                                 toring streamlet requests and Subsequent responses, and
  (52)   U.S. C.                                                                 accordingly requesting higher or lower quality streamlets,
         CPC ................ H04L 47/25 (2013.01); H04L 65/60                   and staging the streamlets and arranging the streamlets for
                        (2013.01); H04N 21/25808 (2013.01);                      playback on a content player.
                          (Continued)                                                            16 Claims, 7 Drawing Sheets

                                                                                           ?

                                                       Receive streamlet-so
                                                              g
                                                             receive
                                                             Time       N-7c6

                                                            eterate
                                                         Performance       708
                                                             aics




                                                                    c



                                                    Na1 and of stream

                                                                  Yes
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Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 64 of 863 PageID #: 118


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                                     FG. 2a
                                      Playback irie Duration




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                                         Receive Contert




                                         serve streamlets
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                             a 1.602                                    8.


                     Oddie         N                80:



              Request Streamlet              Yr 80s



             1 Streamlet N
             NStored locally? /
                                                  Request streamlet from
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                                      Nich
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                   Cace            N-1 610

                  Ras Sift         N-1611


              Arrange Streamlets         1612

                sive Steate                  Y      64




                                       F.G. 6
Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 69 of 863 PageID #: 123


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                                             702
                                                                               70)


             p Receive streamlet e.              704


                Monitor Receive

                   Generate
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                                                   Sustair Upshif W
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                 Erd of Streat?   Scooo-Yaaroo          VVVROn




                            Yes
                                        78
                      End
                                                                      FIG. 7
Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 70 of 863 PageID #: 124


                                                       US 9,407,564 B2
                                1.                                                                    2
        APPARATUS, SYSTEM, AND METHOD FOR                              be completely downloaded before playback "catches up.”
               ADAPTIVE-RATE SHIFTING OF                               This waiting period before playback can be substantial
                    STREAMING CONTENT                                  depending on network conditions, and therefore is not a com
                                                                       plete or fully acceptable solution to the problem of media
             CROSS-REFERENCES TO RELATED                               presentation over a network.
                          APPLICATIONS                                    Generally, three basic challenges exist with regard to data
                                                                       transport streaming over a network Such as the Internet that
     This application claims benefit of U.S. Provisional Patent has a varying amount of data loss. The first challenge is
  Application No. 60/566,831 entitled “APPARATUS, SYS reliability. Most streaming solutions use a TCP connection, or
  TEM, AND METHOD FOR DYNAMIC RATE SHIFTING 10 “virtual circuit.” for transmitting data. A TCP connection
  OF STREAMING CONTENT and filed on Apr. 30, 2004 for provides a guaranteed delivery mechanism so that data sent
  R. Drew Major and Mark B. Hurst, which is incorporated from one endpoint will be delivered to the destination, even if
  herein by reference.                                                 portions are lost and retransmitted. A break in the continuity
                                                                       of a TCP connection can have serious consequences when the
             BACKGROUND OF THE INVENTION                            15 data must be delivered in real-time. When a network adapter
                                                                       detects delays or losses in a TCP connection, the adapter
     1. Field of the Invention                                         “backs off from transmission attempts for a moment and
     The invention relates to video streaming over packet then slowly resumes the original transmission pace. This
  Switched networks such as the Internet, and more particularly behavior is an attempt to alleviate the perceived congestion.
  relates to adaptive-rate shifting of streaming content over Such a slowdown is detrimental, to the viewing or listening
  Such networks.                                                       experience of the user and therefore is not acceptable.
     2. Description of the Related Art                                    The second challenge to data transport Is efficiency. Effi
     The Internet is last becoming a preferred method for dis ciency refers to how well the user's available bandwidth is
  tributing media files to end users. It is currently possible to used for delivery of the content stream. This measure is
  download music or video to computers, cellphones, or prac 25 directly related to the reliability of the TCP connection. When
  tically any network capable device. Many portable media the TCP connection is suffering reliability problems, a loss of
  players are equipped with network connections and enabled bandwidth utilization results. The measure of efficiency
  to play music or videos. The music or video files (hereinafter Sometimes varies Suddenly, and can greatly impact the view
  “media files) can be stored locally on the media player or ing experience.
  computer, or streamed or downloaded from a server.                30    The third challenge is latency. Latency is the time measure
     “Streaming media' refers to technology that delivers con form the client’s point-of-view of the interval between when
  tentata rate sufficient for presenting the mediato a user in real a request is issued and the response data begins to arrive. This
  time as the data is received. The data may be stored in memory value is affected by the network connections reliability and
  temporarily until played and then subsequently deleted. The efficiency, and the processing time required by the origin to
  user has the immediate satisfaction of viewing the requested 35 prepare the response. A busy or overloaded server, for
  content without wading for the media file to completely example, will take more time to process a request. As well as
  download. Unfortunately, the audio/video quality that can be affecting the start time of a particular request, latency has a
  received for real time presentation is constrained by the avail significant impact on the network throughput of TCP.
  able bandwidth of the user's network connection. Streaming              From the foregoing discussion, it should be apparent that a
  may be used to deliver content on demand (previously 40 need exists for an apparatus, system, and method that allevi
  recorded) or from live broadcasts.                                   ate the problems of reliability, efficiency, and latency. Addi
     Alternatively, media files may be downloaded and stored tionally, Such an apparatus, system, and method would offer
  on persistent storage devices, such as hard drives or optical instantaneous viewing along with the ability to fast forward,
  storage, for later presentation. Downloading complete media rewind, direct seek, and browse multiple streams. Benefi
  files can take large amounts of time depending on the network 45 cially, Such an apparatus, system, and method would utilize
  connection. Once downloaded, however, the content can be             multiple connections between a source and destination,
  viewed repeatedly anytime or anywhere. Media files prepared requesting varying bitrate streams depending upon network
  for downloading usually are encoded with a higher quality conditions.
  audio/video than can be delivered in real time. Users gener
  ally dislike this option, as they tend to want to see or hear the 50              SUMMARY OF THE INVENTION
  media file instantaneously.
     Streaming offers the advantage of immediate access to the            The present invention has been developed in response to
  content but currently sacrifices quality compared with down the present state of the art, and in particular, in response to the
  loading a file of the same content. Streaming also provides the problems and needs in the art that have not yet been fully
  opportunity for a user to select different content for viewing 55 Solved by currently available content streaming systems.
  on an ad hoc basis, while downloading is by definition Accordingly, the present invention has been developed to
  restricted to receiving a specific content selection in its provide an apparatus, system, and method for adaptive-rate
  entirety or not at all. Downloading also supports rewind, fast content streaming that overcome many or all of the above
  forward, and direct seek operations, while streaming is discussed shortcomings in the art.
  unable to fully support these functions. Streaming is also 60 The apparatus for adaptive-rate content streaming is pro
  Vulnerable to network failures or congestion.                        vided with a logic unit containing a plurality of modules
     Another technology, known as “progressive downloads.” configured to functionally execute the necessary steps. These
  attempts to combine the strengths of the above two technolo modules in the described embodiments include an agent con
  gies. When a progressive download is initiated, the media file troller module configured to simultaneously request a plural
  download begins, and the media player waits to begin play 65 ity of streamlets, the agent controller module further config
  back until there is enough of the file downloaded that play ured to continuously monitor streamlet requests and
  back can begin with the hope that the remainder of the file will Subsequent responses, and accordingly request higher or
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  lower quality streamlets, and a staging module configured to       In one embodiment, the method includes anticipating
  stage the streamlets and arrange the streamlets for playback streamlet requests and pre-requesting streamlets to enable
  on a content player.                                            fast-forward, skip randomly, and rewind functionality. The
     The apparatus is further configured, in one embodiment, to method may also comprise initially requesting low quality
  establish multiple Transmission Control Protocol (TCP) con streamlets to enable instant playback of a content file, and
  nections with a content server, and request streamlets of vary Subsequent upshifting according to the performance factor.
  ing bitrates. Each streamlet may further comprise a portion of     Reference throughout this specification to features, advan
  a content file. Additionally, the agent controller module may tages, or similar language does not imply that all of the
  be configured to generate a performance factor according to 10 features and advantages that may be realized with the present
  responses from streamlet requests.                              invention should be or are in any single embodiment of the
     In a further embodiment, the agent controller module is invention. Rather, language referring to the features and
  configured to upshift to a higher quality streamlet when the advantages is understood to mean that a specific feature,
  performance factor is greater than a threshold, and the agent advantage,     or characteristic described in connection with an
                                                                  embodiment is included in at least one embodiment of the
  controller module determines the higher quality playback can 15 present invention. Thus, discussion of the features and advan
  be sustained according to a combination of factors. The fac tages,      and similar language, throughout this specification
  tors may include an amount of contiguously available stream may, but do not necessarily, refer to the same embodiment.
  lets stored in the staging module, a minimum safety margin,        Furthermore, the described features, advantages, and char
  and a current read, ahead margin.                               acteristics of the invention may be combined in any Suitable
     The agent controller module may be configured to down        manner in one or more embodiments. One skilled in the
  shift to a lower quality streamlet when the performance factor relevant art will recognize that the invention may be practiced
  is less than a second threshold. Also, the agent controller without one or more of the specific features or advantages of
  module is further configured to anticipate streamlet requests a particular embodiment. In other instances, additional fea
  and pre-request streamlets to enable fast-forward, skip ran tures and advantages may be recognized in certain embodi
  domly, and rewind functionality. In one embodiment, the 25 ments that may not be present in all embodiments of the
  agent controller module is configured to initially request low invention.
  quality streamlets to enable instant playback of the content       These features and advantages of the present invention will
  file, and Subsequent upshifting according to the performance become more fully apparent from the following description
  factor.                                                         and appended claims, or may be learned by the practice of the
     A system of the present invention is also presented to 30 invention as set forth hereinafter.
  adaptive-rate content streaming. In particular, the system, in
  one embodiment, includes a data communications network,                 BRIEF DESCRIPTION OF THE DRAWINGS
  and a content server coupled to the data communications
  network and having a content module configured to process           In order that the advantages of the invention will be readily
  content and generate a plurality of high and low quality 35 understood, a more particular description of the invention
  streams. In one embodiment, each of the high and low quality briefly described above will be rendered by reference to spe
  streams may include a plurality of streamlets.                   cific embodiments that are illustrated in the appended draw
     In a further embodiment, the system also includes an agent ings. Understanding that these drawings depict only typical
  controller module configured to simultaneously request a embodiments of the invention and are not therefore to be
  plurality of streamlets, the agent controller module further 40 considered to be limiting of its scope, the invention will be
  configured to continuously monitor streamlet requests and described and explained with additional specificity and detail
  Subsequent responses, and accordingly request higher or through the use of the accompanying drawings, in which:
  lower quality streamlets, and a staging module configured to        FIG. 1 is a schematic block diagram illustrating one
  stage the streamlets and arrange the streamlets for playback embodiment of a system for adaptive rate shifting of stream
  on a content player.                                          45 ing content in accordance with the present invention;
     A method of the present invention is also presented for          FIG.2a is a schematic block diagram graphically illustrat
  adaptive-rate content streaming. The method in the disclosed ing one embodiment of a content file in accordance with the
  embodiments substantially includes the steps necessary to present invention:
  carry out the functions presented above with respect to the         FIG. 2b is a schematic block diagram illustrating one
  operation of the described apparatus and system. In one 50 embodiment of a plurality of streams having varying degrees
  embodiment, the method includes simultaneously requesting of quality and bandwidth in accordance with the present
  a plurality of streamlets, continuously monitoring streamlet invention;
  requests and Subsequent responses, and accordingly request          FIG. 2C is a schematic block diagram illustrating one
  ing higher or lower quality streamlets, and staging the stream embodiment of a stream divided into a plurality of streamlets
  lets and arranging the streamlets for playback on a content 55 in accordance with the present invention;
  player.                                                             FIG. 3 is a schematic block diagram illustrating one
     In a further embodiment, the method may include estab embodiment of a content module in accordance with die
  lishing multiple Transmission Control Protocol (TCP) con present invention;
  nections with a content server, and requesting streamlets of        FIG. 4 is a schematic block diagram graphically illustrating
  varying nitrates. Also, the method may include generating & 60 one embodiment of a client module in accordance with the
  performance factor according to responses from streamlet present invention;
  requests, upshifting to a higher quality streamlet when the         FIG. 5 is a schematic flow chart diagram illustrating one
  performance factor is greater than a threshold, and determin embodiment of a method for processing content in accor
  ing if the higher quality playback can be Sustained. Further dance with the present invention;
  more, the method may include downshifting to a lower qual 65 FIG. 6 is a schematic flow chart diagram illustrating one
  ity streamlet when the performance factor is less than a embodiment of a method for playback of a plurality of
  second threshold.                                                streamlets in accordance with the present invention; and
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     FIG. 7 is a schematic flow chart diagram illustrating one      structures, materials, or operations are not shown or described
  embodiment of a method for requesting streamlets within an        in detail to avoid obscuring aspects of the invention.
  adaptive-rate content streaming environment in accordance            FIG. 1 is a schematic block diagram illustrating one
  with the present invention.                                       embodiment of a system 100 for dynamic rate shifting of
                                                                    streaming content in accordance with the present invention.
     DETAILED DESCRIPTION OF THE INVENTION                          In one embodiment, the system 100 comprises a content
                                                                    server 102 and an end user 104. The content server 102 and
     Many of the functional units described in this specification the end user station 104 may be coupled by a data communi
  have been labeled as modules, in order to more particularly 10 cations   network. The data communications network may
  emphasize their implementation independence. For example, include the Internet 106 and connections 108 to the Internet
  a module may be implemented as a hardware circuit compris       106. Alternatively, the content server 102 and the end user 104
  ing custom VLSI circuits or gate arrays, off-the-shelf semi may area
                                                                       be located on a common local area network, wireless
                                                                       network,  cellular network, virtual local area network, or
  conductors such as logic chips, transistors, or other discrete the like. The end
  components. A module may also be implemented in program 15 computer (PC), anuser         station 104 may comprise a personal
                                                                                      entertainment   system configured to com
  mable hardware devices such as field programmable gate municate over a network, or a portable                electronic device
  arrays, programmable array logic, programmable logic configured to present content.
  devices or the like.
                                                                    In the depicted embodiment, the system 100 also includes
     Modules may also be implemented in software for execu a publisher 110, and a web server 116. The publisher 110 may
  tion by various types of processors. An identified module of be a creator or distributor of content. For example, it the
  executable code may, for instance, comprise one or more content to be streamed were a broadcast of a television pro
  physical or logical blocks of computer instructions which gram, the publisher may be a television or cable network
  may, for instance, be organized as an object, procedure, or channel such as NBC(R), or MTV(R). Content may be trans
  function. Nevertheless, the executables of an identified mod      ferred over the internet 106 to the content server 102, where
  ule need not be physically located together, but may comprise 25 the content is received by a content module 112. The content
  disparate instructions stored in different locations which, module 112 may fee configured to receive, process, and store
  when joined logically together, comprise the module and content. In one embodiment, processed contentis accessed by
  achieve the stated purpose for the module.                        a client module 114 configured to play the content on the end
     Indeed, a module of executable code may be a single user station 104. In a further embodiment, the client module
  instruction, or many instructions, and may even be distributed 30 114 is configured to receive different portions of a content
  over several different code segments, among different pro stream from a plurality of locations simultaneously. For
  grams, and across several, memory devices. Similarly, opera example, the client module 114 may request and receive
  tional data may be identified and illustrated herein within content horn any of the plurality of web servers 116.
  modules, and may be embodied in any suitable form and                FIG.2a is a schematic block diagram graphically illustrat
  organized within any Suitable type of data structure. The 35 ing one embodiment of a content file 200. In one embodiment,
  operational data may be collected as a single data set, or may the content file 200 is distributed by the publisher 110. The
  be distributed over different locations including over different content file 200 may comprise a television broadcast, sports
  storage devices, and may exist, at least partially, merely as event, movie, music, concert, etc. The content file 200 may
  electronic signals on a system or network.                        also be live or archived content. The content file 200 may
     Reference throughout this specification to “one embodi 40 comprise uncompressed video and audio, or alternatively,
  ment,” “an embodiment, or similar language means that a video or audio. Additionally, the content file 200 may be
  particular feature, structure, or characteristic described in compressed. Examples of a compressed content file 200
  connection with the embodiment is included in at least one        include, but are not limited to, DivX(R), Windows MediaVideo
  embodiment of the present invention. Thus, appearances of 98(R), Quicklime 6.5 Sorenson 3(R), or Quicklime 6.5/MPEG
  the phrases “in one embodiment,” “in an embodiment, and 45 4(R) encoded content.
  similar language throughout this specification may, but do not       FIG. 2b is a schematic block diagram illustrating one
  necessarily, all refer to the same embodiment.                    embodiment of a plurality of streams 202 having varying
     Reference to a signal hearing medium may take any form degrees of quality and bandwidth. In one embodiment, the
  capable of generating a signal, causing a signal to be gener plurality of streams 202 comprises a low quality stream 204,
  ated, or causing execution of a program of machine-readable 50 a medium quality stream 206, and a high quality stream 208.
  instructions on a digital processing apparatus. A signal bear Each of the streams 204, 206, 208 is a copy of the content file
  ing medium may be embodied by a transmission line, a com 200 encoded and compressed to varying bit rates. For
  pact disk, digital-Video disk, a magnetic tape, a Bernoulli example, the low quality stream 204 may be encoded and
  drive, a magnetic disk, a punch card, flash memory, integrated compressed to a bit rate of 100 kilobits per second (kbps), the
  circuits, or other digital processing apparatus memory device. 55 medium quality stream 206 may be encoded and compressed
     Furthermore, the described features, structures, or charac     to a bit rate of 200 kbps, and the high quality stream 208 may
  teristics of the invention may be combined in any suitable be encoded and compressed to 600 kbps.
  manner in one or more embodiments. In the following                  FIG. 2C is a schematic block diagram illustrating one
  description, numerous specific details are provided. Such as embodiment of a stream 210 divided into a plurality of
  examples of programming, Software modules, user selec 60 streamlets 212. As used herein, streamlet refers to any sized
  tions, network transactions, database queries, database struc portion of the content file 200. Each streamlet 212 may com
  tures, hardware modules, hardware circuits, hardware chips, prise a portion of the content contained in stream 210, encap
  etc., to provide a thorough understanding of embodiments of Sulated as an independent media object. The content in a
  the invention. One skilled in the relevant art will recognize,    streamlet 212 may have a unique time index in relation to the
  however, that the invention may be practiced without one or 65 beginning of the content contained in stream 210. In one
  more of the specific details, or with other methods, compo embodiment, the content contained in each streamlet 212 has
  nents, materials, and so forth. In other instances, well-known    a duration of two seconds. For example, streamlet 0 may have
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  a time index of 00:00 representing the beginning of content     212 from a plurality of web servers 310. Each web server 116
  playback, and streamlet 1 may have a time index of 00:02, and   may be located in various locations across the Internet 106.
  so on. Alternatively, the time duration of the streamlets 212   The streamlets 212 are essentially static files. As such, no
  may be any duration Smaller than the entire playback duration   specialized media server or server-side intelligence is
  of the content in stream 210. In a further embodiment, the 5 required for a client module 114 to retrieve streamlets 212.
  streamlets 212 may be divided according to file size instead of Streamlets 212 may be served by the web server 116 or
  a time index.                                                   cached by cache servers of Internet Service Providers (ISPs),
     FIG. 3 is a schematic block diagram illustrating in greater or any other network infrastructure operators, and served by
  detail one embodiment of the content module 112 in accor          the cache server. Use of cache servers is well known to those
  dance with the present invention. The content module 112 10 skilled in the art, and will not be discussed further herein.
  may comprise a stream module 302, a streamlet module 304, Thus, a highly scalable solution is provided that is not hin
  an encodermodule 306, a streamlet database 308, and the web     dered by massive amounts of client module 114 requests to
  server 116. In one embodiment, the stream module 302 is         the web server 116 at any specific location.
  configured to receive the content file 200 from the publisher     FIG. 4 is a schematic block diagram graphically illustrating
  110 and generate the plurality of streams 202 of varying 15 one embodiment of a client module 114 in accordance with
  qualities. The original content file 200 from the publisher may the present invention. The client module 114 may comprise
  be digital inform and may comprise content having a high bit an agent controller module 402, a streamlet cache module
  rate Such as, for example, 2 mbps. The content may be trans 404, and a network controller module 406. In one embodi
  ferred from the publisher 110 to the content module 112 over ment, the agent controller module 402 is configured to inter
  the Internet 106. Such transfers of data are well known in the    face with a viewer 408, and transmit streamlets 212 to the
  art and do not require further discussion herein. Alternatively, viewer 408. In a further embodiment, the client module 114
  the content may comprise a captured broadcast.                     may comprise a plurality of agent controller modules 402.
     In the depicted embodiment, the plurality of streams 202 Each agent controller module 402 may be configured to inter
  may comprise the low quality stream 204, the medium quality face with one viewer 408. Alternatively, the agent controller
  stream 206, and the high quality stream 208. Alternatively, the 25 module 402 may be configured to interface with a plurality of
  plurality of streams 202 may comprise any number of streams viewers 408. The viewer 408 may be a media player (not
  deemed necessary to accommodate end user bandwidth. The shown) operating on a PC or handheld electronic device.
  streamlet module 304 may be configured to receive the plu             The agent controller module 402 is configured to select a
  rality of streams 202 from the stream module and generate a quality level of streamlets to transmit to the viewer 408. The
  plurality of streams 312, each stream comprising a plurality 30 agent controller module 402 requests lower or higher quality
  of streamlets 212. As described with reference to FIG. 2C,         streams based upon continuous observation, of time intervals
  each streamlet 212 may comprise a pre-defined portion of the between successive receive times of each requested streamlet.
  stream. The encoder module 306 is configured to encode each The methodofrequesting higher or lower quality streams will
  streamlet from the plurality of streams 312 and store the be discussed in greater detail below with reference to FIG. 7.
  streamlets in the streamlet database 308. The encoding mod 35 The agent controller module 402 may be configured to
  ule 306 may utilize encoding schemes such as DivX(R), Win receive user commands from the viewer 408. Such commands
  dows Media Video 9(R), Quicklime 6.5 Sorenson 3(R), or may include play, fast forward, rewind, pause, and stop. In
  Quicklime 6.5/MPEG-4R). Alternatively, a custom encoding one embodiment, the agent controller module 402 requests
  scheme may be employed.                                            streamlets 212 from the streamlet cache module 404 and
     The content module 112 may also include a metadata mod 40 arranges the received streamlets 212 in a staging module 409.
  ule 312 and a metadata database 314. In one embodiment,            The staging module 409 may fee configured to arrange the
  metadata comprises static searchable content information.          streamlets 212 in order of ascending playback time. In the
  For example, metadata includes, but is not limited to, air date depleted embodiment, the streamlets 212 are numbered 0, 1,
  of the content, title, actresses, actors, length, and episode 2, 3, 4, etc. However, each streamlet 212 may be identified
  name. Metadata is generated by the publisher 110, and may be 45 with a unique filename.
  configured to define an end user environment. In one embodi           Additionally, the agent controller module 402 may be con
  ment, the publisher 100 may define an end user navigational figured to anticipate streamlet 212 requests and pre-request
  environment for the content including menus, thumbnails,           streamlets 212. By pro-requesting streamlets 212, the user
  sidebars, advertising, etc. Additionally, the publisher 110 may fast-forward, skip randomly, or rewind through the con
  may define functions such as fast forward, rewind, cause, and 50 tent and experience no buffering delay. In a further embodi
  play that may be used with the content file 200. The metadata ment, the agent controller module 402 may request the
  module 312 is configured to receive the metadata from the streamlets 212 that correspond to time index intervals of 30
  publisher 110 and store the metadata in the metadata database seconds within the total play time of the content. Alterna
  314. In a further embodiment, the metadata module 312 is           tively, the agent controller module 402 may request stream
  configured to interface with the client module 114, allowing 55 lets at any interval less than the length of the time index. This
  the client module 114 to search for content based upon at least enables a “fast-start' capability with no buffering wait when
  one of a plurality of metadata criteria. Additionally, metadata starting or fast-forwarding through content file 200. In a fur
  may be generated by the content module 112 through auto ther embodiment, the agent controller module 402 may be
  mated process(es) or manual definition.                            configured to pre-request streamlets 212 corresponding to
     Once the streamlets 212 have been received and processed, 60 specified Index points within the content or within other
  the client module 114 may request streamlets 212 using content in anticipation of the end user 104 selecting new
  HTTP from the web server 116. Such use of client side             content to view.
  initiated requests requires no additional configuration of fire    In one embodiment, the streamlet cache module 404 is
  walls. Additionally, since the client module 114 initiates the configured to receive streamlet 212 requests from the agent
  request, the web server 116 is only required to retrieve and 65 controller module 402. Upon receiving a request, the stream
  serve the requested streamlet. In a further embodiment, the let cache module 404 first checks a streamlet cache 410 to
  client module 114 may be configured to retrieve streamlets verify if the streamlet 212 is present. In a further embodiment,
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  the streamlet cache module 404 handles streamlet 212                 Several streamlet 212 requests may be sent on a single TCP
  requests from a plurality of agent controller modules 402. connection, and the responses are caused to flow back in
  Alternatively, a streamlet cache module 404 may be provided matching order along the same connection. This eliminates
  for each agent controller module 402. If the requested stream all but the first request latency. Because multiple responses
  let 212 is not present m the streamlet cache 410, the request is are always being transmitted, the processing latency of each
  passed to the network controller module 406. In order to new streamlet 212 response after the first is not a factor in
  enable last forward and rewind capabilities, the streamlet performance.
                                                                    "pipelining.”
                                                                                     This technique is known in the industry as
                                                                                    Pipelining offers efficiency in request-response
  cache module 404 is configured to store the plurality of processing by eliminating               most of the effects of request
  streamlets 212 in the streamlet cache 410 for a specified time 10 latency. However, pipelining
  period after the streamlet 212 has been viewed. However, Transmission delays affect all ofhas          the
                                                                                                             serious Vulnerabilities.
                                                                                                              responses. If the single
  once the streamlets 212 have been deleted, they may be TCP connection fails, all of the outstanding                   requests and
  requested again from the web server 116.                          responses are lost. Pipelining causes a serial dependency
     The network controller module 406 may be configured to between the requests.
  receive streamlet requests from the streamlet cache module 15 Multiple TCP connections may be opened between the
  404 and open a connection to the web server 116 or other client module 114 and the web server 116 to achieve the
  remote streamlet 212 database (not shown). In one embodi latency-reduction efficiency benefits of pipelining while
  ment, the network controller module 406 opens a TCP/IP maintaining the independence of each streamlet 212 request.
  connection to the web server 116 and generates a standard Several streamlet 212 requests may be sent concurrently, with
  HTTP GET request for the requested streamlet 212. Upon each request being sent on a mutually distinct TCP connec
  receiving the requested streamlet 212, the network controller tion. This technique is labeled “virtual pipelining and is an
  module 406 passes the streamlet 212 to the streamlet cache innovation of the present invention. Multiple responses may
  module 404 where it is stored in the streamlet cache 410. In a    be in transit concurrently, assuring that communication band
  further embodiment, the network controller module 406 is            width between the client module 114 and the web server 116
  configured to process and request a plurality of streamlets 212 25 is always being utilized. Virtual pipelining eliminates the
  simultaneously. The network controller module 406 may also Vulnerabilities of traditional pipelining. A delay in or com
  be configured to request a plurality of streamlets, where each plete failure of one response does not affect the transmission
  streamlet 212 is Subsequently requested in multiple parts.          of other responses because each response occupies an inde
     In a further embodiment, streamlet requests may comprise pendent TCP connection. Any transmission bandwidth not in
  requesting pieces of any streamlet file. Splitting the streamlet 30 use by one of multiple responses (whether due to delays or
  212 into smaller pieces or portions beneficially allows for an TCP connection failure) may be utilized by other outstanding
  increased efficiency potential, and also eliminates problems responses.
  associated with multiple full-streamlet requests sharing the          A single streamlet 212 request may be issued for an entire
  bandwidth at any given moment. This is achieved by using streamlet 212, or multiple requests may be issued, each for a
  parallel TCP/IP connections for pieces of the streamlets 212. 35 different part or portion of the streamlet. If the streamlet is
  Consequently, efficiency and network loss problems are over requested in several parts, the parts may be recombined by the
  come, and the streamlets arrive with more useful and predict client module 114 streamlet.
  able timing.                                                          In order to maintain a proper balance between maximized
     In one embodiment, the client module 114 is configured to bandwidth utilization and response time, the issuance of new
  use multiple TCP connections between the client module 114 40 streamlet requests must be timed such that the web server 116
  and the web server 116 or web cache. The intervention of a          does not transmit the response before the client module 114
  cache may be transparent to the client or configured by the has fully received a response to one of the previously out
  client as a forward cache. By requesting more than one standing streamlet requests. For example, if three streamlet
  streamlet 212 at a time in a manner referred to as “parallel 212 requests are outstanding, the client module 114 should
  retrieval or more than one part of a streamlet 212 at a time, 45 issue the next request slightly before one of the three
  efficiency is raised significantly and latency is virtually elimi responses is fully received and “out of the pipe.” In other
  nated. In a further embodiment, the client module allows a          words, request timing is adjusted to keep three responses in
  maximum of three outstanding streamlet 212 requests. The transit. Sharing of bandwidth among four responses dimin
  client module 114 may maintain additional open TCP con ishes the net response time of the other three responses. The
  nections as spares to be available should another connection 50 timing adjustment may be calculated dynamically by obser
  fail. Streamlet 212 requests are rotated among all open con Vation, and the request timing adjusted accordingly to main
  nections to keep the TCP flow logic for any particular con tain the proper balance of efficiency and response times.
  nection from falling into a slow-start or close mode. If the          The schematic flow chart diagrams that follow are gener
  network controller module 406 has requested a streamlet 212 ally set forth as logical flow chart diagrams. As such, the
  in multiple parts, with each part requested on mutually inde 55 depicted order and labeled steps are indicative of one embodi
  pendent TCP/IP connections, the network controller module ment of the presented method. Other steps and methods may
  406 reassembles the parts to present a complete streamlet 212 be conceived that are equivalent in function, logic, or effect to
  for use by all other components of the client module 114.           one or more steps, or portions thereof of the illustrated
     When a TCP connection fails completely, a new request method. Additionally, the format and symbols employed are
  may be sent on a different connection for the same streamlet 60 provided to explain the logical steps of the method and are
  212. In a further embodiment, if a request is not being satis understood not to limit the scope of the method. Although
  fied in a timely manner, a redundant request may be sent on a various arrow types and line types may be employed in the
  different connection for the same streamlet 212. If the first,      flow chart diagrams, they are understood not to limit the scope
  streamlet request's response arrives before the redundant of the corresponding method. Indeed, some arrows or other
  request response, the redundant request can be aborted. If the 65 connectors may be used to indicate only the logical flow of the
  redundant request response arrives before the first request method. For instance, an arrow may indicate a wading or
  response, the first request may be aborted.                         monitoring period of unspecified duration between enumer
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  ated steps of the depicted method. Additionally, the order in        Referring now to FIG. 7, shown therein is a schematic flow
  which a particular method occurs may or may not strictly          chart diagram illustrating one embodiment of a method 700
  adhere to the order of the corresponding steps shown.             for requesting streamlets within a adaptive-rate shifting con
    FIG. 5 is a schematic flowchart diagram illustrating one        tent streaming environment in accordance with the present
  embodiment of a method 500 for processing content in accor        invention. The method 700 may be used in one embodiment
  dance with the present invention. In one embodiment the           as the operation 611 of FIG. 6. The method 700 starts and the
  method 500 starts 502, and the content module 112 receives        agent controller module 402 receives 704 a streamlet as
  504 content from the publisher 110. Receiving content 504         described above with reference to FIG. 6. The agent control
  may comprise receiving 504 a digital copy of the content file 10 ler module 402 then monitors 706 the receive time of the
  200, or digitizing a physical copy of the content file 200. requested        streamlet. In one embodiment, the agent controller
  Alternatively, receiving 504 content may comprise capturing module 402 monitors the time intervals. A between successive
  a radio or television broadcast. Once received 504, the stream   receive times for each streamlet response. Ordering of the
  module 302 generates 506 a plurality of streams 202, each responses           in relation to the order of their corresponding
  stream 202 having a different quality. The quality may be 15 Because not
                                                                   requests  is     relevant.
                                                                                  network    behavioral characteristics fluctuate,
  predefined, or automatically set according to end user band Sometimes quite Suddenly,           any given A may vary Substan
  width, or in response to pre-designated publisher guidelines     tially from   another. In  order to compensate for this fluctua
     The streamlet module 304 receives the streams 202 and         tion, the agent controller module 402 calculates 708 a perfor
  generates 508 a plurality of streamlets 212. In one embodi mance ratio r across a window of n samples for streamlets of
  ment, generating 508 streamlets comprises dividing the playback length S. In one embodiment, the performance ratio
  stream 202 into a plurality of two second streamlets 212. r is calculated using the equation
  Alternatively, the streamlets may have any length less than or
  equal to the length of the stream 202, The encodermodule 306
  then encodes 510 the streamlets according to a compression
  algorithm. In a further embodiment, the algorithm comprises 25
  a proprietary codec such as WMV9R). The encoder module
  306 then stores 512 the encoded streamlets in the streamlet
  database 308. Once stored 512, the web server 116 may then        Due to multiple simultaneous streamlet processing, and in
  serve 514 the streamlets. In one embodiment, serving 514 the order to better judge the central tendency of the performance
  streamlets comprises receiving streamlet requests from the 30
  client module 114, retrieving the requested streamlet from the ratio r, the agent control module 402 may calculate a geomet
                                                                 ric mean, or alternatively an equivalent averaging algorithm,
  streamlet database 308, and subsequently transmitting the across a window of size m, and obtain a performance factor (p:
  streamlet to the client module 114. The method 500 then ends
  516.
     FIG. 6 is a schematic flow chart diagram illustrating one 35                                  i
  embodiment of a method 600 for viewing a plurality of                                pcurrent
                                                                                                    i



  streamlets in accordance with the present invention. The
  method 600 starts and an agent control module 402 is pro
  vided 604 and associated with a viewer 408 and provided with
  a staging module 409. The agent controller module 402 then 40 The policy determination about whether or not to upshift
  requests 606 a streamlet from the streamlet cache module 710 playback quality begins by comparing (p, with a
  404. Alternatively, the agent controller module 402 may trigger threshold O. If p             20, then an up shift to the
  simultaneously request 606 a plurality of streamlets from the next, higher quality stream may be considered 716. In one
  streamlet cache module 404. If the streamlet is stored 608        embodiment, the trigger threshold (), is determined by a
  locally in the streamlet cache 410, the streamlet cache module 45 combination of factors relating to the current read ahead
  404 retrieves 610 the streamlet and sends the streamlet to the    margin (i.e. the amount of contiguously available streamlets
  agent controller module 402. Upon retrieving 610 or receiv that have been sequentially arranged by the staging module
  ing a streamlet, the agent controller module 402 makes 611 a 409 for presentation at the current playback time index), and
  determination of whether or not to shift, to a higher or lower a minimum safety margin. In one embodiment, the minimum
  quality stream 202. This determination will be described 50 safety margin may be 24 seconds. The Smaller the read ahead
  below in greater detail with reference to FIG. 7.                 margin, the larger 0, is to discourage upshifting until a
     In one embodiment, the staging module 409 then arranges larger read ahead margin may be established to withstand
  612 tire streamlets into the proper order, and the agent con network disruptions. If the agent controller module 402 is
  troller module 402 delivers 614 the streamlets to the viewer      able to sustain 716 upshift quality, then the agent controller
  408. In a further embodiment, delivering 614 streamlets to the 55 module 402 will upshift 717 the quality and subsequently
  end user comprises playing video and or audio streamlets on request higher qualify streams. The determination of whether
  the viewer 408. If the streamlets are not stored 608 locally, the use of the higher quality stream is sustainable 716 is made by
  streamlet request is passed to the network controller module comparing an estimate of the higher quality stream's perfor
  406. The network controller module 406 then requests 616 mance factor, ple, with 0,... If ple, 20, then use of the
  the streamlet from the web server 116. Once the streamlet is 60 higher quality stream is considered Sustainable. If the deci
  received, the network controller module 406 passes the sion of whether or not the higher stream rate is sustainable
  streamlet to the streamlet cache module 404. The streamlet        716 is “no the agent control module 402 will not attempt to
  cache module 404 archives 618 the streamlet. Alternatively, upshift 717 stream quality. If the end of the stream has been
  the streamlet cache module 404 then archives 618 the stream       reached 714, the method 618 ends 716.
  let and passes the streamlet to the agent controller module 65 If the decision on whether or not to attempt upshift 710 is
  402, and the method 600 then continues from operation 610      no', a decision about whether or not to downshift 712 is
  as described above.                                           made. In one embodiment, a trigger threshold 0, is
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                                                         US 9,407,564 B2
                                13                                                                       14
  defined in a manner analogous to 0. If (p.2-0, then                      4. The end user station of claim 1, wherein the media player
  the stream quality may be adequate, and the agent controller is configured to upshift to the higher quality copy when the
  module 402 does not downshift 718 stream quality. However, factor is greater than the first threshold and the media player
  if ps0, the agent controllermodule 402 does down determines the higher quality playback can be Sustained
  shift 718 the stream quality. If the end of the stream has not according to a combination of factors.
  been reached 714, the agent controller module 402 begins to              5. The end user station of claim 1 wherein the media player
  request and receive 704 lower quality streamlets and the is configured to upshift to the higher quality copy when the
  method 618 starts again. Of course, the above described equa performance factor is greater than the first threshold and the
  tions and algorithms are illustrative only, and may be replaced media player determines that the higher quality playback can
  by alternative streamlet monitoring Solutions.                     10 be sustained according to an amount of contiguously avail
     The present invention may be embodied in other specific able files stored by the media player.
  forms without departing from its spirit or essential character           6. The end user station of claim 1, wherein the media player
  istics. The described embodiments are to be considered in all         is further configured to anticipate file requests and to pre
  respects only as illustrative and not restrictive. The scope of request files to enable fast-forward, skip randomly, and
  the invention is, therefore, indicated by the appended claims 15 rewind functionality.
  rather than by the foregoing description. All changes which              7. The end user station of claim 1, wherein the media player
  come within the meaning and range of equivalency of the is configured to initially request low quality files to enable
  claims are to be embraced within their scope.                         instant playback of the video, and to Subsequently upshift to
     What is claimed is:                                                a better quality copy of the video according to the perfor
     1. An end user station for adaptive-rate content streaming mance factor.
  of digital content from a video server over a network, the end           8. A method executable by an end user station to present
  user station comprising:                                              rate-adaptive streams received via at least one transmission
     a media player operating on the end user station configured control protocol (TCP) connection with a server over a net
        to stream a video from the video server via at least one        work, the method comprising:
        transmission control protocol (TCP) connection over the 25 streaming, by a media player operating on the end user
        network, wherein multiple different copies of the video               station, a video from the server via the at least one TCP
        encoded at different bit rates are stored on the video                connection over the network, wherein multiple different
        server as multiple sets of files, wherein each of the files           copies of the video encoded at different bit rates are
        yields a different portion of the video on playback,                  stored as multiple sets of files on the server, wherein
        wherein the files across the different copies yield the 30            each of the files yields a different portion of the video on
        same portions of the video on playback, and wherein                   playback, wherein the files across the different copies
        each of the files comprises a time index such that the files          yield the same portions of the video on playback, and
        whose playback is the same portion of the video for each              wherein each of the files comprises a time index such
        of the different copies have the same time index in rela              that the files whose playback is the same portion of the
        tion to the beginning of the video, and wherein the media 35          video for each of the different copies have the same time
        player streams the video by:                                          index in relation to the beginning of the video, and
     requesting a plurality of sequential files of one of the copies          wherein the streaming comprises:
        from the video server based on the time indexes;                   requesting by the media player a plurality of sequential
     automatically requesting from the video server Subsequent                files of one of the copies from the server based on the
        portions of the video by requesting for each Such portion 40          time indexes;
        one of the files from one of the copies dependent upon             automatically requesting by the media player from the
        Successive determinations by the media player to shift                server Subsequent portions of the video by requesting for
        the playback quality to a higher or lower quality one of              each such portion one of the files from one of the copies
        the different copies, the automatically requesting                    dependent upon Successive determinations by the media
        including repeatedly generating a factorindicative of the 45          player to shift the playback quality to a higher or lower
        currentability to Sustain the streaming of the video using            quality one of the different copies, the automatically
        the files from different ones of the copies, wherein the set          requesting including repeatedly generating a factor
        of one or more factors relate to the performance of the               indicative of the current ability to Sustain the streaming
        network;                                                              of the video using the files from different ones of the
     making the Successive determinations to shift the playback 50            copies, wherein the factor relates to the performance of
        quality based on the factor to achieve continuous play                the network; and
        back of the video using the files of the highest quality           making the Successive determinations to shift the playback
        one of the copies determined Sustainable at that time so              quality based on the factor to achieve continuous play
        that the media player upshifts to a higher quality one of             back of the video using the files of the highest quality
        the different copies when the factor is greater than a first 55       one of the copies determined Sustainable at that time,
        threshold and downshifts to a lower quality one of the                wherein the making the Successive determinations to
        different copies when the factor is less than a second                shift comprises upshifting to a higher quality one of the
        threshold; and                                                        different copies when the at least one factor is greater
     presenting the video by playing back the requested media                 than a first threshold and downshifting to a lower quality
        files with the media player on the end user station in 60             one of the different copies when the at least one factor is
        order of ascending playback time.                                     less than a second threshold; and
     2. The end user station of claim 1, wherein the at least one          presenting the video by playing back the requested media
  TCP connection comprises multiple Transmission Control                      files with the media player on the end user station in
  protocol (TCP) connections with the content server.                         order of ascending playback time.
     3. The end user station of claim 1, wherein the media player 65 9. The method of claim 8, wherein the at least one TCP
  is configured to generate the factor according to the responses connection comprises a plurality of different TCP connec
  to Segment requests.                                                  tions, and wherein the requesting the plurality of sequential
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                                                       US 9,407,564 B2
                               15                                                                16
  files includes requesting sub-parts of the files over different   measure between when one of the requests is issued and a
  ones of the plurality of different TCP connections, and           time that response data of the request begins to arrive at the
  wherein said presenting includes reassembling the files from      end user station.
  the received sub-parts.                                             13. The method of claim 8, wherein the factor is indicative
     10. The method of claim 8, wherein said making the suc         of time intervals between successive receive times for each
  cessive determinations to shift comprises:                        response to the requested files.
     determining if the higher quality playback can be sus
       tained.                                                        14. The method of claim 8, wherein the factor is indicative
    11. The method of claim 8, wherein the at least one TCP         of delays or losses in one or more of the at least one TCP
  connection comprises a plurality of different TCP connec connection.
  tions, and wherein the automatically requesting includes 10 15. The method of claim 8, wherein the server is a web
  requesting sub-parts of the files over different ones of the server, and wherein the files are requested from the web server
  plurality of TCP connections, and wherein said presenting using HyperText Transfer Protocol (HTTP) messages sent
  includes reassembling the files from the received sub-parts, via the at least one TCP connection.
  and wherein the factoris indicative of the available bandwidth
  of the plurality of TCP connections.                             15   16. The method of claim 8, wherein the server comprises a
     12. The method of claim 8, wherein the factor is indicative      cache server of a network infrastructure operator.
  of latency of the requested files, wherein the latency is a time                          k   k   k   k  k
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          United States Patent                                                                          (10 ) Patent No.: US 10,469,554 B2
          Brueck et al.                                                                                 (45 ) Date of Patent:  * Nov. 5 , 2019
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                                                                                                                              U.S. PATENT DOCUMENTS
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                   patent is extended or adjusted under 35                                                                        OTHER PUBLICATIONS
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                                                                                                                           (Continued )
  ( 22 ) Filed :   Jan. 18 , 2019
                      Prior Publication Data
                                                                                              Primary Examiner Chirag R Patel
  (65 )                                                                                       ( 74 ) Attorney , Agent, or Firm — Lorenz & Kopf LLP
          US 2019/0158560 A1 May 23 , 2019
                Related U.S. Application Data                                                 (57)                                      ABSTRACT
  (63 ) Continuation of application No. 16 /004,056 , filed on                                An apparatus for multi-bitrate content streaming includes a
          Jun . 8, 2018 , which is a continuation of application                              receiving module configured to capture media content, a
                             (Continued )                                                     streamlet module configured to segment the media content
                                                                                              and generate a plurality of streamlets , and an encoding
  (51) Int. Cl.                                                                               module configured to generate a set of streamlets . The
       H04L 29/06                ( 2006.01)                                                   system includes the apparatus, wherein the set of streamlets
       H04L 12/927               (2013.01 )                                                   comprises a plurality of streamlets having identical time
                           (Continued )                                                       indices and durations, and each streamlet of the set of
  (52) U.S. CI.                                                                               streamlets having a unique bitrate , and wherein the encoding
          CPC         H04L 65/607 (2013.01 ); G06F 16/183                                     module comprises a master module configured to assign an
                          (2019.01 ); G06F 16/71 (2019.01);                                   encoding job to one of a plurality of host computing modules
                         (Continued )
                                                                                              in response to an encoding job completion bid . A method
                                                                                              includes receiving media content, segmenting the media
  (58 ) Field of Classification Search                                                        content and generating a plurality of streamlets, and gener
        CPC HO4N 19/34 ; H04N 19/40 ; H04N 21/23427 ;                                         ating a set of streamlets .
                                            HO4N 21/2662 ;
                         (Continued )                                                                       30 Claims, 11 Drawing Sheets
                                               100


                                                                                                         Client
                                                                                                        Module
                                                                                                          114


                                                                         108                             End User
                                                     Publisher                         108                  104
                                                            110


                                                Web Server
                                                     116                           Internet
                                                                                     106                                Proxy Cache
                                                                                                                             118
                                                                   100


                                                                          108
                                                      Web Server
                                                             116                                                Proxy Cache
                                                                                                                     118



                                                           120                                                          120
                                                                                      ContentModule
                                                                                           112
                                                                                           Web Server
                                                                                              116

                                                                                Content Server
                                                                                     102
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       100



                                                                  Client
                                                                  Module
                                                                    114
               Awwwwwww




                                   108
                                                                  End User
             Publisher                             108              104
                110


        Web Server
           116
                                               Internet
                                                 106                                 Proxy Cache
                                                                                           118
                      108
                                                                      108

                                    108
             Web Server
                116                                                        Proxy Cache
                                                                               118




              120                                                                    120
                                                  ContentModule
                                                          112
                                                     Web Server
                                                        116


                                            Content Server
                                                 102




                                            FIG . 1
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                                            200



                                      FIG . 2a


                                       Playback Time Duration

                                                  204



                                                  206
      202



                                                  208



                                 FIG . 2b
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                                                            302




                  0         ????    2          3      4          5          6      7        8            n



              303 303         303       303 303           303 303               303-303- 303      3031

                                               FIG . 3a
                                                             200


                            306a              -306b                  306C               -306d     306n


        204           304               304                304                    304                    304



       206            304               304                304                    304                    304




       208         304                  304                304                    304                    304




                                                   FIG . 3b
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         UEndser 114                       Web Server 116


                              306
                                          Streamlt Datbse   408



                              MCondtuel Encoder 406
                                    112                                                                             FIG
                                                                                                                    4
                                                                                                                    .


                                       212
                                               M0odul0e
                                                                                     Metad Datbse   414


                                          Streamlt          404
                                                                                  Metad Manger  412

                                          RecivngModule     402


         Publisher   110
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         EndUser 114                       Web Server        116                                            Host 504

                                                                                                            Host 504
                                           Streamlt Datbse   408

                                                                                                            Host 504
                           CMondtuel 112                                               Master Module 502               5a
                                                                                                                       .
                                                                                                                       FIG
                                                                                                            Host 504

                                           Streamlt Module   404                                            Host 504

                                           Recivng Module    402         MEnocduler   406
                                                                                                            Host 504

         Publisher   110
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       306d 304 1 30402
       306c 304c1 304c2
                               |304ab0c3 3|||040bac4 |304cbad5
       306b 304b1
                    3||04ba2
       306a 304a1
                                                                                               502d
                                                                                        502C                   5b
                                                                                                               .
                                                                                                               FIG
                                                                            502b
            303n                  EncodingTime                     502a

            303e
            303d
            303c
             303b
             303a
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                OVT
                600

                QMX
                602a                                           QVT
                                                               600


                QMX
               602b                                            QMX
                                                                602

                QMX
                602c

                                                            FIG . 6b
            FIG . 6a
                                           QVT
                                           600

               Start            End               Live      Publisher
                                                              Data
               604              606               608          610

                          Bitrate Values
                               616                          Encryption
                Frame Size               Channels              612
                   618                      620
                 Codecs                  Sample Rate
                  622                       624              Duration
                                                               614
                           Frames Parser
                                626


                                   FIG . 6C
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                                                                                                                     7



                                                                                                                                      113
                                                                                                  304
                                     MSotdaguilneg   709                   304                                         15
                                                                                                                                  10
                                                            H01O4M351012
       114
             MCAongtdreulntr   702                                                         MCStoardecumhlt SCtarecmhlet 710
                                                                                                  704
                                                                                                                          140
                                                                                                                          |9
                                                                                                                           0

                                                                                                                                       .
                                                                                                                                       12
                                                                                                                                            NCMoentdrwulek 706   FIG
                                                                                                                                                                 7
                                                                                                                                                                 .
                                                                             304
                                                                                                                                  8




                                                                                                                              6
                                                                                                  304
                                                           View r 708


                                                                                   WServber 116
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                800


                                               Start
                                                802


                                         Receive Content
                                                804



                                        Generate streamlets
                                               808



                                        Encode Streamlets
                                                810



                                         Store Streamlets
                                               812



                                         Serve Streamlets
                                               814



                                               End
                                                816




                                           FIG . 8
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                   Start                   902                            900


         Provide Agent Controller
                 Module                           904



           Request Streamlet                      906


                                     908

                Streamlet                        Request Streamlet from
             Stored Locally ?                       Streamlet Server               916
                                      No
                                                   Archive Streamlet in
                                                          Cache                    918
         Retrieve Streamlet From
                 Cache                            910



               Rate Shift ?                       911


           Arrange Streamlets                     912



            Deliver Streamlet                     914


                   End                     920


                                      FIG . 9
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                    Start                   1002
                                                                                    1000

              Receive Streamlet               1004


              Monitor Receive
                    Time                      1006


                  Generate
                Performance                   1008
                   Factor

                                     1010                             1016
                                                                                              1017

                  Upshift ?         Yes            Sustain Upshift   Yes            Upshift
                                                      Quality ?

                        No                                  No
                                    1012
                                                                             1018

                 Downshift ?        Yes              Downshift


                        No

                                     1014

         No    End of Stream ?


                          Yes
                                      1016
                    End
                                                                     FIG . 10
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                                                      US 10,469,554 B2
                                                                                                     2
      APPARATUS, SYSTEM , AND METHOD FOR                                Streaming offers the advantage of immediate access to the
       MULTI - BITRATE CONTENT STREAMING                             content but currently sacrifices quality compared with down
                                                                     loading a file of the same content. Streaming also provides
            CROSS -REFERENCES TO RELATED                             the opportunity for a user to select different content for
                                                                   5 viewing on an ad hoc basis , while downloading is by
                        APPLICATIONS
                                                                     definition restricted to receiving a specific content selection
     This application is a continuation of U.S. patent applica        in its entirety or not at all. Downloading also supports
  tion Ser. No. 16 /004,056 filed on Jun . 8 , 2018 , which is a      rewind , fast forward , and direct seek operations, while
  continuation of U.S. patent application Ser. No. 15/414,027 streaming is unable to fully support these functions. Stream
  (now U.S. Pat . No. 9,998,516 ) filed on Jan. 24 , 2017 , which 10 ing is also vulnerable to network failures or congestion .
  is a continuation of U.S. patent application Ser. No. 14/719,         Another technology , known as “ progressive downloads,”
  122 filed on May 21, 2015 , which is a continuation of U.S. attempts to combine the strengths of the above two tech
  patent application Ser. No. 14 / 106,051 filed on Dec. 13 , nologies. When a progressive download is initiated , the
  2013 (now U.S. Pat. No. 9,071,668 ), which is a continuation
  of U.S.patent application Ser. No. 13/617,114 , filed on Sep. 15 media      file download begins, and the media player waits to
   14 , 2012 (now U.S. Pat. No. 8,612,624 ), which is a con that playback canuntil
                                                                     begin   playback          there is enough of the file downloaded
                                                                                           begin  with the hope that the remainder of
  tinuation of U.S.patent Ser. No. 12 /906,940 filed on Oct. 18 , the file will be completely           downloaded before playback
  2010 (now U.S. Pat. No. 8,402,156 ), which is a continuation
  of U.S.patent application Ser. No. 11/673,483 , filed on Feb. “ catches up .” This waiting period before playback can be
  9, 2007 (now U.S. Pat. No. 7,818,444 ), which is a continu- 20 substantialdepending on network conditions, and therefore
  ation - in -part of application Ser. No. 11 /116,783, filed on is not a complete or fully acceptable solution to the problem
  Apr. 28 , 2005 (now U.S. Pat. No. 8,868,772 ), which claims ofGenerally
                                                                        media presentation over a network .
                                                                                    , three basic challenges exist with regard to data
  the benefit of U.S. Provisional Application No. 60 /566,831,
  filed on Apr. 31, 2004 , all of which are incorporated herein transport streaming over a network such as the Internet that
  by reference .                                                  25 has a varying amount of data loss. The first challenge is
                                                                     reliability . Most streaming solutions use a TCP connection ,
               BACKGROUND OF THE INVENTION                           or “ virtual circuit,” for transmitting data. A TCP connection
                                                                     provides a guaranteed delivery mechanism so that data sent
                        Field of the Invention                       from one endpoint will be delivered to the destination , even
                                                                  30 if portions are lost and retransmitted . A break in the conti
       The invention relates to video streaming over packet nuity of a TCP connection can have serious consequences
  switched networks such as the Internet , and more particu when the data must be delivered in real- time. When a
  larly relates to adaptive- rate shifting of streaming content network adapter detects delays or losses in a TCP connec
  over such networks.                                                tion , the adapter “ backs off from transmission attempts for
                                                                  35 a moment and then slowly resumes the original transmission
                    Description of the Related Art                   pace. This behavior is an attempt to alleviate the perceived
                                                                     congestion . Such a slowdown is detrimental to the viewing
       The Internet is fast becoming a preferred method for or listening experience of the user and therefore is not
  distributing media files to end users . It is currently possible acceptable .
  to download music or video to computers, cell phones , or 40 The second challenge to data transport is efficiency .
  practically any network capable device. Many portable Efficiency refers to how well the user's available bandwidth
  media players are equipped with network connections and is used for delivery of the content stream . This measure is
  enabled to play music or videos. The music or video files directly related to the reliability of the TCP connection .
  (hereinafter “ media files” ) can be stored locally on themedia When the TCP connection is suffering reliability problems,
  player or computer, or streamed or downloaded from a 45 a loss of bandwidth utilization results . The measure of
  server.                                                            efficiency sometimes varies suddenly, and can greatly
      “ Streaming media ” refers to technology that delivers impact the viewing experience .
  content at a rate sufficient for presenting the media to a user       The third challenge is latency . Latency is the time mea
  in real time as the data is received . The data may be stored sure form the client's point-of-view , of the interval between
  in memory temporarily until played and then subsequently 50 when a request is issued and the response data begins to
  deleted . The user has the immediate satisfaction of viewing arrive. This value is affected by the network connection's
  the requested content without waiting for the media file to reliability and efficiency, and the processing time required
  completely download . Unfortunately , the audio /video qual by the origin to prepare the response . A busy or overloaded
  ity that can be received for real time presentation is con server, for example ,will take more time to process a request.
  strained by the available bandwidth of the user's network 55 As well as affecting the start time of a particular request ,
  connection . Streaming may be used to deliver content on latency has a significant impact on the network throughput
  demand (previously recorded ) or from live broadcasts.             of TCP.
      Alternatively, media files may be downloaded and stored           From the foregoing discussion , it should be apparent that
  on persistent storage devices, such as hard drives or optical a need exists for an apparatus, system , and method that
  storage, for later presentation . Downloading complete media 60 alleviate the problems of reliability, efficiency, and latency .
  files can take large amounts of time depending on the Additionally, such an apparatus, system , and method would
  network connection . Once downloaded , however, the con offer instantaneous viewing along with the ability to fast
  tent can be viewed repeatedly anytime or anywhere. Media forward , rewind , direct seek , and browse multiple streams.
   files prepared for downloading usually are encoded with a Beneficially , such an apparatus, system , and method would
  higher quality audio / video than can be delivered in real time. 65 utilize multiple connections between a source and destina
  Users generally dislike this option , as they tend to want to       tion , requesting varying bitrate streams depending upon
  see or hear themedia file instantaneously .                         network conditions.
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                                                     US 10,469,554 B2
                                3                                                                   4
                SUMMARY OF THE INVENTION                               Furthermore, the method may include converting the
                                                                   media content to raw audio or raw video , and segmenting the
     The present invention has been developed in response to content media into a plurality of sequential streamlets . The
  the present state of the art, and in particular , in response to method further comprises assigning an encoding job to one
  the problems and needs in the art that have not yet been fully 5 of a plurality of host computing modules in response to an
  solved by currently available content streaming systems. encoding job completion bid , and submitting an encoding
  Accordingly, the present invention has been developed to job completion bid based on a plurality of computing
  provide an apparatus, system , and method for adaptive -rate variables .
  content streaming that overcomemany or all of the above 10 Reference throughout this specification to features,
  discussed shortcomings in the art.                               advantages, or similar language does not imply that all of the
     The apparatus for adaptive -rate content streaming is pro      features and advantages that may be realized with the
  vided with a logic unit containing a plurality of modules present invention should be or are in any single embodiment
  configured to functionally execute the necessary steps . of the invention . Rather, language referring to the features
  These modules in the described embodiments include a 15 and advantages is understood to mean that a specific feature ,
  receiving module configured to receive media content, a advantage, or characteristic described in connection with an
  streamlet module configured to segment the media content           embodiment is included in at least one embodiment of the
  and generate a plurality of sequential streamlets, and an          present invention . Thus, discussion of the features and
  encoding module configured to encode each streamlet as a advantages , and similar language, throughout this specifi
  separate content file .                                       20 cation may , but do not necessarily , refer to the same embodi
     The encoding module is further configured to generate a ment.
  set of streamlets for each of the sequential streamlets. Each       Furthermore , the described features , advantages, and
  streamlet may comprise a portion of the media content characteristics of the invention may be combined in any
  having a predetermined length of time. The predetermined suitable manner in one or more embodiments. One skilled in
  length of timemay be in the range ofbetween about 0.1 and 25 the relevant art will recognize that the invention may be
  5 seconds .                                                        practiced without one or more of the specific features or
     In one embodiment, a set of streamlets comprises a advantages of a particular embodiment. In other instances ,
 plurality of streamlets having identical time indices , and additional features and advantages may be recognized in
 each streamlet of the set of streamlets has a unique bitrate . certain embodiments thatmay not be present in all embodi
   The receiving module is configured to convert the media 30 ments of the invention .
 content to raw audio or raw video . The encoding module           These features and advantages of the present invention
 may include a master module configured to assign an will becomemore fully apparent from the following descrip
 encoding job to one of a plurality of host computing modules tion and appended claims, or may be learned by the practice
  in response to an encoding job completion bid . The job of the invention as set forth hereinafter.
 completion bid may be based on a plurality of computing 35
 variables selected from a group consisting of current encod                 BRIEF DESCRIPTION OF THE DRAWINGS
  ing job completion percentage, average encoding job
 completion time, processor speed , and physical memory                  In order that the advantages of the invention will be
 capacity .                                                           readily understood, a more particular description of the
     A system of the present invention is also presented for 40 invention briefly described above will be rendered by ref
 adaptive -rate content streaming . In particular , the system , in erence to specific embodiments that are illustrated in the
 one embodiment, includes a receiving module configured to appended drawings. Understanding that these drawings
 receive media content, a streamlet module configured to depict only typical embodiments of the invention and are not
  segment the media content and generate a plurality of therefore to be considered to be limiting of its scope, the
 sequential streamlets , each streamlet comprising a portion of 45 invention will be described and explained with additional
 the media content having a predetermined length of time, specificity and detail through the use of the accompanying
 and an encoding module configured to encode each stream              drawings, in which :
 let as a separate content file and generate a set of streamlets.        FIG . 1 is a schematic block diagram illustrating one
     The system also includes a plurality of streamlets having embodiment of a system for dynamic rate shifting of stream
 identical time indices and each streamlet of the set of 50 ing content in accordance with the present invention ;
 streamlets having a unique bitrate . The encoding module                FIG . 2a is a schematic block diagram graphically illus
 comprises a master module configured to assign an encoding trating one embodiment of a media content file ;
 job to one of a plurality of host computing modules in                  FIG . 2b is a schematic block diagram illustrating one
 response to an encoding job completion bid .                         embodiment of a plurality of streamshaving varying degrees
     A method of the present invention is also presented for 55 of quality and bandwidth ;
 adaptive -rate content streaming. In one embodiment, the                FIG . 3a is a schematic block diagram illustrating one
 method includes receiving media content, segmenting the embodiment of a stream divided into a plurality of source
 media content and generating a plurality of sequential streamlets ;
 streamlets , and encoding each streamlet as a separate content          FIG . 3b is a schematic block diagram illustrating one
 file .                                                            60 embodiment of sets of streamlets in accordance with the
      The method also includes segmenting the media content present invention ;
 into a plurality of streamlets , each streamlet comprising a            FIG . 4 is a schematic block diagram illustrating in greater
 portion of the media content having a predetermined length detail one embodiment of the content module in accordance
 of time. In one embodiment, the method includes generating with the present invention ;
 a set of streamlets comprising a plurality of streamlets 65 FIG . 5a is a schematic block diagram illustrating one
 having identical time indices, and each streamlet of the set embodiment of an encoder module in accordance with the
 of streamlets having a unique bitrate .                              present invention ;
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                                5                                                                  6
    FIG . 56 is a schematic block diagram illustrating one           similar language throughout this specification may, but do
 embodiment of parallel encoding of streamlets in accor not necessarily, all refer to the same embodiment.
 dance with the present invention :                                    Reference to a signal bearing medium may take any form
    FIG . 6a is a schematic block diagram illustrating one capable of generating a signal, causing a signal to be
 embodiment of a virtual timeline in accordance with the 5 generated , or causing execution of a program of machine
 present invention ;                                                readable instructions on a digital processing apparatus. A
    FIG . 6b is a schematic block diagram illustrating an signal bearing medium may be embodied by a transmission
 alternative embodiment of a VT in accordance with the line, a compact disk , digital-video disk , a magnetic tape , a
 present invention :                                                Bernoulli drive, a magnetic disk , a punch card , flash
    FIG . 6c is a schematic block diagram illustrating one 10 memory , integrated circuits , or other digital processing
 embodiment of a QMX in accordance with the present apparatus memory device. In one embodiment, a computer
 invention;                                                         program product including a computer useable medium
     FIG . 7 is a schematic block diagram graphically illustrat having a computer readable program of computer instruc
 ing one embodiment of a client module in accordance with 15 tions stored thereon that when executed on a computer
 the present invention :                                            causes the computer to carry out operations for multi- bitrate
     FIG . 8 is a schematic flow chart diagram illustrating one content streaming as described herein .
 embodiment of a method for processing content in accor                Furthermore, the described features, structures, or char
 dance with the present invention ;                                 acteristics of the invention may be combined in any suitable
     FIG . 9 is a schematic flow chart diagram illustrating one 20 manner in one or more embodiments . In the following
 embodiment of a method for viewing a plurality of stream           description , numerous specific details are provided , such as
 lets in accordance with the present invention ; and                examples of programming, software modules , user selec
    FIG . 10 is a schematic flow chart diagram illustrating one tions , network transactions, database queries, database struc
 embodiment of a method for requesting streamlets within an tures, hardware modules , hardware circuits, hardware chips,
 adaptive-rate shifting content streaming environment in 25 etc., to provide a thorough understanding of embodiments of
 accordance with the present invention.                             the invention . One skilled in the relevant art will recognize ,
                                                                    however, that the invention may be practiced without one or
             DETAILED DESCRIPTION OF THE                            more of the specific details, or with other methods, compo
                           INVENTION                                nents ,materials , and so forth . In other instances, well-known
                                                                 30 structures, materials, or operations are not shown or
    Many of the functional units described in this specifica described in detail to avoid obscuring aspects of the inven
 tion have been labeled as modules, in order to more par            tion .
 ticularly emphasize their implementation independence . For           FIG . 1 is a schematic block diagram illustrating one
 example, a module may be implemented as a hardware embodiment of a system 100 for dynamic rate shifting of
 circuit comprising custom VLSI circuits or gate arrays, 35 streaming content in accordance with the present invention .
 off- the-shelf semiconductors such as logic chips, transistors , In one embodiment, the system 100 comprises a content
 or other discrete components. A module may also be imple           server 102 and an end user station 104. The content server
 mented in programmable hardware devices such as field 102 and the end user station 104 may be coupled by a data
 programmable gate arrays, programmable array logic , pro           communications network . The data communications net
 grammable logic devices or the like .                           40 work may include the Internet 106 and connections 108 to
    Modules may also be implemented in software for execu           the Internet 106. Alternatively, the content server 102 and
 tion by various types of processors . An identified module of the end user 104 may be located on a common local area
 executable code may , for instance , comprise one or more network , wireless area network , cellular network , virtual
 physical or logical blocks of computer instructions which local area network , or the like. The end user station 104 may
 may, for instance , be organized as an object, procedure , or 45 comprise a personal computer (PC ), an entertainment sys
  function . Nevertheless , the executables of an identified tem configured to communicate over a network , or por
 module need not be physically located together, but may table electronic device configured to present content. For
 comprise disparate instructions stored in different locations example , portable electronic devices may include, but are
 which , when joined logically together , comprise the module not limited to , cellular phones, portable gaming systems, and
 and achieve the stated purpose for the module .                 50 portable computing devices .
    Indeed , a module of executable code may be a single               In the depicted embodiment, the system 100 also includes
 instruction , or many instructions, and may even be distrib        a publisher 110 , and a web server 116. The publisher 110
 uted over several different code segments , among different may be a creator or distributor of content. For example , if the
 programs, and across several memory devices. Similarly, content to be streamed were a broadcast of a television
 operational data may be identified and illustrated herein 55 program , the publisher 110 may be a television or cable
 within modules , and may be embodied in any suitable form          network channel such as NBC® , or MTV® . Content may be
 and organized within any suitable type of data structure . The transferred over the Internet 106 to the content server 102,
 operational data may be collected as a single data set , ormay where the content is received by a content module 112. The
 be distributed over different locations including over differ content module 112 may be configured to receive, process,
 ent storage devices , and may exist, at least partially ,merely 60 and store content. In one embodiment, processed content is
 as electronic signals on a system or network .                     accessed by a client module 114 configured to play the
    Reference throughout this specification to “ one embodi         content on the end user station 104. In a further embodiment,
 ment,” “ an embodiment.” or similar language means that a the client module 114 is configured to receive different
 particular feature , structure , or characteristic described in portions of a content stream from a plurality of locations
 connection with the embodiment is included in at least one 65 simultaneously. For example , the client module 114 may
 embodiment of the present invention . Thus, appearances of request and receive content from any of the plurality ofweb
  the phrases " in one embodiment," " in an embodiment,” and         servers 116 .
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    Content from the content server 102 may be replicated to           As described above , the duration of one streamlet 304
 other web servers 116 or alternatively to proxy cache servers may be approximately two seconds. Likewise each set 306
  118. Replicating may occur by deliberate forwarding from may comprise a plurality of streamlets 304 where each
  the content server 102 , or by a web , cache, or proxy server streamlet 304 has a playable duration of two seconds .
 outside of the content server 102 asking for content on 5 Alternatively, the duration of the streamlet 304 may be
 behalf of the client module 114. In a further embodiment, predetermined or dynamically variable depending upon a
 contentmay be forwarded directly to web 116 or proxy 118 variety of factors including, but not limited to , network
 servers through direct communication channels 120 without congestion , system specifications, playback resolution and
  the need to traverse the Internet 106 .                            quality , etc. In the depicted embodiment, the content 200
    FIG . 2a is a schematic block diagram graphically illus- 10 may   be may
                                                                sets 306 formeddepend
                                                                                 of theonplurality
                                                                                          the lengthofofsets
                                                                                                          the306. The200
                                                                                                              content number  of
                                                                                                                         and the
  trating one embodiment of a media content (hereinafter            length or duration of each streamlet 304 .
  " content" ) file 200. In one embodiment, the content file 200       FIG . 4 is a schematic block diagram illustrating in greater
  is distributed by the publisher 110. The content file 200 may      detail one embodiment of the content module 112 in accor
  comprise  a television broadcast, sports event,movie,music, 15 dance with the present invention. The content module 112
  concert, etc. The content file 200 may also be live or            may comprise a capture module 402 , a streamlet module
  archived content. The content file 200 may comprise uncom         404 , an encoder module 406 , a streamlet database 408 , and
  pressed video and audio , or alternatively, video or audio .      the web server 116. In one embodiment, the capture module
   Alternatively , the content file 200 may be compressed using 402 is configured to receive the content file 200 from the
  standard or proprietary encoding schemes . Examples of 20 publisher 110. The capture module 402 may be configured to
   encoding schemes capable of use with the present invention “ decompress” the content file 200. For example , if the
  include, but are not limited to , DivX® , Windows Media content file 200 arrives having been encoded with one of the
  Video® , Quicktime Sorenson 3® , On2 , OGG Vorbis.MP3, above described encoding schemes , the capture module 402
  or Quicktime 6.5 /MPEG -4® encoded content.                       may convert the content file 200 into raw audio and /or video .
      FIG . 2b is a schematic block diagram illustrating one 25 Alternatively , the content file 200 may be transmitted by the
  embodiment of a plurality of streams 202 having varying publisher in a format 110 that does not require decompres
  degrees of quality and bandwidth . In one embodiment, the sion .
  plurality of streams 202 comprises a low quality stream 204 ,        The capture module 402 may comprise a capture card
  a medium quality stream 206 , and a high quality stream 208 . configured for TV and /or video capture. One example of a
  Each of the streams 204 , 206 , 208 is a copy of the content 30 capture card suitable for use in the present invention is the
  file 200 encoded and compressed to varying bit rates. For DRC - 2500 by Digital Rapids of Ontario , Canada . Alterna
  example , the low quality stream 204 may be encoded and tively , any capture card capable of capturing audio and video
  compressed to a bit rate of 100 kilobits per second (kbps), may be utilized with the present invention . In a further
  the medium quality stream 206 may be encoded and com              embodiment, the capture module 402 is configured to pass
  pressed to a bit rate of 200 kbps, and the high quality stream 35 the content file to the streamlet module 404 .
  208 may be encoded and compressed to 600 kbps.                       The streamlet module 404, in one embodiment, is con
     FIG . 3a is a schematic block diagram illustrating one figured to segment the content file 200 and generate source
  embodiment of a stream 302 divided into a plurality of streamlets 303 that are not encoded . As used herein , the term
  source streamlets 303. As used herein , streamlet refers to " segment” refers to an operation to generate a streamlet of
  any sized portion of the content file 200. Each streamlet 303 40 the content file 200 having a duration or size equal to or less
  may comprise a portion of the content contained in stream         than the duration or size of the content file 200. The
   302, encapsulated as an independent media object . The streamlet module 404 may be configured to segment the
  content in a streamlet 303 may have a unique time index in content file 200 into streamlets 303 each having an equal
  relation to the beginning of the content contained in stream      duration . Alternatively, the streamlet module 404 may be
   302. In one embodiment, the content contained in each 45 configured to segment the content file 200 into streamlets
  streamlet 303 may have a duration of two seconds . For 303 having equal file sizes.
  example, streamlet ( may have a time index of 00:00                  The encoding module 406 is configured to receive the
  representing the beginning of content playback , and stream       source streamlets 303 and generate the plurality of streams
  let 1 may have a time index of 00:02 , and so on . Alterna 202 of varying qualities . The original content file 200 from
  tively, the time duration of the streamlets 304 may be any 50 the publisher may be digital in form and may comprise
  duration smaller than the entire playback duration of the content having a high bit rate such as, for example , 2 mbps .
  content in stream 302. In a further embodiment, the stream         The contentmay be transferred from the publisher 110 to the
  lets 303 may be divided according to file size instead of a       content module 112 over the Internet 106. Such transfers of
  time index and duration .                                         data are well known in the art and do not require further
    FIG . 3b is a schematic block diagram illustrating one 55 captured
  embodiment of sets 306 of streamlets in accordance with the
                                                              discussionbroadcast
                                                                         herein. Alternatively
                                                                                 .
                                                                                              , the contentmay comprise a
  present invention . As used herein , the term “ set” refers to a   In a further embodiment, the encoding module 406 is
  group of streamlets having identical time indices and dura       configured to generate a plurality of sets 306 of streamlets
  tions but varying bitrates. In the depicted embodiment, the 304. The sets 306 , as described above with reference to FIG .
  set 306a encompasses all streamlets having a time index of 60 3b , may comprise streamlets having an identical time index
  00:00 . The set 306a includes encoded streamlets 304 having and duration , and a unique bitrate . As with FIG . 3b , the sets
  low , medium , and high 204 , 206 , 208 bitrates. Of course 306 and subsequently the plurality of streams 202 may
  each set 306 may include more than the depicted three comprise the low quality stream 204, the medium quality
  bitrates which are given by way of example only . One stream 206 , and the high quality stream 208. Alternatively ,
  skilled in the art will recognize that any number of streams 65 the plurality of streams 202 may comprise any number of
  having different bitrates may be generated from the original streams deemed necessary to accommodate end user band
  content 200 .                                                     width .
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     The encoder module 406 is further configured to encode          streamlet 303 to produce a raw streamlet. As used herein , the
  each source streamlet 303 into the plurality of streams 202        term " raw streamlet” refers to a streamlet 303 that is
  and streamlet sets 306 and store the streamlets in the             uncompressed or lightly compressed to substantially reduce
  streamlet database 408. The encoding module 406 may size with no significant loss in quality. A lightly compressed
 utilize encoding schemes such as DivX® , Windows Media 5 raw streamlet can be transmitted more quickly and to more
  Video 9® , Quicktime 6.5 Sorenson 3® , or Quicktime 6.5 / hosts . Each host 504 is coupled with the master 502 and
 MPEG -4® . Alternatively , a custom encoding scheme may configured to receive a raw streamlet from the master 502
 be employed .                                                         for encoding . The hosts 504, in one example , generate a
      The content module 112 may also include a metadata plurality of streamlets 304 having identical time indices and
 module 412 and a metadata database 414. In one embodi- 10 durations, and varying bitrates. Essentially each host 504
 ment, metadata comprises static searchable content infor may be configured to generate a set 306 from the raw
 mation . For example, metadata includes , but is not limited streamlet 503 sent from the master 502. Alternatively, each
 to , air date of the content, title, actresses, actors, length , and host 504 may be dedicated to producing a single bitrate in
  episode name.Metadata is generated by the publisher 110 , order to reduce the time required for encoding .
 and may be configured to define an end user environment. In 15 Upon encoding completion , the host 504 returns the set
  one embodiment, the publisher 100 may define an end user 306 to themaster 502 so that the encoding module 406 may
  navigational environment for the content including menus,       store the set 306 in the streamlet database 408. The master
 thumbnails , sidebars , advertising, etc. Additionally , the pub 502 is further configured to assign encoding jobs to the hosts
 lisher 110 may define functions such as fast forward , rewind, 504. Each host is configured to submit an encoding job
 pause , and play thatmay be used with the content file 200. 20 completion bid (hereinafter “ bid ” ). The master 502 assigns
  The metadata module 412 is configured to receive the encoding jobs depending on the bids from the hosts 504 .
 metadata from the publisher 110 and store the metadata in Each host 504 generates a bid depending upon a plurality of
 the metadata database 414. In a further embodiment, the computing variables which may include, but are not limited
 metadata module 412 is configured to interface with the to , current encoding job completion percentage, average job
  client module 114, allowing the client module 114 to search 25 completion time, processor speed and physical memory
  for content based upon at least one of a plurality ofmetadata  capacity .
  criteria . Additionally, metadata may be generated by the         For example , a host 504 may submit a bid that indicates
  content module 112 through automated process (es ) or          that based on past performance history the host 504 would
  manual definition .                                            be able to complete the encoding job in 15 seconds. The
     Once the streamlets 304 have been received and pro- 30 master 502 is configured to select from among a plurality of
  cessed , the client module 114 may request streamlets 304 bids the best bid and subsequently submit the encoding job
  using HTTP from the web server 116. Using a standard to the host 504 with the best bid . As such , the described
  protocol such as HTTP eliminates the need for network encoding system does not require that each host 504 have
  administrators to configure firewalls to recognize and pass identical hardware but beneficially takes advantage of the
  through network traffic for a new , specialized protocol . 35 available computing power of the hosts 504. Alternatively ,
  Additionally, since the client module 114 initiates the the master 502 selects the host 504 based on a first come first
  request, the web server 116 is only required to retrieve and serve basis, or some other algorithm deemed suitable for a
  serve the requested streamlet 304. In a further embodiment, particular encoding job .
  the clientmodule 114 may be configured to retrieve stream         The time required to encode one streamlet 304 is depen
  lets 304 from a plurality of web servers 116 .              40 dent upon the computing power of the host 504 , and the
     Each web server 116 may be located in various locations encoding requirements of the content file 200. Examples of
  across the Internet 106. The streamlets 304 may essentially encoding requirements may include, but are not limited to ,
  be static files . As such , no specialized media server or two or multi -pass encoding , and multiple streams of differ
  server -side intelligence is required for a client module 114 to ent bitrates. One benefit of the present invention is the ability
  retrieve streamlets 304. Streamlets 304 may be served by the 45 to perform two-pass encoding on a live content file 200.
  web server 116 or cached by cache servers of Internet Typically, in order to perform two- pass encoding prior art
  Service Providers (ISPs ), or any other network infrastructure    systemsmust wait for the content file to be completed before
  operators, and served by the cache server. Use of cache           encoding.
  servers is well known to those skilled in the art, and will not     The present invention , however, segments the content file
  be discussed further herein . Thus, a highly scalable solution 50 200 into source streamlets 303 and the two-pass encoding to
  is provided that is not hindered by massive amounts of client a plurality of streams 202 may be performed on each
 module 114 requests to the web server 116 at any specific           corresponding raw streamlet without waiting for a TV show
 location , especially the web server 116 most closely asso          to end , for example. As such , the content module 112 is
  ciated with or within the content module 112                       capable of streaming the streamlets over the Internet shortly
    FIG . 5a is a schematic block diagram illustrating one 55 file
  embodiment of an encoder module 406 in accordance with
                                                              after200.
                                                                    the content module 112 begins capture of the content
                                                                         The delay between a live broadcast transmitted
  the present invention . In one embodiment, the encoder from the publisher 110 and the availability of the content
  module 406 may include a master module 502 and a depends on the computing power of the hosts 504 .
  plurality of host computing modules (hereinafter “ host" )        FIG . 5b is a schematic block diagram illustrating one
  504. The hosts 504 may comprise personal computers, 60 embodiment of parallel encoding of streamlets in accor
  servers, etc. In a further embodiment, the hosts 504 may be dance with the present invention . In one example, the
  dedicated hardware , for example , cards plugged into a single capture module 402 (of FIG . 4 )begins to capture the content
  computer.                                                      file and the streamlet module 404 generates a first streamlet
     The master module (hereinafter “ master” ) 502 is config    303a and passes the streamlet to the encoding module 406 .
  ured to receive streamlets 303 from the streamlet module 65 The encoding module 406 may take 10 seconds, for
  404 and stage the streamlet 303 for processing . In one example , to generate the first set 306? of streamlets 304a
  embodiment, the master 502 may decompress each source (304al , 304a2 , 304a3 , etc. represent streamlets 304 of
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                              11                                                                 12
 different bitrates ). FIG . 5b illustrates the encoding process time-selective manner so that streamlets are processed at
 generically as block 502 to graphically illustrate the time regular time intervals and transmitted at these time intervals.
 duration required to process a raw or lightly encoded stream      Returning now to FIG . 5a , as depicted , themaster 502 and
 let 303 as described above with reference to the encoding the hosts 504 may be located within a single local area
 module 406. The encoding module 406 may simultaneously 5 network , or in other terms, the hosts 504 may be in close
 process more than one streamlet 303 , and processing of physical proximity to the master 502. Alternatively , the hosts
  streamlets will begin upon arrival of the streamlet from the 504 may receive encoding jobs from the master 502 over the
  capture module 402.                                               Internet or other communications network . For example ,
     During the 10 seconds required to encode the first stream 10 consider a live sports event in a remote location where it
  let 303a , the streamlet module 404 has generated five would be difficult to setup multiple hosts . In this example, a
  additional 2 - second streamlets 303b , 303c , 303d, 303e , 3035, master performs no encoding or alternatively light encoding
  for encoding and the master 502 has prepared and staged the before publishing the streamlets online. The hosts 504 would
  corresponding raw streamlets. Two seconds after the first set then retrieve those streamlets and encode the streamlets into
  306? is available the next set 306b is available , and so on . 15 the multiple bitrate sets 306 as described above .
 As such , the content file 200 is encoded for streaming over       Furthermore, hosts 504 may be dynamically added or
  the Internet and appears live. The 10 second delay is given removed from the encoding module without restarting the
 herein by way of example only. Multiple hosts 504 may be encoding job and /or interrupting the publishing of stream
 added to the encoding module 406 in order to increase the lets. If a host 504 experiences a crash or some failure , its
 processing capacity of the encoding module 406. The delay 20 encoding work is simply reassigned to another host.
 may be shortened to an almost unperceivable level by the            The encoding module 406 , in one embodiment, may also
 addition of high CPU powered systems, or alternatively be configured to produce streamlets that are specific to a
 multiple low powered systems.                                    particular playback platform . For example , for a single raw
     A system as described above beneficially enables multi       streamlet, a single host 504 may produce streamlets for
 pass encoding of live events .Multi -pass encoding systems 25 different quality levels for personal computer playback ,
  of the prior art require that the entire contentbe captured (or streamlets for playback on cell phones with a different,
 be complete ) because in order to perform multi -pass encod proprietary codec , a small video -only streamlet for use when
  ing the entire content must be scanned and processed more playing just a thumbnail view of the stream ( like in a
  than once . This is impossible with prior art systemsbecause programming guide ), and a very high quality streamlet for
 content from a live event is not complete until the event is 30 use in archiving .
 over. As such , with prior art systems, multi -pass encoding        FIG . 6a is a schematic block diagram illustrating one
  can only be performed once the event is over. Streamlets,         embodiment of a virtual timeline 600 in accordance with the
  ho ver, may be encoded as many times as is deemed                 present invention . In one embod ent, the virtual timeline
 necessary . Because the streamlet is an encapsulated media 600 comprises at least one quantum media extension 602.
 object of 2 seconds (for example ), multi -pass encoding may 35 The quantum media extension (hereinafter “ QMX ” ) 602
 begin on a live event once the first streamlet is captured . describes an entire content file 200. Therefore , the virtual
 Shortly after multi -pass encoding of the first streamlet 303a timeline (hereinafter “ VT” ) 600 may comprise a file that is
  is finished , multi -pass encoding of the second streamlet configured to define a playlist for a user to view . For
  303b finishes, and as such multi- pass encoding is performed example , the VT may indicate that the publisher desires a
 on a live event and appears live to a viewer.                   40 user to watch a first show QMX 602a followed by QMX
     Any specific encoding scheme applied to a streamlet may 602b and QMX 602c. As such , the publisher may define a
 take longer to complete than the time duration of the broadcast schedule in a manner similar to a television
  streamlet itself, for example , a very high quality encoding of station .
 a 2 -second streamlet may take 5 seconds to finish . Alterna         FIG . 6b is a schematic block diagram illustrating an
 tively , the processing time required for each streamlet may 45 alternative embodiment of a VT 600 in accordance with the
 be less than the time duration of a streamlet. However, present invention . In the depicted embodiment, the VT 600
 because the offset parallel encoding of successive streamlets may include a single QMX 602 which indicates that the
 are encoded by the encoding module at regular intervals publisher desires the same content to be looped over and
  (matching the intervals at which the those streamlets are over again . For example, the publisher may wish to broad
 submitted to the encoding module 406 , for example 2 50 cast a never -ending infomercial on a website .
 seconds) the output timing of the encoding module 406 does           FIG . 6c is a schematic block diagram illustrating one
 not fall behind the real- time submission rate of the unen         embodiment of a QMX 602 in accordance with the present
 coded streamlets . Conversely, prior art encoding systems invention . In one embodiment, the QMX 602 contains a
  rely on the very fastest computing hardware and software multitude of information generated by the content module
 because the systemsmust generate the output immediately 55 112 configured to describe the content file 200.Examples of
  in lock -step with the input. A prior art system that takes 2.1 information include , but are not limited to , start index 604 ,
 seconds to encode 2 seconds worth of content is considered end index 606 , whether the content is live 608, proprietary
 a failure . The present invention allows for slower than publisher data 610 , encryption level 612 , content duration
  real-time encoding processes yet still achieves a real- time 614 and bitrate values 616. The bitrate values 616 may
 encoding effect due to the parallel offset pipes.               60 include frame size 618 , audio channel 620 information ,
     The parallel offset pipeline approach described with ref codecs 622 used , sample rate 624 , and frames parser 626 .
 erence to FIG . 5b beneficially allows for long or short        A publisher may utilize the QVT 600 together with the
 encoding times without “ falling behind ” the live event. QMX 602 in order to prescribe a playback order for users ,
  Additionally, arbitrarily complex encoding of streamlets to or alternatively selectively edit content. For example , a
 multiple profiles and optimizations only lengthens the 65 publishermay indicate in the QMX 602 that audio should be
  encoding time 502 without a perceptible difference to a user     muted at time index 10:42 or video should be skipped for 3
 because the sets 306 of streamlets 304 are encoded in a           seconds at time index 18:35 . As such , the publisher may
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  selectively skip offensive content without the processing           rewind capabilities, the streamlet cache module 704 is
  requirements of editing the content.                                configured to store the plurality of streamlets 304 in the
     FIG . 7 is a schematic block diagram graphically illustrat       streamlet cache 710 for a specified time period after the
  ing one embodiment of a client module 114 in accordance             streamlet 304 has been viewed . However, once the stream
  with the present invention . The client module 114 may 5 lets 304 have been deleted, they may be requested again
  comprise an agent controller module 702 , a streamlet cache         from the web server 116 .
  module 704 , and a network controller module 706. In one               The network controller module 706 may be configured to
  embodiment, the agent controller module 702 is configured           receive streamlet requests from the streamlet cache module
  to interface with a viewer 708 , and transmit streamlets 304 704 and open a connection to the web server 116 or other
  to the viewer 708. Alternatively, the agent controllermodule 10 remote streamlet 304 database (not shown ). In one embodi
  702 may be configured to simply reassemble streamlets into ment, the network controller module 706 opens a TCP/IP
  a single file for transfer to an external device such as a connection to the web server 116 and generates a standard
  portable video player.                                          HTTP GET request for the requested streamlet 304. Upon
     In a further embodiment, the client module 114 may receiving the requested streamlet 304, the network controller
  comprise a plurality of agent controller modules 702. Each 15 module 706 passes the streamlet 304 to the streamlet cache
  agent controller module 702 may be configured to interface    module 704 where it is stored in the streamlet cache 710. In
  with one viewer 708. Alternatively, the agent controller a further embodiment, the network controllermodule 706 is
  module 702 may be configured to interface with a plurality configured to process and request a plurality of streamlets
  of viewers 708. The viewer 708 may be a media player (not 304 simultaneously . The network controller module 706
  shown ) operating on a PC or handheld electronic device . 20 may also be configured to request a plurality of streamlets ,
       The agent controller module 702 is configured to select a where each streamlet 304 is subsequently requested in
   quality level of streamlets to transmit to the viewer 708. The multiple parts.
  agent controller module 702 requests lower or higher quality            In a further embodiment, streamlet requests may comprise
  streams based upon continuous observation of timeintervals requesting pieces of any streamlet file . Splitting the stream
  between successive receive times of each requested stream- 25 let 304 into smaller pieces or portions beneficially allows for
   let. The method of requesting higher or lower quality an increased efficiency potential, and also eliminates prob
  streams will be discussed in greater detail below with lems associated with multiple full -streamlet requests sharing
  reference to FIG . 10 .                                              the bandwidth at any given moment. This is achieved by
       The agent controller module 702 may be configured to using parallel TCP/IP connections for pieces of the stream
  receive user commands from the viewer 708. Such com- 30 lets 304. Consequently , efficiency and network loss prob
  mands may include play, fast forward , rewind , pause , and lems are overcome, and the streamlets arrive with more
   stop. In one embodiment, the agent controller module 702 useful and predictable timing .
  requests streamlets 304 from the streamlet cache module                 In one em !          the client module 114 is configured
   704 and arranges the received streamlets 304 in a staging to use multiple TCP connections between the client module
  module 709. The staging module 709 may be configured to 35 114 and the web server 116 or web cache. The intervention
  arrange the streamlets 304 in order of ascending playback of a cache may be transparent to the client or configured by
   time. In the depicted embodiment, the streamlets 304 are the client as a forward cache. By requesting more than one
  numbered 0 , 1, 2 , 3 , 4 , etc. However, each streamlet 304 may streamlet 304 at a time in a manner referred to as “ parallel
  be identified with a unique filename.                                retrieval,” ormore than one part of a streamlet 304 at a time,
      Additionally, the agent controller module 702 may be 40 efficiency is raised significantly and latency is virtually
  configured to anticipate streamlet 304 requests and pre              eliminated . In a further embodiment, the client module
  request streamlets 304. By pre-requesting streamlets 304, allows a maximum of three outstanding streamlet 304
  the usermay fast -forward, skip randomly , or rewind through requests. The client module 114 may maintain additional
   the content and experience no buffering delay . In a further open TCP connections as spares to be available should
   embodiment, the agent controller module 702 may request 45 another connection fail. Streamlet 304 requests are rotated
   the streamlets 304 that correspond to time index intervals of among all open connections to keep the TCP flow logic for
   30 seconds within the total play time of the content. Alter any particular connection from falling into a slow - start or
  natively, the agent controller module 702 may request close mode . If the network controller module 706 has
  streamlets at any interval less than the length of the time requested a streamlet 304 in multiple parts, with each part
   index . This enables a “ fast- start" capability with no buffer- 50 requested on mutually independent TCP /IP connections, the
   ing wait when starting or fast -forwarding through content network controller module 706 reassembles the parts to
   file 200. In a further embodiment, the agent controller present a complete streamlet 304 for use by all other
  module 702 may be configured to pre-request streamlets 304 components of the clientmodule 114 .
  corresponding to specified index points within the contentor            When a TCP connection fails completely , a new request
  within other content in anticipation of the end user 104 55 may be sent on a different connection for the same streamlet
  selecting new content to view . In one embodiment, the 304. In a further embodiment, if a request is not being
  streamlet cache module 704 is configured to receive stream     satisfied in a timely manner,a redundant request may be sent
  let 304 requests from the agent controller module 702. Upon on a different connection for the same streamlet 304. If the
  receiving a request, the streamlet cache module 704 first first streamlet request's response arrives before the redun
  checks a streamlet cache 710 to verify if the streamlet 304 60 dant request response , the redundant request can be aborted .
  is present. In a further embodiment, the streamlet cache If the redundant request response arrives before the first
  module 704 handles streamlet 304 requests from a plurality request response, the first request may be aborted.
  of agent controller modules 702. Alternatively, a streamlet        Several streamlet 304 requests may be sent on a single
  cachemodule 704may be provided for each agent controller TCP connection, and the responses are caused to flow back
  module 702. If the requested streamlet 304 is not present in 65 in matching order along the same connection . This elimi
  the streamlet cache 410 , the request is passed to the network nates all but the first request latency. Because multiple
  controller module 706. In order to enable fast forward and          responses are always being transmitted , the processing
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                                                    US 10,469,554 B2
                               15                                                                16
  latency of each new streamlet 304 response after the first is    FIG . 8 is a schematic flow chart diagram illustrating one
  not a factor in performance . This technique is known in the   embodiment of a method 800 for processing content in
  industry as " pipelining." Pipelining offers efficiency in     accordance with the present invention . In one embodiment
  request- response processing by eliminating most of the        the method 800 starts 802 , and the content module 112
  effects of request latency . However, pipelining has serious 5 receives 804 content from the publisher 110. Receiving
  vulnerabilities . Transmission delays affect all of the content 804 may comprise receiving 804 a digital copy of
  responses . If the single TCP connection fails, all of the the content file 200 , or digitizing a physical copy of the
  outstanding requests and responses are lost . Pipelining          content file 200. Alternatively, receiving 804 content may
  causes a serial dependency between the requests .                 comprise capturing a radio, television , cable, or satellite
    Multiple TCP connections may be opened between the 10 generates
                                                          broadcast. 808
                                                                     Oncea received
                                                                           plurality 804
                                                                                     of ,source
                                                                                          the streamlet
                                                                                                streamletsmodule 404
                                                                                                             303 each
  client module 114 and the web server 116 to achieve the          having a fixed duration . Alternatively , the streamlets 303
  latency -reduction efficiency benefits of pipelining while       may be generated with a fixed file size.
  maintaining the independence of each streamlet 304 request.        In one embodiment, generating 808 streamlets comprises
  Several streamlet 304 requests may be sent concurrently, 15 dividing the content file 200 into a plurality of two second
  with each request being sent on a mutually distinct TCP streamlets 303. Alternatively, the streamlets may have any
  connection . This technique is labeled “ virtual pipelining” length less than or equal to the length of the stream 202. The
  and is an innovation of the present invention . Multiple encoder module 406 then encodes 810 the streamlets 303
  responses may be in transit concurrently , assuring that into sets 306 of streamlets 304 , in a plurality of streams 202
  communication bandwidth between the client module 114 20 according to an encoding scheme. The quality may be
  and the web server 116 is always being utilized . Virtual predefined , or automatically set according to end user band
  pipelining eliminates the vulnerabilities of traditional pipe width , or in response to pre -designated publisher guidelines
  lining. A delay in or complete failure of one response does      In a further embodiment, the encoding scheme comprises
  not affect the transmission of other responses because each a proprietary codec such as WMVI® . The encoder module
  response occupies an independent TCP connection. Any 25 406 then stores 812 the encoded streamlets 304 in the
  transmission bandwidth not in use by one of multiple              streamlet database 408. Once stored 812 , the web server 116
  responses (whether due to delays or TCP connection failure ) may then serve 814 the streamlets 304. In one embodiment,
  may be utilized by other outstanding responses.                   serving 814 the streamlets 304 comprises receiving stream
      A single streamlet 304 request may be issued for an entire let requests from the client module 114 , retrieving the
  streamlet 304 , or multiple requests may be issued , each for 30 requested streamlet 304 from the streamlet database 408 ,
  a different part or portion of the streamlet. If the streamlet is and subsequently transmitting the streamlet 304 to the client
  requested in several parts, the parts may be recombined by module 114. The method 800 then ends 816 .
  the client module 114 streamlet .                                    FIG . 9 is a schematic flow chart diagram illustrating one
     In order to maintain a proper balance between maximized embodiment of a method 900 for viewing a plurality of
  bandwidth utilization and response time, the issuance ofnew 35 streamlets in accordance with the present invention . The
  streamlet requests must be timed such that the web server method 900 starts and an agent controller module 702 is
  116 does not transmit the response before the clientmodule provided 904 and associated with a viewer 708 and provided
  114 has fully received a response to one of the previously with a staging module 709. The agent controller module 702
  outstanding streamlet requests. For example, if three stream      then requests 906 a streamlet 304 from the streamlet cache
  let 304 requests are outstanding , the client module 114 40 module 704.Alternatively, the agent controller module 702
  should issue the next request slightly before one of the three may simultaneously request 906 a plurality of streamlets 304
  responses is fully received and “ out of the pipe.” In other the streamlet cache module 704. If the streamlet is stored
  words, request timing is adjusted to keep three responses in 908 locally in the streamlet cache 710 , the streamlet cache
  transit . Sharing of bandwidth among four responses dimin         module 704 retrieves 910 the streamlet 304 and sends the
   ishes the net response time of the other three responses. The 45 streamlet to the agent controller module 702. Upon retriev
  timing adjustment may be calculated dynamically by obser ing 910 or receiving a streamlet, the agent controller module
  vation , and the request timing adjusted accordingly to main      702 makes 911 a determination of whether or not to shift to
  tain the proper balance of efficiency and response times .        a higher or lower quality stream 202. This determination will
      The schematic flow chart diagrams that follow are gen         be described below in greater detail with reference to FIG .
  erally set forth as logical flow chart diagrams. As such , the 50 10 .
  depicted order and labeled steps are indicative of one               In one embodiment, the staging module 709 then arranges
  embodiment of the presented method . Other steps and 912 the streamlets 304 into the proper order, and the agent
  methods may be conceived that are equivalent in function , controller module 702 delivers 914 the streamlets to the
  logic , or effect to one or more steps, or portions thereof, of viewer 708. In a further embodiment, delivering 914 stream
  the illustrated method . Additionally, the format and symbols 55 lets
  employed are provided to explain the logical steps of the
                                                                        304 to the end user comprises playing video and or audio
                                                                   streamlets on the viewer 708. If the streamlets 304 are not
  method and are understood not to limit the scope of the stored 908 locally , the streamlet request is passed to the
  method. Although various arrow types and line types may be network controller module 706. The network controller
  employed in the flow chart diagrams, they are understood module 706 then requests 916 the streamlet 304 from the
  not to limit the scope of the corresponding method . Indeed , 60 web server 116. Once the streamlet 304 is received , the
  some arrows or other connectors may be used to indicate network controller module 706 passes the streamlet to the
  only the logical flow of the method. For instance , an arrow     streamlet cache module 704. The streamlet cache module
  may indicate a waiting or monitoring period of unspecified 704 archives 918 the streamlet. Alternatively, the streamlet
  duration between enumerated steps of the depicted method . cache module 704 then archives 918 the streamlet and
  Additionally, the order in which a particular method occurs 65 passes the streamlet to the agent controller module 702, and
  may or may not strictly adhere to the order of the corre          the method 900 then continues from operation 910 as
  sponding steps shown .                                            described above.
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                               17                                                                       18
    Referring now to FIG . 10 , shown therein is a schematic                If the decision on whether or not to attempt upshift 1010
  flow chart diagram illustrating one embodiment of a method             is “ no ” , a decision about whether or not to downshift 1012
  1000 for requesting streamlets 304 within an adaptive -rate            is made. In one embodiment, a trigger threshold down is
  shifting content streaming environment in accordance with              defined in a manner analogous to up. If ( current> down then
  the present invention . The method 1000 may be used in one 5 the stream quality may be adequate , and the agent controller
   embodiment as the operation 911 of FIG . 9. The method module 702 does not downshift                        1018 stream quality. How
   1000 starts and the agent controller module 702 receives ever, if ( currents down ? the agent controller module 702 does
   1004 a streamlet 304 as described above with reference to           downshift 1018 the stream quality . If the end of the stream
  FIG . 9. The agent controllermodule 702 then monitors 1006           has  not been reached 1014 , the agent controller module 702
   the receive time of the requested streamlet. In one embodi- 10 and  beginsthetomethod
                                                                                    request and receive     1004 lower quality streamlets
  ment, the agent controller module 702 monitors the time described equations1000                    starts again . Of course , the above
  intervals A between successive receive times for each may be replaced byand                         algorithms are illustrative only , and
                                                                                                  alternative  streamlet monitoring solu
   streamlet response . Ordering of the responses in relation to tions.
   the order of their corresponding requests is not relevant. 15 The present invention may be embodied in other specific
      Because network behavioral characteristics fluctuate , forms without departing from its spirit or essential charac
   sometimes quite suddenly , any given A may vary substan             teristics . The described embodiments are to be considered in
   tially from another. In order to compensate for this fluctua        all respects only as illustrative and not restrictive . The scope
  tion , the agent controller module 702 calculates 1008 a of the invention is , therefore , indicated by the appended
  performance ratio r across a window of n samples for 20 claims rather than by the foregoing description .All changes
  streamlets of playback length S. In one embodiment, the which come within the meaning and range of equivalency of
  performance ratio r is calculated using the equation :               the claims are to be embraced within their scope .
                                                                          What is claimed is:
                                                                          1. A system for adaptive -rate content streaming of live
                                 r = S
                                        n
                                                                    25 event video playable on one or more end user stations over
                                    n

                                       ? ?;                            the Internet, the system comprising :
                                   i= 1
                                                                          at least one storage device storing live event video , the
                                                                             live event video encoded at a plurality of different
      Due to multiple simultaneous streamlet processing, and in 30           bitrates creating a plurality of streams including a low
  order to better judge the central tendency of the performance               quality stream , a medium quality stream , and a high
  ratio r, the agent controller module 702 may calculate a                   quality   stream , the low quality stream , the medium
   geometric mean , or alternatively an equivalent averaging                  quality  stream  , and the high quality stream each com
  algorithm , across a window of size m , and obtain a perfor                prising   a  group   of streamlets encoded at a respective
  mance factor o :                                                           one   of the  plurality   of different bitrates , each group of
                                                                    35        streamlets comprising at least first and second stream
                                                                             lets, each of the streamlets corresponding to a portion
                                            1                                of the live event video ;
                                                                          wherein at least one of the low quality stream , the medium
                                  (0 )
                             current =
                                                                    40
                                                                              quality stream , and the high quality stream is encoded
                                                                             at a bitrate of no less than 600 kbps; and
                                                                          wherein the first streamlet of each of the groups of
       The policy determination about whether or not to upshift              streamlets has the same first duration and encodes the
   1010 playback quality begins by comparing current with a                  same first portion of the live event video in each of the
  trigger threshold up If ( current= 0 up ' then an up shift to the          low quality stream , the medium quality stream , and the
  next higher quality stream may be considered 1016. In one 45               high quality stream , and wherein the first streamlet of
  embodiment, the trigger threshold up is determined by a                    the low quality stream encodes the same first portion of
   combination of factors relating to the current read ahead                 the live event video at a different bitrate than the first
  margin ( i.e. the amount of contiguously available streamlets              streamlet of the high quality stream and the first stream
  that have been sequentially arranged by the staging module                 let of the medium quality stream .
  709 for presentation at the current playback time index ), and 50 2. The system of claim 1 , wherein the second streamlet of
   a minimum safety margin . In one embodiment, the mini each of the groups of streamlets each has the same second
  mum safety margin may be 24 seconds . The smaller the read duration and corresponds to the same second portion of the
  ahead margin , the larger up is to discourage upshifting until live event video in the low quality stream , the medium
  a larger read ahead margin may be established to withstand quality stream , and the high quality stream , the second
  network disruptions . If the agent controller module 702 is 55 streamlet of the low quality stream having the same bitrate
  able to sustain 1016 upshift quality, then the agent controller as the first streamlet of the low quality stream .
  module 702 will upshift 1017 the quality and subsequently                3. The system of claim 2 , wherein the first and second
  request higher quality streams. The determination of durations are different.
  whether use of the higher quality stream is sustainable 1016            4. The system of claim 1 , further comprising :
  is made by comparing an estimate of the higher quality 60 a plurality of web servers located at different locations
  stream's performance factor, Phigher with ?? " If                          across the internet, each web server configured to :
  Phigher Oup then use of the higher quality stream is consid             receive at least one streamlet request over one or more
   ered sustainable . If the decision ofwhether or not the higher            internet connections from the one or more end user
  stream rate is sustainable 1016 is “ no ," the agent controller            stations to retrieve the first streamlet storing a portion
  module 702 will not attempt to upshift 1017 stream quality . 65            of the video , wherein the at least one streamlet request
  If the end of the stream has been reached 1014 , the method                from the one or more end user stations includes a
   1000 ends 1016 .                                                          request for a currently selected first streamlet from one
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                                                       US 10,469,554 B2
                                 19                                                                    20
       of the low quality stream , the medium quality stream ,               15. The system of claim 11 , wherein the virtual timeline
       and the high quality stream based upon a determination             comprises at least one quantum media extension ( QMX ).
      by the end user station to select a higher or lower bitrate           16. An end user station to stream a live event video over
      version of the streams;                                     a network from a server for playback of the video , the
    retrieve from the storage device the requested first stream 5 content player device comprising :
       let from the currently selected one of the low quality       a processor;
       stream , the medium quality stream , and the high quality    a digital processing apparatusmemory device comprising
       stream ; and                                                    non- transitory machine -readable instructions that,
    send the retrieved first streamlet from the currently              when   executed , cause the processor to :
       selected one of the different copies to the requesting 10       establish one or more network connections between the
       one of the end user stations over the one or more                         end user station and the server, wherein the server is
       network connections .
    5. The system of claim 1, wherein each of the first                          configured to access at least one of a plurality of
  streamlets has a first duration that is the range of 0.1 to 5                   groups of streamlets ;
  seconds.                                                       15              wherein the live event video is encoded at a plurality
     6. The system of claim 1 , wherein the live event is a live                    of different bitrates to create a plurality of streams
  sports event.                                                                     including at least a low quality stream , a medium
     7. The system of claim 1 , further comprising:                                 quality stream , and a high quality stream , each of
     a first web server configured to :                                             the low quality stream , the medium quality
       receive at least one streamlet request over one ormore 20                    stream , and the high quality stream comprising a
         internet connections from the one or more end user                         group of streamlets encoded at the samerespective
          stations to retrieve the first streamlet storing the first                one of the different bitrates, each group compris
         portion of the live event video , wherein the at least                     ing at least first and second streamlets, each of the
          one streamlet request from the one or more end user                       streamlets corresponding to a portion of the live
          stations includes a request for a currently selected 25                   event video ;
          first streamlet from one of the low quality stream , the               wherein at least one of the low quality stream , the
         medium quality stream , and the high quality stream                       medium quality stream , and the high quality
         based upon a determination by the end user station to                      stream is encoded at a bit rate of no less than 600
          select a higher or lower bitrate version of the live                     kbps; and
          event video ;                                              30          wherein the first streamlets of each of the low quality
       retrieve from the storage device the requested first                         stream , the medium quality stream and the high
          streamlet from the currently selected one of the low                      quality stream each has an equal playback dura
          quality stream , the medium quality stream , and the                      tion and each of the first streamlets encodes the
         high quality stream ; and                                                  same portion of the live event video at a different
       send the retrieved first streamlet from the currently 35                     one of the different bitrates ;
          selected one of the low quality stream , the medium                  select a specific one of the low quality stream , the
          quality stream , and the high quality stream to the                    medium quality stream , and the high quality stream
          requesting one of the end user stations over the one                   based upon a determination by the end user station to
          or more network connections.                                            select a higher or lower bitrate version of the
     8. The system of claim 7 , wherein the first streamlets of 40                streams;
  the low quality stream , the medium quality stream , and the                 place a streamlet request to the server over the one or
  high quality stream are available before the live event is                     more network connections for the first streamlet of
  complete.                                                                      the selected stream ;
     9. The system of claim 7 , wherein the streamlets of the                  receive the requested first streamlet from the server via
  low quality stream , the medium quality stream , and the high 45                the one or more network connections ; and
  quality stream of the live event are available on a 10 second                provide the received first streamlet for playback of the
  delay .                                                                        live event video .
     10. The system of claim 7 , wherein the streamlets from                17. The end user station of claim 16 , wherein the second
  the low quality stream , the medium quality stream , and the            streamlet of each of the groups of streamlets each has the
  high quality stream of the live event, when played back , 50 same second duration and corresponds to the same second
  appear live to a viewer.                                      portion of the live event video in the low quality stream , the
     11. The system of claim 7, wherein the first web server is medium quality stream , and the high quality stream , the
  further configured to :                                       second streamlet of the low quality stream having the same
     receive at least one virtual timeline request over the one bitrate as the first streamlet of the low quality stream .
       or more internet connections from the one or more end 55 18. The end user station of claim 17 , wherein the first and
       user stations to retrieve a virtual timeline; and          second durations are different.
     send the virtual timeline to the requesting one of the end      19. The end user station of claim 16 , wherein each of the
       user stations over the one or more network connections . first streamlets has a first duration that is the range of 0.1 to
     12. The system of claim 11 , wherein the virtual timeline 5 seconds.
  corresponds to the currently selected one of the low quality 60 20. The end user station of claim 16 , wherein the first
  stream , the medium quality stream , and the high quality streamlets of the low quality stream , the medium quality
  stream .                                                        stream , and the high quality stream are available before the
     13. The system of claim 11, wherein the virtual timeline live event is complete .
  defines a playlist for a user to view .                            21. The end user station of claim 16 , wherein the stream
     14. The system of claim 11 , wherein the virtual timeline 65 lets of the low quality stream , the medium quality stream ,
  comprises a file that is configured to define a playlist for a and the high quality stream of the live event are available on
  user to view .                                                  a ten second delay.
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                                                     US 10,469,554 B2
                               21                                                                   22
     22. The end user station of claim 16 , wherein the stream           quality stream , and the high quality stream to the
  lets from the low quality stream , the medium quality stream ,         requesting one of the end user stations over the one or
  and the high quality stream of the live event, when played             more network connections.
  back , appear live to a viewer.                                     27.  The process of claim 26 , wherein the second streamlet
     23. The end user station of claim 16 , wherein the end user 5 of  each ofthe groups of streamlets each has the same second
                                                                   duration and corresponds to the same second portion of the
  station is further configured to :                               live event video in the low quality stream , the medium
     request and receive a virtual timeline ; and                   quality stream , and the high quality stream , the second
     wherein one or more streamlet requests are based on the streamlet        of the low quality stream having the same bitrate
       at least one virtual timeline.
    24. The end user station of claim 23, wherein the virtual 10 as 28.
                                                                    the The
                                                                        firstprocess
                                                                              streamletof of the low quality stream .
                                                                                          claim 26 , wherein the first and second
  timeline corresponds to the currently selected one of the low
  quality stream , the medium quality stream , and the high durations 29.  The
                                                                                are different.
                                                                                 process of claim 26 , wherein the first streamlets
  quality stream .                                                 of the  low    quality stream , the medium quality stream , and
     25. The end user station of claim 23 , wherein the virtual 15 the high quality     stream are available before the live event is
  timeline defines a playlist for a user to view .                 complete   .
     26. A process executable by one ormore servers to stream         30. A process executable by a content player device to
  a live event video for playback by one or more end user stream            a live event video over a network from a server for
  stations, the process comprising:                                playback     of the video by the content player device , the
     storing, by the one ormore servers, a plurality of streams 20 process comprising      :
       including a low quality stream , a medium quality
       stream , and a high quality stream , wherein the low           establishing    one   or more network connections between
        quality stream , the medium quality stream , and the high       the   content    player device and the server, wherein the
        quality stream each comprise a group of streamlets               server accesses a plurality of streams including a low
       encoded at a respective one of a plurality of different           quality stream , a medium quality stream , and a high
       bitrates, each group comprising at least first and second 25        quality stream , wherein the low quality stream , the
      streamlets, each of the streamlets corresponding to a               medium quality stream , and the high quality stream
      portion of the live event video ;                                   each comprise a group of streamlets encoded at a
      wherein at least one of the low quality stream , the                respective one of a plurality of different bitrates, each
        medium quality stream , and the high quality stream               group comprising at least first and second streamlets,
        is encoded at a bitrate of no less than 600 kbps ; and 30          each of the streamlets corresponding to a portion of the
      wherein the first streamlet of each of the groups of                 live event video ;
        streamlets has the same first duration and encodes                 wherein at least one of the low quality stream , the
         the same first portion of the live event video in the               medium quality stream , and the high quality stream
         low quality stream , the medium quality stream , and                is encoded at a bitrate of no less than 600 kbps; and
         the high quality stream , the first streamlet of the low 35       wherein the first streamlet of each of the groups of
         quality stream having a different one of the different              streamlets has the same first duration and encodes
        bitrates than the first streamlet of the high quality                the same first portion of the live event video in the
         stream and the first streamlet of the medium quality                low quality stream , the medium quality stream , and
         stream ;                                                            the high quality stream , the first streamlet of the low
    receiving at least one streamlet request over one or more 40              quality stream having a different bitrate than the first
       internet connections from the one or more end user                     streamlet of the high quality stream and the first
       stations to retrieve the first streamlet storing the first             streamlet of the medium quality stream ;
       portion of the live event video , wherein the at least one       selecting, by the content player device , a currently
       streamlet request from the one or more end user sta                 selected one of the low quality stream , the medium
       tions includes a request for a currently selected first 45          quality stream , and the high quality stream based upon
       streamlet from one of the low quality stream , the                  a determination by the end user station to select a
      medium quality stream , and the high quality stream                  higher or lower bitrate version of the live event video ;
       based upon a determination by the end user station to            placing a streamlet request over one or more internet
       select a higher or lower bitrate version of the live event 50       connections from the one or more end user stations to
       video ;                                                             retrieve the first streamlet storing the firstportion of the
    retrieving from the storage device the requested first                 live event video ;
       streamlet from the currently selected one of the low             receiving the requested streamlet from the server via the
       quality stream , the medium quality stream , and the high           one or more network connections ; and
       quality stream ; and                                             rendering, by the content player device , the received
    sending the retrieved first streamlet from the currently 55            streamlet for playback of the live event video .
       selected one of the low quality stream , the medium
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                  EXHIBIT E
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                                                                                                                                            US010469555B2

       United States Patent                                                                             (10 ) Patent No.: US 10,469,555 B2
       Brueck et al.                                                                                    (45 ) Date of Patent:  * Nov . 5 , 2019
  (54 ) APPARATUS, SYSTEM , AND METHOD FOR                                                      (56 )                                        References Cited
        MULTI -BITRATE CONTENT STREAMING
                                                                                                                                         U.S. PATENT DOCUMENTS
  (71) Applicant: DISH Technologies L.L.C.,                                                                4,535,355 A                        8/1985 Arn et al.
                  Englewood , CO (US)                                                                      5,168,356 A                        12/1992 Acampora et al.
  (72) Inventors: David F. Brueck , Saratoga Springs , UT                                                                                       (Continued )
                  (US) ; Mark B. Hurst, Cedar Hills, UT                                                                          FOREIGN PATENT DOCUMENTS
                  (US); R. Drew Major , Orem , UT (US)
                                                                                               CA                                         2466482 A1    5/2003
  (73) Assignee: DISH Technologies L.L.C.,                                                     EP                                         0919952 A1    6/1999
                    Englewood , CO (US)                                                                                                          (Continued )
  ( * ) Notice:     Subject to any disclaimer , the term of this                                                                          OTHER PUBLICATIONS
                    patent is extended or adjusted under 35
                    U.S.C. 154(b ) by 0 days .                                                 Roy, S., et al., “ Architecture a Modular Streaming Media Server
                    This patent is subject to a terminal dis                                   for Content Delivery Networks," 2002 IEEE. Published in the 2003
                    claimer .                                                                  International Conference on Multimedia and Expo ICME 2003 .
                                                                                                                             (Continued )
  (21) Appl. No .: 16 /252,356
  (22) Filed :     Jan. 18 , 2019                                                               Primary Examiner Chirag R Patel
                                                                                               (74 ) Attorney, Agent, or Firm — Lorenz & Kopf LLP
  (65)                Prior Publication Data
       US 2019/0158561 A1 May 23, 2019                                                           (57)                                           ABSTRACT
               Related U.S. Application Data                                                     An apparatus for multi -bitrate content streaming includes a
  (63 ) Continuation of application No. 16 /252,188 , filed on                                receiving module configured to capture media content, a
        Jan. 18 , 2019, which is a continuation of application                                streamlet module configured to segment the media content
                          (Continued )                                                        and generate a plurality of streamlets , and an encoding
                                                                                              module configured to generate a set of streamlets . The
  (51) Int. Ci.                                                                               system includes the apparatus, wherein the set of streamlets
        H04L 29/06              ( 2006.01)                                                    comprises a plurality of streamlets having identical time
        H04L 12/927             ( 2013.01)                                                    indices and durations, and each streamlet of the set of
                          (Continued )                                                        streamlets having a unique bitrate, and wherein the encoding
  (52 ) U.S. CI.                                                                              module comprises a master module configured to assign an
        CPC           H04L 65/607 ( 2013.01 ); G06F 16/183                                     encoding job to one of a plurality ofhost computingmodules
                          ( 2019.01) ; G06F 16/71 (2019.01 );                                  in response to an encoding job completion bid . A method
                         (Continued )                                                          includes receiving media content, segmenting the media
  (58 ) Field of Classification Search                                                         content and generating a plurality of streamlets, and gener
        CPC HO4N 19/34 ; H04N 19/40 ; H04N 21/2662;                                             ating a set of streamlets .
                          H04N 21/234327 ; H04N 21/2393 ;
                          (Continued )                                                                                                 27 Claims, 11 Drawing Sheets

                                                100


                                                                                                        Client
                                                                                                        Module
                                                                                                          114

                                                                        - 108
                                                       Publisher                       108
                                                                                                        End User
                                                          110                                              104

                                                 Web Server
                                                      116                          Intemet
                                                                                     106                                   Proxy Cache
                                                                                                                                 118
                                                                  108


                                                       Web Server
                                                            116                                                  Proxy Cacho
                                                                                                                     118




                                                        120                                                                120
                                                                                      Content Module
                                                                                              112
                                                                                           Web Server
                                                                                               116


                                                                                Content Server
                                                                                     102
Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 107 of 863 PageID #: 161


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       100



                                                                    Client
                                                                   Module
                                                                     114


                                 108
                                                                   End User
             Publisher                            108                 104
                110


        Web Server
           116
                                              Internet
                                                106                                   Proxy Cache
                                                                                            118
                     108
                                                                       108
                                   108
             Web Server
                116                                                         Proxy Cache
                                                                                118




              120                                                                     120
                                                 Content Module
                                                         112
                                                      Web Server
                                                         116


                                           Content Server
                                                102




                                         FIG . 1
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                                              200



                                        FIG . 2a


                                         Playback Time Duration

                                                    204



                                                    206
        202


                                                    208




                                       FIG . 2b
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                                                                  302




                  0          ??????   2          3      4          5          6      7        8                n




              303 303           303   303 303               303        303        303 303         303   303
                                                 FIG . 3a
                                                                   200

                            306a                -306b                  306c               -306d         306n


        204        304                    304                 304                   304                        304



       206            304                 304                 304                   304                        304




       208         304                    304                 304                   304                        304




                                                 FIG . 3b
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         UEndser 114                       Web Server 116


                              306
                                           Streamlt Datbse   408



                             MCondtuel Encoder Module 406
                                    112                                                                              FIG
                                                                                                                     .
                                                                                                                     4


                                     212
                                                                                      Metad Datbse   414


                                           MStreamlt odule 404                     Metad Man ger 412

                                           RecivngModule     402


         Publisher   110
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         EndUser 114                         Web Server        116                                         Host 504

                                                                                                           Host 504
                                             Streamlt Datbse   408

                                                                                                           Host 504
                           MCondtuel   112                                           Master Module   502              5a
                                                                                                                      .
                                                                                                                      FIG
                                                                                                           Host 504

                                             Streamlt Module   404
                                                                                                           Host 504

                                              RecivngModule    402        EMnocduler 406                   Host 504

         Publisher   110
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       306d 304d1                                     304 5
       306c 304c1
                  |304dcba2 3|||||040cba3 ||3|040ba4 3|046c5
       306b 304b1
       306a 304a1                                    304a5
                                                                                            502d
                                                                                     5026                    FIG
                                                                                                             .
                                                                                                             5b
                                                                          502b
                303n
                  ...
                                      EncodingTime               502a
                                                                                      DIO
               30 e
                303bc
                303a
Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 116 of 863 PageID #: 170


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                QVT
                600

                QMX
                602a                                            QVT
                                                                 600


                QMX
                602b                                            QMX
                                                                602

                QMX
                602c

                                                             FIG . 6b
            FIG . 6a
                                            QVT
                                            600

               Start           End                 Live      Publisher
               604             606                 608         Data
                                                                610

                           Bitrate Values
                               616                           Encryption
                Frame Size                  Channels            612
                   618                        620

                  Codecs               Sample Rate
                   622                       624              Duration
                                                                614
                           Frames Parser
                               626

                                  FIG . 6C
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                                                                                                                171             13

                                     MSotdaugilneg 1011131415|1412
                                             709                     304                    304   AL 1101          151
                                                                                                                   I

                                                                                                                           91
       114
             MCAongtdreulntr   702                                                  MCStoardecumhlt 704 CStarecmhlet 710   14
                                                                                                                                12
                                                                                                                                     CNMoentdrwulek 706   7
                                                                                                                                                          .
                                                                                                                                                          FIG
                                                                       304
                                                                                                                            8




                                                                                                                     6


                                                                                            304
                                                    View r 708                                                                  11


                                                                             WServber 116
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                  800


                                                   Start
                                                    802



                                             Receive Content
                                                   804



                                            Generate streamlets
                                                   808



                                            Encode Streamlets
                                                   810


                                             Store Streamlets
                                                   812



                                             Serve Streamlets
                                                   814


                                                   End
                                                   816




                                               FIG . 8
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                 Start                       902                            900


        Provide Agent Controller
                Module                              904


           Request Streamlet                        906


                                      908

               Streamlet                           Request Streamlet from
            Stored Locally ?                          Streamlet Server              916
                                      No
                                                    Archive Streamlet in
                                                           Cache                    918
        Retrieve Streamlet From
                 Cache                              910


              Rate Shift ?                          911


           Arrange Streamlets                       912



           Deliver Streamlet                        914



                  End                        920


                                       FIG . 9
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                  Start                    1002
                                                                                       1000

            Receive Streamlet                 1004


            Monitor Receive
                  Time                        1006


               Generate
              Performance                     1008
                 Factor

                                    1010                               1016
                                                                                                 1017

                Upshift ?          Yes            Sustain Upshift      Yes             Upshift
                                                      Quality ?

                      No                                   No
                                   1012
                                                                              1018

               Downshift ?         Yes               Downshift


                      No

                                    1014

       No    End of Stream ?


                        Yes
                                      1016
                  End
                                                                    FIG . 10
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                                                      US 10,469,555 B2
                                                                                                     2
      APPARATUS, SYSTEM , AND METHOD FOR                                Streaming offers the advantage of immediate access to the
       MULTI - BITRATE CONTENT STREAMING                             content but currently sacrifices quality compared with down
                                                                     loading a file of the same content. Streaming also provides
            CROSS -REFERENCES TO RELATED                             the opportunity for a user to select different content for
                                                                   5 viewing on an ad hoc basis , while downloading is by
                        APPLICATIONS
                                                                     definition restricted to receiving a specific content selection
     This application is a continuation of U.S. patent applica        in its entirety or not at all. Downloading also supports
  tion Ser. No. 16 /004,056 filed on Jun . 8 , 2018 , which is a      rewind , fast forward , and direct seek operations, while
  continuation of U.S. patent application Ser. No. 15/414,027 streaming is unable to fully support these functions. Stream
  (now U.S. Pat . No. 9,998,516 ) filed on Jan. 24 , 2017 , which 10 ing is also vulnerable to network failures or congestion .
  is a continuation of U.S. patent application Ser. No. 14/719,         Another technology , known as “ progressive downloads,”
  122 filed on May 21, 2015 , which is a continuation of U.S. attempts to combine the strengths of the above two tech
  patent application Ser. No. 14 / 106,051 filed on Dec. 13 , nologies. When a progressive download is initiated , the
  2013 (now U.S. Pat. No. 9,071,668 ), which is a continuation
  of U.S.patent application Ser. No. 13/617,114 , filed on Sep. 15 media      file download begins, and the media player waits to
   14 , 2012 (now U.S. Pat. No. 8,612,624 ), which is a con that playback canuntil
                                                                     begin   playback          there is enough of the file downloaded
                                                                                           begin  with the hope that the remainder of
  tinuation of U.S.patent Ser. No. 12 /906,940 filed on Oct. 18 , the file will be completely           downloaded before playback
  2010 (now U.S. Pat. No. 8,402,156 ), which is a continuation
  of U.S.patent application Ser. No. 11/673,483 , filed on Feb. “ catches up .” This waiting period before playback can be
  9, 2007 (now U.S. Pat. No. 7,818,444 ), which is a continu- 20 substantialdepending on network conditions, and therefore
  ation - in -part of application Ser. No. 11 /116,783, filed on is not a complete or fully acceptable solution to the problem
  Apr. 28 , 2005 (now U.S. Pat. No. 8,868,772 ), which claims ofGenerally
                                                                        media presentation over a network .
                                                                                    , three basic challenges exist with regard to data
  the benefit of U.S. Provisional Application No. 60 /566,831,
  filed on Apr. 31, 2004 , all of which are incorporated herein transport streaming over a network such as the Internet that
  by reference .                                                  25 has a varying amount of data loss. The first challenge is
                                                                     reliability . Most streaming solutions use a TCP connection ,
               BACKGROUND OF THE INVENTION                           or “ virtual circuit,” for transmitting data. A TCP connection
                                                                     provides a guaranteed delivery mechanism so that data sent
                        Field of the Invention                       from one endpoint will be delivered to the destination , even
                                                                  30 if portions are lost and retransmitted . A break in the conti
       The invention relates to video streaming over packet nuity of a TCP connection can have serious consequences
  switched networks such as the Internet , and more particu when the data must be delivered in real- time. When a
  larly relates to adaptive- rate shifting of streaming content network adapter detects delays or losses in a TCP connec
  over such networks.                                                tion , the adapter “ backs off from transmission attempts for
                                                                  35 a moment and then slowly resumes the original transmission
                    Description of the Related Art                   pace. This behavior is an attempt to alleviate the perceived
                                                                     congestion . Such a slowdown is detrimental to the viewing
       The Internet is fast becoming a preferred method for or listening experience of the user and therefore is not
  distributing media files to end users . It is currently possible acceptable .
  to download music or video to computers, cell phones , or 40 The second challenge to data transport is efficiency .
  practically any network capable device. Many portable Efficiency refers to how well the user's available bandwidth
  media players are equipped with network connections and is used for delivery of the content stream . This measure is
  enabled to play music or videos. The music or video files directly related to the reliability of the TCP connection .
  (hereinafter “ media files” ) can be stored locally on themedia When the TCP connection is suffering reliability problems,
  player or computer, or streamed or downloaded from a 45 a loss of bandwidth utilization results . The measure of
  server.                                                            efficiency sometimes varies suddenly, and can greatly
      “ Streaming media ” refers to technology that delivers impact the viewing experience .
  content at a rate sufficient for presenting the media to a user       The third challenge is latency . Latency is the time mea
  in real time as the data is received . The data may be stored sure form the client's point-of-view , of the interval between
  in memory temporarily until played and then subsequently 50 when a request is issued and the response data begins to
  deleted . The user has the immediate satisfaction of viewing arrive. This value is affected by the network connection's
  the requested content without waiting for the media file to reliability and efficiency, and the processing time required
  completely download . Unfortunately , the audio /video qual by the origin to prepare the response . A busy or overloaded
  ity that can be received for real time presentation is con server, for example ,will take more time to process a request.
  strained by the available bandwidth of the user's network 55 As well as affecting the start time of a particular request ,
  connection . Streaming may be used to deliver content on latency has a significant impact on the network throughput
  demand (previously recorded ) or from live broadcasts.             of TCP.
      Alternatively, media files may be downloaded and stored           From the foregoing discussion , it should be apparent that
  on persistent storage devices, such as hard drives or optical a need exists for an apparatus, system , and method that
  storage, for later presentation . Downloading complete media 60 alleviate the problems of reliability, efficiency, and latency .
  files can take large amounts of time depending on the Additionally, such an apparatus, system , and method would
  network connection . Once downloaded , however, the con offer instantaneous viewing along with the ability to fast
  tent can be viewed repeatedly anytime or anywhere. Media forward , rewind , direct seek , and browse multiple streams.
   files prepared for downloading usually are encoded with a Beneficially , such an apparatus, system , and method would
  higher quality audio / video than can be delivered in real time. 65 utilize multiple connections between a source and destina
  Users generally dislike this option , as they tend to want to       tion , requesting varying bitrate streams depending upon
  see or hear themedia file instantaneously .                         network conditions.
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                                                      US 10,469,555 B2
                                 3                                                                   4
                SUMMARY OF THE INVENTION                               Furthermore, the method may include converting the
                                                                   media content to raw audio or raw video , and segmenting the
     The present invention has been developed in response to content media into a plurality of sequential streamlets . The
  the present state of the art, and in particular , in response to method further comprises assigning an encoding job to one
  the problems and needs in the art that have not yet been fully 5 of a plurality of host computing modules in response to an
  solved by currently available content streaming systems. encoding job completion bid , and submitting an encoding
  Accordingly, the present invention has been developed to job completion bid based on a plurality of computing
  provide an apparatus, system , and method for adaptive -rate variables .
  content streaming that overcomemany or all of the above 10 Reference throughout this specification to features,
  discussed shortcomings in the art.                               advantages, or similar language does not imply that all of the
     The apparatus for adaptive -rate content streaming is pro      features and advantages that may be realized with the
  vided with a logic unit containing a plurality of modules present invention should be or are in any single embodiment
  configured to functionally execute the necessary steps . of the invention . Rather, language referring to the features
  These modules in the described embodiments include a 15 and advantages is understood to mean that a specific feature ,
  receiving module configured to receive media content, a advantage, or characteristic described in connection with an
  streamlet module configured to segment the media content            embodiment is included in at least one embodiment of the
  and generate a plurality of sequential streamlets, and an           present invention . Thus, discussion of the features and
  encoding module configured to encode each streamlet as a advantages , and similar language, throughout this specifi
  separate content file .                                       20 cation may , but do not necessarily , refer to the same embodi
     The encoding module is further configured to generate a ment.
  set of streamlets for each of the sequential streamlets. Each       Furthermore , the described features , advantages, and
  streamlet may comprise a portion of the media content characteristics of the invention may be combined in any
  having a predetermined length of time. The predetermined suitable manner in one or more embodiments. One skilled in
  length of timemay be in the range ofbetween about 0.1 and 25 the relevant art will recognize that the invention may be
  5 seconds .                                                         practiced without one or more of the specific features or
      In one embodiment, a set of streamlets comprises a advantages of a particular embodiment. In other instances ,
  plurality of streamlets having identical time indices , and additional features and advantages may be recognized in
  each streamlet of the set of streamlets has a unique bitrate . certain embodiments thatmay not be present in all embodi
    The receiving module is configured to convert the media 30 ments of the invention .
  content to raw audio or raw video . The encoding module           These features and advantages of the present invention
  may include a master module configured to assign an will becomemore fully apparent from the following descrip
  encoding job to one of a plurality of host computing modules tion and appended claims, or may be learned by the practice
   in response to an encoding job completion bid . The job of the invention as set forth hereinafter.
  completion bid may be based on a plurality of computing 35
  variables selected from a group consisting of current encod                 BRIEF DESCRIPTION OF THE DRAWINGS
   ing job completion percentage, average encoding job
  completion time, processor speed , and physical memory                  In order that the advantages of the invention will be
  capacity .                                                           readily understood, a more particular description of the
      A system of the present invention is also presented for 40 invention briefly described above will be rendered by ref
  adaptive -rate content streaming . In particular , the system , in erence to specific embodiments that are illustrated in the
  one embodiment, includes a receiving module configured to appended drawings. Understanding that these drawings
  receive media content, a streamlet module configured to depict only typical embodiments of the invention and are not
   segment the media content and generate a plurality of therefore to be considered to be limiting of its scope, the
  sequential streamlets , each streamlet comprising a portion of 45 invention will be described and explained with additional
  the media content having a predetermined length of time, specificity and detail through the use of the accompanying
  and an encoding module configured to encode each stream              drawings, in which :
  let as a separate content file and generate a set of streamlets.        FIG . 1 is a schematic block diagram illustrating one
      The system also includes a plurality of streamlets having embodiment of a system for dynamic rate shifting of stream
  identical time indices and each streamlet of the set of 50 ing content in accordance with the present invention ;
  streamlets having a unique bitrate . The encoding module                FIG . 2a is a schematic block diagram graphically illus
  comprises a master module configured to assign an encoding trating one embodiment of a media content file ;
  job to one of a plurality of host computing modules in                  FIG . 2b is a schematic block diagram illustrating one
  response to an encoding job completion bid .                         embodiment of a plurality of streamshaving varying degrees
      A method of the present invention is also presented for 55 of quality and bandwidth ;
  adaptive -rate content streaming. In one embodiment, the                FIG . 3a is a schematic block diagram illustrating one
  method includes receiving media content, segmenting the embodiment of a stream divided into a plurality of source
  media content and generating a plurality of sequential streamlets ;
  streamlets , and encoding each streamlet as a separate content          FIG . 3h is a schematic block diagram illustrating one
  file .                                                            60 embodiment of sets of streamlets in accordance with the
       The method also includes segmenting the media content present invention ;
  into a plurality of streamlets , each streamlet comprising a            FIG . 4 is a schematic block diagram illustrating in greater
  portion of the media content having a predetermined length detail one embodiment of the content module in accordance
  of time. In one embodiment, the method includes generating with the present invention ;
  a set of streamlets comprising a plurality of streamlets 65 FIG . 5a is a schematic block diagram illustrating one
  having identical time indices, and each streamlet of the set embodiment of an encoder module in accordance with the
  of streamlets having a unique bitrate .                              present invention ;
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                                                     US 10,469,555 B2
                                 5                                                                  6
     FIG . 56 is a schematic block diagram illustrating one           similar language throughout this specification may, but do
  embodiment of parallel encoding of streamlets in accor not necessarily, all refer to the same embodiment.
  dance with the present invention ;                                    Reference to a signal bearing medium may take any form
     FIG . 6a is a schematic block diagram illustrating one capable of generating a signal, causing a signal to be
  embodiment of a virtual timeline in accordance with the 5 generated , or causing execution of a program of machine
  present invention ;                                                readable instructions on a digital processing apparatus. A
     FIG . 6b is a schematic block diagram illustrating an signal bearing medium may be embodied by a transmission
  alternative embodiment of a VT in accordance with the line, a compact disk , digital-video disk , a magnetic tape , a
  present invention ;                                                Bernoulli drive, a magnetic disk , a punch card , flash
     FIG . 6c is a schematic block diagram illustrating one 10 memory , integrated circuits , or other digital processing
  embodiment of a QMX in accordance with the present apparatus memory device. In one embodiment, a computer
  invention;                                                         program product including a computer useable medium
      FIG . 7 is a schematic block diagram graphically illustrat having a computer readable program of computer instruc
  ing one embodiment of a client module in accordance with 15 tions stored thereon that when executed on a computer
  the present invention ;                                            causes the computer to carry out operations for multi- bitrate
      FIG . 8 is a schematic flow chart diagram illustrating one content streaming as described herein .
  embodiment of a method for processing content in accor                Furthermore, the described features, structures, or char
  dance with the present invention ;                                 acteristics of the invention may be combined in any suitable
      FIG . 9 is a schematic flow chart diagram illustrating one 20 manner in one or more embodiments . In the following
  embodiment of a method for viewing a plurality of stream           description , numerous specific details are provided , such as
  lets in accordance with the present invention ; and                examples of programming, software modules , user selec
     FIG . 10 is a schematic flow chart diagram illustrating one tions , network transactions, database queries, database struc
  embodiment of a method for requesting streamlets within an tures, hardware modules , hardware circuits, hardware chips,
  adaptive-rate shifting content streaming environment in 25 etc., to provide a thorough understanding of embodiments of
  accordance with the present invention.                             the invention . One skilled in the relevant art will recognize ,
                                                                     however, that the invention may be practiced without one or
              DETAILED DESCRIPTION OF THE                            more of the specific details, or with other methods, compo
                            INVENTION                                nents ,materials , and so forth . In other instances, well-known
                                                                  30 structures, materials, or operations are not shown or
     Many of the functional units described in this specifica described in detail to avoid obscuring aspects of the inven
  tion have been labeled as modules, in order to more par            tion .
  ticularly emphasize their implementation independence . For           FIG . 1 is a schematic block diagram illustrating one
  example, a module may be implemented as a hardware embodiment of a system 100 for dynamic rate shifting of
  circuit comprising custom VLSI circuits or gate arrays, 35 streaming content in accordance with the present invention .
  off- the-shelf semiconductors such as logic chips, transistors , In one embodiment, the system 100 comprises a content
  or other discrete components. A module may also be imple           server 102 and an end user station 104. The content server
  mented in programmable hardware devices such as field 102 and the end user station 104 may be coupled by a data
  programmable gate arrays, programmable array logic , pro           communications network . The data communications net
  grammable logic devices or the like .                           40 work may include the Internet 106 and connections 108 to
     Modules may also be implemented in software for execu           the Internet 106. Alternatively , the content server 102 and
  tion by various types of processors . An identified module of the end user 104 may be located on a common local area
  executable code may , for instance , comprise one or more network , wireless area network , cellular network , virtual
  physical or logical blocks of computer instructions which local area network , or the like . The end user station . 104 may
  may, for instance , be organized as an object, procedure , or 45 comprise a personal computer (PC ), an entertainment sys
   function . Nevertheless , the executables of an identified tem configured to communicate over a network , or por
  module need not be physically located together, but may table electronic device configured to present content. For
  comprise disparate instructions stored in different locations example , portable electronic devices may include, but are
  which , when joined logically together , comprise the module not limited to , cellular phones, portable gaming systems, and
  and achieve the stated purpose for the module .                 50 portable computing devices .
     Indeed , a module of executable code may be a single               In the depicted embodiment, the system 100 also includes
  instruction , or many instructions, and may even be distrib        a publisher 110 , and a web server 116. The publisher 110
  uted over several different code segments , among different may be a creator or distributor of content. For example , if the
  programs, and across several memory devices. Similarly, content to be streamed were a broadcast of a television
  operational data may be identified and illustrated herein 55 program , the publisher 110 may be a television or cable
  within modules , and may be embodied in any suitable form          network channel such as NBC® , or MTV® . Content may be
  and organized within any suitable type of data structure . The transferred over the Internet 106 to the content server 102,
  operational data may be collected as a single data set , ormay where the content is received by a content module 112. The
  be distributed over different locations including over differ content module 112 may be configured to receive, process,
  ent storage devices , and may exist, at least partially ,merely 60 and store content. In one embodiment, processed content is
  as electronic signals on a system or network .                     accessed by a client module 114 configured to play the
     Reference throughout this specification to “ one embodi         content on the end user station 104. In a further embodiment,
  ment,” “ an embodiment,” or similar language means that a the client module 114 is configured to receive different
  particular feature , structure , or characteristic described in portions of a content stream from a plurality of locations
  connection with the embodiment is included in at least one 65 simultaneously. For example , the client module 114 may
  embodiment of the present invention. Thus, appearances of request and receive content from any of the plurality ofweb
  the phrases " in one embodiment," " in an embodiment,” and          servers 116 .
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                                7                                                                  8
    Content from the content server 102 may be replicated to           As described above , the duration of one streamlet 304
  other web servers 116 or alternatively to proxy cache servers may be approximately two seconds. Likewise each set 306
   118. Replicating may occur by deliberate forwarding from may comprise a plurality of streamlets 304 where each
   the content server 102 , or by a web , cache, or proxy server streamlet 304 has a playable duration of two seconds .
  outside of the content server 102 asking for content on 5 Alternatively, the duration of the streamlet 304 may be
  behalf of the client module 114. In a further embodiment, predetermined or dynamically variable depending upon a
  contentmay be forwarded directly to web 116 or proxy 118 variety of factors including, but not limited to , network
  servers through direct communication channels 120 without congestion , system specifications, playback resolution and
  the need to traverse the Internet 106 .                            quality , etc. In the depicted embodiment, the content 200
    FIG . 2a is a schematic block diagram graphically illus- 10 may   be may
                                                                sets 306 formeddepend
                                                                                 of theonplurality
                                                                                          the lengthofofsets
                                                                                                          the306. The200
                                                                                                              content number  of
                                                                                                                         and the
  trating one embodiment of a media content (hereinafter            length or duration of each streamlet 304 .
  " content" ) file 200. In one embodiment, the content file 200       FIG . 4 is a schematic block diagram illustrating in greater
  is distributed by the publisher 110. The content file 200 may      detail one embodiment of the content module 112 in accor
  comprise  a television broadcast, sports event,movie,music, 15 dance with the present invention. The content module 112
  concert, etc. The content file 200 may also be live or            may comprise a capture module 402 , a streamlet module
  archived content. The content file 200 may comprise uncom         404 , an encoder module 406 , a streamlet database 408 , and
  pressed video and audio , or alternatively, video or audio .      the web server 116. In one embodiment, the capture module
   Alternatively , the content file 200 may be compressed using 402 is configured to receive the content file 200 from the
  standard or proprietary encoding schemes . Examples of 20 publisher 110. The capture module 402 may be configured to
   encoding schemes capable of use with the present invention “ decompress” the content file 200. For example , if the
  include, but are not limited to , DivX® , Windows Media content file 200 arrives having been encoded with one of the
  Video® , Quicktime Sorenson 3® , On2 , OGG Vorbis, MP3, above described encoding schemes , the capture module 402
  or Quicktime 6.5 /MPEG -4® encoded content.                       may convert the content file 200 into raw audio and /or video .
      FIG . 2b is a schematic block diagram illustrating one 25 Alternatively , the content file 200 may be transmitted by the
  embodiment of a plurality of streams 202 having varying publisher in a format 110 that does not require decompres
  degrees of quality and bandwidth . In one embodiment, the sion .
  plurality of streams 202 comprises a low quality stream 204 ,        The capture module 402 may comprise a capture card
  a medium quality stream 206 , and a high quality stream 208 . configured for TV and /or video capture. One example of a
  Each of the streams 204 , 206 , 208 is a copy of the content 30 capture card suitable for use in the present invention is the
  file 200 encoded and compressed to varying bit rates. For DRC - 2500 by Digital Rapids of Ontario , Canada . Alterna
  example , the low quality stream 204 may be encoded and tively , any capture card capable of capturing audio and video
  compressed to a bit rate of 100 kilobits per second (kbps), may be utilized with the present invention . In a further
  the medium quality stream 206 may be encoded and com              embodiment, the capture module 402 is configured to pass
  pressed to a bit rate of 200 kbps, and the high quality stream 35 the content file to the streamlet module 404 .
  208 may be encoded and compressed to 600 kbps.                       The streamlet module 404, in one embodiment, is con
     FIG . 3a is a schematic block diagram illustrating one figured to segment the content file 200 and generate source
  embodiment of a stream 302 divided into a plurality of streamlets 303 that are not encoded . As used herein , the term
  source streamlets 303. As used herein , streamlet refers to " segment” refers to an operation to generate a streamlet of
  any sized portion of the content file 200. Each streamlet 303 40 the content file 200 having a duration or size equal to or less
  may comprise a portion of the content contained in stream         than the duration or size of the content file 200. The
   302, encapsulated as an independent media object . The streamlet module 404 may be configured to segment the
  content in a streamlet 303 may have a unique time index in content file 200 into streamlets 303 each having an equal
  relation to the beginning of the content contained in stream      duration . Alternatively, the streamlet module 404 may be
  302. In one embodiment, the content contained in each 45 configured to segment the content file 200 into streamlets
  streamlet 303 may have a duration of two seconds . For 303 having equal file sizes.
  example, streamlet 0 may have a time index of 00:00                  The encoding module 406 is configured to receive the
  representing the beginning of content playback , and stream       source streamlets 303 and generate the plurality of streams
  let 1 may have a time index of 00:02 , and so on . Alterna 202 of varying qualities . The original content file 200 from
  tively, the time duration of the streamlets 304 may be any 50 the publisher may be digital in form and may comprise
  duration smaller than the entire playback duration of the content having a high bit rate such as, for example , 2 mbps .
  content in stream 302. In a further embodiment, the stream         The contentmay be transferred from the publisher 110 to the
  lets 303 may be divided according to file size instead of a       content module 112 over the Internet 106. Such transfers of
  time index and duration .                                         data are well known in the art and do not require further
    FIG . 3b is a schematic block diagram illustrating one 55 captured
  embodiment of sets 306 of streamlets in accordance with the
                                                              discussionbroadcast
                                                                         herein. Alternatively
                                                                                 .
                                                                                              , the contentmay comprise a
  present invention . As used herein , the term “ set” refers to a   In a further embodiment, the encoding module 406 is
  group of streamlets having identical time indices and dura       configured to generate a plurality of sets 306 of streamlets
  tions but varying bitrates. In the depicted embodiment, the 304. The sets 306 , as described above with reference to FIG .
  set 306a encompasses all streamlets having a time index of 60 3b , may comprise streamlets having an identical time index
  00:00 . The set 306a includes encoded streamlets 304 having and duration , and a unique bitrate . As with FIG . 3b , the sets
  low , medium , and high 204 , 206 , 208 bitrates. Of course 306 and subsequently the plurality of streams 202 may
  each set 306 may include more than the depicted three comprise the low quality stream 204, the medium quality
  bitrates which are given by way of example only . One stream 206 , and the high quality stream 208. Alternatively ,
  skilled in the art will recognize that any number of streams 65 the plurality of streams 202 may comprise any number of
  having different bitrates may be generated from the original streams deemed necessary to accommodate end user band
  content 200 .                                                     width .
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                                9                                                                  10
     The encoder module 406 is further configured to encode          streamlet 303 to produce a raw streamlet. As used herein , the
  each source streamlet 303 into the plurality of streams 202        term " raw streamlet” refers to a streamlet 303 that is
  and streamlet sets 306 and store the streamlets in the             uncompressed or lightly compressed to substantially reduce
   streamlet database 408. The encoding module 406 may size with no significant loss in quality. A lightly compressed
  utilize encoding schemes such as DivX® , Windows Media 5 raw streamlet can be transmitted more quickly and to more
   Video 9® , Quicktime 6.5 Sorenson 3® , or Quicktime 6.5 / hosts . Each host 504 is coupled with the master 502 and
  MPEG -4® . Alternatively , a custom encoding scheme may configured to receive a raw streamlet from the master 502
  be employed .                                                         for encoding . The hosts 504, in one example , generate a
       The content module 112 may also include a metadata plurality of streamlets 304 having identical time indices and
  module 412 and a metadata database 414. In one embodi- 10 durations, and varying bitrates. Essentially each host 504
  ment, metadata comprises static searchable content infor may be configured to generate a set 306 from the raw
  mation . For example, metadata includes , but is not limited streamlet 503 sent from the master 502. Alternatively, each
  to , air date of the content, title, actresses, actors, length , and host 504 may be dedicated to producing a single bitrate in
   episode name.Metadata is generated by the publisher 110 , order to reduce the time required for encoding .
  and may be configured to define an end user environment. In 15 Upon encoding completion , the host 504 returns the set
   one embodiment, the publisher 100 may define an end user 306 to themaster 502 so that the encoding module 406 may
  navigational environment for the content including menus,        store the set 306 in the streamlet database 408. The master
  thumbnails , sidebars , advertising, etc. Additionally , the pub 502 is further configured to assign encoding jobs to the hosts
  lisher 110 may define functions such as fast forward , rewind, 504. Each host is configured to submit an encoding job
  pause , and play thatmay be used with the content file 200. 20 completion bid (hereinafter “ bid ” ). The master 502 assigns
   The metadata module 412 is configured to receive the encoding jobs depending on the bids from the hosts 504 .
  metadata from the publisher 110 and store the metadata in Each host 504 generates a bid depending upon a plurality of
  the metadata database 414. In a further embodiment, the computing variables which may include, but are not limited
  metadata module 412 is configured to interface with the to , current encoding job completion percentage, average job
  client module 114, allowing the client module 114 to search 25 completion time, processor speed and physical memory
  for content based upon at least one of a plurality ofmetadata  capacity .
  criteria . Additionally, metadata may be generated by the         For example , a host 504 may submit a bid that indicates
  content module 112 through automated process (es ) or          that based on past performance history the host 504 would
  manual definition .                                            be able to complete the encoding job in 15 seconds. The
     Once the streamlets 304 have been received and pro- 30 master 502 is configured to select from among a plurality of
  cessed , the client module 114 may request streamlets 304 bids the best bid and subsequently submit the encoding job
  using HTTP from the web server 116. Using a standard to the host 504 with the best bid . As such , the described
  protocol such as HTTP eliminates the need for network encoding system does not require that each host 504 have
  administrators to configure firewalls to recognize and pass identical hardware but beneficially takes advantage of the
  through network traffic for a new , specialized protocol . 35 available computing power of the hosts 504. Alternatively ,
  Additionally, since the client module 114 initiates the the master 502 selects the host 504 based on a first come first
  request, the web server 116 is only required to retrieve and serve basis, or some other algorithm deemed suitable for a
  serve the requested streamlet 304. In a further embodiment, particular encoding job .
  the clientmodule 114 may be configured to retrieve stream         The time required to encode one streamlet 304 is depen
  lets 304 from a plurality of web servers 116 .              40 dent upon the computing power of the host 504 , and the
     Each web server 116 may be located in various locations encoding requirements of the content file 200. Examples of
  across the Internet 106. The streamlets 304 may essentially encoding requirements may include, but are not limited to ,
  be static files . As such , no specialized media server or two or multi -pass encoding , and multiple streams of differ
  server -side intelligence is required for a client module 114 to ent bitrates. One benefit of the present invention is the ability
  retrieve streamlets 304. Streamlets 304 may be served by the 45 to perform two-pass encoding on a live content file 200.
  web server 116 or cached by cache servers of Internet Typically, in order to perform two- pass encoding prior art
  Service Providers (ISPs ), or any other network infrastructure    systemsmust wait for the content file to be completed before
  operators, and served by the cache server. Use of cache           encoding.
  servers is well known to those skilled in the art, and will not     The present invention , however, segments the content file
  be discussed further herein . Thus, a highly scalable solution 50 200 into source streamlets 303 and the two-pass encoding to
  is provided that is not hindered by massive amounts of client a plurality of streams 202 may be performed on each
  module 114 requests to the web server 116 at any specific          corresponding raw streamlet without waiting for a TV show
  location , especially the web server 116 most closely asso         to end , for example. As such , the content module 112 is
  ciated with or within the content module 112                       capable of streaming the streamlets over the Internet shortly
     FIG . 5a is a schematic block diagram illustrating one 55 file
  embodiment of an encoder module 406 in accordance with
                                                               after200.
                                                                     the content module 112 begins capture of the content
                                                                          The delay between a live broadcast transmitted
  the present invention . In one embodiment, the encoder from the publisher 110 and the availability of the content
  module 406 may include a master module 502 and a depends on the computing power of the hosts 504 .
  plurality of host computing modules (hereinafter “ host" )        FIG . 5b is a schematic block diagram illustrating one
  504. The hosts 504 may comprise personal computers, 60 embodiment of parallel encoding of streamlets in accor
  servers, etc. In a further embodiment, the hosts 504 may be dance with the present invention . In one example, the
  dedicated hardware , for example , cards plugged into a single capture module 402 (of FIG . 4 )begins to capture the content
  computer.                                                      file and the streamlet module 404 generates a first streamlet
     The master module (hereinafter “ master” ) 502 is config    303a and passes the streamlet to the encoding module 406 .
  ured to receive streamlets 303 from the streamlet module 65 The encoding module 406 may take 10 seconds, for
  404 and stage the streamlet 303 for processing . In one example , to generate the first set 306? of streamlets 304a
  embodiment, the master 502 may decompress each source (304al , 304a2 , 304a3 , etc. represent streamlets 304 of
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  different bitrates ). FIG . 5b illustrates the encoding process        time-selective manner so that streamlets are processed at
  generically as block 502 to graphically illustrate the time            regular time intervals and transmitted at these time intervals.
  duration required to process a raw or lightly encoded stream    Returning now to FIG . 5a , as depicted , themaster 502 and
  let 303 as described above with reference to the encoding the hosts 504 may be located within a single local area
  module 406. The encoding module 406 may simultaneously 5 network , or in other terms, the hosts 504 may be in close
  process more than one streamlet 303 , and processing of physical proximity to the master 502. Alternatively , the hosts
  streamlets will begin upon arrival of the streamlet from the 504 may receive encoding jobs from the master 502 over the
  capture module 402.                                                    Internet or other communications network . For example ,
    During the 10 seconds required to encode the first stream         10
                                                                         consider  a live sports event in a remote location where it
  let 303a , the streamlet module 404 has generated five                 would be difficult to setup multiple hosts . In this example, a
  additional 2 - second streamlets 303b , 303c , 303d, 303e , 3035,     master performs no encoding or alternatively light encoding
  for encoding and the master 502 has prepared and staged the            before publishing the streamlets online. The hosts 504 would
  corresponding raw streamlets. Two seconds after the first set then retrieve those streamlets and encode the streamlets into
  306? is available the next set 306b is available , and so on . 15 the multiple bitrate sets 306 as described above .
  As such , the content file 200 is encoded for streaming over       Furthermore, hosts 504 may be dynamically added or
   the Internet and appears live. The 10 second delay is given removed from the encoding module without restarting the
  herein by way of example only. Multiple hosts 504 may be encoding job and /or interrupting the publishing of stream
  added to the encoding module 406 in order to increase the lets. If a host 504 experiences a crash or some failure , its
  processing capacity of the encoding module 406. The delay 20 encoding work is simply reassigned to another host.
  may be shortened to an almost unperceivable level by the            The encoding module 406 , in one embodiment, may also
  addition of high CPU powered systems, or alternatively be configured to produce streamlets that are specific to a
  multiple low powered systems.                                    particular playback platform . For example , for a single raw
      A system as described above beneficially enables multi       streamlet, a single host 504 may produce streamlets for
  pass encoding of live events .Multi -pass encoding systems 25 different quality levels for personal computer playback ,
   of the prior art require that the entire contentbe captured (or streamlets for playback on cell phones with a different,
  be complete ) because in order to perform multi -pass encod proprietary codec , a small video -only streamlet for use when
   ing the entire content must be scanned and processed more playing just a thumbnail view of the stream ( like in a
   than once . This is impossible with prior art systemsbecause programming guide ), and a very high quality streamlet for
  content from a live event is not complete until the event is 30 use in archiving .
  over. As such , with prior art systems, multi -pass encoding        FIG . 6a is a schematic block diagram illustrating one
  can only be performed once the event is over. Streamlets,              embodiment of a virtual timeline 600 in accordance with the
  ho ver, may be encoded as many times as is deemed                      present invention . In one embod ent, the virtual timeline
  necessary . Because the streamlet is an encapsulated media 600 comprises at least one quantum media extension 602.
  object of 2 seconds (for example ), multi -pass encoding may 35 The quantum media extension (hereinafter “ QMX ” ) 602
  begin on a live event once the first streamlet is captured . describes an entire content file 200. Therefore , the virtual
  Shortly after multi -pass encoding of the first streamlet 303a timeline (hereinafter “ VT” ) 600 may comprise a file that is
   is finished , multi -pass encoding of the second streamlet configured to define a playlist for a user to view . For
   303b finishes, and as such multi- pass encoding is performed example , the VT may indicate that the publisher desires a
  on a live event and appears live to a viewer.                   40 user to watch a first show QMX 602a followed by QMX
      Any specific encoding scheme applied to a streamlet may 602b and QMX 602c. As such , the publisher may define a
  take longer to complete than the time duration of the broadcast schedule in a manner similar to a television
   streamlet itself, for example , a very high quality encoding of station .
  a 2 -second streamlet may take 5 seconds to finish . Alterna         FIG . 6b is a schematic block diagram illustrating an
  tively , the processing time required for each streamlet may 45 alternative embodiment of a VT 600 in accordance with the
  be less than the time duration of a streamlet. However, present invention . In the depicted embodiment, the VT 600
  because the offset parallel encoding of successive streamlets may include a single QMX 602 which indicates that the
  are encoded by the encoding module at regular intervals publisher desires the same content to be looped over and
   (matching the intervals at which the those streamlets are over again . For example, the publisher may wish to broad
  submitted to the encoding module 406 , for example 2 50 cast a never -ending infomercial on a website .
  seconds) the output timing of the encoding module 406 does           FIG . 6c is a schematic block diagram illustrating one
  not fall behind the real- time submission rate of the unen         embodiment of a QMX 602 in accordance with the present
  coded streamlets . Conversely, prior art encoding systems invention . In one embodiment, the QMX 602 contains a
   rely on the very fastest computing hardware and software multitude of information generated by the content module
  because the systemsmust generate the output immediately 55 112 configured to describe the content file 200.Examples of
   in lock -step with the input. A prior art system that takes 2.1 information include , but are not limited to , start index 604 ,
  seconds to encode 2 seconds worth of content is considered end index 606 , whether the content is live 608, proprietary
  a failure . The present invention allows for slower than publisher data 610 , encryption level 612 , content duration
   real-time encoding processes yet still achieves a real- time 614 and bitrate values 616. The bitrate values 616 may
  encoding effect due to the parallel offset pipes.               60 include frame size 618 , audio channel 620 information ,
      The parallel offset pipeline approach described with ref codecs 622 used , sample rate 624 , and frames parser 626 .
  erence to FIG . 5b beneficially allows for long or short        A publisher may utilize the QVT 600 together with the
  encoding times without “ falling behind ” the live event. QMX 602 in order to prescribe a playback order for users ,
   Additionally, arbitrarily complex encoding of streamlets to or alternatively selectively edit content. For example , a
  multiple profiles and optimizations only lengthens the 65 publishermay indicate in the QMX 602 that audio should be
  encoding time 502 without a perceptible difference to a user          muted at time index 10:42 or video should be skipped for 3
  because the sets 306 of streamlets 304 are encoded in a                seconds at time index 18:35 . As such , the publisher may
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  selectively skip offensive content without the processing           rewind capabilities, the streamlet cache module 704 is
  requirements of editing the content.                                configured to store the plurality of streamlets 304 in the
     FIG . 7 is a schematic block diagram graphically illustrat       streamlet cache 710 for a specified time period after the
  ing one embodiment of a client module 114 in accordance             streamlet 304 has been viewed . However, once the stream
  with the present invention . The client module 114 may 5 lets 304 have been deleted, they may be requested again
  comprise an agent controller module 702 , a streamlet cache         from the web server 116 .
  module 704 , and a network controller module 706. In one               The network controller module 706 may be configured to
  embodiment, the agent controller module 702 is configured           receive streamlet requests from the streamlet cache module
  to interface with a viewer 708 , and transmit streamlets 304 704 and open a connection to the web server 116 or other
  to the viewer 708. Alternatively, the agent controllermodule 10 remote streamlet 304 database (not shown ). In one embodi
  702 may be configured to simply reassemble streamlets into ment, the network controller module 706 opens a TCP/IP
  a single file for transfer to an external device such as a connection to the web server 116 and generates a standard
  portable video player.                                          HTTP GET request for the requested streamlet 304. Upon
     In a further embodiment, the client module 114 may receiving the requested streamlet 304, the network controller
  comprise a plurality of agent controller modules 702. Each 15 module 706 passes the streamlet 304 to the streamlet cache
  agent controller module 702 may be configured to interface    module 704 where it is stored in the streamlet cache 710. In
  with one viewer 708. Alternatively, the agent controller a further embodiment, the network controllermodule 706 is
  module 702 may be configured to interface with a plurality configured to process and request a plurality of streamlets
  of viewers 708. The viewer 708 may be a media player (not 304 simultaneously . The network controller module 706
  shown ) operating on a PC or handheld electronic device . 20 may also be configured to request a plurality of streamlets ,
       The agent controller module 702 is configured to select a where each streamlet 304 is subsequently requested in
   quality level of streamlets to transmit to the viewer 708. The multiple parts.
  agent controller module 702 requests lower or higher quality            In a further embodiment, streamlet requests may comprise
  streams based upon continuous observation of timeintervals requesting pieces of any streamlet file . Splitting the stream
  between successive receive times of each requested stream- 25 let 304 into smaller pieces or portions beneficially allows for
   let. The method of requesting higher or lower quality an increased efficiency potential, and also eliminates prob
  streams will be discussed in greater detail below with lems associated with multiple full -streamlet requests sharing
  reference to FIG . 10 .                                              the bandwidth at any given moment. This is achieved by
       The agent controller module 702 may be configured to using parallel TCP/IP connections for pieces of the stream
  receive user commands from the viewer 708. Such com- 30 lets 304. Consequently , efficiency and network loss prob
  mands may include play, fast forward , rewind , pause , and lems are overcome, and the streamlets arrive with more
   stop. In one embodiment, the agent controller module 702 useful and predictable timing .
  requests streamlets 304 from the streamlet cache module                 In one em !          the client module 114 is configured
   704 and arranges the received streamlets 304 in a staging to use multiple TCP connections between the client module
  module 709. The staging module 709 may be configured to 35 114 and the web server 116 or web cache. The intervention
  arrange the streamlets 304 in order of ascending playback of a cache may be transparent to the client or configured by
   time. In the depicted embodiment, the streamlets 304 are the client as a forward cache. By requesting more than one
  numbered 0 , 1, 2 , 3 , 4 , etc. However, each streamlet 304 may streamlet 304 at a time in a manner referred to as “ parallel
  be identified with a unique filename.                                retrieval,” ormore than one part of a streamlet 304 at a time,
      Additionally, the agent controller module 702 may be 40 efficiency is raised significantly and latency is virtually
  configured to anticipate streamlet 304 requests and pre              eliminated . In a further embodiment, the client module
  request streamlets 304. By pre-requesting streamlets 304, allows a maximum of three outstanding streamlet 304
  the usermay fast -forward, skip randomly , or rewind through requests. The client module 114 may maintain additional
   the content and experience no buffering delay . In a further open TCP connections as spares to be available should
   embodiment, the agent controller module 702 may request 45 another connection fail. Streamlet 304 requests are rotated
   the streamlets 304 that correspond to time index intervals of among all open connections to keep the TCP flow logic for
   30 seconds within the total play time of the content. Alter any particular connection from falling into a slow - start or
  natively, the agent controller module 702 may request close mode . If the network controller module 706 has
  streamlets at any interval less than the length of the time requested a streamlet 304 in multiple parts, with each part
   index . This enables a “ fast- start" capability with no buffer- 50 requested on mutually independent TCP /IP connections, the
   ing wait when starting or fast -forwarding through content network controller module 706 reassembles the parts to
   file 200. In a further embodiment, the agent controller present a complete streamlet 304 for use by all other
  module 702 may be configured to pre-request streamlets 304 components of the clientmodule 114 .
  corresponding to specified index points within the contentor            When a TCP connection fails completely , a new request
  within other content in anticipation of the end user 104 55 may be sent on a different connection for the same streamlet
  selecting new content to view . In one embodiment, the 304. In a further embodiment, if a request is not being
  streamlet cache module 704 is configured to receive stream     satisfied in a timely manner,a redundant request may be sent
  let 304 requests from the agent controller module 702. Upon on a different connection for the same streamlet 304. If the
  receiving a request, the streamlet cache module 704 first first streamlet request's response arrives before the redun
  checks a streamlet cache 710 to verify if the streamlet 304 60 dant request response , the redundant request can be aborted .
  is present. In a further embodiment, the streamlet cache If the redundant request response arrives before the first
  module 704 handles streamlet 304 requests from a plurality request response, the first request may be aborted.
  of agent controller modules 702. Alternatively, a streamlet        Several streamlet 304 requests may be sent on a single
  cachemodule 704may be provided for each agent controller TCP connection, and the responses are caused to flow back
  module 702. If the requested streamlet 304 is not present in 65 in matching order along the same connection . This elimi
  the streamlet cache 410 , the request is passed to the network nates all but the first request latency. Because multiple
  controller module 706. In order to enable fast forward and          responses are always being transmitted , the processing
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  latency of each new streamlet 304 response after the first is    FIG . 8 is a schematic flow chart diagram illustrating one
  not a factor in performance . This technique is known in the   embodiment of a method 800 for processing content in
  industry as " pipelining." Pipelining offers efficiency in     accordance with the present invention . In one embodiment
  request- response processing by eliminating most of the        the method 800 starts 802 , and the content module 112
  effects of request latency . However, pipelining has serious 5 receives 804 content from the publisher 110. Receiving
  vulnerabilities . Transmission delays affect all of the content 804 may comprise receiving 804 a digital copy of
  responses . If the single TCP connection fails, all of the the content file 200 , or digitizing a physical copy of the
  outstanding requests and responses are lost . Pipelining          content file 200. Alternatively, receiving 804 content may
  causes a serial dependency between the requests .                 comprise capturing a radio, television , cable, or satellite
    Multiple TCP connections may be opened between the 10 generates
                                                          broadcast. 808
                                                                     Oncea received
                                                                           plurality 804
                                                                                     of ,source
                                                                                          the streamlet
                                                                                                streamletsmodule 404
                                                                                                             303 each
  client module 114 and the web server 116 to achieve the          having a fixed duration . Alternatively , the streamlets 303
  latency -reduction efficiency benefits of pipelining while       may be generated with a fixed file size.
  maintaining the independence of each streamlet 304 request.        In one embodiment, generating 808 streamlets comprises
  Several streamlet 304 requests may be sent concurrently, 15 dividing the content file 200 into a plurality of two second
  with each request being sent on a mutually distinct TCP streamlets 303. Alternatively, the streamlets may have any
  connection . This technique is labeled “ virtual pipelining” length less than or equal to the length of the stream 202. The
  and is an innovation of the present invention . Multiple encoder module 406 then encodes 810 the streamlets 303
  responses may be in transit concurrently , assuring that into sets 306 of streamlets 304 , in a plurality of streams 202
  communication bandwidth between the client module 114 20 according to an encoding scheme. The quality may be
  and the web server 116 is always being utilized . Virtual predefined , or automatically set according to end user band
  pipelining eliminates the vulnerabilities of traditional pipe width , or in response to pre -designated publisher guidelines
  lining. A delay in or complete failure of one response does      In a further embodiment, the encoding scheme comprises
  not affect the transmission of other responses because each a proprietary codec such as WMVI® . The encoder module
  response occupies an independent TCP connection. Any 25 406 then stores 812 the encoded streamlets 304 in the
  transmission bandwidth not in use by one of multiple              streamlet database 408. Once stored 812 , the web server 116
  responses (whether due to delays or TCP connection failure ) may then serve 814 the streamlets 304. In one embodiment,
  may be utilized by other outstanding responses.                   serving 814 the streamlets 304 comprises receiving stream
      A single streamlet 304 request may be issued for an entire let requests from the client module 114 , retrieving the
  streamlet 304 , or multiple requests may be issued , each for 30 requested streamlet 304 from the streamlet database 408 ,
  a different part or portion of the streamlet. If the streamlet is and subsequently transmitting the streamlet 304 to the client
  requested in several parts, the parts may be recombined by module 114. The method 800 then ends 816 .
  the client module 114 streamlet .                                    FIG . 9 is a schematic flow chart diagram illustrating one
     In order to maintain a proper balance between maximized embodiment of a method 900 for viewing a plurality of
  bandwidth utilization and response time, the issuance ofnew 35 streamlets in accordance with the present invention . The
  streamlet requests must be timed such that the web server method 900 starts and an agent controller module 702 is
  116 does not transmit the response before the clientmodule provided 904 and associated with a viewer 708 and provided
  114 has fully received a response to one of the previously with a staging module 709. The agent controller module 702
  outstanding streamlet requests. For example, if three stream      then requests 906 a streamlet 304 from the streamlet cache
  let 304 requests are outstanding , the client module 114 40 module 704.Alternatively, the agent controller module 702
  should issue the next request slightly before one of the three may simultaneously request 906 a plurality of streamlets 304
  responses is fully received and “ out of the pipe.” In other the streamlet cache module 704. If the streamlet is stored
  words, request timing is adjusted to keep three responses in 908 locally in the streamlet cache 710 , the streamlet cache
  transit . Sharing of bandwidth among four responses dimin         module 704 retrieves 910 the streamlet 304 and sends the
   ishes the net response time of the other three responses. The 45 streamlet to the agent controller module 702. Upon retriev
  timing adjustment may be calculated dynamically by obser ing 910 or receiving a streamlet, the agent controller module
  vation , and the request timing adjusted accordingly to main      702 makes 911 a determination of whether or not to shift to
  tain the proper balance of efficiency and response times .        a higher or lower quality stream 202. This determination will
      The schematic flow chart diagrams that follow are gen         be described below in greater detail with reference to FIG .
  erally set forth as logical flow chart diagrams. As such , the 50 10 .
  depicted order and labeled steps are indicative of one               In one embodiment, the staging module 709 then arranges
  embodiment of the presented method . Other steps and 912 the streamlets 304 into the proper order, and the agent
  methods may be conceived that are equivalent in function , controller module 702 delivers 914 the streamlets to the
  logic , or effect to one or more steps, or portions thereof, of viewer 708. In a further embodiment, delivering 914 stream
  the illustrated method . Additionally, the format and symbols 55 lets
  employed are provided to explain the logical steps of the
                                                                        304 to the end user comprises playing video and or audio
                                                                   streamlets on the viewer 708. If the streamlets 304 are not
  method and are understood not to limit the scope of the stored 908 locally , the streamlet request is passed to the
  method. Although various arrow types and line types may be network controller module 706. The network controller
  employed in the flow chart diagrams, they are understood module 706 then requests 916 the streamlet 304 from the
  not to limit the scope of the corresponding method . Indeed , 60 web server 116. Once the streamlet 304 is received , the
  some arrows or other connectors may be used to indicate network controller module 706 passes the streamlet to the
  only the logical flow of the method. For instance , an arrow     streamlet cache module 704. The streamlet cache module
  may indicate a waiting or monitoring period of unspecified 704 archives 918 the streamlet. Alternatively, the streamlet
  duration between enumerated steps of the depicted method . cache module 704 then archives 918 the streamlet and
  Additionally, the order in which a particular method occurs 65 passes the streamlet to the agent controller module 702, and
  may or may not strictly adhere to the order of the corre          the method 900 then continues from operation 910 as
  sponding steps shown .                                            described above.
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    Referring now to FIG . 10 , shown therein is a schematic                 If the decision on whether or not to attempt upshift 1010
  flow chart diagram illustrating one embodiment of a method              is “ no ” , a decision about whether or not to downshift 1012
  1000 for requesting streamlets 304 within an adaptive -rate             is made. In one embodiment, a trigger threshold down is
  shifting content streaming environment in accordance with               defined in a manner analogous to up. If ( current> down then
  the present invention . The method 1000 may be used in one 5 the stream quality may be adequate , and the agent controller
  embodiment as the operation 911 of FIG . 9. The method module 702 does not downshift                1018 stream quality. How
   1000 starts and the agent controller module 702 receives ever, if ( currents down ? the agent controller module 702 does
  1004 a streamlet 304 as described above with reference to      downshift 1018 the stream quality . If the end of the stream
  FIG . 9. The agent controllermodule 702 then monitors 1006     has  not been reached 1014 , the agent controller module 702
  the receive time of the requested streamlet. In one embodi- 10 and
                                                                 beginsthetomethod
                                                                              request and receive  1004 lower quality streamlets
  ment, the agent controller module 702 monitors the time described equations1000           starts again . Of course , the above
  intervals A between successive receive times for each may be replaced byand                algorithms are illustrative only , and
                                                                                         alternative  streamlet monitoring solu
  streamlet response . Ordering of the responses in relation to tions.
  the order of their corresponding requests is not relevant. 15 The present invention may be embodied in other specific
     Because network behavioral characteristics fluctuate , forms without departing from its spirit or essential charac
  sometimes quite suddenly , any given A may vary substan        teristics . The described embodiments are to be considered in
  tially from another. In order to compensate for this fluctua   all respects only as illustrative and not restrictive . The scope
  tion , the agent controller module 702 calculates 1008 a of the invention is , therefore , indicated by the appended
  performance ratio r across a window of n samples for 20 claims rather than by the foregoing description .All changes
  streamlets of playback length S. In one embodiment, the                 which comewithin the meaning and range of equivalency of
  performance ratio r is calculated using the equation :                  the claims are to be embraced within their scope.
                                                                            What is claimed is :
                             r = S     n
                                           n                         25     1. A system for adaptive-rate content streaming of live
                                      ? ?;                                event video playable on one or more end user stations over
                                      i= 1
                                                                          the Internet, the system comprising:
                                                                             at least one storage device storing live event video , the
     Due to multiple simultaneous streamlet processing, and in                  live event video encoded at a plurality of different
  order to better judge the central tendency of the performance 30              bitrates creating a plurality of streams including a low
  ratio r, the agent controller module 702 may calculate a                      quality stream , a medium quality stream , and a high
  geometric mean , or alternatively an equivalent averaging                     quality stream , the low quality stream , the medium
  algorithm , across a window of size in , and obtain a perfor                  quality stream , and the high quality stream each com
  mance factor o :                                                              prising a group of streamlets encoded at a respective
                                                                     35         one of the plurality of different bitrates;
                                                                            wherein at least one of the low quality stream , the medium
                                           m
                                               1                                quality stream , and the high quality stream is encoded
                          current =
                                                                              at a bitrate of no less than 600 kbps ;
                                                                            wherein the amount of data in each streamlet correspond
                                                                     40       ing to the same part of the live event video in the low
                                                                         quality stream , the medium quality stream , and the high
     The policy determination about whether or not to upshift            quality stream varies according to the differentbitrates ;
   1010 playback quality begins by comparing current with a             and
  trigger threshold up If ( current= 0 up ' then an up shift to the   the plurality of streamlets in the low quality stream , the
  next higher quality stream may be considered 1016. In one 45 medium quality stream , and the high quality stream
  embodiment, the trigger threshold up is determined by a                having a duration that is the same as each other.
  combination of factors relating to the current read ahead           2. The system of claim 1 , wherein the low quality stream
  margin ( i.e. the amount of contiguously available streamlets is encoded at a bit rate of no greater than 100 kbps , and the
  that have been sequentially arranged by the staging module medium quality stream is encoded at a bit rate between 100
  709 for presentation at the current playback time index ), and 50 kbps and 600 kbps .
  a minimum safety margin . In one embodiment, the mini               3. The system of claim 1 wherein the streamlets in each
  mum safety margin may be 24 seconds . The smaller the read of the high quality stream , the medium quality stream and
  ahead margin , the larger up is to discourage upshifting until the low quality stream are each encoded at a different one of
  a larger read ahead margin may be established to withstand the plurality of different bitrates.
  network disruptions. If the agent controller module 702 is 55 4. The system of claim 1, further comprising:
  able to sustain 1016 upshift quality, then the agent controller     a plurality of web servers located at different locations
  module 702 will upshift 1017 the quality and subsequently              across the internet, each web server configured to :
  request higher quality streams. The determination of                receive at least one streamlet request over one or more
  whether use of the higher quality stream is sustainable 1016           internet connections from the one or more end user
  is made by comparing an estimate of the higher quality 60                    stations to retrieve the first streamlet storing a portion
  stream's performance factor, Phigher with              ?? "   If             of the video , wherein the at least one streamlet request
  Phigher Oup then use of the higher quality stream is consid                  from the one or more end user stations includes a
   ered sustainable . If the decision ofwhether or not the higher              request for a currently selected first streamlet from one
  stream rate is sustainable 1016 is “ no ," the agent controller              of the low quality stream , the medium quality stream ,
  module 702 will not attempt to upshift 1017 stream quality . 65              and the high quality stream based upon a determination
  If the end of the stream has been reached 1014 , the method                  by the end user station to select a higher or lower bitrate
  1000 ends 1016 .                                                             version of the streams;
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                                19                                                                 20
    retrieve from the storage device the requested first stream              wherein the streamlet encoding the same portion of
       let from the currently selected one of the low quality                   the video in the low quality stream has an equal
       stream , themedium quality stream , and the high quality                 playback duration as the streamlet encoding the
      stream ; and                                                              same portion of the video in the high quality
    send the retrieved first streamlet from the currently 5                     stream ;
      selected one of the different copies to the requesting               select a specific one of the streams based upon a
       one of the end user stations over the one or more                     determination by the clientmodule to select a higher
       network connections.                                                   or lower bitrate version of the streams;
    5. The system of claim 1 , wherein each of the first                   place a streamlet request to the server over the one or
  streamlets has a first duration that is the range of 0.1 to 5 10           more network connections for the selected stream ;
  seconds.                                                                 receive the requested streamlets from the server via the
    6. The system of claim 1, wherein the live event is a live               one or more network connections; and
  sports event.                                                            provide the received streamlets for playback of the
    7. The system of claim 1, further comprising:              15      video .
    a first web server configured to :                            11. The content player device of claim 10 wherein each
      receive at least one streamlet request over one or more streamlet of the plurality of streamlets in the low quality
          internet connections from the one ormore end user           stream , the medium quality stream , and the high quality
         stations to retrieve the first streamlet storing the first   stream has a duration that is the same as each other .
          portion of the live event video , wherein the at least 20 12. The content player device of claim 10 , wherein the
          one streamlet request from the one ormore end user low quality stream is encoded at a bit rate of no greater than
          stations includes a request for a currently selected 100 kbps and the medium quality stream is encoded at a bit
          first streamlet from one of the low quality stream , the rate between 100 kbps and 600 kbps .
          medium quality stream , and the high quality stream           13. The content player device of claim 10 , wherein each
          based upon a determination by the end user station to 25 streamlet of the plurality of streamlets in the low quality
          select a higher or lower bitrate version of the live stream , the medium quality stream , and the high quality
          event video ;                                              stream has a duration that is the range of 0.1 to 5 seconds.
       retrieve from the storage device the requested first             14. The content player device of claim 10 , wherein the
          streamlet from the currently selected one of the low       video is a video of a live event.
          quality stream , the medium quality stream , and the 30 15. The content player device of claim 14 , wherein the
          high quality stream ; and                                  streamlets of the low quality stream , the medium quality
       send the retrieved first streamlet from the currently stream , and the high quality stream are available before the
          selected one of the low quality stream , the medium        live event is complete .
           quality stream , and the high quality stream to the          16. The content player device of claim 15 , wherein the
          requesting one of the end user stations over the one 35 streamlets of the low quality stream , the medium quality
          or more network connections.                               stream , and the high quality stream of the live event are
     8. The system of claim 7 , wherein the first streamlets of available on a ten second delay.
  the low quality stream , the medium quality stream , and the          17. The content player device of claim 16 , wherein the
  high quality stream are available before the live event is streamlets from the low quality stream , the medium quality
  complete .                                                      40 stream , and the high quality stream of the live event, when
    9. The system of claim 7 , wherein the streamlets of the played back , appear live to a viewer.
  low quality stream , the medium quality stream , and the high         18. A system for adaptive -rate content streaming of live
  quality stream of the live event are available on a 10 second event video playable on one or more end user stations over
  delay .                                                            the internet, the system comprising:
     10. A content player device to stream a video over a 45 at least one storage device configured to store live event
  network from a server for playback of the video , the content           video , the live event video encoded at a plurality of
  player device comprising:                                                different bit rates creating a plurality of streams includ
    a processor;                                                           ing at least a low quality stream and a high quality
    a digital processing apparatus memory device comprising                stream ;
       non -transitory machine -readable instructions that, 50          the low quality stream and the high quality stream each
       when executed , cause the processor to :                            encoding the same portion of the live event video with
       establish one or more network connections between the               a streamlet that is encoded a different one of the
          client module and the server, wherein the server is              different bit rates ;
         configured to access at least one of a plurality of        wherein the plurality of streamlets in the low quality
         groups of streamlets ;                                 55     stream and the plurality of streamlets in the high quality
         wherein the video is encoded at a plurality of dif             stream have durations that are equal to each other.
            ferent bitrates to create a plurality of streams         19. The system ofclaim 18 , wherein the streamlets in each
            including at least a low quality stream , a medium of the low quality stream and the high quality stream
            quality stream , and a high quality stream , wherein corresponding to the same portion of the live event video
            each of the low quality stream , themedium quality 60 have equal durations.
            stream , and the high quality stream comprises a        20. The system of claim 18 wherein the plurality of
            streamlet that encodes the same portion of the streams further comprise a medium quality stream encoded
            video at a different one of the plurality of different at a bit rate higher than the low quality stream and lower than
             bitrates ;                                            the high quality stream .
         wherein at least one of the low quality stream , 65 21. The system of claim 20 wherein the low quality stream
           medium quality stream , and high quality stream is is encoded at a bit rate of no less than 100 kbps , the high
            encoded at a bit rate of no less than 600 kbps; and quality stream is encoded at a bit rate of no less than 600
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                               21                                                                22
  kbps, and the medium quality stream is encoded at a bit rate   25. The system of claim 21 , wherein the streamlets of the
  between 100 kbps and 600 kbps.                              low quality stream , the medium quality stream , and the high
    22. The system of claim 18 , further comprising :         quality stream are available on a ten second delay before the
    a first web server configured to :                        live event is complete, wherein the streamlets from the low
    receive at least one streamlet request over one or more 5 quality stream , the medium quality stream , and the high
                                                                    quality stream of the live event, when played back , appear
       internet connections from the one or more end user           live to a viewer .
       stations to retrieve a streamlet storing a portion of the       26. A content player device to stream a video over a
       video , wherein the at least one streamlet request from      network from a server for playback of the video , the content
       the one ormore end user stations includes a request for
       a currently selected one of the low quality stream , the 10 player device comprising:
                                                                     a processor ,
      medium quality stream , and the high quality stream              a digital processing apparatusmemory device comprising
      based upon a determination by the client module to                  non - transitory machine -readable instructions that ,
       select a higher or lower bitrate version of the streams;          when executed , cause the processor to :
    retrieve from the storage device the requested streamlet             establish one or more network connections between the
      from the currently selected one of the low quality 15                 client module and the server, wherein the server is
       stream , the medium quality stream , and the high quality            configured to access at least one of a plurality of
       stream ; and                                                         groups of streamlets ;
    send the retrieved streamlet from the currently selected               wherein the video is encoded at a plurality of dif
      one of the low quality stream , the medium quality                       ferent bitrates to create a plurality of streams
       stream , and the high quality stream to the requesting 20               including at least a low quality stream and a high
       one of the end user stations over the one or more
      network connections .                                                    quality stream ,
    23. The system of claim 18 , further comprising :                       the low quality stream and the high quality stream
    a plurality of web servers located at different locations 25               each representing the same portion of the video
      across the internet, each web server configured to :                    with a streamlets encoded at a different one of the
    receive at least one streamlet request over one or more                   plurality of different bitrates ; and
      internet connections from the one or more end user                   wherein the streamlet representing the same portion
      stations to retrieve a streamlet storing a portion of the               of the video in the low quality stream and the
       video , wherein the at least one streamlet request from                 streamlet representing the same portion of the
      the one or more end user stations includes a request for 30              video in the high quality stream have durations
      a currently selected one of the low quality stream , the                 equal to each other;
       medium quality stream , and the high quality stream               select  a specific one of the streams based upon a
       based upon a determination by the client module to                   determination by the clientmodule to select a higher
       select a higher or lower bitrate version of the streams;             or lower bitrate version of the streams;
     retrieve from the storage device the requested streamlet 35        place   a streamlet request to the server over the one or
        from the currently selected one of the low quality                 more    network connections for the selected stream ;
        stream , the medium quality stream , and the high quality        receive the requested streamlets from the server via the
       stream ; and                                                        one or more network connections ; and
     send the retrieved streamlet from the currently selected            provide    the received streamlets for playback of the
                                                                            video .
        one of the different copies to the requesting one of the 40 27. The content player device of claim 26 , wherein the
        end user stations over the one or more network con
       nections.                                                   plurality of streamlets in the low quality stream have a
     24. The system of claim 21, wherein all of the streamlets induration
                                                                      the
                                                                              equal to the duration of the plurality of streamlets
                                                                           high  quality stream .
  in each of the low quality stream , themedium quality stream
  and the high quality stream have equal durations.                                         *
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                    EXHIBIT F
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                                                                                                                           US008868772B2


  (12) United States Patent                                                                        (10) Patent No.:                    US 8,868,772 B2
         Major et al.                                                                              (45) Date of Patent:                         Oct. 21, 2014
  (54) APPARATUS, SYSTEM, AND METHOD FOR                                                        (56)                         References Cited
         ADAPTIVE-RATE SHIFTING OF
         STREAMING CONTENT                                                                                            U.S. PATENT DOCUMENTS

  (75) Inventors: R. Drew Major, Orem, UT (US); Mark                                                   :S A                  SES Aya et al.
                 B. Hurst, Cedar Hills, UT (US)
                                                                                                                               (Continued)
  (73) Assignee: EchoStar Technologies L.L.C.,
                        Englewood, CO (US)                                                                         FOREIGN PATENT DOCUMENTS

  (*) Notice:           Subject to any disclaimer, the term of this                                                   o     is: A2    3.99.
                        patent is extended or adjusted under 35
                        U.S.C. 154(b) by 2167 days.                                                                            (Continued)
                                                                                                                          OTHER PUBLICATIONS
  (21) Appl. No.: 11/116,783
                                                                                                Intellegent Streaming, Bill Birney, May 2003, Microsoft.*
  (22) Filed:           Apr. 28, 2005                                                                                          (Continued)
  (65)                      Prior Publication Data
                                                                                                Primary Examiner — Ninos Donabed
       US 2005/O262257 A1        Nov. 24, 2005                                                  (74) Attorney, Agent, or Firm — Ingrassia Fisher & Lorenz,
              Related U.S. Application Data                                                     P.C.
  (60) Provisional application No. 60/566,831, filed on Apr.                                    (57)                   ABSTRACT
       30, 2004.                                                                                An apparatus for adaptive-rate shifting of streaming content
                                                                                                includes an agent controller module configured to simulta
  (51) Int. Cl.                                                                                 neously request at least portions of a plurality of streamlets.
       G06F 15/16             (2006.01)                                                         The agent controller module is further configured to continu
       H4N2L/84               (2011.01)                                                         ously monitor streamlet requests and subsequent responses,
       H4N2L/258              (2011.01)                                                         and accordingly request higher or lower quality streamlets. A
       H4N2L/2662             (2011.01)                                                         staging module is configured to stage the streamlets and
       H4N2L/643              (2011.01)                                                         arrange the streamlets for playback on a content player. A
       H4N2L/647              (2011.01)                                                         system includes a data communications network, a content
       H4N2L/845              (2011.01)                                                         server coupled to the data communications network and hav
  (52) U.S. Cl.                                                                                 ing a content module configured to process content and gen
       CPC ......... H04N 2 1/84 (2013.01); H04N 2 1/25808                                      erate a plurality of high and low quality streams, and the
                     (2013.01); H04N 2 1/2662 (2013.01); H04N                                   apparatus. A method includes simultaneously requesting at
                  21/643 (2013.01); H04N 21/64769 (2013.01);                                    least portions of a plurality of streamlets, continuously moni
                       H04N2I/64792 (2013.01); H04N2I/845                                       toring streamlet requests and subsequent responses, and
                                                                      (2013.01)                 accordingly requesting higher or lower quality streamlets,
         USPC ........................................... 709/231; 709/246                      and staging the streamlets and arranging the streamlets for
  (58) Field of Classification Search                                                           playback on a content player.
         USPC .......................................................... 709/246
         See application file for complete search history.                                                            21 Claims, 7 Drawing Sheets

                                                                         rt             702
                                                                                                         700

                                                            H.Receive Streamlet-so
                                                                 Monitor Receive
                                                                      Tire         -      706

                                                                    Senerate
                                                                  Performance
                                                                     Factor
                                                                                   -70s

                                                                                                               2 77
                                                                                                         Upshift


                                                                          N




                                                                          Nics
                                                                                   74

                                                              likend of stream?

                                                                          Yes
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        100




                                                               End User
              Publisher                                          104
                110                                              m




              116                          Internet
                                             106                                Web Server




              Web Server
                    116                                              Web Sever
                                                                          116




                                              Content Module
                                                      112
                                                 Web Server
                                                      116


                                       Content Server




                                      FIG. 1
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                                 FIG. 2a
                                    Playback Time Duration




                                             2O6
       202



                                             2 O8




                                 FIG. 2b
                                          210




             2121 2121 2121 2121 2121 2121 2121 2121 2121 2121 212

                                 FIG. 2C
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                                      ?InpOWN 555
                                      ?InpOWN Z??
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              500




                                        Receive Content
                                              504


                                      Generate plurality of
                                            Streams
                                              506

                                      Generate Streamlets
                                              508


                                       Encode Streamlets
                                              510


                                        Store Streamlets
                                              512


                                        Serve Streamlets
                                              514




                                          FIG. 5
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                                            602                            600



           Provide Agent Controller
                   Module                          604



             Request Streamlet                     606


                                      608

                  Streamlet                       Request Streamlet from
               Stored Locally?                       Streamlet Server              616


                                                   Archive Streamlet in
                                                         Cache                     618
           Retrieve Streamlet From
                    Cache                          610



                 Rate Shift?                       611



             Arrange Streamlets                    612


              Deliver Streamlet                    614



                                            620


                                       FIG. 6
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                                         702
                                                                          700

            Receive Streamlet              704


             Monitor Receive
                  Time                     706


               Generate
              Performance                  708
                 Factor




                                               Sustain Upshift
                                                  Quality?




                      No

                                  714.

              End of Stream?




                                                                 FIG. 7
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                                                       US 8,868,772 B2
                                1.                                                                    2
        APPARATUS, SYSTEM, AND METHOD FOR                              be completely downloaded before playback "catches up.”
               ADAPTIVE-RATE SHIFTING OF                               This waiting period before playback can be substantial
                    STREAMING CONTENT                                  depending on network conditions, and therefore is not a com
                                                                       plete or fully acceptable solution to the problem of media
             CROSS-REFERENCES TO RELATED                               presentation over a network.
                          APPLICATIONS                                    Generally, three basic challenges exist with regard to data
                                                                       transport streaming over a network Such as the Internet that
     This application claims benefit of U.S. Provisional Patent has a varying amount of data loss. The first challenge is
  Application No. 60/566,831 entitled “APPARATUS, SYS reliability. Most streaming solutions use a TCP connection, or
  TEM, AND METHOD FOR DYNAMIC RATE SHIFTING 10 “virtual circuit.” for transmitting data. A TCP connection
  OF STREAMING CONTENT and filed on Apr. 30, 2004 for provides a guaranteed delivery mechanism so that data sent
  R. Drew Major and Mark B. Hurst, which is incorporated from one endpoint will be delivered to the destination, even if
  herein by reference.                                                 portions are lost and retransmitted. A break in the continuity
                                                                       of a TCP connection can have serious consequences when the
             BACKGROUND OF THE INVENTION                            15 data must be delivered in real-time. When a network adapter
                                                                       detects delays or losses in a TCP connection, the adapter
     1. Field of the Invention                                         “backs off from transmission attempts for a moment and
     The invention relates to video streaming over packet then slowly resumes the original transmission pace. This
  Switched networks such as the Internet, and more particularly behavior is an attempt to alleviate the perceived congestion.
  relates to adaptive-rate shifting of streaming content over Such a slowdown is detrimental to the viewing or listening
  Such networks.                                                       experience of the user and therefore is not acceptable.
     2. Description of the Related Art                                    The second challenge to data transport is efficiency. Effi
     The Internet is fast becoming a preferred method for dis ciency refers to how well the user's available bandwidth is
  tributing media files to end users. It is currently possible to used for delivery of the content stream. This measure is
  download music or video to computers, cellphones, or prac 25 directly related to the reliability of the TCP connection. When
  tically any network capable device. Many portable media the TCP connection is suffering reliability problems, a loss of
  players are equipped with network connections and enabled bandwidth utilization results. The measure of efficiency
  to play music or videos. The music or video files (hereinafter Sometimes varies Suddenly, and can greatly impact the view
  “media files) can be stored locally on the media player or ing experience.
  computer, or streamed or downloaded from a server.                30    The third challenge is latency. Latency is the time measure
     “Streaming media' refers to technology that delivers con form the client’s point-of-view, of the interval between when
  tentata rate sufficient for presenting the mediato a user in real a request is issued and the response data begins to arrive. This
  time as the data is received. The data may be stored in memory value is affected by the network connections reliability and
  temporarily until played and then subsequently deleted. The efficiency, and the processing time required by the origin to
  user has the immediate satisfaction of viewing the requested 35 prepare the response. A busy or overloaded server, for
  content without waiting for the media file to completely example, will take more time to process a request. As well as
  download. Unfortunately, the audio/video quality that can be affecting the start time of a particular request, latency has a
  received for real time presentation is constrained by the avail significant impact on the network throughput of TCP.
  able bandwidth of the user's network connection. Streaming              From the foregoing discussion, it should be apparent that a
  may be used to deliver content on demand (previously 40 need exists for an apparatus, system, and method that allevi
  recorded) or from live broadcasts.                                   ate the problems of reliability, efficiency, and latency. Addi
     Alternatively, media files may be downloaded and stored tionally, Such an apparatus, system, and method would offer
  on persistent storage devices, such as hard drives or optical instantaneous viewing along with the ability to fast forward,
  storage, for later presentation. Downloading complete media rewind, direct seek, and browse multiple streams. Benefi
  files can take large amounts of time depending on the network 45 cially, Such an apparatus, system, and method would utilize
  connection. Once downloaded, however, the content can be             multiple connections between a source and destination,
  viewed repeatedly anytime or anywhere. Media files prepared requesting varying bitrate streams depending upon network
  for downloading usually are encoded with a higher quality conditions.
  audio/video than can be delivered in real time. Users gener
  ally dislike this option, as they tend to want to see or hear the 50              SUMMARY OF THE INVENTION
  media file instantaneously.
     Streaming offers the advantage of immediate access to the            The present invention has been developed in response to
  content but currently sacrifices quality compared with down the present state of the art, and in particular, in response to the
  loading a file of the same content. Streaming also provides the problems and needs in the art that have not yet been fully
  opportunity for a user to select different content for viewing 55 Solved by currently available content streaming systems.
  on an ad hoc basis, while downloading is by definition Accordingly, the present invention has been developed to
  restricted to receiving a specific content selection in its provide an apparatus, system, and method for adaptive-rate
  entirety or not at all. Downloading also supports rewind, fast content streaming that overcome many or all of the above
  forward, and direct seek operations, while streaming is discussed shortcomings in the art.
  unable to fully support these functions. Streaming is also 60 The apparatus for adaptive-rate content streaming is pro
  Vulnerable to network failures or congestion.                        vided with a logic unit containing a plurality of modules
     Another technology, known as “progressive downloads.” configured to functionally execute the necessary steps. These
  attempts to combine the strengths of the above two technolo modules in the described embodiments include an agent con
  gies. When a progressive download is initiated, the media file troller module configured to simultaneously request a plural
  download begins, and the media player waits to begin play 65 ity of streamlets, the agent controller module further config
  back until there is enough of the file downloaded that play ured to continuously monitor streamlet requests and
  back can begin with the hope that the remainder of the file will Subsequent responses, and accordingly request higher or
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                                                      US 8,868,772 B2
                                  3                                                               4
  lower quality streamlets, and a staging module configured to       In one embodiment, the method includes anticipating
  stage the streamlets and arrange the streamlets for playback streamlet requests and pre-requesting streamlets to enable
  on a content player.                                            fast-forward, skip randomly, and rewind functionality. The
     The apparatus is further configured, in one embodiment, to method may also comprise initially requesting low quality
  establish multiple Transmission Control Protocol (TCP) con streamlets to enable instant playback of a content file, and
  nections with a content server, and request streamlets of vary Subsequent upshifting according to the performance factor.
  ing bitrates. Each streamlet may further comprise a portion of     Reference throughout this specification to features, advan
  a content file. Additionally, the agent controller module may tages, or similar language does not imply that all of the
  be configured to generate a performance factor according to 10 features and advantages that may be realized with the present
  responses from streamlet requests.                              invention should be or are in any single embodiment of the
     In a further embodiment, the agent controller module is invention. Rather, language referring to the features and
  configured to upshift to a higher quality streamlet when the advantages is understood to mean that a specific feature,
  performance factor is greater than a threshold, and the agent advantage,     or characteristic described in connection with an
                                                                  embodiment is included in at least one embodiment of the
  controller module determines the higher quality playback can 15 present invention. Thus, discussion of the features and advan
  be sustained according to combination of factors. The factors tages,    and similar language, throughout this specification
  may include an amount of contiguously available streamlets may, but do not necessarily, refer to the same embodiment.
  stored in the staging module, a minimum safety margin, and         Furthermore, the described features, advantages, and char
  a current read ahead margin.                                    acteristics of the invention may be combined in any Suitable
     The agent controller module may be configured to down        manner in one or more embodiments. One skilled in the
  shift to a lower quality streamlet when the performance factor relevant art will recognize that the invention may be practiced
  is less than a second threshold. Also, the agent controller without one or more of the specific features or advantages of
  module is further configured to anticipate streamlet requests a particular embodiment. In other instances, additional fea
  and pre-request streamlets to enable fast-forward, skip ran tures and advantages may be recognized in certain embodi
  domly, and rewind functionality. In one embodiment, the 25 ments that may not be present in all embodiments of the
  agent controller module is configured to initially request low invention.
  quality streamlets to enable instant playback of the content       These features and advantages of the present invention will
  file, and Subsequent upshifting according to the performance become more fully apparent from the following description
  factor.                                                         and appended claims, or may be learned by the practice of the
     A system of the present invention is also presented to 30 invention as set forth hereinafter.
  adaptive-rate content streaming. In particular, the system, in
  one embodiment, includes a data communications network,                 BRIEF DESCRIPTION OF THE DRAWINGS
  and a content server coupled to the data communications
  network and having a content module configured to process           In order that the advantages of the invention will be readily
  content and generate a plurality of high and low quality 35 understood, a more particular description of the invention
  streams. In one embodiment, each of the high and low quality briefly described above will be rendered by reference to spe
  streams may include a plurality of streamlets.                   cific embodiments that are illustrated in the appended draw
     In a further embodiment, the system also includes an agent ings. Understanding that these drawings depict only typical
  controller module configured to simultaneously request a embodiments of the invention and are not therefore to be
  plurality of streamlets, the agent controller module further 40 considered to be limiting of its scope, the invention will be
  configured to continuously monitor streamlet requests and described and explained with additional specificity and detail
  Subsequent responses, and accordingly request higher or through the use of the accompanying drawings, in which:
  lower quality streamlets, and a staging module configured to        FIG. 1 is a schematic block diagram illustrating one
  stage the streamlets and arrange the streamlets for playback embodiment of a system for adaptive rate shifting of stream
  on a content player.                                          45 ing content in accordance with the present invention;
     A method of the present invention is also presented for          FIG.2a is a schematic block diagram graphically illustrat
  adaptive-rate content streaming. The method in the disclosed ing one embodiment of a content file in accordance with the
  embodiments substantially includes the steps necessary to present invention;
  carry out the functions presented above with respect to the         FIG. 2b is a schematic block diagram illustrating one
  operation of the described apparatus and system. In one 50 embodiment of a plurality of streams having varying degrees
  embodiment, the method includes simultaneously requesting of quality and bandwidth in accordance with the present
  a plurality of streamlets, continuously monitoring streamlet invention;
  requests and Subsequent responses, and accordingly request          FIG. 2C is a schematic block diagram illustrating one
  ing higher or lower quality streamlets, and staging the stream embodiment of a stream divided into a plurality of streamlets
  lets and arranging the streamlets for playback on a content 55 in accordance with the present invention;
  player.                                                             FIG. 3 is a schematic block diagram illustrating one
     In a further embodiment, the method may include estab embodiment of a content module in accordance with the
  lishing multiple Transmission Control Protocol (TCP) con present invention;
  nections with a content server, and requesting streamlets of        FIG. 4 is a schematic block diagram graphically illustrating
  varying bitrates. Also, the method may include generating a 60 one embodiment of a client module in accordance with the
  performance factor according to responses from streamlet present invention;
  requests, upshifting to a higher quality streamlet when the         FIG. 5 is a schematic flow chart diagram illustrating one
  performance factor is greater than a threshold, and determin embodiment of a method for processing content in accor
  ing if the higher quality playback can be Sustained. Further dance with the present invention;
  more, the method may include downshifting to a lower qual 65 FIG. 6 is a schematic flow chart diagram illustrating one
  ity streamlet when the performance factor is less than a embodiment of a method for playback of a plurality of
  second threshold.                                                streamlets in accordance with the present invention; and
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                                                      US 8,868,772 B2
                               5                                                                    6
     FIG. 7 is a schematic flow chart diagram illustrating one      structures, materials, or operations are not shown or described
  embodiment of a method for requesting streamlets within an        in detail to avoid obscuring aspects of the invention.
  adaptive-rate content streaming environment in accordance            FIG. 1 is a schematic block diagram illustrating one
  with the present invention.                                       embodiment of a system 100 for dynamic rate shifting of
                                                                    streaming content in accordance with the present invention.
     DETAILED DESCRIPTION OF THE INVENTION                          In one embodiment, the system 100 comprises a content
                                                                    server 102 and an end user 104. The content server 102 and
     Many of the functional units described in this specification the end user station 104 may be coupled by a data communi
  have been labeled as modules, in order to more particularly 10 cations   network. The data communications network may
  emphasize their implementation independence. For example, include the Internet 106 and connections 108 to the Internet
  a module may be implemented as a hardware circuit compris       106. Alternatively, the content server 102 and the end user 104
  ing custom VLSI circuits or gate arrays, off-the-shelf semi may area
                                                                       be located on a common local area network, wireless
                                                                       network,  cellular network, virtual local area network, or
  conductors such as logic chips, transistors, or other discrete the like. The end
  components. A module may also be implemented in program 15 computer (PC), anuser         station 104 may comprise a personal
                                                                                      entertainment   system configured to com
  mable hardware devices such as field programmable gate municate over a network, or a portable                electronic device
  arrays, programmable array logic, programmable logic configured to present content.
  devices or the like.
                                                                    In the depicted embodiment, the system 100 also includes
     Modules may also be implemented in software for execu a publisher 110, and a web server 116. The publisher 110 may
  tion by various types of processors. An identified module of be a creator or distributor of content. For example, if the
  executable code may, for instance, comprise one or more content to be streamed were a broadcast of a television pro
  physical or logical blocks of computer instructions which gram, the publisher 110 may be a television or cable network
  may, for instance, be organized as an object, procedure, or channel such as NBC(R), or MTV(R). Content may be trans
  function. Nevertheless, the executables of an identified mod      ferred over the Internet 106 to the content server 102, where
  ule need not be physically located together, but may comprise 25 the content is received by a content module 112. The content
  disparate instructions stored in different locations which, module 112 may be configured to receive, process, and store
  when joined logically together, comprise the module and content. In one embodiment, processed contentis accessed by
  achieve the stated purpose for the module.                        a client module 114 configured to play the content on the end
     Indeed, a module of executable code may be a single user station 104. In a further embodiment, the client module
  instruction, or many instructions, and may even be distributed 30 114 is configured to receive different portions of a content
  over several different code segments, among different pro stream from a plurality of locations simultaneously. For
  grams, and across several memory devices. Similarly, opera example, the client module 114 may request and receive
  tional data may be identified and illustrated herein within content from any of the plurality of web servers 116.
  modules, and may be embodied in any suitable form and                FIG.2a is a schematic block diagram graphically illustrat
  organized within any Suitable type of data structure. The 35 ing one embodiment of a content file 200. In one embodiment,
  operational data may be collected as a single data set, or may the content file 200 is distributed by the publisher 110. The
  be distributed over different locations including over different content file 200 may comprise a television broadcast, sports
  storage devices, and may exist, at least partially, merely as event, movie, music, concert, etc. The content file 200 may
  electronic signals on a system or network.                        also be live or archived content. The content file 200 may
     Reference throughout this specification to “one embodi 40 comprise uncompressed video and audio, or alternatively,
  ment,” “an embodiment, or similar language means that a video or audio. Additionally, the content file 200 may be
  particular feature, structure, or characteristic described in compressed. Examples of a compressed content file 200
  connection with the embodiment is included in at least one        include, but are not limited to, DivX(R), Windows MediaVideo
  embodiment of the present invention. Thus, appearances of 9(R), Quicktime 6.5 Sorenson 3(R), or Quicktime 6.5/MPEG
  the phrases “in one embodiment,” “in an embodiment, and 45 4(R) encoded content.
  similar language throughout this specification may, but do not       FIG. 2b is a schematic block diagram illustrating one
  necessarily, all refer to the same embodiment.                    embodiment of a plurality of streams 202 having varying
     Reference to a signal bearing medium may take any form degrees of quality and bandwidth. In one embodiment, the
  capable of generating a signal, causing a signal to be gener plurality of streams 202 comprises a low quality stream 204,
  ated, or causing execution of a program of machine-readable 50 a medium quality stream 206, and a high quality stream 208.
  instructions on a digital processing apparatus. A signal bear Each of the streams 204, 206, 208 is a copy of the content file
  ing medium may be embodied by a transmission line, a com 200 encoded and compressed to varying bit rates. For
  pact disk, digital-Video disk, a magnetic tape, a Bernoulli example, the low quality stream 204 may be encoded and
  drive, a magnetic disk, a punch card, flash memory, integrated compressed to a bit rate of 100 kilobits per second (kbps), the
  circuits, or other digital processing apparatus memory device. 55 medium quality stream 206 may be encoded and compressed
     Furthermore, the described features, structures, or charac     to a bit rate of 200 kbps, and the high quality stream 208 may
  teristics of the invention may be combined in any suitable be encoded and compressed to 600 kbps.
  manner in one or more embodiments. In the following                  FIG. 2C is a schematic block diagram illustrating one
  description, numerous specific details are provided. Such as embodiment of a stream 210 divided into a plurality of
  examples of programming, Software modules, user selec 60 streamlets 212. As used herein, streamlet refers to any sized
  tions, network transactions, database queries, database struc portion of the content file 200. Each streamlet 212 may com
  tures, hardware modules, hardware circuits, hardware chips, prise a portion of the content contained in stream 210, encap
  etc., to provide a thorough understanding of embodiments of Sulated as an independent media object. The content in a
  the invention. One skilled in the relevant art will recognize,    streamlet 212 may have a unique time index in relation to the
  however, that the invention may be practiced without one or 65 beginning of the content contained in stream 210. In one
  more of the specific details, or with other methods, compo embodiment, the content contained in each streamlet 212 has
  nents, materials, and so forth. In other instances, well-known    a duration of two seconds. For example, streamlet 0 may have
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  a time index of 00:00 representing the beginning of content     212 from a plurality of web servers 310. Each web server 116
  playback, and streamlet 1 may have a time index of 00:02, and   may be located in various locations across the Internet 106.
  so on. Alternatively, the time duration of the streamlets 212   The streamlets 212 are essentially static files. As such, no
  may be any duration Smaller than the entire playback duration   specialized media server or server-side intelligence is
  of the content in stream 210. In a further embodiment, the 5 required for a client module 114 to retrieve streamlets 212.
  streamlets 212 may be divided according to file size instead of Streamlets 212 may be served by the web server 116 or
  a time index.                                                   cached by cache servers of Internet Service Providers (ISPs),
     FIG. 3 is a schematic block diagram illustrating in greater or any other network infrastructure operators, and served by
  detail one embodiment of the content module 112 in accor          the cache server. Use of cache servers is well known to those
  dance with the present invention. The content module 112 10 skilled in the art, and will not be discussed further herein.
  may comprise a stream module 302, a streamlet module 304, Thus, a highly scalable solution is provided that is not hin
  an encodermodule 306, a streamlet database 308, and the web     dered by massive amounts of client module 114 requests to
  server 116. In one embodiment, the stream module 302 is         the web server 116 at any specific location.
  configured to receive the content file 200 from the publisher     FIG. 4 is a schematic block diagram graphically illustrating
  110 and generate the plurality of streams 202 of varying 15 one embodiment of a client module 114 in accordance with
  qualities. The original content file 200 from the publisher may the present invention. The client module 114 may comprise
  be digital inform and may comprise content having a high bit an agent controller module 402, a streamlet cache module
  rate Such as, for example, 2 mbps. The content may be trans 404, and a network controller module 406. In one embodi
  ferred from the publisher 110 to the content module 112 over ment, the agent controller module 402 is configured to inter
  the Internet 106. Such transfers of data are well known in the    face with a viewer 408, and transmit streamlets 212 to the
  art and do not require further discussion herein. Alternatively, viewer 408. In a further embodiment, the client module 114
  the content may comprise a captured broadcast.                     may comprise a plurality of agent controller modules 402.
     In the depicted embodiment, the plurality of streams 202 Each agent controller module 402 may be configured to inter
  may comprise the low quality stream 204, the medium quality face with one viewer 408. Alternatively, the agent controller
  stream 206, and the high quality stream 208. Alternatively, the 25 module 402 may be configured to interface with a plurality of
  plurality of streams 202 may comprise any number of streams viewers 408. The viewer 408 may be a media player (not
  deemed necessary to accommodate end user bandwidth. The shown) operating on a PC or handheld electronic device.
  streamlet module 304 may be configured to receive the plu             The agent controller module 402 is configured to select a
  rality of streams 202 from the stream module and generate a quality level of streamlets to transmit to the viewer 408. The
  plurality of streams 312, each stream comprising a plurality 30 agent controller module 402 requests lower or higher quality
  of streamlets 212. As described with reference to FIG. 2C,         streams based upon continuous observation of time intervals
  each streamlet 212 may comprise a pre-defined portion of the between successive receive times of each requested streamlet.
  stream. The encoder module 306 is configured to encode each The methodofrequesting higher or lower quality streams will
  streamlet from the plurality of streams 312 and store the be discussed in greater detail below with reference to FIG. 7.
  streamlets in the streamlet database 308. The encoding mod 35 The agent controller module 402 may be configured to
  ule 306 may utilize encoding schemes such as DivX(R), Win receive user commands from the viewer 408. Such commands
  dows Media Video 9(R), Quicktime 6.5 Sorenson 3(R), or may include play, fast forward, rewind, pause, and stop. In
  Quicktime 6.5/MPEG-40(R). Alternatively, a custom encoding one embodiment, the agent controller module 402 requests
  scheme may be employed.                                            streamlets 212 from the streamlet cache module 404 and
     The content module 112 may also include a metadata mod 40 arranges the received streamlets 212 in a staging module 409.
  ule 312 and a metadata database 314. In one embodiment,            The staging module 409 may be configured to arrange the
  metadata comprises static searchable content information.          streamlets 212 in order of ascending playback time. In the
  For example, metadata includes, but is not limited to, air date depicted embodiment, the streamlets 212 are numbered 0, 1,
  of the content, title, actresses, actors, length, and episode 2, 3, 4, etc. However, each streamlet 212 may be identified
  name. Metadata is generated by the publisher 110, and may be 45 with a unique filename.
  configured to define an end user environment. In one embodi           Additionally, the agent controller module 402 may be con
  ment, the publisher 100 may define an end user navigational figured to anticipate streamlet 212 requests and pre-request
  environment for the content including menus, thumbnails,           streamlets 212. By pre-requesting streamlets 212, the user
  sidebars, advertising, etc. Additionally, the publisher 110 may fast-forward, skip randomly, or rewind through the con
  may define functions such as fast forward, rewind, pause, and 50 tent and experience no buffering delay. In a further embodi
  play that may be used with the content file 200. The metadata ment, the agent controller module 402 may request the
  module 312 is configured to receive the metadata from the streamlets 212 that correspond to time index intervals of 30
  publisher 110 and store the metadata in the metadata database seconds within the total play time of the content. Alterna
  314. In a further embodiment, the metadata module 312 is           tively, the agent controller module 402 may request stream
  configured to interface with the client module 114, allowing 55 lets at any interval less than the length of the time index. This
  the client module 114 to search for content based upon at least enables a “fast-start' capability with no buffering wait when
  one of a plurality of metadata criteria. Additionally, metadata starting or fast-forwarding through content file 200. In a fur
  may be generated by the content module 112 through auto ther embodiment, the agent controller module 402 may be
  mated process(es) or manual definition.                            configured to pre-request streamlets 212 corresponding to
     Once the streamlets 212 have been received and processed, 60 specified index points within the content or within other con
  the client module 114 may request streamlets 212 using tent in anticipation of the end user 104 selecting new content
  HTTP from the web server 116. Such use of client side             to view.
  initiated requests requires no additional configuration of fire    In one embodiment, the streamlet cache module 404 is
  walls. Additionally, since the client module 114 initiates the configured to receive streamlet 212 requests from the agent
  request, the web server 116 is only required to retrieve and 65 controller module 402. Upon receiving a request, the stream
  serve the requested streamlet. In a further embodiment, the let cache module 404 first checks a streamlet cache 410 to
  client module 114 may be configured to retrieve streamlets verify if the streamlet 212 is present. In a further embodiment,
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  the streamlet cache module 404 handles streamlet 212                 Several streamlet 212 requests may be sent on a single TCP
  requests from a plurality of agent controller modules 402. connection, and the responses are caused to flow back in
  Alternatively, a streamlet cache module 404 may be provided matching order along the same connection. This eliminates
  for each agent controller module 402. If the requested stream all but the first request latency. Because multiple responses
  let 212 is not present in the streamlet cache 410, the request is are always being transmitted, the processing latency of each
  passed to the network controller module 406. In order to new streamlet 212 response after the first is not a factor in
  enable fast forward and rewind capabilities, the streamlet performance.
                                                                    "pipelining.”
                                                                                     This technique is known in the industry as
                                                                                    Pipelining offers efficiency in request-response
  cache module 404 is configured to store the plurality of processing by eliminating               most of the effects of request
  streamlets 212 in the streamlet cache 410 for a specified time 10 latency. However, pipelining
  period after the streamlet 212 has been viewed. However, Transmission delays affect all ofhas          the
                                                                                                             serious Vulnerabilities.
                                                                                                              responses. If the single
  once the streamlets 212 have been deleted, they may be TCP connection fails, all of the outstanding                   requests and
  requested again from the web server 116.                          responses are lost. Pipelining causes a serial dependency
     The network controller module 406 may be configured to between the requests.
  receive streamlet requests from the streamlet cache module 15 Multiple TCP connections may be opened between the
  404 and open a connection to the web server 116 or other client module 114 and the web server 116 to achieve the
  remote streamlet 212 database (not shown). In one embodi latency-reduction efficiency benefits of pipelining while
  ment, the network controller module 406 opens a TCP/IP maintaining the independence of each streamlet 212 request.
  connection to the web server 116 and generates a standard Several streamlet 212 requests may be sent concurrently, with
  HTTP GET request for the requested streamlet 212. Upon each request being sent on a mutually distinct TCP connec
  receiving the requested streamlet 212, the network controller tion. This technique is labeled “virtual pipelining and is an
  module 406 passes the streamlet 212 to the streamlet cache innovation of the present invention. Multiple responses may
  module 404 where it is stored in the streamlet cache 410. In a    be in transit concurrently, assuring that communication band
  further embodiment, the network controller module 406 is            width between the client module 114 and the web server 116
  configured to process and request a plurality of streamlets 212 25 is always being utilized. Virtual pipelining eliminates the
  simultaneously. The network controller module 406 may also Vulnerabilities of traditional pipelining. A delay in or com
  be configured to request a plurality of streamlets, where each plete failure of one response does not affect the transmission
  streamlet 212 is Subsequently requested in multiple parts.          of other responses because each response occupies an inde
     In a further embodiment, streamlet requests may comprise pendent TCP connection. Any transmission bandwidth not in
  requesting pieces of any streamlet file. Splitting the streamlet 30 use by one of multiple responses (whether due to delays or
  212 into smaller pieces or portions beneficially allows for an TCP connection failure) may be utilized by other outstanding
  increased efficiency potential, and also eliminates problems responses.
  associated with multiple full-streamlet requests sharing the          A single streamlet 212 request may be issued for an entire
  bandwidth at any given moment. This is achieved by using streamlet 212, or multiple requests may be issued, each for a
  parallel TCP/IP connections for pieces of the streamlets 212. 35 different part or portion of the streamlet. If the streamlet is
  Consequently, efficiency and network loss problems are over requested in several parts, the parts may be recombined by the
  come, and the streamlets arrive with more useful and predict client module 114 streamlet.
  able timing.                                                          In order to maintain a proper balance between maximized
     In one embodiment, the client module 114 is configured to bandwidth utilization and response time, the issuance of new
  use multiple TCP connections between the client module 114 40 streamlet requests must be timed such that the web server 116
  and the web server 116 or web cache. The intervention of a          does not transmit the response before the client module 114
  cache may be transparent to the client or configured by the has fully received a response to one of the previously out
  client as a forward cache. By requesting more than one standing streamlet requests. For example, if three streamlet
  streamlet 212 at a time in a manner referred to as “parallel 212 requests are outstanding, the client module 114 should
  retrieval or more than one part of a streamlet 212 at a time, 45 issue the next request slightly before one of the three
  efficiency is raised significantly and latency is virtually elimi responses is fully received and “out of the pipe.” In other
  nated. In a further embodiment, the client module allows a          words, request timing is adjusted to keep three responses in
  maximum of three outstanding streamlet 212 requests. The transit. Sharing of bandwidth among four responses dimin
  client module 114 may maintain additional open TCP con ishes the net response time of the other three responses. The
  nections as spares to be available should another connection 50 timing adjustment may be calculated dynamically by obser
  fail. Streamlet 212 requests are rotated among all open con Vation, and the request timing adjusted accordingly to main
  nections to keep the TCP flow logic for any particular con tain the proper balance of efficiency and response times.
  nection from falling into a slow-start or close mode. If the          The schematic flow chart diagrams that follow are gener
  network controller module 406 has requested a streamlet 212 ally set forth as logical flow chart diagrams. As such, the
  in multiple parts, with each part requested on mutually inde 55 depicted order and labeled steps are indicative of one embodi
  pendent TCP/IP connections, the network controller module ment of the presented method. Other steps and methods may
  406 reassembles the parts to present a complete streamlet 212 be conceived that are equivalent in function, logic, or effect to
  for use by all other components of the client module 114.           one or more steps, or portions thereof, of the illustrated
     When a TCP connection fails completely, a new request method. Additionally, the format and symbols employed are
  may be sent on a different connection for the same streamlet 60 provided to explain the logical steps of the method and are
  212. In a further embodiment, if a request is not being satis understood not to limit the scope of the method. Although
  fied in a timely manner, a redundant request may be sent on a various arrow types and line types may be employed in the
  different connection for the same streamlet 212. If the first       flow chart diagrams, they are understood not to limit the scope
  streamlet request's response arrives before the redundant of the corresponding method. Indeed, some arrows or other
  request response, the redundant request can be aborted. If the 65 connectors may be used to indicate only the logical flow of the
  redundant request response arrives before the first request method. For instance, an arrow may indicate a waiting or
  response, the first request may be aborted.                         monitoring period of unspecified duration between enumer
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  ated steps of the depicted method. Additionally, the order in        Referring now to FIG. 7, shown therein is a schematic flow
  which a particular method occurs may or may not strictly          chart diagram illustrating one embodiment of a method 700
  adhere to the order of the corresponding steps shown.             for requesting streamlets within a adaptive-rate shifting con
    FIG. 5 is a schematic flow chart diagram illustrating one       tent streaming environment in accordance with the present
  embodiment of a method 500 for processing content in accor        invention. The method 700 may be used in one embodiment
  dance with the present invention. In one embodiment the           as the operation 611 of FIG. 6. The method 700 starts and the
  method 500 starts 502, and the content module 112 receives        agent controller module 402 receives 704 a streamlet as
  504 content from the publisher 110. Receiving content 504         described above with reference to FIG. 6. The agent control
  may comprise receiving 504 a digital copy of the content file 10 ler module 402 then monitors 706 the receive time of the
  200, or digitizing a physical copy of the content file 200. requested        streamlet. In one embodiment, the agent controller
  Alternatively, receiving 504 content may comprise capturing module 402 monitors the time intervals Abetween successive
  a radio or television broadcast. Once received 504, the stream   receive times for each streamlet response. Ordering of the
  module 302 generates 506 a plurality of streams 202, each responses           in relation to the order of their corresponding
  stream 202 having a different quality. The quality may be 15 Because not
                                                                   requests  is     relevant.
                                                                                  network   behavioral characteristics fluctuate,
  predefined, or automatically set according to end user band Sometimes quite Suddenly,
  width, or in response to pre-designated publisher guidelines. tially from another. In orderany   to
                                                                                                      given A may vary Substan
                                                                                                      compensate for this fluctua
     The streamlet module 304 receives the streams 202 and         tion, the agent controller module 402 calculates 708 a perfor
  generates 508 a plurality of streamlets 212. In one embodi mance ratio r across a window of n samples for streamlets of
  ment, generating 508 streamlets comprises dividing the playback length S. In one embodiment, the performance ratio
  stream 202 into a plurality of two second streamlets 212. r is calculated using the equation
  Alternatively, the streamlets may have any length less than or
  equal to the length of the stream 202. The encodermodule 306
  then encodes 510 the streamlets according to a compression
  algorithm. In a further embodiment, the algorithm comprises 25
  a proprietary codec such as WMV9R). The encoder module
  306 then stores 512 the encoded streamlets in the streamlet
  database 308. Once stored 512, the web server 116 may then           Due to multiple simultaneous streamlet processing, and in
  serve 514 the streamlets. In one embodiment, serving 514 the order to better judge the central tendency of the performance
  streamlets comprises receiving streamlet requests from the 30
  client module 114, retrieving the requested streamlet from the ratio   r, the agent controller module 402 may calculate a geo
                                                                    metric mean, or alternatively an equivalent averaging algo
  streamlet database 308, and subsequently transmitting the rithm, across a window of size m, and obtain a performance
  streamlet to the client module 114. The method 500 then ends
  516.                                                              factor (p:
     FIG. 6 is a schematic flow chart diagram illustrating one 35
  embodiment of a method 600 for viewing a plurality of                                              i    n
  streamlets in accordance with the present invention. The                                  pcurrent    i .
  method 600 starts and an agent controller module 402 is
  provided 604 and associated with a viewer 408 and provided
  with a staging module 409. The agent controller module 402 40
  then requests 606 a streamlet from the streamlet cache mod          The policy determination about whether or not to upshift
  ule 404. Alternatively, the agent controller module 402 may 710 playback quality begins by comparing (p, with a
  simultaneously request 606 a plurality of streamlets from the trigger threshold 0. If (p.20, then an up shift to the
  streamlet cache module 404. If the streamlet is stored 608        next higher quality stream may be considered 716. In one
  locally in the streamlet cache 410, the streamlet cache module 45 embodiment, the trigger threshold (), is determined by a
  404 retrieves 610 the streamlet and sends the streamlet to the    combination of factors relating to the current read ahead
  agent controller module 402. Upon retrieving 610 or receiv margin (i.e. the amount of contiguously available streamlets
  ing a streamlet, the agent controller module 402 makes 611 a that have been sequentially arranged by the staging module
  determination of whether or not to shift to a higher or lower 409 for presentation at the current playback time index), and
  quality stream 202. This determination will be described 50 a minimum safety margin. In one embodiment, the minimum
  below in greater detail with reference to FIG. 7.                 safety margin may be 24 seconds. The Smaller the read ahead
     In one embodiment, the staging module 409 then arranges margin, the larger 0, is to discourage upshifting until a
  612 the streamlets into the proper order, and the agent con larger read ahead margin may be established to withstand
  troller module 402 delivers 614 the streamlets to the viewer      network disruptions. If the agent controller module 402 is
  408. In a further embodiment, delivering 614 streamlets to the 55 able to sustain 716 upshift quality, then the agent controller
  end user comprises playing video and or audio streamlets on module 402 will upshift 717 the quality and subsequently
  the viewer 408. If the streamlets are not stored 608 locally, the request higher quality streams. The determination of whether
  streamlet request is passed to the network controller module use of the higher quality stream is sustainable 716 is made by
  406. The network controller module 406 then requests 616 comparing an estimate of the higher quality stream's perfor
  the streamlet from the web server 116. Once the streamlet is 60 mance factor, ple, with 0,... If ple, 20,         then use of the
  received, the network controller module 406 passes the            higher quality stream is considered Sustainable. If the deci
  streamlet to the streamlet cache module 404. The streamlet        sion of whether or not the higher stream rate is sustainable
  cache module 404 archives 618 the streamlet. Alternatively,       716 is “no, the agent controller module 402 will not attempt
  the streamlet cache module 404 then archives 618 the stream       to upshift 717 stream quality. If the end of the stream has been
  let and passes the streamlet to the agent controller module 65 reached 714, the method 618 ends 716.
  402, and the method 600 then continues from operation 610        If the decision on whether or not to attempt upshift 710 is
  as described above.                                                no', a decision about whether or not to downshift 712 is
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  made. In one embodiment, a trigger threshold 0, down is                3. The method of claim 1, wherein said making the succes
  defined in a manner analogous to 0. If p          >0, then           sive determinations to shift comprises:
  the stream quality may be adequate, and the agent controller           upshifting to a higher quality one of the different copies
  module 402 does not downshift 718 stream quality. However,                when the at least one factor is greater than a first thresh
  if ps0, the agent controllermodule 402 does down- 5                         old; and
  shift 718 the stream quality. If the end of the stream has not          determining if the higher quality playback can be sus
  been reached 714, the agent controller module 402 begins to                 tained.
  request and receive 704 lower quality streamlets and the                4. The method of claim3, wherein said making the Succes
  method 618 starts again. Of course, the above described equa sive determinations to shift comprises downshifting to a
  tions and algorithms are illustrative only, and may be replaced 10 lower quality one of the different copies when the at least one
  by alternative streamlet monitoring Solutions.                        factor is less than a second threshold.
     The present invention may be embodied in other specific              5. The method of claim 1, further comprising:
  forms without departing from its spirit or essential character          receiving user input to enable one of fast-forward, skip
  istics. The described embodiments are to be considered in all               randomly, and rewind functionality; and
  respects only as illustrative and not restrictive. The scope of 15 requesting files of the video at a specified time index that is
  the invention is, therefore, indicated by the appended claims               not the next sequential time in the current playback.
  rather than by the foregoing description. All changes which              6. The method of claim 1,
  come within the meaning and range of equivalency of the                 wherein said requesting the plurality of sequential one of
  claims are to be embraced within their scope.                               the files includes requesting the files from a low quality
                                                                     2O       one of the different copies to enable instant playback of
     What is claimed is:                                                      the video, and wherein said automatically requesting
     1. A method for presenting rate-adaptive streams, the                    includes-upshifting to a higher quality one of the differ
  method comprising:                                                          ent copies.
     streaming by a media player operating on an end user                 7. The method of claim 1, wherein said requesting the
        station a video from a set of one or more servers, wherein 25 plurality of sequential ones of the files includes requesting the
        each of a plurality of different copies of the video plurality of sequential ones of the files over different ones of
        encoded at different bit rates is stored as multiple files on the plurality of TCP connections.
        the set of servers, wherein each of the multiple files            8. The method of claim 1, wherein said presenting com
        yields a different portion of the video on playback, prises sequentially arranging the requested files from the
        wherein the multiple files across the different copies 30 different copies in the order of ascending playback time for
        yield the same portions of the video on playback, each of playback with the media player on the end user station.
        said files having a time index such that the files whose          9. The method of claim 1, wherein said automatically
        playback is the same portion of the video for each of the requesting includes requesting Sub-parts of the files over dif
        different copies have the same time index in relation to ferent ones of the plurality of TCP connections, and wherein
        the beginning of the video, and wherein the streaming 35 said presenting includes reassembling the files from the
        comprises:                                                      received Sub-parts.
        requesting by the media player a plurality of sequential           10. The method of claim 1, wherein the at least one of the
           ones of the files of one of the copies from the set of set of factors is indicative of the available bandwidth of the
           servers over a plurality of Transmission Control Pro plurality of TCP connections.
           tocol (TCP) connections based on the time indexes: 40 11. The method of claim 1, wherein the at least one of the
        automatically requesting by the media player from the set of factors is indicative of latency of the requested files,
           set of servers over the plurality of TCP connections wherein the latency is a time measure between when one of
           Subsequent portions of the video by requesting for the requests is issued and a time that response data of the
           each such portion one of the files from one of the request begins to arrive at the end user station.
           copies dependent upon Successive determinations by 45 12. The method of claim 1, wherein the at least one of the
           the media player to shift the playback quality to a set of factors is indicative of time intervals between succes
           higher or lower quality one of the different copies,         sive receive times for each response to the requested files.
           said automatically requesting including,                        13. The method of claim 1, wherein the at least one of the
           repeatedly generating a set of one or more factors set of factors is indicative of delays or losses in one or more of
              indicative of the current ability to sustain the 50 the plurality of TCP connections.
              streaming of the video using the files from different        14. The method of claim 1, wherein at least one of the set of
              ones of the copies, wherein the set of one or more servers is a web server.
              factors relate to the performance of the network;            15. The method of claim 14, wherein the files are requested
              and                                                       from the web server using Hyper Text Transfer Protocol
           making the Successive determinations to shift the 55 (HTTP), and wherein the web server is without specialized
              playback quality based on at least one of the set of server-side intelligence to respond to said requesting.
              factors to achieve continuous playback of the video          16. The method of claim 1, wherein at least one of the set of
              using the files of the highest quality one of the servers is a cache server of a network infrastructure operator.
              copies determined Sustainable at that time; and              17. The method of claim 1, wherein:
        presenting the video by playing back with the media 60 said generating the set of factors comprises:
           player on the end user station the requested files in              monitoring time intervals between Successive receive
           order of ascending playback time.                                     times for each of the requested files;
     2. The method of claim 1, wherein said requesting the                    calculating a current performance ratio across a current
  plurality of sequential ones of the files includes requesting                  window of the time intervals; and
  sub-parts of the files over different ones of the plurality of 65           calculating a current average of the performance ratio to
  TCP connections, and wherein said presenting includes reas                     obtain a current performance factor of the set of fac
  sembling the files from the received sub-parts.                                tors;
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                              15                                                                16
    said making further comprises:                                     determining whether to upshift or downshift to a higher or
      comparing the current performance factor with a set of             lower quality one of the different copies based on said
         one or more trigger thresholds; and                             comparing.
      determining whether to upshift or downshift to a higher          19. The method of claim 1, wherein:
         or lower quality one of the different copies based on 5       Said requesting comprises issuing for each of the plurality
         said comparing.                                                 of sequential ones of the files a request with the filename
    18. The method of claim 1, wherein said making com                   of that file, and
  prises:                                                              said automatically requesting comprises issuing for each of
                                                                         the files a request with the filename of that file.
     comparing a current performance factor of the set of factors 10 20. The method of claim 1, wherein the set of servers
       with a set of one or more trigger thresholds, wherein the includes a content server storing the multiple files of the
        set of one or more trigger thresholds is determined by a
        combination of two of the set of factors relating to a different
                                                                    more
                                                                            copies, and wherein the set of servers includes one or
                                                                         cache servers caching at least some of the files.
       current read ahead margin and a minimum safety mar           21. The method of claim 1, wherein the multiple files are
       gin, wherein the current read ahead margin is an amount 15 independently
       of contiguously available, sequentially arranged ized server-sidecacheable         by a cache server without special
                                                                                intelligence.
       requested files of video received by the media player for
       playback at a current playback time index; and                                      ck   k   <   k cic
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                     EXHIBIT G
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                                                                                                                         US011470138B2

  ( 12) United     States Patent                                                               ( 10) Patent No .: US 11,470,138 B2
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  ( 54 ) APPARATUS, SYSTEM , AND METHOD FOR                                              ( 56 )                          References Cited
           MULTI - BITRATE CONTENT STREAMING
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  ( * ) Notice: Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35                                                       OTHER PUBLICATIONS
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                                                                                                                            ( Continued )
  ( 21 ) Appl. No .: 16 /876,579
  (22) Filed :       May 18 , 2020                                                       Primary Examiner — Chirag R Patel
                                                                                         (74 ) Attorney, Agent, or Firm — KW Law , LLP
  ( 65 )                   Prior Publication Data
           US 2020/0280594 A1                  Sep. 3 , 2020                             ( 57 )                            ABSTRACT
                   Related U.S. Application Data
  (63 ) Continuation of application No. 16/ 004,056 , filed on                           An apparatus for multi - bitrate content streaming includes a
        Jun . 8 , 2018 , now Pat. No. 10,659,513 , which is a                            receiving module configured to capture media content, a
                           (Continued )                                                  streamlet module configured to segment the media content
                                                                                         and generate a plurality of streamlets, and an encoding
  (51 ) Int. Ci .                                                                        module configured to generate a set of streamlets. The
           H04L 29/06                   ( 2006.01 )                                      system includes the apparatus , wherein the set of streamlets
           H04L 65/70                   ( 2022.01 )                                      comprises a plurality of streamlets having identical time
                              ( Continued )                                              indices and durations, and each streamlet of the set of
  (52) U.S. CI .                                                                         streamlets having a unique bitrate , and wherein the encoding
           CPC              H04L 65/70 (2022.05 ) ; G06F 16/183                          module comprises a master module configured to assign an
                 (2019.01 ) ; G06F 16/71 ( 2019.01 ) ; H04L 47/12                        encoding job to one of a plurality of host computing modules
                                                        ( 2013.01 ) ;                    in response to an encoding job completion bid . A method
                               (Continued )
                                                                                         includes receiving media content, segmenting the media
                                                                                         content and generating a plurality of streamlets, and gener
  (58) Field of Classification Search                                                    ating a set of streamlets .
           CPC            H04N 21/2662 ; HO4N 21/8456 ; H04L
                            65/607 ; HO4L 65/608 ; H04L 67/02
           See application file for complete search history.                                                  30 Claims , 11 Drawing Sheets

                                   Publisher                                                                               End User
                                      110                                                                                    114




                                                                                   Content Module      306




                                                              -
                                                                             212         112
                                                  Receiving      Streamlet           Encoder                 Streamlet       Web
                                                   Module         Module              Module                 Database       Server
                                                    402             404                  406      21
                                                                                                               408           116




                                                              ??
                                                               Metadata
                                                               Manager
                                                                 412
                                                                               Metadat
                                                                               Database
                                                                                   414
Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 154 of 863 PageID #: 208


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    100



          1   26
                                                                 Client
                                                                 Module
                                                                  114


                                108
                                                                 End User
          Publisher                             108                104
               110


     Web Server
        116
                                            Internet
                                              106                                  Proxy Cache
                                                                                         118
                     108
                                                                    108
                                  108
          Web Server
                   116                                                    Proxy Cache
                                                                             118




              120                                                                  120
                                               Content Module
                                                       112
                                                    Web Server
                                                       116


                                        Content Server
                                              102




                                        FIG . 1
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                                           200



                                   FIG . 2a


                                       Playback Time Duration

                                                 204


                                                 206
   202



                                                 208




                                  FIG . 2b
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                                                      302




               0       1       2         3      4      5          6         7      8         :      n




           303 303     303      303 303         303       303         303   303        303   303

                                          FIG . 3a
                                                       200

                      306a               306b             -306c                 306d         306n



   204 –        304                304              304                 304                  re     304



   206          304                304              304                 304                         304




   208 -        304                304              304                 304                         304




                                          FIG . 3b
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       EndUser 114                     Web Server 116


                          306
                                       Streamlt Datbse   408



                                                                                                 FIG
                                                                                                 4
                                                                                                 .
                         MCondtuel Encoder Module 406
                                112




                         ===                              Metad Datbse         414
                                 212
                                                          ?
                                       Streamlt Module Metad Manger412
                                                      404


                                       RecivngModule 402
      Publisher   110
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      EndUser 114                             Web Server 116                                                Host 504
                        |
                        ?




                                                                                                            Host 504
                                              Streamlt Da bse   408

                                                                                                            Host 504
                            CMondtuel 112                                             Master Module 502                FIG
                                                                                                                       5a
                                                                                                                       .
                                                                                                            Host 504

                                              Streamlt Module 404                                           Host 504

                                              RecivngModule     402         EMnocduler 406                  Host 504

      Publisher   110
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    306d
                                    |3040c3
    306c |||3||04dcb1 |3I040cb4 3||||040b5
                     |||3|||04dcba2
    306b |3||04cba3
    306a 304a1 304a 304a5
                                                                                  502d
                                                                           502c                  5b
                                                                                                 .
                                                                                                 FIG
                                                               5025
           303n            EncodingTime             502a

          303e
          303d
          303c
          303b
          303a
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              QVT
              600

              QMX
              602a                                               QVT
                                                                 600


              QMX
              602b                                               QMX
                                                                 602

              QMX
              602c

                                                              FIG . 6b
          FIG . 6a
                                            QVT
                                             600

                                End                           Publisher
             Start                                  Live
                                                                Data
              604               606                 608
                                                                 610

                        Bitrate Values
                              616                             Encryption
              Frame Size               Channels                  612
                 618                     620

                Codecs                     Sample Rate
                  622                         624              Duration
                                                                 614
                          Frames Parser
                              626


                                    FIG . 6C
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                                                                                                        III
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                                  MSotadguilneg709 H|5|||LE|   304                                         151
                                                                                                                         ||10
                                                                                                                   191
    114   MCAongdtreulntr   702                                              MCStoardecumhlet704 CStarecmhlt 710   .
                                                                                                                   14
                                                                                                                                 CNMoentdrwulek 706   7
                                                                                                                                                      .
                                                                                                                                                      FIG
                                                                                                                          12
                                                                 304
                                                                                                                   181
                                                                                                             6
                                                                                      304                                111
                                                                                                                         |||
                                                View r 708                            ?


                                                                       WServber 116
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                800


                                                  Start
                                                   802



                                            Receive Content
                                                  804



                                          Generate streamlets
                                                 808



                                           Encode Streamlets
                                                 810



                                            Store Streamlets
                                                   812


                                            Serve Streamlets
                                                  814



                                                   End
                                                   816




                                              FIG . 8
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               Start                     902                            900


      Provide Agent Controller
              Module                            904



         Request Streamlet                      906


                                   908

             Streamlet                         Request Streamlet from
          Stored Locally?                         Streamlet Server                916
                                    No
                                                Archive Streamlet in
                                                      Cache                       918

      Retrieve Streamlet From
              Cache                             910



            Rate Shift ?                        911


        Arrange Streamlets                      912



         Deliver Streamlet                      914


                End                      920


                                     FIG . 9
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               Start                    1002
                                                                                   1000

         Receive Streamlet                   1004


         Monitor Receive
               Time                          1006


             Generate
           Performance                       1008
              Factor


                                 1010                                1016
                                                                                             1017

             Upshift ?          Yes            Sustain Upshift       Yes           Upshift
                                                  Quality?

                   No                                     No
                                1012
                                                                            1018

            Downshift ?         Yes                 Downshift



                   No
                                 1014

    No    End of Stream ?


                   Yes
                                   1016
               End
                                                                     FIG . 10
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                                                      US 11,470,138 B2
                                 1                                                                    2
      APPARATUS, SYSTEM, AND METHOD FOR                                 Streaming offers the advantage of immediate access to the
       MULTI - BITRATE CONTENT STREAMING                             content but currently sacrifices quality compared with down
                                                                     loading a file of the same content. Streaming also provides
            CROSS - REFERENCES TO RELATED                            the opportunity for a user to select different content for
                        APPLICATIONS                               5
                                                                     viewing on an ad hoc basis , while downloading is by
                                                                     definition restricted to receiving a specific content selection
    This application is a continuation of U.S. patent applica-         in its entirety or not at all . Downloading also supports
  tion Ser. No. 16/ 004,056 filed on Jun . 8 , 2018 , which is a       rewind, fast forward, and direct seek operations, while
  continuation of U.S. patent application Ser. No. 15 / 414,025 streaming is unable to fully support these functions. Stream
  ( now U.S. Pat . No. 9,998,516 ) filed on Jan. 24 , 2017 , which 10 is also vulnerable to network failures or congestion .
  is a continuation of U.S. patent application Ser. No. 14/719 , ingAnother        technology , known as “ progressive downloads ,”
  122 filed on May 21 , 2015 , which is a continuation of U.S. attempts to combine the strengths of the above two tech
  patent application Ser. No. 14 / 106,051 filed on Dec. 13 , nologies . When a progressive download is initiated , the
  2013 (now U.S. Pat . No. 9,071,668 ) , which is aa continuation media file download begins , and the media player waits to
  of U.S.patent application Ser. No. 13 / 617,114 , filed on Sep. 15 begin    playback until there is enough of the file downloaded
  14 , 2012 ( now U.S. Pat. No. 8,612,624 ) , which is a con that playback             can begin with the hope that the remainder of
  tinuation of U.S. patent Ser. No. 12 / 906,940 filed on Oct. 18 , the file will be      completely downloaded before playback
  2010 (now U.S. Pat . No. 8,402,156 ) , which is a continuation
                                                     a
  of U.S. patent application Ser. No. 11 / 673,483 , filed on Feb. “ catches up .” This waiting period before playback can be
  9 , 2007 (now U.S. Pat . No. 7,818,444 ) , which is a continu- 20 substantial depending on network conditions, and therefore
  ation - in - part of application Ser. No. 11 / 116,783 , filed on is not a complete or fully acceptable solution to the problem
  Apr. 28 , 2005 (now U.S. Pat . No. 8,868,772 ) , which claims of Generally
                                                                          media presentation over a network .
                                                                                    , three basic challenges exist with regard to data
  the benefit of U.S. Provisional Application No. 60/ 566,831 ,
  filed on Apr. 31 , 2004 , all of which are incorporated herein transport streaming over a network such as the Internet that
  by reference .                                                   25 has a varying amount of data loss . The first challenge is
                                                                      reliability. Most streaming solutions use a TCP connection ,
              BACKGROUND OF THE INVENTION                             or “ virtual circuit , ” for transmitting data . A TCP connection
                                                                      provides a guaranteed delivery mechanism so that data sent
                         Field of the Invention                       from one endpoint will be delivered to the destination, even
                                                                   30 if portions are lost and retransmitted . A break in the conti
      The invention relates to video streaming over packet nuity of aa TCP connection can have serious consequences
  switched networks such as the Internet, and more particu when the data must be delivered in real- time. When a
  larly relates to adaptive - rate shifting of streaming content network adapter detects delays or losses in a TCP connec
  over such networks.                                                 tion , the adapter “ backs off from transmission attempts for
                                                                   35 a moment and then slowly resumes the original transmission
                     Description of the Related Art                   pace . This behavior is an attempt to alleviate the perceived
                                                                      congestion . Such a slowdown is detrimental to the viewing
      The Internet is fast becoming a preferred method for or listening experience of the user and therefore is not
  distributing media files to end users . It is currently possible acceptable .
  to download music or video to computers, cell phones , or 40 The second challenge to data transport is efficiency.
  practically any network capable device . Many portable Efficiency refers to how well the user's available bandwidth
  media players are equipped with network connections and is used for delivery of the content stream . This measure is
  enabled to play music or videos . The music or video files directly related to the reliability of the TCP connection .
  (hereinafter “ media files ” ) can be stored locally on the media When the TCP connection is suffering reliability problems,
  player or computer, or streamed or downloaded from a 45 a loss of bandwidth utilization results . The measure of
  server.                                                             efficiency sometimes varies suddenly, and can greatly
      “ Streaming media ” refers to technology that delivers impact the viewing experience.
  content at a rate sufficient for presenting the media to a user        The third challenge is latency. Latency is the time mea
  in real time as the data is received . The data may be stored sure form the client's point -of -view , of the interval between
  in memory temporarily until played and then subsequently 50 when a request is issued and the response data begins to
  deleted . The user has the immediate satisfaction of viewing arrive. This value is affected by the network connection's
  the requested content without waiting for the media file to reliability and efficiency, and the processing time required
  completely download . Unfortunately, the audio / video qual- by the origin to prepare the response . A busy or overloaded
  ity that can be received for real time presentation is con- server, for example, will take more time to process aa request.
  strained by the available bandwidth of the user's network 55 As well as affecting the start time of a particular request,
  connection . Streaming may be used to deliver content on latency has a significant impact on the network throughput
  demand (previously recorded ) or from live broadcasts.              of TCP.
      Alternatively, media files may be downloaded and stored            From the foregoing discussion, it should be apparent that
  on persistent storage devices , such as hard drives or optical a need exists for an apparatus, system , and method that
  storage, for later presentation. Downloading complete media 60 alleviate the problems of reliability, efficiency, and latency.
  files can take large amounts of time depending on the Additionally, such an apparatus, system , and method would
  network connection . Once downloaded, however, the con- offer instantaneous viewing along with the ability to fast
  tent can be viewed repeatedly anytime or anywhere. Media forward, rewind, direct seek, and browse multiple streams.
  files prepared for downloading usually are encoded with a Beneficially, such an apparatus, system , and method would
  higher quality audio / video than can be delivered in real time . 65 utilize multiple connections between a source and destina
  Users generally dislike this option , as they tend to want to tion , requesting varying bitrate streams depending upon
  see or hear the media file instantaneously.                          network conditions .
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                                                      US 11,470,138 B2
                                3                                                                   4
              SUMMARY OF THE INVENTION                               Furthermore, the method may include converting the
                                                                   media content to raw audio or raw video , and segmenting the
     The present invention has been developed in response to content media into a plurality of sequential streamlets. The
  the present state of the art, and in particular, in response to method further comprises assigning an encoding job to one
  the problems and needs in the art that have not yet been fully 5 of a plurality of host computing modules in response to an
  solved by currently available content streaming systems. encoding job completion bid , and submitting an encoding
  Accordingly, the present invention has been developed to job completion bid based on a plurality of computing
  provide an apparatus, system , and method for adaptive -rate variables.
  content streaming that overcome many or all of the above- 10 Reference throughout this specification to features,
  discussed shortcomings in the art.                               advantages, or similar language does not imply that all of the
     The apparatus for adaptive -rate content streaming is pro- features and advantages that may be realized with the
  vided with a logic unit containing a plurality of modules present invention should be or are in any single embodiment
  configured to functionally execute the necessary steps . of the invention . Rather, language referring to the features
  These modules in the described embodiments include a 15 and advantages is understood to mean that a specific feature ,
  receiving module configured to receive media content, a advantage, or characteristic described in connection with an
  streamlet module configured to segment the media content            embodiment is included in at least one embodiment of the
  and generate a plurality of sequential streamlets, and an           present invention . Thus, discussion of the features and
  encoding module configured to encode each streamlet as a advantages, and similar language, throughout this specifi
  separate content file .                                       20 cation may , but do not necessarily , refer to the same embodi
     The encoding module is further configured to generate a ment.
  set of streamlets for each of the sequential streamlets. Each       Furthermore, the described features , advantages, and
  streamlet may comprise a portion of the media content characteristics of the invention may be combined in any
  having a predetermined length of time . The predetermined suitable manner in one or more embodiments. One skilled in
  length of time may be in the range of between about 0.1 and 25 the relevant art will recognize that the invention may be
  5 seconds.                                                          practiced without one or more of the specific features or
     In one embodiment, a set of streamlets comprises a advantages of a particular embodiment. In other instances ,
  plurality of streamlets having identical time indices, and additional features and advantages may be recognized in
  each streamlet of the set of streamlets has a unique bitrate . certain embodiments that may not be present in all embodi
  The receiving module is configured to convert the media 30 ments of the invention .
  content to raw audio or raw video . The encoding module           These features and advantages of the present invention
  may include a master module configured to assign an will become more fully apparent from the following descrip
  encoding job to one of a plurality of host computing modules tion and appended claims , or may be learned by the practice
  in response to an encoding job completion bid . The job of the invention as set forth hereinafter.
  completion bid may be based on a plurality of computing 35
  variables selected from a group consisting of current encod                BRIEF DESCRIPTION OF THE DRAWINGS
  ing job completion percentage, average encoding job
  completion time , processor speed , and physical memory                In order that the advantages of the invention will be
  capacity.                                                           readily understood, a more particular description of the
     A system of the present invention is also presented for 40 invention briefly described above will be rendered by ref
  adaptive -rate content streaming. In particular, the system , in erence to specific embodiments that are illustrated in the
  one embodiment, includes a receiving module configured to appended drawings. Understanding that these drawings
  receive media content, a streamlet module configured to depict only typical embodiments of the invention and are not
  segment the media content and generate a plurality of therefore to be considered to be limiting of its scope , the
  sequential streamlets, each streamlet comprising a portion of 45 invention will be described and explained with additional
  the media content having a predetermined length of time , specificity and detail through the use of the accompanying
  and an encoding module configured to encode each stream- drawings, in which :
  let as a separate content file and generate a set of streamlets.       FIG . 1 is a schematic block diagram illustrating one
      The system also includes a plurality of streamlets having embodiment of a system for dynamic rate shifting of stream
  identical time indices and each streamlet of the set of 50 ing content in accordance with the present invention;
  streamlets having a unique bitrate . The encoding module               FIG . 2a is a schematic block diagram graphically illus
  comprises a master module configured to assign an encoding trating one embodiment of aa media content file ;
  job to one of a plurality of host computing modules in                 FIG . 2b is a schematic block diagram illustrating one
  response to an encoding job completion bid .                        embodiment of a plurality of streams having varying degrees
     A method of the present invention is also presented for 55 of quality and bandwidth ;
  adaptive - rate content streaming. In one embodiment, the              FIG . 3a is a schematic block diagram illustrating one
  method includes receiving media content, segmenting the embodiment of a stream divided into a plurality of source
  media content and generating a plurality of sequential streamlets ;
  streamlets, and encoding each streamlet as a separate content          FIG . 3b is a schematic block diagram illustrating one
  file .                                                           60 embodiment of sets of streamlets in accordance with the
      The method also includes segmenting the media content present invention ;
  into a plurality of streamlets , each streamlet comprising a           FIG . 4 is a schematic block diagram illustrating in greater
  portion of the media content having a predetermined length detail one embodiment of the content module in accordance
  of time . In one embodiment, the method includes generating with the present invention ;
  a set of streamlets comprising a plurality of streamlets 65 FIG . 5a is a schematic block diagram illustrating one
  having identical time indices, and each streamlet of the set embodiment of an encoder module in accordance with the
  of streamlets having a unique bitrate .                             present invention;
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                                                      US 11,470,138 B2
                                 5                                                                    6
     FIG . 56 is a schematic block diagram illustrating one similar language throughout this specification may, but do
  embodiment of parallel encoding of streamlets in accor- not necessarily, all refer to the same embodiment.
  dance with the present invention ;                                    Reference to a signal bearing medium may take any form
     FIG . 6a is a schematic block diagram illustrating one capable of generating a signal, causing a signal to be
  embodiment of a virtual timeline in accordance with the 5 generated, or causing execution of a program of machine
  present invention ;                                                readable instructions on a digital processing apparatus. A
     FIG . 6b is a schematic block diagram illustrating an signal bearing medium may be embodied by a transmission
  alternative embodiment of a VT in accordance with the line, a compact disk , digital-video disk , a magnetic tape , a
  present invention ;                                                Bernoulli drive, a magnetic disk , a punch card, flash
     FIG . 6c is a schematic block diagram illustrating one 10 memory , integrated circuits, or other digital processing
  embodiment of a QMX in accordance with the present apparatus memory device. In one embodiment, a computer
  invention;                                                         program product including a computer useable medium
     FIG . 7 is aa schematic block diagram graphically illustrat- having a computer readable program of computer instruc
  ing one embodiment of a client module in accordance with 15 tions stored thereon that when executed on a computer
  the present invention ;                                            causes the computer to carry out operations for multi- bitrate
     FIG . 8 is a schematic flow chart diagram illustrating one content streaming as described herein .
  embodiment of a method for processing content in accor-               Furthermore, the described features, structures, or char
  dance with the present invention ;                                 acteristics of the invention may be combined in any suitable
     FIG . 9 is a schematic flow chart diagram illustrating one 20 manner in one or more embodiments . In the following
  embodiment of aa method for viewing a plurality of stream- description, numerous specific details are provided , such as
  lets in accordance with the present invention ; and                examples of programming, software modules , user selec
     FIG . 10 is a schematic flow chart diagram illustrating one tions , network transactions, database queries, database struc
  embodiment of a method for requesting streamlets within an tures, hardware modules , hardware circuits, hardware chips ,
  adaptive -rate shifting content streaming environment in 25 etc. , to provide a thorough understanding of embodiments of
  accordance with the present invention.                             the invention . One skilled in the relevant art will recognize,
                                                                     however, that the invention may be practiced without one or
              DETAILED DESCRIPTION OF THE                            more of the specific details, or with other methods, compo
                           INVENTION                                 nents, materials, and so forth . In other instances , well - known
                                                                  30 structures, materials, or operations are not shown or
     Many of the functional units described in this specifica- described in detail to avoid obscuring aspects of the inven
  tion have been labeled as modules, in order to more par- tion .
  ticularly emphasize their implementation independence . For           FIG . 1 is a schematic block diagram illustrating one
  example, a module may be implemented as a hardware embodiment of a system 100 for dynamic rate shifting of
  circuit comprising custom VLSI circuits or gate arrays, 35 streaming content in accordance with the present invention .
  off- the-shelf semiconductors such as logic chips, transistors , In one embodiment, the system 100 comprises a content
  or other discrete components. A module may also be imple- server 102 and an end user station 104. The content server
  mented in programmable hardware devices such as field 102 and the end user station 104 may be coupled by a data
  programmable gate arrays, programmable array logic , pro- communications network . The data communications net
  grammable logic devices or the like .                           40 work may include the Internet 106 and connections 108 to
     Modules may also be implemented in software for execu-          the Internet 106. Alternatively, the content server 102 and
  tion by various types of processors. An identified module of the end user 104 may be located on a common local area
  executable code may , for instance , comprise one or more network, wireless area network , cellular network , virtual
  physical or logical blocks of computer instructions which local area network , or the like. The end user station 104 may
  may, for instance, be organized as an object, procedure , or 45 comprise a personal computer ( PC ) , an entertainment sys
  function . Nevertheless , the executables of an identified tem configured to communicate over a network , or por
  module need not be physically located together, but may table electronic device configured to present content. For
  comprise disparate instructions stored in different locations example, portable electronic devices may include, but are
  which , when joined logically together, comprise the module not limited to , cellular phones , portable gaming systems, and
  and achieve the stated purpose for the module .                 50 portable computing devices .
     Indeed, a module of executable code may be a single                In the depicted embodiment, the system 100 also includes
  instruction , or many instructions, and may even be distrib- a publisher 110 , and a web server 116. The publisher 110
  uted over several different code segments , among different may be a creator or distributor of content. For example, if the
  programs, and across several memory devices. Similarly, content to be streamed were a broadcast of a television
  operational data may be identified and illustrated herein 55 program , the publisher 110 may be a television or cable
  within modules , and may be embodied in any suitable form network channel such as NBC® , or MTV® . Content may be
  and organized within any suitable type of data structure . The transferred over the Internet 106 to the content server 102 ,
  operational data may be collected as a single data set, or may where the content is received by a content module 112. The
  be distributed over different locations including over differ- content module 112 may be configured to receive , process,
  ent storage devices , and may exist, at least partially, merely 60 and store content. In one embodiment, processed content is
  as electronic signals on a system or network .                     accessed by a client module 114 configured to play the
     Reference throughout this specification to “ one embodi- content on the end user station 104. In a further embodiment,
  ment,” “ an embodiment. ” or similar language means that a the client module 114 is configured to receive different
  particular feature , structure , or characteristic described in portions of a content stream from a plurality of locations
  connection with the embodiment is included in at least one 65 simultaneously. For example , the client module 114 may
  embodiment of the present invention . Thus, appearances of request and receive content from any of the plurality of web
  the phrases " in one embodiment," " in an embodiment,” and
                                     >
                                                                       servers 116 .
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                                7                                                                   8
    Content from the content server 102 may be replicated to            As described above , the duration of one streamlet 304
  other web servers 116 or alternatively to proxy cache servers may be approximately two seconds . Likewise each set 306
  118. Replicating may occur by deliberate forwarding from may comprise a plurality of streamlets 304 where each
  the content server 102 , or by a web , cache , or proxy server streamlet 304 has a playable duration of two seconds .
  outside of the content server 102 asking for content on 5 Alternatively, the duration of the streamlet 304 may be
  behalf of the client module 114. In a further embodiment, predetermined or dynamically variable depending upon a
  content may be forwarded directly to web 116 or proxy 118 variety of factors including, but not limited to , network
  servers through direct communication channels 120 without congestion , system specifications, playback resolution and
  the need to traverse the Internet 106 .                            quality, etc. In the depicted embodiment, the content 200
    FIG. 2a is a schematic block diagram graphically illus- 10 may   be formed
                                                               sets 306        of theonplurality
                                                                        may depend      the lengthofofsetsthe306. The200
                                                                                                              content number  of
                                                                                                                         and the
  trating one embodiment of a media content (hereinafter             length or duration of each streamlet 304 .
  " content ") file 200. In one embodiment, the content file 200        FIG . 4 is aa schematic block diagram illustrating in greater
  is distributed by the publisher 110. The content file 200 may      detail one embodiment of the content module 112 in accor
  comprise a television broadcast, sports event, movie ,music , 15 dance with the present invention. The content module 112
  concert, etc. The content file 200 may also be live or             may comprise a capture module 402 , a streamlet module
  archived content. The content file 200 may comprise uncom-         404 , an encoder module 406 , a streamlet database 408 , and
  pressed video and audio , or alternatively, video or audio .       the web server 116. In one embodiment, the capture module
  Alternatively, the content file 200 may be compressed using 402 is configured to receive the content file 200 from the
  standard or proprietary encoding schemes . Examples of 20 publisher 110. The capture module 402 may be configured to
  encoding schemes capable of use with the present invention “ decompress ” the content file 200. For example, if the
  include , but are not limited to , DivX® , Windows Media content file 200 arrives having been encoded with one of the
  Video® , Quicktime Sorenson 3® , On2, OGG Vorbis, MP3 , above described encoding schemes , the capture module 402
  or Quicktime 6.5 /MPEG - 4® encoded content.                       may convert the content file 200 into raw audio and /or video .
     FIG . 2b is a schematic block diagram illustrating one 25 Alternatively, the content file 200 may be transmitted by the
  embodiment of a plurality of streams 202 having varying publisher in aa format 110 that does not require decompres
  degrees of quality and bandwidth . In one embodiment, the sion .
  plurality of streams 202 comprises a low quality stream 204 ,         The capture module 402 may comprise a capture card
  a medium quality stream 206 , and a high quality stream 208 . configured for TV and / or video capture. One example of aa
  Each of the streams 204 , 206 , 208 is a copy of the content 30 capture card suitable for use in the present invention is the
  file 200 encoded and compressed to varying bit rates . For DRC - 2500 by Digital Rapids of Ontario , Canada . Alterna
  example , the low quality stream 204 may be encoded and tively, any capture card capable of capturing audio and video
  compressed to a bit rate of 100 kilobits per second ( kbps ), may be utilized with the present invention . In a further
  the medium quality stream 206 may be encoded and com- embodiment, the capture module 402 is configured to pass
  pressed to aa bit rate of 200 kbps, and the high quality stream 35 the content file to the streamlet module 404 .
  208 may be encoded and compressed to 600 kbps.                        The streamlet module 404 , in one embodiment, is con
     FIG . 3a is a schematic block diagram illustrating one figured to segment the content file 200 and generate source
  embodiment of a stream 302 divided into a plurality of streamlets 303 that are not encoded . As used herein , the term
  source streamlets 303. As used herein , streamlet refers to " segment” refers to an operation to generate a streamlet of
  any sized portion of the content file 200. Each streamlet 303 40 the content file 200 having a duration or size equal to or less
  may comprise a portion of the content contained in stream than the duration or size of the content file 200. The
  302 , encapsulated as an independent media object. The streamlet module 404 may be configured to segment the
  content in a streamlet 303 may have a unique time index in content file 200 into streamlets 303 each having an equal
  relation to the beginning of the content contained in stream duration . Alternatively, the streamlet module 404 may be
  302. In one embodiment, the content contained in each 45 configured to segment the content file 200 into streamlets
  streamlet 303 may have a duration of two seconds . For 303 having equal file sizes .
  example, streamlet ( may have a time index of 00:00                   The encoding module 406 is configured to receive the
  representing the beginning of content playback , and stream- source streamlets 303 and generate the plurality of streams
  let 1 may have a time index of 00:02 , and so on . Alterna- 202 of varying qualities. The original content file 200 from
  tively, the time duration of the streamlets 304 may be any 50 the publisher may be digital in form and may comprise
  duration smaller than the entire playback duration of the content having a high bit rate such as , for example , 2 mbps.
  content in stream 302. In a further embodiment, the stream-        The content may be transferred from the publisher 110 to the
  lets 303 may be divided according to file size instead of a        content module 112 over the Internet 106. Such transfers of
  time index and duration .                                          data are well known in the art and do not require further
    FIG. 3b is a schematic block diagram illustrating one 55 captured
  embodiment of sets 306 of streamlets in accordance with the
                                                             discussionbroadcast
                                                                         herein. Alternatively
                                                                                  .
                                                                                              , the content may comprise a
  present invention. As used herein , the term “ set ” refers to a   In a further embodiment, the encoding module 406 is
  group of streamlets having identical time indices and dura- configured to generate a plurality of sets 306 of streamlets
  tions but varying bitrates. In the depicted embodiment, the 304. The sets 306 , as described above with reference to FIG .
  set 306a encompasses all streamlets having a time index of 60 3b , may comprise streamlets having an identical time index
  00:00 . The set 306a includes encoded streamlets 304 having and duration, and a unique bitrate. As with FIG . 3b , the sets
  low, medium , and high 204 , 206 , 208 bitrates. Of course 306 and subsequently the plurality of streams 202 may
                                     2

  each set 306 may include more than the depicted three comprise the low quality stream 204 , the medium quality
  bitrates which are given by way of example only. One stream 206 , and the high quality stream 208. Alternatively,
  skilled in the art will recognize that any number of streams 65 the plurality of streams 202 may comprise any number of
  having different bitrates may be generated from the original streams deemed necessary to accommodate end user band
  content 200 .                                                      width .
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                                9                                                                  10
    The encoder module 406 is further configured to encode            streamlet 303 to produce a raw streamlet. As used herein , the
  each source streamlet 303 into the plurality of streams 202        term " raw streamlet ” refers to a streamlet 303 that is
  and streamlet sets 306 and store the streamlets in the             uncompressed or lightly compressed to substantially reduce
  streamlet database 408. The encoding module 406 may size with no significant loss in quality. A lightly compressed
  utilize encoding schemes such as DivX® , Windows Media 5 raw streamlet can be transmitted more quickly and to more
  Video 9® , Quicktime 6.5 Sorenson 3® , or Quicktime 6.5 / hosts . Each host 504 is coupled with the master 502 and
  MPEG - 4® . Alternatively, a custom encoding scheme may configured to receive a raw streamlet from the master 502
  be employed.                                                           for encoding. The hosts 504 , in one example , generate a
      The content module 112 may also include a metadata plurality of streamlets 304 having identical time indices and
  module 412 and a metadata database 414. In one embodi- 10 durations, and varying bitrates. Essentially each host 504
  ment, metadata comprises static searchable content infor- may be configured to generate a set 306 from the raw
  mation . For example, metadata includes , but is not limited streamlet 503 sent from the master 502. Alternatively, each
  to , air date of the content, title , actresses, actors , length , and host 504 may be dedicated to producing a single bitrate in
  episode name . Metadata is generated by the publisher 110 , order to reduce the time required for encoding .
  and may be configured to define an end user environment. In 15 Upon encoding completion , the host 504 returns the set
  one embodiment, the publisher 100 may define an end user 306 to the master 502 so that the encoding module 406 may
  navigational environment for the content including menus ,      store the set 306 in the streamlet database 408. The master
  thumbnails, sidebars, advertising, etc. Additionally , the pub- 502 is further configured to assign encoding jobs to the hosts
  lisher 110 may define functions such as fast forward , rewind, 504. Each host is configured to submit an encoding job
  pause , and play that may be used with the content file 200. 20 completion bid ( hereinafter “ bid ” ). The master 502 assigns
  The metadata module 412 is configured to receive the encoding jobs depending on the bids from the hosts 504 .
  metadata from the publisher 110 and store the metadata in Each host 504 generates a bid depending upon a plurality of
  the metadata database 414. In a further embodiment, the computing variables which may include, but are not limited
  metadata module 412 is configured to interface with the to , current encoding job completion percentage, average job
  client module 114 , allowing the client module 114 to search 25 completion time, processor speed and physical memory
  for content based upon at least one of a plurality of metadata capacity.
  criteria. Additionally, metadata may be generated by the          For example, a host 504 may submit a bid that indicates
  content module 112 through automated process (es ) or          that based on past performance history the host 504 would
  manual definition .                                            be able to complete the encoding job in 15 seconds . The
     Once the streamlets 304 have been received and pro- 30 master 502 is configured to select from among a plurality of
  cessed , the client module 114 may request streamlets 304 bids the best bid and subsequently submit the encoding job
  using HTTP from the web server 116. Using a standard to the host 504 with the best bid . As such , the described
  protocol such as HTTP eliminates the need for network encoding system does not require that each host 504 have
  administrators to configure firewalls to recognize and pass identical hardware but beneficially takes advantage of the
  through network traffic for a new , specialized protocol. 35 available computing power of the hosts 504. Alternatively,
  Additionally, since the client module 114 initiates the the master 502 selects the host 504 based on a first come first
  request, the web server 116 is only required to retrieve and serve basis , or some other algorithm deemed suitable for a
  serve the requested streamlet 304. In a further embodiment, particular encoding job .
  the client module 114 may be configured to retrieve stream-       The time required to encode one streamlet 304 is depen
  lets 304 from a plurality of web servers 116 .              40 dent upon the computing power of the host 504 , and the
     Each web server 116 may be located in various locations encoding requirements of the content file 200. Examples of
  across the Internet 106. The streamlets 304 may essentially encoding requirements may include, but are not limited to ,
  be static files . As such , no specialized media server or two or multi -pass encoding, and multiple streams of differ
  server - side intelligence is required for a client module 114 to ent bitrates. One benefit of the present invention is the ability
  retrieve streamlets 304. Streamlets 304 may be served by the 45 to perform two -pass encoding on a live content file 200 .
  web server 116 or cached by cache servers of Internet Typically, in order to perform two - pass encoding prior art
  Service Providers (ISPs ) , or any other network infrastructure   systems must wait for the content file to be completed before
  operators, and served by the cache server. Use of cache           encoding .
  servers is well known to those skilled in the art, and will not     The present invention , however, segments the content file
  be discussed further herein . Thus, a highly scalable solution 50 200 into source streamlets 303 and the two - pass encoding to
  is provided that is not hindered by massive amounts of client a plurality of streams 202 may be performed on each
  module 114 requests to the web server 116 at any specific           corresponding raw streamlet without waiting for a TV show
  location , especially the web server 116 most closely asso-         to end , for example. As such , the content module 112 is
  ciated with or within the content module 112                        capable of streaming the streamlets over the Internet shortly
    FIG. 5a is a schematic block diagram illustrating one 55 file
  embodiment of an encoder module 406 in accordance with
                                                             after200.
                                                                   the content module 112 begins capture of the content
                                                                        The delay between a live broadcast transmitted
  the present invention . In one embodiment, the encoder from the publisher 110 and the availability of the content
  module 406 may include a master module 502 and a depends on the computing power of the hosts 504 .
  plurality of host computing modules ( hereinafter “ host" )      FIG . 5b is a schematic block diagram illustrating one
  504. The hostsa 504 may comprise personal computers, 60 embodiment of parallel encoding of streamlets in accor
  servers, etc. In a further embodiment, the hosts 504 may be dance with the present invention . In one example, the
  dedicated hardware, for example , cards plugged into a single capture module 402 ( of FIG . 4 ) begins to capture the content
  computer.                                                     file and the streamlet module 404 generates a first streamlet
     The master module (hereinafter “ master ” ) 502 is config- 303a and passes the streamlet to the encoding module 406 .
  ured to receive streamlets 303 from the streamlet module 65 The encoding module 406 may take 10 seconds , for
  404 and stage the streamlet 303 for processing. In one example, to generate the first set 306? of streamlets 304a
  embodiment, the master 502 may decompress each source (304al , 304a2 , 304a3 , etc. represent streamlets 304 of
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  different bitrates ). FIG . 5b illustrates the encoding process time - selective manner so that streamlets are processed at
  generically as block 502 to graphically illustrate the time regular time intervals and transmitted at these time intervals.
  duration required to process a raw or lightly encoded stream-        Returning now to FIG . 5a , as depicted , the master 502 and
  let 303 as described above with reference to the encoding the hosts 504 may be located within a single local area
  module 406. The encoding module 406 may simultaneously 5 network , or in other terms, the hosts 504 may be in close
  process more than one streamlet 303 , and processing of physical proximity to the master 502. Alternatively, the hosts
  streamlets will begin upon arrival of the streamlet from the 504 may receive encoding jobs from the master 502 over the
  capture module 402 .                                              Internet or other communications network. For example,
     During the 10 seconds required to encode the first stream- 10 consider a live sports event in a remote location where it
  let 303a , the streamlet module 404 has generated five would be difficult to setup multiple hosts . In this example, a
  additional 2 - second streamlets 303b , 303c , 303d, 303e , 3035, master performs no encoding or alternatively light encoding
  for encoding and the master 502 has prepared and staged the before publishing the streamlets online. The hosts 504 would
  corresponding raw streamlets. Two seconds after the first set then retrieve those streamlets and encode the streamlets into
  306? is available the next set 306b is available , and so on . 15 the multiple bitrate sets 306 as described above .
  As such, the content file 200 is encoded for streaming over         Furthermore, hosts 504 may be dynamically added or
  the Internet and appears live . The 10 second delay is given removed from the encoding module without restarting the
  herein by way of example only. Multiple hosts 504 may be encoding job and / or interrupting the publishing of stream
  added to the encoding module 406 in order to increase the lets . If aa host 504 experiences a crash or some failure, its
  processing capacity of the encoding module 406. The delay 20 encoding work is simply reassigned to another host .
  may be shortened to an almost unperceivable level by the            The encoding module 406 , in one embodiment, may also
  addition of high CPU powered systems , or alternatively be configured to produce streamlets that are specific to a
  multiple low powered systems .                                   particular playback platform . For example, for a single raw
    A system as described above beneficially enables multi- streamlet, a single host 504 may produce streamlets for
  pass encoding of live events . Multi - pass encoding systems 25 different quality levels for personal computer playback ,
  of the prior art require that the entire content be captured (or streamlets for playback on cell phones with a different,
  be complete ) because in order to perform multi -pass encod- proprietary codec , a small video -only streamlet for use when
  ing the entire content must be scanned and processed more playing just a thumbnail view of the stream (like in a
  than once . This is impossible with prior art systems because programming guide) , and a very high quality streamlet for
  content from a live event is not complete until the event is 30 use in archiving.
  over. As such , with prior art systems, multi -pass encoding        FIG . 6a is a schematic block diagram illustrating one
  can only be performed once the event is over. Streamlets,          embodiment of a virtual timeline 600 in accordance with the
  ho ver, may be encoded as many times as is deemed                  present invention. In one embod ent, the virtual timeline
  necessary . Because the streamlet is an encapsulated media 600 comprises at least one quantum media extension 602 .
  object of 2 seconds ( for example ), multi -pass encoding may 35 The quantum media extension (hereinafter “ QMX ” ) 602
  begin on a live event once the first streamlet is captured. describes an entire content file 200. Therefore , the virtual
  Shortly after multi -pass encoding of the first streamlet 303a timeline (hereinafter “ VT ” ) 600 may comprise a file that is
  is finished , multi -pass encoding of the second streamlet configured to define a playlist for a user to view . For
  303b finishes, and as such multi - pass encoding is performed example, the VT may indicate that the publisher desires a
  on a live event and appears live to a viewer.                   40 user to watch a first show QMX 602a followed by QMX
     Any specific encoding scheme applied to a streamlet may 602b and QMX 602c . As such , the publisher may define a
  take longer to complete than the time duration of the broadcast schedule in a manner similar to a television
  streamlet itself, for example, a very high quality encoding of station .
  a 2 - second streamlet may take 5 seconds to finish . Alterna-       FIG . 6b is a schematic block diagram illustrating an
  tively, the processing time required for each streamlet may 45 alternative embodiment of a VT 600 in accordance with the
  be less than the time duration of a streamlet. However, present invention . In the depicted embodiment, the VT 600
  because the offset parallel encoding of successive streamlets may include a single QMX 602 which indicates that the
  are encoded by the encoding module at regular intervals publisher desires the same content to be looped over and
  (matching the intervals at which the those streamlets are over again . For example, the publisher may wish to broad
  submitted to the encoding module 406 , for example 2 50 cast a never -ending infomercial on a website.
  seconds ) the output timing of the encoding module 406 does          FIG . 6c is a schematic block diagram illustrating one
  not fall behind the real - time submission rate of the unen- embodiment of a QMX 602 in accordance with the present
  coded streamlets . Conversely, prior art encoding systems invention . In one embodiment, the QMX 602 contains a
  rely on the very fastest computing hardware and software multitude of information generated by the content module
  because the systems must generate the output immediately 55 112 configured to describe the content file 200. Examples of
  in lock - step with the input. A prior art system that takes 2.1 information include , but are not limited to , start index 604 ,
  seconds to encode 2 seconds worth of content is considered end index 606 , whether the content is live 608 , proprietary
  a failure . The present invention allows for slower than publisher data 610 , encryption level 612 , content duration
                                                                                                                9

  real - time encoding processes yet still achieves a real - time 614 and bitrate values 616. The bitrate values 616 may
  encoding effect due to the parallel offset pipes .              60 include frame size 618 , audio channel 620 information ,
     The parallel offset pipeline approach described with ref- codecs 622 used, sample rate 624 , and frames parser 626 .
  erence to FIG . 5b beneficially allows for long or short             A publisher may utilize the QVT 600 together with the
  encoding times without “ falling behind ” the live event. QMX 602 in order to prescribe a playback order for users ,
  Additionally, arbitrarily complex encoding of streamlets to or alternatively selectively edit content. For example, a
  multiple profiles and optimizations only lengthens the 65 publisher may indicate in the QMX 602 that audio should be
  encoding time 502 without a perceptible difference to a user       muted at time index 10:42 or video should be skipped for 3
  because the sets 306 of streamlets 304 are encoded in a            seconds at time index 18:35 . As such , the publisher may
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  selectively skip offensive content without the processingrewind capabilities , the streamlet cache module 704 is
  requirements of editing the content.                     configured to store the plurality of streamlets 304 in the
    FIG . 7 is aa schematic block diagram graphically illustrat-
                                                           streamlet cache 710 for a specified time period after the
  ing one embodiment of aa client module 114 in accordance streamlet 304 has been viewed . However, once the stream
  with the present invention . The client module 114 may 5 lets 304 have been deleted, they may be requested again
  comprise an agent controller module 702 , a streamlet cache          from the web server 116 .
  module 704 , and a network controller module 706. In one               The network controller module 706 may be configured to
  embodiment, the agent controller module 702 is configured            receive streamlet requests from the streamlet cache module
  to interface with aa viewer 708 , and transmit streamlets 304 704 and open a connection to the web server 116 or other
  to the viewer 708. Alternatively, the agent controller module 10 remote streamlet 304 database (not shown) . In one embodi
  702 may be configured to simply reassemble streamlets into ment, the network controller module 706 opens a TCP/IP
  a single file for transfer to an external device such as a connection to the web server 116 and generates a standard
  portable video player.                                           HTTP GET request for the requested streamlet 304. Upon
     In a further embodiment , the client module 114 may receiving the requested streamlet 304 , the network controller
  comprise a plurality of agent controller modules 702. Each 15 module 706 passes the streamlet 304 to the streamlet cache
  agent controller module 702 may be configured to interface module 704 where it is stored in the streamlet cache 710. In
  with one viewer 708. Alternatively, the agent controller a further embodiment, the network controller module 706 is
  module 702 may be configured to interface with a plurality configured to process and request a plurality of streamlets
  of viewers 708. The viewer 708 may be aa media player (not 304 simultaneously. The network controller module 706
  shown ) operating on a PC or handheld electronic device . 20 may also be configured to request a plurality of streamlets,
     The agent controller module 702 is configured to select a where each streamlet 304 is subsequently requested in
  quality level of streamlets to transmit to the viewer 708. The multiple parts.
  agent controller module 702 requests lower or higher quality            In a further embodiment, streamlet requests may comprise
  streams based upon continuous observation of time intervals requesting pieces of any streamlet file . Splitting the stream
  between successive receive times of each requested stream- 25 let 304 into smaller pieces or portions beneficially allows for
  let . The method of requesting higher or lower quality an increased efficiency potential, and also eliminates prob
  streams will be discussed in greater detail below with lems associated with multiple full - streamlet requests sharing
  reference to FIG . 10 .                                              the bandwidth at any given moment. This is achieved by
      The agent controller module 702 may be configured to using parallel TCP/IP connections for pieces of the stream
  receive user commands from the viewer 708. Such com- 30 lets 304. Consequently, efficiency and network loss prob
  mands may include play, fast forward, rewind, pause , and lems are overcome , and the streamlets arrive with more
  stop . In one embodiment, the agent controller module 702 useful and predictable timing .
  requests streamlets 304 from the streamlet cache module                 In one em !            the client module 114 is configured
  704 and arranges the received streamlets 304 in a staging to use multiple TCP connections between the client module
  module 709. The staging module 709 may be configured to 35 114 and the web server 116 or web cache . The intervention
  arrange the streamlets 304 in order of ascending playback of a cache may be transparent to the client or configured by
  time . In the depicted embodiment, the streamlets 304 are the client as a forward cache. By requesting more than one
  numbered 0 , 1 , 2 , 3 , 4 , etc. However, each streamlet 304 may streamlet 304 at a time in a manner referred to as “ parallel
  be identified with a unique filename.                                retrieval, ” or more than one part of a streamlet 304 at a time ,
     Additionally, the agent controller module 702 may be 40 efficiency is raised significantly and latency is virtually
  configured to anticipate streamlet 304 requests and pre- eliminated . In a further embodiment, the client module
  request streamlets 304. By pre -requesting streamlets 304 , allows a maximum of three outstanding streamlet 304
  the user may fast - forward, skip randomly, or rewind through requests. The client module 114 may maintain additional
  the content and experience no buffering delay. In a further open TCP connections as spares to be available should
  embodiment, the agent controller module 702 may request 45 another connection fail. Streamlet 304 requests are rotated
  the streamlets 304 that correspond to time index intervals of among all open connections to keep the TCP flow logic for
  30 seconds within the total play time of the content. Alter- any particular connection from falling into a slow - start or
  natively, the agent controller module 702 may request close mode . If the network controller module 706 has
  streamlets at any interval less than the length of the time requested a streamlet 304 in multiple parts, with each part
  index . This enables a “ fast- start " capability with no buffer- 50 requested on mutually independent TCP/IP connections, the
  ing wait when starting or fast - forwarding through content network controller module 706 reassembles the parts to
  file 200. In a further embodiment, the agent controller present a complete streamlet 304 for use by all other
  module 702 may be configured to pre - request streamlets 304 components of the client module 114 .
  corresponding to specified index points within the content or           When a TCP connection fails completely, a new request
  within other content in anticipation of the end user 104 55 may be sent on a different connection for the same streamlet
  selecting new content to view. In one embodiment, the 304. In a further embodiment, if a request is not being
  streamlet cache module 704 is configured to receive stream- satisfied in a timely manner,a redundant request may be sent
  let 304 requests from the agent controller module 702. Upon    on a different connection for the same streamlet 304. If the
  receiving a request, the streamlet cache module 704 first first streamlet request's response arrives before the redun
  checks a streamlet cache 710 to verify if the streamlet 304 60 dant request response , the redundant request can be aborted .
  is present. In a further embodiment, the streamlet cache If the redundant request response arrives before the first
  module 704 handles streamlet 304 requests from a plurality request response , the first request may be aborted.
  of agent controller modules 702. Alternatively, a streamlet        Several streamlet 304 requests may be sent on a single
  cache module 704 may be provided for each agent controller TCP connection, and the responses are caused to flow back
  module 702. If the requested streamlet 304 is not present in 65 in matching order along the same connection . This elimi
  the streamlet cache 410 , the request is passed to the network nates all but the first request latency. Because multiple
  controller module 706. In order to enable fast forward and responses are always being transmitted , the processing
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  latency of each new streamlet 304 response after the first is    FIG . 8 is a schematic flow chart diagram illustrating one
  not a factor in performance. This technique is known in the   embodiment of a method 800 for processing content in
  industry as " pipelining." Pipelining offers efficiency in    accordance with the present invention. In one embodiment
  request- response processing by eliminating most of the       the method 800 starts 802 , and the content module 112
                                                                                                2

  effects of request latency. However, pipelining has serious 5 receives 804 content from the publisher 110. Receiving
  vulnerabilities . Transmission delays affect all of the content 804 may comprise receiving 804 a digital copy of
  responses . If the single TCP connection fails, all of the the content file 200 , or digitizing a physical copy of the
  outstanding requests and responses are lost . Pipelining content       file 200. Alternatively, receiving 804 content may
                                                                comprise capturing a radio , television, cable, or satellite
  causes a serial dependency between the requests .
    Multiple TCP connections may be opened between the 10 broadcast
                                                          generates. 808
                                                                     Oncea received
                                                                           plurality 804
                                                                                     of ,source
                                                                                           the streamlet
                                                                                                 streamletsmodule 404
                                                                                                             303 each
  client module 114 and the web server 116 to achieve the          having a fixed duration . Alternatively, the streamlets 303
  latency - reduction efficiency benefits of pipelining while      may be generated with a fixed file size .
  maintaining the independence of each streamlet 304 request.        In one embodiment, generating 808 streamlets comprises
  Several streamlet 304 requests may be sent concurrently, 15 dividing the content file 200 into a plurality of two second
  with each request being sent on a mutually distinct TCP streamlets 303. Alternatively, the streamlets may have any
  connection . This technique is labeled “ virtual pipelining” length less than or equal to the length of the stream 202. The
  and is an innovation of the present invention . Multiple encoder module 406 then encodes 810 the streamlets 303
  responses may be in transit concurrently , assuring that into sets 306 of streamlets 304 , in a plurality of streams 202
  communication bandwidth between the client module 114 20 according to an encoding scheme . The quality may be
  and the web server 116 is always being utilized . Virtual predefined , or automatically set according to end user band
  pipelining eliminates the vulnerabilities of traditional pipe- width , or in response to pre -designated publisher guidelines
  lining . A delay in or complete failure of one response does      In aa further embodiment, the encoding scheme comprises
  not affect the transmission of other responses because each a proprietary codec such as WMVI® . The encoder module
  response occupies an independent TCP connection. Any 25 406 then stores 812 the encoded streamlets 304 in the
  transmission bandwidth not in use by one of multiple              streamlet database 408. Once stored 812 , the web server 116
  responses (whether due to delays or TCP connection failure ) may then serve 814 the streamlets 304. In one embodiment,
  may be utilized by other outstanding responses.                   serving 814 the streamlets 304 comprises receiving stream
     A single streamlet 304 request may be issued for an entire let requests from the client module 114 , retrieving the
  streamlet 304 , or multiple requests may be issued , each for 30 requested streamlet 304 from the streamlet database 408 ,
  a different part or portion of the streamlet. If the streamlet is and subsequently transmitting the streamlet 304 to the client
  requested in several parts, the parts may be recombined by module 114. The method 800 then ends 816 .
  the client module 114 streamlet.                                     FIG . 9 is a schematic flow chart diagram illustrating one
     In order to maintain a proper balance between maximized embodiment of a method 900 for viewing a plurality of
  bandwidth utilization and response time , the issuance of new 35 streamlets in accordance with the present invention . The
  streamlet requests must be timed such that the web server method 900 starts and an agent controller module 702 is
  116 does not transmit the response before the client module provided 904 and associated with aa viewer 708 and provided
  114 has fully received a response to one of the previously with a staging module 709. The agent controller module 702
  outstanding streamlet requests. For example, if three stream- then requests 906 aa streamlet 304 from the streamlet cache
  let 304 requests are outstanding , the client module 114 40 module 704. Alternatively, the agent controller module 702
  should issue the next request slightly before one of the three may simultaneously request 906 a plurality of streamlets 304
  responses is fully received and “ out of the pipe.” In other the streamlet cache module 704. If the streamlet is stored
  words, request timing is adjusted to keep three responses in 908 locally in the streamlet cache 710 , the streamlet cache
  transit. Sharing of bandwidth among four responses dimin- module 704 retrieves 910 the streamlet 304 and sends the
  ishes the net response time of the other three responses. The 45 streamlet to the agent controller module 702. Upon retriev
  timing adjustment may be calculated dynamically by obser- ing 910 or receiving a streamlet, the agent controller module
  vation , and the request timing adjusted accordingly to main- 702 makes 911 a determination of whether or not to shift to
  tain the proper balance of efficiency and response times .        a higher or lower quality stream 202. This determination will
     The schematic flow chart diagrams that follow are gen- be described below in greater detail with reference to FIG .
  erally set forth as logical flow chart diagrams. As such , the 50 10 .
  depicted order and labeled steps are indicative of one               In one embodiment, the staging module 709 then arranges
  embodiment of the presented method . Other steps and 912 the streamlets 304 into the proper order, and the agent
  methods may be conceived that are equivalent in function , controller module 702 delivers 914 the streamlets to the
  logic , or effect to one or more steps, or portions thereof, of viewer 708. In aa further embodiment, delivering 914 stream
  the illustrated method. Additionally, the format and symbols 55 lets
  employed are provided to explain the logical steps of the
                                                                       304 to the end user comprises playing video and or audio
                                                                  streamlets on the viewer 708. If the streamlets 304 are not
  method and are understood not to limit the scope of the stored 908 locally, the streamlet request is passed to the
  method. Although various arrow types and line types may be network controller module 706. The network controller
  employed in the flow chart diagrams, they are understood module 706 then requests 916 the streamlet 304 from the
  not to limit the scope of the corresponding method . Indeed , 60 web server 116. Once the streamlet 304 is received , the
  some arrows or other connectors may be used to indicate network controller module 706 passes the streamlet to the
  only the logical flow of the method. For instance , an arrow streamlet cache module 704. The streamlet cache module
  may indicate a waiting or monitoring period of unspecified 704 archives 918 the streamlet. Alternatively, the streamlet
  duration between enumerated steps of the depicted method . cache module 704 then archives 918 the streamlet and
  Additionally, the order in which a particular method occurs 65 passes the streamlet to the agent controller module 702 , and
                                                                                                                           9

  may or may not strictly adhere to the order of the corre-        the method 900 then continues from operation 910 as
  sponding steps shown .                                            described above.
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    Referring now to FIG . 10 , shown therein is a schematic
                                                     a                     If the decision on whether or not to attempt upshift 1010
  flow chart diagram illustrating one embodiment of a method            is “ no ” , a decision about whether or not to downshift 1012
  1000 for requesting streamlets 304 within an adaptive -rate           is made . In one embodiment, a trigger threshold down is
  shifting content streaming environment in accordance with             defined in a manner analogous to up . If current down then
  the present invention . The method 1000 may be used in one 5 the stream quality may be adequate , and the agent controller
  embodiment as the operation 911 of FIG . 9. The method module 702 does not downshift              1018 stream quality. How
  1000 starts and the agent controller module 702 receives ever, if ( currents down ? the agent controller module 702 does
  1004 a streamlet 304 as described above with reference to      downshift 1018 the stream quality . If the end of the stream
  FIG . 9. The agent controller module 702 then monitors 1006    has not been reached 1014 , the agent controller module 702
  the receive time of the requested streamlet. In one embodi- 10 begins to request and receive 1004 lower quality streamlets
                                                                 and the method 1000 starts again . Of course , the above
  ment, the agent controller module 702 monitors the time described        equations and algorithms are illustrative only, and
  intervals A between successive receive times for each may be replaced            by alternative streamlet monitoring solu
  streamlet response . Ordering of the responses in relation to tions .
  the order of their corresponding requests is not relevant. 15 The present invention may be embodied in other specific
     Because network behavioral characteristics fluctuate, forms without departing from its spirit or essential charac
  sometimes quite suddenly, any given A may vary substan- teristics . The described embodiments are to be considered in
  tially from another. In order to compensate for this fluctua- all respects only as illustrative and not restrictive. The scope
  tion, the agent controller module 702 calculates 1008 a of the invention is , therefore, indicated by the appended
  performance ratio r across a window of n samples for 20 claims rather than by the foregoing description. All changes
  streamlets of playback length S. In one embodiment, the               which come within the meaning and range of equivalency of
  performance ratio r is calculated using the equation :                the claims are to be embraced within their scope .
                                                                          What is claimed is :
                                                                           1. A system for adaptive - rate content streaming of a video
                             r=S
                                     n
                                                                     25 that is playable on one or more end user stations over the
                                    SWI??;                              internet, the system comprising:
                                                                           at least one storage device storing the video , wherein the
                                                                              video is digitally encoded at a plurality of different
     Due to multiple simultaneous streamlet processing , and in               bitrates creating a plurality of streams including a low
  order to better judge the central tendency of the performance 30            quality stream , a medium quality stream , and a high
  ratio r , the agent controller module 702 may calculate a                   quality stream , the low quality stream , the medium
  geometric mean , or alternatively an equivalent averaging                   quality  stream , and the high quality stream each com
  algorithm , across a window of size m , and obtain a perfor                 prising a group of streamlets, wherein each streamlet
  mance factor o :                                                            corresponds to a portion of the video , and wherein each
                                                                     35       streamlet in each group of streamlets is encoded at a
                                                                              respective one of the plurality of different bitrates , and
                                        m
                                         1                                    wherein each group of streamlets comprises at least
                          current =
                                                                              first and second streamlets;
                                                                           wherein at least one of the low quality stream , the medium
                                                                     40       quality stream , and the high quality stream is encoded
                                                                              at a bitrate of no less than 600 kbps; and
     The policy determination about whether or not to upshift              wherein the first streamlet of each of the groups of
  1010 playback quality begins by comparing current with a                    streamlets has the same first duration and encodes the
  trigger threshold up If ( current = 0 up ' then an up shift to the          same first portion of the video in each of the low quality
  next higher quality stream may be considered 1016. In one 45                stream , the medium quality stream , and the high quality
  embodiment, the trigger threshold up is determined by a                     stream , and wherein the first streamlet of the low
  combination of factors relating to the current read ahead                   quality stream encodes the same first portion of the
  margin (i.e. the amount of contiguously available streamlets                video at a lower bitrate than the first streamlet of the
  that have been sequentially arranged by the staging module                  high quality stream and the first streamlet of the
  709 for presentation at the current playback time index ), and 50           medium quality stream .
  a minimum safety margin. In one embodiment, the mini-                    2. The system of claim 1 , wherein the video is aa live event
  mum safety margin may be 24 seconds . The smaller the read video .
  ahead margin , the larger up is to discourage upshifting until           3. The system of claim 1 , wherein the video includes
  a larger read ahead margin may be established to withstand archived content.
  network disruptions. If the agent controller module 702 is 55 4. The system of claim 1 , wherein the second streamlet of
  able to sustain 1016 upshift quality, then the agent controller each of the groups of streamlets each has the same second
  module 702 will upshift 1017 the quality and subsequently duration and corresponds to the same second portion of the
  request higher quality streams. The determination of video in the low quality stream , the medium quality stream ,
  whether use of the higher quality stream is sustainable 1016 and the high quality stream , the second streamlet of the low
  is made by comparing an estimate of the higher quality 60 quality stream having the same bitrate as the first streamlet
  stream's performance factor, Phigher with ?? " If of the low quality stream .
  Phigher Oup?? then use of the higher quality stream is consid-           5. The system of claim 4 , wherein the first and second
  ered sustainable. If the decision of whether or not the higher durations are different.
  stream rate is sustainable 1016 is “ no , " the agent controller         6. The system of claim 1 , further comprising: a plurality
  module 702 will not attempt to upshift 1017 stream quality. 65 of web servers located at different locations across the
  If the end of the stream has been reached 1014 , the method internet, each web server configured to : receive at least one
  1000 ends 1016 .                                                      streamlet request over one or more internet connections
Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 180 of 863 PageID #: 234


                                                      US 11,470,138 B2
                                 19                                                                   20
  from a respective one of the one or more end user stations                       including at least a low quality stream , a medium
  to retrieve the first streamlet, wherein the at least one                        quality stream , and a high quality stream , each of
  streamlet request from the respective one of the one or more                     the low quality stream , the medium quality
  end user stations includes a request for a currently selected                    stream , and the high quality stream comprising a
  first streamlet from one of the low quality stream , the 5                       group of streamlets encoded at the same respective
  medium quality stream , and the high quality stream based                        one of the different bitrates, each group compris
  upon a determination by the respective one of the one or                         ing at least first and second streamlets, each of the
  more end user stations to select a higher or lower bitrate                       streamlets corresponding to a portion of the video ;
  version of a respective one of the plurality of streams;                      wherein at least one of the low quality stream , the
  retrieve from the at least one storage device the requested 10                   medium quality stream , and the high quality
  first streamlet from the currently selected one of the low                       stream is encoded at a bitrate of no less than 600
  quality stream , the medium quality stream , and the high                        kbps; and wherein the first streamlets of each of
  quality stream ; and send the retrieved first streamlet to the                   the low quality stream , the medium quality stream
  respective one of the one or more end user stations over the                     and the high quality stream each has an equal
  one or more internet connections.                                15              playback duration and each of the first streamlets
    7. The system of claim 1 , wherein each of the first                           encodes the same portion of the video at a different
  streamlets has a first duration that is the range of 0.1 to 5                    one of the different bitrates;
  seconds.                                                                   select a specific one of the low quality stream , the
     8. The system of claim 1 , further comprising:                             medium quality stream , and the high quality stream
    a first web server configured to : receive at least one 20                 based upon a determination by the end user station to
       streamlet request over one or more internet connections                  select a higher or lower bitrate version of the
       from the one or more end user stations to retrieve the                   streams;
      first streamlet storing the first portion of the video ,          place a streamlet request to the server over the internet
    wherein the at least one streamlet request from the one or            connection for the first streamlet of the selected
      more end user stations includes a request for a currently 25         stream ;
      selected first streamlet from one of the low quality              receive the requested first streamlet from the server via
      stream , the medium quality stream , and the high quality           the internet connection , and
      stream based upon a determination by the end user                 provide the received first streamlet for playback of the
      station to select a higher or lower bitrate version of the          video .
      video ; retrieve from the storage device the requested 30 15. The end user station of claim 14 , wherein the second
      first streamlet from the currently selected one of the streamlet of each of the groups of streamlets each has the
      low quality stream , the medium quality stream , and the same second duration and corresponds to the same second
      high quality stream ; and send the retrieved first stream- portion of the video in the low quality stream , the medium
      let from the currently selected one of the low quality quality stream , and the high quality stream , the second
      stream , the medium quality stream , and the high quality 35 streamlet of the low quality stream having the same bitrate
      stream to the requesting one of the end user stations as the first streamlet of the low quality stream .
       over the one or more network connections.                          16. The end user station of claim 15 , wherein the first and
     9. The system of claim 8 , wherein the first web server is         second durations are different.
  further configured to : receive at least one virtual timeline           17. The end user station of claim 14 , wherein each of the
  request over the one or more internet connections from the 40 first streamlets has aa first duration that is in the range of 0.1
  one or more end user stations to retrieve a virtual timeline;         to 5 seconds .
  and send the virtual timeline to the requesting one of the end     18. The end user station of claim 14 , wherein the end user
  user stations over the one or more network connections .        station is further configured to : request and receive a virtual
     10. The system of claim 9 , wherein the virtual timeline timeline ; and wherein one or more streamlet requests are
  corresponds to the currently selected one of the low quality 45 based on the received virtual timeline .
  stream , the medium quality stream , and the high quality          19. The end user station of claim 18 , wherein the virtual
  stream .                                                              timeline corresponds to the currently selected one of the low
     11. The system of claim 10 , wherein the virtual timeline quality stream , the medium quality stream , and the high
  defines a playlist for a user to view .                        quality stream .
     12. The system of claim 11 , wherein the virtual timeline 50 20. The end user station of claim 18 , wherein the virtual
  comprises a file that is configured to define a playlist for a        timeline defines a playlist for a user to view .
  user to view .                                                           21. The end user station of claim 14 , wherein the video is
    13. The system of claim 12 , wherein the virtual timeline           a live event video .
  comprises at least one quantum media extension ( QMX ).            22. The end user station of claim 14 , wherein the video
    14. An end user station to stream a video over a network 55 includes archived content.
  from a server for playback of the video , the end user station     23. A process executable by one or more servers to stream
  comprising :                                                    a video for playback by one or more end user stations , the
    a processor;                                                  process comprising:
    a digital processing apparatus memory device comprising          storing, by the one or more servers , a plurality of streams
       non - transitory machine - readable instructions that, 60        including a low quality stream , a medium quality
       when executed, cause the processor to :                          stream , and a high quality stream , wherein the low
       establish an internet connection between the end user            quality stream , the medium quality stream , and the high
          station and the server, wherein the server is config-         quality stream each comprise a group of streamlets
          ured to access at least one of a plurality of groups of       encoded at a respective one of a plurality of different
             streamlets;                                           65        bitrates , each group comprising at least first and second
             wherein the video is encoded at a plurality of dif-             streamlets , each of the streamlets corresponding to a
               ferent bitrates to create a plurality of streams              portion of the video ;
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                                                      US 11,470,138 B2
                               21                                                                  22
       wherein at least one of the low quality stream , the          28. A process executable by a content player device to
          medium quality stream , and the high quality stream stream a video over a network from a server for playback of
          is encoded at a bitrate of no less than 600 kbps; and the video by the content player device , the process com
          wherein the first streamlet of each of the groups of prising :
          streamlets has the same first duration and encodes 5 establishing an internet connection between the content
          the same first portion of the video in the low quality        player device and the server ,
          stream , the medium quality stream , and the high             wherein the server accesses a plurality of streams
          quality stream , the first streamlet of the low quality          including a low quality stream , a medium quality
          stream having a different one of the different bitrates          stream , and aa high quality stream , wherein the low
          than the first streamlet of the high quality stream and 10       quality    stream , the medium quality stream , and the
          the first streamlet of the medium quality stream ;               high   quality  stream each comprise a group of stream
    receiving at least one streamlet request over an internet              lets  encoded     at a respective one of a plurality of
       connection from a respective one of the one or more                 different   bitrates, each group comprising at least first
       end user stations to retrieve the first streamlet storing           and   second    streamlets, each of the streamlets corre
       the first portion of the video ,                           15
                                                                           sponding to a portion of the video ; wherein at least
       wherein the at least one streamlet request from the                 one of the low quality stream , the medium quality
         respective one of the one or more end user stations               stream , and the high quality stream is encoded at a
          includes a request for a currently selected first                bitrate of no less than 600 kbps; and
          streamlet from one of the low quality stream , the            wherein the first streamlet of each of the groups of
          medium quality stream , and the high quality stream 20           streamlets has the same first duration and encodes
          based upon a determination by the respective one of              the  same first portion of the video in the low quality
          the one or more end user stations to select a higher             stream   , the medium quality stream , and the high
          or lower bitrate version of the video ;                          quality stream , the first streamlet of the low quality
    retrieving from the one or more servers the requested first            stream having a different bitrate than the first stream
       streamlet from the currently selected one of the low 25             let of the high quality stream and the first streamlet
       quality stream , the medium quality stream , and the high           of the medium quality stream ;
       quality stream ; and                                          selecting , by the content player device, a currently
     sending the retrieved first streamlet from the currently
       selected one of the low quality stream , the medium              selected one of the low quality stream , the medium
       quality stream , and the high quality stream to the 30           quality stream , and the high quality stream based upon
       respective one of the one of the end user stations over          a determination by the content player device to select a
       the internet connection .                                        higher or lower bitrate version of the video ;
    24. The process of claim 23 , wherein the second streamlet       placing a streamlet request over one or more internet
  of each of the groups of streamlets each has the same second          connections from the content player device to retrieve
  duration and corresponds to the same second portion of the 35         the  first streamlet storing the first portion of the video ;
                                                                        and
  video in the low quality stream , the medium quality stream ,         receiving the requested streamlet from the server via the
  and the high quality stream , the second streamlet of the low            internet connection ; and rendering, by the content
  quality stream having the same bitrate as the first streamlet            player device, the received streamlet for playback of
  of the low quality stream .
     25. The process of claim 23 , wherein the first and second 40 29.theThevideo .
                                                                              process of claim 28 , wherein the video includes
  durations are different.
     26. The process of claim 23 , wherein the video is a live archived      content.
                                                                   30. The process of claim 28 , wherein the video is a live
  event video .
     27. The process of claim 23 , wherein the video includes event video .
  archived content.                                                                          *
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Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 183 of 863 PageID #: 237

                                                                                                 US010757156B2

  ( 12 ) Major
         United     States Patent
               et al .
                                                                            ( 10 ) Patent No.:             US 10,757,156 B2
                                                                            (45) Date of Patent :                 *Aug. 25 , 2020
  ( 54 ) APPARATUS , SYSTEM , AND METHOD FOR                          ( 58 ) Field of Classification Search
           ADAPTIVE - RATE SHIFTING OF                                               CPC      HO4N 19/124 ; HO4N 19/132 ; H04N 19/59 ;
           STREAMING CONTENT                                                                   HO4N 19/61 ; H04N 19/12 ; HO4N 19/172 ;
  ( 71 ) Applicant: DISH Technologies L.L.C. ,                                                      (Continued )
                    Englewood, CO ( US )
                                                                      ( 56 )                   References Cited
  ( 72 ) Inventors: Robert Drew Major, Orem , UT (US ) ;                                 U.S. PATENT DOCUMENTS
                   Mark B. Hurst , Cedar Hills , UT (US )
  ( 73 ) Assignee: DISH Technologies L.L.C. ,                                   5,953,506 A * 9/1999 Kalra                  G06T 3/4092
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                   Englewood, CO (US)                                           6,880,017 B1 * 4/2005 Marce                  H04L 69/32
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  ( * ) Notice: Subject to any disclaimer, the term of this                              (Continued )
                   patent is extended or adjusted under 35
                   U.S.C. 154 (b ) by 0 days.                         Primary Examiner Ninos Donabed
                   This patent is subject to a terminal dis
                       claimer .
                                                                      ( 74 ) Attorney, Agent, or Firm — Lorenz & Kopf LLP
  ( 21 ) Appl. No .: 16 /291,343                                      (57 )                         ABSTRACT
                                                                      An apparatus for adaptive-rate shifting of streaming content
  (22 ) Filed :      Mar. 4 , 2019                                    includes an agent controller module configured to simulta
  ( 65 )               Prior Publication Data
                                                                      neously request at least portions of a plurality of streamlets .
                                                                      The agent controller module is further configured to con
           US 2019/0199768 A1 Jun . 27 , 2019                         tinuously monitor streamlet requests and subsequent
                 Related U.S. Application Data                        responses, and accordingly request higher or lower quality
                                                                      streamlets. A staging module is configured to stage the
  ( 63 ) Continuation of application No. 15 / 207,172 , filed on      streamlets and arrange the streamlets for playback on a
         Jul. 11 , 2016 , now Pat. No. 10,225,304 , which is a        content player. A system includes a data communications
                             (Continued )                             network, a content server coupled to the data communica
                                                                      tions network and having a content module configured to
  ( 51 ) Int. Cl.                                                     process content and generate a plurality of high and low
           H04L 29/06              ( 2006.01 )                        quality streams, and the apparatus . A method includes simul
           H04N 21/258             ( 2011.01 )                        taneously requesting at least portions of a plurality of
                             (Continued )                             streamlets, continuously monitoring streamlet requests and
  (52) U.S. CI .                                                      subsequent responses, and accordingly requesting higher or
           CPC            H04L 65/601 ( 2013.01 ) ; H04L 43/16        lower quality streamlets, and staging the streamlets and
                 (2013.01 ) ; H04L 47/25 ( 2013.01 ) ; H04L 65/60     arranging the streamlets for playback on a content player.
                                                     ( 2013.01 ) ;
                            (Continued )                                                     18 Claims , 7 Drawing Sheets
                                                   500


                                                                            Start
                                                                               502


                                                                      Receive Content
                                                                               504

                                                                     Generate plurality of
                                                                           streams
                                                                               506

                                                                     Generate Streamlets
                                                                               508


                                                                     Encode Streamlets
                                                                               510

                                                                      Store Streamlets
                                                                               512


                                                                      Serve Streamlets
                                                                            514


                                                                            End
                                                                            516
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            H04L 29/08               ( 2006.01)                                                                              709/231
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         CPC               H04L 67/02 ( 2013.01 ) ; H04L 69/16                                                                725/87
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                 21/2662 (2013.01 ) ; H04N 21/643 ( 2013.01 ) ;              2004/0192322 A1 *   9/2004 Dacosta          H04W 28/20
                  H04N 21/64769 ( 2013.01 ) ; H04N 21/64792                                                                455 /452.1
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                                                    21/845 ( 2013.01)                                                         370/389
  ( 58 ) Field of Classification Search                                      2004/0199472 A1 * 10/2004 Dobbins           G06Q 20/123
         CPC HO4N 19/187 ; HO4N 19/192 ; HO4N 11/042 ;                                                                         705/50
                   H04N 19/00 ; H04N 19/117 ; H04N 19/30 ;                   2004/0199604 A1 * 10/2004 Dobbins          HO4L 12/2856
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   100




                                                           Client
                                                           Module
                                                            114

                                                             1
                                                           End User
         Publisher




      Web Server
         116                           Internet
                                                                            Web Server




         Web Server
             116                                                    Web Server




                      11                  Content Module

                                             Web Server



                                  Content Server




                                 FIG . 1
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                                                                                                            YYYYYYYY




                                                                                            200



                                                                   FIG . 2a
                                                                               Playback Time Duration

                                                                                                         204
                      www




                                                                                                        206
   202



                                                                                                         208

                     wwwwwwwwwwwwwwwwww       ***************************************************




                                                                   FIG . 2b
                                                                                                      210




                                          2                                                                     6      7    8   ;




         212   212       212              212- 212                                        212           212       212 212   212 212

                                                                    FIG . 2c
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       EndUser                                    Serv 16
                                                                                                 ?




                                       Streamlt Da bse
                                                                                                           3
                                                                                                           .
                                                                                                           FIG
                       CMondtuel 112 Encoder Module 308
                                                                                Metad Datbse
                       ???
                       ?               Streamlt   sha
                                                  ?




                                        Stream Module 62
                                                         304
                                                                              Metad Manger

       Publisher
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  U.S. Patent                                               Aug. 25 , 2020                            Sheet 4 of 7             US10,757,156 B2




                                                                                                171

    14
    1
          MCAongdtreulntr 402
                                             DIMTDI
                                MSotdaugilneg409 ][4510 1IL 2If1   242




                                                                    22
                                                                                            242
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                                                                                    CSMtoaredcumhlt 434 CStarecmhlt
                                                                                                                          10
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                                                                                                                          '
                                                                                                                          13




                                                                                                                      14 112
                                                                                                                      1871
                                                                                                                                MCNoentdrwulek   4
                                                                                                                                                 ,
                                                                                                                                                 FIG




                                                  View r                                                              6


                                                                         WServber
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                                                 Start
                                                  502


                                            Receive Content



                                          Generate plurality of
                                                streams
                                                  506

                                          Generate Streamlets
                                                 508



                                       I   Encode Streamlets



                                            Store Streamlets
                                                    512


                                            Serve Streamlets
                                                          wwwwwwww




                                                C   516




                                              FIG . 5
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                Start                     602                            600


       Provide Agent Controller
               Module                            604



         Request Streamlet                       606


                                    608

              Streamlet                         Request Streamlet from
          Stored Locally ?                         Streamlet Server               616


                                                 Archive Streamlet in
                                                       Cache
       Retrieve Streamlet From
                Cache                            610



             Rate Shift ?                        611



     AArrange Streamlets                         612


          Deliver Streamlet


                 End                      620


                                       FIG . 6
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                                     702


        Receive Streamlet                 704


         Monitor Receive
              Time


           Generate
          Performance                     708
             factor

                               710                             716


            Upshift ?                      Sustain Upshift                     Upshift
                                                Quality ?

                  No                                   No      XXXXYYYYY


                              712

           Downshift ?                          Downshift




                               714

         End of Stream ?                                           w




                  Yes
                                 716
                                                               FIG . 7
Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 192 of 863 PageID #: 246


                                                      US 10,757,156 B2
                                1                                                                    2
      APPARATUS, SYSTEM, AND METHOD FOR                                 in its entirety or not at all . Downloading also supports
             ADAPTIVE -RATE SHIFTING OF                                 rewind, fast forward , and direct seek operations, while
                  STREAMING CONTENT                                     streaming is unable to fully support these functions. Stream
                                                                        ing is also vulnerable to network failures or congestion .
            CROSS - REFERENCES TO RELATED                           5
                                                                          Another technology , known as “ progressive downloads,"
                      APPLICATIONS                                      attempts to combine the strengths of the above two tech
                                                                        nologies . When a progressive download is initiated , the
    This application is a continuation of U.S. patent applica           media file download begins , and the media player waits to
  tion Ser. No. 15 / 207,172 ( now U.S. Pat . No. 10,225,304 ) , begin playback until there is enough of the file downloaded
  which is a continuation of U.S. patent application Ser. No. 10 that playback can begin with the hope that the remainder of
  14 / 516,303 (now U.S. Pat . No. 9,407,564 ) , which is a the file will be completely downloaded before playback
  continuation of U.S. patent application Ser. No. 11 / 116,783 " catches up . ” This waiting period before playback can be
  ( now U.S. Pat. No. 8,868,772 ) , which claims benefit of substantial depending on network conditions, and therefore
  United States Provisional Patent Application Ser. No. is not a complete or fully acceptable solution to the problem
  60/ 566,831 entitled “ APPARATUS , SYSTEM , AND 15 of media presentation over a network .
  METHOD FOR DYNAMIC RATE SHIFTING OF                                 Generally, three basic challenges exist with regard to data
  STREAMING CONTENT ” and filed on Apr. 30 , 2004 for R. transport streaming over a network such as the Internet that
  Drew Major and Mark B. Hurst, which is incorporated has a varying amount of data loss . The first challenge is
  herein by reference .                                            reliability. Most streaming solutions use a TCP connection ,
                                                                20 or “ virtual circuit , ” for transmitting data . A TCP connection
            BACKGROUND OF THE INVENTION                            provides a guaranteed delivery mechanism so that data sent
                                                                   from one endpoint will be delivered to the destination, even
                      Field of the Invention                       if portions are lost and retransmitted . A break in the conti
                                                                   nuity of a TCP connection can have serious consequences
     The invention relates to video streaming over packet 25 when the data must be delivered in real - time. When a
  switched networks such as the Internet, and more particu         network adapter detects delays or losses in a TCP connec
  larly relates to adaptive - rate shining of streaming content tion , the adapter “ backs off ” from transmission attempts for
  over such networks.                                              a moment and then slowly resumes the original transmission
                                                                   pace . This behavior is an attempt to alleviate the perceived
                 Description of the Related Art                 30 congestion . Such a slowdown is detrimental to the viewing
                                                                   or listening experience of the user and therefore is not
     The Internet is fast becoming a preferred method for acceptable.
  distributing media files to end users . It is currently possible      The second challenge to data transport is efficiency.
  to download music or video to computers, cell phones , or Efficiency refers to how well the user's available bandwidth
  practically any network capable device . Many portable 35 is used for delivery of the content stream . This measure is
  media players are equipped with network connections and directly related to the reliability of the TCP connection .
  enabled lo play music or videos . The music or video files When the TCP connection is suffering reliability problems,
  (hereinafter “ media files ” ) can be stored locally on the media a loss of bandwidth utilization results . The measure of
  player or computer, or streamed or downloaded from a efficiency sometimes varies suddenly, and can greatly
  server .                                                         40 impact the viewing experience.
     “ Streaming media ” refers to technology that delivers             The third challenge is latency. Latency is the time mea
  content at a rate sufficient for presenting the media to a user sure form the client's point -of -view , of the interval between
  in real time as the data is received . The data may be stored when a request is issued and the response data begins to
  in memory temporarily until played and then subsequently arrive . This value is affected by the network connection's
  deleted . The user has the immediate satisfaction of viewing 45 reliability and efficiency, and the processing time required
  the requested content without waiting for the media file to by the origin to prepare the response . A busy or overloaded
  completely download. Unfortunately, the audio / video qual server , for example, will take more time to process a request.
  ity that can be received for real time presentation is con As well as affecting the start time of a particular request,
  strained by the available bandwidth of the user's network latency has a significant impact on the network throughput
  connection . Streaming may be used to deliver content on 50 of TCP .
  demand ( previously recorded ) or from live broadcasts.           From the foregoing discussion , it should be apparent that
     Alternatively, media files may be downloaded and stored a need exists for an apparatus, system , and method that
  on persistent storage devices , such as hard drives or optical alleviate the problems of reliability, efficiency, and latency.
  storage, for later presentation . Downloading complete media Additionally, such an apparatus, system , and method would
  tiles can take large amounts of time depending on the 55 offer instantaneous viewing along with the ability to fast
  network connection . Once downloaded , however, the con           forward , rewind, direct seek, and browse multiple streams.
  tent can be viewed repeatedly anytime or anywhere . Media Beneficially, such an apparatus, system , and method would
  files prepared for downloading usually are encoded with a utilize multiple connections between a source and destina
  higher quality audio / video than can be delivered in real time . tion , requesting varying bitrate streams depending upon
  Users generally dislike this option , as they tend to want to 60 network conditions .
  see or hear the media file instantaneously.
     Streaming offers the advantage of immediate access to the                   SUMMARY OF THE INVENTION
  content but currently sacrifices quality compared with down
  loading a file of the same content. Streaming also provides          The present invention has been developed in response to
  the opportunity for a user to select different content for 65 the present state of the art, and in particular, in response to
  viewing on an ad hoc basis , while downloading is by the problems and needs in the art that have not yet been fully
  definition restricted to receiving a specific content selection       solved by currently available content streaming systems.
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  Accordingly, the present invention has been developed to              In a further embodiment, the method may include estab
  provide an apparatus, system , and method for adaptive - rate      lishing multiple Transmission Control Protocol ( TCP) con
  content streaming that overcome many or all of the above           nections with a content server, and requesting streamlets of
  discussed shortcomings in the art.                                 varying bitrates. Also , the method may include generating a
    The apparatus for adaptive- rate content streaming is pro- 5 performance factor according to responses from streamlet
  vided with a logic unit containing a plurality of modules requests , upshifting to a higher quality streamlet when the
  configured to functionally execute the necessary steps . performance factor is greater than a threshold , and deter
  These modules in the described embodiments include an
  agent controller module configured to simultaneously mining                  if the higher quality playback can be sustained .
                                                                       Furthermore, the method may include downshifting to a
  request
  further aconfigured
            plurality of streamlets, the agentmonitor
                         to continuously        controllerstreamlet
                                                            module 10 lower quality streamlet when the performance factor is less
  requests and subsequent responses, and accordingly request thanIn aone      second threshold .
                                                                                  embodiment, the method includes anticipating
  higher or lower quality streamlets, and a staging module streamlet requests             and pre- requesting streamlets to enable
  configured to stage the streamlets and arrange the streamlets fast - forward , skip randomly     , and rewind functionality. The
  for playback on a content player.                                 15
     The apparatus is further configured, in one embodiment, method may also comprise initially requesting low quality
  to establish multiple Transmission Control Protocol (TCP ) streamlets           to enable instant playback of a content file, and
  connections with a content server, and request streamlets of subsequent upshifting according to the performance factor.
  varying bitrates. Each streamlet may further comprise a                Reference throughout this specification to features,
  portion of a content file. Additionally, the agent controller 20 advantages, or similar language does not imply that all of the
  module may be configured to generate performance factor features and advantages that may be realized with the
  according to responses from streamlet requests.                      present invention should be or are in any single embodiment
     In a further embodiment, the agent controller module is of the invention . Rather, language referring to the features
  configured to upshift to a higher quality streamlet when the and advantages is understood to mean that a specific feature,
  performance factor is greater than a threshold , and the agent_25 advantage , or characteristic described in connection with an
  controller module determines the higher quality playback           embodiment is included in at least one embodiment of the
  can be sustained according to a combination of factors. The present invention . Thus, discussion of the features and
  factors may include an amount of contiguously available advantages, and similar language , throughout this specifi
  streamlets stored in the staging module, a minimum safety cation may, but do not necessarily, refer to the same embodi
  margin , and a current read ahead margin .                      30
                                                                     ment.
     The agent controller module may be configured to down              Furthermore, the described features , advantages, and
   hflower quality streamlet when the performance
  factor is less than a second threshold . Also , the agent characteristics
                                                                     suitable manner
                                                                                     of the invention may be combined in any
                                                                                      in one or more embodiments. One skilled in
  controller module is further configured to anticipate stream
  let requests and pre -request streamlets to enable fast - for- 35 the relevant art will recognize that the invention may be
  ward , skip randomly, and rewind functionality . In one practiced  advantages
                                                                               without one or more of the specific features or
                                                                                 of a particular embodiment. In other instances,
  embodiment, the agent controller module is configured to
  initially request low quality streamlets to enable instant additional features and advantages may be recognized in
  playback of the content file , and subsequent upshifting certain embodiments that may not be present in all embodi
  according to the performance factor.                            40 ments of the invention .
     A system of the present invention is also presented to             These features and advantages of the present invention
  adaptive - rate content streaming In particular, the system , in will become more fully apparent from the following descrip
  one embodiment, includes a data communications network ,           tion and appended claims , or may be learned by the practice
  and a content server coupled to the data communications            of the invention as set forth hereinafter.
  network and having a content module configured to process 45
  content and generate a plurality of high and low quality                BRIEF DESCRIPTION OF THE DRAWINGS
  streams. In one embodiment, each of the high and low
  quality streams may include a plurality of streamlets.              In order that the advantages of the invention will be
     In a further embodiment, the system also includes an readily understood , a more particular description of the
  agent controler moduleconfigured simultaneously 50nvention briefly described above will be rendered by ref
  request a plurality of streamlets, the agent controller module erence to specific embodiments that are illustrated in the
  further configured to continuously monitor streamlet appended drawings . Understanding that these drawings
  requests and subsequent responses, and accordingly request depict only typical embodiments of the invention and are not
  higher or lower quality streamlets, and a staging module therefore to be considered to be limiting of its scope , the
  configured to stage the streamlets and arrange the streamlets 55 invention will be described and explained with additional
  tor playback on a content player.                                specificity and detail through the use of the accompanying
     A method of the present invention is alto presented for drawings, in which :
  adaptive - rate content streaming. The method in the dis            FIG . 1 is a schematic block diagram illustrating one
  closed embodiments substantially includes the steps neces embodiment of a system for adaptive rate shifting of stream
  sary to carry out the functions presented above with respect 60 ing content in accordance with the present invention ;
  to the operation of the described apparatus and system . In         FIG . 2a is a schematic block diagram graphically illus
  one embodiment, the method includes simultaneously trating one embodiment of a content file in accordance with
  requesting a plurality of streamlets, continuously monitoring the present invention;
  streamlet requests and subsequent responses, and accord             FIG . 2b is a schematic block diagram illustrating one
  ingly requesting higher or lower quality streamlets, and 65 embodiment of a plurality of streams having varying degrees
  staging the streamlets and arranging the streamlets for of quality and bandwidth in accordance with the present
  playback on a content player.                                      invention ;
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    FIG . 2c is a schematic block diagram illustrating one            line , a compact disk , digital- video disk , a magnetic tape, a
  embodiment of a stream divided into a plurality of stream        Bernoulli drive, a magnetic disk , a punch card , flash
  lets in accordance with the present invention ;                  memory , integrated circuits, or other digital processing
     FIG . 3 is a schematic block diagram illustrating one apparatus memory device.
  embodiment of a content module in accordance with the 5 Furthermore , the described features , structures, or char
  present invention;                                               acteristics of the invention may be combined in any suitable
     FIG . 4 is a schematic block diagram graphically illustrat manner in one or more embodiments. In the following
  ing one embodiment of a client module in accordance with description, numerous specific details are provided , such as
  the present invention .                                          examples of programming, software modules, user selec
     FIG . 5 is a schematic flow chart diagram illustrating one 10 tions  , network transactions, database queries, database struc
  embodiment of a method for processing content in accor tures, hardware modules, hardware circuits, hardware chips ,
  dance with the present invention ;                               etc. , to provide a thorough understanding of embodiments of
     FIG . 6 is a schematic flow chart diagram illustrating one the invention . One skilled in the relevant art will recognize,
  embodiment of a method for playback of a plurality of however, that the invention may be practiced without one or
  streamlets in accordance with the present invention ; and 15 more of the specific details, or with other methods, compo
     FIG . 7 is a schematic flow chart diagram illustrating one nents, materials, and so forth . In other instances , well -known
  embodiment of a method for requesting streamlets within an structures, materials , or operations are not shown or
  adaptive -rate content streaming environment in accordance          described in detail to avoid obscuring aspects of the inven
  with the present invention.                                         tion .
                                                                 20     FIG . 1 is a schematic block diagram illustrating one
             DETAILED DESCRIPTION OF THE                              embodiment of a system 100 for dynamic rate shifting of
                      INVENTION                                       streaming content in accordance with the present invention.
                                                                      In one embodiment, the system 100 comprises a content
    Many of the functional units described in this specifica          server 102 and an end user 104. The content server 102 and
  tion have been labeled as modules, in order to more par- 25 the end user station 104 may be coupled by a data commu
  ticularly emphasize their implementation independence . For nications network . The data communications network may
  example, a module may be implemented as a hardware include the Internet 106 and connections 108 to the Internet
  circuit comprising custom VLSI circuits or gate arrays, 106. Alternatively, the content server 102 and the end user
  off- the -shelf semi conductors such as logic chips , transistors, 104 may be located on a common local area network ,
  or other discrete components . A module may also be imple- 30 wireless area network , cellular network , virtual local area
  mented in programmable hardware devices such as field network , or the like . The end user station 104 may comprise
  programmable gate arrays, programmable array logic , pro           a personal computer (PC ) , an entertainment system config
  grammable logic devices or the like .                             ured to communicate over a network , or a portable electronic
     Modules may also be implemented in software for execu          device configured lo present content.
  tion by various types of processors. An identified module of 35 In the depicted embodiment, the system 100 also includes
  executable code may , for instance , comprise one or more a publisher 110 , and a web server 116. The publisher 110
  physical or logical blocks of computer instructions which may be a creator or distributor of content. For example, if the
  may, for instance, be organized as an object, procedure , or content lobe streamed were a broadcast of a television
  function. Nevertheless, the executables of an identified program , the publisher 110 may be a television or cable
  module need not be physically located together, but may 40 network channel such as NBC® , or MTV® . Content may be
  comprise disparate instructions stored in different locations transferred over the Internet 106 to the content server 102 ,
  which , when joined logically together, comprise the module where the content is received by a content module 112. The
  and achieve the stated purpose for the module .                   content module 112 may be configured to receive , process ,
     Indeed, a module of executable code may be a single and store content. In one embodiment, processed content is
  instruction , or many instructions, and may even be distrib- 45 accessed by a client module 114 configured to play the
  uted over several different code segments, among different content on the end user station 104. In a further embodiment,
  programs, and across several memory devices . Similarly , the client module 114 is configured to receive different
  operational data may be identified and illustrated herein portions of a content stream from a plurality of legations
  within modules, and may be embodied in any suitable form simultaneously . For example, the client module 114 may
  and organized within any suitable type of data structure . The 50 request and receive content from any of the plurality of web
  operational data may be collected as a single data set, or may servers 116 .
  be distributed over different locations including over differ       FIG . 2a is a schematic block diagram graphically illus
  ent storage devices , and may exist, at least partially , merely trating one embodiment of a content file 200. In one embodi
  as electronic signals on a system or network .                    ment, the content file 200 is distributed by the publisher 110 .
     Reference throughout this specification to “ one embodi- 55 The content file 200 may comprise a television broadcast ,
  ment,” “ an embodiment, ” or similar language means that a sports event, movie , music, concert, etc. The content file 200
  particular feature , structure, or characteristic described in may also be live or archived content. The content file 200
  connection with the embodiment is included in at least one          may comprise uncompressed video and audio , or alterna
  embodiment of the present invention . Thus, appearances of tively, video or audio . Additionally, the content file 200 may
  the phrases “ in one embodiment , ” “ in an embodiment, ” and 60 be compressed. Examples of a compressed content file 200
  similar language throughout this specification may , but do include, but are not limited to , DivX® , Windows Media
  not necessarily, all refer to the same embodiment.               Video 9® , Quicktime 6.5 Sorenson 3® , or Quicktime 6.5 /
     Reference to a signal bearing medium may take any form MPEG - 4 encoded content.
  capable of generating a signal, causing a signal to be             FIG . 2b is a schematic block diagram illustrating one
  generated, or causing execution of a program of machine- 65 embodiment of a plurality of streams 202 having varying
  readable instructions on a digital processing apparatus. A          degrees of quality and bandwidth . In one embodiment, the
  signal bearing medium may be embodied by a transmission             plurality of streams 202 comprises a low quality stream 204 ,
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  a medium quality stream 206 , and a high quality stream 208 . thumbnails, sidebars, advertising, etc. Additionally, the pub
  Each of the streams 204 , 206 , 208 is a copy of the content   lisher 110 may define functions such as fast forward , rewind ,
  file 200 encoded and compressed to varying bit rates . For pause , sad play that may be used with the content file 200 .
  example , the low quality stream 204 may be encoded and The metadata module 312 is configured to receive the
  compressed to a bit rate of 100 kilobits per second (kbps ), 5 metadata from the publisher 110 and store the metadata in
  the medium quality stream 206 may be encoded and com                     the metadata database 314. In a further embodiment, the
  pressed to a bit rate of 200 kbps, and the high quality stream           metadata module 312 is configured to interface with the
  208 may be encoded and compressed to 600 kbps.                 client module 114 , allowing the client module 114 to search
     FIG . 2c is a schematic block diagram illustrating one for content based upon at least one of a plurality of metadata
  embodiment of a stream 210 divided into a plurality of 10 criteria. Additionally, metadata may be generated by the
  streamlets 212. As used herein , streamlet refers to any sized content module 112 through automated processes or manual
  portion of the content file 200. Each streamlet 212 may                  definition .
  comprise a portion of the content contained in stream 110 ,                 Once the streamlets 212 have been received and pro
  encapsulated as an independent media object. The content in cessed , the client module 114 may request streamlets 212
  a streamlet 212 may have a unique time index in relation to 15 using HTTP from the web server 116. Such use of client side
  the beginning of the content contained in stream 210. In one initiated requests requires no additional configuration of
  embodiment, the content contained in each streamlet 212 firewalls. Additionally, since the client module 114 initiates
  has a duration of two seconds . For example, streamlet O may the request, the web server 116 is only required to retrieve
  have a time index of 00:00 representing the beginning of and serve the requested streamlet. In a further embodiment,
  content playback, and streamlet 1 may have a time index of 20 the client module 114 may be configured to retrieve stream
  00:02 , and so on . Alternatively, the time duration of the lets 212 from a plurality of web servers 310. Each web
  streamlets 212 may be any duration smaller than the entire server 116 may be located in various locations across the
  playback duration of the content in stream 210. In a further Internet 106. The streamlets 212 are essentially static files .
  embodiment, the streamlets 212 may be divided according As such , no specialized media server or server - side intelli
  to file size instead of a time index .                         25 gence is required for a client module 114 to retrieve stream
     FIG . 3 is a schematic block diagram illustrating in greater lets 212. Streamlets 212 may be served by the web server
  detail one embodiment of the content module 112 in accor          116 or cached by cache servers of Internet Service Providers
  dance with the present invention . The content module 112 (ISPs ) , or any ether network infrastructure operators, and
  may comprise a stream module 302 , a streamlet module 304 , served by the cache server. Use of cache servers is well
  an encoder module 306 , a streamlet database 308 , and the 30 known to those skilled in the art, and will not be discussed
  web server 116. In one embodiment, the stream module 302 further herein . Thus, a highly scalable solution is provided
  is configured to receive the content file 200 from the that is not hindered by massive amounts of client module
  publisher 110 and generate the plurality of streams 202 of 114 requests to the web server 116 at any specific location .
  varying qualities. The original content file 200 from the           FIG . 4 is a schematic block diagram graphically illustrat
  publisher may be digital in form and may comprise content 35 ing one embodiment of a client module 114 in accordance
  having a high bit rate such as , for example , 2 mbps. The with the present invention . The client module 114 may
  content may be transferred from the publisher 110 to the comprise an agent controller module 402 , a streamlet cache
  content module 112 over the Internet 106. Such transfers of              module 404 , and a network controller module 406. In one
  data are well known in the art and do not require further embodiment, the agent controller module 402 is configured
  discussion herein . Alternatively, the content may comprise a 40 to interface with a viewer 408 , and transmit streamlets 212
  captured broadcast.                                              to the viewer 408. In a further embodiment, the client
     In the depicted embodiment, the plurality of streams 202 module 114 may comprise a plurality of agent controller
  may comprise the low quality stream 204 , the medium modules 402. Each agent controller module 402 may be
  quality stream 206 , and the high quality stream 208. Alter configured to interface with one viewer 408. Alternatively,
  natively, the plurality of streams 202 may comprise any 45 the agent controller module 402 may be configured to
  number of streams deemed necessary to accommodate end interface with a plurality of viewers 408. The viewer 408
  user bandwidth . The streamlet module 304 may be config          may be a media player ( not shown ) operating on a PC or
  ured to receive the plurality of streams 202 from the stream handheld electronic device .
  module and generate a plurality of streams 312 , each stream        The agent controller module 402 is configured to select a
  comprising a plurality of streamlets 212. As described with 50 quality level of streamlets to transmit to the viewer 408 The
  reference to FIG . 2c, each streamlet 212 may comprise a agent controller module 402 requests lower or higher quality
  pre - defined portion of the stream . The encoder module 306 streams based upon continuous observation of time intervals
  is configured to encode each streamlet from the plurality of between successive receive times of each requested stream
  streams 312 and store the streamlets in the streamlet data               let . The method of requesting higher or lower quality
  base 308 The encoding module 306 may utilize encoding 55 streams will be discussed in greater detail below with
  schemes such as DivX® , Windows Media Video 9® , Quick     reference to FIG . 7 .
  time 6.5 Sorenson 3® , or Quicktime 6.5 /MPEG - 4® . Alter   The agent controller module 402 may be configured to
  natively, a custom encoding scheme may be employed .       receive user commands from the viewer 408. Such com
     The content module 112 may also include a metadata mands may include play, fast forward , rewind, pause , and
  module 312 and a metadata database 314. In one embodi- 60 stop . In one embodiment, the agent controller module 402
  ment, metadata comprises static searchable content infor                 requests streamlets 212 from the streamlet cache module
  mation . For example, metadata includes , but is not limited             404 and arranges the received streamlets 212 in a staging
  to , air date of the content, title , actresses, actors , length , and   module 409. The staging module 409 may be configured to
  episode name . Metadata is generated by the publisher 110 ,              arrange the streamlets 212 in order of ascending playback
  and maybe configured to define an end user environment. In 65 time . In the depicted embodiment, the streamlets 212 are
  one embodiment, the publisher 100 may define an end user                 numbered 0 , 1 , 2 , 3 , 4 , etc. However, each streamlet 212 may
  navigational environment for the content including menus ,               be identified with a unique filename.
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     Additionally, the agent controller module 402 may be retrieval,” or more than one pan of a streamlet 212 at a time ,
  configured to anticipate streamlet 212 requests and pre efficiency is raised significantly and latency is virtually
  request streamlets 212. By pre -requesting streamlets 212 , eliminated . In a further embodiment, the client module
  the user may fast- forward , skip randomly, or rewind through allows a maximum of three outstanding streamlet 212
  the content and experience no buffering delay. In a further 5 requests . The client module 114 may maintain additional
  embodiment, the agent controller module 402 may request open TCP connections as spares to be available should
  the streamlets 212 that correspond to time index intervals of another connection fail. Streamlet 212 requests are rotated
  30 seconds within the total play time of the content. Alter among all open connections to keep the TCP flow logic for
  natively, the agent controller module 402 may request any particular connection from failing into a slow - start or
  streamlets at any interval less than the length of the time 10 close mode , if the network controller module 406 has
  index . This enables a “ fast-start” capability with no buffer requested a streamlet 212 in multiple parts, with each part
  ing wait when starting or fast - forwarding through content requested on mutually independent TCP/IP connections, the
  file 200. In a further embodiment, the agent controller network controller module 406 reassembles the parts to
  module 402 may be configured to pre - request streamlets 212 present a complete streamlet 212 for use by all other
  corresponding to specified index points within the content or 15 components of the client module 114 .
  within other content in anticipation of the end user 104            When a TCP connection fails completely, a new request
  selecting new content to view .                                  may be sent on a different connection for the same streamlet
     In one embodiment, the streamlet cache module 404 is 212. In a further embodiment, if a request is not being
  configured to receive streamlet 212 requests from the agent satisfied in a timely manner, a redundant request may be sent
  controller module 402. Upon receiving a request, the stream- 20 on a different connection for the same streamlet 212. If the
  let cache module 404 first checks a streamlet cache 410 to       first streamlet request's response arrives before the redun
  verify if the streamlet 212 is present. In a further embodi dant request response, the redundant request can be aborted .
  ment, the streamlet cache module 404 handles streamlet 212 If the redundant request response arrives before the first
  requests from a plurality of agent controller modules 402 . request response , the first request may be aborted.
  Alternatively, a streamlet cache module 404 may be pro- 25 Several streamlet 212 requests may be sent on a single
  vided for each agent controller module 402. If the requested TCP connection , and the responses are caused to flow back
  streamlet 212 is not present in the streamlet cache 410 the in matching order along the same connection. This elimi
  request is passed to the network controller module 406. In nates all but the first request latency. Because multiple
  order to enable fast forward and rewind capabilities, the responses are always being transmitted , the processing
  streamlet cache module 404 is configured to store the 30 latency of each new streamlet 212 response after the first is
  plurality of streamlets 212 in the streamlet cache 410 for a not a factor in performance. This technique is known in the
  specified time period after the streamlet 212 has been industry as " pipelining.” Pipelining offers efficiency in
  viewed .         ver, once the streamlets 212 have been          request - response processing by eliminating most of the
  deleted, they maybe requested again from the web server effects of request latency. However, pipelining has serious
  116 .                                                         35 vulnerabilities. Transmission delays affect all of the
     The network controller module 406 may be configured to responses. If the single TCP connection fails, all of the
  receive streamlet requests from the streamlet cache module outstanding requests and responses are lost . Pipelining
  404 and open a connection to the web server 116 or other causes a serial dependency between the requests.
  remote streamlet 212 database (not shown ). In one embodi         Multiple TCP connections may be opened between the
  ment, the network controller module 406 opens a TCP/IP 40 client module 114 and the web server 116 to achieve the
  connection to the web server 116 and generates a standard latency - reduction efficiency benefits of pipelining while
  HTTP GET request for the requested streamlet 212. Upon maintaining the independence of each streamlet 212 request.
  receiving the requested streamlet 212 , the network controller Several streamlet 212 requests may be sent concurrently,
  module 406 passes the streamlet 212 to the streamlet cache with each request being sent on a mutually distinct TCP
  module 404 where it is stored in the streamlet cache 410. In 45 connection This technique is labeled “ virtual pipelining ” and
  a further embodiment, the network controller module 406 is is an innovation of the present invention . Multiple responses
  configured to process and request a plurality of streamlets        may be in transit concurrently, assuring that communication
  212 simultaneously. The network controller module 406              bandwidth between the client module 114 and the web
  may also be configured to request a plurality of streamlets ,      server 116 is always being utilized . Virtual pipelining elimi
  where each streamlet 212 is subsequently requested in 50 nates the vulnerabilities of traditional pipelining . A delay in
  multiple parts.                                                 or complete failure of one response does not affect the
     In a further embodiment, streamlet requests may comprise transmission of other responses because each response occu
  requesting pieces of any streamlet file . Splitting the stream  pies an independent TCP connection . Any transmission
  let 212 into smaller pieces or portions beneficially allows for bandwidth not in use by one of multiple responses ( whether
  an increased efficiency potential, and also eliminates prob- 55 due to delays or TCP connection failure ) may be utilized by
  lems associated with multiple full- streamlet requests sharing other outstanding responses .
  the bandwidth at any given moment. This is achieved by             A single streamlet 212 request may be issued for an entire
  using parallel TCP/IP connections for pieces of the stream      streamlet 212 , or multiple requests may be issued , each for
  lets 212. Consequently, efficiency and network loss prob        a different part or portion of the streamlet. If the streamlet is
  lems are overcome, and the streamlets arrive with more 60 requested in several parts, the parts may be recombined by
  useful and predictable timing.                                  the client module 114 streamlet.
     In one embodiment, the client module 114 is configured          In order to maintain a proper balance between maximized
  to use multiple TCP connections between the client module bandwidth utilization and response time , the issuance of new
  114 and the web server 116 or web cache . The intervention         streamlet requests must be timed such that the web server
  of a cache may be transparent to the client or configured by 65 116 does not transmit the response before the client module
  the client as a forward cache . By requesting more than one        114 has fully received a response to one of the previously
  streamlet 212 at a time in a manner referred to as “ parallel      outstanding streamlet requests . For example, if three stream
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  let 212 requests are outstanding, the client module 114 may simultaneously request 606 a plurality of streamlets
  should issue the next request slightly before one of the three from the streamlet cache module 404. If the streamlet is
  responses is fully received and “ out of the pipe . ” In other stored 608 locally in the streamlet cache 410 , the streamlet
  words, request timing is adjusted to keep three responses in cache module 404 retrieves 610 the streamlet and sends the
  transit. Sharing of bandwidth among four responses dimin- 5 streamlet to the agent controller module 402. Upon retriev
  ishes the net response time of the other three responses. The ing 610 or receiving a streamlet, the agent controller module
  timing adjustment may be calculated dynamically by obser 402 makes 611 a determination of whether or not to shift to
  vation , and the request timing adjusted accordingly to main a higher or lower quality stream 202. This determination will
  tain the proper balance of efficiency and response times .     be described below in greater detail with reference to FIG .
     The schematic flow chart diagrams that follow are gen- 10 7 .
  erally set forth as logical flow chart diagrams. As such , the   In one embodiment, the staging module 409 then arranges
  depicted order and labeled steps are indicative of one            612 the streamlets into the proper order, and the agent
  embodiment of the presented method . Other steps and              controller module 402 delivers 614 the streamlets to the
  methods may be conceived that are equivalent in function ,
  ogic, or effect one or more poportions thereof, ofviewer    408.further embodiment, delivering 614stream
                                                      lets to the end user comprises playing video and or audio
  the illustrated method . Additionally, the format and symbols
  employed are provided to explain the logical steps of the streamlets on the viewer 408. If the streamlets are not stored
  method and are understood not to limit the scope of the        608 locally, the streamlet request is passed to the network
  method . Although various arrow types and line types may be controller module 406. The network controller module 406
  employed in the flowchart diagrams, they are understood then        requests 616 the streame from the web server 116 .
                                                                 Once the streamlet is received , the network controller mod
  not to limit the scope of the corresponding method . Indeed, ule
  some arrows or other connectors may be used to indicate 404 406         passes the streamlet to the streamlet cache module
  only the logical flow of the method . For instance , an arrow streamlet. streamlet
                                                                      The              cache module 404 archives 618 the
                                                                            Alternatively , the streamlet cache module 404
  may indicate a waiting or monitoring period of unspecified
  duration between enumerated steps of the depicted method. 25 then   archives   618 the streamlet and passes the streamlet to
  Additionally, the order in which a particular method occurs the agent controller module 402 , and the method 600 then
  may or may not strictly adhere to the order of the corre       continues from operation 610 as described above .
  sponding steps shown .                                           Referring now to FIG . 7 , shown therein is a schematic
     FIG . 5 is a schematic ( low chart diagram illustrating one flow chart diagram illustrating one embodiment of a method
  embodiment of a method 500 for processing content in 30 700 for requesting streamlets within a adaptive- rate shifting
  accordance with the present invention . In one embodiment content streaming environment in accordance with the pres
  the method 500 starts 502 , and the content module 112         ent invention . The method 700 may be used in one embodi
  receives 504 content from the publisher 110. Receiving ment as the operation 611 of FIG . 6. The method 700 starts
  content 504 may comprise receiving 504 a digital copy of and the agent controller module 402 receives 704 a streamlet
  the content file 200 , or digitizing a physical copy of the 35 ascontroller
                                                                      described  above with reference to FIG. 6. The agent
                                                                              module 402 then monitors 706 the receive time of
  content file 200. Alternatively, receiving 504 content may the requested        streamlet. In one embodiment, the agent
  comprise capturing a radio or television broadcast . Once         controller module 402 monitors the time intervals A between
  received 504 , the stream module 302 generates 506 a
  plurality of tra202, each stream 202 having a different           successive receive times for each streamlet response . Order
  quality. The quality may be predefined, or automatically set 40 ing of therequests
                                                                  sponding   responsesis not
                                                                                         in relation
                                                                                             relevantto. the order of their corre
  according to end user bandwidth ,
  designated publisher guidelines.
                                           in respon        pre       Because network behavioral characteristics fluctuate ,
     The streamlet module 304 receives the streams 202 and          sometimes quite suddenly, any given A may vary substan
  generates 508 a plurality of streamlets 212. In one embodi       tially from another. In order to compensate for this fluctua
  ment, generating 508 streamlets comprises dividing the 45 tion, the agent controller module 402 calculates 708 a
                                                            performance ratio r across a window of n samples for
  stream 202 into a plurality of two second streamlets 212 .
  Alternatively, the streamlets may have any length less than streamlets of playback length S. In one embodiment, the
  or equal to the length of the stream 202 The encoder module performance ratio r is calculated using the equation
  306 then encodes 510 the streamlets according to a com
  pression algorithm . In a further embodiment, the algorithm 50          n
  comprises a proprietary codec such as WMV9® . The                  r= s       n

  encoder module 306 then stores 512 the encoded streamlets                     ? ?;
                                                                               i= 1
  in the streamlet database 308. Once stored 512 , the web
  server 116 may then serve 514 the streamlets . In one
  embodiment, serving 514 the streamlets comprises receiving 55 Due to multiple simultaneous streamlet processing, and in
  streamlet requests from the client module 114 , retrieving the   order to better judge the central tendency of the performance
  requested streamlet from the streamlet database 308, and         ration r , the agent control module 402 may calculate a
  subsequently transmitting the streamlet to the client module     geometric mean , or alternatively an equivalent averaging
  114. The method 500 then ends 516 .                              algorithm , across a window of size m , and obtain a perfor
    FIG. 6 is a schematic flow chart diagram illustrating one 60 mance factor o :
  embodiment of a method 600 for viewing a plurality of
  streamlets in accordance with the present invention . The
  method 600 starts and an agent control module 402 is                                        1

  provided 604 and associated with a viewer 408 and provided              current
  with a staging module 409. The agent controller module 402 65                        i= 1

  then requests 606 a streamlet from the streamlet cache
  module 404. Alternatively, the agent controller module 402
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                                                         US 10,757,156 B2
                                 13                                                                          14
     The policy determination about whether or not to upshift                    same playback time in relation to the beginning of the
  710 playback quality begins by comparing Pcurrent with a                      video , and wherein the media player streams the video
  trigger threshold up . If ( current= 0 ?? ? then an up shift to the           by :
  next higher quality stream may be considered 716. In one                    requesting sequential streamlets of one of the copies from
  embodiment, the trigger threshold up is determined by a 5                     the video server according to the playback times of the
  combination of factors relating to the current read ahead                      streamlets by transmitting hypertext transport protocol
  margin (i.e. the amount of contiguously available streamlets                   (HTTP ) GET requests that identify the selected stream
  that have been sequentially arranged by the staging module                     lets stored by the video server , wherein the sequential
  409 for presentation at the current playback time index ), and 10              streamlets are selected by the media player from the
  a minimum safety margin. In one embodiment, the mini                          based upon successive determinations to shift the play
  mum safety margin may be 24 seconds. The smaller the read                     back quality to a higher or lower quality one of the
  ahead margin, the larger up is to discourage upshifting until                  different copies of the video ;
  a larger read ahead margin may be established to withstand                  repeatedly generating, by the media player, a factor relat
                                                                                ing to the performance of the network that is indicative
  network disruptions. If the agent controller module 402 is 15              of an ability to sustain the streaming of the video ;
  able to sustain 716 upshift quality, then the agent controller          adapting the successive determinations to shift the play
  module 402 will upshift 717 the quality and subsequently                   back quality based on the factor to achieve continuous
  request higher quality streams. The determination of                       playback of the video using the streamlets of the
  whether use of the higher quality stream is sustainable 716                highest quality copy of the video that is determined to
  is made by comparing an estimate of the higher quality 20                  be sustainable at that time ; and
  stream's performance factor, Phigher with Dup: If                       presenting the video for playback by providing the
  Phigherz @ up then use of the higher quality stream is consid              requested streamlets in order of ascending start time .
  ered sustainable . If the decision of whether or not the higher         2. The apparatus of claim 1 , wherein the apparatus is
  stream rate is sustainable 716 is “ no ," the agent control configured to establish multiple Transmission Control Pro
  module     402 will not attempt to upshift 717 stream quality. 25 tocol (TCP) connections with a content server, and request
  If the end of the stream has been reached 714 , the method streamlets of varying bitrates .
  618 ends 716 .                                                          3. The apparatus of claim 1 , wherein each streamlet
     If the decision on whether or not to attempt upshift 710 is further comprises a portion of a content file provided by the
  “ no ” , a decision about whether or not to downshift 712 is server.
  made . In one embodiment, a trigger threshold 'down is 30 4. The apparatus of claim 1 , wherein the requesting the
  defined in a manner analogous to up . If current down then sequential streamlets comprises the apparatus transmitting
  the stream quality may be adequate, and the agent controller hypertext transport protocol (HTTP ) GET requests for
  module 402 does not downshift 718 stream quality. How                selected streamlets, wherein each of the HTTP GET requests
  ever, if ( currents down , the agent controller module 402 does identifies the separate file stored by the video server that
  downshift 718 the stream quality. If the end of the stream has 35 corresponds to the requested streamlet.
  not been reached 714 , the agent controller module 402                  5. The apparatus of claim 1 wherein each of the streamlets
  begins to request and receive 704 lower quality streamlets of each of the different copies is independently requestable
  and the method 618 starts again . Of course, the above and playable by the apparatus.
  described equations and algorithms are illustrative only, and           6. The apparatus of claim 4 , wherein the requesting of the
  may
  tions .
          be  replaced by alternative  streamlet  monitoring  solu- 40 sequential streamlets comprises the end user device trans
                                                                       mitting hypertext transport protocol (HTTP ) GET requests
     The present invention may be embodied in other specific for selected streamlets .
  forms without departing from its spirit or essential charac             7. The apparatus of claim 1 wherein each of the streamlets
  teristics . The described embodiments are to be considered in        in each of the plurality of different copies is a separate file
  all respects only as illustrative and not restrictive. The scope 45 stored by the video server .
  of the invention is , therefore, indicated by the appended              8. The apparatus of claim 1 wherein the media player
  claims rather than by the foregoing description . All changes upshifts to a higher quality one of the different copies when
  which come within the meaning and range of equivalency of the factor is greater than a first threshold and downshifts to
  the claims are to be embraced within their scope .                   a lower quality one of the different copies when the factor is
                                                                        50 less than a second threshold .
    What is claimed is :                                                      9. The apparatus of claim 1 , wherein the requesting the
     1. An apparatus for rendering a video that is adaptively sequential streamlets comprises the apparatus transmitting
  received as a digital stream from a video server over a hypertext transport protocol (HTTP ) GET requests for
  network , the apparatus comprising;                           selected streamlets, and wherein each of the HTTP GET
    a media player operating on the apparatus, wherein the 55 requests identifies a separately - identifiable portion of the
        media player is configured to stream the video from the one or more files that corresponds to the requested streamlet.
        video server via at least one transmission control pro    10. The apparatus of claim 1 , wherein the apparatus is
        tocol ( TCP) connection over the network , wherein the configured to initially request low quality streamlets to
        video server stores multiple different copies of the enable instant playback of the content file, and subsequent
       video encoded at different bit rates as multiple sets of 60 upshifting according to the performance factor.
       streamlets, wherein each of the streamlets yields a                    11. The end user device of claim 1 wherein each of the
       different portion of the video on playback, wherein the streamlets in each of the plurality of different copies is a
       streamlets across the different copies yield the same separately -identifiable portion of one or more files stored by
       portions of the video on playback, and wherein the the video server.
       streamlets in the different copies are aligned in time 65 12. The apparatus of claim 1 wherein the apparatus is a
       such that the streamlets that play back the same portion mobile computing device comprising a processor and a
       of the video for the different copies each begin at the             non - transitory data storage .
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                                                      US 10,757,156 B2
                                15                                                                   16
    13. A method executable by an end user device to stream         achieve continuous playback of the video using the
  a video received via a connection with a server over a            streamlets of the highest quality copy determined sus
  network , the method comprising:                                  tainable at that time ; and
    requesting, by the end user device , wherein the end user 5 presenting   the video by playing back the requested media
                                                                    streamlets on the end user device in order of ascending
       device streams the video from the video server via at        playback time .
       least one transmission control protocol (TCP ) connec     14.  The method of claim 13 wherein the making of the
      tion over the network , a plurality of sequential stream successive determinations to shift comprises upshifting to a
       lets of one of the copies from the server based on higher quality one of the different copies when the at least
      playback times of the streamlets wherein multiple 10 one factor is greater than a first threshold and downshifting
       different copies of the video encoded at different bit to a lower quality one of the different copies when the at
      rates are stored as multiple sets of streamlets on the           least one factor is less than a second threshold .
      server , wherein each of the streamlets yields a different          15. The method of claim 14 wherein each of the streamlets
      portion of the video on playback, wherein the stream           of each of the different copies is independently requestable
       lets across the different copies yield the same portions 15 and playable by the end user device .
       of the video on playback, and wherein each of the               16. The method of claim 13 wherein each of the streamlets
       streamlets comprises a playback time such that each of in each of the plurality of different copies is a separately
      the streamlets for each of the different copies that identifiable           portion of one or more files stored by the video
       encode the same portion of the video begins at the same server      .
                                                                       17. The method of claim 16 wherein the requesting of the
      playback time in relation to the beginning of the video , 20 sequential    streamlets comprises the end user device trans
      wherein the end user device requests the streamlets by mitting hypertext            transport protocol ( HTTP ) GET requests
      transmitting hypertext transport protocol (HTTP ) GET for selected streamlets            , and wherein each of the HTTP GET
      requests that each identify one of the requested stream requests         identifies  the  separately - identifiable portion of the
       lets stored by the server ; and wherein the end user one or more files that corresponds              to the requested streamlet.
       device streams the video by :                              25
    repeatedly generating, by the end user device, a factor that a live event, and wherein the streamletstheofvideo
                                                                       18.   The method    of  claim  13 , wherein              captures
                                                                                                                           the different
       is indicative of an ability to sustain the streaming of the copies are available to the end user device while            the live
      video ;
    making successive determinations by the end user device event is occurring .
      to shift the playback quality based on the factor to
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                  EXHIBIT I
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                  The
       Safe Streaming™ Platform
                for Kids
Shows your family wants, hand-picked by caring people. Safe & free.


                                 WAT C H F R E E N O W !


                    or sign up here for additional features including customized
                         profiles, full parental controls, and viewing history.




                                                                         Cookies Policy
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                   A safe place for your kid.
Kidoodle.TV® is a Safe Streaming™ platform with content hand-picked by parents like you. Join
                our family and find peace-of-mind knowing your kids are safe.




          Curated                      Parental                      Easy-to-
          Content                      Controls                       Watch
       No fancy algorithms           Be the best parent,         Whether you have a
        here. Every show            even when you’re not           tablet, smart tv, or
         available on our             there. Bedtimes,               mobile phone,
        service has been             curfews, analytics,         Kidoodle.TV is there
           watched and                and more features              for you. We’re
       screened by a real             are available to all        available across all
          human being.                      users.               available platforms.




                                                               Cookies Policy
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Your family is safe
here.
Kidoodle.TV is a Safe Streaming™ platform
with content hand-picked by parents like you.
Join our family and find peace-of-mind
knowing your kids are safe.



      WAT C H F R E E N O W !




         Completely free, watch instantly.
                                 WAT C H F R E E N O W !




                                                           Cookies Policy
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             Stream on any popular device!
Kidoodle.TV is accessible on over 1000 devices including iOS devices, Android devices, MACs,
           PCs, and streaming media boxes such as Roku, Apple TV, and Fire TV.




                                                              Cookies Policy
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Start
watching
now!
Get Kidoodle.TV on your
device of choice. Download
the app and start watching for
free today!




                                                       Cookies Policy
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                                                       Cookies Policy
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                           Click to learn more!

                Social Impact is an initiative of A Parent Media Co. Inc.




                                                              Cookies Policy
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                                             DISH Network L.L.C.
                                             9601 S. Meridian Boulevard
                                             Englewood, CO 80155-6663
                                             303.723.1000


                                                                          Joseph F. Edell
                                                                          Corporate Counsel, IP
                                                                          Direct Dial 202.463.3719
                                                                          joseph.edell@dish.com



                                                                          March 17, 2023

 Via e-mail: mike@kidoodle.tv, team@kidoodle.tv

 Michael Lowe
 Chief Executive Officer
 A Parent Media Co. Inc.
 333 24th Ave SW, Suite 320
 Calgary, Alberta T2S 3E6
 Canada

                        Re: Licensing Opportunity, U.S. Patent No. 10,757,156 et al.
 Dear Mr. Lowe:

          DISH owns a portfolio of patent assets directed to adjustable bit-rate video streaming
 technology. For example, U.S. Patent No. 10,757,156 (copy enclosed) claims apparatuses and
 methods for transmitting video content by providing a content player access to multiple copies of
 the same video divided into segments, with each differing copy of the video encoded at differing
 bit rates. The content player obtains segments from the multiple copies to playback the entire
 video. This technology is used at least in adaptive bit-rate streaming standards, such as HTTP
 Live Streaming (“HLS”) and MPEG-DASH.

         DISH has analyzed the streaming technology that A Parent Media Co. (“APMC”) uses
 for providing content to its customers. This technology appears to be covered by, for example,
 claim 1 of the ’156 Patent. For those reasons, it appears that APMC would benefit from a license
 to the ’156 Patent and other DISH patents in this portfolio, including the enclosed list of U.S. and
 international patents and patent applications.

         On September 9, 2022, the Chief Judge of the International Trade Commission issued a
 decision finding that products being imported into the U.S. are infringing the ’156 Patent and
 other patents in this portfolio. Upon review of that decision, on March 8, 2023, the Commission
 determined that the appropriate form of relief is to issue a limited exclusion order and cease and
 desist orders against iFit (NordicTrack) and Peloton. We encourage you to review those
 materials, which are enclosed, because the Commission found that products using HLS and/or
 MPEG-DASH infringe certain claims of those patents. Further, the Commission found that those
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 claims are not invalid or unenforceable on anticipation, obviousness, ineligible subject matter,
 indefiniteness, inventorship, or inequitable conduct grounds.

        We invite APMC to take a license to this portfolio. After you have a chance to review the
 enclosed materials, please contact me to discuss the possibility of a license. We are open to
 entering into an NDA to discuss this proposal. We look forward to hearing from you.


                                                   Sincerely,


                                                   Joseph Edell


 Enc.
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                  EXHIBIT K
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                  (;+,%,7/
      Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 214 of 863 PageID #: 268


Bigler, Susan

From:                                   Don Young, K.C. <don@young-law.ca>
Sent:                                   Monday, July 24, 2023 6:52 PM
To:                                     Joe Edell
Subject:                                DISH license


This message originated outside of DISH and was sent by: don@young-law.ca



Mr. Edell, while we appreciate you contac ng us with the license oﬀer and rate, it is not of interest to APMC at the
moment. Should that change, we will certainly reach out to you.

Don Young, K.C.

(403) 589-7337
2400, 333-7th Ave SW, Calgary, AB T2P 2Z1

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                  EXHIBIT M
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                                               U.S. Patent No. 10,469,554 to Kidoodle


        The following claim chart shows exemplary aspects of A Parent Media Co. Inc.’s Kidoodle.TV streaming services and
products (“Kidoodle”) that infringe claim 1 of the ’554 Patent. The chart is exemplary and should not be read to limit DISH’s
assertions against Kidoodle, or any other streaming services offered by A Parent Media Co. Inc. or Kidoodle as to the services or
products described below. The chart should not be read to limit DISH’s assertions to the patent claim charted below. Nor should the
chart below be read to limit how Kidoodle infringes the claim below.
  Claim Element                                               Example Infringement Evidence
 [16.pre] An end       Kidoodle includes information and Applications that include an end user content player device which streams a
 user station to       video over a network from a server for playback of the video. Kidoodle is executable by devices that obtain
 stream a live event   streams of a selected video program for playback. The streams include live streams that are obtained from one or
 video over a          more servers affiliated with Kidoodle over a network.
 network from a
                       The images in this chart are from a device accessing the Kidoodle.tv website through a web browser, such as
 server for
                       Microsoft Edge, Google Chrome, or iOS Safari. Kidoodle.tv supports all major web browsers. See
 playback of the
                       https://about.kidoodle.tv/ (“We’re available across all available platforms.”).
 video, the content
 player device
 comprising:




                       https://about.kidoodle.tv/ (“We’re available across all available platforms.”)




                                                                   1
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                                        U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                          Example Infringement Evidence
                Kidoodle also includes applications for all platforms, including Apple App Store for iOS devices, Google Play
                for Android devices, Roku, and Amazon Fire TV, which also access the Kidoodle.tv website to stream video
                content. See https://about.kidoodle.tv/watch-now/




                https://about.kidoodle.tv/watch-now/
                 Upon information and belief, the aforementioned device that accesses Kidoodle.tv through a website, and the
                applications that access Kidoodle.tv (collectively, “End User Device”) operate in the same or substantially the
                same way for purposes of this chart.




                                                            2
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                                        U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                          Example Infringement Evidence
                The one or more servers accessible by Kidoodle store video files which are streamed to the end user stations.
                The following are examples of the videos that may be streamed from the one or more servers to the End User
                Device(s). See https://kidoodle.tv/.




                                                            3
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                       U.S. Patent No. 10,469,554 to Kidoodle




                                         4
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                                              U.S. Patent No. 10,469,554 to Kidoodle


 Claim Element                                               Example Infringement Evidence
                      https://kidoodle.tv/.
                      Tests were conducted on videos offered over the Kidoodle.TV site accessed on a personal computer (e.g., End
                      User Device). As part of the testing, the End User Device was connected to the internet through the Charles
                      Proxy application, which enabled the abilities to proxy the device’s network traffic, to view the device’s network
                      traffic, and to throttle the network’s available bandwidth. Thus, the test simulated how Kidoodle responded to
                      lower and higher bandwidths. For the current test, a video titled “Dude Perfect” was selected. When the user
                      selects a video from the available videos, the media player embedded in the Kidoodle.TV site displays more
                      details regarding the video and provides the user with the option to view the video.
                      Selecting the icon corresponding to a video causes that video and other materials to be streamed and displayed
                      on the user’s device.
                      With respect to adaptively receiving the digital stream from the video server over the network, the media player
                      embedded in the Kidoodle.TV site accesses adaptive bitrate streams are provided to the media player from a
                      server affiliated with Kidoodle over a network using the HTTP Live Streaming (“HLS”) adaptive bitrate
                      streaming protocol. HLS is “a protocol for transferring unbounded streams of multimedia data.” Request For
                      Comments: 8216 – HTTP Live Streaming, August 2017 (“RFC 8216”) at 1. Using HLS, “a client can receive a
                      continuous stream of media from a server for concurrent presentation.” RFC 8216 at 4. HLS “allows a receiver
                      to adapt the bitrate of the media to the current network conditions in order to maintain uninterrupted playback at
                      the best possible quality.” RFC 8216 at 4. With HLS, “[c]lients should switch between different Variant Streams
                      to adapt to network conditions.” RFC 8216 at 5.


[16.1] a processor;   Kidoodle’s content is accessible on End User Devices. https://about.kidoodle.tv/ (“We’re available across all
                      available platforms.”). Example end user devices include personal computers, Macintosh computers, Apple
                      iPhones, Apple iPads, Android phones, Android tablets, and smart TV devices equipped to access the internet
                      via one or more network connections. The end users’ devices include a processor configured to enable video
                      streaming.



                                                                  5
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                                             U.S. Patent No. 10,469,554 to Kidoodle


 Claim Element                                              Example Infringement Evidence




                     See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)


                     The screenshots in this chart of the Kidoodle website are from accessing the Kidoodle website on an Apple iPhone
                     or Windows computer. On information and belief, at least one of the devices capable of accessing and viewing
                     Kidoodle content contains a processor.
[16.2] a digital     As explained above, Kidoodle’s content is accessible on end users’ devices. Example end user devices include
processing           personal computers, Macintosh computers, Apple iPhones, Apple iPads, Android phones, Android tablets, and
apparatus memory     smart TV devices equipped to access the internet via one or more network connections. The end users’ devices
device comprising    include a processor configured to enable video streaming. The end users’ devices also include memory devices
non-transitory       having non-transitory machine-readable instructions that cause an end user device to establish one or more
machine-readable     internet connections between the end user station and the one or more servers hosting Kidoodle videos.
instructions that,
                     Through the established network connection, the devices streaming Kidoodle access video programs that are
when executed,
                     stored on one or more servers for display on the devices via the video player accessing the Kidoodle.TV site. See


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                                             U.S. Patent No. 10,469,554 to Kidoodle


 Claim Element                                               Example Infringement Evidence
cause the            also
processor to:
establish one or
more network
connections
between the end
user station and
the server, wherein
the server is
configured to
access at least one
of a plurality of
groups of
streamlets;         See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)
                    The one or more servers hosting Kidoodle.TV video programs store streamlets corresponding to particular
                    segments of a video program, and each streamlet is encoded at one of numerous resolutions. Each of the stored
                    streams, or variant playlists, comprises a plurality of streamlets at the same resolution. The arrangements of each
                    variant playlist ensure the sequential playback of the streams at a resolution supported by the available network
                    bandwidth.
                     For example, in the instant test of a video titled “Dude Perfect,” the end user station: established a network
                     connection, connected with the one or more Kidoodle servers, and made an HTTP GET request to
                     prod.kidoodle.tv for a master manifest located at the following path:
                     https://prod.kidoodle.tv/api/2.0/content/elemental-source/web/2545/94152/670158/watch/manifest.m3u8
                     (hereafter referred to as the “Master Manifest” or “manifest.m3u8”). The Master Manifest returned the
                     following contents, reflecting the Uniform Resource Indicators (“URIs”) of the various variant playlists hosting
                     at least a group of streamlets:
                      #EXTM3U


                                                                  7
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                                        U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                           Example Infringement Evidence
                 #EXT-X-VERSION:3
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                 8.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
                 7.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                 6.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
                 5.m3u8
                File path: manifest.m3u8
                The master playlist shows four versions of the video stream at the following bandwidths:
                      300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                      1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                      500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                      800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                selected video program at a particular bandwidth and resolution. Each variant playlist, or version playlist, is
                defined by the token associated with the stream file path. For example:


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    Claim Element                                            Example Infringement Evidence


                       Bandwidth           Token1
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth
                       500000              6.m3u8?...
                       Bandwidth
                       800000              5.m3u8?...
                       Bandwidth


                      Each of the variant playlists includes segments, or streamlets, that encode the same portion of the video at
                      various qualities. For example, the 300000 Bandwidth version can be considered a low-quality stream, the
                      500000 or 800000 Bandwidth version can be considered a medium-quality stream, and the 1800000
                      Bandwidth version can be considered a high-quality stream.
                      Kidoodle also uses HTTPS GET requests to retrieve the segments, or streamlets, of the encoded video specified
                      in the file above from the one or more servers hosting Kidoodle content.
                      The Media Playlist for each of the Variant Streams identifies a group of streamlets associated with each of the
                      different copies, as the exemplary Media Playlist shown below illustrates. See RFC 8216 at 38 (“The server
                      must create a Media Playlist file (Section 4) that contains a URI for each Media Segment that the server wishes


1
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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     Claim Element                                              Example Infringement Evidence
                         to make available, in the order in which they are to be played.”); see also RFC 8216 at 4 (“A multimedia
                         presentation is specified by a Uniform Resource Identifier (URI) [RFC3986] to a Playlist.”); RFC 8216 at 4 (“A
                         Media Playlist contains a series of Media Segments that make up the overall presentation. A Media Segment is
                         specified by a URI and optionally a byte range.”).
                         As shown by the Charles Proxy application file, partially reproduced below, the streamlet video files are hosted
                         on a server accessible via https://vcdm-cf.kidoodle.tv/. The server accesses the stored streamlet files for
                         playback on an end user device.
                          Method     Host                      Path2                     …         Status
                          GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                               _WorldsStrongestDude
                                                               0.ts?...
                          GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                               _WorldsStrongestDude
                                                               1.ts?...
                          GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                               _WorldsStrongestDude
                                                               2.ts?...
                          GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                               _WorldsStrongestDude
                                                               3.ts?...




2
    Video path abbreviated for readability throughout.


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Claim Element                                          Example Infringement Evidence
                Importantly, the test video “Dude Perfect” is a video uploaded to servers hosting Kidoodle content. On
                information and belief, the live event videos offered to Kidoodle viewers are similarly encoded at multiple
                resolutions, hosted on one or more servers, and accessed through HTTP Get Requests by end users’ devices,
                such that they similarly perform the demonstrated claim limitations.
                As shown in the test data, the End User Device accessing Kidoodle.TV selects the 1800000 Bandwidth version
                of the stream and makes a request for the corresponding playlist. The server(s) returns the playlist file with the
                following contents:
                       #EXTM3U
                       #EXT-X-VERSION:3
                       #EXT-X-TARGETDURATION:11
                       #EXT-X-MEDIA-SEQUENCE:0
                       #EXTINF:10.750000,
                       https://vcdm-
                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude0.ts?Expires=1692058230&Signat
                       ure=X-j9VAHmYvweCM-
                       dblOesIErSUUPPye19SnCx9oSQaIPIQ9PYd9fEqw70kunQdE0c9VdJUJT05ewHTOHxwr0fXs
                       g1UCjh2MBBBXuSguMBNLDplNuJxeg9ZzZpeEfPNC~k-
                       GWyC79vUAs1SasIIG1VfVy89Kb7cBiHt17-
                       baaBU01zty90WpmmejGY~vYOoen7gdJ9v7M~z0lVVREBiyygE7A0vGww6pEpEMztwSZZ4
                       ZoBkCdhZmLe3vjUm5MMr8nrU8n~ljj6fEYV3GeQiNlSEAApGW1qa5cNtQOhfX2ClzKrGHx
                       paXUKqEheDRGyCs2u3bOEHjqRm2o1-ynSK5rFw__&Key-Pair-
                       Id=APKAIPJESLAK2PMGD4PA
                       #EXTINF:9.250000,
                       https://vcdm-
                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude1.ts?Expires=1692058230&Signat
                       ure=CDpwAf98XhRNKYFrCcv-

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Claim Element                                    Example Infringement Evidence
                     ofhY3VrgZ6T7M~dt8AXR4VRuOrMTiwDrlCQfZ01vbPEmfi~L0OK6K9Y6rlItw3hSboVNYc-
                     Bs8Kxtaqz~kiDoN3TvSHmiaPcpjGO03IQ5nLbwn-
                     gcptixhXoqmhAYSfFJ8q1NrOHvq5WzlOKvx8v10snMl1mxS0fC5VRDXEYbkCvLSqe8OBa8
                     kev2TqT8dZw7uFepqygtWzr5C0u-
                     6nWGZHqw4vC0d~N50BQSxQ5bjMz28sAs1vw2KmnoYx4exlNb1EE6M6nUPCA3C9dc5tei7
                     fB4UUZDjALiy3x7tOF3Zd2KJg6yxsNQC3ER8sD8g98SQ__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.083333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=1692058230&Signat
                     ure=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                     Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGKUkDDfL7nBd
                     gfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                     0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                     3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                     NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                     CYxuCpPt9d50a8kEBRDNl3Tt-WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=1692058230&Signat
                     ure=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYHXS2lrrpkid5FBs5f~c3CtijVa
                     HEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                     ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25DxDRs3Pb1hLf
                     DUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                     eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                     ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80LzLrDZuk~tezw
                     __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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Claim Element                                    Example Infringement Evidence
                     #EXTINF:10.416667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=1692058230&Signat
                     ure=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                     IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                     zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                     y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-IHBaxLCvWoKA9Giwd1F-
                     Xcd7C9pLd800urg-20HZuei-
                     2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1sXw8yILs-
                     Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=1692058230&Signat
                     ure=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                     ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53RunAwQ~p3j4P6
                     3FEfL-ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                     eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4ahEG-
                     et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZpKD6UQPz8JI4
                     OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=1692058230&Signat
                     ure=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRwWgpnq8loZdNXxJusEz1BjFd
                     SviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0
                     wbL~iNVzRc2OWelQdLrCplH9mJAnzYUbb-
                     p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R0RNnvRIBG1
                     b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75YdM91BCDnFgTaB2DGh



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Claim Element                                    Example Infringement Evidence
                     w9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=1692058230&Signat
                     ure=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oPERBiu3cpkU1bmx18V7z1k
                     BeG7n-P9XrAsdZrTSeBc5Z-OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                     GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                     kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiHhdLg4riLBkF
                     xOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4s0AgtlqDkqHnu~HRUoAO
                     GTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.750000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=1692058230&Signat
                     ure=BA-
                     QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8IS2H2uktgoA
                     vqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                     bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                     ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT1CCM4eWrFn
                     IrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-
                     y4JfUClu3a2s-gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=1692058230&Signat
                     ure=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                     P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9uG1gv6uaDU
                     F-NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPfN~kJVa94-


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Claim Element                                    Example Infringement Evidence
                     XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDACytArwL9~CtJ
                     qifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-
                     rtvvpM2YO35x3QnHMYJlpNjIg-vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.666667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692058230&Signa
                     ture=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                     DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                     ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                     sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4WyWQN5SB
                     0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIVBR5qqb2UlZTE9zXwNFW
                     4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692058230&Signa
                     ture=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J39C0TOfHfhkuWX3GNV~B
                     7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk
                     6YyHaHA~YwMvSqF0FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                     ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                     G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                     38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-B3UWdy9CAhNg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692058230&Signa
                     ture=AcGGiMOj6opQRc-iQhv-
                     t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk2w0HmAaV5


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Claim Element                                    Example Infringement Evidence
                     pV1n11kWK-NV93ZRSPKyTc-
                     9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                     ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtwVnc-B-
                     rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                     naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692058230&Signa
                     ture=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39QN0fozRAJiDpxwfbGRLiCs
                     cRoibOsDnp8g45-N1Dv-
                     l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W~EUgXwn45U
                     nLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CWxRJaJXKIU7fPKI0rm2WKO
                     etZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                     ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692058230&Signa
                     ture=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yKA45ce57fGCLQkOTs9rLwvG
                     KYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYNWXti2HX96KWLRLluN9-
                     xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~FmcQCx17kws4l
                     Jq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VDvolOXbtWeRISpeUtqRcyPv
                     lEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibmBRqlyB-
                     y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.458333,



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                                   U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                    Example Infringement Evidence
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude15.ts?Expires=1692058230&Signa
                     ture=EmKhQ97V1kC2nux03LOh0AsSs8x3T5uYyPU7uQwFWokFiT5Z1lXPDOYuvT4gX8H2
                     9x5ZwaGw9fzRPXaevWiB-ZyaBTwKdD5sNiXzC85OSWOECID-
                     V1OWE4FK0zsvdbK5AhvJ3UvtNzufrrcBM9deA1B0PD8NLxZ9at3GlebQlcoyuvMPmcogOD
                     7uPWbGcRUMw~kfl6JvTlQDcqbh7Azckr8Pj85rDKpY7ffr3dNqHK45HTx4Hq8P6BJ5HsI7--
                     xXzimlgev1OuXSYnXwUib-ejbAqhnf-
                     VcwgEuwFi2u9imp45LbHP~4ChIHJ2y5zkOvk6Vd6Rhlwe5QE~-91Ya7OA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude16.ts?Expires=1692058230&Signa
                     ture=D9tydyyfLvc63w423qjALtY-u7peL5T09eMLvlf3qIhCt-
                     z8xRmbnXtpHEtXxwqI~tQqCssOLXwaC-EY-
                     2o2wPfVMWWMVFw1vyi~T~DBrixO4J9gdgCnN7XiGrI8Ebe--Pchv5-H7e-
                     ReOIuUWsSOryzM6xfIOlM1KN-
                     dlXCqfCpIXnyOZOwsnVFAgxZcekcLrarB8e8SpE1wobXIogjk2DGMr3GmYymTXsGFiODw
                     XBTMuhWRcV1TARZLMK69oozNgv6-Te97KflduUeZVt6zapVj-
                     6Q8ZK7x7J9EFxmFwPXe7~SFFUQTxFMNJcu0esokmKOAR2tCxznBheaUR1Gag__&Key-
                     Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXT-X-CUE-OUT: 0
                     #EXT-X-CUE-IN
                     #EXTINF:8.375000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude17.ts?Expires=1692058230&Signa
                     ture=G0-13akiy1zABYLlQcnx7Om3pfZaPh~26uL9-
                     jwDy9bwyV6KOSVTJ9uknM13xLq12pki6n6V0cWIDrQvpsvz2Tl8~ewAUkjzwesP-
                     1XnJuY9tolEBNTaipdcKKeCNLw8LB9El~9einSOyMxcXmzX7ieVVlu-A~wi2GwbcMUb-


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 Claim Element                                                  Example Infringement Evidence
                               w8OlvYZjVa9yTxzoz2TUjkHqFmJQ6NJ4rrnmzIsAyFu75W71LOHC-J1vs0dbN-
                               S581jzsrg6WtUI9CbxM59TmAdLLJfnKS7XAgU5a0u~0ZbPF5Ne4z3xFWkif4joJCRc8E991A
                               Rl8BUoyFCth3z8vJDd-uDp5M-br~nKEfRI5ZvBg__&Key-Pair-
                               Id=APKAIPJESLAK2PMGD4PA
                               #EXT-X-ENDLIST


                        The variant playlist file is an HLS playlist. Each line in the file path
                        “361/670158/7/hls/S0E4_WorldsStrongestDude17.ts...” that begins with “#EXTINF” specifies the length of the
                        segments in seconds. The line below the #EXTINF file is the location of the video file. In the variant playlist
                        shown above, the segments of the video are separated by commercial segments. Each of the streamlets (except
                        the first and final streamlets of each playlist) is approximately 8-10 seconds long and returns sequential
                        segments of the video program and/or commercial.
                        As long as the viewer continues watching the video and the bandwidth is adequate to support the chosen
                        resolution, the end user device will continue to request (and Kidoodle.TV will provide) streamlets corresponding
                        to the current, chosen resolution.
[16.3] wherein the      As mentioned above, Kidoodle videos are encoded at a plurality of different bitrates to create a plurality of
live event video is     streams including at least low, medium, and high quality streams. Each of the low, medium, and high quality
encoded at a            streams has a streamlet that encodes the same portion of the video at a different one of the plurality of different
plurality of            bitrates. Each of the streamlets comprising the low, medium, and high, quality streams are stored in variant
different bitrates to   playlists comprising a group of streamlets of the same quality at a respective bit rate.
create a plurality
                        In the instant test, a personal computer accessing the Kidoodle.TV site through a web browser makes a HTTPS
of streams
                        GET request to prod.kidoodle.tv for the Master Manifest of a video program titled “Dude Perfect.” As shown in
including at least a
                        the excerpts of the Master Manifest below, the video available is encoded at 4 different bitrates.
low quality stream,
a medium quality         #EXTM3U
stream, and a high
quality stream,          #EXT-X-VERSION:3


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 Claim Element                                            Example Infringement Evidence
each of the low      #EXT-X-STREAM-
quality stream, the  INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
medium quality
                     8.m3u8
stream, and the
high quality         #EXT-X-STREAM-
stream comprising    INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
a group of
streamlets encoded 7.m3u8
at the same          #EXT-X-STREAM-
respective one of    INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
the different
bitrates, each       6.m3u8
group comprising     #EXT-X-STREAM-
at least first and   INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
second streamlets,
each of the          5.m3u8
streamlets          File path: manifest.m3u8
corresponding to a
portion of the live The master playlist shows four versions of the video stream at the following bandwidths:
event video;
                        300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                        1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                        500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                        800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                   For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                   selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                   associated with the stream file path. For example:




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    Claim Element                                            Example Infringement Evidence
                       Bandwidth           Token3
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth
                       500000              6.m3u8?...
                       Bandwidth
                       800000              5.m3u8?...
                       Bandwidth


                      Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                      For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                      Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                      considered a high-quality stream.
                      As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                      or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                      arranged in ascending chronological order, beginning with the first segment of the video program, and
                      progressing until the final segment of the video program.
                       Bandwidth                        Streamlet (segment)
                       500000 Bandwidth                 #EXTM3U


3
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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Claim Element                                  Example Infringement Evidence
                                         #EXT-X-VERSION:3
                                         #EXT-X-TARGETDURATION:11
                                         #EXT-X-MEDIA-SEQUENCE:0
                                         …
                                         #EXTINF:10.083333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                         2058315&Signature=fvGyZzCNd-crO6-
                                         JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                         ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                         SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                         fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                         -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                         8Zf6oIUQQca-
                                         5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                         _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                         QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                         KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                         yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                         AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                         t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v


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Claim Element                                  Example Infringement Evidence
                                         Sst-
                                         smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                         Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                         zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                         qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                         wMBsQXOJRCpWmU-vG6QW-
                                         OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                         Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                         oEXkJRDttTXHtU5IKsfY-
                                         gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                         Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                         oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                         wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                         Ll4ZQKe13SeDvD0M~woH-
                                         vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                         YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                         Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                         sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                         gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                         CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                         ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                         01-
                                         Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                         LQ9oQeeUI3NiT97-
                                         uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                         Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                         PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                         -
                                         4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                         UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                         Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                         1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                         xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169

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Claim Element                                  Example Infringement Evidence
                                         2058315&Signature=BXa7FwbB-
                                         XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                         hQprIM2EVLbLulCYs7d-
                                         NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                         EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                         zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                         04UoStbeCRxrNpEYOudkkm79k-
                                         d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                         o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                         IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                         d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                         V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                         2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                         ZyVYSd2~kXj3CG-
                                         AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                         vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                         nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                         PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                         cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf


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Claim Element                                  Example Infringement Evidence
                                         00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                         dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                         yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                         8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                         RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                         oGm-
                                         nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                         0EsdN7ZUOam4P-
                                         E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                         yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                         ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                         15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                         ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                         qVVkpgIZkF1HrUvTWvHcEXkVv--
                                         tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                         Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                         jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                         4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                         ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                         K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                         MXU8Ia-iZ8hL6vn4t-
                                         Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                         9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                         gtQgeix7e6gBfICuZQf-
                                         ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                         CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                         92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                         ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                         Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                         iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                         E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                         CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                         BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                         ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.666667,
                                         …



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Claim Element                                    Example Infringement Evidence
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                           CYxuCpPt9d50a8kEBRDNl3Tt-
                                           WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                           Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                           2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                           ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                           ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                           5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ


                                                     27
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Claim Element                                  Example Infringement Evidence
                                         6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                         ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                         0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058230&Signature=eBd8Be4aj-
                                         PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                         IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                         Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                         y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                         IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                         2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                         x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058230&Signature=R83mjHLH07WWvwga8NT-
                                         JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                         ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                         RunAwQ~p3j4P63FEfL-
                                         ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                         eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                         hv4ahEG-
                                         et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                         ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA



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                                  U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                         KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                         JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                         LrCplH9mJAnzYUbb-
                                         p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                         4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                         Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                         6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                         2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                         OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                         GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                         kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                         uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                         wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                         __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058230&Signature=BA-
                                         QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                         K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39

                                                   29
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                                  U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                         ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                         eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                         U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                         gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                         P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                         Nv9uG1gv6uaDUF-
                                         NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                         MPfN~kJVa94-
                                         XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                         DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                         nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                         vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                         X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                         ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                         sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                         5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                         kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                         VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA


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                                  U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                         BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                         mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                         FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                         ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                         G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                         38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                         B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                         t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                         etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                         9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                         ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                         twVnc-B-rQwaARTzxnztYW8tW~n19-
                                         HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                         naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                         XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                         Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                         l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT

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Claim Element                                           Example Infringement Evidence
                                                 8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                                 v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                                 FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                                 ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                 Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                 92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                 b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                 6J9WYNWXti2HX96KWLRLluN9-
                                                 xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                 FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                 m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                 gqYwbibmBRqlyB-
                                                 y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                 Id=APKAIPJESLAK2PMGD4PA
                                                 …
                                                 #EXT-X-ENDLIST


                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.
                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams

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Claim Element                                          Example Infringement Evidence
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
                Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
                The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                make up the overall presentation.”).
                Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                present the same content” on playback. RFC 8216 at 43.


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 Claim Element                                                Example Infringement Evidence


[16.4] wherein at     As explained above, Kidoodle videos are encoded at a plurality of different bitrates to create a plurality of
least one of the      streams including at least low, medium, and high quality streams. Each of the low, medium, and high quality
low quality stream,   streams has a streamlet that encodes the same portion of the video at a different one of the plurality of different
the medium            bitrates. Each of the streamlets comprising the low, medium, and high, quality streams are stored in variant
quality stream, and   playlists comprising a group of streamlets of the same quality at a respective bit rate. At least one of the low
the high quality      quality stream, the medium quality stream, and the high quality stream is encoded at a bitrate of no less than 600
stream is encoded     kbps.
at a bit rate of no
                      File path: manifest.m3u8
less than 600 kbps;
and                   The master playlist shows four versions of the video stream at the following bandwidths:
                            300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                            1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                            500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                            800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406


[16.5] wherein the    Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
first streamlets of   that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
each of the low       Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams
quality stream, the   are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
medium quality        switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
stream and the        content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
high quality          have matching timestamps” to allow the video player to synchronize the media. Id. Further, “[e]ach Media
stream each has an    Segment in a Media Playlist has an integer Discontinuity Sequence Number. The Discontinuity Sequence
equal playback        Number can be used in addition to the timestamps within the media to synchronize Media Segments across
duration and each     different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams MUST have matching
of the first          Discontinuity Sequence Numbers.” RFC 8216 at 43.
streamlets encodes

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 Claim Element                                                Example Infringement Evidence
the same portion       As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
of the live event      or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
video at a different   arranged in ascending chronological order, beginning with the first segment of the video program and
one of the different   progressing until the final segment of the video program. As noted above, the variant playlist file is an HLS
bitrates;              playlist. Each line in the file that begins with “#EXTINF” specifies the length of the segments in seconds. The
                       line below the #EXTINF file is the location of the video file. In the present test, the End User Device accessing
                       Kidoodle.TV uses HTTPS GET requests to request and retrieve the segments of the encoded stream specified in
                       the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
                       streamlets) is approximately 8-10 seconds long.
                       The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                       bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                       segmented moments in the video.
                                 Bandwidth                           File line (#EXTINF: length) (portion of live stream)
                        500000 Bandwidth                #EXTM3U
                                                        #EXT-X-VERSION:3
                                                        #EXT-X-TARGETDURATION:11
                                                        #EXT-X-MEDIA-SEQUENCE:0
                                                        …
                                                        #EXTINF:10.083333,



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Claim Element                                  Example Infringement Evidence
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                         2058315&Signature=fvGyZzCNd-crO6-
                                         JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                         ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                         SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                         fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                         -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                         8Zf6oIUQQca-
                                         5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                         _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                         QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                         KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                         yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                         AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                         t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                         Sst-
                                         smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                         Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058315&Signature=YXXHRRu4Adc2jc-XdGykv-


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                                  U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                         qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                         wMBsQXOJRCpWmU-vG6QW-
                                         OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                         Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                         oEXkJRDttTXHtU5IKsfY-
                                         gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                         Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                         oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                         wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                         Ll4ZQKe13SeDvD0M~woH-
                                         vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                         YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                         Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                         sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                         gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                         CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                         ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA


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Claim Element                                  Example Infringement Evidence
                                         01-
                                         Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                         LQ9oQeeUI3NiT97-
                                         uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                         Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                         PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                         -
                                         4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                         UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                         Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                         1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                         xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058315&Signature=BXa7FwbB-
                                         XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                         hQprIM2EVLbLulCYs7d-
                                         NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                         EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                         zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                         04UoStbeCRxrNpEYOudkkm79k-


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                                  U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                         o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                         IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                         d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                         V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                         2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                         ZyVYSd2~kXj3CG-
                                         AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                         vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                         nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                         PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                         cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                         00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                         dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                         yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16


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                                  U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                         8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                         RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                         oGm-
                                         nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                         0EsdN7ZUOam4P-
                                         E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                         yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                         ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                         15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                         ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                         qVVkpgIZkF1HrUvTWvHcEXkVv--
                                         tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                         Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                         jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                         4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                         ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                         K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx


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Claim Element                                    Example Infringement Evidence
                                           MXU8Ia-iZ8hL6vn4t-
                                           Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                           9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                           gtQgeix7e6gBfICuZQf-
                                           ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                           CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                           92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                           ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                           Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                           iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                           E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                           CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                           BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                           ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:9.666667,
                                           …
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0


                                                     41
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                                  U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         …
                                         #EXTINF:10.083333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                         2058230&Signature=QCE8vv-
                                         PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                         Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                         GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                         0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                         3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                         NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                         CYxuCpPt9d50a8kEBRDNl3Tt-
                                         WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                         ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                         ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                         5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                         6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                         ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                         0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058230&Signature=eBd8Be4aj-


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                                  U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                         IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                         Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                         y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                         IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                         2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                         x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058230&Signature=R83mjHLH07WWvwga8NT-
                                         JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                         ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                         RunAwQ~p3j4P63FEfL-
                                         ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                         eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                         hv4ahEG-
                                         et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                         ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                         KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                         JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                         LrCplH9mJAnzYUbb-
                                         p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I


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Claim Element                                  Example Infringement Evidence
                                         4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                         Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                         6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                         2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                         OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                         GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                         kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                         uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                         wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                         __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058230&Signature=BA-
                                         QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                         K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                         KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                         ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                         eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                         U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                         gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,


                                                   44
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Claim Element                                  Example Infringement Evidence
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                         P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                         Nv9uG1gv6uaDUF-
                                         NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                         MPfN~kJVa94-
                                         XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                         DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                         nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                         vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                         X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                         ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                         sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                         5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                         kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                         VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                         BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                         mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                         FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-


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                                  U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                         G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                         38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                         B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                         t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                         etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                         9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                         ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                         twVnc-B-rQwaARTzxnztYW8tW~n19-
                                         HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                         naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                         XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                         Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                         l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                         8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                         v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                         FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                         ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                         Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,


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                                        U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                          Example Infringement Evidence
                                                https://vcdm-
                                                cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                6J9WYNWXti2HX96KWLRLluN9-
                                                xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                gqYwbibmBRqlyB-
                                                y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                Id=APKAIPJESLAK2PMGD4PA
                                                …
                                                #EXT-X-ENDLIST


                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above. Similarly, on
                information and belief, the other bandwidth version streamlets are the same durations as the 500000 Bandwidth
                and 1800000 Bandwidth versions.
                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media
                Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue
                uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                same Media Sequence Number in different Variant Streams or Renditions have the same position in the
                presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the
                relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                corresponding segments.”).


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     Claim Element                                                Example Infringement Evidence
    [16.6] select a       The End User Device selects a specific one of the low quality stream, the medium quality stream, and the high
    specific one of the   quality stream based upon a determination by the end user station to select a higher or lower bitrate version of
    low quality stream,   the streams.
    the medium
                          HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
    quality stream, and
                          uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
    the high quality
                          can receive a continuous stream of media from a server for concurrent presentation.”).
    stream based upon
    a determination by    As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
    the end user          video stream at the following bandwidths:
    station to select a
    higher or lower             300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
    bitrate version of          1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
    the streams;                500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                                800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                          For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                          selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                          associated with the stream file path. For example:
                           Bandwidth           Token4
                           300000              8.m3u8?...
                           Bandwidth
                           1800000             7.m3u8?...
                           Bandwidth



4
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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Claim Element                                         Example Infringement Evidence
                 500000             6.m3u8?...
                 Bandwidth
                 800000             5.m3u8?...
                 Bandwidth


                The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                the same alongside the status of the requests.
                 Method    Host                       Path                             …     Status
                 GET       vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/8/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/8/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/6/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude10.ts?...


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 Claim Element                                                Example Infringement Evidence
                       GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …           Complete
                                                              Dude11.ts?...
                       GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …           Complete
                                                              Dude12.ts?...
                       GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                              Dude13.ts?...
                       GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                              Dude14.ts?...


                      Additionally, HLS provides that “[m]atching content in Variant Streams MUST have matching timestamps” to
                      allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media Segment in a Media Playlist has
                      an integer Discontinuity Sequence Number. The Discontinuity Sequence Number can be used in addition to the
                      timestamps within the media to synchronize Media Segments across different Renditions.” RFC 8216 at 39.
                      Thus, “[m]atching content in Variant Streams MUST have matching Discontinuity Sequence Numbers.” RFC
                      8216 at 43.


[16.7] place a        The End User Device places a streamlet request to the server over the one or more network connections for the
streamlet request     first streamlet of the selected stream.
to the server over
                      The variant playlists file are HLS playlists. Each line in the file that begins with “#EXTINF” specifies the length
the one or more
                      of the segments in seconds. The line below the #EXTINF file is the location of the video file. In the present test,
network
                      the End User Device accessing Kidoodle.TV requests and retrieves the segments of the encoded stream specified
connections for the
                      in the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
first streamlet of
                      streamlets) is approximately 8-10 seconds long.
the selected
stream;               The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
                      cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-


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Claim Element                                          Example Infringement Evidence
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                segmented moments in the video.
                   Bandwidth Version                        File line (#EXTINF: length) (portion of live stream)
                 500000 Bandwidth            #EXTM3U
                                             #EXT-X-VERSION:3
                                             #EXT-X-TARGETDURATION:11
                                             #EXT-X-MEDIA-SEQUENCE:0
                                             …
                                             #EXTINF:10.083333,
                                             https://vcdm-
                                             cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                             58315&Signature=fvGyZzCNd-crO6-
                                             JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-ERIBXKGkK~-
                                             uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                             SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMvfBl
                                             YgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb-
                                             4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                             8Zf6oIUQQca-
                                             5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg__&
                                             Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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Claim Element                                  Example Infringement Evidence
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                      58315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigUQOQg
                                      L~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                      KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                      yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLYAeE
                                      62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                      t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~vSst-
                                      smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.416667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                      58315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                      zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42qpY
                                      mam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~LwMBsQ
                                      XOJRCpWmU-vG6QW-
                                      OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                      Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYWoEX
                                      kJRDttTXHtU5IKsfY-
                                      gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2Bj9g
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                      58315&Signature=CM-bcy4GkvIZLwyvQ-

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Claim Element                                  Example Infringement Evidence
                                      oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2ww
                                      J4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                      Ll4ZQKe13SeDvD0M~woH-
                                      vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9PY
                                      WZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4Kt6rU
                                      4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lLsWZ3I8tv
                                      jSixRbfhbDdDppd9ufg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                      58315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                      gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwLCE
                                      WqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                      ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA01-
                                      Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeBLQ
                                      9oQeeUI3NiT97-
                                      uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAVQ_
                                      _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                      58315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAEPSZD
                                      a9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp-
                                      4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                      UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaBBa~
                                      4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-1G6e6EUQFJQhQAsbdTNR-
                                      anlsScKypM~dskGmB-AAsYvGbGNB-MAu-xPMTZ8fS-


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Claim Element                                  Example Infringement Evidence
                                      EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.750000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                      58315&Signature=BXa7FwbB-
                                      XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9HhQp
                                      rIM2EVLbLulCYs7d-
                                      NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33XEVC
                                      ubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3zvOOO
                                      m6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn604UoStbeC
                                      RxrNpEYOudkkm79k-
                                      d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                      o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                      58315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                      IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsad7
                                      BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                      V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp2vf
                                      5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrcZyVY
                                      Sd2~kXj3CG-AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-
                                      T~DkokBOYJd8c-vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.666667,



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Claim Element                                  Example Infringement Evidence
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                      058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39nk9it
                                      xzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DVPqjXH1d
                                      cm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                      cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf00w
                                      m8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35dQoPsu
                                      4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJyml8sALw
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                      058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM8Rhb
                                      F9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                      RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvcoG
                                      m-nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                      0EsdN7ZUOam4P-
                                      E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7igyLj
                                      hGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaGZkvaB
                                      ObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                      058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH15~o
                                      QepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqCky3EV~g
                                      yOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-qVVkpgIZkF1HrUvTWvHcEXkVv--
                                      tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5EfbGv


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                                  U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      ~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                      jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                      4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                      058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                      ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28K9
                                      4BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAxMXU8
                                      Ia-iZ8hL6vn4t-
                                      Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                      9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVCgt
                                      Qgeix7e6gBfICuZQf-
                                      ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3sCeV
                                      vdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                      058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6toED9s
                                      TTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                      Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2iI~i
                                      jh7cbzmcgb38F-mazr0uLY-Rp-
                                      E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqaCeE
                                      0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                      BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                      ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                    Example Infringement Evidence
                                        #EXTINF:9.666667,
                                        …
                                        #EXT-X-ENDLIST
                1800000 Bandwidth       #EXTM3U
                                        #EXT-X-VERSION:3
                                        #EXT-X-TARGETDURATION:11
                                        #EXT-X-MEDIA-SEQUENCE:0
                                        …
                                        #EXTINF:10.083333,
                                        https://vcdm-
                                        cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                        58230&Signature=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                        Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGK
                                        UkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                        0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                        3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                        NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                        CYxuCpPt9d50a8kEBRDNl3Tt-
                                        WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                        Id=APKAIPJESLAK2PMGD4PA
                                        #EXTINF:10.333333,
                                        https://vcdm-
                                        cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                        58230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYH
                                        XS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-

                                                     57
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Claim Element                                  Example Infringement Evidence
                                      ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25D
                                      xDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                                      eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                      ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80Lz
                                      LrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.416667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                      58230&Signature=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                      IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                                      zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                      y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                      IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                      2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1s
                                      Xw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                      58230&Signature=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-
                                      fBuAJohvGwaz-
                                      ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53Ru
                                      nAwQ~p3j4P63FEfL-
                                      ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                      eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4
                                      ahEG-
                                      et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZp
                                      KD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                  Example Infringement Evidence
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                      58230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRw
                                      Wgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa
                                      985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQdLrCplH9mJ
                                      AnzYUbb-
                                      p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R
                                      0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75
                                      YdM91BCDnFgTaB2DGhw9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-
                                      3SHA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                      58230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oP
                                      ERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                      OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                      GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                      kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiH
                                      hdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4
                                      s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-
                                      Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.750000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                      58230&Signature=BA-
                                      QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8
                                      IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                                      bCEffj1tx7HH4CKlT3~~9ej~ZenH-

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                                  U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT
                                      1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                      U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                      gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                      58230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                      P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9
                                      uG1gv6uaDUF-
                                      NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPf
                                      N~kJVa94-
                                      XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDAC
                                      ytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                      nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                      vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.666667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                      058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                                      DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                      ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                      sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4
                                      WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIV
                                      BR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQ
                                      xD7AR93CPi6Km6Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,


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Claim Element                                  Example Infringement Evidence
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                      058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J3
                                      9C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2
                                      G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0FqgXFZTeKO
                                      3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                      ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                      G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                      38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                      B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                      058230&Signature=AcGGiMOj6opQRc-iQhv-
                                      t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk
                                      2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                      9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                      ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtw
                                      Vnc-B-rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-
                                      gRlRbR-
                                      naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                      058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39
                                      QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                      l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W
                                      ~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CW


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Claim Element                                          Example Infringement Evidence
                                             xRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41F
                                             mvaEMv8NErO3ANuCG1aLIkLJdb-
                                             ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-
                                             Pair-Id=APKAIPJESLAK2PMGD4PA
                                             #EXTINF:10.333333,
                                             https://vcdm-
                                             cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                             058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yK
                                             A45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYN
                                             WXti2HX96KWLRLluN9-
                                             xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~Fm
                                             cQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VD
                                             volOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibm
                                             BRqlyB-
                                             y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                             Id=APKAIPJESLAK2PMGD4PA
                                             …
                                             #EXT-X-ENDLIST


                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above.
                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media
                Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue
                uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                same Media Sequence Number in different Variant Streams or Renditions have the same position in the

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Claim Element                                           Example Infringement Evidence
                presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the
                relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                corresponding segments.”).
                Indeed, to adapt playback between different bitrate Variant Streams, the End User Device “can use the EXTINF
                durations and the constraints in Section 6.2.4 to determine the approximate location of corresponding media.
                Once media from the new Variant Stream has been loaded, the timestamps in the Media Segments can be used
                to synchronize the old and new timelines precisely.” RFC 8216 at 47.
                Each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                streamlet encoding the same portion of the video in the high quality stream; allow “clients to switch between”
                Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same content” on
                playback. RFC 8216 at 43. Further, HLS provides that “[m]atching content in Variant Streams MUST have
                matching timestamps” to allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media
                Segment in a Media Playlist has an integer Discontinuity Sequence Number. The Discontinuity Sequence
                Number can be used in addition to the timestamps within the media to synchronize Media Segments across
                different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams MUST have matching
                Discontinuity Sequence Numbers.” RFC 8216 at 43.
                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and



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Claim Element                                        Example Infringement Evidence
                receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                listing showing the same alongside the status of the requests.
                 Method    Host                      Path                              …    Status
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude10.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude11.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude12.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude13.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude14.ts?...




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                                              U.S. Patent No. 10,469,554 to Kidoodle


 Claim Element                                               Example Infringement Evidence
                     The Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary
                     entities.” RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player,
                     “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id. at 47 (“The
                     first segment to load is generally the segment that the client has chosen to play first (see Section 6.3.3).”). Then,
                     “[i]n order to play the presentation normally, the next Media Segment” the video player requests and “load[s]
                     the one with the lowest Media Sequence Number that is greater than the Media Sequence Number of the last
                     Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the video player must request a
                     plurality of files with sequential Media Sequence Numbers/timestamps and the requests are made based on the
                     Media Sequence Numbers/timestamps.
                     As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                     version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                     back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                     “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.
                     On information and belief, playlists for the other resolution variants also include these segments, which
                     correspond to the same portion of the video provided from the server(s).
[16.8] receive the   The End User Device accessing Kidoodle.TV receives a streamlet request from the end user station and
requested first      subsequently places a request to the video servers over the one or more network connections for the selected
streamlet from the   stream.
server via the one
                     HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
or more network
                     uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
connections; and
                     can receive a continuous stream of media from a server for concurrent presentation.”).
                     For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                     version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                     switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                     determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                     and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                     the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and

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                                       U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                        Example Infringement Evidence
                receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                listing showing the same alongside the status of the requests.
                 Method    Host                      Path                              …    Status
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude10.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude11.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude12.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude13.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude14.ts?...




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                                              U.S. Patent No. 10,469,554 to Kidoodle


 Claim Element                                                Example Infringement Evidence
                     Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary entities.”
                     RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player accessing
                     Kidoodle.TV, “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id.
                     at 47 (“The first segment to load is generally the segment that the client has chosen to play first (see Section
                     6.3.3).”). Then, “[i]n order to play the presentation normally, the next Media Segment” the End User Device
                     requests and “load[s] the one with the lowest Media Sequence Number that is greater than the Media Sequence
                     Number of the last Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the End User
                     Device must request a plurality of files with sequential Media Sequence Numbers/timestamps and the requests
                     are made based on the Media Sequence Numbers/timestamps.
                     As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                     version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                     back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                     “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.
[16.9] provide the   The End User Device accessing Kidoodle.TV provides the received streamlets to the video player embedded in
received first       the Kidoodle.TV site.
streamlet for
                     In response to requesting the first streamlet via an HTTP GET request, as shown above, the End User Device
playback of the
                     accessing Kidoodle.TV receives the requested streamlet from the server via the one or more network
live event video.
                     connections. See e.g., RFC 8216 at 4 (“Using this protocol, a client can receive a continuous stream of media
                     from a server for concurrent presentation.”); id. at 5 (“To play this Playlist, the client first downloads it and then
                     downloads and plays each Media Segment declared within it. The client reloads the Playlist as described in this
                     document to discover any added segments.” ).
                     For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                     version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                     switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                     determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                     and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                     the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and


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Claim Element                                        Example Infringement Evidence
                receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                listing showing the same alongside the status of the requests.
                 Method    Host                      Path                              …    Status
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude10.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude11.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude12.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude13.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude14.ts?...




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                                       U.S. Patent No. 10,469,554 to Kidoodle


Claim Element                                         Example Infringement Evidence
                Kidoodle confirms that the video player provides video playback to end user stations over a network connection
                on the Kidoodle support webpage, https://about.kidoodle.tv/faq/. There, Kidoodle troubleshoots problems end
                users may have with HLS and instructs users on how to optimize their video playback experience. See
                https://about.kidoodle.tv/faq/.




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                   EXHIBIT N
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               Frequently Asked Questions
If you have any questions, please check here for answers, or contact us at team@kidoodle.tv!




                                                              Cookies Policy
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              Getting Started              Safety                  Utilizing
                                                                   Features




                         Troubleshooting              Industry




 What is Kidoodle.TV®?
 Kidoodle.TV is a premiere streaming service devoted to providing safe, engaging, and
 inspiring experiences for children. We have an extensive global content library featuring
 over 25,000 episodes of popular TV shows, Kidoodle.TV Originals, educational and
 entertaining programming, gaming content and more. The content we feature varies by
 region with new shows added to the service regularly.




 What makes Kidoodle.TV® unique?
 We remain a leader in our commitment to providing a safe space for kids—each and
 every show is vetted by real humans making sure it's appropriate for all audiences.




 How can I watch Kidoodle.TV®?
 We’re available on a wide variety of devices and numerous platforms making it
 accessible to your family when and where you want to watch Kidoodle.TV.




 What is the Parents Room?
 The Parents Room is your one-stop shop to managing your Kidoodle.TV® account
 settings and child’s profiles. The Parents Room can be accessed from the Kidoodle.TV
 app on your mobile device or our website. Once accessed, you can customize your
 child’s profile, manage your subscription, update billing information, access useful
 information on your child’s screen time, adjust parental controls, and toggle shows on
 and off. Note: you must have a Freemium or Premium account to access the Parents
 Room.
                                                                 Cookies Policy
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 Where is Kidoodle.TV® available?
 Kidoodle.TV is available in over 160 countries and regions across the world. To access
 in your region, visit the Apple App Store or Google Play or any way you access
 Kidoodle.TV.




 Is Kidoodle.TV® free?
 On Kidoodle.TV you can watch your favorite shows for free (ad-supported). There’s no
 obligation to sign up or create an account. However, creating an account allows you to
 access the Parents Room where you can use our parental controls such as setting
 bedtime hours, choosing age-appropriate shows, or viewing without ads (Premium
 accounts only). Premium account fees vary depending on region. You can choose the
 experience that best fits your family


 You can choose the experience that best fits your family here.




 How do I remove ads?
 If you wish to remove ads from your viewing experience, you can upgrade to our
 Premium plan for only $4.99USD per month. View our account options here




 How do I upgrade or change my plan?
 You can create a Freemium account on your mobile or streaming device. To upgrade to
 a Premium plan or change your account details you can log into your account here,
 enter the Parents Room, then click on Parents Account and make changes.




                                                              Cookies Policy
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 How can I watch Kidoodle.TV® on the web?
 You’ll first need to have Adobe Flash installed in order to watch on the web. If you still
 run into issues, please try the following steps:
 1) In the URL field of your browser, find the lock icon at the far left, click on that.
 2) Click on "Site Settings".
 3) A new page will open, scroll down to flash.
 4) Change from "ask (default)" to "allow".
 5) Go back to the browser, it should ask you to reload and allow you to watch.




 What’s the video quality of Kidoodle.TV®
 programming?
 We show only high quality, adaptive bit rate streaming of our shows direct to your
 devices, with up to 8K resolution.




                          Download our App!
                        Get Kidoodle.TV® on your device of choice.
                     Download the app and start watching for free today!




                                                                    Cookies Policy
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                           Click to learn more!

                Social Impact is an initiative of A Parent Media Co. Inc.




                                                              Cookies Policy
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                   EXHIBIT O
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                                       U.S. Patent No. 11,677,798 to Kidoodle


        The following claim chart shows exemplary aspects of A Parent Media Co. Inc.’s Kidoodle.TV streaming services and
products (“Kidoodle”) that infringe claim 1 of the ’798 Patent. The chart is exemplary and should not be read to limit DISH’s
assertions against Kidoodle, or any other streaming services offered by A Parent Media Co. Inc. or Kidoodle as to the services
or products described below. The chart should not be read to limit DISH’s assertions to the patent claim charted below. Nor
should the chart below be read to limit how Kidoodle infringes the claim below.
  Claim Element                                                Example Infringement Evidence
 [11.pre] An end      Kidoodle includes information and Applications that include an end user station which streams a video over a
 user station         network from a server for playback of the video. Kidoodle is executable by devices that obtain streams of a
 comprising:          selected video program for playback. The streams include live streams that are obtained from one or more
                      servers affiliated with Kidoodle over a network.
                      The images in this chart are from a device accessing the Kidoodle.tv website through a web browser, such as
                      Microsoft Edge, Google Chrome, or iOS Safari. Kidoodle.tv supports all major web browsers. See
                      https://about.kidoodle.tv/ (“We’re available across all available platforms.”).




                      https://about.kidoodle.tv/ (“We’re available across all available platforms.”)




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                                U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                            Example Infringement Evidence
                Kidoodle also includes applications for all platforms, including Apple App Store for iOS devices, Google Play
                for Android devices, Roku, and Amazon Fire TV, which also access the Kidoodle.tv website to stream video
                content. See https://about.kidoodle.tv/watch-now/




                https://about.kidoodle.tv/watch-now/
                 Upon information and belief, the aforementioned device that accesses Kidoodle.tv through a website, and the
                applications that access Kidoodle.tv (collectively, “End User Device”) operate in the same or substantially the
                same way for purposes of this chart.




                                                     2
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                                U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                           Example Infringement Evidence
                The one or more servers accessible by Kidoodle store video files which are streamed to the end user stations.
                The following are examples of the videos that may be streamed from the one or more servers to the End User
                Device(s). See https://kidoodle.tv/.




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 Claim Element                                                 Example Infringement Evidence
                      https://kidoodle.tv/.
                      Tests were conducted on videos offered over the Kidoodle.TV site accessed on a personal computer (e.g., End
                      User Device). As part of the testing, the End User Device was connected to the internet through the Charles
                      Proxy application, which enabled the abilities to proxy the device’s network traffic, to view the device’s network
                      traffic, and to throttle the network’s available bandwidth. Thus, the test simulated how Kidoodle responded to
                      lower and higher bandwidths. For the current test, a video titled “Dude Perfect” was selected. When the user
                      selects a video from the available videos, the media player embedded in the Kidoodle.TV site displays more
                      details regarding the video and provides the user with the option to view the video.
                      Selecting the icon corresponding to a video causes that video and other materials to be streamed and displayed
                      on the user’s device.
                      With respect to adaptively receiving the digital stream from the video server over the network, the media player
                      embedded in the Kidoodle.TV site accesses adaptive bitrate streams are provided to the End User Device from a
                      server affiliated with Kidoodle over a network using the HTTP Live Streaming (“HLS”) adaptive bitrate
                      streaming protocol. HLS is “a protocol for transferring unbounded streams of multimedia data.” Request For
                      Comments: 8216 – HTTP Live Streaming, August 2017 (“RFC 8216”) at 1. Using HLS, “a client can receive a
                      continuous stream of media from a server for concurrent presentation.” RFC 8216 at 4. HLS “allows a receiver
                      to adapt the bitrate of the media to the current network conditions in order to maintain uninterrupted playback at
                      the best possible quality.” RFC 8216 at 4. With HLS, “[c]lients should switch between different Variant Streams
                      to adapt to network conditions.” RFC 8216 at 5.


[11.1] a processor,   Kidoodle’s content is accessible on End User Devices. https://about.kidoodle.tv/ (“We’re available across all
                      available platforms.”). Example end user devices include personal computers, Macintosh computers, Apple
                      iPhones, Apple iPads, Android phones, Android tablets, and smart TV devices equipped to access the internet
                      via one or more network connections. The end users’ devices include a processor configured to enable video
                      streaming.



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                                      U.S. Patent No. 11,677,798 to Kidoodle


 Claim Element                                                 Example Infringement Evidence




                     See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)


                     The screenshots in this chart of the Kidoodle website are from accessing the Kidoodle website on an Apple
                     iPhone or Windows computer. On information and belief, at least one of the devices capable of accessing and
                     viewing Kidoodle content contains a processor.
[11.2] a digital     As explained above, Kidoodle’s content is accessible on end users’ devices. Example end user devices include
processing           personal computers, Macintosh computers, Apple iPhones, Apple iPads, Android phones, Android tablets, and
apparatus memory     smart TV devices equipped to access the internet via one or more network connections. The end users’ devices
device comprising    include a processor configured to enable video streaming. The end users’ devices also include memory devices
non-transitory       having non-transitory machine-readable instructions that cause an end user device to establish one or more
machine-readable     internet connections between the end user station and the one or more servers hosting Kidoodle videos, and the
instructions that,   one or more servers are configured to access at least one of a plurality of groups of streamlets of digital content.
when executed,



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                                       U.S. Patent No. 11,677,798 to Kidoodle


 Claim Element                                                 Example Infringement Evidence
cause the             Through the established network connection, the devices streaming Kidoodle access video programs that are
processor to:         stored on one or more servers for display on the devices via the video player accessing the Kidoodle.TV site. See
                      also
establish one or
more network
connections
between the end
user station and at
least one server,
wherein the at
least one server is
configured to
access at least one
of a plurality of
groups of
streamlets of
digital content;      See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)
                      The one or more servers hosting Kidoodle.TV video programs store streamlets corresponding to particular
                      segments of a video program, and each streamlet is encoded at one of numerous resolutions. Each of the stored
                      streams, or variant playlists, comprises a plurality of streamlets at the same resolution. The arrangements of each
                      variant playlist ensure the sequential playback of the streams at a resolution supported by the available network
                      bandwidth.
                      For example, in the instant test of a video titled “Dude Perfect,” the end user station: established a network
                      connection, connected with the one or more Kidoodle servers, and made an HTTP GET request to
                      prod.kidoodle.tv for a master manifest located at the following path:
                      https://prod.kidoodle.tv/api/2.0/content/elemental-source/web/2545/94152/670158/watch/manifest.m3u8
                      (hereafter referred to as the “Master Manifest” or “manifest.m3u8”). The Master Manifest returned the




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                                U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                           Example Infringement Evidence
                following contents, reflecting the Uniform Resource Indicators (“URIs”) of the various variant playlists hosting
                at least a group of streamlets:
                 #EXTM3U
                 #EXT-X-VERSION:3
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                 8.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
                 7.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                 6.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
                 5.m3u8
                File path: manifest.m3u8
                The master playlist shows four versions of the video stream at the following bandwidths:
                      300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                      1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                      500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                      800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406


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                                               U.S. Patent No. 11,677,798 to Kidoodle


          Claim Element                                                Example Infringement Evidence


                              For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                              selected video program at a particular bandwidth and resolution. Each variant playlist, or version playlist, is
                              defined by the token associated with the stream file path. For example:


                               Bandwidth           Token1
                               300000              8.m3u8?...
                               Bandwidth
                               1800000             7.m3u8?...
                               Bandwidth
                               500000              6.m3u8?...
                               Bandwidth
                               800000              5.m3u8?...
                               Bandwidth


                              Each of the variant playlists includes segments, or streamlets, that encode the same portion of the video at
                              various qualities. For example, the 300000 Bandwidth version can be considered a low-quality stream, the
                              500000 or 800000 Bandwidth version can be considered a medium-quality stream, and the 1800000
                              Bandwidth version can be considered a high-quality stream.




1
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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                                                 U.S. Patent No. 11,677,798 to Kidoodle


             Claim Element                                               Example Infringement Evidence
                                Kidoodle also uses HTTPS GET requests to retrieve the segments, or streamlets, of the encoded video specified
                                in the file above from the one or more servers hosting Kidoodle content.
                                The Media Playlist for each of the Variant Streams identifies a group of streamlets associated with each of the
                                different copies, as the exemplary Media Playlist shown below illustrates. See RFC 8216 at 38 (“The server
                                must create a Media Playlist file (Section 4) that contains a URI for each Media Segment that the server wishes
                                to make available, in the order in which they are to be played.”); see also RFC 8216 at 4 (“A multimedia
                                presentation is specified by a Uniform Resource Identifier (URI) [RFC3986] to a Playlist.”); RFC 8216 at 4 (“A
                                Media Playlist contains a series of Media Segments that make up the overall presentation. A Media Segment is
                                specified by a URI and optionally a byte range.”).
                                As shown by the Charles Proxy application file, partially reproduced below, the streamlet video files are hosted
                                on a server accessible via https://vcdm-cf.kidoodle.tv/. The server accesses the stored streamlet files for
                                playback on an end user device.
                                 Method     Host                      Path2                     …         Status
                                 GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                                      _WorldsStrongestDude
                                                                      0.ts?...
                                 GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                                      _WorldsStrongestDude
                                                                      1.ts?...
                                 GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                                      _WorldsStrongestDude
                                                                      2.ts?...



2
    Video path abbreviated for readability throughout.


                                                                    10
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Claim Element                                           Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv      361/670158/7/hls/S0E4     …         Complete
                                                     _WorldsStrongestDude
                                                     3.ts?...


                Importantly, the test video “Dude Perfect” is a video uploaded to servers hosting Kidoodle content. On
                information and belief, the live event videos offered to Kidoodle viewers are similarly encoded at multiple
                resolutions, hosted on one or more servers, and accessed through HTTP Get Requests by end users’ devices,
                such that they similarly perform the demonstrated claim limitations.
                As shown in the test data, Kidoodle selects the 1800000 Bandwidth version of the stream and makes a request
                for the corresponding playlist. The Kidoodle Server(s) returns the playlist file with the following contents:
                       #EXTM3U
                       #EXT-X-VERSION:3
                       #EXT-X-TARGETDURATION:11
                       #EXT-X-MEDIA-SEQUENCE:0
                       #EXTINF:10.750000,
                       https://vcdm-
                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude0.ts?Expires=1692058230&Signat
                       ure=X-j9VAHmYvweCM-
                       dblOesIErSUUPPye19SnCx9oSQaIPIQ9PYd9fEqw70kunQdE0c9VdJUJT05ewHTOHxwr0fXs
                       g1UCjh2MBBBXuSguMBNLDplNuJxeg9ZzZpeEfPNC~k-
                       GWyC79vUAs1SasIIG1VfVy89Kb7cBiHt17-
                       baaBU01zty90WpmmejGY~vYOoen7gdJ9v7M~z0lVVREBiyygE7A0vGww6pEpEMztwSZZ4
                       ZoBkCdhZmLe3vjUm5MMr8nrU8n~ljj6fEYV3GeQiNlSEAApGW1qa5cNtQOhfX2ClzKrGHx
                       paXUKqEheDRGyCs2u3bOEHjqRm2o1-ynSK5rFw__&Key-Pair-
                       Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                      Example Infringement Evidence
                     #EXTINF:9.250000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude1.ts?Expires=1692058230&Signat
                     ure=CDpwAf98XhRNKYFrCcv-
                     ofhY3VrgZ6T7M~dt8AXR4VRuOrMTiwDrlCQfZ01vbPEmfi~L0OK6K9Y6rlItw3hSboVNYc-
                     Bs8Kxtaqz~kiDoN3TvSHmiaPcpjGO03IQ5nLbwn-
                     gcptixhXoqmhAYSfFJ8q1NrOHvq5WzlOKvx8v10snMl1mxS0fC5VRDXEYbkCvLSqe8OBa8
                     kev2TqT8dZw7uFepqygtWzr5C0u-
                     6nWGZHqw4vC0d~N50BQSxQ5bjMz28sAs1vw2KmnoYx4exlNb1EE6M6nUPCA3C9dc5tei7
                     fB4UUZDjALiy3x7tOF3Zd2KJg6yxsNQC3ER8sD8g98SQ__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.083333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=1692058230&Signat
                     ure=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                     Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGKUkDDfL7nBd
                     gfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                     0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                     3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                     NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                     CYxuCpPt9d50a8kEBRDNl3Tt-WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=1692058230&Signat
                     ure=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYHXS2lrrpkid5FBs5f~c3CtijVa
                     HEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                     ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25DxDRs3Pb1hLf
                     DUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-

                                              12
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Claim Element                                      Example Infringement Evidence
                     eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                     ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80LzLrDZuk~tezw
                     __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.416667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=1692058230&Signat
                     ure=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                     IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                     zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                     y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-IHBaxLCvWoKA9Giwd1F-
                     Xcd7C9pLd800urg-20HZuei-
                     2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1sXw8yILs-
                     Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=1692058230&Signat
                     ure=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                     ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53RunAwQ~p3j4P6
                     3FEfL-ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                     eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4ahEG-
                     et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZpKD6UQPz8JI4
                     OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=1692058230&Signat
                     ure=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRwWgpnq8loZdNXxJusEz1BjFd
                     SviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0
                     wbL~iNVzRc2OWelQdLrCplH9mJAnzYUbb-


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Claim Element                                      Example Infringement Evidence
                     p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R0RNnvRIBG1
                     b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75YdM91BCDnFgTaB2DGh
                     w9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=1692058230&Signat
                     ure=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oPERBiu3cpkU1bmx18V7z1k
                     BeG7n-P9XrAsdZrTSeBc5Z-OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                     GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                     kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiHhdLg4riLBkF
                     xOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4s0AgtlqDkqHnu~HRUoAO
                     GTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.750000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=1692058230&Signat
                     ure=BA-
                     QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8IS2H2uktgoA
                     vqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                     bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                     ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT1CCM4eWrFn
                     IrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-
                     y4JfUClu3a2s-gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=1692058230&Signat
                     ure=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-


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Claim Element                                      Example Infringement Evidence
                     P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9uG1gv6uaDU
                     F-NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPfN~kJVa94-
                     XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDACytArwL9~CtJ
                     qifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-
                     rtvvpM2YO35x3QnHMYJlpNjIg-vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.666667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692058230&Signa
                     ture=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                     DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                     ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                     sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4WyWQN5SB
                     0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIVBR5qqb2UlZTE9zXwNFW
                     4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692058230&Signa
                     ture=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J39C0TOfHfhkuWX3GNV~B
                     7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk
                     6YyHaHA~YwMvSqF0FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                     ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                     G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                     38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-B3UWdy9CAhNg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692058230&Signa


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Claim Element                                      Example Infringement Evidence
                     ture=AcGGiMOj6opQRc-iQhv-
                     t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk2w0HmAaV5
                     pV1n11kWK-NV93ZRSPKyTc-
                     9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                     ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtwVnc-B-
                     rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                     naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692058230&Signa
                     ture=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39QN0fozRAJiDpxwfbGRLiCs
                     cRoibOsDnp8g45-N1Dv-
                     l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W~EUgXwn45U
                     nLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CWxRJaJXKIU7fPKI0rm2WKO
                     etZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                     ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692058230&Signa
                     ture=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yKA45ce57fGCLQkOTs9rLwvG
                     KYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYNWXti2HX96KWLRLluN9-
                     xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~FmcQCx17kws4l
                     Jq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VDvolOXbtWeRISpeUtqRcyPv
                     lEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibmBRqlyB-
                     y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA



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Claim Element                                      Example Infringement Evidence
                     #EXTINF:9.458333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude15.ts?Expires=1692058230&Signa
                     ture=EmKhQ97V1kC2nux03LOh0AsSs8x3T5uYyPU7uQwFWokFiT5Z1lXPDOYuvT4gX8H2
                     9x5ZwaGw9fzRPXaevWiB-ZyaBTwKdD5sNiXzC85OSWOECID-
                     V1OWE4FK0zsvdbK5AhvJ3UvtNzufrrcBM9deA1B0PD8NLxZ9at3GlebQlcoyuvMPmcogOD
                     7uPWbGcRUMw~kfl6JvTlQDcqbh7Azckr8Pj85rDKpY7ffr3dNqHK45HTx4Hq8P6BJ5HsI7--
                     xXzimlgev1OuXSYnXwUib-ejbAqhnf-
                     VcwgEuwFi2u9imp45LbHP~4ChIHJ2y5zkOvk6Vd6Rhlwe5QE~-91Ya7OA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude16.ts?Expires=1692058230&Signa
                     ture=D9tydyyfLvc63w423qjALtY-u7peL5T09eMLvlf3qIhCt-
                     z8xRmbnXtpHEtXxwqI~tQqCssOLXwaC-EY-
                     2o2wPfVMWWMVFw1vyi~T~DBrixO4J9gdgCnN7XiGrI8Ebe--Pchv5-H7e-
                     ReOIuUWsSOryzM6xfIOlM1KN-
                     dlXCqfCpIXnyOZOwsnVFAgxZcekcLrarB8e8SpE1wobXIogjk2DGMr3GmYymTXsGFiODw
                     XBTMuhWRcV1TARZLMK69oozNgv6-Te97KflduUeZVt6zapVj-
                     6Q8ZK7x7J9EFxmFwPXe7~SFFUQTxFMNJcu0esokmKOAR2tCxznBheaUR1Gag__&Key-
                     Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXT-X-CUE-OUT: 0
                     #EXT-X-CUE-IN
                     #EXTINF:8.375000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude17.ts?Expires=1692058230&Signa
                     ture=G0-13akiy1zABYLlQcnx7Om3pfZaPh~26uL9-
                     jwDy9bwyV6KOSVTJ9uknM13xLq12pki6n6V0cWIDrQvpsvz2Tl8~ewAUkjzwesP-

                                              17
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 Claim Element                                                    Example Infringement Evidence
                              1XnJuY9tolEBNTaipdcKKeCNLw8LB9El~9einSOyMxcXmzX7ieVVlu-A~wi2GwbcMUb-
                              w8OlvYZjVa9yTxzoz2TUjkHqFmJQ6NJ4rrnmzIsAyFu75W71LOHC-J1vs0dbN-
                              S581jzsrg6WtUI9CbxM59TmAdLLJfnKS7XAgU5a0u~0ZbPF5Ne4z3xFWkif4joJCRc8E991A
                              Rl8BUoyFCth3z8vJDd-uDp5M-br~nKEfRI5ZvBg__&Key-Pair-
                              Id=APKAIPJESLAK2PMGD4PA
                              #EXT-X-ENDLIST


                       The variant playlist file is an HLS playlist. Each line in the file path
                       “361/670158/7/hls/S0E4_WorldsStrongestDude17.ts...” that begins with “#EXTINF” specifies the length of the
                       segments in seconds. The line below the #EXTINF file is the location of the video file. In the variant playlist
                       shown above, the segments of the video are separated by commercial segments. Each of the streamlets (except
                       the first and final streamlets of each playlist) is approximately 8-10 seconds long and returns sequential
                       segments of the video program and/or commercial.
                       As long as the viewer continues watching the video and the bandwidth is adequate to support the chosen
                       resolution, the end user device will continue to request (and Kidoodle.TV will provide) streamlets corresponding
                       to the current, chosen resolution.


[11.3] wherein the     The digital content (e.g., Kidoodle videos) is encoded at a plurality of different bit rates to create a plurality of
digital content is     streams including at least a first bit rate stream, a second bit rate stream, and a third bit rate stream, wherein each
encoded at a           of the first bit rate stream, the second bit rate stream, and the third bit rate stream comprises a group of
plurality of           streamlets encoded at the same respective one of the different bit rates, each group comprising at least first and
different bit rates    second streamlets, each of the streamlets corresponding to a portion of the digital content.
to create a
                       In the instant test, a personal computer accessing the Kidoodle.TV site through a web browser makes a HTTPS
plurality of
                       GET request to prod.kidoodle.tv for the Master Manifest of a video program titled “Dude Perfect.” As shown in
streams including
                       the excerpts of the Master Manifest below, the video available is encoded at 4 different bitrates.
at least a first bit
rate stream, a


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 Claim Element                                            Example Infringement Evidence
second bit rate       #EXTM3U
stream, and a third
                      #EXT-X-VERSION:3
bit rate stream,
wherein each of       #EXT-X-STREAM-
the first bit rate    INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
stream, the second
bit rate stream, and 8.m3u8
the third bit rate    #EXT-X-STREAM-
stream comprises a INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
group of
streamlets encoded 7.m3u8
at the same           #EXT-X-STREAM-
respective one of     INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
the different bit
rates, each group     6.m3u8
comprising at least   #EXT-X-STREAM-
first and second      INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
streamlets, each of
the streamlets        5.m3u8
corresponding to a
                     File path: manifest.m3u8
portion of the
digital content;     The master playlist shows four versions of the video stream at the following bandwidths:
                          300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                          1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                          500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                          800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406




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          Claim Element                                                Example Infringement Evidence
                              For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                              selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                              associated with the stream file path. For example:


                               Bandwidth          Token3
                               300000             8.m3u8?...
                               Bandwidth
                               1800000            7.m3u8?...
                               Bandwidth
                               500000             6.m3u8?...
                               Bandwidth
                               800000             5.m3u8?...
                               Bandwidth


                              Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                              For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                              Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                              considered a high-quality stream.
                              As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                              or streamlets, that encode segments of the video program. The streamlet files within each version playlist are


3
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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Claim Element                                            Example Infringement Evidence
                arranged in ascending chronological order, beginning with the first segment of the video program, and
                progressing until the final segment of the video program.
                 Bandwidth                      Streamlet (segment)
                 500000 Bandwidth               #EXTM3U
                                                #EXT-X-VERSION:3
                                                #EXT-X-TARGETDURATION:11
                                                #EXT-X-MEDIA-SEQUENCE:0
                                                …
                                                #EXTINF:10.083333,
                                                https://vcdm-
                                                cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                                2058315&Signature=fvGyZzCNd-crO6-
                                                JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                                ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                                SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                                fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                                -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                                8Zf6oIUQQca-
                                                5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                                _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                #EXTINF:10.333333,
                                                https://vcdm-
                                                cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                                2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU

                                                    21
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Claim Element                                     Example Infringement Evidence
                                          QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                          KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                          yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                          AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                          t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                          Sst-
                                          smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                          Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                          zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                          qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                          wMBsQXOJRCpWmU-vG6QW-
                                          OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                          Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                          oEXkJRDttTXHtU5IKsfY-
                                          gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                          Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                          oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                          wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                          Ll4ZQKe13SeDvD0M~woH-


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Claim Element                                     Example Infringement Evidence
                                          vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                          YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                          Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                          sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                          gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                          CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                          ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                          01-
                                          Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                          LQ9oQeeUI3NiT97-
                                          uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                          Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                          PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                          -
                                          4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                          UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                          Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                          1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-


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Claim Element                                     Example Infringement Evidence
                                          xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058315&Signature=BXa7FwbB-
                                          XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                          hQprIM2EVLbLulCYs7d-
                                          NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                          EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                          zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                          04UoStbeCRxrNpEYOudkkm79k-
                                          d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                          o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                          IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                          d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                          V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                          2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                          ZyVYSd2~kXj3CG-
                                          AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                          vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,


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Claim Element                                     Example Infringement Evidence
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                          nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                          PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                          cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                          00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                          dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                          yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                          8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                          RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                          oGm-
                                          nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                          0EsdN7ZUOam4P-
                                          E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                          yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                          ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                          15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                          ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-


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Claim Element                                     Example Infringement Evidence
                                          qVVkpgIZkF1HrUvTWvHcEXkVv--
                                          tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                          Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                          jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                          4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                          ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                          K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                          MXU8Ia-iZ8hL6vn4t-
                                          Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                          9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                          gtQgeix7e6gBfICuZQf-
                                          ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                          CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                          92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                          ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                          Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                          iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                          E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                          CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-


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Claim Element                                      Example Infringement Evidence
                                          BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                          ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.666667,
                                          …
                                          #EXT-X-ENDLIST
                1800000 Bandwidth         #EXTM3U
                                          #EXT-X-VERSION:3
                                          #EXT-X-TARGETDURATION:11
                                          #EXT-X-MEDIA-SEQUENCE:0
                                          …
                                          #EXTINF:10.083333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                          2058230&Signature=QCE8vv-
                                          PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                          Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                          GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                          0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                          3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                          NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                          CYxuCpPt9d50a8kEBRDNl3Tt-
                                          WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,


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Claim Element                                     Example Infringement Evidence
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                          ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                          ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                          5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                          6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                          ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                          0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058230&Signature=eBd8Be4aj-
                                          PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                          IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                          Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                          y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                          IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                          2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                          x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058230&Signature=R83mjHLH07WWvwga8NT-
                                          JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                          ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                          RunAwQ~p3j4P63FEfL-
                                          ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-


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Claim Element                                     Example Infringement Evidence
                                          eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                          hv4ahEG-
                                          et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                          ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                          KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                          JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                          LrCplH9mJAnzYUbb-
                                          p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                          4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                          Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                          6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                          2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                          OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                          GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                          kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                          uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                          wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                          __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058230&Signature=BA-
                                          QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                          K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                          KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                          ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                          eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                          U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                          gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                          P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                          Nv9uG1gv6uaDUF-
                                          NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                          MPfN~kJVa94-
                                          XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                          DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                          nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                          vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                          X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-

                                             30
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Claim Element                                     Example Infringement Evidence
                                          ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                          sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                          5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                          kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                          VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                          BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                          mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                          FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                          ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                          G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                          38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                          B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                          t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                          etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                          9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                          ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                          twVnc-B-rQwaARTzxnztYW8tW~n19-
                                          HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                          naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                          XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                      Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                          Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                          l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                          8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                          v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                          FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                          ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                          Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                          92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                          b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                          6J9WYNWXti2HX96KWLRLluN9-
                                          xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                          FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                          m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                          gqYwbibmBRqlyB-
                                          y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          …
                                          #EXT-X-ENDLIST




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Claim Element                                             Example Infringement Evidence
                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.
                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
                Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
                The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                make up the overall presentation.”).
                Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,

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 Claim Element                                                     Example Infringement Evidence
                        where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                        at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                        The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                        each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                        the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                        allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                        present the same content” on playback. RFC 8216 at 43.


[11.4] wherein at       As explained above, Kidoodle videos are encoded at a plurality of different bitrates to create a plurality of
least one of the        streams including at least low, medium, and high quality streams. At least one of the low quality stream, the
first bit rate          medium quality stream, and the high quality stream is encoded at a bitrate of no less than 600 kbps.
stream, the second
                        File path: manifest.m3u8
bit rate stream, and
the third bit rate      The master playlist shows four versions of the video stream at the following bandwidths:
stream is encoded
at a bit rate of no           300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
less than 600 kbps;           1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
and                           500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                              800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406


[11.5] wherein the      The first streamlets of each of the first bit rate stream, the second bit rate stream and the third bit rate stream
first streamlets of     each has an equal playback duration and each of the first streamlets encodes the same portion of the digital
each of the first bit   content at a different one of the different bit rates.
rate stream, the
                        As set forth above, each of the Variant Streams “describes a different version of the same content.” RFC 8216 at
second bit rate
                        5. Thus, each of the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at
stream and the
                        42. Indeed, to allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant
third bit rate
                        Stream MUST present the same content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching
stream each has an
                        content in Variant Streams MUST have matching timestamps” to allow the video player to synchronize the

                                                              34
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 Claim Element                                                  Example Infringement Evidence
equal playback         media. Id. Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number.
duration and each      The Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
of the first           Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
streamlets encodes     MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
the same portion
                       As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
of the digital
                       or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
content at a
                       arranged in ascending chronological order, beginning with the first segment of the video program and
different one of the
                       progressing until the final segment of the video program. As noted above, the variant playlist file is an HLS
different bit rates;
                       playlist. Each line in the file that begins with “#EXTINF” specifies the length of the segments in seconds. The
                       line below the #EXTINF file is the location of the video file. In the present test, the End User Device accessing
                       Kidoodle.TV uses HTTPS GET requests to request and retrieve the segments of the encoded stream specified in
                       the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
                       streamlets) is approximately 8-10 seconds long.
                       The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                       bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                       segmented moments in the video.
                                 Bandwidth                           File line (#EXTINF: length) (portion of live stream)
                        500000 Bandwidth                #EXTM3U
                                                        #EXT-X-VERSION:3
                                                        #EXT-X-TARGETDURATION:11



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Claim Element                                      Example Infringement Evidence
                                          #EXT-X-MEDIA-SEQUENCE:0
                                          …
                                          #EXTINF:10.083333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                          2058315&Signature=fvGyZzCNd-crO6-
                                          JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                          ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                          SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                          fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                          -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                          8Zf6oIUQQca-
                                          5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                          _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                          QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                          KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                          yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                          AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                          t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                          Sst-
                                          smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                          Pair-Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                     Example Infringement Evidence
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                          zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                          qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                          wMBsQXOJRCpWmU-vG6QW-
                                          OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                          Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                          oEXkJRDttTXHtU5IKsfY-
                                          gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                          Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                          oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                          wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                          Ll4ZQKe13SeDvD0M~woH-
                                          vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                          YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                          Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                          sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169

                                             37
     Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 330 of 863 PageID #: 384

                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                          2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                          gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                          CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                          ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                          01-
                                          Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                          LQ9oQeeUI3NiT97-
                                          uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                          Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                          PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                          -
                                          4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                          UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                          Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                          1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                          xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058315&Signature=BXa7FwbB-
                                          XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                          hQprIM2EVLbLulCYs7d-


                                             38
     Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 331 of 863 PageID #: 385

                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                          NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                          EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                          zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                          04UoStbeCRxrNpEYOudkkm79k-
                                          d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                          o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                          IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                          d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                          V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                          2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                          ZyVYSd2~kXj3CG-
                                          AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                          vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                          nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                          PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                          cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                          00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                          dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                          yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA


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     Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 332 of 863 PageID #: 386

                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                          8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                          RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                          oGm-
                                          nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                          0EsdN7ZUOam4P-
                                          E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                          yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                          ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                          15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                          ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                          qVVkpgIZkF1HrUvTWvHcEXkVv--
                                          tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                          Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                          jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                          4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16

                                             40
     Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 333 of 863 PageID #: 387

                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                      Example Infringement Evidence
                                          92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                          ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                          K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                          MXU8Ia-iZ8hL6vn4t-
                                          Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                          9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                          gtQgeix7e6gBfICuZQf-
                                          ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                          CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                          92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                          ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                          Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                          iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                          E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                          CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                          BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                          ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.666667,
                                          …
                                          #EXT-X-ENDLIST
                1800000 Bandwidth         #EXTM3U
                                          #EXT-X-VERSION:3


                                              41
     Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 334 of 863 PageID #: 388

                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                      Example Infringement Evidence
                                          #EXT-X-TARGETDURATION:11
                                          #EXT-X-MEDIA-SEQUENCE:0
                                          …
                                          #EXTINF:10.083333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                          2058230&Signature=QCE8vv-
                                          PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                          Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                          GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                          0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                          3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                          NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                          CYxuCpPt9d50a8kEBRDNl3Tt-
                                          WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                          ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                          ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                          5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                          6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                          ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                          0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,


                                              42
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                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058230&Signature=eBd8Be4aj-
                                          PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                          IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                          Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                          y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                          IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                          2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                          x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058230&Signature=R83mjHLH07WWvwga8NT-
                                          JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                          ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                          RunAwQ~p3j4P63FEfL-
                                          ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                          eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                          hv4ahEG-
                                          et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                          ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                          KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc


                                             43
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                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                          JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                          LrCplH9mJAnzYUbb-
                                          p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                          4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                          Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                          6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                          2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                          OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                          GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                          kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                          uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                          wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                          __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058230&Signature=BA-
                                          QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                          K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                          KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                          ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                          eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                          U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-



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                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                          gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                          P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                          Nv9uG1gv6uaDUF-
                                          NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                          MPfN~kJVa94-
                                          XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                          DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                          nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                          vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                          X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                          ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                          sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                          5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                          kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                          VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16


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                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                          92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                          BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                          mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                          FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                          ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                          G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                          38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                          B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                          t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                          etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                          9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                          ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                          twVnc-B-rQwaARTzxnztYW8tW~n19-
                                          HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                          naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                          XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                          Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                          l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                          8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                          v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                          FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-


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Claim Element                                            Example Infringement Evidence
                                                ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                #EXTINF:10.333333,
                                                https://vcdm-
                                                cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                6J9WYNWXti2HX96KWLRLluN9-
                                                xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                gqYwbibmBRqlyB-
                                                y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                Id=APKAIPJESLAK2PMGD4PA
                                                …
                                                #EXT-X-ENDLIST


                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above. Similarly, on
                information and belief, the other bandwidth version streamlets are the same durations as the 500000 Bandwidth
                and 1800000 Bandwidth versions.
                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media
                Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue
                uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                same Media Sequence Number in different Variant Streams or Renditions have the same position in the

                                                    47
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          Claim Element                                                   Example Infringement Evidence
                               presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the
                               relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                               corresponding segments.”).
        [11.6] determine       The End User Device determines whether to select a higher or lower bit rate copy of the stream and based on
        whether to select a    that determination, select a specific one of the first bit rate stream, the second bit rate stream, and the third bit
        higher or lower bit    rate stream.
        rate copy of the
                               HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
        stream and based
                               uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
        on that
                               can receive a continuous stream of media from a server for concurrent presentation.”).
        determination,
        select a specific      As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
        one of the first bit   video stream at the following bandwidths:
        rate stream, the
        second bit rate               300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
        stream, and the               1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
        third bit rate                500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
        stream;                       800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                               For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                               selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                               associated with the stream file path. For example:
                                Bandwidth            Token4
                                300000               8.m3u8?...
                                Bandwidth


4
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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Claim Element                                           Example Infringement Evidence
                 1800000            7.m3u8?...
                 Bandwidth
                 500000             6.m3u8?...
                 Bandwidth
                 800000             5.m3u8?...
                 Bandwidth


                The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                the same alongside the status of the requests.
                 Method    Host                         Path                            …    Status
                 GET       vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …       Complete
                                                        Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …       Complete
                                                        Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …       Complete
                                                        Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …       Complete
                                                        Dude9.ts?...


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 Claim Element                                                   Example Infringement Evidence
                        GET        vcdm-cf.kidoodle.tv           …/6/hls/S0E4_WorldsStrongest …         Complete
                                                                 Dude10.ts?...
                        GET        vcdm-cf.kidoodle.tv           …/6/hls/S0E4_WorldsStrongest …         Complete
                                                                 Dude11.ts?...
                        GET        vcdm-cf.kidoodle.tv           …/6/hls/S0E4_WorldsStrongest …         Complete
                                                                 Dude12.ts?...
                        GET        vcdm-cf.kidoodle.tv           …/7/hls/S0E4_WorldsStrongest …         Complete
                                                                 Dude13.ts?...
                        GET        vcdm-cf.kidoodle.tv           …/7/hls/S0E4_WorldsStrongest …         Complete
                                                                 Dude14.ts?...


                       Additionally, HLS provides that “[m]atching content in Variant Streams MUST have matching timestamps” to
                       allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media Segment in a Media Playlist has
                       an integer Discontinuity Sequence Number. The Discontinuity Sequence Number can be used in addition to the
                       timestamps within the media to synchronize Media Segments across different Renditions.” RFC 8216 at 39.
                       Thus, “[m]atching content in Variant Streams MUST have matching Discontinuity Sequence Numbers.” RFC
                       8216 at 43.


[11.7] place a first   The End User Device places a first streamlet request to the at least one server over the one or more network
streamlet request      connections for the first streamlet of the selected stream.
to the at least one
                       The variant playlists file are HLS playlists. Each line in the file that begins with “#EXTINF” specifies the length
server over the one
                       of the segments in seconds. The line below the #EXTINF file is the location of the video file. In the present test,
or more network
                       the End User Device accessing Kidoodle.TV requests and retrieves the segments of the encoded stream specified
connections for the
                       in the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
first streamlet of
                       streamlets) is approximately 8-10 seconds long.


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 Claim Element                                            Example Infringement Evidence
the selected     The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
stream;          cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
                 cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
                 cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                 cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                 cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                 bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                 segmented moments in the video.
                    Bandwidth Version                        File line (#EXTINF: length) (portion of live stream)
                  500000 Bandwidth            #EXTM3U
                                              #EXT-X-VERSION:3
                                              #EXT-X-TARGETDURATION:11
                                              #EXT-X-MEDIA-SEQUENCE:0
                                              …
                                              #EXTINF:10.083333,
                                              https://vcdm-
                                              cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                              58315&Signature=fvGyZzCNd-crO6-
                                              JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-ERIBXKGkK~-
                                              uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                              SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMvfBl
                                              YgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb-
                                              4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                              8Zf6oIUQQca-



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Claim Element                                     Example Infringement Evidence
                                       5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg__&
                                       Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:10.333333,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                       58315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigUQOQg
                                       L~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                       KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                       yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLYAeE
                                       62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                       t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~vSst-
                                       smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-Pair-
                                       Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:10.416667,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                       58315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                       zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42qpY
                                       mam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~LwMBsQ
                                       XOJRCpWmU-vG6QW-
                                       OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                       Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYWoEX
                                       kJRDttTXHtU5IKsfY-
                                       gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2Bj9g
                                       __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:10.125000,


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Claim Element                                     Example Infringement Evidence
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                       58315&Signature=CM-bcy4GkvIZLwyvQ-
                                       oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2ww
                                       J4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                       Ll4ZQKe13SeDvD0M~woH-
                                       vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9PY
                                       WZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4Kt6rU
                                       4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lLsWZ3I8tv
                                       jSixRbfhbDdDppd9ufg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.916667,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                       58315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                       gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwLCE
                                       WqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                       ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA01-
                                       Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeBLQ
                                       9oQeeUI3NiT97-
                                       uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAVQ_
                                       _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.500000,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                       58315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAEPSZD
                                       a9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp-
                                       4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-


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Claim Element                                     Example Infringement Evidence
                                       UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaBBa~
                                       4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-1G6e6EUQFJQhQAsbdTNR-
                                       anlsScKypM~dskGmB-AAsYvGbGNB-MAu-xPMTZ8fS-
                                       EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                       Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.750000,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                       58315&Signature=BXa7FwbB-
                                       XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9HhQp
                                       rIM2EVLbLulCYs7d-
                                       NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33XEVC
                                       ubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3zvOOO
                                       m6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn604UoStbeC
                                       RxrNpEYOudkkm79k-
                                       d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                       o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:10.125000,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                       58315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                       IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsad7
                                       BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                       V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp2vf
                                       5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrcZyVY
                                       Sd2~kXj3CG-AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-
                                       T~DkokBOYJd8c-vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                     Example Infringement Evidence
                                       #EXTINF:10.666667,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                       058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39nk9it
                                       xzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DVPqjXH1d
                                       cm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                       cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf00w
                                       m8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35dQoPsu
                                       4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJyml8sALw
                                       __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.916667,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                       058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM8Rhb
                                       F9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                       RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvcoG
                                       m-nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                       0EsdN7ZUOam4P-
                                       E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7igyLj
                                       hGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaGZkvaB
                                       ObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.500000,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                       058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH15~o
                                       QepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqCky3EV~g
                                       yOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-qVVkpgIZkF1HrUvTWvHcEXkVv--

                                             55
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Claim Element                                     Example Infringement Evidence
                                       tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5EfbGv
                                       ~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                       jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                       4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                       Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.916667,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                       058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                       ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28K9
                                       4BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAxMXU8
                                       Ia-iZ8hL6vn4t-
                                       Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                       9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVCgt
                                       Qgeix7e6gBfICuZQf-
                                       ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3sCeV
                                       vdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:10.333333,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                       058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6toED9s
                                       TTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                       Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2iI~i
                                       jh7cbzmcgb38F-mazr0uLY-Rp-
                                       E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqaCeE
                                       0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-



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                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                       BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                       ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.666667,
                                       …
                                       #EXT-X-ENDLIST
                1800000 Bandwidth      #EXTM3U
                                       #EXT-X-VERSION:3
                                       #EXT-X-TARGETDURATION:11
                                       #EXT-X-MEDIA-SEQUENCE:0
                                       …
                                       #EXTINF:10.083333,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                       58230&Signature=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                       Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGK
                                       UkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                       0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                       3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                       NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                       CYxuCpPt9d50a8kEBRDNl3Tt-
                                       WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                       Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:10.333333,



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                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                       58230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYH
                                       XS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                       ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25D
                                       xDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                                       eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                       ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80Lz
                                       LrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:10.416667,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                       58230&Signature=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                       IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                                       zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                       y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                       IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                       2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1s
                                       Xw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                       Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:10.125000,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                       58230&Signature=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-
                                       fBuAJohvGwaz-
                                       ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53Ru
                                       nAwQ~p3j4P63FEfL-
                                       ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                       eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4


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                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                       ahEG-
                                       et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZp
                                       KD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                       Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.916667,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                       58230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRw
                                       Wgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa
                                       985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQdLrCplH9mJ
                                       AnzYUbb-
                                       p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R
                                       0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75
                                       YdM91BCDnFgTaB2DGhw9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-
                                       3SHA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.500000,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                       58230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oP
                                       ERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                       OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                       GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                       kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiH
                                       hdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4
                                       s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-
                                       Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.750000,



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Claim Element                                     Example Infringement Evidence
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                       58230&Signature=BA-
                                       QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8
                                       IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                                       bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                       ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT
                                       1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                       U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                       gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                       Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:10.125000,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                       58230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                       P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9
                                       uG1gv6uaDUF-
                                       NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPf
                                       N~kJVa94-
                                       XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDAC
                                       ytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                       nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                       vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:10.666667,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                       058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                                       DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                       ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-


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                            U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                       sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4
                                       WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIV
                                       BR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQ
                                       xD7AR93CPi6Km6Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.916667,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                       058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J3
                                       9C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2
                                       G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0FqgXFZTeKO
                                       3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                       ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                       G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                       38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                       B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.500000,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                       058230&Signature=AcGGiMOj6opQRc-iQhv-
                                       t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk
                                       2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                       9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                       ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtw
                                       Vnc-B-rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-
                                       gRlRbR-
                                       naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA
                                       __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.916667,


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                                U.S. Patent No. 11,677,798 to Kidoodle


Claim Element                                            Example Infringement Evidence
                                             https://vcdm-
                                             cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                             058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39
                                             QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                             l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W
                                             ~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CW
                                             xRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41F
                                             mvaEMv8NErO3ANuCG1aLIkLJdb-
                                             ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-
                                             Pair-Id=APKAIPJESLAK2PMGD4PA
                                             #EXTINF:10.333333,
                                             https://vcdm-
                                             cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                             058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yK
                                             A45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYN
                                             WXti2HX96KWLRLluN9-
                                             xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~Fm
                                             cQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VD
                                             volOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibm
                                             BRqlyB-
                                             y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                             Id=APKAIPJESLAK2PMGD4PA
                                             …
                                             #EXT-X-ENDLIST


                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above.


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Claim Element                                             Example Infringement Evidence
                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media
                Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue
                uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                same Media Sequence Number in different Variant Streams or Renditions have the same position in the
                presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the
                relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                corresponding segments.”).
                Indeed, to adapt playback between different bitrate Variant Streams, the End User Device “can use the EXTINF
                durations and the constraints in Section 6.2.4 to determine the approximate location of corresponding media.
                Once media from the new Variant Stream has been loaded, the timestamps in the Media Segments can be used
                to synchronize the old and new timelines precisely.” RFC 8216 at 47.
                Each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                streamlet encoding the same portion of the video in the high quality stream; allow “clients to switch between”
                Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same content” on
                playback. RFC 8216 at 43. Further, HLS provides that “[m]atching content in Variant Streams MUST have
                matching timestamps” to allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media
                Segment in a Media Playlist has an integer Discontinuity Sequence Number. The Discontinuity Sequence
                Number can be used in addition to the timestamps within the media to synchronize Media Segments across
                different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams MUST have matching
                Discontinuity Sequence Numbers.” RFC 8216 at 43.
                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).




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Claim Element                                            Example Infringement Evidence
                For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                listing showing the same alongside the status of the requests.
                 Method     Host                         Path                            …     Status
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude9.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude12.ts?...




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 Claim Element                                                  Example Infringement Evidence
                       GET        vcdm-cf.kidoodle.tv           …/7/hls/S0E4_WorldsStrongest …           Complete
                                                                Dude13.ts?...
                       GET        vcdm-cf.kidoodle.tv           …/7/hls/S0E4_WorldsStrongest …           Complete
                                                                Dude14.ts?...


                      The Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary
                      entities.” RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player,
                      “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id. at 47 (“The
                      first segment to load is generally the segment that the client has chosen to play first (see Section 6.3.3).”). Then,
                      “[i]n order to play the presentation normally, the next Media Segment” the video player requests and “load[s]
                      the one with the lowest Media Sequence Number that is greater than the Media Sequence Number of the last
                      Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the video player must request a
                      plurality of files with sequential Media Sequence Numbers/timestamps and the requests are made based on the
                      Media Sequence Numbers/timestamps.
                      As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                      version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                      back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                      “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.
                      On information and belief, playlists for the other resolution variants also include these segments, which
                      correspond to the same portion of the video provided from the server(s).
[11.8] receive the    The End User Device accessing Kidoodle.TV receives the requested first streamlet from the at least one server
requested first       via the one or more network connections.
streamlet from the
                      HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
at least one server
                      uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
via the one or
                      can receive a continuous stream of media from a server for concurrent presentation.”).


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 Claim Element                                              Example Infringement Evidence
more network       For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
connections; and   version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                   switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                   determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                   and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                   the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                   receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                   listing showing the same alongside the status of the requests.
                    Method     Host                         Path                            …     Status
                    GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …        Complete
                                                            Dude6.ts?...
                    GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …        Complete
                                                            Dude7.ts?...
                    GET        vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …        Complete
                                                            Dude8.ts?...
                    GET        vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …        Complete
                                                            Dude9.ts?...
                    GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …        Complete
                                                            Dude10.ts?...
                    GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …        Complete
                                                            Dude11.ts?...
                    GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …        Complete
                                                            Dude12.ts?...




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 Claim Element                                                    Example Infringement Evidence
                        GET        vcdm-cf.kidoodle.tv            …/7/hls/S0E4_WorldsStrongest …          Complete
                                                                  Dude13.ts?...
                        GET        vcdm-cf.kidoodle.tv            …/7/hls/S0E4_WorldsStrongest …          Complete
                                                                  Dude14.ts?...


                       Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary entities.”
                       RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player accessing
                       Kidoodle.TV, “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id.
                       at 47 (“The first segment to load is generally the segment that the client has chosen to play first (see Section
                       6.3.3).”). Then, “[i]n order to play the presentation normally, the next Media Segment” the End User Device
                       requests and “load[s] the one with the lowest Media Sequence Number that is greater than the Media Sequence
                       Number of the last Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the End User
                       Device must request a plurality of files with sequential Media Sequence Numbers/timestamps and the requests
                       are made based on the Media Sequence Numbers/timestamps.
                       As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                       version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                       back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                       “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.
[11.9] provide the     The End User Device accessing Kidoodle.TV provides the received first streamlet for output of the digital
received first         content to the video player embedded in the Kidoodle.TV site.
streamlet for
                       In response to requesting the first streamlet via an HTTP GET request, as shown above, the End User Device
output of the
                       accessing Kidoodle.TV receives the requested streamlet from the server via the one or more network
digital content to a
                       connections. See e.g., RFC 8216 at 4 (“Using this protocol, a client can receive a continuous stream of media
presentation
                       from a server for concurrent presentation.”); id. at 5 (“To play this Playlist, the client first downloads it and then
device.



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Claim Element                                            Example Infringement Evidence
                downloads and plays each Media Segment declared within it. The client reloads the Playlist as described in this
                document to discover any added segments.” ).
                For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                listing showing the same alongside the status of the requests.
                 Method     Host                         Path                            …     Status
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude9.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …        Complete
                                                         Dude11.ts?...




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Claim Element                                           Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …        Complete
                                                        Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …        Complete
                                                        Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …        Complete
                                                        Dude14.ts?...


                Kidoodle confirms that the video player provides video playback to end user stations over a network connection
                on the Kidoodle support webpage, https://about.kidoodle.tv/faq/. There, Kidoodle troubleshoots problems end
                users may have with HLS and instructs users on how to optimize their video playback experience. See
                https://about.kidoodle.tv/faq/.




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Claim Element                                     Example Infringement Evidence




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                   EXHIBIT P
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                                               U.S. Patent No. 9,407,564 to Kidoodle


        The following claim chart shows exemplary aspects of A Parent Media Co. Inc.’s Kidoodle.TV streaming services and
products (“Kidoodle”) that infringe claim 1 of the ’564 Patent. The chart is exemplary and should not be read to limit DISH’s
assertions against Kidoodle, or any other streaming services offered by A Parent Media Co. Inc. or Kidoodle as to the services or
products described below. The chart should not be read to limit DISH’s assertions to the patent claim charted below. Nor should the
chart below be read to limit how Kidoodle infringes the claim below.
  Claim Element                                              Example Infringement Evidence
 [1.pre] An end       Kidoodle includes information and Applications that include an end user station for adaptive-rate content
 user station for     streaming of digital content from a video server over a network. Kidoodle is executable by devices that obtain
 adaptive-rate        streams of a selected video program for playback. The streams include live streams that are obtained from one or
 content streaming    more servers affiliated with Kidoodle over a network.
 of digital content
                      The images in this chart are from a device accessing the Kidoodle.tv website through a web browser, such as
 from a video
                      Microsoft Edge, Google Chrome, or iOS Safari. Kidoodle.tv supports all major web browsers. See
 server over a
                      https://about.kidoodle.tv/ (“We’re available across all available platforms.”).
 network, the end
 user station
 comprising:




                      https://about.kidoodle.tv/ (“We’re available across all available platforms.”)




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Claim Element                                          Example Infringement Evidence
                Kidoodle also includes applications for all platforms, including Apple App Store for iOS devices, Google Play
                for Android devices, Roku, and Amazon Fire TV, which also access the Kidoodle.tv website to stream video
                content. See https://about.kidoodle.tv/watch-now/




                https://about.kidoodle.tv/watch-now/
                 Upon information and belief, the aforementioned device that accesses Kidoodle.tv through a website, and the
                applications that access Kidoodle.tv (collectively, “End User Device”) operate in the same or substantially the
                same way for purposes of this chart.




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                                        U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                          Example Infringement Evidence
                The one or more servers accessible by Kidoodle store video files which are streamed to the end user stations.
                The following are examples of the videos that may be streamed from the one or more servers to the End User
                Device(s). See https://kidoodle.tv/.




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 Claim Element                                               Example Infringement Evidence
                      https://kidoodle.tv/.
                      Tests were conducted on videos offered over the Kidoodle.TV site accessed on a personal computer (e.g., End
                      User Device). As part of the testing, the End User Device was connected to the internet through the Charles
                      Proxy application, which enabled the abilities to proxy the device’s network traffic, to view the device’s network
                      traffic, and to throttle the network’s available bandwidth. Thus, the test simulated how Kidoodle responded to
                      lower and higher bandwidths. For the current test, a video titled “Dude Perfect” was selected. When the user
                      selects a video from the available videos, the media player embedded in the Kidoodle.TV site displays more
                      details regarding the video and provides the user with the option to view the video.
                      Selecting the icon corresponding to a video causes that video and other materials to be streamed and displayed
                      on the user’s device.
                      With respect to adaptively receiving the digital stream from the video server over the network, the media player
                      embedded in the Kidoodle.TV site accesses adaptive bitrate streams are provided to the media player from a
                      server affiliated with Kidoodle over a network using the HTTP Live Streaming (“HLS”) adaptive bitrate
                      streaming protocol. HLS is “a protocol for transferring unbounded streams of multimedia data.” Request For
                      Comments: 8216 – HTTP Live Streaming, August 2017 (“RFC 8216”) at 1. Using HLS, “a client can receive a
                      continuous stream of media from a server for concurrent presentation.” RFC 8216 at 4. HLS “allows a receiver
                      to adapt the bitrate of the media to the current network conditions in order to maintain uninterrupted playback at
                      the best possible quality.” RFC 8216 at 4. With HLS, “[c]lients should switch between different Variant Streams
                      to adapt to network conditions.” RFC 8216 at 5.


[1.1] a media         The End User Device accessing Kidoodle.TV includes a media player operating on the end user station
player operating      configured to stream a video from the video server via at least one transmission control protocol (TCP)
on the end user       connection over the network. HLS uses HTTP, which operates via TCP connections over the network.
station configured
                      As explained above, tests were conducted on videos offered over the Kidoodle.TV site accessed on a personal
to stream a video
                      computer (e.g., End User Device). As part of the testing, the End User Device was connected to the internet
from the video
                      through the Charles Proxy application, which enabled the abilities to proxy the device’s network traffic, to view
server via at least

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 Claim Element                                             Example Infringement Evidence
one transmission    the device’s network traffic, and to throttle the network’s available bandwidth. Thus, the test simulated how
control protocol    Kidoodle responded to lower and higher bandwidths. For the current test, a video titled “Dude Perfect” was
(TCP) connection    selected. When the user selects a video from the available videos, the media player embedded in the
over the network,   Kidoodle.TV site displays more details regarding the video and provides the user with the option to view the
                    video.
                    Selecting the icon corresponding to a video causes that video and other materials to be streamed and displayed
                    on the user’s device.
                    With respect to adaptively receiving the digital stream from the video server over the network, the media player
                    embedded in the Kidoodle.TV site accesses adaptive bitrate streams are provided to the media player from a
                    server affiliated with Kidoodle over a network using the HTTP Live Streaming (“HLS”) adaptive bitrate
                    streaming protocol. HLS is “a protocol for transferring unbounded streams of multimedia data.” Request For
                    Comments: 8216 – HTTP Live Streaming, August 2017 (“RFC 8216”) at 1. Using HLS, “a client can receive a
                    continuous stream of media from a server for concurrent presentation.” RFC 8216 at 4. HLS “allows a receiver
                    to adapt the bitrate of the media to the current network conditions in order to maintain uninterrupted playback at
                    the best possible quality.” RFC 8216 at 4. With HLS, “[c]lients should switch between different Variant Streams
                    to adapt to network conditions.” RFC 8216 at 5.


                    Through the established network connection, the devices streaming Kidoodle access video programs that are
                    stored on one or more servers for display on the devices via the video player accessing the Kidoodle.TV site. See




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Claim Element                                          Example Infringement Evidence
                also




                See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)
                The one or more servers accessible by Kidoodle store video files which are streamed to the end user stations.
                The following are examples of the videos that may be streamed from the one or more servers to the End User
                Device(s). See https://kidoodle.tv/.




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 Claim Element                                               Example Infringement Evidence
                      https://kidoodle.tv/.


[1.2] wherein         The one or more servers accessible by the End User Device store multiple different copies of the video encoded
multiple different    at different bit rates are stored on the video server as multiple sets of files.
copies of the video
                      For example, in the instant test of a video titled “Dude Perfect,” the end user station: established a network
encoded at
                      connection, connected with the one or more servers, and the End User Device made an HTTP GET request to
different bit rates
                      prod.kidoodle.tv for a master manifest located at the following path:
are stored on the
                      https://prod.kidoodle.tv/api/2.0/content/elemental-source/web/2545/94152/670158/watch/manifest.m3u8
video server as
                      (hereafter referred to as the “Master Manifest” or “manifest.m3u8”). The Master Manifest returned the
multiple sets of
                      following contents, reflecting the Uniform Resource Indicators (“URIs”) of the various variant playlists hosting
files,
                      at least a group of streamlets:
                       #EXTM3U
                       #EXT-X-VERSION:3
                       #EXT-X-STREAM-
                       INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                       8.m3u8
                       #EXT-X-STREAM-
                       INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
                       7.m3u8
                       #EXT-X-STREAM-
                       INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                       6.m3u8



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    Claim Element                                            Example Infringement Evidence
                       #EXT-X-STREAM-
                       INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
                       5.m3u8
                       File path: manifest.m3u8
                      The master playlist shows four versions of the video stream at the following bandwidths:
                             300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                             1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                             500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                             800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                      For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                      selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                      associated with the stream file path. For example:


                       Bandwidth           Token1
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth




1
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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     Claim Element                                              Example Infringement Evidence
                          500000             6.m3u8?...
                          Bandwidth
                          800000             5.m3u8?...
                          Bandwidth


                         Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                         For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                         Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                         considered a high-quality stream.
                         The End User Device also uses HTTPS GET requests to retrieve the segments, or streamlets, of the encoded
                         video specified in the file above.
                         The Media Playlist for each of the Variant Streams identifies a group of streamlets associated with each of the
                         different copies, as the exemplary Media Playlist shown below illustrates. See RFC 8216 at 38 (“The server
                         must create a Media Playlist file (Section 4) that contains a URI for each Media Segment that the server wishes
                         to make available, in the order in which they are to be played.”); see also RFC 8216 at 4 (“A multimedia
                         presentation is specified by a Uniform Resource Identifier (URI) [RFC3986] to a Playlist.”); RFC 8216 at 4 (“A
                         Media Playlist contains a series of Media Segments that make up the overall presentation. A Media Segment is
                         specified by a URI and optionally a byte range.”).
                         As shown by the Charles Proxy application file, partially reproduced below, the streamlet video files are hosted
                         on a server accessible via https://vcdm-cf.kidoodle.tv/. The server accesses the stored streamlet files for
                         playback on an end user device.
                          Method     Host                      Path2                     …         Status


2
    Video path abbreviated for readability throughout.


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Claim Element                                          Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4     …         Complete
                                                       _WorldsStrongestDude
                                                       0.ts?...
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4     …         Complete
                                                       _WorldsStrongestDude
                                                       1.ts?...
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4     …         Complete
                                                       _WorldsStrongestDude
                                                       2.ts?...
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4     …         Complete
                                                       _WorldsStrongestDude
                                                       3.ts?...


                On information and belief, other videos uploaded to Kidoodle similarly perform the demonstrated claim
                limitations.
                As shown in the test data, the End User Device accessing Kidoodle.TV selects the 1800000 Bandwidth version
                of the stream and makes a request for the corresponding playlist. The server(s) returns the playlist file with the
                following contents:
                       #EXTM3U
                       #EXT-X-VERSION:3
                       #EXT-X-TARGETDURATION:11
                       #EXT-X-MEDIA-SEQUENCE:0
                       #EXTINF:10.750000,


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Claim Element                                    Example Infringement Evidence
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude0.ts?Expires=1692058230&Signat
                     ure=X-j9VAHmYvweCM-
                     dblOesIErSUUPPye19SnCx9oSQaIPIQ9PYd9fEqw70kunQdE0c9VdJUJT05ewHTOHxwr0fXs
                     g1UCjh2MBBBXuSguMBNLDplNuJxeg9ZzZpeEfPNC~k-
                     GWyC79vUAs1SasIIG1VfVy89Kb7cBiHt17-
                     baaBU01zty90WpmmejGY~vYOoen7gdJ9v7M~z0lVVREBiyygE7A0vGww6pEpEMztwSZZ4
                     ZoBkCdhZmLe3vjUm5MMr8nrU8n~ljj6fEYV3GeQiNlSEAApGW1qa5cNtQOhfX2ClzKrGHx
                     paXUKqEheDRGyCs2u3bOEHjqRm2o1-ynSK5rFw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.250000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude1.ts?Expires=1692058230&Signat
                     ure=CDpwAf98XhRNKYFrCcv-
                     ofhY3VrgZ6T7M~dt8AXR4VRuOrMTiwDrlCQfZ01vbPEmfi~L0OK6K9Y6rlItw3hSboVNYc-
                     Bs8Kxtaqz~kiDoN3TvSHmiaPcpjGO03IQ5nLbwn-
                     gcptixhXoqmhAYSfFJ8q1NrOHvq5WzlOKvx8v10snMl1mxS0fC5VRDXEYbkCvLSqe8OBa8
                     kev2TqT8dZw7uFepqygtWzr5C0u-
                     6nWGZHqw4vC0d~N50BQSxQ5bjMz28sAs1vw2KmnoYx4exlNb1EE6M6nUPCA3C9dc5tei7
                     fB4UUZDjALiy3x7tOF3Zd2KJg6yxsNQC3ER8sD8g98SQ__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.083333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=1692058230&Signat
                     ure=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                     Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGKUkDDfL7nBd
                     gfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                     0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                     3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-


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Claim Element                                    Example Infringement Evidence
                     NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                     CYxuCpPt9d50a8kEBRDNl3Tt-WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=1692058230&Signat
                     ure=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYHXS2lrrpkid5FBs5f~c3CtijVa
                     HEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                     ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25DxDRs3Pb1hLf
                     DUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                     eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                     ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80LzLrDZuk~tezw
                     __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.416667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=1692058230&Signat
                     ure=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                     IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                     zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                     y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-IHBaxLCvWoKA9Giwd1F-
                     Xcd7C9pLd800urg-20HZuei-
                     2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1sXw8yILs-
                     Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=1692058230&Signat
                     ure=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                     ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53RunAwQ~p3j4P6


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                                    U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                    Example Infringement Evidence
                     3FEfL-ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                     eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4ahEG-
                     et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZpKD6UQPz8JI4
                     OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=1692058230&Signat
                     ure=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRwWgpnq8loZdNXxJusEz1BjFd
                     SviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0
                     wbL~iNVzRc2OWelQdLrCplH9mJAnzYUbb-
                     p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R0RNnvRIBG1
                     b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75YdM91BCDnFgTaB2DGh
                     w9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=1692058230&Signat
                     ure=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oPERBiu3cpkU1bmx18V7z1k
                     BeG7n-P9XrAsdZrTSeBc5Z-OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                     GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                     kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiHhdLg4riLBkF
                     xOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4s0AgtlqDkqHnu~HRUoAO
                     GTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.750000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=1692058230&Signat
                     ure=BA-
                     QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8IS2H2uktgoA


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                                    U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                    Example Infringement Evidence
                     vqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                     bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                     ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT1CCM4eWrFn
                     IrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-
                     y4JfUClu3a2s-gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=1692058230&Signat
                     ure=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                     P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9uG1gv6uaDU
                     F-NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPfN~kJVa94-
                     XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDACytArwL9~CtJ
                     qifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-
                     rtvvpM2YO35x3QnHMYJlpNjIg-vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.666667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692058230&Signa
                     ture=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                     DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                     ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                     sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4WyWQN5SB
                     0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIVBR5qqb2UlZTE9zXwNFW
                     4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692058230&Signa


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Claim Element                                    Example Infringement Evidence
                     ture=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J39C0TOfHfhkuWX3GNV~B
                     7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk
                     6YyHaHA~YwMvSqF0FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                     ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                     G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                     38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-B3UWdy9CAhNg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692058230&Signa
                     ture=AcGGiMOj6opQRc-iQhv-
                     t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk2w0HmAaV5
                     pV1n11kWK-NV93ZRSPKyTc-
                     9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                     ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtwVnc-B-
                     rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                     naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692058230&Signa
                     ture=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39QN0fozRAJiDpxwfbGRLiCs
                     cRoibOsDnp8g45-N1Dv-
                     l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W~EUgXwn45U
                     nLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CWxRJaJXKIU7fPKI0rm2WKO
                     etZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                     ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA



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                                    U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                    Example Infringement Evidence
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692058230&Signa
                     ture=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yKA45ce57fGCLQkOTs9rLwvG
                     KYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYNWXti2HX96KWLRLluN9-
                     xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~FmcQCx17kws4l
                     Jq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VDvolOXbtWeRISpeUtqRcyPv
                     lEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibmBRqlyB-
                     y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.458333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude15.ts?Expires=1692058230&Signa
                     ture=EmKhQ97V1kC2nux03LOh0AsSs8x3T5uYyPU7uQwFWokFiT5Z1lXPDOYuvT4gX8H2
                     9x5ZwaGw9fzRPXaevWiB-ZyaBTwKdD5sNiXzC85OSWOECID-
                     V1OWE4FK0zsvdbK5AhvJ3UvtNzufrrcBM9deA1B0PD8NLxZ9at3GlebQlcoyuvMPmcogOD
                     7uPWbGcRUMw~kfl6JvTlQDcqbh7Azckr8Pj85rDKpY7ffr3dNqHK45HTx4Hq8P6BJ5HsI7--
                     xXzimlgev1OuXSYnXwUib-ejbAqhnf-
                     VcwgEuwFi2u9imp45LbHP~4ChIHJ2y5zkOvk6Vd6Rhlwe5QE~-91Ya7OA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude16.ts?Expires=1692058230&Signa
                     ture=D9tydyyfLvc63w423qjALtY-u7peL5T09eMLvlf3qIhCt-
                     z8xRmbnXtpHEtXxwqI~tQqCssOLXwaC-EY-
                     2o2wPfVMWWMVFw1vyi~T~DBrixO4J9gdgCnN7XiGrI8Ebe--Pchv5-H7e-
                     ReOIuUWsSOryzM6xfIOlM1KN-
                     dlXCqfCpIXnyOZOwsnVFAgxZcekcLrarB8e8SpE1wobXIogjk2DGMr3GmYymTXsGFiODw
                     XBTMuhWRcV1TARZLMK69oozNgv6-Te97KflduUeZVt6zapVj-

                                                     18
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Claim Element                                         Example Infringement Evidence
                       6Q8ZK7x7J9EFxmFwPXe7~SFFUQTxFMNJcu0esokmKOAR2tCxznBheaUR1Gag__&Key-
                       Pair-Id=APKAIPJESLAK2PMGD4PA
                       #EXT-X-CUE-OUT: 0
                       #EXT-X-CUE-IN
                       #EXTINF:8.375000,
                       https://vcdm-
                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude17.ts?Expires=1692058230&Signa
                       ture=G0-13akiy1zABYLlQcnx7Om3pfZaPh~26uL9-
                       jwDy9bwyV6KOSVTJ9uknM13xLq12pki6n6V0cWIDrQvpsvz2Tl8~ewAUkjzwesP-
                       1XnJuY9tolEBNTaipdcKKeCNLw8LB9El~9einSOyMxcXmzX7ieVVlu-A~wi2GwbcMUb-
                       w8OlvYZjVa9yTxzoz2TUjkHqFmJQ6NJ4rrnmzIsAyFu75W71LOHC-J1vs0dbN-
                       S581jzsrg6WtUI9CbxM59TmAdLLJfnKS7XAgU5a0u~0ZbPF5Ne4z3xFWkif4joJCRc8E991A
                       Rl8BUoyFCth3z8vJDd-uDp5M-br~nKEfRI5ZvBg__&Key-Pair-
                       Id=APKAIPJESLAK2PMGD4PA
                       #EXT-X-ENDLIST


                The variant playlist file is an HLS playlist. Each line in the file path
                “361/670158/7/hls/S0E4_WorldsStrongestDude17.ts...” that begins with “#EXTINF” specifies the length of the
                segments in seconds. The line below the #EXTINF file is the location of the video file. In the variant playlist
                shown above, the segments of the video are separated by commercial segments. Each of the streamlets (except
                the first and final streamlets of each playlist) is approximately 8-10 seconds long and returns sequential
                segments of the video program and/or commercial.
                As long as the viewer continues watching the video and the bandwidth is adequate to support the chosen
                resolution, the end user device will continue to request (and Kidoodle.TV will provide) streamlets corresponding
                to the current, chosen resolution.



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 Claim Element                                                  Example Infringement Evidence
                        On information and belief, the other bandwidth versions of the test video contain the same number of streamlet
                        files.


[1.3] wherein each      As described above, the one or more servers accessible by the End User Device store multiple different copies of
of the files yields a   the video encoded at different bit rates are stored on the video server as multiple sets of files. Additionally, each
different portion of    of the files yields a different portion of the video on playback.
the video on
                        Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
playback,
                        provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                        Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                        4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                        segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                        continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                        where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                        at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                        Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                        For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                        Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                        considered a high-quality stream.
                        As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                        or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                        arranged in ascending chronological order, beginning with the first segment of the video program and
                        progressing until the final segment of the video program.
                         Bandwidth                       Streamlet (segment)
                         500000 Bandwidth                #EXTM3U
                                                         #EXT-X-VERSION:3


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Claim Element                                   Example Infringement Evidence
                                          #EXT-X-TARGETDURATION:11
                                          #EXT-X-MEDIA-SEQUENCE:0
                                          …
                                          #EXTINF:10.083333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                          2058315&Signature=fvGyZzCNd-crO6-
                                          JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                          ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                          SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                          fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                          -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                          8Zf6oIUQQca-
                                          5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                          _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                          QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                          KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                          yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                          AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                          t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                          Sst-



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Claim Element                                   Example Infringement Evidence
                                          smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                          Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                          zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                          qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                          wMBsQXOJRCpWmU-vG6QW-
                                          OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                          Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                          oEXkJRDttTXHtU5IKsfY-
                                          gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                          Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                          oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                          wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                          Ll4ZQKe13SeDvD0M~woH-
                                          vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                          YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                          Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                          sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA



                                                    22
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 386 of 863 PageID #: 440

                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                          gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                          CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                          ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                          01-
                                          Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                          LQ9oQeeUI3NiT97-
                                          uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                          Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                          PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                          -
                                          4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                          UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                          Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                          1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                          xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169

                                                    23
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 387 of 863 PageID #: 441

                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          2058315&Signature=BXa7FwbB-
                                          XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                          hQprIM2EVLbLulCYs7d-
                                          NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                          EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                          zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                          04UoStbeCRxrNpEYOudkkm79k-
                                          d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                          o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                          IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                          d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                          V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                          2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                          ZyVYSd2~kXj3CG-
                                          AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                          vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                          nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                          PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                          cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf


                                                    24
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 388 of 863 PageID #: 442

                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                          dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                          yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                          8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                          RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                          oGm-
                                          nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                          0EsdN7ZUOam4P-
                                          E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                          yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                          ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                          15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                          ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                          qVVkpgIZkF1HrUvTWvHcEXkVv--
                                          tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                          Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                          jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                          4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA


                                                    25
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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                          ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                          K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                          MXU8Ia-iZ8hL6vn4t-
                                          Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                          9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                          gtQgeix7e6gBfICuZQf-
                                          ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                          CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                          92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                          ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                          Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                          iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                          E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                          CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                          BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                          ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.666667,
                                          …



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                                    U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                           CYxuCpPt9d50a8kEBRDNl3Tt-
                                           WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                           Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                           2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                           ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                           ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                           5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ


                                                     27
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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                          ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                          0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058230&Signature=eBd8Be4aj-
                                          PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                          IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                          Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                          y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                          IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                          2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                          x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058230&Signature=R83mjHLH07WWvwga8NT-
                                          JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                          ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                          RunAwQ~p3j4P63FEfL-
                                          ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                          eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                          hv4ahEG-
                                          et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                          ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA



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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 392 of 863 PageID #: 446

                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                          KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                          JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                          LrCplH9mJAnzYUbb-
                                          p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                          4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                          Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                          6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                          2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                          OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                          GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                          kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                          uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                          wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                          __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058230&Signature=BA-
                                          QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                          K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39

                                                    29
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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                          ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                          eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                          U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                          gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                          P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                          Nv9uG1gv6uaDUF-
                                          NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                          MPfN~kJVa94-
                                          XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                          DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                          nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                          vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                          X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                          ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                          sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                          5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                          kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                          VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA


                                                    30
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 394 of 863 PageID #: 448

                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                          BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                          mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                          FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                          ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                          G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                          38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                          B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                          t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                          etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                          9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                          ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                          twVnc-B-rQwaARTzxnztYW8tW~n19-
                                          HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                          naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                          XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                          Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                          l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT

                                                    31
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Claim Element                                           Example Infringement Evidence
                                                 8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                                 v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                                 FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                                 ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                 Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                 92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                 b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                 6J9WYNWXti2HX96KWLRLluN9-
                                                 xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                 FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                 m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                 gqYwbibmBRqlyB-
                                                 y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                 Id=APKAIPJESLAK2PMGD4PA
                                                 …
                                                 #EXT-X-ENDLIST


                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.
                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams

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Claim Element                                          Example Infringement Evidence
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
                Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
                The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                make up the overall presentation.”).
                Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to




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     Claim Element                                                Example Infringement Evidence
                         allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                         present the same content” on playback. RFC 8216 at 43.
    [1.4] wherein the    As described above, the one or more servers accessible by the End User Device store multiple different copies of
    files across the     the video encoded at different bit rates are stored on the video server as multiple sets of files and each of the files
    different copies     yields a different portion of the video on playback. Additionally, the files across the different copies yield the
    yield the same       same portions of the video on playback.
    portions of the
    video on playback,
    and                  The master playlist shows four versions of the video stream at the following bandwidths:
                               300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                               1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                               500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                               800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                         For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                         selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                         associated with the stream file path. For example:


                          Bandwidth           Token3
                          300000              8.m3u8?...
                          Bandwidth




3
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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Claim Element                                         Example Infringement Evidence
                 1800000            7.m3u8?...
                 Bandwidth
                 500000             6.m3u8?...
                 Bandwidth
                 800000             5.m3u8?...
                 Bandwidth


                Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                considered a high-quality stream.
                As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                arranged in ascending chronological order, beginning with the first segment of the video program and
                progressing until the final segment of the video program.
                 Bandwidth                       Streamlet (segment)
                 500000 Bandwidth                #EXTM3U
                                                 #EXT-X-VERSION:3
                                                 #EXT-X-TARGETDURATION:11
                                                 #EXT-X-MEDIA-SEQUENCE:0
                                                 …
                                                 #EXTINF:10.083333,


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Claim Element                                   Example Infringement Evidence
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                          2058315&Signature=fvGyZzCNd-crO6-
                                          JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                          ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                          SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                          fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                          -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                          8Zf6oIUQQca-
                                          5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                          _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                          QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                          KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                          yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                          AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                          t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                          Sst-
                                          smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                          Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058315&Signature=YXXHRRu4Adc2jc-XdGykv-


                                                    36
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Claim Element                                   Example Infringement Evidence
                                          zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                          qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                          wMBsQXOJRCpWmU-vG6QW-
                                          OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                          Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                          oEXkJRDttTXHtU5IKsfY-
                                          gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                          Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                          oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                          wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                          Ll4ZQKe13SeDvD0M~woH-
                                          vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                          YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                          Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                          sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                          gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                          CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                          ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA


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Claim Element                                   Example Infringement Evidence
                                          01-
                                          Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                          LQ9oQeeUI3NiT97-
                                          uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                          Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                          PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                          -
                                          4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                          UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                          Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                          1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                          xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058315&Signature=BXa7FwbB-
                                          XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                          hQprIM2EVLbLulCYs7d-
                                          NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                          EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                          zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                          04UoStbeCRxrNpEYOudkkm79k-


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Claim Element                                   Example Infringement Evidence
                                          d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                          o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                          IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                          d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                          V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                          2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                          ZyVYSd2~kXj3CG-
                                          AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                          vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                          nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                          PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                          cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                          00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                          dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                          yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16


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Claim Element                                   Example Infringement Evidence
                                          92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                          8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                          RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                          oGm-
                                          nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                          0EsdN7ZUOam4P-
                                          E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                          yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                          ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                          15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                          ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                          qVVkpgIZkF1HrUvTWvHcEXkVv--
                                          tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                          Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                          jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                          4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                          ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                          K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx


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Claim Element                                    Example Infringement Evidence
                                           MXU8Ia-iZ8hL6vn4t-
                                           Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                           9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                           gtQgeix7e6gBfICuZQf-
                                           ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                           CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                           92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                           ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                           Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                           iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                           E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                           CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                           BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                           ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:9.666667,
                                           …
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0


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Claim Element                                   Example Infringement Evidence
                                          …
                                          #EXTINF:10.083333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                          2058230&Signature=QCE8vv-
                                          PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                          Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                          GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                          0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                          3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                          NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                          CYxuCpPt9d50a8kEBRDNl3Tt-
                                          WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                          ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                          ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                          5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                          6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                          ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                          0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058230&Signature=eBd8Be4aj-


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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                          IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                          Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                          y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                          IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                          2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                          x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058230&Signature=R83mjHLH07WWvwga8NT-
                                          JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                          ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                          RunAwQ~p3j4P63FEfL-
                                          ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                          eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                          hv4ahEG-
                                          et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                          ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                          KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                          JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                          LrCplH9mJAnzYUbb-
                                          p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I


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Claim Element                                   Example Infringement Evidence
                                          4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                          Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                          6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                          2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                          OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                          GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                          kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                          uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                          wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                          __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058230&Signature=BA-
                                          QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                          K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                          KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                          ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                          eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                          U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                          gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,


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Claim Element                                   Example Infringement Evidence
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                          P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                          Nv9uG1gv6uaDUF-
                                          NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                          MPfN~kJVa94-
                                          XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                          DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                          nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                          vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                          X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                          ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                          sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                          5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                          kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                          VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                          BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                          mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                          FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-


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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                          G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                          38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                          B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                          t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                          etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                          9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                          ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                          twVnc-B-rQwaARTzxnztYW8tW~n19-
                                          HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                          naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                          XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                          Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                          l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                          8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                          v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                          FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                          ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                          Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,


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Claim Element                                           Example Infringement Evidence
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                 92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                 b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                 6J9WYNWXti2HX96KWLRLluN9-
                                                 xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                 FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                 m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                 gqYwbibmBRqlyB-
                                                 y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                 Id=APKAIPJESLAK2PMGD4PA
                                                 …
                                                 #EXT-X-ENDLIST


                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.
                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize


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 Claim Element                                                Example Infringement Evidence
                      Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                      MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
                      The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                      high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                      contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                      RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                      and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                      discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                      make up the overall presentation.”).
                      Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                      provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                      Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                      4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                      segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                      continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                      where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                      at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                      The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                      each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                      the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                      allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                      present the same content” on playback. RFC 8216 at 43.


[1.5] wherein each    As described above, the one or more servers accessible by the End User Device store multiple different copies of
of the files          the video encoded at different bit rates are stored on the video server as multiple sets of files, each of the files
comprises a time      yields a different portion of the video on playback, and the files across the different copies yield the same
index such that the   portions of the video on playback. Additionally, each of the files comprises a time index such that the files


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 Claim Element                                              Example Infringement Evidence
files whose          whose playback is the same portion of the video for each of the different copies have the same time index in
playback is the      relation to the beginning of the video.
same portion of
                     Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
the video for each
                     provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
of the different
                     Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
copies have the
                     4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
same time index in
                     segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
relation to the
                     continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
beginning of the
                     where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
video, and
                     at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                     The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                     each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                     the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                     allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                     present the same content” on playback. RFC 8216 at 43.


                     In the instant test, a personal computer accessing the Kidoodle.TV site through a web browser makes a HTTPS
                     GET request to prod.kidoodle.tv for the Master Manifest. As shown in the excerpts of the Master Manifest
                     below, the video available is encoded at 4 different bitrates.
                      #EXTM3U
                      #EXT-X-VERSION:3
                      #EXT-X-STREAM-
                      INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                      8.m3u8



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Claim Element                                          Example Infringement Evidence
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
                 7.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                 6.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
                 5.m3u8
                File path: manifest.m3u8
                The master playlist shows four versions of the video stream at the following bandwidths:
                      300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                      1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                      500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                      800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                associated with the stream file path. For example:




                                                           50
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                                               U.S. Patent No. 9,407,564 to Kidoodle


    Claim Element                                            Example Infringement Evidence
                       Bandwidth           Token4
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth
                       500000              6.m3u8?...
                       Bandwidth
                       800000              5.m3u8?...
                       Bandwidth


                      Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                      For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                      Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                      considered a high-quality stream.
                      As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                      or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                      arranged in ascending chronological order, beginning with the first segment of the video program and
                      progressing until the final segment of the video program.
                       Bandwidth                        Streamlet (segment)
                       500000 Bandwidth                 #EXTM3U


4
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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Claim Element                                   Example Infringement Evidence
                                          #EXT-X-VERSION:3
                                          #EXT-X-TARGETDURATION:11
                                          #EXT-X-MEDIA-SEQUENCE:0
                                          …
                                          #EXTINF:10.083333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                          2058315&Signature=fvGyZzCNd-crO6-
                                          JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                          ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                          SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                          fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                          -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                          8Zf6oIUQQca-
                                          5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                          _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                          QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                          KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                          yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                          AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                          t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v


                                                    52
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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          Sst-
                                          smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                          Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                          zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                          qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                          wMBsQXOJRCpWmU-vG6QW-
                                          OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                          Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                          oEXkJRDttTXHtU5IKsfY-
                                          gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                          Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                          oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                          wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                          Ll4ZQKe13SeDvD0M~woH-
                                          vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                          YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                          Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                          sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA


                                                    53
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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                          gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                          CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                          ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                          01-
                                          Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                          LQ9oQeeUI3NiT97-
                                          uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                          Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                          PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                          -
                                          4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                          UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                          Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                          1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                          xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169

                                                    54
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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          2058315&Signature=BXa7FwbB-
                                          XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                          hQprIM2EVLbLulCYs7d-
                                          NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                          EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                          zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                          04UoStbeCRxrNpEYOudkkm79k-
                                          d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                          o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                          IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                          d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                          V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                          2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                          ZyVYSd2~kXj3CG-
                                          AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                          vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                          nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                          PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                          cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf


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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                          dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                          yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                          8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                          RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                          oGm-
                                          nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                          0EsdN7ZUOam4P-
                                          E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                          yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                          ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                          15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                          ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                          qVVkpgIZkF1HrUvTWvHcEXkVv--
                                          tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                          Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                          jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                          4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA


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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                          ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                          K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                          MXU8Ia-iZ8hL6vn4t-
                                          Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                          9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                          gtQgeix7e6gBfICuZQf-
                                          ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                          CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                          92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                          ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                          Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                          iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                          E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                          CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                          BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                          ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.666667,
                                          …



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                                    U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                           CYxuCpPt9d50a8kEBRDNl3Tt-
                                           WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                           Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                           2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                           ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                           ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                           5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ


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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                          ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                          0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058230&Signature=eBd8Be4aj-
                                          PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                          IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                          Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                          y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                          IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                          2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                          x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058230&Signature=R83mjHLH07WWvwga8NT-
                                          JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                          ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                          RunAwQ~p3j4P63FEfL-
                                          ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                          eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                          hv4ahEG-
                                          et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                          ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA



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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                          KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                          JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                          LrCplH9mJAnzYUbb-
                                          p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                          4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                          Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                          6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                          2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                          OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                          GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                          kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                          uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                          wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                          __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058230&Signature=BA-
                                          QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                          K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39

                                                    60
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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                          ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                          eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                          U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                          gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                          P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                          Nv9uG1gv6uaDUF-
                                          NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                          MPfN~kJVa94-
                                          XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                          DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                          nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                          vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                          X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                          ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                          sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                          5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                          kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                          VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA


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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                          BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                          mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                          FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                          ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                          G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                          38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                          B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                          t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                          etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                          9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                          ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                          twVnc-B-rQwaARTzxnztYW8tW~n19-
                                          HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                          naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                          XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                          Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                          l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT

                                                    62
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                                         U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                           Example Infringement Evidence
                                                 8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                                 v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                                 FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                                 ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                 Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                 92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                 b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                 6J9WYNWXti2HX96KWLRLluN9-
                                                 xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                 FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                 m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                 gqYwbibmBRqlyB-
                                                 y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                 Id=APKAIPJESLAK2PMGD4PA
                                                 …
                                                 #EXT-X-ENDLIST


                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.
                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams

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Claim Element                                          Example Infringement Evidence
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
                Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
                The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                make up the overall presentation.”).
                Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                present the same content” on playback. RFC 8216 at 43.


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 Claim Element                                               Example Infringement Evidence


[1.6] wherein the    The media player on the Kidoodle.TV site using the End User Device streams the video by requesting a plurality
media player         of sequential files of one of the copies from the video server based on the time indexes.
streams the video
                     The variant playlists file are HLS playlists. Each line in the file that begins with “#EXTINF” specifies the length
by:
                     of the segments in seconds. The line below the #EXTINF file is the location of the video file. In the present test,
requesting a         the End User Device accessing Kidoodle.TV requests and retrieves the segments of the encoded stream specified
plurality of         in the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
sequential files of  streamlets) is approximately 8-10 seconds long.
one of the copies
                    The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
from the video
                    cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
server based on the
                    cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
time indexes;
                    cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                    cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                    cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                    bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                    segmented moments in the video.
                         Bandwidth Version                        File line (#EXTINF: length) (portion of live stream)
                      500000 Bandwidth            #EXTM3U
                                                  #EXT-X-VERSION:3
                                                  #EXT-X-TARGETDURATION:11
                                                  #EXT-X-MEDIA-SEQUENCE:0
                                                  …
                                                  #EXTINF:10.083333,



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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                      58315&Signature=fvGyZzCNd-crO6-
                                      JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-ERIBXKGkK~-
                                      uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                      SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMvfBl
                                      YgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb-
                                      4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                      8Zf6oIUQQca-
                                      5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg__&
                                      Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                      58315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigUQOQg
                                      L~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                      KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                      yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLYAeE
                                      62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                      t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~vSst-
                                      smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.416667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                      58315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                      zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42qpY


                                                    66
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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      mam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~LwMBsQ
                                      XOJRCpWmU-vG6QW-
                                      OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                      Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYWoEX
                                      kJRDttTXHtU5IKsfY-
                                      gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2Bj9g
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                      58315&Signature=CM-bcy4GkvIZLwyvQ-
                                      oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2ww
                                      J4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                      Ll4ZQKe13SeDvD0M~woH-
                                      vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9PY
                                      WZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4Kt6rU
                                      4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lLsWZ3I8tv
                                      jSixRbfhbDdDppd9ufg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                      58315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                      gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwLCE
                                      WqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                      ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA01-
                                      Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeBLQ
                                      9oQeeUI3NiT97-


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Claim Element                                   Example Infringement Evidence
                                      uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAVQ_
                                      _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                      58315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAEPSZD
                                      a9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp-
                                      4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                      UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaBBa~
                                      4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-1G6e6EUQFJQhQAsbdTNR-
                                      anlsScKypM~dskGmB-AAsYvGbGNB-MAu-xPMTZ8fS-
                                      EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.750000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                      58315&Signature=BXa7FwbB-
                                      XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9HhQp
                                      rIM2EVLbLulCYs7d-
                                      NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33XEVC
                                      ubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3zvOOO
                                      m6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn604UoStbeC
                                      RxrNpEYOudkkm79k-
                                      d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                      o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,


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Claim Element                                   Example Infringement Evidence
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                      58315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                      IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsad7
                                      BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                      V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp2vf
                                      5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrcZyVY
                                      Sd2~kXj3CG-AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-
                                      T~DkokBOYJd8c-vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.666667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                      058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39nk9it
                                      xzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DVPqjXH1d
                                      cm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                      cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf00w
                                      m8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35dQoPsu
                                      4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJyml8sALw
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                      058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM8Rhb
                                      F9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                      RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvcoG
                                      m-nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                      0EsdN7ZUOam4P-


                                                    69
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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7igyLj
                                      hGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaGZkvaB
                                      ObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                      058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH15~o
                                      QepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqCky3EV~g
                                      yOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-qVVkpgIZkF1HrUvTWvHcEXkVv--
                                      tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5EfbGv
                                      ~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                      jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                      4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                      058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                      ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28K9
                                      4BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAxMXU8
                                      Ia-iZ8hL6vn4t-
                                      Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                      9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVCgt
                                      Qgeix7e6gBfICuZQf-
                                      ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3sCeV
                                      vdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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                                    U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                       #EXTINF:10.333333,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                       058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6toED9s
                                       TTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                       Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2iI~i
                                       jh7cbzmcgb38F-mazr0uLY-Rp-
                                       E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqaCeE
                                       0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                       BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                       ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.666667,
                                       …
                                       #EXT-X-ENDLIST
                1800000 Bandwidth      #EXTM3U
                                       #EXT-X-VERSION:3
                                       #EXT-X-TARGETDURATION:11
                                       #EXT-X-MEDIA-SEQUENCE:0
                                       …
                                       #EXTINF:10.083333,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                       58230&Signature=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                       Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGK


                                                     71
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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      UkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                      0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                      3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                      NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                      CYxuCpPt9d50a8kEBRDNl3Tt-
                                      WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                      58230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYH
                                      XS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                      ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25D
                                      xDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                                      eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                      ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80Lz
                                      LrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.416667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                      58230&Signature=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                      IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                                      zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                      y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                      IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                      2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1s
                                      Xw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA



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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                      58230&Signature=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-
                                      fBuAJohvGwaz-
                                      ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53Ru
                                      nAwQ~p3j4P63FEfL-
                                      ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                      eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4
                                      ahEG-
                                      et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZp
                                      KD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                      58230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRw
                                      Wgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa
                                      985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQdLrCplH9mJ
                                      AnzYUbb-
                                      p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R
                                      0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75
                                      YdM91BCDnFgTaB2DGhw9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-
                                      3SHA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                      58230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oP
                                      ERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-

                                                    73
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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                      GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                      kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiH
                                      hdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4
                                      s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-
                                      Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.750000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                      58230&Signature=BA-
                                      QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8
                                      IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                                      bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                      ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT
                                      1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                      U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                      gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                      58230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                      P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9
                                      uG1gv6uaDUF-
                                      NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPf
                                      N~kJVa94-
                                      XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDAC
                                      ytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-



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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                      vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.666667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                      058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                                      DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                      ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                      sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4
                                      WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIV
                                      BR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQ
                                      xD7AR93CPi6Km6Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                      058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J3
                                      9C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2
                                      G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0FqgXFZTeKO
                                      3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                      ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                      G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                      38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                      B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                      058230&Signature=AcGGiMOj6opQRc-iQhv-
                                      t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk


                                                    75
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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                      9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                      ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtw
                                      Vnc-B-rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-
                                      gRlRbR-
                                      naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                      058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39
                                      QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                      l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W
                                      ~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CW
                                      xRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41F
                                      mvaEMv8NErO3ANuCG1aLIkLJdb-
                                      ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-
                                      Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                      058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yK
                                      A45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYN
                                      WXti2HX96KWLRLluN9-
                                      xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~Fm
                                      cQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VD
                                      volOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibm
                                      BRqlyB-



                                                    76
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                                        U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                          Example Infringement Evidence
                                             y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                             Id=APKAIPJESLAK2PMGD4PA
                                             …
                                             #EXT-X-ENDLIST


                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above.
                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media
                Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue
                uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                same Media Sequence Number in different Variant Streams or Renditions have the same position in the
                presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the
                relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                corresponding segments.”).
                Indeed, to adapt playback between different bitrate Variant Streams, the End User Device accessing
                Kidoodle.TV “can use the EXTINF durations and the constraints in Section 6.2.4 to determine the approximate
                location of corresponding media. Once media from the new Variant Stream has been loaded, the timestamps in
                the Media Segments can be used to synchronize the old and new timelines precisely.” RFC 8216 at 47.
                Each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                streamlet encoding the same portion of the video in the high quality stream; allow “clients to switch between”
                Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same content” on
                playback. RFC 8216 at 43. Further, HLS provides that “[m]atching content in Variant Streams MUST have
                matching timestamps” to allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media

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                                         U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                           Example Infringement Evidence
                Segment in a Media Playlist has an integer Discontinuity Sequence Number. The Discontinuity Sequence
                Number can be used in addition to the timestamps within the media to synchronize Media Segments across
                different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams MUST have matching
                Discontinuity Sequence Numbers.” RFC 8216 at 43.
                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                listing showing the same alongside the status of the requests.
                 Method     Host                        Path                               …     Status
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude9.ts?...



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Claim Element                                           Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude14.ts?...


                The Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary
                entities.” RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player,
                “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id. at 47 (“The
                first segment to load is generally the segment that the client has chosen to play first (see Section 6.3.3).”). Then,
                “[i]n order to play the presentation normally, the next Media Segment” the video player requests and “load[s]
                the one with the lowest Media Sequence Number that is greater than the Media Sequence Number of the last
                Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the video player must request a
                plurality of files with sequential Media Sequence Numbers/timestamps and the requests are made based on the
                Media Sequence Numbers/timestamps.
                As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.



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 Claim Element                                                 Example Infringement Evidence
                       On information and belief, playlists for the other resolution variants also include these segments, which
                       correspond to the same portion of the video provided from the server(s).
[1.7] automatically    The End User Device automatically requests from the video server subsequent portions of the video by
requesting from        requesting for each such portion one of the files from one of the copies dependent upon successive
the video server       determinations by the media player to shift the playback quality to a higher or lower quality one of the different
subsequent             copies.
portions of the
                       Each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
video by
                       the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
requesting for each
                       streamlet encoding the same portion of the video in the high quality stream; allow “clients to switch between”
such portion one
                       Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same content” on
of the files from
                       playback. RFC 8216 at 43. Further, HLS provides that “[m]atching content in Variant Streams MUST have
one of the copies
                       matching timestamps” to allow the media player accessing Kidoodle.TV to synchronize the media. RFC 8216 at
dependent upon
                       43. And “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
successive
                       Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
determinations by
                       Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
the media player to
                       MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
shift the playback
quality to a higher    As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
or lower quality       or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
one of the different   arranged in ascending chronological order, beginning with the first segment of the video program and
copies,                progressing until the final segment of the video program. As noted above, the variant playlist file is an HLS
                       playlist. Each line in the file that begins with “#EXTINF” specifies the length of the segments in seconds. The
                       line below the #EXTINF file is the location of the video file. In the present test, the End User Device accessing
                       Kidoodle.TV uses HTTPS GET requests to request and retrieve the segments of the encoded stream specified in
                       the file above. The video files are hosted at vcdm-cf.kidoodle.tv.
                       The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-


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Claim Element                                          Example Infringement Evidence
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                segmented moments in the video.
                          Bandwidth                           File line (#EXTINF: length) (portion of live stream)
                 500000 Bandwidth                #EXTM3U
                                                 #EXT-X-VERSION:3
                                                 #EXT-X-TARGETDURATION:11
                                                 #EXT-X-MEDIA-SEQUENCE:0
                                                 …
                                                 #EXTINF:10.083333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                                 2058315&Signature=fvGyZzCNd-crO6-
                                                 JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                                 ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                                 SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                                 fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                                 -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                                 8Zf6oIUQQca-
                                                 5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                                 _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,


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Claim Element                                   Example Infringement Evidence
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                          QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                          KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                          yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                          AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                          t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                          Sst-
                                          smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                          Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                          zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                          qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                          wMBsQXOJRCpWmU-vG6QW-
                                          OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                          Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                          oEXkJRDttTXHtU5IKsfY-
                                          gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                          Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058315&Signature=CM-bcy4GkvIZLwyvQ-


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Claim Element                                   Example Infringement Evidence
                                          oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                          wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                          Ll4ZQKe13SeDvD0M~woH-
                                          vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                          YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                          Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                          sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                          gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                          CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                          ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                          01-
                                          Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                          LQ9oQeeUI3NiT97-
                                          uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                          Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                          PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                          -
                                          4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-


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Claim Element                                   Example Infringement Evidence
                                          UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                          Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                          1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                          xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058315&Signature=BXa7FwbB-
                                          XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                          hQprIM2EVLbLulCYs7d-
                                          NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                          EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                          zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                          04UoStbeCRxrNpEYOudkkm79k-
                                          d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                          o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                          IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                          d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                          V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                          2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                          ZyVYSd2~kXj3CG-



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Claim Element                                   Example Infringement Evidence
                                          AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                          vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                          nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                          PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                          cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                          00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                          dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                          yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                          8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                          RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                          oGm-
                                          nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                          0EsdN7ZUOam4P-
                                          E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                          yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                          ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,



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Claim Element                                   Example Infringement Evidence
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                          15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                          ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                          qVVkpgIZkF1HrUvTWvHcEXkVv--
                                          tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                          Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                          jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                          4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                          ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                          K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                          MXU8Ia-iZ8hL6vn4t-
                                          Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                          9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                          gtQgeix7e6gBfICuZQf-
                                          ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                          CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                          92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to


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Claim Element                                    Example Infringement Evidence
                                           ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                           Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                           iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                           E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                           CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                           BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                           ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:9.666667,
                                           …
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-

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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          CYxuCpPt9d50a8kEBRDNl3Tt-
                                          WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                          ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                          ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                          5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                          6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                          ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                          0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058230&Signature=eBd8Be4aj-
                                          PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                          IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                          Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                          y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                          IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                          2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                          x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169


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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          2058230&Signature=R83mjHLH07WWvwga8NT-
                                          JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                          ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                          RunAwQ~p3j4P63FEfL-
                                          ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                          eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                          hv4ahEG-
                                          et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                          ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                          KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                          JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                          LrCplH9mJAnzYUbb-
                                          p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                          4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                          Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                          6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                          2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                          OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                          GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-


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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                          uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                          wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                          __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058230&Signature=BA-
                                          QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                          K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                          KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                          ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                          eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                          U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                          gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                          P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                          Nv9uG1gv6uaDUF-
                                          NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                          MPfN~kJVa94-
                                          XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                          DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                          nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                          vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                          X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                          ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                          sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                          5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                          kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                          VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                          BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                          mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                          FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                          ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                          G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                          38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                          B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                          t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                          etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                          9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-

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                                   U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                          twVnc-B-rQwaARTzxnztYW8tW~n19-
                                          HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                          naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                          XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                          Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                          l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                          8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                          v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                          FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                          ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                          Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                          92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                          b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                          6J9WYNWXti2HX96KWLRLluN9-
                                          xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                          FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                          m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                          gqYwbibmBRqlyB-
                                          y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA



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                                         U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                           Example Infringement Evidence
                                                  …
                                                  #EXT-X-ENDLIST


                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                the same alongside the status of the requests.
                 Method     Host                        Path                               …     Status
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude9.ts?...



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                                         U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                           Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude14.ts?...


                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
                video stream at the following bandwidths:
                      300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                      1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                      500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                      800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                associated with the stream file path. For example:



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                                                    U.S. Patent No. 9,407,564 to Kidoodle


     Claim Element                                                 Example Infringement Evidence
                            Bandwidth           Token5
                            300000              8.m3u8?...
                            Bandwidth
                            1800000             7.m3u8?...
                            Bandwidth
                            500000              6.m3u8?...
                            Bandwidth
                            800000              5.m3u8?...
                            Bandwidth
    [1.8] the              As described above, the End User Device automatically requests from the video server subsequent portions of
    automatically          the video by requesting for each such portion one of the files from one of the copies dependent upon successive
    requesting             determinations by the media player to shift the playback quality to a higher or lower quality one of the different
    including              copies. Additionally, the automatic request includes, repeatedly generating a factor indicative of the current
    repeatedly             ability to sustain the streaming of the video using the files from different ones of the copies, wherein the set of
    generating a factor    one or more factors relate to the performance of the network, such as network conditions and/or available
    indicative of the      bandwidth.
    current ability to
                           HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
    sustain the
                           uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
    streaming of the
                           can receive a continuous stream of media from a server for concurrent presentation.”).
    video using the
    files from different   As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
    ones of the copies,    video stream at the following bandwidths:


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  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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                                                    U.S. Patent No. 9,407,564 to Kidoodle


     Claim Element                                                 Example Infringement Evidence
    wherein the set of            300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
    one or more                   1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
    factors relate to the         500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
    performance of the            800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406
    network;
                            For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                            selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                            associated with the stream file path. For example:
                             Bandwidth          Token6
                             300000             8.m3u8?...
                             Bandwidth
                             1800000            7.m3u8?...
                             Bandwidth
                             500000             6.m3u8?...
                             Bandwidth
                             800000             5.m3u8?...
                             Bandwidth


                            The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                            streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                            request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that


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  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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                                        U.S. Patent No. 9,407,564 to Kidoodle


Claim Element                                         Example Infringement Evidence
                the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                the same alongside the status of the requests.
                 Method    Host                       Path                             …     Status
                 GET       vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/8/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/8/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/6/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude10.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/6/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude11.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/6/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude12.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude13.ts?...




                                                          97
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                                                U.S. Patent No. 9,407,564 to Kidoodle


 Claim Element                                                 Example Infringement Evidence
                        GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …            Complete
                                                               Dude14.ts?...


                       Additionally, HLS provides that “[m]atching content in Variant Streams MUST have matching timestamps” to
                       allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media Segment in a Media Playlist has
                       an integer Discontinuity Sequence Number. The Discontinuity Sequence Number can be used in addition to the
                       timestamps within the media to synchronize Media Segments across different Renditions.” RFC 8216 at 39.
                       Thus, “[m]atching content in Variant Streams MUST have matching Discontinuity Sequence Numbers.” RFC
                       8216 at 43.


[1.9] making the       The End User Device makes the successive determinations to shift the playback quality based on the factor to
successive             achieve continuous playback of the video using the files of the highest quality one of the copies determined
determinations to      sustainable at that time so that the media player upshifts to a higher quality one of the different copies when the
shift the playback     factor is greater than a first threshold and downshifts to a lower quality one of the different copies when the
quality based on       factor is less than a second threshold.
the factor to
                       HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
achieve continuous
                       uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
playback of the
                       can receive a continuous stream of media from a server for concurrent presentation.”).
video using the
files of the highest   As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
quality one of the     video stream at the following bandwidths:
copies determined
sustainable at that          300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
time so that the             1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
media player                 500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
upshifts to a higher         800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406
quality one of the
different copies


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     Claim Element                                              Example Infringement Evidence
    when the factor is For each of these versions, the master playlist provides a link to a playlist for the specified version of the
    greater than a first selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
    threshold and         associated with the stream file path. For example:
    downshifts to a
                           Bandwidth           Token7
    lower quality one
    of the different       300000              8.m3u8?...
    copies when the        Bandwidth
    factor is less than a
    second threshold;      1800000             7.m3u8?...
    and                    Bandwidth
                          500000              6.m3u8?...
                          Bandwidth
                          800000              5.m3u8?...
                          Bandwidth


                         The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                         streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                         request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                         the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                         500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                         1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                         1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                         the same alongside the status of the requests.


7
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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Claim Element                                        Example Infringement Evidence


                 Method    Host                      Path                             …    Status
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude10.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude11.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude12.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude13.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude14.ts?...


                Additionally, HLS provides that “[m]atching content in Variant Streams MUST have matching timestamps” to
                allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media Segment in a Media Playlist has

                                                        100
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 Claim Element                                                 Example Infringement Evidence
                      an integer Discontinuity Sequence Number. The Discontinuity Sequence Number can be used in addition to the
                      timestamps within the media to synchronize Media Segments across different Renditions.” RFC 8216 at 39.
                      Thus, “[m]atching content in Variant Streams MUST have matching Discontinuity Sequence Numbers.” RFC
                      8216 at 43.


[1.10] presenting     The End User Device presents the video by playing back the requested media files with the media player on the
the video by          end user station in order of ascending playback time.
playing back the
                      In response to requesting the first streamlet via an HTTP GET request, as shown above, the End User Device
requested media
                      accessing Kidoodle.TV receives the requested streamlet from the server via the one or more network
files with the
                      connections. See e.g., RFC 8216 at 4 (“Using this protocol, a client can receive a continuous stream of media
media player on
                      from a server for concurrent presentation.”); id. at 5 (“To play this Playlist, the client first downloads it and then
the end user
                      downloads and plays each Media Segment declared within it. The client reloads the Playlist as described in this
station in order of
                      document to discover any added segments.” ).
ascending
playback time.        For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                      version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                      switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                      determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                      and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                      the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                      receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                      listing showing the same alongside the status of the requests.


                       Method     Host                         Path                                …     Status
                       GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                               Dude6.ts?...



                                                                   101
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Claim Element                                         Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude9.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude14.ts?...


                Kidoodle confirms that its media player provides video playback to end user stations over a network connection
                on the Kidoodle support webpage, https://about.kidoodle.tv/faq/. There, Kidoodle troubleshoots problems end
                users may have with HLS and instructs users on how to optimize their video playback experience. See
                https://about.kidoodle.tv/faq/.




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Claim Element                                   Example Infringement Evidence




                                                   103
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                   EXHIBIT Q
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        The following claim chart shows exemplary aspects of A Parent Media Co. Inc.’s Kidoodle.TV streaming services and products
(“Kidoodle”) that infringe claim 14 of the ’680 Patent. The chart is exemplary and should not be read to limit DISH’s assertions against
Kidoodle, or any other streaming services offered by A Parent Media Co. Inc. or Kidoodle as to the services or products described
below. The chart should not be read to limit DISH’s assertions to the patent claim charted below. Nor should the chart below be read to
limit how Kidoodle infringes the claim below.
  Claim Element                                               Example Infringement Evidence
 [14.pre] An end      Kidoodle includes information and Applications that includes an end user station which streams a video over a
 user station to      network from a server for playback of the video. Kidoodle is executable by devices that obtain streams of a
 stream a video       selected video program for playback. The streams include live streams that are obtained from one or more
 over a network       servers affiliated with Kidoodle over a network. Kidoodle performs a process executable by one or more servers
 from a server for    to stream a video for playback by one or more end user stations.
 playback of the
                      The images in this chart are from a device accessing the Kidoodle.tv website through a web browser, such as
 video, the content
                      Microsoft Edge, Google Chrome, or iOS Safari. Kidoodle.tv supports all major web browsers. See
 player device
                      https://about.kidoodle.tv/ (“We’re available across all available platforms.”).
 comprising:




                      https://about.kidoodle.tv/ (“We’re available across all available platforms.”)



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Claim Element                                          Example Infringement Evidence


                Kidoodle also includes applications for all platforms, including Apple App Store for iOS devices, Google Play
                for Android devices, Roku, and Amazon Fire TV, which also access the Kidoodle.tv website to stream video
                content. See https://about.kidoodle.tv/watch-now/




                https://about.kidoodle.tv/watch-now/
                Upon information and belief, the aforementioned device that accesses Kidoodle.tv through a website, and the
                applications that access Kidoodle.tv (collectively, “End User Device”) operate in the same or substantially the
                same way for purposes of this chart. The one or more servers accessible by Kidoodle store video files which are
                streamed to the end user stations. The following are examples of the videos that may be streamed from the one
                or more servers to the End User Device(s). See https://kidoodle.tv/.



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 Claim Element                                               Example Infringement Evidence
                      https://kidoodle.tv/.
                      Tests were conducted on videos offered over the Kidoodle.TV site accessed on a personal computer (e.g., End
                      User Device). As part of the testing, the End User Device was connected to the internet through the Charles
                      Proxy application, which enabled the abilities to proxy the device’s network traffic, to view the device’s network
                      traffic, and to throttle the network’s available bandwidth. Thus, the test simulated how Kidoodle responded to
                      lower and higher bandwidths. For the current test, a video titled “Dude Perfect” was selected. When the user
                      selects a video from the available videos, the media player embedded in the Kidoodle.TV site displays more
                      details regarding the video and provides the user with the option to view the video.
                      Selecting the icon corresponding to a video causes that video and other materials to be streamed and displayed
                      on the user’s device.
                      With respect to adaptively receiving the digital stream from the video server over the network, the media player
                      embedded in the Kidoodle.TV site accesses adaptive bitrate streams are provided to the End User Device from a
                      server affiliated with Kidoodle over a network using the HTTP Live Streaming (“HLS”) adaptive bitrate
                      streaming protocol. HLS is “a protocol for transferring unbounded streams of multimedia data.” Request For
                      Comments: 8216 – HTTP Live Streaming, August 2017 (“RFC 8216”) at 1. Using HLS, “a client can receive a
                      continuous stream of media from a server for concurrent presentation.” RFC 8216 at 4. HLS “allows a receiver
                      to adapt the bitrate of the media to the current network conditions in order to maintain uninterrupted playback at
                      the best possible quality.” RFC 8216 at 4. With HLS, “[c]lients should switch between different Variant Streams
                      to adapt to network conditions.” RFC 8216 at 5.


[14.1] a processor;   Kidoodle’s content is accessible on End User Devices. https://about.kidoodle.tv/ (“We’re available across all
                      available platforms.”). Example end user devices include personal computers, Macintosh computers, Apple
                      iPhones, Apple iPads, Android phones, Android tablets, and smart TV devices equipped to access the internet
                      via one or more network connections. The end users’ devices include a processor configured to enable video
                      streaming.



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 Claim Element                                              Example Infringement Evidence




                     See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)


                     The screenshots in this chart of the Kidoodle website are from accessing the Kidoodle website on an Apple
                     iPhone or Windows computer. On information and belief, at least one of the devices capable of accessing and
                     viewing Kidoodle content contains a processor.
[14.2] a digital     As explained above, Kidoodle’s content is accessible on end users’ devices. Example end user devices include
processing           personal computers, Macintosh computers, Apple iPhones, Apple iPads, Android phones, Android tablets, and
apparatus memory     smart TV devices equipped to access the internet via one or more network connections. The end users’ devices
device comprising    include a processor configured to enable video streaming. The end users’ devices also include memory devices
non-transitory       having non-transitory machine-readable instructions that cause an end user device to establish one or more
machine-readable     network connections between the end user station and the server, wherein the server is configured to access at
instructions that,   least one of a plurality of groups of streamlets.
when executed,



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 Claim Element                                               Example Infringement Evidence
cause the             Through the established network connection, the devices streaming Kidoodle access video programs that are
processor to:         stored on one or more servers for display on the devices via the video player accessing the Kidoodle.TV site. See
                      also
establish one or
more network
connections
between the end
user station and
the server, wherein
the server is
configured to
access at least one
of a plurality of
groups of
streamlets;

                      See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)
                      The one or more servers hosting Kidoodle.TV video programs store streamlets corresponding to particular
                      segments of a video program, and each streamlet is encoded at one of numerous resolutions. Each of the stored
                      streams, or variant playlists, comprises a plurality of streamlets at the same resolution. The arrangements of each
                      variant playlist ensure the sequential playback of the streams at a resolution supported by the available network
                      bandwidth.
                      For example, in the instant test of a video titled “Dude Perfect,” the end user station: established a network
                      connection, connected with the one or more Kidoodle servers, and made an HTTP GET request to
                      prod.kidoodle.tv for a master manifest located at the following path:
                      https://prod.kidoodle.tv/api/2.0/content/elemental-source/web/2545/94152/670158/watch/manifest.m3u8
                      (hereafter referred to as the “Master Manifest” or “manifest.m3u8”). The Master Manifest returned the




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Claim Element                                          Example Infringement Evidence
                following contents, reflecting the Uniform Resource Indicators (“URIs”) of the various variant playlists hosting
                at least a group of streamlets:
                 #EXTM3U
                 #EXT-X-VERSION:3
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                 8.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
                 7.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                 6.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
                 5.m3u8
                File path: manifest.m3u8
                The master playlist shows four versions of the video stream at the following bandwidths:
                      300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                      1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                      500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                      800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406


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    Claim Element                                             Example Infringement Evidence


                      For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                      selected video program at a particular bandwidth and resolution. Each variant playlist, or version playlist, is
                      defined by the token associated with the stream file path. For example:


                       Bandwidth           Token1
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth
                       500000              6.m3u8?...
                       Bandwidth
                       800000              5.m3u8?...
                       Bandwidth


                      Each of the variant playlists includes segments, or streamlets, that encode the same portion of the video at
                      various qualities. For example, the 300000 Bandwidth version can be considered a low-quality stream, the
                      500000 or 800000 Bandwidth version can be considered a medium-quality stream, and the 1800000
                      Bandwidth version can be considered a high-quality stream.




1
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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     Claim Element                                              Example Infringement Evidence
                         Kidoodle also uses HTTPS GET requests to retrieve the segments, or streamlets, of the encoded video specified
                         in the file above from the one or more servers hosting Kidoodle content.
                         The Media Playlist for each of the Variant Streams identifies a group of streamlets associated with each of the
                         different copies, as the exemplary Media Playlist shown below illustrates. See RFC 8216 at 38 (“The server
                         must create a Media Playlist file (Section 4) that contains a URI for each Media Segment that the server wishes
                         to make available, in the order in which they are to be played.”); see also RFC 8216 at 4 (“A multimedia
                         presentation is specified by a Uniform Resource Identifier (URI) [RFC3986] to a Playlist.”); RFC 8216 at 4 (“A
                         Media Playlist contains a series of Media Segments that make up the overall presentation. A Media Segment is
                         specified by a URI and optionally a byte range.”).
                         As shown by the Charles Proxy application file, partially reproduced below, the streamlet video files are hosted
                         on a server accessible via https://vcdm-cf.kidoodle.tv/. The server accesses the stored streamlet files for
                         playback on an end user device.
                          Method     Host                      Path2                     …         Status
                          GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                               _WorldsStrongestDude
                                                               0.ts?...
                          GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                               _WorldsStrongestDude
                                                               1.ts?...
                          GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                               _WorldsStrongestDude
                                                               2.ts?...



2
    Video path abbreviated for readability throughout.


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Claim Element                                         Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv      361/670158/7/hls/S0E4     …         Complete
                                                     _WorldsStrongestDude
                                                     3.ts?...


                Importantly, the test video “Dude Perfect” is a video uploaded to servers hosting Kidoodle content. On
                information and belief, the live event videos offered to Kidoodle viewers are similarly encoded at multiple
                resolutions, hosted on one or more servers, and accessed through HTTP Get Requests by end users’ devices,
                such that they similarly perform the demonstrated claim limitations.
                As shown in the test data, Kidoodle selects the 1800000 Bandwidth version of the stream and makes a request
                for the corresponding playlist. The Kidoodle Server(s) returns the playlist file with the following contents:
                       #EXTM3U
                       #EXT-X-VERSION:3
                       #EXT-X-TARGETDURATION:11
                       #EXT-X-MEDIA-SEQUENCE:0
                       #EXTINF:10.750000,
                       https://vcdm-
                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude0.ts?Expires=1692058230&Signat
                       ure=X-j9VAHmYvweCM-
                       dblOesIErSUUPPye19SnCx9oSQaIPIQ9PYd9fEqw70kunQdE0c9VdJUJT05ewHTOHxwr0fXs
                       g1UCjh2MBBBXuSguMBNLDplNuJxeg9ZzZpeEfPNC~k-
                       GWyC79vUAs1SasIIG1VfVy89Kb7cBiHt17-
                       baaBU01zty90WpmmejGY~vYOoen7gdJ9v7M~z0lVVREBiyygE7A0vGww6pEpEMztwSZZ4
                       ZoBkCdhZmLe3vjUm5MMr8nrU8n~ljj6fEYV3GeQiNlSEAApGW1qa5cNtQOhfX2ClzKrGHx
                       paXUKqEheDRGyCs2u3bOEHjqRm2o1-ynSK5rFw__&Key-Pair-
                       Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                    Example Infringement Evidence
                     #EXTINF:9.250000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude1.ts?Expires=1692058230&Signat
                     ure=CDpwAf98XhRNKYFrCcv-
                     ofhY3VrgZ6T7M~dt8AXR4VRuOrMTiwDrlCQfZ01vbPEmfi~L0OK6K9Y6rlItw3hSboVNYc-
                     Bs8Kxtaqz~kiDoN3TvSHmiaPcpjGO03IQ5nLbwn-
                     gcptixhXoqmhAYSfFJ8q1NrOHvq5WzlOKvx8v10snMl1mxS0fC5VRDXEYbkCvLSqe8OBa8
                     kev2TqT8dZw7uFepqygtWzr5C0u-
                     6nWGZHqw4vC0d~N50BQSxQ5bjMz28sAs1vw2KmnoYx4exlNb1EE6M6nUPCA3C9dc5tei7
                     fB4UUZDjALiy3x7tOF3Zd2KJg6yxsNQC3ER8sD8g98SQ__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.083333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=1692058230&Signat
                     ure=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                     Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGKUkDDfL7nBd
                     gfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                     0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                     3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                     NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                     CYxuCpPt9d50a8kEBRDNl3Tt-WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=1692058230&Signat
                     ure=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYHXS2lrrpkid5FBs5f~c3CtijVa
                     HEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                     ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25DxDRs3Pb1hLf
                     DUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-

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Claim Element                                    Example Infringement Evidence
                     eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                     ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80LzLrDZuk~tezw
                     __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.416667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=1692058230&Signat
                     ure=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                     IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                     zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                     y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-IHBaxLCvWoKA9Giwd1F-
                     Xcd7C9pLd800urg-20HZuei-
                     2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1sXw8yILs-
                     Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=1692058230&Signat
                     ure=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                     ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53RunAwQ~p3j4P6
                     3FEfL-ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                     eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4ahEG-
                     et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZpKD6UQPz8JI4
                     OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=1692058230&Signat
                     ure=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRwWgpnq8loZdNXxJusEz1BjFd
                     SviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0
                     wbL~iNVzRc2OWelQdLrCplH9mJAnzYUbb-


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Claim Element                                    Example Infringement Evidence
                     p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R0RNnvRIBG1
                     b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75YdM91BCDnFgTaB2DGh
                     w9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=1692058230&Signat
                     ure=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oPERBiu3cpkU1bmx18V7z1k
                     BeG7n-P9XrAsdZrTSeBc5Z-OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                     GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                     kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiHhdLg4riLBkF
                     xOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4s0AgtlqDkqHnu~HRUoAO
                     GTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.750000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=1692058230&Signat
                     ure=BA-
                     QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8IS2H2uktgoA
                     vqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                     bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                     ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT1CCM4eWrFn
                     IrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-
                     y4JfUClu3a2s-gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=1692058230&Signat
                     ure=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-


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Claim Element                                    Example Infringement Evidence
                     P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9uG1gv6uaDU
                     F-NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPfN~kJVa94-
                     XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDACytArwL9~CtJ
                     qifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-
                     rtvvpM2YO35x3QnHMYJlpNjIg-vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.666667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692058230&Signa
                     ture=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                     DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                     ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                     sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4WyWQN5SB
                     0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIVBR5qqb2UlZTE9zXwNFW
                     4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692058230&Signa
                     ture=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J39C0TOfHfhkuWX3GNV~B
                     7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk
                     6YyHaHA~YwMvSqF0FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                     ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                     G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                     38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-B3UWdy9CAhNg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692058230&Signa


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Claim Element                                    Example Infringement Evidence
                     ture=AcGGiMOj6opQRc-iQhv-
                     t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk2w0HmAaV5
                     pV1n11kWK-NV93ZRSPKyTc-
                     9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                     ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtwVnc-B-
                     rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                     naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692058230&Signa
                     ture=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39QN0fozRAJiDpxwfbGRLiCs
                     cRoibOsDnp8g45-N1Dv-
                     l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W~EUgXwn45U
                     nLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CWxRJaJXKIU7fPKI0rm2WKO
                     etZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                     ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692058230&Signa
                     ture=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yKA45ce57fGCLQkOTs9rLwvG
                     KYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYNWXti2HX96KWLRLluN9-
                     xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~FmcQCx17kws4l
                     Jq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VDvolOXbtWeRISpeUtqRcyPv
                     lEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibmBRqlyB-
                     y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA



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Claim Element                                    Example Infringement Evidence
                     #EXTINF:9.458333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude15.ts?Expires=1692058230&Signa
                     ture=EmKhQ97V1kC2nux03LOh0AsSs8x3T5uYyPU7uQwFWokFiT5Z1lXPDOYuvT4gX8H2
                     9x5ZwaGw9fzRPXaevWiB-ZyaBTwKdD5sNiXzC85OSWOECID-
                     V1OWE4FK0zsvdbK5AhvJ3UvtNzufrrcBM9deA1B0PD8NLxZ9at3GlebQlcoyuvMPmcogOD
                     7uPWbGcRUMw~kfl6JvTlQDcqbh7Azckr8Pj85rDKpY7ffr3dNqHK45HTx4Hq8P6BJ5HsI7--
                     xXzimlgev1OuXSYnXwUib-ejbAqhnf-
                     VcwgEuwFi2u9imp45LbHP~4ChIHJ2y5zkOvk6Vd6Rhlwe5QE~-91Ya7OA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude16.ts?Expires=1692058230&Signa
                     ture=D9tydyyfLvc63w423qjALtY-u7peL5T09eMLvlf3qIhCt-
                     z8xRmbnXtpHEtXxwqI~tQqCssOLXwaC-EY-
                     2o2wPfVMWWMVFw1vyi~T~DBrixO4J9gdgCnN7XiGrI8Ebe--Pchv5-H7e-
                     ReOIuUWsSOryzM6xfIOlM1KN-
                     dlXCqfCpIXnyOZOwsnVFAgxZcekcLrarB8e8SpE1wobXIogjk2DGMr3GmYymTXsGFiODw
                     XBTMuhWRcV1TARZLMK69oozNgv6-Te97KflduUeZVt6zapVj-
                     6Q8ZK7x7J9EFxmFwPXe7~SFFUQTxFMNJcu0esokmKOAR2tCxznBheaUR1Gag__&Key-
                     Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXT-X-CUE-OUT: 0
                     #EXT-X-CUE-IN
                     #EXTINF:8.375000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude17.ts?Expires=1692058230&Signa
                     ture=G0-13akiy1zABYLlQcnx7Om3pfZaPh~26uL9-
                     jwDy9bwyV6KOSVTJ9uknM13xLq12pki6n6V0cWIDrQvpsvz2Tl8~ewAUkjzwesP-

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 Claim Element                                                 Example Infringement Evidence
                               1XnJuY9tolEBNTaipdcKKeCNLw8LB9El~9einSOyMxcXmzX7ieVVlu-A~wi2GwbcMUb-
                               w8OlvYZjVa9yTxzoz2TUjkHqFmJQ6NJ4rrnmzIsAyFu75W71LOHC-J1vs0dbN-
                               S581jzsrg6WtUI9CbxM59TmAdLLJfnKS7XAgU5a0u~0ZbPF5Ne4z3xFWkif4joJCRc8E991A
                               Rl8BUoyFCth3z8vJDd-uDp5M-br~nKEfRI5ZvBg__&Key-Pair-
                               Id=APKAIPJESLAK2PMGD4PA
                               #EXT-X-ENDLIST


                        The variant playlist file is an HLS playlist. Each line in the file path
                        “361/670158/7/hls/S0E4_WorldsStrongestDude17.ts...” that begins with “#EXTINF” specifies the length of the
                        segments in seconds. The line below the #EXTINF file is the location of the video file. In the variant playlist
                        shown above, the segments of the video are separated by commercial segments. Each of the streamlets (except
                        the first and final streamlets of each playlist) is approximately 8-10 seconds long and returns sequential
                        segments of the video program and/or commercial.
                        As long as the viewer continues watching the video and the bandwidth is adequate to support the chosen
                        resolution, the end user device will continue to request (and Kidoodle.TV will provide) streamlets corresponding
                        to the current, chosen resolution.


[14.3] wherein the      As mentioned above, Kidoodle videos are encoded at a plurality of different bitrates to create a plurality of
video is encoded at     streams including at least a low quality stream, a medium quality stream, and a high quality stream, each of the
a plurality of          low quality stream, the medium quality stream, and the high quality stream comprising a group of streamlets
different bitrates to   encoded at the same respective one of the different bitrates, each group comprising at least first and second
create a plurality      streamlets, each of the streamlets corresponding to a portion of the videos.
of streams
                        In the instant test, a personal computer accessing the Kidoodle.TV site through a web browser makes a HTTPS
including at least a
                        GET request to prod.kidoodle.tv for the Master Manifest of a video program titled “Dude Perfect.” As shown in
low quality stream,
                        the excerpts of the Master Manifest below, the video available is encoded at 4 different bitrates.
a medium quality
stream, and a high


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 Claim Element                                              Example Infringement Evidence
quality stream,        #EXTM3U
each of the low
                       #EXT-X-VERSION:3
quality stream, the
medium quality         #EXT-X-STREAM-
stream, and the        INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
high quality
stream comprising      8.m3u8
a group of             #EXT-X-STREAM-
streamlets encoded     INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
at the same
respective one of      7.m3u8
the different          #EXT-X-STREAM-
bitrates, each         INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
group comprising
at least first and     6.m3u8
second streamlets,     #EXT-X-STREAM-
each of the            INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
streamlets
corresponding to a     5.m3u8
portion of the
                      File path: manifest.m3u8
video;
                      The master playlist shows four versions of the video stream at the following bandwidths:
                            300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                            1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                            500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                            800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406




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    Claim Element                                            Example Infringement Evidence
                      For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                      selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                      associated with the stream file path. For example:


                       Bandwidth           Token3
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth
                       500000              6.m3u8?...
                       Bandwidth
                       800000              5.m3u8?...
                       Bandwidth


                      Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                      For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                      Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                      considered a high-quality stream.
                      As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                      or streamlets, that encode segments of the video program. The streamlet files within each version playlist are


3
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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Claim Element                                         Example Infringement Evidence
                arranged in ascending chronological order, beginning with the first segment of the video program, and
                progressing until the final segment of the video program.
                 Bandwidth                      Streamlet (segment)
                 500000 Bandwidth               #EXTM3U
                                                #EXT-X-VERSION:3
                                                #EXT-X-TARGETDURATION:11
                                                #EXT-X-MEDIA-SEQUENCE:0
                                                …
                                                #EXTINF:10.083333,
                                                https://vcdm-
                                                cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                                2058315&Signature=fvGyZzCNd-crO6-
                                                JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                                ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                                SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                                fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                                -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                                8Zf6oIUQQca-
                                                5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                                _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                #EXTINF:10.333333,
                                                https://vcdm-
                                                cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                                2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU

                                                           20
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 488 of 863 PageID #: 542

                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                         KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                         yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                         AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                         t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                         Sst-
                                         smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                         Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                         zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                         qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                         wMBsQXOJRCpWmU-vG6QW-
                                         OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                         Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                         oEXkJRDttTXHtU5IKsfY-
                                         gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                         Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                         oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                         wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                         Ll4ZQKe13SeDvD0M~woH-


                                                   21
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 489 of 863 PageID #: 543

                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                         YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                         Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                         sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                         gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                         CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                         ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                         01-
                                         Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                         LQ9oQeeUI3NiT97-
                                         uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                         Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                         PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                         -
                                         4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                         UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                         Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                         1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-


                                                   22
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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058315&Signature=BXa7FwbB-
                                         XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                         hQprIM2EVLbLulCYs7d-
                                         NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                         EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                         zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                         04UoStbeCRxrNpEYOudkkm79k-
                                         d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                         o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                         IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                         d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                         V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                         2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                         ZyVYSd2~kXj3CG-
                                         AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                         vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,


                                                   23
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 491 of 863 PageID #: 545

                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                         nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                         PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                         cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                         00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                         dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                         yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                         8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                         RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                         oGm-
                                         nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                         0EsdN7ZUOam4P-
                                         E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                         yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                         ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                         15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                         ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-


                                                   24
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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         qVVkpgIZkF1HrUvTWvHcEXkVv--
                                         tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                         Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                         jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                         4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                         ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                         K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                         MXU8Ia-iZ8hL6vn4t-
                                         Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                         9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                         gtQgeix7e6gBfICuZQf-
                                         ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                         CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                         92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                         ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                         Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                         iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                         E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                         CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-


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                                    U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                           BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                           ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:9.666667,
                                           …
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                           CYxuCpPt9d50a8kEBRDNl3Tt-
                                           WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                           Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,


                                                     26
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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                         ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                         ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                         5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                         6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                         ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                         0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058230&Signature=eBd8Be4aj-
                                         PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                         IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                         Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                         y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                         IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                         2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                         x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058230&Signature=R83mjHLH07WWvwga8NT-
                                         JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                         ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                         RunAwQ~p3j4P63FEfL-
                                         ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-


                                                   27
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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                         hv4ahEG-
                                         et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                         ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                         KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                         JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                         LrCplH9mJAnzYUbb-
                                         p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                         4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                         Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                         6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                         2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                         OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                         GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                         kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                         uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                         wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                         __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058230&Signature=BA-
                                         QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                         K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                         KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                         ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                         eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                         U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                         gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                         P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                         Nv9uG1gv6uaDUF-
                                         NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                         MPfN~kJVa94-
                                         XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                         DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                         nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                         vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                         X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-

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Claim Element                                  Example Infringement Evidence
                                         ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                         sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                         5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                         kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                         VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                         BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                         mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                         FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                         ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                         G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                         38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                         B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                         t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                         etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                         9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                         ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                         twVnc-B-rQwaARTzxnztYW8tW~n19-
                                         HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                         naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                         XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                         Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                         l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                         8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                         v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                         FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                         ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                         Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                         92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                         b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                         6J9WYNWXti2HX96KWLRLluN9-
                                         xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                         FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                         m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                         gqYwbibmBRqlyB-
                                         y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         …
                                         #EXT-X-ENDLIST




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                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.
                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
                Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
                The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                make up the overall presentation.”).
                Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,

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                      where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                      at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                      The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                      each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                      the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                      allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                      present the same content” on playback. RFC 8216 at 43.


[14.4] wherein at     As explained above, Kidoodle videos are encoded at a plurality of different bitrates to create a plurality of
least one of the      streams including at least low, medium, and high quality streams. Each of the low, medium, and high quality
low quality stream,   streams has a streamlet that encodes the same portion of the video at a different one of the plurality of different
the medium            bitrates. Each of the streamlets comprising the low, medium, and high, quality streams are stored in variant
quality stream, and   playlists comprising a group of streamlets of the same quality at a respective bit rate. At least one of the low
the high quality      quality stream, the medium quality stream, and the high quality stream is encoded at a bitrate of no less than 600
stream is encoded     kbps.
at a bit rate of no
                      File path: manifest.m3u8
less than 600 kbps;
and                   The master playlist shows four versions of the video stream at the following bandwidths:
                            300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                            1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                            500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                            800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

[14.5] wherein the    The first streamlets of each of the low quality stream, the medium quality stream and the high quality stream
first streamlets of   each has an equal playback duration and each of the first streamlets encodes the same portion of the video at a
each of the low       different one of the different bitrates.
quality stream, the
                      As set forth above, each of the Variant Streams “describes a different version of the same content.” RFC 8216 at
medium quality
                      5. Thus, each of the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at

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 Claim Element                                                Example Infringement Evidence
stream and the         42. Indeed, to allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant
high quality           Stream MUST present the same content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching
stream each has an     content in Variant Streams MUST have matching timestamps” to allow the video player to synchronize the
equal playback         media. Id. Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number.
duration and each      The Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
of the first           Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
streamlets encodes     MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
the same portion
                       As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
of the video at a
                       or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
different one of the
                       arranged in ascending chronological order, beginning with the first segment of the video program and
different bitrates;
                       progressing until the final segment of the video program. As noted above, the variant playlist file is an HLS
                       playlist. Each line in the file that begins with “#EXTINF” specifies the length of the segments in seconds. The
                       line below the #EXTINF file is the location of the video file. In the present test, the End User Device accessing
                       Kidoodle.TV uses HTTPS GET requests to request and retrieve the segments of the encoded stream specified in
                       the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
                       streamlets) is approximately 8-10 seconds long.
                       The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                       bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                       segmented moments in the video.
                                 Bandwidth                           File line (#EXTINF: length) (portion of live stream)
                        500000 Bandwidth                #EXTM3U



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Claim Element                                  Example Infringement Evidence
                                         #EXT-X-VERSION:3
                                         #EXT-X-TARGETDURATION:11
                                         #EXT-X-MEDIA-SEQUENCE:0
                                         …
                                         #EXTINF:10.083333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                         2058315&Signature=fvGyZzCNd-crO6-
                                         JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                         ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                         SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                         fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                         -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                         8Zf6oIUQQca-
                                         5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                         _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                         QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                         KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                         yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                         AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                         t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v


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Claim Element                                  Example Infringement Evidence
                                         Sst-
                                         smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                         Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                         zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                         qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                         wMBsQXOJRCpWmU-vG6QW-
                                         OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                         Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                         oEXkJRDttTXHtU5IKsfY-
                                         gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                         Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                         oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                         wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                         Ll4ZQKe13SeDvD0M~woH-
                                         vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                         YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                         Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                         sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                         gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                         CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                         ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                         01-
                                         Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                         LQ9oQeeUI3NiT97-
                                         uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                         Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                         PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                         -
                                         4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                         UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                         Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                         1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                         xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169

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Claim Element                                  Example Infringement Evidence
                                         2058315&Signature=BXa7FwbB-
                                         XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                         hQprIM2EVLbLulCYs7d-
                                         NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                         EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                         zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                         04UoStbeCRxrNpEYOudkkm79k-
                                         d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                         o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                         IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                         d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                         V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                         2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                         ZyVYSd2~kXj3CG-
                                         AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                         vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                         nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                         PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                         cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf


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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 506 of 863 PageID #: 560

                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                         dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                         yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                         8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                         RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                         oGm-
                                         nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                         0EsdN7ZUOam4P-
                                         E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                         yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                         ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                         15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                         ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                         qVVkpgIZkF1HrUvTWvHcEXkVv--
                                         tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                         Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                         jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                         4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA


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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                         ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                         K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                         MXU8Ia-iZ8hL6vn4t-
                                         Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                         9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                         gtQgeix7e6gBfICuZQf-
                                         ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                         CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                         92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                         ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                         Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                         iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                         E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                         CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                         BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                         ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.666667,
                                         …



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                                    U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                           CYxuCpPt9d50a8kEBRDNl3Tt-
                                           WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                           Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                           2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                           ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                           ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                           5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ


                                                     41
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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                         ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                         0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058230&Signature=eBd8Be4aj-
                                         PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                         IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                         Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                         y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                         IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                         2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                         x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058230&Signature=R83mjHLH07WWvwga8NT-
                                         JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                         ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                         RunAwQ~p3j4P63FEfL-
                                         ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                         eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                         hv4ahEG-
                                         et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                         ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA



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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                         KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                         JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                         LrCplH9mJAnzYUbb-
                                         p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                         4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                         Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                         6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                         2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                         OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                         GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                         kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                         uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                         wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                         __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058230&Signature=BA-
                                         QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                         K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39

                                                   43
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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                         ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                         eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                         U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                         gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                         P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                         Nv9uG1gv6uaDUF-
                                         NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                         MPfN~kJVa94-
                                         XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                         DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                         nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                         vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                         X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                         ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                         sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                         5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                         kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                         VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA


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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                         BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                         mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                         FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                         ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                         G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                         38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                         B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                         t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                         etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                         9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                         ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                         twVnc-B-rQwaARTzxnztYW8tW~n19-
                                         HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                         naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                         XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                         Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                         l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT

                                                   45
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                                        U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                          Example Infringement Evidence
                                                8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                                v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                                FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                                ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                #EXTINF:10.333333,
                                                https://vcdm-
                                                cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                6J9WYNWXti2HX96KWLRLluN9-
                                                xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                gqYwbibmBRqlyB-
                                                y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                Id=APKAIPJESLAK2PMGD4PA
                                                …
                                                #EXT-X-ENDLIST


                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above. Similarly, on
                information and belief, the other bandwidth version streamlets are the same durations as the 500000 Bandwidth
                and 1800000 Bandwidth versions.
                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media

                                                           46
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                                              U.S. Patent No. 10,951,680 to Kidoodle


 Claim Element                                                Example Infringement Evidence
                      Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue
                      uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                      same Media Sequence Number in different Variant Streams or Renditions have the same position in the
                      presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the
                      relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                      corresponding segments.”).
[14.6] select a       The End User Device selects a specific one of the low quality stream, the medium quality stream, and the high
specific one of the   quality stream based upon a determination by the end user station to select a higher or lower bitrate version of
low quality stream,   the streams.
the medium
                      HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
quality stream, and
                      uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
the high quality
                      can receive a continuous stream of media from a server for concurrent presentation.”).
stream based upon
a determination by    As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
the end user          video stream at the following bandwidths:
station to select a
higher or lower             300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
bitrate version of          1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
the streams;                500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                            800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                      For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                      selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                      associated with the stream file path. For example:




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                                              U.S. Patent No. 10,951,680 to Kidoodle


    Claim Element                                            Example Infringement Evidence
                       Bandwidth           Token4
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth
                       500000              6.m3u8?...
                       Bandwidth
                       800000              5.m3u8?...
                       Bandwidth


                      The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                      streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                      request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                      the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                      500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                      1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                      1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                      the same alongside the status of the requests.
                       Method     Host                       Path                               …     Status




4
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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                                      U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                        Example Infringement Evidence
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude10.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude11.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude12.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude13.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude14.ts?...


                Additionally, HLS provides that “[m]atching content in Variant Streams MUST have matching timestamps” to
                allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media Segment in a Media Playlist has
                an integer Discontinuity Sequence Number. The Discontinuity Sequence Number can be used in addition to the
                timestamps within the media to synchronize Media Segments across different Renditions.” RFC 8216 at 39.



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 Claim Element                                                Example Infringement Evidence
                      Thus, “[m]atching content in Variant Streams MUST have matching Discontinuity Sequence Numbers.” RFC
                      8216 at 43.


[14.7] place at       The End User Device places at least one virtual timeline request for at least one virtual times based on the
least one virtual     selected one of the low quality stream, the medium quality stream, and the high quality stream.
timeline request
                      The variant playlists file are HLS playlists. Each line in the file that begins with “#EXTINF” specifies the length
for at least one
                      of the segments in seconds. The line below the #EXTINF file is the location of the video file. In the present test,
virtual times based
                      the End User Device accessing Kidoodle.TV requests and retrieves the segments of the encoded stream specified
on the selected one
                      in the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
of the low quality
                      streamlets) is approximately 8-10 seconds long.
stream, the
medium quality        The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
stream, and the       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
high quality          cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
stream; and`          cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                      cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                      cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                      bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                      segmented moments in the video.
                         Bandwidth Version                         File line (#EXTINF: length) (portion of live stream)
                       500000 Bandwidth            #EXTM3U
                                                   #EXT-X-VERSION:3
                                                   #EXT-X-TARGETDURATION:11
                                                   #EXT-X-MEDIA-SEQUENCE:0
                                                   …


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Claim Element                                  Example Infringement Evidence
                                      #EXTINF:10.083333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                      58315&Signature=fvGyZzCNd-crO6-
                                      JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-ERIBXKGkK~-
                                      uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                      SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMvfBl
                                      YgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb-
                                      4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                      8Zf6oIUQQca-
                                      5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg__&
                                      Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                      58315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigUQOQg
                                      L~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                      KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                      yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLYAeE
                                      62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                      t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~vSst-
                                      smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.416667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                      58315&Signature=YXXHRRu4Adc2jc-XdGykv-

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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42qpY
                                      mam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~LwMBsQ
                                      XOJRCpWmU-vG6QW-
                                      OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                      Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYWoEX
                                      kJRDttTXHtU5IKsfY-
                                      gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2Bj9g
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                      58315&Signature=CM-bcy4GkvIZLwyvQ-
                                      oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2ww
                                      J4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                      Ll4ZQKe13SeDvD0M~woH-
                                      vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9PY
                                      WZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4Kt6rU
                                      4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lLsWZ3I8tv
                                      jSixRbfhbDdDppd9ufg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                      58315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                      gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwLCE
                                      WqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                      ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA01-
                                      Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeBLQ


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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      9oQeeUI3NiT97-
                                      uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAVQ_
                                      _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                      58315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAEPSZD
                                      a9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp-
                                      4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                      UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaBBa~
                                      4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-1G6e6EUQFJQhQAsbdTNR-
                                      anlsScKypM~dskGmB-AAsYvGbGNB-MAu-xPMTZ8fS-
                                      EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.750000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                      58315&Signature=BXa7FwbB-
                                      XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9HhQp
                                      rIM2EVLbLulCYs7d-
                                      NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33XEVC
                                      ubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3zvOOO
                                      m6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn604UoStbeC
                                      RxrNpEYOudkkm79k-
                                      d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                      o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                      58315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                      IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsad7
                                      BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                      V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp2vf
                                      5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrcZyVY
                                      Sd2~kXj3CG-AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-
                                      T~DkokBOYJd8c-vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.666667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                      058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39nk9it
                                      xzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DVPqjXH1d
                                      cm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                      cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf00w
                                      m8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35dQoPsu
                                      4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJyml8sALw
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                      058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM8Rhb
                                      F9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                      RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvcoG
                                      m-nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-

                                                   54
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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      0EsdN7ZUOam4P-
                                      E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7igyLj
                                      hGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaGZkvaB
                                      ObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                      058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH15~o
                                      QepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqCky3EV~g
                                      yOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-qVVkpgIZkF1HrUvTWvHcEXkVv--
                                      tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5EfbGv
                                      ~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                      jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                      4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                      058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                      ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28K9
                                      4BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAxMXU8
                                      Ia-iZ8hL6vn4t-
                                      Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                      9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVCgt
                                      Qgeix7e6gBfICuZQf-
                                      ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3sCeV
                                      vdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA


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                                    U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                        #EXTINF:10.333333,
                                        https://vcdm-
                                        cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                        058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6toED9s
                                        TTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                        Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2iI~i
                                        jh7cbzmcgb38F-mazr0uLY-Rp-
                                        E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqaCeE
                                        0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                        BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                        ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                        #EXTINF:9.666667,
                                        …
                                        #EXT-X-ENDLIST
                1800000 Bandwidth       #EXTM3U
                                        #EXT-X-VERSION:3
                                        #EXT-X-TARGETDURATION:11
                                        #EXT-X-MEDIA-SEQUENCE:0
                                        …
                                        #EXTINF:10.083333,
                                        https://vcdm-
                                        cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                        58230&Signature=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                        Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGK


                                                     56
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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      UkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                      0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                      3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                      NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                      CYxuCpPt9d50a8kEBRDNl3Tt-
                                      WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                      58230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYH
                                      XS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                      ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25D
                                      xDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                                      eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                      ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80Lz
                                      LrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.416667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                      58230&Signature=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                      IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                                      zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                      y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                      IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                      2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1s
                                      Xw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA



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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                      58230&Signature=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-
                                      fBuAJohvGwaz-
                                      ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53Ru
                                      nAwQ~p3j4P63FEfL-
                                      ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                      eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4
                                      ahEG-
                                      et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZp
                                      KD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                      58230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRw
                                      Wgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa
                                      985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQdLrCplH9mJ
                                      AnzYUbb-
                                      p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R
                                      0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75
                                      YdM91BCDnFgTaB2DGhw9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-
                                      3SHA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                      58230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oP
                                      ERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-

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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                      GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                      kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiH
                                      hdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4
                                      s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-
                                      Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.750000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                      58230&Signature=BA-
                                      QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8
                                      IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                                      bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                      ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT
                                      1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                      U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                      gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                      58230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                      P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9
                                      uG1gv6uaDUF-
                                      NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPf
                                      N~kJVa94-
                                      XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDAC
                                      ytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-



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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                      vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.666667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                      058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                                      DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                      ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                      sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4
                                      WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIV
                                      BR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQ
                                      xD7AR93CPi6Km6Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                      058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J3
                                      9C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2
                                      G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0FqgXFZTeKO
                                      3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                      ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                      G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                      38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                      B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                      058230&Signature=AcGGiMOj6opQRc-iQhv-
                                      t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk


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                                  U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                      9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                      ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtw
                                      Vnc-B-rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-
                                      gRlRbR-
                                      naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                      058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39
                                      QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                      l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W
                                      ~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CW
                                      xRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41F
                                      mvaEMv8NErO3ANuCG1aLIkLJdb-
                                      ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-
                                      Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                      058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yK
                                      A45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYN
                                      WXti2HX96KWLRLluN9-
                                      xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~Fm
                                      cQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VD
                                      volOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibm
                                      BRqlyB-



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                                        U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                          Example Infringement Evidence
                                             y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                             Id=APKAIPJESLAK2PMGD4PA
                                             …
                                             #EXT-X-ENDLIST


                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above.
                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media
                Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue
                uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                same Media Sequence Number in different Variant Streams or Renditions have the same position in the
                presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the
                relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                corresponding segments.”).
                Indeed, to adapt playback between different bitrate Variant Streams, the End User Device “can use the EXTINF
                durations and the constraints in Section 6.2.4 to determine the approximate location of corresponding media.
                Once media from the new Variant Stream has been loaded, the timestamps in the Media Segments can be used
                to synchronize the old and new timelines precisely.” RFC 8216 at 47.
                Each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                streamlet encoding the same portion of the video in the high quality stream; allow “clients to switch between”
                Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same content” on
                playback. RFC 8216 at 43. Further, HLS provides that “[m]atching content in Variant Streams MUST have
                matching timestamps” to allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media

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Claim Element                                           Example Infringement Evidence
                Segment in a Media Playlist has an integer Discontinuity Sequence Number. The Discontinuity Sequence
                Number can be used in addition to the timestamps within the media to synchronize Media Segments across
                different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams MUST have matching
                Discontinuity Sequence Numbers.” RFC 8216 at 43.
                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                listing showing the same alongside the status of the requests.
                 Method     Host                        Path                               …     Status
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude9.ts?...



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Claim Element                                           Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude14.ts?...


                The Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary
                entities.” RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player,
                “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id. at 47 (“The
                first segment to load is generally the segment that the client has chosen to play first (see Section 6.3.3).”). Then,
                “[i]n order to play the presentation normally, the next Media Segment” the video player requests and “load[s]
                the one with the lowest Media Sequence Number that is greater than the Media Sequence Number of the last
                Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the video player must request a
                plurality of files with sequential Media Sequence Numbers/timestamps and the requests are made based on the
                Media Sequence Numbers/timestamps.
                As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.



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 Claim Element                                                 Example Infringement Evidence
                       On information and belief, playlists for the other resolution variants also include these segments, which
                       correspond to the same portion of the video provided from the server(s).
[22.8] receive the     The End User Device accessing Kidoodle.TV receives the at least one virtual timeline.
at least one virtual
                       HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
timeline.
                       uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                       can receive a continuous stream of media from a server for concurrent presentation.”).
                       For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                       version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                       switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                       determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                       and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                       the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                       receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                       listing showing the same alongside the status of the requests.
                        Method     Host                        Path                               …     Status
                        GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                               Dude6.ts?...
                        GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                               Dude7.ts?...
                        GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                               Dude8.ts?...
                        GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                               Dude9.ts?...




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                                       U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                         Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude14.ts?...


                Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary entities.”
                RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player accessing
                Kidoodle.TV, “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id.
                at 47 (“The first segment to load is generally the segment that the client has chosen to play first (see Section
                6.3.3).”). Then, “[i]n order to play the presentation normally, the next Media Segment” the End User Device
                requests and “load[s] the one with the lowest Media Sequence Number that is greater than the Media Sequence
                Number of the last Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the End User
                Device must request a plurality of files with sequential Media Sequence Numbers/timestamps and the requests
                are made based on the Media Sequence Numbers/timestamps.
                As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.



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                                              U.S. Patent No. 10,951,680 to Kidoodle


 Claim Element                                                Example Infringement Evidence
[22.9] retrieving     As described above, the one or more servers affiliated with Kidoodle retrieve from the storage device the
from the storage      requested virtual timeline for the currently selected one of the low quality stream, the medium quality stream,
device the            and the high quality stream.
requested virtual
timeline for the
currently selected
one of the low
quality stream, the
medium quality
stream, and the
high quality
stream; and
[22.10] sending       The one or more servers send the retrieved virtual timeline to the requesting one of the end user stations over the
the retrieved         one or more network connections.
virtual timeline to
                      HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
the requesting one
                      uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
of the end user
                      can receive a continuous stream of media from a server for concurrent presentation.”).
stations over the
one or more           For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
network               version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
connections.          switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                      determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                      and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                      the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                      receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                      listing showing the same alongside the status of the requests.
                       Method     Host                        Path                               …     Status



                                                                  67
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                                         U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                           Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude9.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude14.ts?...


                The Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary
                entities.” RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player,
                “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id. at 47 (“The
                first segment to load is generally the segment that the client has chosen to play first (see Section 6.3.3).”). Then,
                “[i]n order to play the presentation normally, the next Media Segment” the video player requests and “load[s]

                                                             68
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                                       U.S. Patent No. 10,951,680 to Kidoodle


Claim Element                                        Example Infringement Evidence
                the one with the lowest Media Sequence Number that is greater than the Media Sequence Number of the last
                Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the video player must request a
                plurality of files with sequential Media Sequence Numbers/timestamps and the requests are made based on the
                Media Sequence Numbers/timestamps.
                As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.




                                                          69
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                   EXHIBIT R
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                                              U.S. Patent No. 10,469,555 to Kidoodle


        The following claim chart shows exemplary aspects of A Parent Media Co. Inc.’s Kidoodle.TV streaming services and
products (“Kidoodle”) that infringe claim 10 of the ’555 Patent. The chart is exemplary and should not be read to limit DISH’s
assertions against Kidoodle, or any other streaming services offered by A Parent Media Co. Inc. or Kidoodle as to the services or
products described below. The chart should not be read to limit DISH’s assertions to the patent claim charted below. Nor should the
chart below be read to limit how Kidoodle infringes the claim below.
   Claim Element                                             Example Infringement Evidence
 [10.pre] A content   Kidoodle includes information and Applications that include an end user content player device which streams a
 player device to     video over a network from a server for playback of the video. Kidoodle is executable by devices that obtain
 stream a video       streams of a selected video program for playback. The streams include live streams that are obtained from one or
 over a network       more servers affiliated with Kidoodle over a network.
 from a server for
 playback of the      The images in this chart are from a device accessing the Kidoodle.tv website through a web browser, such as
 video, the content   Microsoft Edge, Google Chrome, or iOS Safari. Kidoodle.tv supports all major web browsers. See
 player device
                      https://about.kidoodle.tv/ (“We’re available across all available platforms.”).
 comprising:




                      https://about.kidoodle.tv/ (“We’re available across all available platforms.”)

                      Kidoodle also includes applications for all platforms, including Apple App Store for iOS devices, Google Play
                      for Android devices, Roku, and Amazon Fire TV, which also access the Kidoodle.tv website to stream video
                      content. See https://about.kidoodle.tv/watch-now/

                                                                  1
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Claim Element                                          Example Infringement Evidence




                https://about.kidoodle.tv/watch-now/
                 Upon information and belief, the aforementioned device that accesses Kidoodle.tv through a website, and the
                applications that access Kidoodle.tv (collectively, “End User Device”) operate in the same or substantially the
                same way for purposes of this chart.

                The one or more servers accessible by Kidoodle store video files which are streamed to the end user stations.
                The following are examples of the videos that may be streamed from the one or more servers to the End User
                Device(s). See https://kidoodle.tv/.




                                                            2
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 Claim Element                                               Example Infringement Evidence
                      https://kidoodle.tv/.
                      Tests were conducted on videos offered over the Kidoodle.TV site accessed on a personal computer (e.g., End
                      User Device). As part of the testing, the End User Device was connected to the internet through the Charles
                      Proxy application, which enabled the abilities to proxy the device’s network traffic, to view the device’s network
                      traffic, and to throttle the network’s available bandwidth. Thus, the test simulated how Kidoodle responded to
                      lower and higher bandwidths. For the current test, a video titled “Dude Perfect” was selected. When the user
                      selects a video from the available videos, the media player embedded in the Kidoodle.TV site displays more
                      details regarding the video and provides the user with the option to view the video.
                      Selecting the icon corresponding to a video causes that video and other materials to be streamed and displayed
                      on the user’s device.
                      With respect to adaptively receiving the digital stream from the video server over the network, the media player
                      embedded in the Kidoodle.TV site accesses adaptive bitrate streams are provided to the media player from a
                      server affiliated with Kidoodle over a network using the HTTP Live Streaming (“HLS”) adaptive bitrate
                      streaming protocol. HLS is “a protocol for transferring unbounded streams of multimedia data.” Request For
                      Comments: 8216 – HTTP Live Streaming, August 2017 (“RFC 8216”) at 1. Using HLS, “a client can receive a
                      continuous stream of media from a server for concurrent presentation.” RFC 8216 at 4. HLS “allows a receiver
                      to adapt the bitrate of the media to the current network conditions in order to maintain uninterrupted playback at
                      the best possible quality.” RFC 8216 at 4. With HLS, “[c]lients should switch between different Variant Streams
                      to adapt to network conditions.” RFC 8216 at 5.

[10.1] a processor;   Kidoodle’s content is accessible on End User Devices. https://about.kidoodle.tv/ (“We’re available across all
                      available platforms.”). Example end user devices include personal computers, Macintosh computers, Apple
                      iPhones, Apple iPads, Android phones, Android tablets, and smart TV devices equipped to access the internet
                      via one or more network connections. The end users’ devices include a processor configured to enable video
                      streaming.




                                                                  4
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 Claim Element                                              Example Infringement Evidence




                     See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)

                     The screenshots in this chart of the Kidoodle website are from accessing the Kidoodle website on an Apple
                     iPhone or Windows computer. On information and belief, at least one of the devices capable of accessing and
                     viewing Kidoodle content contains a processor.
[10.2] a digital     As explained above, Kidoodle’s content is accessible on end users’ devices. Example end user devices include
processing           personal computers, Macintosh computers, Apple iPhones, Apple iPads, Android phones, Android tablets, and
apparatus memory     smart TV devices equipped to access the internet via one or more network connections. The end users’ devices
device comprising    include a processor configured to enable video streaming. The end users’ devices also include memory devices
non-transitory       having non-transitory machine-readable instructions that cause an end user device to establish one or more
machine-readable     network connections between the End User Device and the server hosting Kidoodle videos, which is configured
instructions that,   to access at least one of a plurality of groups of streamlets.
when executed,
cause the
                     Through the established network connection, the devices streaming Kidoodle access video programs that are
processor to:
                     stored on one or more servers for display on the devices via the video player accessing the Kidoodle.TV site. See
establish one or
more network
connections
between the client
                                                                 5
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  Claim Element                                            Example Infringement Evidence
module and the      also
server, wherein the
server is
configured to
access at least one
of a plurality of
groups of
streamlets;




                    See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)
                    The one or more servers hosting Kidoodle.TV video programs store streamlets corresponding to particular
                    segments of a video program, and each streamlet is encoded at one of numerous resolutions. Each of the stored
                    streams, or variant playlists, comprises a plurality of streamlets at the same resolution. The arrangements of each
                    variant playlist ensure the sequential playback of the streams at a resolution supported by the available network
                    bandwidth.
                    For example, in the instant test of a video titled “Dude Perfect,” the end user station: established a network
                    connection, connected with the one or more Kidoodle servers, and made an HTTP GET request to
                    prod.kidoodle.tv for a master manifest located at the following path:
                    https://prod.kidoodle.tv/api/2.0/content/elemental-source/web/2545/94152/670158/watch/manifest.m3u8
                    (hereafter referred to as the “Master Manifest” or “manifest.m3u8”). The Master Manifest returned the
                    following contents, reflecting the Uniform Resource Indicators (“URIs”) of the various variant playlists hosting
                    at least a group of streamlets:
                     #EXTM3U
                     #EXT-X-VERSION:3
                     #EXT-X-STREAM-
                     INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"


                                                                 6
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  Claim Element                                                Example Infringement Evidence
                        8.m3u8
                        #EXT-X-STREAM-
                        INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
                        7.m3u8
                        #EXT-X-STREAM-
                        INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                        6.m3u8
                        #EXT-X-STREAM-
                        INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
                        5.m3u8
                       File path: manifest.m3u8
                       The master playlist shows four versions of the video stream at the following bandwidths:
                           300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                           1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                           500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                           800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                       For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                       selected video program at a particular bandwidth and resolution. Each variant playlist, or version playlist, is
                       defined by the token associated with the stream file path. For example:

                         Bandwidth           Token1
                         300000              8.m3u8?...
                         Bandwidth
                         1800000             7.m3u8?...
                         Bandwidth


1 Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full

token identifier is shown in the original Charles file.
                                                                    7
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     Claim Element                                             Example Infringement Evidence
                          500000            6.m3u8?...
                          Bandwidth
                          800000            5.m3u8?...
                          Bandwidth

                        Each of the variant playlists includes segments, or streamlets, that encode the same portion of the video at
                        various qualities. For example, the 300000 Bandwidth version can be considered a low-quality stream, the
                        500000 or 800000 Bandwidth version can be considered a medium-quality stream, and the 1800000
                        Bandwidth version can be considered a high-quality stream.
                        Kidoodle also uses HTTPS GET requests to retrieve the segments, or streamlets, of the encoded video specified
                        in the file above from the one or more servers hosting Kidoodle content.
                        The Media Playlist for each of the Variant Streams identifies a group of streamlets associated with each of the
                        different copies, as the exemplary Media Playlist shown below illustrates. See RFC 8216 at 38 (“The server
                        must create a Media Playlist file (Section 4) that contains a URI for each Media Segment that the server wishes
                        to make available, in the order in which they are to be played.”); see also RFC 8216 at 4 (“A multimedia
                        presentation is specified by a Uniform Resource Identifier (URI) [RFC3986] to a Playlist.”); RFC 8216 at 4 (“A
                        Media Playlist contains a series of Media Segments that make up the overall presentation. A Media Segment is
                        specified by a URI and optionally a byte range.”).
                        As shown by the Charles Proxy application file, partially reproduced below, the streamlet video files are hosted
                        on a server accessible via https://vcdm-cf.kidoodle.tv/. The server accesses the stored streamlet files for
                        playback on an end user device.
                         Method Host                            Path2                     …         Status
                         GET          vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4 …             Complete
                                                                _WorldsStrongestDude
                                                                0.ts?...
                         GET          vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4 …             Complete
                                                                _WorldsStrongestDude
                                                                1.ts?...

2
    Video path abbreviated for readability throughout.
                                                                    8
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Claim Element                                           Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4 …        Complete
                                                       _WorldsStrongestDude
                                                       2.ts?...
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4 …        Complete
                                                       _WorldsStrongestDude
                                                       3.ts?...

                Importantly, the test video “Dude Perfect” is a video uploaded to servers hosting Kidoodle content. On
                information and belief, the live event videos offered to Kidoodle viewers are similarly encoded at multiple
                resolutions, hosted on one or more servers, and accessed through HTTP Get Requests by end users’ devices,
                such that they similarly perform the demonstrated claim limitations.
                As shown in the test data, the End User Device accessing Kidoodle.TV selects the 1800000 Bandwidth version
                of the stream and makes a request for the corresponding playlist. The server(s) returns the playlist file with the
                following contents:
                        #EXTM3U
                        #EXT-X-VERSION:3
                        #EXT-X-TARGETDURATION:11
                        #EXT-X-MEDIA-SEQUENCE:0
                        #EXTINF:10.750000,
                        https://vcdm-
                        cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude0.ts?Expires=1692058230&Signat
                        ure=X-j9VAHmYvweCM-
                        dblOesIErSUUPPye19SnCx9oSQaIPIQ9PYd9fEqw70kunQdE0c9VdJUJT05ewHTOHxwr0fXs
                        g1UCjh2MBBBXuSguMBNLDplNuJxeg9ZzZpeEfPNC~k-
                        GWyC79vUAs1SasIIG1VfVy89Kb7cBiHt17-
                        baaBU01zty90WpmmejGY~vYOoen7gdJ9v7M~z0lVVREBiyygE7A0vGww6pEpEMztwSZZ4
                        ZoBkCdhZmLe3vjUm5MMr8nrU8n~ljj6fEYV3GeQiNlSEAApGW1qa5cNtQOhfX2ClzKrGHx
                        paXUKqEheDRGyCs2u3bOEHjqRm2o1-ynSK5rFw__&Key-Pair-
                        Id=APKAIPJESLAK2PMGD4PA
                        #EXTINF:9.250000,

                                                             9
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Claim Element                                    Example Infringement Evidence
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude1.ts?Expires=1692058230&Signat
                     ure=CDpwAf98XhRNKYFrCcv-
                     ofhY3VrgZ6T7M~dt8AXR4VRuOrMTiwDrlCQfZ01vbPEmfi~L0OK6K9Y6rlItw3hSboVNYc-
                     Bs8Kxtaqz~kiDoN3TvSHmiaPcpjGO03IQ5nLbwn-
                     gcptixhXoqmhAYSfFJ8q1NrOHvq5WzlOKvx8v10snMl1mxS0fC5VRDXEYbkCvLSqe8OBa8
                     kev2TqT8dZw7uFepqygtWzr5C0u-
                     6nWGZHqw4vC0d~N50BQSxQ5bjMz28sAs1vw2KmnoYx4exlNb1EE6M6nUPCA3C9dc5tei7
                     fB4UUZDjALiy3x7tOF3Zd2KJg6yxsNQC3ER8sD8g98SQ__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.083333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=1692058230&Signat
                     ure=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                     Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGKUkDDfL7nBd
                     gfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                     0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                     3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                     NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                     CYxuCpPt9d50a8kEBRDNl3Tt-WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=1692058230&Signat
                     ure=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYHXS2lrrpkid5FBs5f~c3CtijVa
                     HEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                     ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25DxDRs3Pb1hLf
                     DUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                     eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-



                                                     10
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                                   U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                       Example Infringement Evidence
                     ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80LzLrDZuk~tezw
                     __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.416667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=1692058230&Signat
                     ure=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                     IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                     zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                     y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-IHBaxLCvWoKA9Giwd1F-
                     Xcd7C9pLd800urg-20HZuei-
                     2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1sXw8yILs-
                     Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=1692058230&Signat
                     ure=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                     ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53RunAwQ~p3j4P6
                     3FEfL-ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                     eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4ahEG-
                     et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZpKD6UQPz8JI4
                     OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=1692058230&Signat
                     ure=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRwWgpnq8loZdNXxJusEz1BjFd
                     SviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0
                     wbL~iNVzRc2OWelQdLrCplH9mJAnzYUbb-
                     p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R0RNnvRIBG1
                     b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75YdM91BCDnFgTaB2DGh



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Claim Element                                       Example Infringement Evidence
                     w9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=1692058230&Signat
                     ure=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oPERBiu3cpkU1bmx18V7z1k
                     BeG7n-P9XrAsdZrTSeBc5Z-OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                     GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                     kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiHhdLg4riLBkF
                     xOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4s0AgtlqDkqHnu~HRUoAO
                     GTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.750000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=1692058230&Signat
                     ure=BA-
                     QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8IS2H2uktgoA
                     vqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                     bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                     ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT1CCM4eWrFn
                     IrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-
                     y4JfUClu3a2s-gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=1692058230&Signat
                     ure=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                     P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9uG1gv6uaDU
                     F-NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPfN~kJVa94-
                     XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDACytArwL9~CtJ



                                                     12
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Claim Element                                       Example Infringement Evidence
                     qifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-
                     rtvvpM2YO35x3QnHMYJlpNjIg-vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.666667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692058230&Signa
                     ture=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                     DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                     ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                     sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4WyWQN5SB
                     0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIVBR5qqb2UlZTE9zXwNFW
                     4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692058230&Signa
                     ture=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J39C0TOfHfhkuWX3GNV~B
                     7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk
                     6YyHaHA~YwMvSqF0FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                     ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                     G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                     38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-B3UWdy9CAhNg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692058230&Signa
                     ture=AcGGiMOj6opQRc-iQhv-
                     t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk2w0HmAaV5
                     pV1n11kWK-NV93ZRSPKyTc-
                     9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                     ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtwVnc-B-

                                                     13
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Claim Element                                       Example Infringement Evidence
                     rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                     naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692058230&Signa
                     ture=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39QN0fozRAJiDpxwfbGRLiCs
                     cRoibOsDnp8g45-N1Dv-
                     l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W~EUgXwn45U
                     nLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CWxRJaJXKIU7fPKI0rm2WKO
                     etZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                     ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692058230&Signa
                     ture=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yKA45ce57fGCLQkOTs9rLwvG
                     KYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYNWXti2HX96KWLRLluN9-
                     xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~FmcQCx17kws4l
                     Jq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VDvolOXbtWeRISpeUtqRcyPv
                     lEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibmBRqlyB-
                     y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.458333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude15.ts?Expires=1692058230&Signa
                     ture=EmKhQ97V1kC2nux03LOh0AsSs8x3T5uYyPU7uQwFWokFiT5Z1lXPDOYuvT4gX8H2
                     9x5ZwaGw9fzRPXaevWiB-ZyaBTwKdD5sNiXzC85OSWOECID-
                     V1OWE4FK0zsvdbK5AhvJ3UvtNzufrrcBM9deA1B0PD8NLxZ9at3GlebQlcoyuvMPmcogOD
                     7uPWbGcRUMw~kfl6JvTlQDcqbh7Azckr8Pj85rDKpY7ffr3dNqHK45HTx4Hq8P6BJ5HsI7--

                                                     14
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Claim Element                                         Example Infringement Evidence
                       xXzimlgev1OuXSYnXwUib-ejbAqhnf-
                       VcwgEuwFi2u9imp45LbHP~4ChIHJ2y5zkOvk6Vd6Rhlwe5QE~-91Ya7OA__&Key-Pair-
                       Id=APKAIPJESLAK2PMGD4PA
                       #EXTINF:10.125000,
                       https://vcdm-
                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude16.ts?Expires=1692058230&Signa
                       ture=D9tydyyfLvc63w423qjALtY-u7peL5T09eMLvlf3qIhCt-
                       z8xRmbnXtpHEtXxwqI~tQqCssOLXwaC-EY-
                       2o2wPfVMWWMVFw1vyi~T~DBrixO4J9gdgCnN7XiGrI8Ebe--Pchv5-H7e-
                       ReOIuUWsSOryzM6xfIOlM1KN-
                       dlXCqfCpIXnyOZOwsnVFAgxZcekcLrarB8e8SpE1wobXIogjk2DGMr3GmYymTXsGFiODw
                       XBTMuhWRcV1TARZLMK69oozNgv6-Te97KflduUeZVt6zapVj-
                       6Q8ZK7x7J9EFxmFwPXe7~SFFUQTxFMNJcu0esokmKOAR2tCxznBheaUR1Gag__&Key-
                       Pair-Id=APKAIPJESLAK2PMGD4PA
                       #EXT-X-CUE-OUT: 0
                       #EXT-X-CUE-IN
                       #EXTINF:8.375000,
                       https://vcdm-
                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude17.ts?Expires=1692058230&Signa
                       ture=G0-13akiy1zABYLlQcnx7Om3pfZaPh~26uL9-
                       jwDy9bwyV6KOSVTJ9uknM13xLq12pki6n6V0cWIDrQvpsvz2Tl8~ewAUkjzwesP-
                       1XnJuY9tolEBNTaipdcKKeCNLw8LB9El~9einSOyMxcXmzX7ieVVlu-A~wi2GwbcMUb-
                       w8OlvYZjVa9yTxzoz2TUjkHqFmJQ6NJ4rrnmzIsAyFu75W71LOHC-J1vs0dbN-
                       S581jzsrg6WtUI9CbxM59TmAdLLJfnKS7XAgU5a0u~0ZbPF5Ne4z3xFWkif4joJCRc8E991A
                       Rl8BUoyFCth3z8vJDd-uDp5M-br~nKEfRI5ZvBg__&Key-Pair-
                       Id=APKAIPJESLAK2PMGD4PA
                       #EXT-X-ENDLIST

                The variant playlist file is an HLS playlist. Each line in the file path
                “361/670158/7/hls/S0E4_WorldsStrongestDude17.ts...” that begins with “#EXTINF” specifies the length of the

                                                         15
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 Claim Element                                                    Example Infringement Evidence
                        segments in seconds. The line below the #EXTINF file is the location of the video file. In the variant playlist
                        shown above, the segments of the video are separated by commercial segments. Each of the streamlets (except
                        the first and final streamlets of each playlist) is approximately 8-10 seconds long and returns sequential
                        segments of the video program and/or commercial.
                        As long as the viewer continues watching the video and the bandwidth is adequate to support the chosen
                        resolution, the end user device will continue to request (and Kidoodle.TV will provide) streamlets corresponding
                        to the current, chosen resolution.

[10.3] wherein the      Kidoodle videos are encoded at a plurality of different bitrates to create a plurality of streams including at least a
video is encoded at     low quality stream, a medium quality stream, and a high quality stream, wherein each of the low quality stream,
a plurality of          the medium quality stream, and the high quality stream comprises a streamlet that encodes the same portion of
different bitrates to   the video at a different one of the plurality of different bitrates.
create a plurality
of streams              In the instant test, a personal computer accessing the Kidoodle.TV site through a web browser makes a HTTPS
including at least a    GET request to prod.kidoodle.tv for the Master Manifest of a video program titled “Dude Perfect.” As shown in
low quality stream,
                        the excerpts of the Master Manifest below, the video available is encoded at 4 different bitrates.
a medium quality
                         #EXTM3U
stream, and a high
quality stream,          #EXT-X-VERSION:3
wherein each of          #EXT-X-STREAM-
the low quality          INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
stream, the              8.m3u8
medium quality           #EXT-X-STREAM-
stream, and the          INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
high quality             7.m3u8
stream comprises a       #EXT-X-STREAM-
streamlet that           INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
encodes the same         6.m3u8
portion of the           #EXT-X-STREAM-
video at a different     INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
one of the plurality     5.m3u8

                                                                     16
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   Claim Element                                              Example Infringement Evidence
 of different           File path: manifest.m3u8
 bitrates;
                       The master playlist shows four versions of the video stream at the following bandwidths:
                           300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                           1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                           500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                           800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                       For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                       selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                       associated with the stream file path. For example:

                         Bandwidth           Token3
                         300000              8.m3u8?...
                         Bandwidth
                         1800000             7.m3u8?...
                         Bandwidth
                         500000              6.m3u8?...
                         Bandwidth
                         800000              5.m3u8?...
                         Bandwidth

                       Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                       For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                       Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                       considered a high-quality stream.



3 Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full

token identifier is shown in the original Charles file.
                                                                  17
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Claim Element                                           Example Infringement Evidence
                As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                arranged in ascending chronological order, beginning with the first segment of the video program, and
                progressing until the final segment of the video program.
                 Bandwidth                       Streamlet (segment)
                 500000 Bandwidth                #EXTM3U
                                                 #EXT-X-VERSION:3
                                                 #EXT-X-TARGETDURATION:11
                                                 #EXT-X-MEDIA-SEQUENCE:0
                                                 …
                                                 #EXTINF:10.083333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                                 2058315&Signature=fvGyZzCNd-crO6-
                                                 JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                                 ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                                 SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                                 fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                                 -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                                 8Zf6oIUQQca-
                                                 5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                                 _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                                 2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                                 QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                                 KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                                 yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                                 AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-

                                                          18
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Claim Element                                   Example Infringement Evidence
                                         t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                         Sst-
                                         smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                         Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                         zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                         qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                         wMBsQXOJRCpWmU-vG6QW-
                                         OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                         Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                         oEXkJRDttTXHtU5IKsfY-
                                         gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                         Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                         oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                         wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                         Ll4ZQKe13SeDvD0M~woH-
                                         vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                         YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                         Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                         sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,



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Claim Element                                   Example Infringement Evidence
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                         gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                         CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                         ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                         01-
                                         Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                         LQ9oQeeUI3NiT97-
                                         uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                         Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                         PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                         -
                                         4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                         UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                         Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                         1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                         xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058315&Signature=BXa7FwbB-
                                         XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                         hQprIM2EVLbLulCYs7d-
                                         NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X

                                                   20
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 558 of 863 PageID #: 612

                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                         EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                         zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                         04UoStbeCRxrNpEYOudkkm79k-
                                         d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                         o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                         IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                         d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                         V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                         2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                         ZyVYSd2~kXj3CG-
                                         AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                         vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                         nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                         PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                         cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                         00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                         dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                         yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM

                                                   21
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 559 of 863 PageID #: 613

                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                         8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                         RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                         oGm-
                                         nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                         0EsdN7ZUOam4P-
                                         E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                         yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                         ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                         15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                         ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                         qVVkpgIZkF1HrUvTWvHcEXkVv--
                                         tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                         Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                         jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                         4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                         ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                         K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                         MXU8Ia-iZ8hL6vn4t-
                                         Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                         9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                         gtQgeix7e6gBfICuZQf-

                                                   22
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                                    U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                     Example Infringement Evidence
                                           ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                           CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                           92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                           ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                           Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                           iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                           E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                           CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                           BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                           ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:9.666667,
                                           …
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-

                                                     23
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 561 of 863 PageID #: 615

                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                         CYxuCpPt9d50a8kEBRDNl3Tt-
                                         WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                         ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                         ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                         5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                         6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                         ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                         0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058230&Signature=eBd8Be4aj-
                                         PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                         IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                         Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                         y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                         IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                         2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                         x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058230&Signature=R83mjHLH07WWvwga8NT-
                                         JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                         ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                         RunAwQ~p3j4P63FEfL-

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                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                         ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                         eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                         hv4ahEG-
                                         et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                         ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                         KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                         JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                         LrCplH9mJAnzYUbb-
                                         p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                         4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                         Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                         6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                         2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                         OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                         GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                         kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                         uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                         wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                         __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169

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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 563 of 863 PageID #: 617

                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                         2058230&Signature=BA-
                                         QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                         K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                         KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                         ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                         eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                         U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                         gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                         P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                         Nv9uG1gv6uaDUF-
                                         NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                         MPfN~kJVa94-
                                         XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                         DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                         nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                         vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                         X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                         ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                         sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                         5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                         kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                         VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA

                                                   26
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                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                         BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                         mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                         FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                         ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                         G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                         38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                         B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                         t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                         etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                         9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                         ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                         twVnc-B-rQwaARTzxnztYW8tW~n19-
                                         HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                         naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                         XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                         Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                         l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                         8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                         v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                         FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-

                                                   27
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                                        U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                           Example Infringement Evidence
                                                 ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                 Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                 92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                 b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                 6J9WYNWXti2HX96KWLRLluN9-
                                                 xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                 FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                 m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                 gqYwbibmBRqlyB-
                                                 y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                 Id=APKAIPJESLAK2PMGD4PA
                                                 …
                                                 #EXT-X-ENDLIST

                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.

                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize

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 Claim Element                                            Example Infringement Evidence
                     Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                     MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.

                     The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                     high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                     contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                     RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                     and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                     discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                     make up the overall presentation.”).

                     Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                     provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                     Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                     4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                     segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                     continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                     where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                     at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.

                     The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                     each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                     the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                     allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                     present the same content” on playback. RFC 8216 at 43.

[10.4] wherein at   At least one of the low, medium, or high quality streams of the Kidoodle video is encoded at a bit rate of no less
least one of the    than 600 kbps.
low quality stream,
medium quality           300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
stream, and high         1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720

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  Claim Element                                               Example Infringement Evidence
quality stream is            500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
encoded at a bit             800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406
rate of no less than
600 kbps; and          For example, the 800000 Bandwidth is encoded at more than 600 kbps.

[10.5] wherein the     The streamlet encoding the same portion of the video in the low quality stream has an equal playback duration
streamlet encoding     as the streamlet encoding the same portion of the video in the high quality stream.
the same portion
of the video in the    As set forth above, each of the Variant Streams “describes a different version of the same content.” RFC 8216 at
low quality stream     5. Thus, each of the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at
has an equal           42. Indeed, to allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant
playback duration      Stream MUST present the same content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching
as the streamlet
                       content in Variant Streams MUST have matching timestamps” to allow the video player to synchronize the
encoding the same
                       media. Id. Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number.
portion of the
video in the high      The Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
quality stream;        Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                       MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.

                       As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                       or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                       arranged in ascending chronological order, beginning with the first segment of the video program and
                       progressing until the final segment of the video program. As noted above, the variant playlist file is an HLS
                       playlist. Each line in the file that begins with “#EXTINF” specifies the length of the segments in seconds. The
                       line below the #EXTINF file is the location of the video file. In the present test, the End User Device accessing
                       Kidoodle.TV uses HTTPS GET requests to request and retrieve the segments of the encoded stream specified in
                       the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
                       streamlets) is approximately 8-10 seconds long.

                       The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-


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Claim Element                                           Example Infringement Evidence
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                segmented moments in the video.
                          Bandwidth                           File line (#EXTINF: length) (portion of live stream)
                 500000 Bandwidth                #EXTM3U
                                                 #EXT-X-VERSION:3
                                                 #EXT-X-TARGETDURATION:11
                                                 #EXT-X-MEDIA-SEQUENCE:0
                                                 …
                                                 #EXTINF:10.083333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                                 2058315&Signature=fvGyZzCNd-crO6-
                                                 JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                                 ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                                 SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                                 fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                                 -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                                 8Zf6oIUQQca-
                                                 5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                                 _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                                 2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                                 QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                                 KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-

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Claim Element                                   Example Infringement Evidence
                                         yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                         AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                         t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                         Sst-
                                         smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                         Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                         zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                         qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                         wMBsQXOJRCpWmU-vG6QW-
                                         OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                         Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                         oEXkJRDttTXHtU5IKsfY-
                                         gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                         Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                         oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                         wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                         Ll4ZQKe13SeDvD0M~woH-
                                         vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                         YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                         Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                         sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA

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Claim Element                                   Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                         gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                         CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                         ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                         01-
                                         Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                         LQ9oQeeUI3NiT97-
                                         uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                         Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                         PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                         -
                                         4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                         UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                         Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                         1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                         xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058315&Signature=BXa7FwbB-
                                         XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                         hQprIM2EVLbLulCYs7d-

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Claim Element                                   Example Infringement Evidence
                                         NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                         EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                         zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                         04UoStbeCRxrNpEYOudkkm79k-
                                         d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                         o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                         IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                         d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                         V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                         2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                         ZyVYSd2~kXj3CG-
                                         AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                         vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                         nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                         PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                         cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                         00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                         dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                         yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16

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Claim Element                                   Example Infringement Evidence
                                         92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                         8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                         RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                         oGm-
                                         nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                         0EsdN7ZUOam4P-
                                         E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                         yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                         ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                         15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                         ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                         qVVkpgIZkF1HrUvTWvHcEXkVv--
                                         tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                         Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                         jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                         4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                         ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                         K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                         MXU8Ia-iZ8hL6vn4t-
                                         Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                         9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC

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Claim Element                                     Example Infringement Evidence
                                           gtQgeix7e6gBfICuZQf-
                                           ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                           CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                           92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                           ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                           Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                           iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                           E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                           CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                           BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                           ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:9.666667,
                                           …
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-

                                                     36
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Claim Element                                   Example Infringement Evidence
                                         NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                         CYxuCpPt9d50a8kEBRDNl3Tt-
                                         WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                         ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                         ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                         5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                         6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                         ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                         0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058230&Signature=eBd8Be4aj-
                                         PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                         IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                         Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                         y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                         IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                         2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                         x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058230&Signature=R83mjHLH07WWvwga8NT-
                                         JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                         ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53

                                                   37
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Claim Element                                   Example Infringement Evidence
                                         RunAwQ~p3j4P63FEfL-
                                         ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                         eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                         hv4ahEG-
                                         et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                         ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                         KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                         JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                         LrCplH9mJAnzYUbb-
                                         p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                         4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                         Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                         6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                         2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                         OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                         GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                         kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                         uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                         wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                         __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,


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Claim Element                                   Example Infringement Evidence
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058230&Signature=BA-
                                         QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                         K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                         KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                         ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                         eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                         U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                         gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                         P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                         Nv9uG1gv6uaDUF-
                                         NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                         MPfN~kJVa94-
                                         XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                         DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                         nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                         vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                         X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                         ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                         sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                         5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                         kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3

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Claim Element                                   Example Infringement Evidence
                                         VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                         BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                         mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                         FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                         ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                         G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                         38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                         B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                         t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                         etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                         9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                         ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                         twVnc-B-rQwaARTzxnztYW8tW~n19-
                                         HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                         naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                         XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                         Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                         l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                         8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq

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Claim Element                                          Example Infringement Evidence
                                                v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                                FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                                ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                #EXTINF:10.333333,
                                                https://vcdm-
                                                cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                6J9WYNWXti2HX96KWLRLluN9-
                                                xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                gqYwbibmBRqlyB-
                                                y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                Id=APKAIPJESLAK2PMGD4PA
                                                …
                                                #EXT-X-ENDLIST

                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above. Similarly, on
                information and belief, the other bandwidth version streamlets are the same durations as the 500000 Bandwidth
                and 1800000 Bandwidth versions.

                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media
                Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue
                uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                same Media Sequence Number in different Variant Streams or Renditions have the same position in the
                presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the


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  Claim Element                                                 Example Infringement Evidence
                       relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                       corresponding segments.”).
 [10.6] select a       The End User Device selects a specific one of the streams based upon a determination by the client module to
 specific one of the   select a higher or lower bitrate version of the streams.
 streams based
 upon a                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
 determination by      uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
 the client module     can receive a continuous stream of media from a server for concurrent presentation.”).
 to select a higher    As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
 or lower bitrate
                       video stream at the following bandwidths:
 version of the
 streams;                  300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                           1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                           500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                           800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                       For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                       selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                       associated with the stream file path. For example:
                        Bandwidth           Token4
                        300000              8.m3u8?...
                        Bandwidth
                        1800000             7.m3u8?...
                        Bandwidth
                        500000              6.m3u8?...
                        Bandwidth
                        800000              5.m3u8?...
                        Bandwidth


4 Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full

token identifier is shown in the original Charles file.
                                                                   42
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Claim Element                                         Example Infringement Evidence

                The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                the same alongside the status of the requests.
                 Method Host                            Path                              … Status
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest … Complete
                                                        Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest … Complete
                                                        Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest … Complete
                                                        Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest … Complete
                                                        Dude9.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest … Complete
                                                        Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest … Complete
                                                        Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest … Complete
                                                        Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest … Complete
                                                        Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest … Complete
                                                        Dude14.ts?...



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 Claim Element                                              Example Infringement Evidence
                      Additionally, HLS provides that “[m]atching content in Variant Streams MUST have matching timestamps” to
                      allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media Segment in a Media Playlist has
                      an integer Discontinuity Sequence Number. The Discontinuity Sequence Number can be used in addition to the
                      timestamps within the media to synchronize Media Segments across different Renditions.” RFC 8216 at 39.
                      Thus, “[m]atching content in Variant Streams MUST have matching Discontinuity Sequence Numbers.” RFC
                      8216 at 43.

[10.7] place a        The End User Device places a streamlet request to the server over the one or more network connections for the
streamlet request     selected stream.
to the server over
the one or more       The variant playlists file are HLS playlists. Each line in the file that begins with “#EXTINF” specifies the length
network               of the segments in seconds. The line below the #EXTINF file is the location of the video file. In the present test,
connections for the   the End User Device accessing Kidoodle.TV requests and retrieves the segments of the encoded stream specified
selected stream;      in the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
                      streamlets) is approximately 8-10 seconds long.

                      The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
                      cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
                      cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
                      cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                      cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                      cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                      bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                      segmented moments in the video.
                          Bandwidth Version                        File line (#EXTINF: length) (portion of live stream)
                       500000 Bandwidth             #EXTM3U
                                                    #EXT-X-VERSION:3
                                                    #EXT-X-TARGETDURATION:11
                                                    #EXT-X-MEDIA-SEQUENCE:0
                                                    …
                                                    #EXTINF:10.083333,

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Claim Element                                    Example Infringement Evidence
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                      58315&Signature=fvGyZzCNd-crO6-
                                      JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-ERIBXKGkK~-
                                      uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                      SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMvfBl
                                      YgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb-
                                      4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                      8Zf6oIUQQca-
                                      5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg__&
                                      Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                      58315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigUQOQg
                                      L~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                      KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                      yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLYAeE
                                      62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                      t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~vSst-
                                      smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.416667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                      58315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                      zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42qpY
                                      mam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~LwMBsQ
                                      XOJRCpWmU-vG6QW-
                                      OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-

                                                   45
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 583 of 863 PageID #: 637

                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                      Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYWoEX
                                      kJRDttTXHtU5IKsfY-
                                      gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2Bj9g
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                      58315&Signature=CM-bcy4GkvIZLwyvQ-
                                      oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2ww
                                      J4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                      Ll4ZQKe13SeDvD0M~woH-
                                      vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9PY
                                      WZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4Kt6rU
                                      4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lLsWZ3I8tv
                                      jSixRbfhbDdDppd9ufg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                      58315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                      gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwLCE
                                      WqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                      ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA01-
                                      Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeBLQ
                                      9oQeeUI3NiT97-
                                      uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAVQ_
                                      _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                      58315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAEPSZD

                                                   46
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 584 of 863 PageID #: 638

                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                      a9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp-
                                      4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                      UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaBBa~
                                      4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-1G6e6EUQFJQhQAsbdTNR-
                                      anlsScKypM~dskGmB-AAsYvGbGNB-MAu-xPMTZ8fS-
                                      EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.750000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                      58315&Signature=BXa7FwbB-
                                      XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9HhQp
                                      rIM2EVLbLulCYs7d-
                                      NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33XEVC
                                      ubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3zvOOO
                                      m6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn604UoStbeC
                                      RxrNpEYOudkkm79k-
                                      d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                      o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                      58315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                      IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsad7
                                      BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                      V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp2vf
                                      5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrcZyVY
                                      Sd2~kXj3CG-AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-
                                      T~DkokBOYJd8c-vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.666667,

                                                   47
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 585 of 863 PageID #: 639

                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                      058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39nk9it
                                      xzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DVPqjXH1d
                                      cm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                      cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf00w
                                      m8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35dQoPsu
                                      4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJyml8sALw
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                      058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM8Rhb
                                      F9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                      RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvcoG
                                      m-nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                      0EsdN7ZUOam4P-
                                      E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7igyLj
                                      hGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaGZkvaB
                                      ObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                      058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH15~o
                                      QepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqCky3EV~g
                                      yOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-qVVkpgIZkF1HrUvTWvHcEXkVv--
                                      tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5EfbGv
                                      ~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                      jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-



                                                   48
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                                    U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                      Example Infringement Evidence
                                        4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                        Id=APKAIPJESLAK2PMGD4PA
                                        #EXTINF:9.916667,
                                        https://vcdm-
                                        cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                        058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                        ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28K9
                                        4BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAxMXU8
                                        Ia-iZ8hL6vn4t-
                                        Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                        9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVCgt
                                        Qgeix7e6gBfICuZQf-
                                        ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3sCeV
                                        vdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                        #EXTINF:10.333333,
                                        https://vcdm-
                                        cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                        058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6toED9s
                                        TTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                        Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2iI~i
                                        jh7cbzmcgb38F-mazr0uLY-Rp-
                                        E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqaCeE
                                        0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                        BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                        ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                        #EXTINF:9.666667,
                                        …
                                        #EXT-X-ENDLIST
                1800000 Bandwidth       #EXTM3U
                                        #EXT-X-VERSION:3

                                                     49
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 587 of 863 PageID #: 641

                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                      #EXT-X-TARGETDURATION:11
                                      #EXT-X-MEDIA-SEQUENCE:0
                                      …
                                      #EXTINF:10.083333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                      58230&Signature=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                      Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGK
                                      UkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                      0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                      3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                      NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                      CYxuCpPt9d50a8kEBRDNl3Tt-
                                      WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                      58230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYH
                                      XS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                      ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25D
                                      xDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                                      eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                      ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80Lz
                                      LrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.416667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                      58230&Signature=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                      IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                                      zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                      y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-

                                                   50
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 588 of 863 PageID #: 642

                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                      IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                      2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1s
                                      Xw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                      58230&Signature=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-
                                      fBuAJohvGwaz-
                                      ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53Ru
                                      nAwQ~p3j4P63FEfL-
                                      ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                      eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4
                                      ahEG-
                                      et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZp
                                      KD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                      58230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRw
                                      Wgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa
                                      985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQdLrCplH9mJ
                                      AnzYUbb-
                                      p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R
                                      0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75
                                      YdM91BCDnFgTaB2DGhw9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-
                                      3SHA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                      58230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oP

                                                   51
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 589 of 863 PageID #: 643

                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                      ERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                      OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                      GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                      kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiH
                                      hdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4
                                      s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-
                                      Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.750000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                      58230&Signature=BA-
                                      QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8
                                      IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                                      bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                      ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT
                                      1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                      U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                      gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                      58230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                      P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9
                                      uG1gv6uaDUF-
                                      NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPf
                                      N~kJVa94-
                                      XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDAC
                                      ytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                      nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                      vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.666667,

                                                   52
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                                  U.S. Patent No. 10,469,555 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                      058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                                      DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                      ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                      sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4
                                      WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIV
                                      BR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQ
                                      xD7AR93CPi6Km6Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                      058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J3
                                      9C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2
                                      G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0FqgXFZTeKO
                                      3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                      ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                      G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                      38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                      B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                      058230&Signature=AcGGiMOj6opQRc-iQhv-
                                      t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk
                                      2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                      9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                      ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtw
                                      Vnc-B-rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-
                                      gRlRbR-
                                      naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA

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Claim Element                                           Example Infringement Evidence
                                             #EXTINF:9.916667,
                                             https://vcdm-
                                             cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                             058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39
                                             QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                             l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W
                                             ~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CW
                                             xRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41F
                                             mvaEMv8NErO3ANuCG1aLIkLJdb-
                                             ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-
                                             Pair-Id=APKAIPJESLAK2PMGD4PA
                                             #EXTINF:10.333333,
                                             https://vcdm-
                                             cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                             058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yK
                                             A45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYN
                                             WXti2HX96KWLRLluN9-
                                             xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~Fm
                                             cQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VD
                                             volOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibm
                                             BRqlyB-
                                             y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                             Id=APKAIPJESLAK2PMGD4PA
                                             …
                                             #EXT-X-ENDLIST

                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above.
                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media
                Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue

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Claim Element                                           Example Infringement Evidence
                uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                same Media Sequence Number in different Variant Streams or Renditions have the same position in the
                presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the
                relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                corresponding segments.”).
                Indeed, to adapt playback between different bitrate Variant Streams, the End User Device “can use the EXTINF
                durations and the constraints in Section 6.2.4 to determine the approximate location of corresponding media.
                Once media from the new Variant Stream has been loaded, the timestamps in the Media Segments can be used
                to synchronize the old and new timelines precisely.” RFC 8216 at 47.
                Each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                streamlet encoding the same portion of the video in the high quality stream; allow “clients to switch between”
                Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same content” on
                playback. RFC 8216 at 43. Further, HLS provides that “[m]atching content in Variant Streams MUST have
                matching timestamps” to allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media
                Segment in a Media Playlist has an integer Discontinuity Sequence Number. The Discontinuity Sequence
                Number can be used in addition to the timestamps within the media to synchronize Media Segments across
                different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams MUST have matching
                Discontinuity Sequence Numbers.” RFC 8216 at 43.
                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                listing showing the same alongside the status of the requests.

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Claim Element                                           Example Infringement Evidence
                 Method     Host                        Path                          …            Status
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …             Complete
                                                        Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …             Complete
                                                        Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …             Complete
                                                        Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …             Complete
                                                        Dude9.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …             Complete
                                                        Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …             Complete
                                                        Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …             Complete
                                                        Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …             Complete
                                                        Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …             Complete
                                                        Dude14.ts?...

                The Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary
                entities.” RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player,
                “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id. at 47 (“The
                first segment to load is generally the segment that the client has chosen to play first (see Section 6.3.3).”). Then,
                “[i]n order to play the presentation normally, the next Media Segment” the video player requests and “load[s]
                the one with the lowest Media Sequence Number that is greater than the Media Sequence Number of the last
                Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the video player must request a
                plurality of files with sequential Media Sequence Numbers/timestamps and the requests are made based on the
                Media Sequence Numbers/timestamps.


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 Claim Element                                               Example Infringement Evidence
                     As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                     version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                     back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                     “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.

                     On information and belief, playlists for the other resolution variants also include these segments, which
                     correspond to the same portion of the video provided from the server(s).
[10.8] receive the   The End User Device accessing Kidoodle.TV receives the requested streamlets from the server via the one or
requested            more network connections.
streamlets from
the server via the   HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
one or more          uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
network              can receive a continuous stream of media from a server for concurrent presentation.”).
connections; and     For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                     version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                     switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                     determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                     and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                     the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                     receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                     listing showing the same alongside the status of the requests.
                       Method Host                           Path                               … Status
                       GET        vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest … Complete
                                                             Dude6.ts?...
                       GET        vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest … Complete
                                                             Dude7.ts?...
                       GET        vcdm-cf.kidoodle.tv        …/8/hls/S0E4_WorldsStrongest … Complete
                                                             Dude8.ts?...
                       GET        vcdm-cf.kidoodle.tv        …/8/hls/S0E4_WorldsStrongest … Complete
                                                             Dude9.ts?...

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                                               U.S. Patent No. 10,469,555 to Kidoodle


 Claim Element                                                Example Infringement Evidence
                       GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …            Complete
                                                              Dude10.ts?...
                       GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …            Complete
                                                              Dude11.ts?...
                       GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …            Complete
                                                              Dude12.ts?...
                       GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …            Complete
                                                              Dude13.ts?...
                       GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …            Complete
                                                              Dude14.ts?...

                      Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary entities.”
                      RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player accessing
                      Kidoodle.TV, “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id.
                      at 47 (“The first segment to load is generally the segment that the client has chosen to play first (see Section
                      6.3.3).”). Then, “[i]n order to play the presentation normally, the next Media Segment” the End User Device
                      requests and “load[s] the one with the lowest Media Sequence Number that is greater than the Media Sequence
                      Number of the last Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the End User
                      Device must request a plurality of files with sequential Media Sequence Numbers/timestamps and the requests
                      are made based on the Media Sequence Numbers/timestamps.
                      As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                      version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                      back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                      “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.
[10.9] provide the    The End User Device accessing Kidoodle.TV provides the received streamlets for playback of the video.
received streamlets
for playback of the In response to requesting the first streamlet via an HTTP GET request, as shown above, the End User Device
video.              accessing Kidoodle.TV receives the requested streamlet from the server via the one or more network
                    connections. See e.g., RFC 8216 at 4 (“Using this protocol, a client can receive a continuous stream of media
                    from a server for concurrent presentation.”); id. at 5 (“To play this Playlist, the client first downloads it and then

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Claim Element                                       Example Infringement Evidence
                downloads and plays each Media Segment declared within it. The client reloads the Playlist as described in this
                document to discover any added segments.” ).

                For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                listing showing the same alongside the status of the requests.
                  Method Host                           Path                               … Status
                  GET        vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest … Complete
                                                        Dude6.ts?...
                  GET        vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest … Complete
                                                        Dude7.ts?...
                  GET        vcdm-cf.kidoodle.tv        …/8/hls/S0E4_WorldsStrongest … Complete
                                                        Dude8.ts?...
                  GET        vcdm-cf.kidoodle.tv        …/8/hls/S0E4_WorldsStrongest … Complete
                                                        Dude9.ts?...
                  GET        vcdm-cf.kidoodle.tv        …/6/hls/S0E4_WorldsStrongest … Complete
                                                        Dude10.ts?...
                  GET        vcdm-cf.kidoodle.tv        …/6/hls/S0E4_WorldsStrongest … Complete
                                                        Dude11.ts?...
                  GET        vcdm-cf.kidoodle.tv        …/6/hls/S0E4_WorldsStrongest … Complete
                                                        Dude12.ts?...
                  GET        vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest … Complete
                                                        Dude13.ts?...
                  GET        vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest … Complete
                                                        Dude14.ts?...

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Claim Element                                         Example Infringement Evidence

                Kidoodle confirms that the video player provides video playback to end user stations over a network connection
                on the Kidoodle support webpage, https://about.kidoodle.tv/faq/. There, Kidoodle troubleshoots problems end
                users may have with HLS and instructs users on how to optimize their video playback experience. See
                https://about.kidoodle.tv/faq/.




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                    EXHIBIT S
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                                                U.S. Patent No. 8,868,772 to Kidoodle


        The following claim chart shows exemplary aspects of A Parent Media Co. Inc.’s Kidoodle.TV streaming services and products
(“Kidoodle”) that infringe claim 1 of the ’772 Patent. The chart is exemplary and should not be read to limit DISH’s assertions against
Kidoodle, or any other streaming services offered by A Parent Media Co. Inc. or Kidoodle as to the services or products described
below. The chart should not be read to limit DISH’s assertions to the patent claim charted below. Nor should the chart below be read to
limit how Kidoodle infringes the claim below.
  Claim Element                                                Example Infringement Evidence
 [1.pre] A method       Kidoodle includes information and Applications that practices a method for presenting adaptive-rate content
 for presenting rate-   streaming. Kidoodle is executable by devices that obtain streams of a selected video program for playback. The
 adaptive streams,      streams include live streams that are obtained from one or more servers affiliated with Kidoodle over a network.
 the method
                        The images in this chart are from a device accessing the Kidoodle.tv website through a web browser, such as
 comprising:
                        Microsoft Edge, Google Chrome, or iOS Safari. Kidoodle.tv supports all major web browsers. See
                        https://about.kidoodle.tv/ (“We’re available across all available platforms.”).




                        https://about.kidoodle.tv/ (“We’re available across all available platforms.”)




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Claim Element                                          Example Infringement Evidence
                Kidoodle also includes applications for all platforms, including Apple App Store for iOS devices, Google Play
                for Android devices, Roku, and Amazon Fire TV, which also access the Kidoodle.tv website to stream video
                content. See https://about.kidoodle.tv/watch-now/




                https://about.kidoodle.tv/watch-now/
                 Upon information and belief, the aforementioned device that accesses Kidoodle.tv through a website, and the
                applications that access Kidoodle.tv (collectively, “End User Device”) operate in the same or substantially the
                same way for purposes of this chart.




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                                        U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                          Example Infringement Evidence
                The one or more servers accessible by Kidoodle store video files which are streamed to the end user stations.
                The following are examples of the videos that may be streamed from the one or more servers to the End User
                Device(s). See https://kidoodle.tv/.




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                                               U.S. Patent No. 8,868,772 to Kidoodle


 Claim Element                                               Example Infringement Evidence
                      https://kidoodle.tv/.
                      Tests were conducted on videos offered over the Kidoodle.TV site accessed on a personal computer (e.g., End
                      User Device). As part of the testing, the End User Device was connected to the internet through the Charles
                      Proxy application, which enabled the abilities to proxy the device’s network traffic, to view the device’s network
                      traffic, and to throttle the network’s available bandwidth. Thus, the test simulated how Kidoodle responded to
                      lower and higher bandwidths. For the current test, a video titled “Dude Perfect” was selected. When the user
                      selects a video from the available videos, the media player embedded in the Kidoodle.TV site displays more
                      details regarding the video and provides the user with the option to view the video.
                      Selecting the icon corresponding to a video causes that video and other materials to be streamed and displayed
                      on the user’s device.
                      With respect to adaptively receiving the digital stream from the video server over the network, the media player
                      embedded in the Kidoodle.TV site accesses adaptive bitrate streams are provided to the media player from a
                      server affiliated with Kidoodle over a network using the HTTP Live Streaming (“HLS”) adaptive bitrate
                      streaming protocol. HLS is “a protocol for transferring unbounded streams of multimedia data.” Request For
                      Comments: 8216 – HTTP Live Streaming, August 2017 (“RFC 8216”) at 1. Using HLS, “a client can receive a
                      continuous stream of media from a server for concurrent presentation.” RFC 8216 at 4. HLS “allows a receiver
                      to adapt the bitrate of the media to the current network conditions in order to maintain uninterrupted playback at
                      the best possible quality.” RFC 8216 at 4. With HLS, “[c]lients should switch between different Variant Streams
                      to adapt to network conditions.” RFC 8216 at 5.
[1.1] streaming by    The End User Device accessing Kidoodle.TV includes a media player operating on the end user station to stream
a media player        a video from a set of one or more servers affiliated with Kidoodle.
operating on an
                      As explained above, tests were conducted on videos offered over the Kidoodle.TV site accessed on a personal
end user station a
                      computer (e.g., End User Device). As part of the testing, the End User Device was connected to the internet
video from a set of
                      through the Charles Proxy application, which enabled the abilities to proxy the device’s network traffic, to view
one or more
                      the device’s network traffic, and to throttle the network’s available bandwidth. Thus, the test simulated how
servers,
                      Kidoodle responded to lower and higher bandwidths. For the current test, a video titled “Dude Perfect” was
                      selected. When the user selects a video from the available videos, the media player embedded in the

                                                                  5
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                                         U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                          Example Infringement Evidence
                Kidoodle.TV site displays more details regarding the video and provides the user with the option to view the
                video.
                Selecting the icon corresponding to a video causes that video and other materials to be streamed and displayed
                on the user’s device.
                With respect to adaptively receiving the digital stream from the video server over the network, the media player
                embedded in the Kidoodle.TV site accesses adaptive bitrate streams are provided to the media player from a
                server affiliated with Kidoodle over a network using the HTTP Live Streaming (“HLS”) adaptive bitrate
                streaming protocol. HLS is “a protocol for transferring unbounded streams of multimedia data.” Request For
                Comments: 8216 – HTTP Live Streaming, August 2017 (“RFC 8216”) at 1. Using HLS, “a client can receive a
                continuous stream of media from a server for concurrent presentation.” RFC 8216 at 4. HLS “allows a receiver
                to adapt the bitrate of the media to the current network conditions in order to maintain uninterrupted playback at
                the best possible quality.” RFC 8216 at 4. With HLS, “[c]lients should switch between different Variant Streams
                to adapt to network conditions.” RFC 8216 at 5.


                Through the established network connection, the devices streaming Kidoodle access video programs that are
                stored on one or more servers for display on the devices via the video player accessing the Kidoodle.TV site. See




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                                        U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                          Example Infringement Evidence
                also




                See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)
                The one or more servers accessible by Kidoodle store video files which are streamed to the end user stations.
                The following are examples of the videos that may be streamed from the one or more servers to the End User
                Device(s). See https://kidoodle.tv/.




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                        U.S. Patent No. 8,868,772 to Kidoodle




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                                              U.S. Patent No. 8,868,772 to Kidoodle


 Claim Element                                               Example Infringement Evidence
                      https://kidoodle.tv/.


[1.2] wherein each    The one or more servers accessible by the End User Device store multiple different copies of the video encoded
of a plurality of     at different bit rates are stored on the one or more servers as multiple sets of files.
different copies of
                      For example, in the instant test of a video titled “Dude Perfect,” the end user station: established a network
the video encoded
                      connection, connected with the one or more servers, and the End User Device made an HTTP GET request to
at different bit
                      prod.kidoodle.tv for a master manifest located at the following path:
rates is stored as
                      https://prod.kidoodle.tv/api/2.0/content/elemental-source/web/2545/94152/670158/watch/manifest.m3u8
multiple files on
                      (hereafter referred to as the “Master Manifest” or “manifest.m3u8”). The Master Manifest returned the
the set of servers,
                      following contents, reflecting the Uniform Resource Indicators (“URIs”) of the various variant playlists hosting
                      at least a group of streamlets:
                       #EXTM3U
                       #EXT-X-VERSION:3
                       #EXT-X-STREAM-
                       INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                       8.m3u8
                       #EXT-X-STREAM-
                       INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
                       7.m3u8
                       #EXT-X-STREAM-
                       INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                       6.m3u8



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    Claim Element                                            Example Infringement Evidence
                       #EXT-X-STREAM-
                       INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
                       5.m3u8
                       File path: manifest.m3u8
                      The master playlist shows four versions of the video stream at the following bandwidths:
                             300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                             1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                             500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                             800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                      For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                      selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                      associated with the stream file path. For example:


                       Bandwidth           Token1
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth




1
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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     Claim Element                                              Example Infringement Evidence
                          500000             6.m3u8?...
                          Bandwidth
                          800000             5.m3u8?...
                          Bandwidth


                         Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                         For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                         Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                         considered a high-quality stream.
                         The End User Device also uses HTTPS GET requests to retrieve the segments, or streamlets, of the encoded
                         video specified in the file above.
                         The Media Playlist for each of the Variant Streams identifies a group of streamlets associated with each of the
                         different copies, as the exemplary Media Playlist shown below illustrates. See RFC 8216 at 38 (“The server
                         must create a Media Playlist file (Section 4) that contains a URI for each Media Segment that the server wishes
                         to make available, in the order in which they are to be played.”); see also RFC 8216 at 4 (“A multimedia
                         presentation is specified by a Uniform Resource Identifier (URI) [RFC3986] to a Playlist.”); RFC 8216 at 4 (“A
                         Media Playlist contains a series of Media Segments that make up the overall presentation. A Media Segment is
                         specified by a URI and optionally a byte range.”).
                         As shown by the Charles Proxy application file, partially reproduced below, the streamlet video files are hosted
                         on a server accessible via https://vcdm-cf.kidoodle.tv/. The server accesses the stored streamlet files for
                         playback on an end user device.
                          Method     Host                      Path2                     …         Status


2
    Video path abbreviated for readability throughout.


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Claim Element                                          Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4     …         Complete
                                                       _WorldsStrongestDude
                                                       0.ts?...
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4     …         Complete
                                                       _WorldsStrongestDude
                                                       1.ts?...
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4     …         Complete
                                                       _WorldsStrongestDude
                                                       2.ts?...
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4     …         Complete
                                                       _WorldsStrongestDude
                                                       3.ts?...


                On information and belief, other videos uploaded to Kidoodle similarly perform the demonstrated claim
                limitations.
                As shown in the test data, the End User Device accessing Kidoodle.TV selects the 1800000 Bandwidth version
                of the stream and makes a request for the corresponding playlist. The server(s) returns the playlist file with the
                following contents:
                       #EXTM3U
                       #EXT-X-VERSION:3
                       #EXT-X-TARGETDURATION:11
                       #EXT-X-MEDIA-SEQUENCE:0
                       #EXTINF:10.750000,


                                                            12
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                                    U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                    Example Infringement Evidence
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude0.ts?Expires=1692058230&Signat
                     ure=X-j9VAHmYvweCM-
                     dblOesIErSUUPPye19SnCx9oSQaIPIQ9PYd9fEqw70kunQdE0c9VdJUJT05ewHTOHxwr0fXs
                     g1UCjh2MBBBXuSguMBNLDplNuJxeg9ZzZpeEfPNC~k-
                     GWyC79vUAs1SasIIG1VfVy89Kb7cBiHt17-
                     baaBU01zty90WpmmejGY~vYOoen7gdJ9v7M~z0lVVREBiyygE7A0vGww6pEpEMztwSZZ4
                     ZoBkCdhZmLe3vjUm5MMr8nrU8n~ljj6fEYV3GeQiNlSEAApGW1qa5cNtQOhfX2ClzKrGHx
                     paXUKqEheDRGyCs2u3bOEHjqRm2o1-ynSK5rFw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.250000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude1.ts?Expires=1692058230&Signat
                     ure=CDpwAf98XhRNKYFrCcv-
                     ofhY3VrgZ6T7M~dt8AXR4VRuOrMTiwDrlCQfZ01vbPEmfi~L0OK6K9Y6rlItw3hSboVNYc-
                     Bs8Kxtaqz~kiDoN3TvSHmiaPcpjGO03IQ5nLbwn-
                     gcptixhXoqmhAYSfFJ8q1NrOHvq5WzlOKvx8v10snMl1mxS0fC5VRDXEYbkCvLSqe8OBa8
                     kev2TqT8dZw7uFepqygtWzr5C0u-
                     6nWGZHqw4vC0d~N50BQSxQ5bjMz28sAs1vw2KmnoYx4exlNb1EE6M6nUPCA3C9dc5tei7
                     fB4UUZDjALiy3x7tOF3Zd2KJg6yxsNQC3ER8sD8g98SQ__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.083333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=1692058230&Signat
                     ure=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                     Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGKUkDDfL7nBd
                     gfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                     0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                     3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-


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Claim Element                                    Example Infringement Evidence
                     NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                     CYxuCpPt9d50a8kEBRDNl3Tt-WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=1692058230&Signat
                     ure=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYHXS2lrrpkid5FBs5f~c3CtijVa
                     HEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                     ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25DxDRs3Pb1hLf
                     DUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                     eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                     ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80LzLrDZuk~tezw
                     __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.416667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=1692058230&Signat
                     ure=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                     IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                     zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                     y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-IHBaxLCvWoKA9Giwd1F-
                     Xcd7C9pLd800urg-20HZuei-
                     2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1sXw8yILs-
                     Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=1692058230&Signat
                     ure=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                     ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53RunAwQ~p3j4P6


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Claim Element                                    Example Infringement Evidence
                     3FEfL-ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                     eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4ahEG-
                     et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZpKD6UQPz8JI4
                     OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=1692058230&Signat
                     ure=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRwWgpnq8loZdNXxJusEz1BjFd
                     SviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0
                     wbL~iNVzRc2OWelQdLrCplH9mJAnzYUbb-
                     p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R0RNnvRIBG1
                     b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75YdM91BCDnFgTaB2DGh
                     w9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=1692058230&Signat
                     ure=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oPERBiu3cpkU1bmx18V7z1k
                     BeG7n-P9XrAsdZrTSeBc5Z-OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                     GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                     kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiHhdLg4riLBkF
                     xOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4s0AgtlqDkqHnu~HRUoAO
                     GTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.750000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=1692058230&Signat
                     ure=BA-
                     QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8IS2H2uktgoA


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Claim Element                                    Example Infringement Evidence
                     vqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                     bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                     ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT1CCM4eWrFn
                     IrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-
                     y4JfUClu3a2s-gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=1692058230&Signat
                     ure=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                     P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9uG1gv6uaDU
                     F-NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPfN~kJVa94-
                     XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDACytArwL9~CtJ
                     qifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-
                     rtvvpM2YO35x3QnHMYJlpNjIg-vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.666667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692058230&Signa
                     ture=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                     DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                     ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                     sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4WyWQN5SB
                     0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIVBR5qqb2UlZTE9zXwNFW
                     4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692058230&Signa


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                                    U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                    Example Infringement Evidence
                     ture=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J39C0TOfHfhkuWX3GNV~B
                     7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk
                     6YyHaHA~YwMvSqF0FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                     ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                     G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                     38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-B3UWdy9CAhNg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692058230&Signa
                     ture=AcGGiMOj6opQRc-iQhv-
                     t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk2w0HmAaV5
                     pV1n11kWK-NV93ZRSPKyTc-
                     9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                     ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtwVnc-B-
                     rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                     naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692058230&Signa
                     ture=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39QN0fozRAJiDpxwfbGRLiCs
                     cRoibOsDnp8g45-N1Dv-
                     l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W~EUgXwn45U
                     nLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CWxRJaJXKIU7fPKI0rm2WKO
                     etZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                     ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA



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                                    U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                    Example Infringement Evidence
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692058230&Signa
                     ture=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yKA45ce57fGCLQkOTs9rLwvG
                     KYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYNWXti2HX96KWLRLluN9-
                     xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~FmcQCx17kws4l
                     Jq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VDvolOXbtWeRISpeUtqRcyPv
                     lEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibmBRqlyB-
                     y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.458333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude15.ts?Expires=1692058230&Signa
                     ture=EmKhQ97V1kC2nux03LOh0AsSs8x3T5uYyPU7uQwFWokFiT5Z1lXPDOYuvT4gX8H2
                     9x5ZwaGw9fzRPXaevWiB-ZyaBTwKdD5sNiXzC85OSWOECID-
                     V1OWE4FK0zsvdbK5AhvJ3UvtNzufrrcBM9deA1B0PD8NLxZ9at3GlebQlcoyuvMPmcogOD
                     7uPWbGcRUMw~kfl6JvTlQDcqbh7Azckr8Pj85rDKpY7ffr3dNqHK45HTx4Hq8P6BJ5HsI7--
                     xXzimlgev1OuXSYnXwUib-ejbAqhnf-
                     VcwgEuwFi2u9imp45LbHP~4ChIHJ2y5zkOvk6Vd6Rhlwe5QE~-91Ya7OA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude16.ts?Expires=1692058230&Signa
                     ture=D9tydyyfLvc63w423qjALtY-u7peL5T09eMLvlf3qIhCt-
                     z8xRmbnXtpHEtXxwqI~tQqCssOLXwaC-EY-
                     2o2wPfVMWWMVFw1vyi~T~DBrixO4J9gdgCnN7XiGrI8Ebe--Pchv5-H7e-
                     ReOIuUWsSOryzM6xfIOlM1KN-
                     dlXCqfCpIXnyOZOwsnVFAgxZcekcLrarB8e8SpE1wobXIogjk2DGMr3GmYymTXsGFiODw
                     XBTMuhWRcV1TARZLMK69oozNgv6-Te97KflduUeZVt6zapVj-

                                                     18
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Claim Element                                         Example Infringement Evidence
                       6Q8ZK7x7J9EFxmFwPXe7~SFFUQTxFMNJcu0esokmKOAR2tCxznBheaUR1Gag__&Key-
                       Pair-Id=APKAIPJESLAK2PMGD4PA
                       #EXT-X-CUE-OUT: 0
                       #EXT-X-CUE-IN
                       #EXTINF:8.375000,
                       https://vcdm-
                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude17.ts?Expires=1692058230&Signa
                       ture=G0-13akiy1zABYLlQcnx7Om3pfZaPh~26uL9-
                       jwDy9bwyV6KOSVTJ9uknM13xLq12pki6n6V0cWIDrQvpsvz2Tl8~ewAUkjzwesP-
                       1XnJuY9tolEBNTaipdcKKeCNLw8LB9El~9einSOyMxcXmzX7ieVVlu-A~wi2GwbcMUb-
                       w8OlvYZjVa9yTxzoz2TUjkHqFmJQ6NJ4rrnmzIsAyFu75W71LOHC-J1vs0dbN-
                       S581jzsrg6WtUI9CbxM59TmAdLLJfnKS7XAgU5a0u~0ZbPF5Ne4z3xFWkif4joJCRc8E991A
                       Rl8BUoyFCth3z8vJDd-uDp5M-br~nKEfRI5ZvBg__&Key-Pair-
                       Id=APKAIPJESLAK2PMGD4PA
                       #EXT-X-ENDLIST


                The variant playlist file is an HLS playlist. Each line in the file path
                “361/670158/7/hls/S0E4_WorldsStrongestDude17.ts...” that begins with “#EXTINF” specifies the length of the
                segments in seconds. The line below the #EXTINF file is the location of the video file. In the variant playlist
                shown above, the segments of the video are separated by commercial segments. Each of the streamlets (except
                the first and final streamlets of each playlist) is approximately 8-10 seconds long and returns sequential
                segments of the video program and/or commercial.
                As long as the viewer continues watching the video and the bandwidth is adequate to support the chosen
                resolution, the end user device will continue to request (and Kidoodle.TV will provide) streamlets corresponding
                to the current, chosen resolution.



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 Claim Element                                                 Example Infringement Evidence
                       On information and belief, the other bandwidth versions of the test video contain the same number of streamlet
                       files.


[1.3] wherein each     As described above, the one or more servers accessible by the End User Device store each of a plurality of
of the multiple        different copies of the video encoded at different bitrates and stored as multiple files on the set of servers.
files yields a         Additionally, each of the multiple files yields a different portion of the video on playback.
different portion of
                       Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
the video on
                       provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
playback,
                       Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                       4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                       segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                       continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                       where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                       at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                       Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                       For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                       Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                       considered a high-quality stream.
                       As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                       or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                       arranged in ascending chronological order, beginning with the first segment of the video program and
                       progressing until the final segment of the video program.
                        Bandwidth                        Streamlet (segment)
                        500000 Bandwidth                 #EXTM3U
                                                         #EXT-X-VERSION:3


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Claim Element                                   Example Infringement Evidence
                                          #EXT-X-TARGETDURATION:11
                                          #EXT-X-MEDIA-SEQUENCE:0
                                          …
                                          #EXTINF:10.083333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                          2058315&Signature=fvGyZzCNd-crO6-
                                          JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                          ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                          SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                          fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                          -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                          8Zf6oIUQQca-
                                          5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                          _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                          QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                          KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                          yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                          AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                          t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                          Sst-



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Claim Element                                   Example Infringement Evidence
                                          smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                          Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                          zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                          qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                          wMBsQXOJRCpWmU-vG6QW-
                                          OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                          Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                          oEXkJRDttTXHtU5IKsfY-
                                          gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                          Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                          oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                          wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                          Ll4ZQKe13SeDvD0M~woH-
                                          vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                          YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                          Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                          sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA



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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                          gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                          CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                          ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                          01-
                                          Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                          LQ9oQeeUI3NiT97-
                                          uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                          Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                          PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                          -
                                          4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                          UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                          Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                          1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                          xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169

                                                    23
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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          2058315&Signature=BXa7FwbB-
                                          XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                          hQprIM2EVLbLulCYs7d-
                                          NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                          EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                          zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                          04UoStbeCRxrNpEYOudkkm79k-
                                          d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                          o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                          IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                          d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                          V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                          2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                          ZyVYSd2~kXj3CG-
                                          AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                          vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                          nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                          PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                          cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf


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Claim Element                                   Example Infringement Evidence
                                          00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                          dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                          yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                          8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                          RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                          oGm-
                                          nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                          0EsdN7ZUOam4P-
                                          E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                          yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                          ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                          15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                          ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                          qVVkpgIZkF1HrUvTWvHcEXkVv--
                                          tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                          Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                          jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                          4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                          ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                          K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                          MXU8Ia-iZ8hL6vn4t-
                                          Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                          9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                          gtQgeix7e6gBfICuZQf-
                                          ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                          CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                          92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                          ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                          Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                          iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                          E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                          CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                          BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                          ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.666667,
                                          …



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Claim Element                                    Example Infringement Evidence
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                           CYxuCpPt9d50a8kEBRDNl3Tt-
                                           WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                           Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                           2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                           ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                           ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                           5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                          ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                          0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058230&Signature=eBd8Be4aj-
                                          PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                          IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                          Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                          y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                          IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                          2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                          x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058230&Signature=R83mjHLH07WWvwga8NT-
                                          JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                          ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                          RunAwQ~p3j4P63FEfL-
                                          ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                          eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                          hv4ahEG-
                                          et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                          ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA



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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 627 of 863 PageID #: 681

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                          KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                          JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                          LrCplH9mJAnzYUbb-
                                          p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                          4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                          Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                          6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                          2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                          OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                          GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                          kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                          uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                          wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                          __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058230&Signature=BA-
                                          QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                          K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39

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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                          ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                          eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                          U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                          gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                          P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                          Nv9uG1gv6uaDUF-
                                          NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                          MPfN~kJVa94-
                                          XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                          DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                          nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                          vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                          X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                          ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                          sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                          5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                          kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                          VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                          BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                          mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                          FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                          ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                          G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                          38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                          B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                          t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                          etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                          9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                          ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                          twVnc-B-rQwaARTzxnztYW8tW~n19-
                                          HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                          naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                          XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                          Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                          l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT

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                                         U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                           Example Infringement Evidence
                                                 8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                                 v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                                 FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                                 ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                 Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                 92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                 b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                 6J9WYNWXti2HX96KWLRLluN9-
                                                 xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                 FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                 m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                 gqYwbibmBRqlyB-
                                                 y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                 Id=APKAIPJESLAK2PMGD4PA
                                                 …
                                                 #EXT-X-ENDLIST


                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.
                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams

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                                         U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                          Example Infringement Evidence
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
                Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
                The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                make up the overall presentation.”).
                Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to




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     Claim Element                                                 Example Infringement Evidence
                           allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                           present the same content” on playback. RFC 8216 at 43.
    [1.4] wherein the      As described above, the one or more servers accessible by the End User Device store each of a plurality of
    multiple files         different copies of the video encoded at different bitrates and stored as multiple files on the set of servers,
    across the different   wherein each of the multiple files yields a different portion of the video on playback. Additionally, the multiple
    copies yield the       files across the different copies yield the same portions of the video on playback.
    same portions of
    the video on
    playback,              The master playlist shows four versions of the video stream at the following bandwidths:
                                 300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                                 1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                                 500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                                 800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                           For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                           selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                           associated with the stream file path. For example:


                            Bandwidth           Token3
                            300000              8.m3u8?...
                            Bandwidth




3
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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                                        U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                         Example Infringement Evidence
                 1800000            7.m3u8?...
                 Bandwidth
                 500000             6.m3u8?...
                 Bandwidth
                 800000             5.m3u8?...
                 Bandwidth


                Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                considered a high-quality stream.
                As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                arranged in ascending chronological order, beginning with the first segment of the video program and
                progressing until the final segment of the video program.
                 Bandwidth                       Streamlet (segment)
                 500000 Bandwidth                #EXTM3U
                                                 #EXT-X-VERSION:3
                                                 #EXT-X-TARGETDURATION:11
                                                 #EXT-X-MEDIA-SEQUENCE:0
                                                 …
                                                 #EXTINF:10.083333,


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                          2058315&Signature=fvGyZzCNd-crO6-
                                          JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                          ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                          SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                          fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                          -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                          8Zf6oIUQQca-
                                          5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                          _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                          QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                          KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                          yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                          AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                          t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                          Sst-
                                          smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                          Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058315&Signature=YXXHRRu4Adc2jc-XdGykv-


                                                    36
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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                          qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                          wMBsQXOJRCpWmU-vG6QW-
                                          OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                          Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                          oEXkJRDttTXHtU5IKsfY-
                                          gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                          Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                          oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                          wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                          Ll4ZQKe13SeDvD0M~woH-
                                          vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                          YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                          Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                          sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                          gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                          CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                          ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA


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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 636 of 863 PageID #: 690

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          01-
                                          Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                          LQ9oQeeUI3NiT97-
                                          uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                          Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                          PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                          -
                                          4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                          UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                          Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                          1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                          xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058315&Signature=BXa7FwbB-
                                          XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                          hQprIM2EVLbLulCYs7d-
                                          NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                          EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                          zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                          04UoStbeCRxrNpEYOudkkm79k-


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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 637 of 863 PageID #: 691

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                          o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                          IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                          d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                          V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                          2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                          ZyVYSd2~kXj3CG-
                                          AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                          vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                          nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                          PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                          cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                          00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                          dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                          yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                          8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                          RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                          oGm-
                                          nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                          0EsdN7ZUOam4P-
                                          E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                          yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                          ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                          15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                          ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                          qVVkpgIZkF1HrUvTWvHcEXkVv--
                                          tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                          Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                          jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                          4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                          ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                          K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx


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                                    U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                           MXU8Ia-iZ8hL6vn4t-
                                           Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                           9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                           gtQgeix7e6gBfICuZQf-
                                           ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                           CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                           92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                           ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                           Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                           iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                           E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                           CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                           BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                           ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:9.666667,
                                           …
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0


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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 640 of 863 PageID #: 694

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          …
                                          #EXTINF:10.083333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                          2058230&Signature=QCE8vv-
                                          PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                          Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                          GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                          0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                          3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                          NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                          CYxuCpPt9d50a8kEBRDNl3Tt-
                                          WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                          ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                          ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                          5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                          6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                          ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                          0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058230&Signature=eBd8Be4aj-


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                          IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                          Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                          y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                          IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                          2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                          x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058230&Signature=R83mjHLH07WWvwga8NT-
                                          JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                          ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                          RunAwQ~p3j4P63FEfL-
                                          ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                          eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                          hv4ahEG-
                                          et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                          ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                          KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                          JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                          LrCplH9mJAnzYUbb-
                                          p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                          Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                          6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                          2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                          OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                          GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                          kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                          uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                          wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                          __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058230&Signature=BA-
                                          QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                          K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                          KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                          ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                          eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                          U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                          gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                          P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                          Nv9uG1gv6uaDUF-
                                          NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                          MPfN~kJVa94-
                                          XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                          DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                          nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                          vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                          X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                          ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                          sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                          5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                          kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                          VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                          BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                          mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                          FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-


                                                    45
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Claim Element                                   Example Infringement Evidence
                                          ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                          G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                          38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                          B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                          t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                          etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                          9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                          ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                          twVnc-B-rQwaARTzxnztYW8tW~n19-
                                          HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                          naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                          XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                          Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                          l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                          8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                          v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                          FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                          ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                          Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,


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Claim Element                                           Example Infringement Evidence
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                 92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                 b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                 6J9WYNWXti2HX96KWLRLluN9-
                                                 xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                 FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                 m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                 gqYwbibmBRqlyB-
                                                 y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                 Id=APKAIPJESLAK2PMGD4PA
                                                 …
                                                 #EXT-X-ENDLIST


                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.
                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize


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 Claim Element                                                Example Infringement Evidence
                      Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                      MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
                      The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                      high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                      contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                      RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                      and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                      discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                      make up the overall presentation.”).
                      Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                      provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                      Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                      4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                      segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                      continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                      where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                      at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                      The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                      each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                      the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                      allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                      present the same content” on playback. RFC 8216 at 43.
[1.5] each of said    As described above, the one or more servers accessible by the End User Device store each of a plurality of
files having a time   different copies of the video encoded at different bitrates and stored as multiple files on the set of servers,
index such that the   wherein each of the multiple files yields a different portion of the video on playback, and wherein the multiple
files whose           files across the different copies yield the same portions of the video on playback. Additionally, each of said files
playback is the


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 Claim Element                                              Example Infringement Evidence
same portion of      having a time index such that the files whose playback is the same portion of the video for each of the different
the video for each   copies have the same time index in relation to the beginning of the video.
of the different
                     Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
copies have the
                     provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
same time index in
                     Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
relation to the
                     4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
beginning of the
                     segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
video, and
                     continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                     where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                     at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                     The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                     each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                     the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                     allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                     present the same content” on playback. RFC 8216 at 43.


                     In the instant test, a personal computer accessing the Kidoodle.TV site through a web browser makes a HTTPS
                     GET request to prod.kidoodle.tv for the Master Manifest. As shown in the excerpts of the Master Manifest
                     below, the video available is encoded at 4 different bitrates.
                      #EXTM3U
                      #EXT-X-VERSION:3
                      #EXT-X-STREAM-
                      INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                      8.m3u8



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Claim Element                                          Example Infringement Evidence
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
                 7.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                 6.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
                 5.m3u8
                File path: manifest.m3u8
                The master playlist shows four versions of the video stream at the following bandwidths:
                      300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                      1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                      500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                      800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                associated with the stream file path. For example:




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    Claim Element                                            Example Infringement Evidence
                       Bandwidth           Token4
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth
                       500000              6.m3u8?...
                       Bandwidth
                       800000              5.m3u8?...
                       Bandwidth


                      Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                      For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                      Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                      considered a high-quality stream.
                      As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                      or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                      arranged in ascending chronological order, beginning with the first segment of the video program and
                      progressing until the final segment of the video program.
                       Bandwidth                        Streamlet (segment)
                       500000 Bandwidth                 #EXTM3U


4
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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Claim Element                                   Example Infringement Evidence
                                          #EXT-X-VERSION:3
                                          #EXT-X-TARGETDURATION:11
                                          #EXT-X-MEDIA-SEQUENCE:0
                                          …
                                          #EXTINF:10.083333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                          2058315&Signature=fvGyZzCNd-crO6-
                                          JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                          ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                          SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                          fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                          -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                          8Zf6oIUQQca-
                                          5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                          _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                          QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                          KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                          yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                          AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                          t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v


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Claim Element                                   Example Infringement Evidence
                                          Sst-
                                          smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                          Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                          zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                          qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                          wMBsQXOJRCpWmU-vG6QW-
                                          OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                          Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                          oEXkJRDttTXHtU5IKsfY-
                                          gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                          Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                          oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                          wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                          Ll4ZQKe13SeDvD0M~woH-
                                          vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                          YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                          Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                          sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                          gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                          CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                          ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                          01-
                                          Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                          LQ9oQeeUI3NiT97-
                                          uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                          Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                          PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                          -
                                          4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                          UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                          Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                          1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                          xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169

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Claim Element                                   Example Infringement Evidence
                                          2058315&Signature=BXa7FwbB-
                                          XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                          hQprIM2EVLbLulCYs7d-
                                          NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                          EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                          zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                          04UoStbeCRxrNpEYOudkkm79k-
                                          d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                          o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                          IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                          d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                          V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                          2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                          ZyVYSd2~kXj3CG-
                                          AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                          vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                          nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                          PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                          cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf


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Claim Element                                   Example Infringement Evidence
                                          00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                          dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                          yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                          8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                          RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                          oGm-
                                          nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                          0EsdN7ZUOam4P-
                                          E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                          yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                          ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                          15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                          ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                          qVVkpgIZkF1HrUvTWvHcEXkVv--
                                          tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                          Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                          jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                          4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA


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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 655 of 863 PageID #: 709

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                          ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                          K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                          MXU8Ia-iZ8hL6vn4t-
                                          Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                          9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                          gtQgeix7e6gBfICuZQf-
                                          ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                          CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                          92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                          ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                          Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                          iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                          E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                          CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                          BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                          ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.666667,
                                          …



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                                    U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                           CYxuCpPt9d50a8kEBRDNl3Tt-
                                           WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                           Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                           2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                           ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                           ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                           5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                          ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                          0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058230&Signature=eBd8Be4aj-
                                          PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                          IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                          Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                          y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                          IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                          2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                          x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058230&Signature=R83mjHLH07WWvwga8NT-
                                          JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                          ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                          RunAwQ~p3j4P63FEfL-
                                          ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                          eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                          hv4ahEG-
                                          et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                          ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA



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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                          KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                          JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                          LrCplH9mJAnzYUbb-
                                          p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                          4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                          Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                          6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                          2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                          OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                          GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                          kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                          uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                          wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                          __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058230&Signature=BA-
                                          QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                          K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39

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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                          ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                          eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                          U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                          gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                          P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                          Nv9uG1gv6uaDUF-
                                          NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                          MPfN~kJVa94-
                                          XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                          DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                          nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                          vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                          X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                          ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                          sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                          5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                          kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                          VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                          BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                          mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                          FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                          ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                          G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                          38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                          B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                          t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                          etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                          9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                          ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                          twVnc-B-rQwaARTzxnztYW8tW~n19-
                                          HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                          naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                          XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                          Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                          l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT

                                                    62
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                                         U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                           Example Infringement Evidence
                                                 8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                                 v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                                 FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                                 ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                 Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                 92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                 b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                 6J9WYNWXti2HX96KWLRLluN9-
                                                 xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                 FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                 m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                 gqYwbibmBRqlyB-
                                                 y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                 Id=APKAIPJESLAK2PMGD4PA
                                                 …
                                                 #EXT-X-ENDLIST


                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.
                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams

                                                            63
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                                        U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                          Example Infringement Evidence
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
                Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
                The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                make up the overall presentation.”).
                Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                present the same content” on playback. RFC 8216 at 43.


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                                               U.S. Patent No. 8,868,772 to Kidoodle


 Claim Element                                                Example Infringement Evidence
[1.6] wherein the     The streaming includes requesting by the media player a plurality of sequential ones of the files of one of the
streaming             copies from the set of servers over a plurality of Transmission Control Protocol (TCP) connections based on the
comprises:            time indexes.
requesting by the
media player a
                      The variant playlists file are HLS playlists. Each line in the file that begins with “#EXTINF” specifies the length
plurality of
                      of the segments in seconds. The line below the #EXTINF file is the location of the video file. In the present test,
sequential ones of
                      the End User Device accessing Kidoodle.TV requests and retrieves the segments of the encoded stream specified
the files of one of
                      in the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
the copies from the
                      streamlets) is approximately 8-10 seconds long.
set of servers over
a plurality of        The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
Transmission          cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
Control Protocol      cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
(TCP) connections     cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
based on the time     cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
indexes;              cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                      bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                      segmented moments in the video.
                         Bandwidth Version                         File line (#EXTINF: length) (portion of live stream)
                       500000 Bandwidth            #EXTM3U
                                                   #EXT-X-VERSION:3
                                                   #EXT-X-TARGETDURATION:11
                                                   #EXT-X-MEDIA-SEQUENCE:0
                                                   …



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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 664 of 863 PageID #: 718

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      #EXTINF:10.083333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                      58315&Signature=fvGyZzCNd-crO6-
                                      JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-ERIBXKGkK~-
                                      uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                      SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMvfBl
                                      YgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb-
                                      4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                      8Zf6oIUQQca-
                                      5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg__&
                                      Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                      58315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigUQOQg
                                      L~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                      KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                      yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLYAeE
                                      62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                      t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~vSst-
                                      smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.416667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                      58315&Signature=YXXHRRu4Adc2jc-XdGykv-

                                                    66
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 665 of 863 PageID #: 719

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42qpY
                                      mam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~LwMBsQ
                                      XOJRCpWmU-vG6QW-
                                      OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                      Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYWoEX
                                      kJRDttTXHtU5IKsfY-
                                      gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2Bj9g
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                      58315&Signature=CM-bcy4GkvIZLwyvQ-
                                      oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2ww
                                      J4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                      Ll4ZQKe13SeDvD0M~woH-
                                      vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9PY
                                      WZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4Kt6rU
                                      4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lLsWZ3I8tv
                                      jSixRbfhbDdDppd9ufg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                      58315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                      gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwLCE
                                      WqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                      ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA01-
                                      Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeBLQ


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      9oQeeUI3NiT97-
                                      uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAVQ_
                                      _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                      58315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAEPSZD
                                      a9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp-
                                      4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                      UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaBBa~
                                      4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-1G6e6EUQFJQhQAsbdTNR-
                                      anlsScKypM~dskGmB-AAsYvGbGNB-MAu-xPMTZ8fS-
                                      EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.750000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                      58315&Signature=BXa7FwbB-
                                      XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9HhQp
                                      rIM2EVLbLulCYs7d-
                                      NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33XEVC
                                      ubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3zvOOO
                                      m6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn604UoStbeC
                                      RxrNpEYOudkkm79k-
                                      d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                      o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 667 of 863 PageID #: 721

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                      58315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                      IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsad7
                                      BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                      V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp2vf
                                      5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrcZyVY
                                      Sd2~kXj3CG-AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-
                                      T~DkokBOYJd8c-vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.666667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                      058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39nk9it
                                      xzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DVPqjXH1d
                                      cm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                      cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf00w
                                      m8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35dQoPsu
                                      4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJyml8sALw
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                      058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM8Rhb
                                      F9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                      RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvcoG
                                      m-nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-

                                                    69
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 668 of 863 PageID #: 722

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      0EsdN7ZUOam4P-
                                      E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7igyLj
                                      hGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaGZkvaB
                                      ObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                      058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH15~o
                                      QepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqCky3EV~g
                                      yOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-qVVkpgIZkF1HrUvTWvHcEXkVv--
                                      tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5EfbGv
                                      ~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                      jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                      4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                      058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                      ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28K9
                                      4BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAxMXU8
                                      Ia-iZ8hL6vn4t-
                                      Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                      9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVCgt
                                      Qgeix7e6gBfICuZQf-
                                      ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3sCeV
                                      vdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA


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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 669 of 863 PageID #: 723

                                    U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                       #EXTINF:10.333333,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                       058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6toED9s
                                       TTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                       Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2iI~i
                                       jh7cbzmcgb38F-mazr0uLY-Rp-
                                       E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqaCeE
                                       0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                       BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                       ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.666667,
                                       …
                                       #EXT-X-ENDLIST
                1800000 Bandwidth      #EXTM3U
                                       #EXT-X-VERSION:3
                                       #EXT-X-TARGETDURATION:11
                                       #EXT-X-MEDIA-SEQUENCE:0
                                       …
                                       #EXTINF:10.083333,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                       58230&Signature=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                       Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGK


                                                     71
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 670 of 863 PageID #: 724

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      UkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                      0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                      3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                      NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                      CYxuCpPt9d50a8kEBRDNl3Tt-
                                      WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                      58230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYH
                                      XS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                      ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25D
                                      xDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                                      eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                      ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80Lz
                                      LrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.416667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                      58230&Signature=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                      IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                                      zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                      y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                      IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                      2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1s
                                      Xw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA



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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                      58230&Signature=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-
                                      fBuAJohvGwaz-
                                      ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53Ru
                                      nAwQ~p3j4P63FEfL-
                                      ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                      eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4
                                      ahEG-
                                      et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZp
                                      KD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                      58230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRw
                                      Wgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa
                                      985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQdLrCplH9mJ
                                      AnzYUbb-
                                      p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R
                                      0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75
                                      YdM91BCDnFgTaB2DGhw9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-
                                      3SHA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                      58230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oP
                                      ERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-

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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                      GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                      kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiH
                                      hdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4
                                      s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-
                                      Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.750000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                      58230&Signature=BA-
                                      QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8
                                      IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                                      bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                      ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT
                                      1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                      U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                      gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                      58230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                      P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9
                                      uG1gv6uaDUF-
                                      NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPf
                                      N~kJVa94-
                                      XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDAC
                                      ytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-



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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                      vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.666667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                      058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                                      DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                      ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                      sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4
                                      WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIV
                                      BR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQ
                                      xD7AR93CPi6Km6Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                      058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J3
                                      9C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2
                                      G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0FqgXFZTeKO
                                      3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                      ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                      G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                      38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                      B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                      058230&Signature=AcGGiMOj6opQRc-iQhv-
                                      t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                      2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                      9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                      ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtw
                                      Vnc-B-rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-
                                      gRlRbR-
                                      naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                      058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39
                                      QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                      l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W
                                      ~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CW
                                      xRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41F
                                      mvaEMv8NErO3ANuCG1aLIkLJdb-
                                      ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-
                                      Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                      058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yK
                                      A45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYN
                                      WXti2HX96KWLRLluN9-
                                      xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~Fm
                                      cQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VD
                                      volOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibm
                                      BRqlyB-



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                                        U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                          Example Infringement Evidence
                                             y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                             Id=APKAIPJESLAK2PMGD4PA
                                             …
                                             #EXT-X-ENDLIST


                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above.
                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media
                Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue
                uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                same Media Sequence Number in different Variant Streams or Renditions have the same position in the
                presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the
                relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                corresponding segments.”).
                Indeed, to adapt playback between different bitrate Variant Streams, the End User Device accessing
                Kidoodle.TV “can use the EXTINF durations and the constraints in Section 6.2.4 to determine the approximate
                location of corresponding media. Once media from the new Variant Stream has been loaded, the timestamps in
                the Media Segments can be used to synchronize the old and new timelines precisely.” RFC 8216 at 47.
                Each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                streamlet encoding the same portion of the video in the high quality stream; allow “clients to switch between”
                Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same content” on
                playback. RFC 8216 at 43. Further, HLS provides that “[m]atching content in Variant Streams MUST have
                matching timestamps” to allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media

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Claim Element                                           Example Infringement Evidence
                Segment in a Media Playlist has an integer Discontinuity Sequence Number. The Discontinuity Sequence
                Number can be used in addition to the timestamps within the media to synchronize Media Segments across
                different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams MUST have matching
                Discontinuity Sequence Numbers.” RFC 8216 at 43.
                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                listing showing the same alongside the status of the requests.
                 Method     Host                        Path                               …     Status
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude9.ts?...



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Claim Element                                           Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude14.ts?...


                The Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary
                entities.” RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player,
                “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id. at 47 (“The
                first segment to load is generally the segment that the client has chosen to play first (see Section 6.3.3).”). Then,
                “[i]n order to play the presentation normally, the next Media Segment” the video player requests and “load[s]
                the one with the lowest Media Sequence Number that is greater than the Media Sequence Number of the last
                Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the video player must request a
                plurality of files with sequential Media Sequence Numbers/timestamps and the requests are made based on the
                Media Sequence Numbers/timestamps.
                As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.



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 Claim Element                                                Example Infringement Evidence
                       On information and belief, playlists for the other resolution variants also include these segments, which
                       correspond to the same portion of the video provided from the server(s).
[1.7] automatically    The End User Device automatically requests by the media player from the set of servers over the plurality of
requesting by the      TCP connections subsequent portions of the video by requesting for each such portion one of the files from one
media player from      of the copies dependent upon successive determinations by the media player to shift the playback quality to a
the set of servers     higher or lower quality one of the different copies.
over the plurality
                       Each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
of TCP
                       the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
connections
                       streamlet encoding the same portion of the video in the high quality stream; allow “clients to switch between”
subsequent
                       Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same content” on
portions of the
                       playback. RFC 8216 at 43. Further, HLS provides that “[m]atching content in Variant Streams MUST have
video by
                       matching timestamps” to allow the media player accessing Kidoodle.TV to synchronize the media. RFC 8216 at
requesting for each
                       43. And “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
such portion one
                       Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
of the files from
                       Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
one of the copies
                       MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
dependent upon
successive             As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
determinations by      or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
the media player to    arranged in ascending chronological order, beginning with the first segment of the video program and
shift the playback     progressing until the final segment of the video program. As noted above, the variant playlist file is an HLS
quality to a higher    playlist. Each line in the file that begins with “#EXTINF” specifies the length of the segments in seconds. The
or lower quality       line below the #EXTINF file is the location of the video file. In the present test, the End User Device accessing
one of the different   Kidoodle.TV uses HTTPS GET requests to request and retrieve the segments of the encoded stream specified in
copies,                the file above. The video files are hosted at vcdm-cf.kidoodle.tv.
                       The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-


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Claim Element                                          Example Infringement Evidence
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                segmented moments in the video.
                          Bandwidth                           File line (#EXTINF: length) (portion of live stream)
                 500000 Bandwidth                #EXTM3U
                                                 #EXT-X-VERSION:3
                                                 #EXT-X-TARGETDURATION:11
                                                 #EXT-X-MEDIA-SEQUENCE:0
                                                 …
                                                 #EXTINF:10.083333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                                 2058315&Signature=fvGyZzCNd-crO6-
                                                 JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                                 ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                                 SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                                 fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                                 -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                                 8Zf6oIUQQca-
                                                 5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                                 _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,


                                                            81
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Claim Element                                   Example Infringement Evidence
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                          QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                          KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                          yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                          AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                          t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                          Sst-
                                          smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                          Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                          zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                          qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                          wMBsQXOJRCpWmU-vG6QW-
                                          OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                          Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                          oEXkJRDttTXHtU5IKsfY-
                                          gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                          Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                          2058315&Signature=CM-bcy4GkvIZLwyvQ-


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                          wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                          Ll4ZQKe13SeDvD0M~woH-
                                          vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                          YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                          Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                          sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                          gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                          CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                          ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                          01-
                                          Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                          LQ9oQeeUI3NiT97-
                                          uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                          Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                          PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                          -
                                          4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-


                                                    83
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 682 of 863 PageID #: 736

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                          Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                          1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                          xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058315&Signature=BXa7FwbB-
                                          XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                          hQprIM2EVLbLulCYs7d-
                                          NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                          EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                          zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                          04UoStbeCRxrNpEYOudkkm79k-
                                          d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                          o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                          IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                          d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                          V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                          2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                          ZyVYSd2~kXj3CG-



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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 683 of 863 PageID #: 737

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                          vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                          nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                          PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                          cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                          00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                          dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                          yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                          8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                          RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                          oGm-
                                          nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                          0EsdN7ZUOam4P-
                                          E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                          yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                          ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,



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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                          15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                          ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                          qVVkpgIZkF1HrUvTWvHcEXkVv--
                                          tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                          Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                          jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                          4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                          ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                          K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                          MXU8Ia-iZ8hL6vn4t-
                                          Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                          9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                          gtQgeix7e6gBfICuZQf-
                                          ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                          CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                          92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to


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                                    U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                           ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                           Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                           iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                           E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                           CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                           BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                           ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:9.666667,
                                           …
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-

                                                     87
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 686 of 863 PageID #: 740

                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          CYxuCpPt9d50a8kEBRDNl3Tt-
                                          WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                          ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                          ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                          5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                          6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                          ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                          0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.416667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                          2058230&Signature=eBd8Be4aj-
                                          PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                          IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                          Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                          y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                          IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                          2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                          x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          2058230&Signature=R83mjHLH07WWvwga8NT-
                                          JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                          ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                          RunAwQ~p3j4P63FEfL-
                                          ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                          eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                          hv4ahEG-
                                          et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                          ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                          2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                          KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                          JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                          LrCplH9mJAnzYUbb-
                                          p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                          4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                          Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                          6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                          2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                          2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                          OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                          GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-


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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                          uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                          wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                          __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.750000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                          2058230&Signature=BA-
                                          QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                          K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                          KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                          ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                          eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                          U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                          gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.125000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                          2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                          P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                          Nv9uG1gv6uaDUF-
                                          NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                          MPfN~kJVa94-
                                          XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                          DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                          nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                          vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          #EXTINF:10.666667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                          92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                          X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                          ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                          sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                          5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                          kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                          VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                          92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                          BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                          mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                          FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                          ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                          G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                          38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                          B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.500000,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                          92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                          t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                          etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                          9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-

                                                    91
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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                          ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                          twVnc-B-rQwaARTzxnztYW8tW~n19-
                                          HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                          naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                          XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:9.916667,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                          92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                          Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                          l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                          8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                          v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                          FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                          ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                          Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                          92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                          b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                          6J9WYNWXti2HX96KWLRLluN9-
                                          xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                          FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                          m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                          gqYwbibmBRqlyB-
                                          y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                          Id=APKAIPJESLAK2PMGD4PA



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                                         U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                           Example Infringement Evidence
                                                  …
                                                  #EXT-X-ENDLIST


                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                the same alongside the status of the requests.
                 Method     Host                        Path                               …     Status
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude9.ts?...



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                                         U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                           Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude14.ts?...


                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
                video stream at the following bandwidths:
                      300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                      1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                      500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                      800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                associated with the stream file path. For example:



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                                                   U.S. Patent No. 8,868,772 to Kidoodle


     Claim Element                                                Example Infringement Evidence
                           Bandwidth           Token5
                           300000              8.m3u8?...
                           Bandwidth
                           1800000             7.m3u8?...
                           Bandwidth
                           500000              6.m3u8?...
                           Bandwidth
                           800000              5.m3u8?...
                           Bandwidth
    [1.8] said            As described above, the End User Device automatically requests by the media player from the set of servers
    automatically         over the plurality of TCP connections subsequent portions of the video by requesting for each such portion one
    requesting            of the files from one of the copies dependent upon successive determinations by the media player to shift the
    including,            playback quality to a higher or lower quality one of the different copies. Additionally, the automatically request
                          includes, repeatedly generating a set of one or more factors indicative of the current ability to sustain the
    repeatedly
                          streaming of the video using the files from different ones of the copies.
    generating a set of
    one or more
    factors indicative
                          HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
    of the current
                          uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
    ability to sustain
                          can receive a continuous stream of media from a server for concurrent presentation.”).
    the streaming of
    the video using the



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  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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                                                 U.S. Patent No. 8,868,772 to Kidoodle


     Claim Element                                             Example Infringement Evidence
    files from different As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
    ones of the copies, video stream at the following bandwidths:
                               300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                               1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                               500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                               800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                        For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                        selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                        associated with the stream file path. For example:
                          Bandwidth          Token6
                          300000             8.m3u8?...
                          Bandwidth
                          1800000            7.m3u8?...
                          Bandwidth
                          500000             6.m3u8?...
                          Bandwidth
                          800000             5.m3u8?...
                          Bandwidth




6
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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Claim Element                                         Example Infringement Evidence
                The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                the same alongside the status of the requests.
                 Method    Host                       Path                             …     Status
                 GET       vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/7/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/8/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/8/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/6/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude10.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/6/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude11.ts?...
                 GET       vcdm-cf.kidoodle.tv        …/6/hls/S0E4_WorldsStrongest …         Complete
                                                      Dude12.ts?...




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                                              U.S. Patent No. 8,868,772 to Kidoodle


 Claim Element                                               Example Infringement Evidence
                      GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                             Dude13.ts?...
                      GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                             Dude14.ts?...


                     Additionally, HLS provides that “[m]atching content in Variant Streams MUST have matching timestamps” to
                     allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media Segment in a Media Playlist has
                     an integer Discontinuity Sequence Number. The Discontinuity Sequence Number can be used in addition to the
                     timestamps within the media to synchronize Media Segments across different Renditions.” RFC 8216 at 39.
                     Thus, “[m]atching content in Variant Streams MUST have matching Discontinuity Sequence Numbers.” RFC
                     8216 at 43.
[1.9] wherein the    The End User Device receives the requested streamlets via one or more network connections in accordance with
set of one or more   the determinations made based upon network conditions and/or available bandwidth.
factors relate to the
                      In response to requesting the first streamlet via an HTTP GET request, as shown above, the Kidoodle player
performance of the
                      receives the requested file/streamlet from the server via the one or more network connections, based on network
network; and
                      conditions such as available bandwidth. See e.g., RFC 8216 at 4 (“Using this protocol, a client can receive a
                      continuous stream of media from a server for concurrent presentation.”); id. at 5 (“To play this Playlist, the
                      client first downloads it and then downloads and plays each Media Segment declared within it. The client
                      reloads the Playlist as described in this document to discover any added segments.” ).
                     HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                     uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                     can receive a continuous stream of media from a server for concurrent presentation.”).
                     The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                     streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                     request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                     the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the


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Claim Element                                        Example Infringement Evidence
                500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                the same alongside the status of the requests.
                 Method    Host                      Path                             …     Status
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude10.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude11.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude12.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude13.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude14.ts?...


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 Claim Element                                                 Example Infringement Evidence


                       Additionally, HLS provides that “[m]atching content in Variant Streams MUST have matching timestamps” to
                       allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media Segment in a Media Playlist has
                       an integer Discontinuity Sequence Number. The Discontinuity Sequence Number can be used in addition to the
                       timestamps within the media to synchronize Media Segments across different Renditions.” RFC 8216 at 39.
                       Thus, “[m]atching content in Variant Streams MUST have matching Discontinuity Sequence Numbers.” RFC
                       8216 at 43.
[1.10] making the      The End User Device makes the successive determinations to shift the playback quality based on at least one of
successive             the set of factors to achieve continuous playback of the video using the files of the highest quality one of the
determinations to      copies determined sustainable at the time, such as network conditions and available bandwidth.
shift the playback
                       HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
quality based on at
                       uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
least one of the set
                       can receive a continuous stream of media from a server for concurrent presentation.”).
of factors to
achieve continuous     As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
playback of the        video stream at the following bandwidths:
video using the
files of the highest         300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
quality one of the           1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
copies determined            500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
sustainable at that          800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406
time; and
                       For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                       selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                       associated with the stream file path. For example:




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    Claim Element                                            Example Infringement Evidence
                       Bandwidth           Token7
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth
                       500000              6.m3u8?...
                       Bandwidth
                       800000              5.m3u8?...
                       Bandwidth


                      The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                      streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                      request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                      the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                      500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                      1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                      1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                      the same alongside the status of the requests.
                       Method     Host                       Path                               …     Status




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  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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                                       U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                        Example Infringement Evidence
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude10.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude11.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude12.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude13.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude14.ts?...


                Additionally, HLS provides that “[m]atching content in Variant Streams MUST have matching timestamps” to
                allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media Segment in a Media Playlist has
                an integer Discontinuity Sequence Number. The Discontinuity Sequence Number can be used in addition to the
                timestamps within the media to synchronize Media Segments across different Renditions.” RFC 8216 at 39.



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                                               U.S. Patent No. 8,868,772 to Kidoodle


 Claim Element                                                Example Infringement Evidence
                     Thus, “[m]atching content in Variant Streams MUST have matching Discontinuity Sequence Numbers.” RFC
                     8216 at 43.

[1.11] presenting    The End User Device presents the video by playing back with the media player on the end user station the
the video by         requested files in order of ascending playback time.
playing back with
                     In response to requesting the first streamlet via an HTTP GET request, as shown above, the End User Device
the media player
                     accessing Kidoodle.TV receives the requested streamlet from the server via the one or more network
on the end user
                     connections. See e.g., RFC 8216 at 4 (“Using this protocol, a client can receive a continuous stream of media
station the
                     from a server for concurrent presentation.”); id. at 5 (“To play this Playlist, the client first downloads it and then
requested files in
                     downloads and plays each Media Segment declared within it. The client reloads the Playlist as described in this
order of ascending
                     document to discover any added segments.” ).
playback time.
                     For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                     version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                     switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                     determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                     and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                     the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                     receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                     listing showing the same alongside the status of the requests.
                      Method     Host                         Path                                …     Status
                      GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                              Dude6.ts?...
                      GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                              Dude7.ts?...
                      GET        vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …            Complete
                                                              Dude8.ts?...


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                                        U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                         Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude9.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude14.ts?...


                Kidoodle confirms that its media player provides video playback to end user stations over a network connection
                on the Kidoodle support webpage, https://about.kidoodle.tv/faq/. There, Kidoodle troubleshoots problems end
                users may have with HLS and instructs users on how to optimize their video playback experience. See
                https://about.kidoodle.tv/faq/.




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                                   U.S. Patent No. 8,868,772 to Kidoodle


Claim Element                                   Example Infringement Evidence




                                                   105
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                   EXHIBIT T
                Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 705 of 863 PageID #: 759

                                               U.S. Patent No. 11,470,138 to Kidoodle


        The following claim chart shows exemplary aspects of A Parent Media Co. Inc.’s Kidoodle.TV streaming services and
products (“Kidoodle”) that infringe claim 14 of the ’138 Patent. The chart is exemplary and should not be read to limit DISH’s
assertions against Kidoodle, or any other streaming services offered by A Parent Media Co. Inc. or Kidoodle as to the services or
products described below. The chart should not be read to limit DISH’s assertions to the patent claim charted below. Nor should the
chart below be read to limit how Kidoodle infringes the claim below.
  Claim Element                                               Example Infringement Evidence
 [14.pre] An end       Kidoodle includes information and Applications that include an end user content player device which streams a
 user station to       video over a network from a server for playback of the video. Kidoodle is executable by devices that obtain
 stream a video        streams of a selected video program for playback. The streams include live streams that are obtained from one or
 over a network        more servers affiliated with Kidoodle over a network.
 from a server for
                       The images in this chart are from a device accessing the Kidoodle.tv website through a web browser, such as
 playback of the
                       Microsoft Edge, Google Chrome, or iOS Safari. Kidoodle.tv supports all major web browsers. See
 video, the end user
                       https://about.kidoodle.tv/ (“We’re available across all available platforms.”).
 station comprising:




                       https://about.kidoodle.tv/ (“We’re available across all available platforms.”)




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                                        U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                          Example Infringement Evidence
                Kidoodle also includes applications for all platforms, including Apple App Store for iOS devices, Google Play
                for Android devices, Roku, and Amazon Fire TV, which also access the Kidoodle.tv website to stream video
                content. See https://about.kidoodle.tv/watch-now/




                https://about.kidoodle.tv/watch-now/
                 Upon information and belief, the aforementioned device that accesses Kidoodle.tv through a website, and the
                applications that access Kidoodle.tv (collectively, “End User Device”) operate in the same or substantially the
                same way for purposes of this chart.




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                                        U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                          Example Infringement Evidence
                The one or more servers accessible by Kidoodle store video files which are streamed to the end user stations.
                The following are examples of the videos that may be streamed from the one or more servers to the End User
                Device(s). See https://kidoodle.tv/.




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                                              U.S. Patent No. 11,470,138 to Kidoodle


 Claim Element                                               Example Infringement Evidence
                      https://kidoodle.tv/.
                      Tests were conducted on videos offered over the Kidoodle.TV site accessed on a personal computer (e.g., End
                      User Device). As part of the testing, the End User Device was connected to the internet through the Charles
                      Proxy application, which enabled the abilities to proxy the device’s network traffic, to view the device’s network
                      traffic, and to throttle the network’s available bandwidth. Thus, the test simulated how Kidoodle responded to
                      lower and higher bandwidths. For the current test, a video titled “Dude Perfect” was selected. When the user
                      selects a video from the available videos, the media player embedded in the Kidoodle.TV site displays more
                      details regarding the video and provides the user with the option to view the video.
                      Selecting the icon corresponding to a video causes that video and other materials to be streamed and displayed
                      on the user’s device.
                      With respect to adaptively receiving the digital stream from the video server over the network, the media player
                      embedded in the Kidoodle.TV site accesses adaptive bitrate streams are provided to the End User Device from a
                      server affiliated with Kidoodle over a network using the HTTP Live Streaming (“HLS”) adaptive bitrate
                      streaming protocol. HLS is “a protocol for transferring unbounded streams of multimedia data.” Request For
                      Comments: 8216 – HTTP Live Streaming, August 2017 (“RFC 8216”) at 1. Using HLS, “a client can receive a
                      continuous stream of media from a server for concurrent presentation.” RFC 8216 at 4. HLS “allows a receiver
                      to adapt the bitrate of the media to the current network conditions in order to maintain uninterrupted playback at
                      the best possible quality.” RFC 8216 at 4. With HLS, “[c]lients should switch between different Variant Streams
                      to adapt to network conditions.” RFC 8216 at 5.


[14.1] a processor;   Kidoodle’s content is accessible on End User Devices. https://about.kidoodle.tv/ (“We’re available across all
                      available platforms.”). Example end user devices include personal computers, Macintosh computers, Apple
                      iPhones, Apple iPads, Android phones, Android tablets, and smart TV devices equipped to access the internet
                      via one or more network connections. The end users’ devices include a processor configured to enable video
                      streaming.



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                                             U.S. Patent No. 11,470,138 to Kidoodle


 Claim Element                                              Example Infringement Evidence




                     See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)


                     The screenshots in this chart of the Kidoodle website are from accessing the Kidoodle website on an Apple iPhone
                     or Windows computer. On information and belief, at least one of the devices capable of accessing and viewing
                     Kidoodle content contains a processor.
[14.2] a digital     As explained above, Kidoodle’s content is accessible on end users’ devices. Example end user devices include
processing           personal computers, Macintosh computers, Apple iPhones, Apple iPads, Android phones, Android tablets, and
apparatus memory     smart TV devices equipped to access the internet via one or more network connections. The end users’ devices
device comprising    include a processor configured to enable video streaming. The end users’ devices also include memory devices
non-transitory       having non-transitory machine-readable instructions that cause an end user device to establish an internet
machine-readable     connection between the end user station and the one or more Kidoodle servers hosting Kidoodle videos, which is
instructions that,   configured to access at least one of a plurality of streamlets.
when executed,



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 Claim Element                                               Example Infringement Evidence
cause the             Through the established network connection, the devices streaming Kidoodle access video programs that are
processor to:         stored on one or more servers for display on the devices via the video player accessing the Kidoodle.TV site. See
                      also
establish an
internet connection
between the end
user station and
the server, wherein
the server is
configured to
access at least one
of a plurality of
groups of
streamlets;


                      See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)
                      The one or more servers hosting Kidoodle.TV video programs store streamlets corresponding to particular
                      segments of a video program, and each streamlet is encoded at one of numerous resolutions. Each of the stored
                      streams, or variant playlists, comprises a plurality of streamlets at the same resolution. The arrangements of each
                      variant playlist ensure the sequential playback of the streams at a resolution supported by the available network
                      bandwidth.
                      For example, in the instant test of a video titled “Dude Perfect,” the end user station: established a network
                      connection, connected with the one or more Kidoodle servers, and made an HTTP GET request to
                      prod.kidoodle.tv for a master manifest located at the following path:
                      https://prod.kidoodle.tv/api/2.0/content/elemental-source/web/2545/94152/670158/watch/manifest.m3u8
                      (hereafter referred to as the “Master Manifest” or “manifest.m3u8”). The Master Manifest returned the




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Claim Element                                          Example Infringement Evidence
                following contents, reflecting the Uniform Resource Indicators (“URIs”) of the various variant playlists hosting
                at least a group of streamlets:
                 #EXTM3U
                 #EXT-X-VERSION:3
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                 8.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
                 7.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                 6.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
                 5.m3u8
                File path: manifest.m3u8
                The master playlist shows four versions of the video stream at the following bandwidths:
                      300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                      1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                      500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                      800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406


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    Claim Element                                             Example Infringement Evidence


                      For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                      selected video program at a particular bandwidth and resolution. Each variant playlist, or version playlist, is
                      defined by the token associated with the stream file path. For example:


                       Bandwidth           Token1
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth
                       500000              6.m3u8?...
                       Bandwidth
                       800000              5.m3u8?...
                       Bandwidth


                      Each of the variant playlists includes segments, or streamlets, that encode the same portion of the video at
                      various qualities. For example, the 300000 Bandwidth version can be considered a low-quality stream, the
                      500000 or 800000 Bandwidth version can be considered a medium-quality stream, and the 1800000
                      Bandwidth version can be considered a high-quality stream.




1
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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     Claim Element                                              Example Infringement Evidence
                         Kidoodle also uses HTTPS GET requests to retrieve the segments, or streamlets, of the encoded video specified
                         in the file above from the one or more servers hosting Kidoodle content.
                         The Media Playlist for each of the Variant Streams identifies a group of streamlets associated with each of the
                         different copies, as the exemplary Media Playlist shown below illustrates. See RFC 8216 at 38 (“The server
                         must create a Media Playlist file (Section 4) that contains a URI for each Media Segment that the server wishes
                         to make available, in the order in which they are to be played.”); see also RFC 8216 at 4 (“A multimedia
                         presentation is specified by a Uniform Resource Identifier (URI) [RFC3986] to a Playlist.”); RFC 8216 at 4 (“A
                         Media Playlist contains a series of Media Segments that make up the overall presentation. A Media Segment is
                         specified by a URI and optionally a byte range.”).
                         As shown by the Charles Proxy application file, partially reproduced below, the streamlet video files are hosted
                         on a server accessible via https://vcdm-cf.kidoodle.tv/. The server accesses the stored streamlet files for
                         playback on an end user device.
                          Method     Host                      Path2                     …         Status
                          GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                               _WorldsStrongestDude
                                                               0.ts?...
                          GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                               _WorldsStrongestDude
                                                               1.ts?...
                          GET        vcdm-cf.kidoodle.tv       361/670158/7/hls/S0E4     …         Complete
                                                               _WorldsStrongestDude
                                                               2.ts?...



2
    Video path abbreviated for readability throughout.


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Claim Element                                         Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv      361/670158/7/hls/S0E4     …         Complete
                                                     _WorldsStrongestDude
                                                     3.ts?...


                Importantly, the test video “Dude Perfect” is a video uploaded to servers hosting Kidoodle content. On
                information and belief, the live event videos offered to Kidoodle viewers are similarly encoded at multiple
                resolutions, hosted on one or more servers, and accessed through HTTP Get Requests by end users’ devices,
                such that they similarly perform the demonstrated claim limitations.
                As shown in the test data, Kidoodle selects the 1800000 Bandwidth version of the stream and makes a request
                for the corresponding playlist. The Kidoodle Server(s) returns the playlist file with the following contents:
                       #EXTM3U
                       #EXT-X-VERSION:3
                       #EXT-X-TARGETDURATION:11
                       #EXT-X-MEDIA-SEQUENCE:0
                       #EXTINF:10.750000,
                       https://vcdm-
                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude0.ts?Expires=1692058230&Signat
                       ure=X-j9VAHmYvweCM-
                       dblOesIErSUUPPye19SnCx9oSQaIPIQ9PYd9fEqw70kunQdE0c9VdJUJT05ewHTOHxwr0fXs
                       g1UCjh2MBBBXuSguMBNLDplNuJxeg9ZzZpeEfPNC~k-
                       GWyC79vUAs1SasIIG1VfVy89Kb7cBiHt17-
                       baaBU01zty90WpmmejGY~vYOoen7gdJ9v7M~z0lVVREBiyygE7A0vGww6pEpEMztwSZZ4
                       ZoBkCdhZmLe3vjUm5MMr8nrU8n~ljj6fEYV3GeQiNlSEAApGW1qa5cNtQOhfX2ClzKrGHx
                       paXUKqEheDRGyCs2u3bOEHjqRm2o1-ynSK5rFw__&Key-Pair-
                       Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                    Example Infringement Evidence
                     #EXTINF:9.250000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude1.ts?Expires=1692058230&Signat
                     ure=CDpwAf98XhRNKYFrCcv-
                     ofhY3VrgZ6T7M~dt8AXR4VRuOrMTiwDrlCQfZ01vbPEmfi~L0OK6K9Y6rlItw3hSboVNYc-
                     Bs8Kxtaqz~kiDoN3TvSHmiaPcpjGO03IQ5nLbwn-
                     gcptixhXoqmhAYSfFJ8q1NrOHvq5WzlOKvx8v10snMl1mxS0fC5VRDXEYbkCvLSqe8OBa8
                     kev2TqT8dZw7uFepqygtWzr5C0u-
                     6nWGZHqw4vC0d~N50BQSxQ5bjMz28sAs1vw2KmnoYx4exlNb1EE6M6nUPCA3C9dc5tei7
                     fB4UUZDjALiy3x7tOF3Zd2KJg6yxsNQC3ER8sD8g98SQ__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.083333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=1692058230&Signat
                     ure=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                     Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGKUkDDfL7nBd
                     gfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                     0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                     3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                     NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                     CYxuCpPt9d50a8kEBRDNl3Tt-WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=1692058230&Signat
                     ure=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYHXS2lrrpkid5FBs5f~c3CtijVa
                     HEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                     ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25DxDRs3Pb1hLf
                     DUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-

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Claim Element                                    Example Infringement Evidence
                     eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                     ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80LzLrDZuk~tezw
                     __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.416667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=1692058230&Signat
                     ure=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                     IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                     zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                     y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-IHBaxLCvWoKA9Giwd1F-
                     Xcd7C9pLd800urg-20HZuei-
                     2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1sXw8yILs-
                     Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=1692058230&Signat
                     ure=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                     ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53RunAwQ~p3j4P6
                     3FEfL-ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                     eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4ahEG-
                     et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZpKD6UQPz8JI4
                     OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=1692058230&Signat
                     ure=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRwWgpnq8loZdNXxJusEz1BjFd
                     SviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0
                     wbL~iNVzRc2OWelQdLrCplH9mJAnzYUbb-


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Claim Element                                    Example Infringement Evidence
                     p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R0RNnvRIBG1
                     b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75YdM91BCDnFgTaB2DGh
                     w9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=1692058230&Signat
                     ure=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oPERBiu3cpkU1bmx18V7z1k
                     BeG7n-P9XrAsdZrTSeBc5Z-OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                     GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                     kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiHhdLg4riLBkF
                     xOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4s0AgtlqDkqHnu~HRUoAO
                     GTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.750000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=1692058230&Signat
                     ure=BA-
                     QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8IS2H2uktgoA
                     vqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                     bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                     ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT1CCM4eWrFn
                     IrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-
                     y4JfUClu3a2s-gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=1692058230&Signat
                     ure=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-


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Claim Element                                    Example Infringement Evidence
                     P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9uG1gv6uaDU
                     F-NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPfN~kJVa94-
                     XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDACytArwL9~CtJ
                     qifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-
                     rtvvpM2YO35x3QnHMYJlpNjIg-vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.666667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692058230&Signa
                     ture=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                     DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                     ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                     sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4WyWQN5SB
                     0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIVBR5qqb2UlZTE9zXwNFW
                     4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692058230&Signa
                     ture=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J39C0TOfHfhkuWX3GNV~B
                     7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk
                     6YyHaHA~YwMvSqF0FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                     ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                     G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                     38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-B3UWdy9CAhNg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692058230&Signa


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                                   U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                    Example Infringement Evidence
                     ture=AcGGiMOj6opQRc-iQhv-
                     t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk2w0HmAaV5
                     pV1n11kWK-NV93ZRSPKyTc-
                     9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                     ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtwVnc-B-
                     rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                     naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692058230&Signa
                     ture=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39QN0fozRAJiDpxwfbGRLiCs
                     cRoibOsDnp8g45-N1Dv-
                     l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W~EUgXwn45U
                     nLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CWxRJaJXKIU7fPKI0rm2WKO
                     etZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                     ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692058230&Signa
                     ture=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yKA45ce57fGCLQkOTs9rLwvG
                     KYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYNWXti2HX96KWLRLluN9-
                     xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~FmcQCx17kws4l
                     Jq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VDvolOXbtWeRISpeUtqRcyPv
                     lEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibmBRqlyB-
                     y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA



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                                   U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                    Example Infringement Evidence
                     #EXTINF:9.458333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude15.ts?Expires=1692058230&Signa
                     ture=EmKhQ97V1kC2nux03LOh0AsSs8x3T5uYyPU7uQwFWokFiT5Z1lXPDOYuvT4gX8H2
                     9x5ZwaGw9fzRPXaevWiB-ZyaBTwKdD5sNiXzC85OSWOECID-
                     V1OWE4FK0zsvdbK5AhvJ3UvtNzufrrcBM9deA1B0PD8NLxZ9at3GlebQlcoyuvMPmcogOD
                     7uPWbGcRUMw~kfl6JvTlQDcqbh7Azckr8Pj85rDKpY7ffr3dNqHK45HTx4Hq8P6BJ5HsI7--
                     xXzimlgev1OuXSYnXwUib-ejbAqhnf-
                     VcwgEuwFi2u9imp45LbHP~4ChIHJ2y5zkOvk6Vd6Rhlwe5QE~-91Ya7OA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude16.ts?Expires=1692058230&Signa
                     ture=D9tydyyfLvc63w423qjALtY-u7peL5T09eMLvlf3qIhCt-
                     z8xRmbnXtpHEtXxwqI~tQqCssOLXwaC-EY-
                     2o2wPfVMWWMVFw1vyi~T~DBrixO4J9gdgCnN7XiGrI8Ebe--Pchv5-H7e-
                     ReOIuUWsSOryzM6xfIOlM1KN-
                     dlXCqfCpIXnyOZOwsnVFAgxZcekcLrarB8e8SpE1wobXIogjk2DGMr3GmYymTXsGFiODw
                     XBTMuhWRcV1TARZLMK69oozNgv6-Te97KflduUeZVt6zapVj-
                     6Q8ZK7x7J9EFxmFwPXe7~SFFUQTxFMNJcu0esokmKOAR2tCxznBheaUR1Gag__&Key-
                     Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXT-X-CUE-OUT: 0
                     #EXT-X-CUE-IN
                     #EXTINF:8.375000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude17.ts?Expires=1692058230&Signa
                     ture=G0-13akiy1zABYLlQcnx7Om3pfZaPh~26uL9-
                     jwDy9bwyV6KOSVTJ9uknM13xLq12pki6n6V0cWIDrQvpsvz2Tl8~ewAUkjzwesP-

                                                     17
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                                                 U.S. Patent No. 11,470,138 to Kidoodle


 Claim Element                                                  Example Infringement Evidence
                               1XnJuY9tolEBNTaipdcKKeCNLw8LB9El~9einSOyMxcXmzX7ieVVlu-A~wi2GwbcMUb-
                               w8OlvYZjVa9yTxzoz2TUjkHqFmJQ6NJ4rrnmzIsAyFu75W71LOHC-J1vs0dbN-
                               S581jzsrg6WtUI9CbxM59TmAdLLJfnKS7XAgU5a0u~0ZbPF5Ne4z3xFWkif4joJCRc8E991A
                               Rl8BUoyFCth3z8vJDd-uDp5M-br~nKEfRI5ZvBg__&Key-Pair-
                               Id=APKAIPJESLAK2PMGD4PA
                               #EXT-X-ENDLIST


                        The variant playlist file is an HLS playlist. Each line in the file path
                        “361/670158/7/hls/S0E4_WorldsStrongestDude17.ts...” that begins with “#EXTINF” specifies the length of the
                        segments in seconds. The line below the #EXTINF file is the location of the video file. In the variant playlist
                        shown above, the segments of the video are separated by commercial segments. Each of the streamlets (except
                        the first and final streamlets of each playlist) is approximately 8-10 seconds long and returns sequential
                        segments of the video program and/or commercial.
                        As long as the viewer continues watching the video and the bandwidth is adequate to support the chosen
                        resolution, the end user device will continue to request (and Kidoodle.TV will provide) streamlets corresponding
                        to the current, chosen resolution.
[14.3] wherein the      The Kidoodle videos are encoded at a plurality of different bitrates to create a plurality of streams including at
video is encoded at     least a low quality stream, a medium quality stream, and a high quality stream, each of the low quality stream,
a plurality of          the medium quality stream, and the high quality stream comprising a group of streamlets encoded at the same
different bitrates to   respective one of the different bitrates, each group comprising at least first and second streamlets, each of the
create a plurality      streamlets corresponding to a portion of the video;
of streams
                        In the instant test, a personal computer accessing the Kidoodle.TV site through a web browser makes a HTTPS
including at least a
                        GET request to prod.kidoodle.tv for the Master Manifest of a video program titled “Dude Perfect.” As shown in
low quality stream,
                        the excerpts of the Master Manifest below, the video available is encoded at 4 different bitrates.
a medium quality
stream, and a high       #EXTM3U
quality stream,

                                                                     18
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 Claim Element                                               Example Infringement Evidence
each of the low        #EXT-X-VERSION:3
quality stream, the
                       #EXT-X-STREAM-
medium quality
                       INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
stream, and the
high quality           8.m3u8
stream comprising
a group of             #EXT-X-STREAM-
streamlets encoded     INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
at the same            7.m3u8
respective one of
the different          #EXT-X-STREAM-
bitrates, each         INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
group comprising       6.m3u8
at least first and
second streamlets,     #EXT-X-STREAM-
each of the            INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
streamlets             5.m3u8
corresponding to a
portion of the        File path: manifest.m3u8
video;
                      The master playlist shows four versions of the video stream at the following bandwidths:
                            300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                            1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                            500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                            800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                      For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                      selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                      associated with the stream file path. For example:


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    Claim Element                                            Example Infringement Evidence


                       Bandwidth           Token3
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth
                       500000              6.m3u8?...
                       Bandwidth
                       800000              5.m3u8?...
                       Bandwidth


                      Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                      For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                      Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                      considered a high-quality stream.
                      As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                      or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                      arranged in ascending chronological order, beginning with the first segment of the video program, and
                      progressing until the final segment of the video program.
                       Bandwidth                        Streamlet (segment)


3
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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Claim Element                                   Example Infringement Evidence
                500000 Bandwidth          #EXTM3U
                                          #EXT-X-VERSION:3
                                          #EXT-X-TARGETDURATION:11
                                          #EXT-X-MEDIA-SEQUENCE:0
                                          …
                                          #EXTINF:10.083333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                          2058315&Signature=fvGyZzCNd-crO6-
                                          JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                          ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                          SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                          fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                          -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                          8Zf6oIUQQca-
                                          5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                          _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                          #EXTINF:10.333333,
                                          https://vcdm-
                                          cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                          2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                          QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                          KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                          yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                          AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-

                                                    21
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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                         Sst-
                                         smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                         Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                         zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                         qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                         wMBsQXOJRCpWmU-vG6QW-
                                         OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                         Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                         oEXkJRDttTXHtU5IKsfY-
                                         gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                         Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                         oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                         wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                         Ll4ZQKe13SeDvD0M~woH-
                                         vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                         YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                         Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL



                                                   22
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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                         gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                         CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                         ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                         01-
                                         Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                         LQ9oQeeUI3NiT97-
                                         uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                         Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                         PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                         -
                                         4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                         UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                         Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                         1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                         xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA



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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058315&Signature=BXa7FwbB-
                                         XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                         hQprIM2EVLbLulCYs7d-
                                         NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                         EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                         zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                         04UoStbeCRxrNpEYOudkkm79k-
                                         d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                         o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                         IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                         d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                         V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                         2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                         ZyVYSd2~kXj3CG-
                                         AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                         vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39

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Claim Element                                  Example Infringement Evidence
                                         nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                         PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                         cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                         00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                         dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                         yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                         8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                         RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                         oGm-
                                         nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                         0EsdN7ZUOam4P-
                                         E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                         yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                         ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                         15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                         ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                         qVVkpgIZkF1HrUvTWvHcEXkVv--
                                         tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                         Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-


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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                         4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                         ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                         K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                         MXU8Ia-iZ8hL6vn4t-
                                         Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                         9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                         gtQgeix7e6gBfICuZQf-
                                         ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                         CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                         92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                         ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                         Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                         iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                         E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                         CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                         BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                         ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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                                    U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                           #EXTINF:9.666667,
                                           …
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                           CYxuCpPt9d50a8kEBRDNl3Tt-
                                           WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                           Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                           2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ

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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                         ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                         5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                         6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                         ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                         0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058230&Signature=eBd8Be4aj-
                                         PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                         IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                         Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                         y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                         IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                         2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                         x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058230&Signature=R83mjHLH07WWvwga8NT-
                                         JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                         ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                         RunAwQ~p3j4P63FEfL-
                                         ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                         eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                         hv4ahEG-
                                         et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq


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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                         KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                         JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                         LrCplH9mJAnzYUbb-
                                         p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                         4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                         Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                         6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                         2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                         OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                         GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                         kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                         uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                         wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                         __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169


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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         2058230&Signature=BA-
                                         QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                         K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                         KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                         ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                         eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                         U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                         gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                         P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                         Nv9uG1gv6uaDUF-
                                         NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                         MPfN~kJVa94-
                                         XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                         DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                         nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                         vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                         X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                         ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                         sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                         5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie


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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                         VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                         BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                         mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                         FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                         ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                         G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                         38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                         B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                         t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                         etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                         9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                         ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                         twVnc-B-rQwaARTzxnztYW8tW~n19-
                                         HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                         naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                         XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,



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Claim Element                                           Example Infringement Evidence
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                                 92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                                 Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                                 l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                                 8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                                 v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                                 FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                                 ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                 Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                 92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                 b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                 6J9WYNWXti2HX96KWLRLluN9-
                                                 xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                 FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                 m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                 gqYwbibmBRqlyB-
                                                 y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                 Id=APKAIPJESLAK2PMGD4PA
                                                 …
                                                 #EXT-X-ENDLIST


                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided


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Claim Element                                          Example Infringement Evidence
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.
                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
                Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
                The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                make up the overall presentation.”).
                Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,




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 Claim Element                                                Example Infringement Evidence
                      where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                      at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                      The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                      each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                      the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                      allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                      present the same content” on playback. RFC 8216 at 43.


[14.4] wherein at     As explained above, Kidoodle videos are encoded at a plurality of different bitrates to create a plurality of
least one of the      streams including at least low, medium, and high quality streams. Each of the low, medium, and high quality
low quality stream,   streams has a streamlet that encodes the same portion of the video at a different one of the plurality of different
the medium            bitrates. Each of the streamlets comprising the low, medium, and high, quality streams are stored in variant
quality stream, and   playlists comprising a group of streamlets of the same quality at a respective bit rate. At least one of the low
the high quality      quality stream, the medium quality stream, and the high quality stream is encoded at a bitrate of no less than 600
stream is encoded     kbps.
at a bitrate of no
                      File path: manifest.m3u8
less than 600 kbps;
and                   The master playlist shows four versions of the video stream at the following bandwidths:
                            300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                            1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                            500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                            800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

[14.5] wherein the    The first streamlets of each of the low quality stream, the medium quality stream and the high quality stream
first streamlets of   each has an equal playback duration and each of the first streamlets encodes the same portion of the video at a
each of the low       different one of the different bitrates
quality stream, the
                      As set forth above, each of the Variant Streams “describes a different version of the same content.” RFC 8216 at
medium quality
                      5. Thus, each of the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at

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 Claim Element                                                Example Infringement Evidence
stream and the         42. Indeed, to allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant
high quality           Stream MUST present the same content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching
stream each has an     content in Variant Streams MUST have matching timestamps” to allow the video player to synchronize the
equal playback         media. Id. Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number.
duration and each      The Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
of the first           Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
streamlets encodes     MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
the same portion
                       As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
of the video at a
                       or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
different one of the
                       arranged in ascending chronological order, beginning with the first segment of the video program and
different bitrates;
                       progressing until the final segment of the video program. As noted above, the variant playlist file is an HLS
                       playlist. Each line in the file that begins with “#EXTINF” specifies the length of the segments in seconds. The
                       line below the #EXTINF file is the location of the video file. In the present test, the End User Device accessing
                       Kidoodle.TV uses HTTPS GET requests to request and retrieve the segments of the encoded stream specified in
                       the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
                       streamlets) is approximately 8-10 seconds long.
                       The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                       cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                       bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                       segmented moments in the video.
                                 Bandwidth                           File line (#EXTINF: length) (portion of live stream)
                        500000 Bandwidth                #EXTM3U



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Claim Element                                  Example Infringement Evidence
                                         #EXT-X-VERSION:3
                                         #EXT-X-TARGETDURATION:11
                                         #EXT-X-MEDIA-SEQUENCE:0
                                         …
                                         #EXTINF:10.083333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                         2058315&Signature=fvGyZzCNd-crO6-
                                         JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                         ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                         SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                         fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                         -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                         8Zf6oIUQQca-
                                         5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                         _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                         QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                         KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                         yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                         AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                         t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v


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Claim Element                                  Example Infringement Evidence
                                         Sst-
                                         smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                         Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                         zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                         qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                         wMBsQXOJRCpWmU-vG6QW-
                                         OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                         Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                         oEXkJRDttTXHtU5IKsfY-
                                         gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                         Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                         oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                         wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                         Ll4ZQKe13SeDvD0M~woH-
                                         vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                         YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                         Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                         sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                         gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                         CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                         ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                         01-
                                         Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                         LQ9oQeeUI3NiT97-
                                         uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                         Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                         PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                         -
                                         4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                         UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                         Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                         1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                         xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169

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Claim Element                                  Example Infringement Evidence
                                         2058315&Signature=BXa7FwbB-
                                         XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                         hQprIM2EVLbLulCYs7d-
                                         NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                         EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                         zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                         04UoStbeCRxrNpEYOudkkm79k-
                                         d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                         o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                         IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                         d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                         V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                         2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                         ZyVYSd2~kXj3CG-
                                         AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                         vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                         nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                         PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                         cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf


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Claim Element                                  Example Infringement Evidence
                                         00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                         dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                         yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                         8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                         RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                         oGm-
                                         nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                         0EsdN7ZUOam4P-
                                         E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                         yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                         ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                         15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                         ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                         qVVkpgIZkF1HrUvTWvHcEXkVv--
                                         tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                         Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                         jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                         4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA


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Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                         ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                         K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                         MXU8Ia-iZ8hL6vn4t-
                                         Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                         9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                         gtQgeix7e6gBfICuZQf-
                                         ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                         CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                         92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                         ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                         Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                         iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                         E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                         CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                         BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                         ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.666667,
                                         …



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Claim Element                                    Example Infringement Evidence
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                           CYxuCpPt9d50a8kEBRDNl3Tt-
                                           WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                           Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                           2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                           ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                           ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                           5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ


                                                     42
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Claim Element                                  Example Infringement Evidence
                                         6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                         ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                         0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058230&Signature=eBd8Be4aj-
                                         PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                         IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                         Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                         y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                         IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                         2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                         x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058230&Signature=R83mjHLH07WWvwga8NT-
                                         JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                         ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                         RunAwQ~p3j4P63FEfL-
                                         ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                         eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                         hv4ahEG-
                                         et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                         ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA



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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                         KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                         JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                         LrCplH9mJAnzYUbb-
                                         p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                         4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                         Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                         6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                         2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                         OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                         GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                         kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                         uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                         wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                         __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058230&Signature=BA-
                                         QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                         K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39

                                                   44
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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                         ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                         eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                         U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                         gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                         P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                         Nv9uG1gv6uaDUF-
                                         NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                         MPfN~kJVa94-
                                         XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                         DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                         nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                         vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                         X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                         ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                         sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                         5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                         kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                         VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA


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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                         BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                         mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                         FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                         ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                         G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                         38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                         B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                         t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                         etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                         9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                         ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                         twVnc-B-rQwaARTzxnztYW8tW~n19-
                                         HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                         naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                         XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                         Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                         l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT

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                                        U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                          Example Infringement Evidence
                                                8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                                v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                                FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                                ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                #EXTINF:10.333333,
                                                https://vcdm-
                                                cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                6J9WYNWXti2HX96KWLRLluN9-
                                                xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                gqYwbibmBRqlyB-
                                                y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                Id=APKAIPJESLAK2PMGD4PA
                                                …
                                                #EXT-X-ENDLIST


                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above. Similarly, on
                information and belief, the other bandwidth version streamlets are the same durations as the 500000 Bandwidth
                and 1800000 Bandwidth versions.
                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media

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                                              U.S. Patent No. 11,470,138 to Kidoodle


 Claim Element                                                Example Infringement Evidence
                      Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue
                      uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                      same Media Sequence Number in different Variant Streams or Renditions have the same position in the
                      presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the
                      relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                      corresponding segments.”).
[14.6] select a       The End User Device select a specific one of the low quality stream, the medium quality stream, and the high
specific one of the   quality stream based upon a determination by the end user station to select a higher or lower bitrate version of
low quality stream,   the streams.
the medium
                      HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
quality stream, and
                      uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
the high quality
                      can receive a continuous stream of media from a server for concurrent presentation.”).
stream based upon
a determination by    As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
the end user          video stream at the following bandwidths:
station to select a
higher or lower             300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
bitrate version of          1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
the streams;                500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                            800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                      For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                      selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                      associated with the stream file path. For example:




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                                              U.S. Patent No. 11,470,138 to Kidoodle


    Claim Element                                            Example Infringement Evidence
                       Bandwidth           Token4
                       300000              8.m3u8?...
                       Bandwidth
                       1800000             7.m3u8?...
                       Bandwidth
                       500000              6.m3u8?...
                       Bandwidth
                       800000              5.m3u8?...
                       Bandwidth


                      The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                      streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                      request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                      the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                      500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                      1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                      1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                      the same alongside the status of the requests.
                       Method     Host                       Path                               …     Status




4
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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                                      U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                        Example Infringement Evidence
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude10.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude11.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude12.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude13.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude14.ts?...


                Additionally, HLS provides that “[m]atching content in Variant Streams MUST have matching timestamps” to
                allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media Segment in a Media Playlist has
                an integer Discontinuity Sequence Number. The Discontinuity Sequence Number can be used in addition to the
                timestamps within the media to synchronize Media Segments across different Renditions.” RFC 8216 at 39.



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                                             U.S. Patent No. 11,470,138 to Kidoodle


 Claim Element                                               Example Infringement Evidence
                     Thus, “[m]atching content in Variant Streams MUST have matching Discontinuity Sequence Numbers.” RFC
                     8216 at 43.


[14.7] place a       The End User Device places a streamlet request to the server over the internet connection for the first streamlet
streamlet request    of the selected stream.
to the server over
                     The variant playlists file are HLS playlists. Each line in the file that begins with “#EXTINF” specifies the length
the internet
                     of the segments in seconds. The line below the #EXTINF file is the location of the video file. In the present test,
connection for the
                     the End User Device accessing Kidoodle.TV requests and retrieves the segments of the encoded stream specified
first streamlet of
                     in the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
the selected
                     streamlets) is approximately 8-10 seconds long.
stream;
                     The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
                     cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
                     cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
                     cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                     cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                     cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                     bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                     segmented moments in the video.
                        Bandwidth Version                         File line (#EXTINF: length) (portion of live stream)
                      500000 Bandwidth            #EXTM3U
                                                  #EXT-X-VERSION:3
                                                  #EXT-X-TARGETDURATION:11
                                                  #EXT-X-MEDIA-SEQUENCE:0
                                                  …


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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      #EXTINF:10.083333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                      58315&Signature=fvGyZzCNd-crO6-
                                      JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-ERIBXKGkK~-
                                      uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                      SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMvfBl
                                      YgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb-
                                      4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                      8Zf6oIUQQca-
                                      5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg__&
                                      Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                      58315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigUQOQg
                                      L~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                      KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                      yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLYAeE
                                      62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                      t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~vSst-
                                      smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.416667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                      58315&Signature=YXXHRRu4Adc2jc-XdGykv-

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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42qpY
                                      mam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~LwMBsQ
                                      XOJRCpWmU-vG6QW-
                                      OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                      Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYWoEX
                                      kJRDttTXHtU5IKsfY-
                                      gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2Bj9g
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                      58315&Signature=CM-bcy4GkvIZLwyvQ-
                                      oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2ww
                                      J4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                      Ll4ZQKe13SeDvD0M~woH-
                                      vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9PY
                                      WZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4Kt6rU
                                      4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lLsWZ3I8tv
                                      jSixRbfhbDdDppd9ufg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                      58315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                      gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwLCE
                                      WqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                      ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA01-
                                      Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeBLQ


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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 758 of 863 PageID #: 812

                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      9oQeeUI3NiT97-
                                      uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAVQ_
                                      _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                      58315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAEPSZD
                                      a9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp-
                                      4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                      UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaBBa~
                                      4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-1G6e6EUQFJQhQAsbdTNR-
                                      anlsScKypM~dskGmB-AAsYvGbGNB-MAu-xPMTZ8fS-
                                      EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.750000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                      58315&Signature=BXa7FwbB-
                                      XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9HhQp
                                      rIM2EVLbLulCYs7d-
                                      NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33XEVC
                                      ubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3zvOOO
                                      m6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn604UoStbeC
                                      RxrNpEYOudkkm79k-
                                      d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                      o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 759 of 863 PageID #: 813

                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                      58315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                      IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsad7
                                      BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                      V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp2vf
                                      5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrcZyVY
                                      Sd2~kXj3CG-AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-
                                      T~DkokBOYJd8c-vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.666667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                      058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39nk9it
                                      xzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DVPqjXH1d
                                      cm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                      cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf00w
                                      m8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35dQoPsu
                                      4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJyml8sALw
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                      058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM8Rhb
                                      F9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                      RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvcoG
                                      m-nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-

                                                   55
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 760 of 863 PageID #: 814

                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      0EsdN7ZUOam4P-
                                      E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7igyLj
                                      hGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaGZkvaB
                                      ObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                      058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH15~o
                                      QepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqCky3EV~g
                                      yOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-qVVkpgIZkF1HrUvTWvHcEXkVv--
                                      tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5EfbGv
                                      ~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                      jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                      4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                      058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                      ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28K9
                                      4BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAxMXU8
                                      Ia-iZ8hL6vn4t-
                                      Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                      9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVCgt
                                      Qgeix7e6gBfICuZQf-
                                      ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3sCeV
                                      vdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA


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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 761 of 863 PageID #: 815

                                    U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                    Example Infringement Evidence
                                        #EXTINF:10.333333,
                                        https://vcdm-
                                        cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                        058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6toED9s
                                        TTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                        Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2iI~i
                                        jh7cbzmcgb38F-mazr0uLY-Rp-
                                        E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqaCeE
                                        0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                        BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                        ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                        #EXTINF:9.666667,
                                        …
                                        #EXT-X-ENDLIST
                1800000 Bandwidth       #EXTM3U
                                        #EXT-X-VERSION:3
                                        #EXT-X-TARGETDURATION:11
                                        #EXT-X-MEDIA-SEQUENCE:0
                                        …
                                        #EXTINF:10.083333,
                                        https://vcdm-
                                        cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                        58230&Signature=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                        Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGK


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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 762 of 863 PageID #: 816

                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      UkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                      0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                      3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                      NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                      CYxuCpPt9d50a8kEBRDNl3Tt-
                                      WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                      58230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYH
                                      XS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                      ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25D
                                      xDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                                      eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                      ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80Lz
                                      LrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.416667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                      58230&Signature=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                      IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                                      zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                      y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                      IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                      2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1s
                                      Xw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA



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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 763 of 863 PageID #: 817

                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                      58230&Signature=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-
                                      fBuAJohvGwaz-
                                      ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53Ru
                                      nAwQ~p3j4P63FEfL-
                                      ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                      eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4
                                      ahEG-
                                      et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZp
                                      KD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                      58230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRw
                                      Wgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa
                                      985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQdLrCplH9mJ
                                      AnzYUbb-
                                      p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R
                                      0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75
                                      YdM91BCDnFgTaB2DGhw9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-
                                      3SHA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                      58230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oP
                                      ERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-

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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                      GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                      kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiH
                                      hdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4
                                      s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-
                                      Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.750000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                      58230&Signature=BA-
                                      QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8
                                      IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                                      bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                      ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT
                                      1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                      U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                      gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                      Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.125000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                      58230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                      P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9
                                      uG1gv6uaDUF-
                                      NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPf
                                      N~kJVa94-
                                      XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDAC
                                      ytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-



                                                   60
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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                      vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.666667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                      058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                                      DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                      ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                      sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4
                                      WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIV
                                      BR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQ
                                      xD7AR93CPi6Km6Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                      058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J3
                                      9C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2
                                      G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0FqgXFZTeKO
                                      3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                      ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                      G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                      38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                      B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.500000,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                      058230&Signature=AcGGiMOj6opQRc-iQhv-
                                      t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk


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                                  U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                  Example Infringement Evidence
                                      2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                      9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                      ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtw
                                      Vnc-B-rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-
                                      gRlRbR-
                                      naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA
                                      __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:9.916667,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                      058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39
                                      QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                      l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W
                                      ~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CW
                                      xRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41F
                                      mvaEMv8NErO3ANuCG1aLIkLJdb-
                                      ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-
                                      Pair-Id=APKAIPJESLAK2PMGD4PA
                                      #EXTINF:10.333333,
                                      https://vcdm-
                                      cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                      058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yK
                                      A45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYN
                                      WXti2HX96KWLRLluN9-
                                      xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~Fm
                                      cQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VD
                                      volOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibm
                                      BRqlyB-



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                                        U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                          Example Infringement Evidence
                                             y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                             Id=APKAIPJESLAK2PMGD4PA
                                             …
                                             #EXT-X-ENDLIST


                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above.
                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media
                Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue
                uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                same Media Sequence Number in different Variant Streams or Renditions have the same position in the
                presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the
                relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                corresponding segments.”).
                Indeed, to adapt playback between different bitrate Variant Streams, the End User Device “can use the EXTINF
                durations and the constraints in Section 6.2.4 to determine the approximate location of corresponding media.
                Once media from the new Variant Stream has been loaded, the timestamps in the Media Segments can be used
                to synchronize the old and new timelines precisely.” RFC 8216 at 47.
                Each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                streamlet encoding the same portion of the video in the high quality stream; allow “clients to switch between”
                Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same content” on
                playback. RFC 8216 at 43. Further, HLS provides that “[m]atching content in Variant Streams MUST have
                matching timestamps” to allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media

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Claim Element                                           Example Infringement Evidence
                Segment in a Media Playlist has an integer Discontinuity Sequence Number. The Discontinuity Sequence
                Number can be used in addition to the timestamps within the media to synchronize Media Segments across
                different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams MUST have matching
                Discontinuity Sequence Numbers.” RFC 8216 at 43.
                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                listing showing the same alongside the status of the requests.
                 Method     Host                        Path                               …     Status
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude9.ts?...



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                                         U.S. Patent No. 11,470,138 to Kidoodle


Claim Element                                           Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude14.ts?...


                The Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary
                entities.” RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player,
                “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id. at 47 (“The
                first segment to load is generally the segment that the client has chosen to play first (see Section 6.3.3).”). Then,
                “[i]n order to play the presentation normally, the next Media Segment” the video player requests and “load[s]
                the one with the lowest Media Sequence Number that is greater than the Media Sequence Number of the last
                Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the video player must request a
                plurality of files with sequential Media Sequence Numbers/timestamps and the requests are made based on the
                Media Sequence Numbers/timestamps.
                As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.



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 Claim Element                                               Example Infringement Evidence
                     On information and belief, playlists for the other resolution variants also include these segments, which
                     correspond to the same portion of the video provided from the server(s).
[14.8] receive the   The End User Device accessing Kidoodle.TV receives the requested first streamlet from the server via the
requested first      internet connection.
streamlet from the
                     HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
server via the
                     uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
internet
                     can receive a continuous stream of media from a server for concurrent presentation.”).
connection; and
                     For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                     version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                     switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                     determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                     and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                     the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                     receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                     listing showing the same alongside the status of the requests.
                      Method     Host                        Path                               …     Status
                      GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                             Dude6.ts?...
                      GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                             Dude7.ts?...
                      GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                             Dude8.ts?...
                      GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                             Dude9.ts?...



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Claim Element                                         Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude14.ts?...


                Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary entities.”
                RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player accessing
                Kidoodle.TV, “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id.
                at 47 (“The first segment to load is generally the segment that the client has chosen to play first (see Section
                6.3.3).”). Then, “[i]n order to play the presentation normally, the next Media Segment” the End User Device
                requests and “load[s] the one with the lowest Media Sequence Number that is greater than the Media Sequence
                Number of the last Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the End User
                Device must request a plurality of files with sequential Media Sequence Numbers/timestamps and the requests
                are made based on the Media Sequence Numbers/timestamps.
                As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then
                back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.



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 Claim Element                                                Example Infringement Evidence
[14.9] provide the   The End User Device accessing Kidoodle.TV provides the received streamlets to the video player embedded in
received first       the Kidoodle.TV site.
streamlet for
                     In response to requesting the first streamlet via an HTTP GET request, as shown above, the End User Device
playback of the
                     accessing Kidoodle.TV receives the requested streamlet from the server via the one or more network
video.
                     connections. See e.g., RFC 8216 at 4 (“Using this protocol, a client can receive a continuous stream of media
                     from a server for concurrent presentation.”); id. at 5 (“To play this Playlist, the client first downloads it and then
                     downloads and plays each Media Segment declared within it. The client reloads the Playlist as described in this
                     document to discover any added segments.” ).
                     For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                     version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                     switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                     determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                     and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                     the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                     receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                     listing showing the same alongside the status of the requests.
                      Method     Host                         Path                                …     Status
                      GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                              Dude6.ts?...
                      GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                              Dude7.ts?...
                      GET        vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …            Complete
                                                              Dude8.ts?...
                      GET        vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …            Complete
                                                              Dude9.ts?...


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Claim Element                                         Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude14.ts?...


                Kidoodle confirms that the video player provides video playback to end user stations over a network connection
                on the Kidoodle support webpage, https://about.kidoodle.tv/faq/. There, Kidoodle troubleshoots problems end
                users may have with HLS and instructs users on how to optimize their video playback experience. See
                https://about.kidoodle.tv/faq/.




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Claim Element                                  Example Infringement Evidence




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                   EXHIBIT U
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                                               U.S. Patent No. 10,757,156 to Kidoodle


        The following claim chart shows exemplary aspects of A Parent Media Co. Inc.’s Kidoodle.TV streaming services and
products (“Kidoodle”) that infringe claim 1 of the ’156 Patent. The chart is exemplary and should not be read to limit DISH’s
assertions against Kidoodle, or any other streaming services offered by A Parent Media Co. Inc. or Kidoodle as to the services or
products described below. The chart should not be read to limit DISH’s assertions to the patent claim charted below. Nor should the
chart below be read to limit how Kidoodle infringes the claim below.
  Claim Element                                              Example Infringement Evidence
 [1.pre] An           Kidoodle includes information and Applications that include apparatus for rendering a video that is adaptively
 apparatus for        received as a digital stream from a video server over a network. Kidoodle is executable by devices that obtain
 rendering a video    streams of a selected video program for playback. The streams include live streams that are obtained from one or
 that is adaptively   more servers affiliated with Kidoodle over a network.
 received as a
                      The images in this chart are from a device accessing the Kidoodle.tv website through a web browser, such as
 digital stream
                      Microsoft Edge, Google Chrome, or iOS Safari. Kidoodle.tv supports all major web browsers. See
 from a video
                      https://about.kidoodle.tv/ (“We’re available across all available platforms.”).
 server over a
 network, the
 apparatus
 comprising;




                      https://about.kidoodle.tv/ (“We’re available across all available platforms.”)




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                                         U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                          Example Infringement Evidence
                Kidoodle also includes applications for all platforms, including Apple App Store for iOS devices, Google Play
                for Android devices, Roku, and Amazon Fire TV, which also access the Kidoodle.tv website to stream video
                content. See https://about.kidoodle.tv/watch-now/




                https://about.kidoodle.tv/watch-now/
                 Upon information and belief, the aforementioned device that accesses Kidoodle.tv through a website, and the
                applications that access Kidoodle.tv (collectively, “End User Device”) operate in the same or substantially the
                same way for purposes of this chart.




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                                         U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                          Example Infringement Evidence
                The one or more servers accessible by Kidoodle store video files which are streamed to the end user stations.
                The following are examples of the videos that may be streamed from the one or more servers to the End User
                Device(s). See https://kidoodle.tv/.




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                       U.S. Patent No. 10,757,156 to Kidoodle




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                                             U.S. Patent No. 10,757,156 to Kidoodle


 Claim Element                                             Example Infringement Evidence
                    https://kidoodle.tv/.
                    Tests were conducted on videos offered over the Kidoodle.TV site accessed on a personal computer (e.g., End
                    User Device). As part of the testing, the End User Device was connected to the internet through the Charles
                    Proxy application, which enabled the abilities to proxy the device’s network traffic, to view the device’s network
                    traffic, and to throttle the network’s available bandwidth. Thus, the test simulated how Kidoodle responded to
                    lower and higher bandwidths. For the current test, a video titled “Dude Perfect” was selected. When the user
                    selects a video from the available videos, the media player embedded in the Kidoodle.TV site displays more
                    details regarding the video and provides the user with the option to view the video.
                    Selecting the icon corresponding to a video causes that video and other materials to be streamed and displayed
                    on the user’s device.
                    With respect to adaptively receiving the digital stream from the video server over the network, the media player
                    embedded in the Kidoodle.TV site accesses adaptive bitrate streams are provided to the media player from a
                    server affiliated with Kidoodle over a network using the HTTP Live Streaming (“HLS”) adaptive bitrate
                    streaming protocol. HLS is “a protocol for transferring unbounded streams of multimedia data.” Request For
                    Comments: 8216 – HTTP Live Streaming, August 2017 (“RFC 8216”) at 1. Using HLS, “a client can receive a
                    continuous stream of media from a server for concurrent presentation.” RFC 8216 at 4. HLS “allows a receiver
                    to adapt the bitrate of the media to the current network conditions in order to maintain uninterrupted playback at
                    the best possible quality.” RFC 8216 at 4. With HLS, “[c]lients should switch between different Variant Streams
                    to adapt to network conditions.” RFC 8216 at 5.


[1.1] a media       The End User Device accessing Kidoodle.TV includes a media player operating on the apparatus, wherein the
player operating    media player is configured to stream the video from the video server via at least one transmission control
on the apparatus,   protocol (TCP) connection over the network. HLS uses HTTP, which operates via TCP connections over the
wherein the         network.
media player is
                    As explained above, tests were conducted on videos offered over the Kidoodle.TV site accessed on a personal
configured to
                    computer (e.g., End User Device). As part of the testing, the End User Device was connected to the internet
stream the video

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                                               U.S. Patent No. 10,757,156 to Kidoodle


 Claim Element                                               Example Infringement Evidence
from the video        through the Charles Proxy application, which enabled the abilities to proxy the device’s network traffic, to view
server via at least   the device’s network traffic, and to throttle the network’s available bandwidth. Thus, the test simulated how
one transmission      Kidoodle responded to lower and higher bandwidths. For the current test, a video titled “Dude Perfect” was
control protocol      selected. When the user selects a video from the available videos, the media player embedded in the
(TCP) connection      Kidoodle.TV site displays more details regarding the video and provides the user with the option to view the
over the network,     video.
                      Selecting the icon corresponding to a video causes that video and other materials to be streamed and displayed
                      on the user’s device.
                      With respect to adaptively receiving the digital stream from the video server over the network, the media player
                      embedded in the Kidoodle.TV site accesses adaptive bitrate streams are provided to the media player from a
                      server affiliated with Kidoodle over a network using the HTTP Live Streaming (“HLS”) adaptive bitrate
                      streaming protocol. HLS is “a protocol for transferring unbounded streams of multimedia data.” Request For
                      Comments: 8216 – HTTP Live Streaming, August 2017 (“RFC 8216”) at 1. Using HLS, “a client can receive a
                      continuous stream of media from a server for concurrent presentation.” RFC 8216 at 4. HLS “allows a receiver
                      to adapt the bitrate of the media to the current network conditions in order to maintain uninterrupted playback at
                      the best possible quality.” RFC 8216 at 4. With HLS, “[c]lients should switch between different Variant Streams
                      to adapt to network conditions.” RFC 8216 at 5.


                      Through the established network connection, the devices streaming Kidoodle access video programs that are
                      stored on one or more servers for display on the devices via the video player accessing the Kidoodle.TV site. See




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                                         U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                          Example Infringement Evidence
                also




                See https://about.kidoodle.tv/ (“We’re available across all available platforms.”)
                The one or more servers accessible by Kidoodle store video files which are streamed to the end user stations.
                The following are examples of the videos that may be streamed from the one or more servers to the End User
                Device(s). See https://kidoodle.tv/.




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                       U.S. Patent No. 10,757,156 to Kidoodle




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                                                U.S. Patent No. 10,757,156 to Kidoodle


 Claim Element                                                Example Infringement Evidence
                      https://kidoodle.tv/.


[1.2] wherein the     The video server stores multiple different copies of the video encoded at different bit rates as multiple sets of
video server          streamlets, wherein each of the streamlets yields a different portion of the video on playback, wherein the
stores multiple       streamlets across the different copies yield the same portions of the video on playback.
different copies
                      For example, in the instant test of a video titled “Dude Perfect,” the end user station: established a network
of the video
                      connection, connected with the one or more servers, and the End User Device made an HTTP GET request to
encoded at
                      prod.kidoodle.tv for a master manifest located at the following path:
different bit rates
                      https://prod.kidoodle.tv/api/2.0/content/elemental-source/web/2545/94152/670158/watch/manifest.m3u8
as multiple sets of
                      (hereafter referred to as the “Master Manifest” or “manifest.m3u8”). The Master Manifest returned the
streamlets,
                      following contents, reflecting the Uniform Resource Indicators (“URIs”) of the various variant playlists hosting
wherein each of
                      at least a group of streamlets:
the streamlets
yields a different     #EXTM3U
portion of the
video on               #EXT-X-VERSION:3
playback,              #EXT-X-STREAM-
wherein the            INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
streamlets across
the different          8.m3u8
copies yield the       #EXT-X-STREAM-
same portions of       INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
the video on
playback, and          7.m3u8
                       #EXT-X-STREAM-
                       INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                       6.m3u8


                                                                    9
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    Claim Element                                           Example Infringement Evidence
                      #EXT-X-STREAM-
                      INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
                      5.m3u8
                      File path: manifest.m3u8
                     The master playlist shows four versions of the video stream at the following bandwidths:
                            300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                            1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                            500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                            800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                     For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                     selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                     associated with the stream file path. For example:


                      Bandwidth           Token1
                      300000              8.m3u8?...
                      Bandwidth
                      1800000             7.m3u8?...
                      Bandwidth




1
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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     Claim Element                                             Example Infringement Evidence
                         500000             6.m3u8?...
                         Bandwidth
                         800000             5.m3u8?...
                         Bandwidth


                        Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                        For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                        Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                        considered a high-quality stream.
                        The End User Device also uses HTTPS GET requests to retrieve the segments, or streamlets, of the encoded
                        video specified in the file above.
                        The Media Playlist for each of the Variant Streams identifies a group of streamlets associated with each of the
                        different copies, as the exemplary Media Playlist shown below illustrates. See RFC 8216 at 38 (“The server
                        must create a Media Playlist file (Section 4) that contains a URI for each Media Segment that the server wishes
                        to make available, in the order in which they are to be played.”); see also RFC 8216 at 4 (“A multimedia
                        presentation is specified by a Uniform Resource Identifier (URI) [RFC3986] to a Playlist.”); RFC 8216 at 4 (“A
                        Media Playlist contains a series of Media Segments that make up the overall presentation. A Media Segment is
                        specified by a URI and optionally a byte range.”).
                        As shown by the Charles Proxy application file, partially reproduced below, the streamlet video files are hosted
                        on a server accessible via https://vcdm-cf.kidoodle.tv/. The server accesses the stored streamlet files for
                        playback on an end user device.
                         Method     Host                      Path2                     …         Status


2
    Video path abbreviated for readability throughout.


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                                         U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                          Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4     …         Complete
                                                       _WorldsStrongestDude
                                                       0.ts?...
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4     …         Complete
                                                       _WorldsStrongestDude
                                                       1.ts?...
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4     …         Complete
                                                       _WorldsStrongestDude
                                                       2.ts?...
                 GET        vcdm-cf.kidoodle.tv        361/670158/7/hls/S0E4     …         Complete
                                                       _WorldsStrongestDude
                                                       3.ts?...


                On information and belief, other videos uploaded to Kidoodle similarly perform the demonstrated claim
                limitations.
                As shown in the test data, the End User Device accessing Kidoodle.TV selects the 1800000 Bandwidth version
                of the stream and makes a request for the corresponding playlist. The server(s) returns the playlist file with the
                following contents:
                       #EXTM3U
                       #EXT-X-VERSION:3
                       #EXT-X-TARGETDURATION:11
                       #EXT-X-MEDIA-SEQUENCE:0
                       #EXTINF:10.750000,


                                                             12
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                                    U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                    Example Infringement Evidence
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude0.ts?Expires=1692058230&Signat
                     ure=X-j9VAHmYvweCM-
                     dblOesIErSUUPPye19SnCx9oSQaIPIQ9PYd9fEqw70kunQdE0c9VdJUJT05ewHTOHxwr0fXs
                     g1UCjh2MBBBXuSguMBNLDplNuJxeg9ZzZpeEfPNC~k-
                     GWyC79vUAs1SasIIG1VfVy89Kb7cBiHt17-
                     baaBU01zty90WpmmejGY~vYOoen7gdJ9v7M~z0lVVREBiyygE7A0vGww6pEpEMztwSZZ4
                     ZoBkCdhZmLe3vjUm5MMr8nrU8n~ljj6fEYV3GeQiNlSEAApGW1qa5cNtQOhfX2ClzKrGHx
                     paXUKqEheDRGyCs2u3bOEHjqRm2o1-ynSK5rFw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.250000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude1.ts?Expires=1692058230&Signat
                     ure=CDpwAf98XhRNKYFrCcv-
                     ofhY3VrgZ6T7M~dt8AXR4VRuOrMTiwDrlCQfZ01vbPEmfi~L0OK6K9Y6rlItw3hSboVNYc-
                     Bs8Kxtaqz~kiDoN3TvSHmiaPcpjGO03IQ5nLbwn-
                     gcptixhXoqmhAYSfFJ8q1NrOHvq5WzlOKvx8v10snMl1mxS0fC5VRDXEYbkCvLSqe8OBa8
                     kev2TqT8dZw7uFepqygtWzr5C0u-
                     6nWGZHqw4vC0d~N50BQSxQ5bjMz28sAs1vw2KmnoYx4exlNb1EE6M6nUPCA3C9dc5tei7
                     fB4UUZDjALiy3x7tOF3Zd2KJg6yxsNQC3ER8sD8g98SQ__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.083333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=1692058230&Signat
                     ure=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                     Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGKUkDDfL7nBd
                     gfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                     0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                     3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-


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Claim Element                                    Example Infringement Evidence
                     NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                     CYxuCpPt9d50a8kEBRDNl3Tt-WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=1692058230&Signat
                     ure=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYHXS2lrrpkid5FBs5f~c3CtijVa
                     HEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                     ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25DxDRs3Pb1hLf
                     DUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                     eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                     ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80LzLrDZuk~tezw
                     __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.416667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=1692058230&Signat
                     ure=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                     IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                     zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                     y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-IHBaxLCvWoKA9Giwd1F-
                     Xcd7C9pLd800urg-20HZuei-
                     2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1sXw8yILs-
                     Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=1692058230&Signat
                     ure=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                     ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53RunAwQ~p3j4P6


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                                    U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                    Example Infringement Evidence
                     3FEfL-ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                     eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4ahEG-
                     et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZpKD6UQPz8JI4
                     OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=1692058230&Signat
                     ure=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRwWgpnq8loZdNXxJusEz1BjFd
                     SviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0
                     wbL~iNVzRc2OWelQdLrCplH9mJAnzYUbb-
                     p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R0RNnvRIBG1
                     b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75YdM91BCDnFgTaB2DGh
                     w9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=1692058230&Signat
                     ure=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oPERBiu3cpkU1bmx18V7z1k
                     BeG7n-P9XrAsdZrTSeBc5Z-OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                     GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                     kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiHhdLg4riLBkF
                     xOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4s0AgtlqDkqHnu~HRUoAO
                     GTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.750000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=1692058230&Signat
                     ure=BA-
                     QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8IS2H2uktgoA


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Claim Element                                    Example Infringement Evidence
                     vqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                     bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                     ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT1CCM4eWrFn
                     IrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-
                     y4JfUClu3a2s-gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=1692058230&Signat
                     ure=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                     P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9uG1gv6uaDU
                     F-NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPfN~kJVa94-
                     XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDACytArwL9~CtJ
                     qifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-
                     rtvvpM2YO35x3QnHMYJlpNjIg-vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.666667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692058230&Signa
                     ture=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                     DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                     ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                     sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4WyWQN5SB
                     0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIVBR5qqb2UlZTE9zXwNFW
                     4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692058230&Signa


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Claim Element                                    Example Infringement Evidence
                     ture=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J39C0TOfHfhkuWX3GNV~B
                     7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk
                     6YyHaHA~YwMvSqF0FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                     ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                     G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                     38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-B3UWdy9CAhNg__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.500000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692058230&Signa
                     ture=AcGGiMOj6opQRc-iQhv-
                     t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk2w0HmAaV5
                     pV1n11kWK-NV93ZRSPKyTc-
                     9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                     ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtwVnc-B-
                     rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                     naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.916667,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692058230&Signa
                     ture=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39QN0fozRAJiDpxwfbGRLiCs
                     cRoibOsDnp8g45-N1Dv-
                     l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W~EUgXwn45U
                     nLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CWxRJaJXKIU7fPKI0rm2WKO
                     etZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                     ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA



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Claim Element                                    Example Infringement Evidence
                     #EXTINF:10.333333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692058230&Signa
                     ture=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yKA45ce57fGCLQkOTs9rLwvG
                     KYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYNWXti2HX96KWLRLluN9-
                     xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~FmcQCx17kws4l
                     Jq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VDvolOXbtWeRISpeUtqRcyPv
                     lEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibmBRqlyB-
                     y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:9.458333,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude15.ts?Expires=1692058230&Signa
                     ture=EmKhQ97V1kC2nux03LOh0AsSs8x3T5uYyPU7uQwFWokFiT5Z1lXPDOYuvT4gX8H2
                     9x5ZwaGw9fzRPXaevWiB-ZyaBTwKdD5sNiXzC85OSWOECID-
                     V1OWE4FK0zsvdbK5AhvJ3UvtNzufrrcBM9deA1B0PD8NLxZ9at3GlebQlcoyuvMPmcogOD
                     7uPWbGcRUMw~kfl6JvTlQDcqbh7Azckr8Pj85rDKpY7ffr3dNqHK45HTx4Hq8P6BJ5HsI7--
                     xXzimlgev1OuXSYnXwUib-ejbAqhnf-
                     VcwgEuwFi2u9imp45LbHP~4ChIHJ2y5zkOvk6Vd6Rhlwe5QE~-91Ya7OA__&Key-Pair-
                     Id=APKAIPJESLAK2PMGD4PA
                     #EXTINF:10.125000,
                     https://vcdm-
                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude16.ts?Expires=1692058230&Signa
                     ture=D9tydyyfLvc63w423qjALtY-u7peL5T09eMLvlf3qIhCt-
                     z8xRmbnXtpHEtXxwqI~tQqCssOLXwaC-EY-
                     2o2wPfVMWWMVFw1vyi~T~DBrixO4J9gdgCnN7XiGrI8Ebe--Pchv5-H7e-
                     ReOIuUWsSOryzM6xfIOlM1KN-
                     dlXCqfCpIXnyOZOwsnVFAgxZcekcLrarB8e8SpE1wobXIogjk2DGMr3GmYymTXsGFiODw
                     XBTMuhWRcV1TARZLMK69oozNgv6-Te97KflduUeZVt6zapVj-

                                                     18
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                                        U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                         Example Infringement Evidence
                       6Q8ZK7x7J9EFxmFwPXe7~SFFUQTxFMNJcu0esokmKOAR2tCxznBheaUR1Gag__&Key-
                       Pair-Id=APKAIPJESLAK2PMGD4PA
                       #EXT-X-CUE-OUT: 0
                       #EXT-X-CUE-IN
                       #EXTINF:8.375000,
                       https://vcdm-
                       cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude17.ts?Expires=1692058230&Signa
                       ture=G0-13akiy1zABYLlQcnx7Om3pfZaPh~26uL9-
                       jwDy9bwyV6KOSVTJ9uknM13xLq12pki6n6V0cWIDrQvpsvz2Tl8~ewAUkjzwesP-
                       1XnJuY9tolEBNTaipdcKKeCNLw8LB9El~9einSOyMxcXmzX7ieVVlu-A~wi2GwbcMUb-
                       w8OlvYZjVa9yTxzoz2TUjkHqFmJQ6NJ4rrnmzIsAyFu75W71LOHC-J1vs0dbN-
                       S581jzsrg6WtUI9CbxM59TmAdLLJfnKS7XAgU5a0u~0ZbPF5Ne4z3xFWkif4joJCRc8E991A
                       Rl8BUoyFCth3z8vJDd-uDp5M-br~nKEfRI5ZvBg__&Key-Pair-
                       Id=APKAIPJESLAK2PMGD4PA
                       #EXT-X-ENDLIST


                The variant playlist file is an HLS playlist. Each line in the file path
                “361/670158/7/hls/S0E4_WorldsStrongestDude17.ts...” that begins with “#EXTINF” specifies the length of the
                segments in seconds. The line below the #EXTINF file is the location of the video file. In the variant playlist
                shown above, the segments of the video are separated by commercial segments. Each of the streamlets (except
                the first and final streamlets of each playlist) is approximately 8-10 seconds long and returns sequential
                segments of the video program and/or commercial.
                As long as the viewer continues watching the video and the bandwidth is adequate to support the chosen
                resolution, the end user device will continue to request (and Kidoodle.TV will provide) streamlets corresponding
                to the current, chosen resolution.



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Claim Element                                         Example Infringement Evidence
                On information and belief, the other bandwidth versions of the test video contain the same number of streamlet
                files.


                Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                considered a high-quality stream.
                As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                arranged in ascending chronological order, beginning with the first segment of the video program and
                progressing until the final segment of the video program.
                 Bandwidth                      Streamlet (segment)
                 500000 Bandwidth               #EXTM3U
                                                #EXT-X-VERSION:3
                                                #EXT-X-TARGETDURATION:11
                                                #EXT-X-MEDIA-SEQUENCE:0



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Claim Element                                 Example Infringement Evidence
                                         …
                                         #EXTINF:10.083333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                         2058315&Signature=fvGyZzCNd-crO6-
                                         JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                         ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                         SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                         fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                         -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                         8Zf6oIUQQca-
                                         5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                         _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                         QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                         KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                         yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                         AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                         t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                         Sst-
                                         smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                         Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,


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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                         zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                         qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                         wMBsQXOJRCpWmU-vG6QW-
                                         OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                         Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                         oEXkJRDttTXHtU5IKsfY-
                                         gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                         Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                         oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                         wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                         Ll4ZQKe13SeDvD0M~woH-
                                         vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                         YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                         Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                         sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-


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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                         CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                         ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                         01-
                                         Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                         LQ9oQeeUI3NiT97-
                                         uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                         Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                         PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                         -
                                         4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                         UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                         Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                         1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                         xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058315&Signature=BXa7FwbB-
                                         XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                         hQprIM2EVLbLulCYs7d-
                                         NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X


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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                         zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                         04UoStbeCRxrNpEYOudkkm79k-
                                         d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                         o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                         IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                         d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                         V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                         2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                         ZyVYSd2~kXj3CG-
                                         AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                         vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                         nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                         PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                         cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                         00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                         dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                         yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                         8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                         RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                         oGm-
                                         nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                         0EsdN7ZUOam4P-
                                         E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                         yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                         ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                         15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                         ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                         qVVkpgIZkF1HrUvTWvHcEXkVv--
                                         tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                         Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                         jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                         4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16

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                                    U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                           92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                           ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                           K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                           MXU8Ia-iZ8hL6vn4t-
                                           Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                           9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                           gtQgeix7e6gBfICuZQf-
                                           ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                           CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                           92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                           ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                           Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                           iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                           E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                           CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                           BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                           ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:9.666667,
                                           …
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3


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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         #EXT-X-TARGETDURATION:11
                                         #EXT-X-MEDIA-SEQUENCE:0
                                         …
                                         #EXTINF:10.083333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                         2058230&Signature=QCE8vv-
                                         PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                         Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                         GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                         0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                         3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                         NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                         CYxuCpPt9d50a8kEBRDNl3Tt-
                                         WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                         ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                         ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                         5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                         6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                         ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                         0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,


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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058230&Signature=eBd8Be4aj-
                                         PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                         IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                         Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                         y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                         IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                         2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                         x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058230&Signature=R83mjHLH07WWvwga8NT-
                                         JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                         ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                         RunAwQ~p3j4P63FEfL-
                                         ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                         eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                         hv4ahEG-
                                         et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                         ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                         KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc


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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                         LrCplH9mJAnzYUbb-
                                         p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                         4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                         Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                         6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                         2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                         OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                         GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                         kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                         uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                         wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                         __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058230&Signature=BA-
                                         QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                         K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                         KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                         ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                         eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                         U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-



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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                         P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                         Nv9uG1gv6uaDUF-
                                         NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                         MPfN~kJVa94-
                                         XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                         DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                         nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                         vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                         X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                         ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                         sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                         5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                         kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                         VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16


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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                         BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                         mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                         FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                         ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                         G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                         38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                         B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                         t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                         etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                         9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                         ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                         twVnc-B-rQwaARTzxnztYW8tW~n19-
                                         HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                         naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                         XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                         Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                         l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                         8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                         v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                         FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-


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                                         U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                           Example Infringement Evidence
                                                 ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                 Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                 92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                 b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                 6J9WYNWXti2HX96KWLRLluN9-
                                                 xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                 FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                 m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                 gqYwbibmBRqlyB-
                                                 y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                 Id=APKAIPJESLAK2PMGD4PA
                                                 …
                                                 #EXT-X-ENDLIST


                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.
                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST

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Claim Element                                          Example Infringement Evidence
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
                Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
                The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                make up the overall presentation.”).
                Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                present the same content” on playback. RFC 8216 at 43.




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                                               U.S. Patent No. 10,757,156 to Kidoodle


 Claim Element                                                Example Infringement Evidence
[1.3] wherein the     The streamlets in the different copies are aligned in time such that the streamlets that play back the same portion
streamlets in the     of the video for the different copies each begin at the same playback time in relation to the beginning of the
different copies      video.
are aligned in
                      Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
time such that the
                      provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
streamlets that
                      Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
play back the
                      4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
same portion of
                      segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
the video for the
                      continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
different copies
                      where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
each begin at the
                      at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
same playback
time in relation to   The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
the beginning of      each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
the video, and        the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                      allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                      present the same content” on playback. RFC 8216 at 43.


                      In the instant test, a personal computer accessing the Kidoodle.TV site through a web browser makes a HTTPS
                      GET request to prod.kidoodle.tv for the Master Manifest. As shown in the excerpts of the Master Manifest
                      below, the video available is encoded at 4 different bitrates.
                       #EXTM3U
                       #EXT-X-VERSION:3
                       #EXT-X-STREAM-
                       INF:BANDWIDTH=300000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"



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                                         U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                          Example Infringement Evidence
                 8.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=1800000,RESOLUTION=1280x720,CODECS="avc1.640029,mp4a.40.2"
                 7.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=500000,RESOLUTION=480x270,CODECS="avc1.42C01F,mp4a.40.2"
                 6.m3u8
                 #EXT-X-STREAM-
                 INF:BANDWIDTH=800000,RESOLUTION=720x406,CODECS="avc1.4d4028,mp4a.40.2"
                 5.m3u8
                File path: manifest.m3u8
                The master playlist shows four versions of the video stream at the following bandwidths:
                      300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                      1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                      500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                      800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                associated with the stream file path. For example:




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    Claim Element                                           Example Infringement Evidence
                      Bandwidth           Token3
                      300000              8.m3u8?...
                      Bandwidth
                      1800000             7.m3u8?...
                      Bandwidth
                      500000              6.m3u8?...
                      Bandwidth
                      800000              5.m3u8?...
                      Bandwidth


                     Each of the bandwidth streams includes segments that encode the same portion of the video at various qualities.
                     For example, the 300000 Bandwidth version can be considered a low-quality stream, the 500000 or 800000
                     Bandwidth version can be considered a medium-quality stream, and the 1800000 Bandwidth version can be
                     considered a high-quality stream.
                     As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                     or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                     arranged in ascending chronological order, beginning with the first segment of the video program and
                     progressing until the final segment of the video program.
                      Bandwidth                        Streamlet (segment)
                      500000 Bandwidth                 #EXTM3U


3
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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Claim Element                                 Example Infringement Evidence
                                         #EXT-X-VERSION:3
                                         #EXT-X-TARGETDURATION:11
                                         #EXT-X-MEDIA-SEQUENCE:0
                                         …
                                         #EXTINF:10.083333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                         2058315&Signature=fvGyZzCNd-crO6-
                                         JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                         ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                         SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                         fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                         -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                         8Zf6oIUQQca-
                                         5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                         _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                         QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                         KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                         yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                         AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                         t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v


                                                   37
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 813 of 863 PageID #: 867

                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         Sst-
                                         smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                         Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                         zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                         qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                         wMBsQXOJRCpWmU-vG6QW-
                                         OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                         Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                         oEXkJRDttTXHtU5IKsfY-
                                         gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                         Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058315&Signature=CM-bcy4GkvIZLwyvQ-
                                         oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                         wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                         Ll4ZQKe13SeDvD0M~woH-
                                         vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                         YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                         Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                         sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA


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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 814 of 863 PageID #: 868

                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                         gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                         CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                         ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                         01-
                                         Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                         LQ9oQeeUI3NiT97-
                                         uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                         Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                         PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                         -
                                         4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                         UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                         Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                         1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                         xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169

                                                   39
           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 815 of 863 PageID #: 869

                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         2058315&Signature=BXa7FwbB-
                                         XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                         hQprIM2EVLbLulCYs7d-
                                         NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                         EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                         zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                         04UoStbeCRxrNpEYOudkkm79k-
                                         d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                         o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                         IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                         d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                         V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                         2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                         ZyVYSd2~kXj3CG-
                                         AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                         vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                         nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                         PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                         cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf


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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                         dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                         yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                         8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                         RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                         oGm-
                                         nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                         0EsdN7ZUOam4P-
                                         E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                         yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                         ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                         15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                         ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                         qVVkpgIZkF1HrUvTWvHcEXkVv--
                                         tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                         Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                         jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                         4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA


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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 817 of 863 PageID #: 871

                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                         ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                         K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                         MXU8Ia-iZ8hL6vn4t-
                                         Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                         9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                         gtQgeix7e6gBfICuZQf-
                                         ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                         CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                         92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to
                                         ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                         Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                         iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                         E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                         CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                         BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                         ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.666667,
                                         …



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                                    U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                   Example Infringement Evidence
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                           CYxuCpPt9d50a8kEBRDNl3Tt-
                                           WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                           Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:10.333333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                           2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                           ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                           ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                           5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ


                                                     43
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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                         ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                         0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058230&Signature=eBd8Be4aj-
                                         PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                         IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                         Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                         y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                         IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                         2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                         x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058230&Signature=R83mjHLH07WWvwga8NT-
                                         JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                         ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                         RunAwQ~p3j4P63FEfL-
                                         ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                         eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                         hv4ahEG-
                                         et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                         ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA



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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                         KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                         JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                         LrCplH9mJAnzYUbb-
                                         p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                         4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                         Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                         6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                         2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                         OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                         GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                         kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                         uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                         wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                         __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058230&Signature=BA-
                                         QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                         K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39

                                                   45
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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                         ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                         eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                         U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                         gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                         P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                         Nv9uG1gv6uaDUF-
                                         NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                         MPfN~kJVa94-
                                         XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                         DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                         nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                         vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                         X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                         ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                         sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                         5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                         kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                         VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA


                                                   46
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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                         BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                         mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                         FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                         ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                         G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                         38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                         B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                         t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                         etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                         9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                         ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                         twVnc-B-rQwaARTzxnztYW8tW~n19-
                                         HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                         naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                         XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                         Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                         l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT

                                                   47
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                                         U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                           Example Infringement Evidence
                                                 8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                                 v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                                 FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                                 ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                                 Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                                 92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                                 b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                                 6J9WYNWXti2HX96KWLRLluN9-
                                                 xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                                 FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                                 m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                                 gqYwbibmBRqlyB-
                                                 y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                                 Id=APKAIPJESLAK2PMGD4PA
                                                 …
                                                 #EXT-X-ENDLIST


                On information and belief, playlists for the other resolution variants also include these segments, or streamlets,
                also arranged in ascending chronological order and corresponding to the same portion of the video provided
                from the Kidoodle server(s). Also, on information and belief, other videos streamed using the End User Device
                and the video player accessing Kidoodle.TV (such as live videos) provide the same limitations.
                Each of the low-quality stream, medium-quality stream, and high-quality stream comprise a group of streamlets
                that are encoded at the same respective one of the different bitrates. As set forth above, each of the Variant
                Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of the Variant Streams

                                                             48
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                                         U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                          Example Infringement Evidence
                are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to allow “clients to
                switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same
                content” on playback. RFC 8216 at 43. And HLS provides that “[m]atching content in Variant Streams MUST
                have matching timestamps” to allow the video player accessing Kidoodle.TV to synchronize the media. Id.
                Further, “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
                Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
                Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
                MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
                The video server stores the video wherein “each of the low quality stream, the medium quality stream, and the
                high quality stream comprising a group of streamlets.” The HLS protocol indicates that “[a] Media Playlist
                contains a list of Media Segments, which, when played sequentially, will play the multimedia presentation.”
                RFC 8216 at 4; see also RFC 8216 at 5 (“To play this Playlist, the client first downloads it and then downloads
                and plays each Media Segment declared within it. The client reloads the Playlist as described in this document to
                discover any added segments.”); RFC 8216 at 4 (“A Media Playlist contains a series of Media Segments that
                make up the overall presentation.”).
                Each of the Media Segments in HLS yields a different portion of the video on playback. For example, HLS
                provides that “[e]ach segment in a Media Playlist has a unique integer Media Sequence Number. The Media
                Sequence Number of the first segment in the Media Playlist is either 0 or declared in the Playlist (Section
                4.3.3.2). The Media Sequence Number of every other segment is equal to the Media Sequence Number of the
                segment that precedes it plus one.” RFC 8216 at 6. As such, “[e]ach Media Segment MUST carry the
                continuation of the encoded bitstream from the end of the segment with the previous Media Sequence Number,
                where values in a series such as timestamps and Continuity Counters MUST continue uninterrupted.” RFC 8216
                at 6. Thus, each of the streamlets in a set must yield a different portion of the video on playback.
                The streamlets across the different copies yield the same portions of the video on playback. As set forth above,
                each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                allow “clients to switch between” Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST
                present the same content” on playback. RFC 8216 at 43.

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                                              U.S. Patent No. 10,757,156 to Kidoodle


 Claim Element                                               Example Infringement Evidence


[1.4] wherein the    The streaming includes requesting by the media player sequential streamlets of one of the copies from the video
media player         server according to the playback times of the streamlets by transmitting hypertext transport protocol (HTTP)
streams the video    GET requests that identify the selected streamlets stored by the video server.
by:
requesting
                     The variant playlists file are HLS playlists. Each line in the file that begins with “#EXTINF” specifies the length
sequential
                     of the segments in seconds. The line below the #EXTINF file is the location of the video file. In the present test,
streamlets of one
                     the End User Device accessing Kidoodle.TV requests and retrieves the segments of the encoded stream specified
of the copies from
                     in the file above. The video files are hosted at vcdm-cf.kidoodle.tv, and each streamlet (except the first and final
the video server
                     streamlets) is approximately 8-10 seconds long.
according to the
playback times of    The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
the streamlets by    cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
transmitting         cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-
hypertext            cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
transport protocol   cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
(HTTP) GET           cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
requests that        bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
identify the         segmented moments in the video.
selected
streamlets stored       Bandwidth Version                         File line (#EXTINF: length) (portion of live stream)
by the video          500000 Bandwidth            #EXTM3U
server,
                                                  #EXT-X-VERSION:3
                                                  #EXT-X-TARGETDURATION:11
                                                  #EXT-X-MEDIA-SEQUENCE:0



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Claim Element                                 Example Infringement Evidence
                                     …
                                     #EXTINF:10.083333,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                     58315&Signature=fvGyZzCNd-crO6-
                                     JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-ERIBXKGkK~-
                                     uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                     SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMvfBl
                                     YgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb-
                                     4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                     8Zf6oIUQQca-
                                     5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg__&
                                     Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:10.333333,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                     58315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigUQOQg
                                     L~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                     KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                     yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLYAeE
                                     62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                     t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~vSst-
                                     smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-Pair-
                                     Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:10.416667,



                                                   51
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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                     58315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                     zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42qpY
                                     mam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~LwMBsQ
                                     XOJRCpWmU-vG6QW-
                                     OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                     Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYWoEX
                                     kJRDttTXHtU5IKsfY-
                                     gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2Bj9g
                                     __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:10.125000,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                     58315&Signature=CM-bcy4GkvIZLwyvQ-
                                     oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2ww
                                     J4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                     Ll4ZQKe13SeDvD0M~woH-
                                     vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9PY
                                     WZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4Kt6rU
                                     4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lLsWZ3I8tv
                                     jSixRbfhbDdDppd9ufg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:9.916667,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                     58315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                     gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwLCE


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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                     WqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                     ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA01-
                                     Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeBLQ
                                     9oQeeUI3NiT97-
                                     uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAVQ_
                                     _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:9.500000,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                     58315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAEPSZD
                                     a9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp-
                                     4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-
                                     UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaBBa~
                                     4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-1G6e6EUQFJQhQAsbdTNR-
                                     anlsScKypM~dskGmB-AAsYvGbGNB-MAu-xPMTZ8fS-
                                     EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                     Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:9.750000,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                     58315&Signature=BXa7FwbB-
                                     XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9HhQp
                                     rIM2EVLbLulCYs7d-
                                     NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33XEVC
                                     ubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3zvOOO
                                     m6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn604UoStbeC
                                     RxrNpEYOudkkm79k-


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Claim Element                                 Example Infringement Evidence
                                     d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                     o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:10.125000,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                     58315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                     IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsad7
                                     BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                     V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp2vf
                                     5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrcZyVY
                                     Sd2~kXj3CG-AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-
                                     T~DkokBOYJd8c-vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:10.666667,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                     058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39nk9it
                                     xzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DVPqjXH1d
                                     cm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                     cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf00w
                                     m8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35dQoPsu
                                     4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJyml8sALw
                                     __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:9.916667,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                     058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM8Rhb


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Claim Element                                 Example Infringement Evidence
                                     F9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                     RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvcoG
                                     m-nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                     0EsdN7ZUOam4P-
                                     E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7igyLj
                                     hGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaGZkvaB
                                     ObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:9.500000,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                     058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH15~o
                                     QepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqCky3EV~g
                                     yOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-qVVkpgIZkF1HrUvTWvHcEXkVv--
                                     tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5EfbGv
                                     ~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                     jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                     4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                     Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:9.916667,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                     058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                     ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28K9
                                     4BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAxMXU8
                                     Ia-iZ8hL6vn4t-
                                     Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                     9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVCgt


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Claim Element                                   Example Infringement Evidence
                                       Qgeix7e6gBfICuZQf-
                                       ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3sCeV
                                       vdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:10.333333,
                                       https://vcdm-
                                       cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                       058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6toED9s
                                       TTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                       Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2iI~i
                                       jh7cbzmcgb38F-mazr0uLY-Rp-
                                       E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqaCeE
                                       0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                       BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                       ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                       #EXTINF:9.666667,
                                       …
                                       #EXT-X-ENDLIST
                1800000 Bandwidth      #EXTM3U
                                       #EXT-X-VERSION:3
                                       #EXT-X-TARGETDURATION:11
                                       #EXT-X-MEDIA-SEQUENCE:0
                                       …
                                       #EXTINF:10.083333,


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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=16920
                                     58230&Signature=QCE8vv-PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                     Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmiGK
                                     UkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                     0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                     3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                     NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-
                                     CYxuCpPt9d50a8kEBRDNl3Tt-
                                     WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                     Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:10.333333,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=16920
                                     58230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ~hrYH
                                     XS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                     ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI25D
                                     xDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ6-
                                     eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                     ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h80Lz
                                     LrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:10.416667,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=16920
                                     58230&Signature=eBd8Be4aj-PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                     IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQkaZ-
                                     zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                     y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                     IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-


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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                     2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6x1s
                                     Xw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                     Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:10.125000,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=16920
                                     58230&Signature=R83mjHLH07WWvwga8NT-JrIvMAExf37xVY3QrJOmHN-
                                     fBuAJohvGwaz-
                                     ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53Ru
                                     nAwQ~p3j4P63FEfL-
                                     ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                     eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5hv4
                                     ahEG-
                                     et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qqZp
                                     KD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                     Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:9.916667,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=16920
                                     58230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXzKtRw
                                     Wgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEcJMCREa
                                     985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQdLrCplH9mJ
                                     AnzYUbb-
                                     p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I4R
                                     0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMHZmb75
                                     YdM91BCDnFgTaB2DGhw9yWFGGHX0-6rL8z6z6zhgGNrrBvgEqusc-
                                     3SHA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:9.500000,


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           Case 1:23-cv-01000-GBW Document 1-1 Filed 09/08/23 Page 834 of 863 PageID #: 888

                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=16920
                                     58230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS2~1oP
                                     ERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                     OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                     GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-
                                     kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJuiH
                                     hdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxlwSgK4
                                     s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA__&Key-
                                     Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:9.750000,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=16920
                                     58230&Signature=BA-
                                     QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7K8
                                     IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39KMl-
                                     bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                     ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETReT
                                     1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                     U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                     gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                     Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:10.125000,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=16920
                                     58230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                     P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKiNv9
                                     uG1gv6uaDUF-
                                     NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJytMPf


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Claim Element                                 Example Infringement Evidence
                                     N~kJVa94-
                                     XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrNDAC
                                     ytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                     nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                     vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:10.666667,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=1692
                                     058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9VX-
                                     DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                     ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                     sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H5p4
                                     WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyiekfXjIV
                                     BR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3VbbfxjwQ
                                     xD7AR93CPi6Km6Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:9.916667,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=1692
                                     058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hcBV3J3
                                     9C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99nmnwB9T2
                                     G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0FqgXFZTeKO
                                     3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                     ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                     G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                     38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                     B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:9.500000,



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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=1692
                                     058230&Signature=AcGGiMOj6opQRc-iQhv-
                                     t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphpetkk
                                     2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                     9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-
                                     ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQtw
                                     Vnc-B-rQwaARTzxnztYW8tW~n19-HT9k~VNZaFlADhf1g2tOVGO8s3FF-
                                     gRlRbR-
                                     naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6XA
                                     __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:9.916667,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=1692
                                     058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4EQb39
                                     QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                     l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT8W
                                     ~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwqv9CW
                                     xRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvDFWue41F
                                     mvaEMv8NErO3ANuCG1aLIkLJdb-
                                     ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&Key-
                                     Pair-Id=APKAIPJESLAK2PMGD4PA
                                     #EXTINF:10.333333,
                                     https://vcdm-
                                     cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=1692
                                     058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gYb0yK
                                     A45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH6J9WYN
                                     WXti2HX96KWLRLluN9-
                                     xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~Fm


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                                         U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                          Example Infringement Evidence
                                             cQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHpm9VD
                                             volOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8gqYwbibm
                                             BRqlyB-
                                             y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                             Id=APKAIPJESLAK2PMGD4PA
                                             …
                                             #EXT-X-ENDLIST


                On information and belief, the other bandwidth file playlists also comprise 17 streamlets, each corresponding to
                the same portion of video as is respective counterpart in the streamlet files shown above.
                The matching timestamps and Discontinuity Sequence Numbers for matching content across the Variant
                Streams are “in relation to the beginning of the video.” For example, HLS requires that “[e]ach Media Segment
                MUST carry the continuation of the encoded bitstream from the end of the segment with the previous Media
                Sequence Number, where values in a series such as timestamps and Continuity Counters MUST continue
                uninterrupted.” RFC 8216 at 6; see also RFC 8216 at 45 (“A client MUST NOT assume that segments with the
                same Media Sequence Number in different Variant Streams or Renditions have the same position in the
                presentation; Playlists MAY have independent Media Sequence Numbers. Instead, a client MUST use the
                relative position of each segment on the Playlist timeline and its Discontinuity Sequence Number to locate
                corresponding segments.”).
                Indeed, to adapt playback between different bitrate Variant Streams, the End User Device accessing
                Kidoodle.TV “can use the EXTINF durations and the constraints in Section 6.2.4 to determine the approximate
                location of corresponding media. Once media from the new Variant Stream has been loaded, the timestamps in
                the Media Segments can be used to synchronize the old and new timelines precisely.” RFC 8216 at 47.
                Each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
                the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
                streamlet encoding the same portion of the video in the high quality stream; allow “clients to switch between”

                                                            62
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Claim Element                                           Example Infringement Evidence
                Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same content” on
                playback. RFC 8216 at 43. Further, HLS provides that “[m]atching content in Variant Streams MUST have
                matching timestamps” to allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media
                Segment in a Media Playlist has an integer Discontinuity Sequence Number. The Discontinuity Sequence
                Number can be used in addition to the timestamps within the media to synchronize Media Segments across
                different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams MUST have matching
                Discontinuity Sequence Numbers.” RFC 8216 at 43.
                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                listing showing the same alongside the status of the requests.
                 Method     Host                        Path                               …     Status
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude8.ts?...



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Claim Element                                           Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv          …/8/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude9.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/6/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                         Dude14.ts?...


                The Kidoodle “[p]laylist files contain URIs, which clients will use to make network requests of arbitrary
                entities.” RFC 8216 at 55. When playback starts on the video player, “[t]he client,” which is the video player,
                “SHALL choose which Media Segment to play first from the Media Playlist.” RFC 8216 at 45; id. at 47 (“The
                first segment to load is generally the segment that the client has chosen to play first (see Section 6.3.3).”). Then,
                “[i]n order to play the presentation normally, the next Media Segment” the video player requests and “load[s]
                the one with the lowest Media Sequence Number that is greater than the Media Sequence Number of the last
                Media Segment loaded.” RFC 8216 at 47. That is, to playback normally, the video player must request a
                plurality of files with sequential Media Sequence Numbers/timestamps and the requests are made based on the
                Media Sequence Numbers/timestamps.
                As shown above, although the End User Device accessing Kidoodle.TV requests the 1800000 Bandwidth
                version of the program, it quickly switches to requesting the 300000 Bandwidth, then 500000 Bandwidth, then


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 Claim Element                                               Example Infringement Evidence
                      back to the 1800000 Bandwidth version when bandwidth is adjusted. Those requests, as shown above, are
                      “Completed,” meaning the streamlets were received from the one or more Kidoodle servers.
                      On information and belief, playlists for the other resolution variants also include these segments, which
                      correspond to the same portion of the video provided from the server(s).
[1.5] wherein the     The sequential streamlets are selected by the media player from the based upon successive determinations to
sequential            shift the playback quality to a higher or lower quality one of the different copies of the video.
streamlets are
                      Each of the Variant Streams “describes a different version of the same content.” RFC 8216 at 5. Thus, each of
selected by the
                      the Variant Streams are “encodings of the same presentation” at different bitrates. RFC 8216 at 42. Indeed, to
media player
                      streamlet encoding the same portion of the video in the high quality stream; allow “clients to switch between”
from the based
                      Variant Streams seamlessly, HLS requires that “[e]ach Variant Stream MUST present the same content” on
upon successive
                      playback. RFC 8216 at 43. Further, HLS provides that “[m]atching content in Variant Streams MUST have
determinations to
                      matching timestamps” to allow the media player accessing Kidoodle.TV to synchronize the media. RFC 8216 at
shift the playback
                      43. And “[e]ach Media Segment in a Media Playlist has an integer Discontinuity Sequence Number. The
quality to a higher
                      Discontinuity Sequence Number can be used in addition to the timestamps within the media to synchronize
or lower quality
                      Media Segments across different Renditions.” RFC 8216 at 39. Thus, “[m]atching content in Variant Streams
one of the
                      MUST have matching Discontinuity Sequence Numbers.” RFC 8216 at 43.
different copies
of the video;         As shown below, each of the 500000 Bandwidth and 1800000 Bandwidth version playlists contain segments,
                      or streamlets, that encode segments of the video program. The streamlet files within each version playlist are
                      arranged in ascending chronological order, beginning with the first segment of the video program and
                      progressing until the final segment of the video program. As noted above, the variant playlist file is an HLS
                      playlist. Each line in the file that begins with “#EXTINF” specifies the length of the segments in seconds. The
                      line below the #EXTINF file is the location of the video file. In the present test, the End User Device accessing
                      Kidoodle.TV uses HTTPS GET requests to request and retrieve the segments of the encoded stream specified in
                      the file above. The video files are hosted at vcdm-cf.kidoodle.tv.
                      The received playlists at each resolution includes video streamlets, such as: “https://vcdm-
                      cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude2.ts,” “https://vcdm-
                      cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude3.ts,” “https://vcdm-

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Claim Element                                          Example Infringement Evidence
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude4.ts,” “https://vcdm-
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude5.ts,” and “https://vcdm-
                cf.kidoodle.tv/.../[X]/hls/S0E4_WorldsStrongestDude6.ts,” where [X] corresponds to a unique identifier for each
                bandwidth version. Within each bandwidth playlist file, there are the 17 .ts files, each corresponding to the same
                segmented moments in the video.
                          Bandwidth                           File line (#EXTINF: length) (portion of live stream)
                 500000 Bandwidth                #EXTM3U
                                                 #EXT-X-VERSION:3
                                                 #EXT-X-TARGETDURATION:11
                                                 #EXT-X-MEDIA-SEQUENCE:0
                                                 …
                                                 #EXTINF:10.083333,
                                                 https://vcdm-
                                                 cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                                 2058315&Signature=fvGyZzCNd-crO6-
                                                 JwO5qr9ZOrWe4iBKqQtCIADy0p1QP6T5vlUseDqz6VJBW6C-
                                                 ERIBXKGkK~-uCNrFq64LsvX~X~EPT8I5qybYZUit-
                                                 SG~utXB2etV0DvNLAJ~X1eyddvt0ErrShkB5qX~6GGJ3KLB~aOR2g~aMv
                                                 fBlYgNcnqULnTdfMabkpB1msPcwUwTGx6cmWonwhKmxshG3mOtZi2wb
                                                 -4Q6GH9QMyfetdrYR0IMcE5nTRdFsIq0oI~VewJVwRekT1NP0o2sRbr-
                                                 8Zf6oIUQQca-
                                                 5MhhmK8jIrXB06nXuXIGJJ7GtNSh3MOvOKfZpa1sus4kIeApfH1pnrakhg_
                                                 _&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                                 #EXTINF:10.333333,


                                                            66
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Claim Element                                 Example Infringement Evidence
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058315&Signature=NBrVGRob7FBvDpUUWkhkt1xxKFHmBafs8I6DqigU
                                         QOQgL~h5Q~Yq0NMLGZw3P-M8gOhx4AtOilEJVvdklIwDJPt16Cyeqhr-
                                         KwvRI5XrHhc8Jn4RQXgyF4i0KVGB-
                                         yrpfdzCL5CCAADu7TNqaYXc3e3YUorJYCJBy7acHpcbBiJKqZ8ZaYRLY
                                         AeE62nLYWpA-XRLlAoj1CCfWJXa1qvMf5QA~UFgNLMY6uEcQKmaZ-
                                         t1VMcobjMmmtatdmy22MOpxjxsyNUjb2HRpfAL8c1SNHeq873KpiDOgl~v
                                         Sst-
                                         smdtL95EOW3XbcMCWwn6AOWccfm4OiaGmFRc29ltWn0bzw__&Key-
                                         Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058315&Signature=YXXHRRu4Adc2jc-XdGykv-
                                         zbom4wSDTMfKj11mU2Ayu9FrYIPq8zasLafTxbjAAFdPViFDb60a70gY42
                                         qpYmam~Zv7b9m3cpZciOee~oqhc~o7GKvkj3qHKknLA0Pqsb65sxVe03~L
                                         wMBsQXOJRCpWmU-vG6QW-
                                         OE0qu0cQmkAfUvGMVLvYp3WwWxI3gRbw6uZ0VF5mwPF0-
                                         Pzj8Y1~dK8V6zWYJ8qcAmPjKNx4Qxc2caczgxNRxz~debbCA7W9qAYW
                                         oEXkJRDttTXHtU5IKsfY-
                                         gRCPydn4wdxbr9EaiQ8rzz3JBaPoheqGUTDN6nZY8Z1yBGd9edmjRigGl2
                                         Bj9g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude5.ts?Expires=169
                                         2058315&Signature=CM-bcy4GkvIZLwyvQ-


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Claim Element                                 Example Infringement Evidence
                                         oxof1mPajleJMQluY97Tg9BZJwOM~WtZkXBZt8jQCZyLCiKyMzFkW8zJ2
                                         wwJ4tm06EN0LXJlbMoqqPv016a2e1ZZgseCqJfZoh16wOAZ-
                                         Ll4ZQKe13SeDvD0M~woH-
                                         vQKw42sb3nj5TdJorlFZvXc2~09o53WMabP6RbQKXAyRH7dgIcPALjaz9P
                                         YWZjexiH9CfkBxqDGxU60AUdaQWMuCg6BonPzi75uos6Db51gUdwhA4
                                         Kt6rU4R~Y~rSNwhzrVPGJaf420KJuMrZ4OwCm8JxawqgUzsktXHFXr12lL
                                         sWZ3I8tvjSixRbfhbDdDppd9ufg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058315&Signature=KgC2AQJlD6~I3PRWRBQ2MHSaWt9Bs-
                                         gRFxvlIqKa1DjYdx~KWx4if37CKHzpDTZHSDCT4WBkFrp0~50mxs7JJwL
                                         CEWqiB~2fHF9-eWQCvzflgAkiG3opGexRKsSa-rfiZck1~x9ur5T1c4N2xtgi-
                                         ~B6a0QMdTgDeBXqq1TjeNBvkF5hcZNIIhrJA~06LkhFyKfcJjA0VLeVdAA
                                         01-
                                         Kqf16sBrexjqtrZ3u3JTsgH0JAWm7q206Nsextsalg8bHATwdzzMVSelRhfeB
                                         LQ9oQeeUI3NiT97-
                                         uYm4qhz9OZ9EH8CPhQgiBD0k4aYl~kYNKF6GmGL~xYUE03EJYoGfAV
                                         Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058315&Signature=NUiSpRpB6A15jSSwNgDFu~AFYX3uEB9mddn7PAE
                                         PSZDa9hKSDL~qoXKBwX2Nve6xC696HQRZJQUg7Ymyu8wRa1JeVOwp
                                         -
                                         4g7Sbr2nMT4XujUHmdCWvmAr5yLTM74tK6elAm0~rmtqzFgkqhFj4Ihw1-


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Claim Element                                 Example Infringement Evidence
                                         UpCJPJCKz7yAsgLjTcy7yHXKLmxf9UHe9hKXGVPcstwgi~~QWoGDxaB
                                         Ba~4pMRQvcrsGzepoNXKL8EHzCl-8WW84Xudvf-
                                         1G6e6EUQFJQhQAsbdTNR-anlsScKypM~dskGmB-AAsYvGbGNB-MAu-
                                         xPMTZ8fS-EVRAQC8WgRmAbfLGAZO2jHO5udvay9CQHQ__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058315&Signature=BXa7FwbB-
                                         XvKzimvlQsEldShLD7Dm8FxgLdNJFW0jeOmgQp3JxgqMxyDM0~DTS9H
                                         hQprIM2EVLbLulCYs7d-
                                         NKHHx8TzryHNdR8InaQxrAYh8YcFyYAoXKCzlyWSpX~3ZXmsYH33X
                                         EVCubdae7tDLWyZn6X86xNQ3atXoYZnuoWgS1nq6m9yhD0XBhU8PeE3
                                         zvOOOm6LfT35q~P6wgbOneR9NFk8uVNP1ePbLCppMjCISg~MjiW2cGn6
                                         04UoStbeCRxrNpEYOudkkm79k-
                                         d7dqpYYjQyGIBXuoip7r~nEeeh38AX2b82XIPTTHL~B0g8HLjcSq-
                                         o2dQKyTvcEFrc2g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058315&Signature=NMtzBCclF1SeF9lDw3sIh3PwsEJPGn-
                                         IP7fz899CyR1gjwxlJZC7mewQiItN0u315rtZzKdsQn3fs1jf5arIcH5~fva5LPsa
                                         d7BNroUM8TUWIs92vyu3EtyoN71SC01~aSAhpx7hPFGtVzRxcK-FhO-
                                         V9UUEXSTMM2NQ11q9lOSuPewQ~NL~15SLz8bunor4vWiZi8mOgi~9fSp
                                         2vf5HTZ4j59UDF181IdPVlrS0XXS6wDeqdlRnpyOmHgqoFKq~jTTSJGwrc
                                         ZyVYSd2~kXj3CG-



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Claim Element                                 Example Infringement Evidence
                                         AuKqOtVCEx0UHFHJjJx~ZwPqFKhaeG7VLPYqQrtzo7-T~DkokBOYJd8c-
                                         vSn0Q__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058315&Signature=R2~vr3s6Owo5idp0hos3MTQXuecliPf~W39uuzVpq39
                                         nk9itxzFoqRuMFHFYOK~M37d18GcOmxDcHNnFeg~dK6PkFTpwX1~DV
                                         PqjXH1dcm6vs77JK-SvtFakhdyG61t-uxy1ee~Prnd4PsTr7Fl4R44CjT6Qn-
                                         cuKAeHbeR7siFuiht7i3o3NvobuaP3JwCFbg137yWhI60HzG8hm90TlNYssf
                                         00wm8ZG6nmI5uuPpdd6HvGKcDkWtkbdstu0iAUhovu39Qrpfj4jKvErcR35
                                         dQoPsu4e1JO1YHG6cM4aw7cdgKpikUEsoRXzywsZfFSFDNQtLIHObwbaJ
                                         yml8sALw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058315&Signature=O9jNkNgqE4UW1SqyVuuUCld1GtqcdpHTNbCQacM
                                         8RhbF9BSiM5ETvGlSfVMmUjlAIh3FskO4rarWGIH-
                                         RnWICAIQ3paEghAeuOoBV3qBN0siaaPWXmfn8W09yd3WkF1GzOixCvc
                                         oGm-
                                         nT4Wbh4ug5XnuJQiuBkNBQXEJdagpXGiGDyqbQJVbUcMZvgqX1v4-
                                         0EsdN7ZUOam4P-
                                         E7plk9mJuNj73aEtyZR2bWzaecBcfZDmeqFMjgQLC7CN1cVk1Aq3~yiR7ig
                                         yLjhGr6K4wMwQgegacnUXrxhXkmUiTgGYWplU25CPSygP9iRw4tkjqaG
                                         ZkvaBObkjdcUdlBpGGT4g__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,



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Claim Element                                 Example Infringement Evidence
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058315&Signature=A9A1RtqyMeazN9uYlzbiBplwHsH21SDwjqI9KuLSH
                                         15~oQepuLFyoWOBM9VywFH8c5dGGo6Q3kMzCK1z~5nkZIytuaBaRkqC
                                         ky3EV~gyOgk-ln4Tba-lWY28hQEtk-7zVu0Iy8uRq-
                                         qVVkpgIZkF1HrUvTWvHcEXkVv--
                                         tXYkroFNP6s1SuhfM1hqtAb70XbGuF4~T13u5GBxBDlsJKbjAaaIPfj~o5Efb
                                         Gv~JSoe9J9HYaRHCSW~j-1KxChpohXPk06AfiFcxSvBEq-V4-
                                         jxp8ui18AYUAGs7ZV44Jfp~6dIgOZg987-
                                         4JZQy7PUoJV5iYAxta82HRLZ6N1WaV-Rg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058315&Signature=AHXYRnATKUZyMuOhztT-QJAvTF2gb-
                                         ~46Y4MxHgGFhXF8sNTPGyK09cTsMxAXxUTPvJakQegxwER3sUSUV28
                                         K94BVA2YFE8c8dlilP5NQBbi1v6XHq5cTFYtjTBYBNII52NjHDxibXXAx
                                         MXU8Ia-iZ8hL6vn4t-
                                         Oq4PERCTuuwiUNA~x9OHXilNNDZ6gUYag0c3kvKAqgmRMPf-
                                         9T25wj0FmW31px87wtOFOP1REVaGfIwWUQjpxP3yXTEd4M2WZSfOVC
                                         gtQgeix7e6gBfICuZQf-
                                         ADQeLuCXxCPKV7hQp6zeR1BvZ9wSLLTLtIW9kMqIz7tOo8rQDjQ~P3s
                                         CeVvdQ__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/6/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                         92058315&Signature=VjOGW0qbN6VkaG2chJW2H1g5i5f4sXGxYuAUi6to


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Claim Element                                   Example Infringement Evidence
                                           ED9sTTa5K~gqhbjQyXXGESzI8XCYxJDcScZo6-
                                           Och1tDaleJPo0c~M4G3vpumPEP068KjWTdEu1wvOBRb6JYRxIDEc3Kqd2
                                           iI~ijh7cbzmcgb38F-mazr0uLY-Rp-
                                           E3sZB7VnGpyJfuq9vjXo9QJP8kupQa4eQq8Bi5w3PkENhekPdvZYXvjISqa
                                           CeE0zAMfp~uyAKTogyM9rBEBe-Dbe4Ina14b3uCs9M8iyyCJmZVgorHov-
                                           BPjPPAZ8FCSK9hbK~KSkvGhrFavqzy11kGFALjN4fcDF6OIknToR81t-
                                           ULSA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                           #EXTINF:9.666667,
                                           …
                                           #EXT-X-ENDLIST
                1800000 Bandwidth          #EXTM3U
                                           #EXT-X-VERSION:3
                                           #EXT-X-TARGETDURATION:11
                                           #EXT-X-MEDIA-SEQUENCE:0
                                           …
                                           #EXTINF:10.083333,
                                           https://vcdm-
                                           cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude2.ts?Expires=169
                                           2058230&Signature=QCE8vv-
                                           PpswKqtI24bKtD9R7PHhN6EN6ep~60PZrADkIVl-
                                           Z92w1uF88oJ7oOWkvXFKMQ6nldkFCWevTKXh2GXaM5xpxhb5YPmCmi
                                           GKUkDDfL7nBdgfIE-xAUfAVNdN2h6vxpLiMzX~LNyy~of8hGQW5Ndok-
                                           0JEt0VFz2lq6h6cjn01~abJhNOYQBsv-
                                           3vKKd8V~A1041mKPpE3dR8RoIqJAE0AT2dNfNb0r5Fz~EW-
                                           NRRg3FVs5pOLH9BszfYtbjnrQ2MSMgdqBwutmWFLmoDymXFyb6Mc-

                                                     72
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Claim Element                                 Example Infringement Evidence
                                         CYxuCpPt9d50a8kEBRDNl3Tt-
                                         WdDAN4nC11aFXBo65h9xYFPnLKCw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude3.ts?Expires=169
                                         2058230&Signature=aJLvPgoOClXLOtQqubn75s3xOFPoVq87REpmtA1NZ
                                         ~hrYHXS2lrrpkid5FBs5f~c3CtijVaHEnwXrSS4IRE0hHiU2tSZwupiy57B~-
                                         ZFHjjcjcFrId4ZRyGF8nQjdyQ9jHQPaYbqo5RV8slp58KcW8q6EXSfs0I~eI2
                                         5DxDRs3Pb1hLfDUDIorP0o97~oLCn1nRZUFVZD9kVCVxxOG8IEwxLjcJ
                                         6-eT7HBBuKxUJHhXe0tVgeM8O6pXE8fHMT0YXZhum8yWV4Bn57-
                                         ZMCopvlBshAiSzpHFqSFButeirrUXLW09VuzNX6P1lcK9CSOlduuqbA3h8
                                         0LzLrDZuk~tezw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.416667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude4.ts?Expires=169
                                         2058230&Signature=eBd8Be4aj-
                                         PXiM~Su8RHhMtkFyoLkmQdWAjR17uH6Io-
                                         IFLjZmqxDWKWod~9gbbai0hWOZCdn55ZxgWCQ3KSJUxW4~tjdsmxQka
                                         Z-zS2JYvUBg2XnKkGZNFBBe8dihPO61484O1ZZFeMLpNrPE1k8Ceel-
                                         y3ljr7d2EGTrElHsoLvzgIWQNvvHEtVCwCNb7p~1hbAtmc-
                                         IHBaxLCvWoKA9Giwd1F-Xcd7C9pLd800urg-20HZuei-
                                         2UOPFj1HF9wDzLxvcciRFARA2KWgLp32cxqFNKLyagEWUbekzfoRdH6
                                         x1sXw8yILs-Xpzd3TQJweOCxNBCF3a4mg0QG4pS9NA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude5.ts?Expires=169


                                                   73
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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         2058230&Signature=R83mjHLH07WWvwga8NT-
                                         JrIvMAExf37xVY3QrJOmHN-fBuAJohvGwaz-
                                         ESUi6quFC2fGNn8sgf8K79kn3iWXSMFGjereh1nXZelv6twgHEQCCmrcf53
                                         RunAwQ~p3j4P63FEfL-
                                         ksYDBYQJ4pEpAYgM6Bia4JFFy5i9FZZMWYZ8IPAmAp0-
                                         eCVFtlMx9DUns8cwcsNEnYNnhiHIjC0Un3KCN1XSuuJFLnrvz2QUWmE5
                                         hv4ahEG-
                                         et3~QVH8jZEZBkwQcOT4MsOTYRfke8viezmqt2rP7uAzuZzYOgf0Ngq0qq
                                         ZpKD6UQPz8JI4OLzcxB7RToMxfzgctsNJGFzJOKcAw__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude6.ts?Expires=169
                                         2058230&Signature=QYeZ05FhvOsdTlX4DmLfYej1q4pjeUj1Mbsg0grTXz
                                         KtRwWgpnq8loZdNXxJusEz1BjFdSviPO2cvoTzdCVf1xT9S5Ef1kmmCcIEc
                                         JMCREa985Ekdv7KU12wQAwQruyNG6psTmKxn0wbL~iNVzRc2OWelQd
                                         LrCplH9mJAnzYUbb-
                                         p6Gl9MYXBR1wRfUVhw1e4zLzGjd24kCoAXDCKTeIZdWNpifwuV9aH2I
                                         4R0RNnvRIBG1b4FMXu6voCIPYkhDrqMtYOyARjDLm5SeKHLP7RTMH
                                         Zmb75YdM91BCDnFgTaB2DGhw9yWFGGHX0-
                                         6rL8z6z6zhgGNrrBvgEqusc-3SHA__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude7.ts?Expires=169
                                         2058230&Signature=R5aDQrCZJYEdD99NGdedJ7c8npijqzEmXeNoxaQXlS
                                         2~1oPERBiu3cpkU1bmx18V7z1kBeG7n-P9XrAsdZrTSeBc5Z-
                                         OmhAt~OoW2tsbGYZwGheaZhOLi~DLew2DCbvADVgaKp-
                                         GlkC0zfQ9qafx2YJ5ZKNRvYgUYh3SSTK-


                                                   74
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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         kKTvXU0np5Yxnbfdb5wvsY5uJkqqG4JwwkVqndWxUGcm2jqfyPh4mOQIJ
                                         uiHhdLg4riLBkFxOndpYCO47p0TrOzdTGeKjIc2kour6LSvrBBE3jK9QIRxl
                                         wSgK4s0AgtlqDkqHnu~HRUoAOGTsAqpTvZR4XBnsOFzOuqsjkIqfkPagA
                                         __&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.750000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude8.ts?Expires=169
                                         2058230&Signature=BA-
                                         QTdAdakzDLy1HjCuevDl14z~Kj34Zrr~KbCdMZQUq5Mx2Pyv6TE3Tq6qI7
                                         K8IS2H2uktgoAvqXgENGa~4VvWZuM5qoNiD7T5Ji1wlla8vsu21GqGY39
                                         KMl-bCEffj1tx7HH4CKlT3~~9ej~ZenH-
                                         ~InJAXyzMraRSwe7zJBxtOzCbPg3mZthehMWNWRcnmA6a1MNs4gXETR
                                         eT1CCM4eWrFnIrNVe3JDx3a0gicvjVf8QpCGdnnyYUSr2X-a-
                                         U0t9j9g7pCc38kS5K3f~yGxsgr7sRGkA-8H2-y4JfUClu3a2s-
                                         gBUhiI0xgotJjnISiIxbYhnNky7vg7BjEXMXg__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.125000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude9.ts?Expires=169
                                         2058230&Signature=FLtl6E0j6cwYevQmDJSk~dnH~jsgrzjwXXA-
                                         P6Rqbwuoa01CxjT5UB6dGzv6uVTfevstOI3i91r3nha26H7scaVP6VPrkJxKi
                                         Nv9uG1gv6uaDUF-
                                         NFKALQ3M5PNsFi6I1EVm2MO95an~CMLfRNSMtB1tHCUEWy171oJyt
                                         MPfN~kJVa94-
                                         XjL0otyPkhPoBG~9v7Ln8lZgKLS5T7MI88QkIqNTK1BqjBK8YeysAPbrN
                                         DACytArwL9~CtJqifJtltHhG9PvidUiOR6Zz22Ewiq4cJS2-
                                         nhoT4m92FVYTptzyEi~NXZ9Gn1jRtBw-rtvvpM2YO35x3QnHMYJlpNjIg-
                                         vw__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA



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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         #EXTINF:10.666667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude10.ts?Expires=16
                                         92058230&Signature=OWlp4nApX5IFVM4ooIb~LOvRMhzdAO6deOUN9V
                                         X-DsHXDvZlkfxKwWBJJLNncNGIHHfG09L-EM4AMq~-8GX95oQFp-
                                         ZbveQTtWkF0X6pe3jVA7rkPckk8DiQNm0zzBYxMR9p6iFUhaWe2wWah-
                                         sr2i41IlhDeFg8Muw5eMfrHCkqp29jFgpFYYdXeWelEJ22qcpXIa70U1cq2H
                                         5p4WyWQN5SB0RTsE6r~4siXatSRpLpTSpnnWEgeC9pa4Y3E4Bgo5ggxyie
                                         kfXjIVBR5qqb2UlZTE9zXwNFW4nvEj3mpES59XV3axR~gdwYpATAgO3
                                         VbbfxjwQxD7AR93CPi6Km6Q__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude11.ts?Expires=16
                                         92058230&Signature=BgtrlBIoUmlNAZGP7p1u5vNLT~38Vqffgxbt6wE1hc
                                         BV3J39C0TOfHfhkuWX3GNV~B7pGiZ1GHNSh20MqY6~ZgP9pByfHx99n
                                         mnwB9T2G42cdSqmfBQzQYtz7iptZe0DKh6EiifYk6YyHaHA~YwMvSqF0
                                         FqgXFZTeKO3Ssz2xRX3Zn~UIFyAzlVyHjQ1-
                                         ompog~3S0uuylSFPNb8lhZPhXEz3wlwQEed6ku3LSBgcTUxPqTeXCI~v-
                                         G44YbyXpWxGJdPG~BHfxvgMH5oSnsmDQeQfS70-tN-
                                         38PHHII3VPEIoJfiQT0Mog1V7Cog8znmhhGTCXwCV-
                                         B3UWdy9CAhNg__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.500000,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude12.ts?Expires=16
                                         92058230&Signature=AcGGiMOj6opQRc-iQhv-
                                         t14nhy8CBRbu0kbqlL5QEsU4zB34NJGNhQZZXxk~iwPUfMeRCJeG4yphp
                                         etkk2w0HmAaV5pV1n11kWK-NV93ZRSPKyTc-
                                         9~2SY4ZQnGkYBc7x24EHbfhSqJURBDoycVnwhtnet8XuDdKoMR-

                                                   76
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                                  U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                 Example Infringement Evidence
                                         ZhtKcWmDKtsU9XhVpRm44~3a6d7GgzZHXOAqofK5IoEP21zPlJN6B6dQ
                                         twVnc-B-rQwaARTzxnztYW8tW~n19-
                                         HT9k~VNZaFlADhf1g2tOVGO8s3FF-gRlRbR-
                                         naZg93QkH~dYNuovpXagbO5WHYp4VMy52Wi1OZPHbdIqMBzW4gu1l6
                                         XA__&Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:9.916667,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude13.ts?Expires=16
                                         92058230&Signature=EylzdTyslc00Kl7V5P0yRd3q0ndKhhs9I9RP50hbVJ4E
                                         Qb39QN0fozRAJiDpxwfbGRLiCscRoibOsDnp8g45-N1Dv-
                                         l2x8Ycbkhk23cZRQHMdcj7FFbX5nfGURJlEjl3Gh0y0ghFEAOVN2b1EWT
                                         8W~EUgXwn45UnLTmBzdDbwMBexRPCKGpHQqVIPi0AxT4cVBcsZpwq
                                         v9CWxRJaJXKIU7fPKI0rm2WKOetZIPssNnlUkMeKHEJPJ4jiuUQ1B4kvD
                                         FWue41FmvaEMv8NErO3ANuCG1aLIkLJdb-
                                         ElbuwNWLep~DGNjkpSkOrDFYmCsSo1~3F~xd2k3Q8mJSDLXfqAw__&
                                         Key-Pair-Id=APKAIPJESLAK2PMGD4PA
                                         #EXTINF:10.333333,
                                         https://vcdm-
                                         cf.kidoodle.tv/361/670158/7/hls/S0E4_WorldsStrongestDude14.ts?Expires=16
                                         92058230&Signature=PezMRToTNX9fYSbmRc73fxcKXzfC~Ahxmy0o~gY
                                         b0yKA45ce57fGCLQkOTs9rLwvGKYCEBgBSLTFAAOGMnW5jCPuHzaH
                                         6J9WYNWXti2HX96KWLRLluN9-
                                         xTn8mh~ds9CX3wFKtUJXvl1kHnXtZRBAXojDk9MSGE1w82tn8D4OOJz~
                                         FmcQCx17kws4lJq0KX2Nm9G~qMPevjWHzqmPKaqZWryI5jXE8YGbhHp
                                         m9VDvolOXbtWeRISpeUtqRcyPvlEGMQsBtgT2E2IfmnXKJlPyRTR1~rR8
                                         gqYwbibmBRqlyB-
                                         y7pwKwh~ihYySUpY0YUKnpQKSUWU5HKbIeQXYWTH3g__&Key-Pair-
                                         Id=APKAIPJESLAK2PMGD4PA



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                                         U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                           Example Infringement Evidence
                                                  …
                                                  #EXT-X-ENDLIST


                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                the same alongside the status of the requests.
                 Method     Host                        Path                               …     Status
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude6.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude7.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/8/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude9.ts?...



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                                         U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                           Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/6/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv         …/7/hls/S0E4_WorldsStrongest …           Complete
                                                        Dude14.ts?...


                HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
                uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
                can receive a continuous stream of media from a server for concurrent presentation.”).
                As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
                video stream at the following bandwidths:
                      300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                      1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                      500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                      800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406

                For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                associated with the stream file path. For example:



                                                             79
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                                                  U.S. Patent No. 10,757,156 to Kidoodle


     Claim Element                                               Example Infringement Evidence
                          Bandwidth           Token4
                          300000              8.m3u8?...
                          Bandwidth
                          1800000             7.m3u8?...
                          Bandwidth
                          500000              6.m3u8?...
                          Bandwidth
                          800000              5.m3u8?...
                          Bandwidth
    [1.6] repeatedly     The End User Device repeatedly generates, by the media player, a factor relating to the performance of the
    generating, by the   network that is indicative of an ability to sustain the streaming of the video, such as network conditions and/or
    media player, a      available bandwidth.
    factor relating to
                         HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
    the performance
                         uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
    of the network
                         can receive a continuous stream of media from a server for concurrent presentation.”).
    that is indicative
    of an ability to     As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
    sustain the          video stream at the following bandwidths:
    streaming of the
    video;                     300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
                               1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
                               500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
                               800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406


4
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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                                              U.S. Patent No. 10,757,156 to Kidoodle


    Claim Element                                           Example Infringement Evidence


                     For each of these versions, the master playlist provides a link to a playlist for the specified version of the
                     selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                     associated with the stream file path. For example:
                      Bandwidth           Token5
                      300000              8.m3u8?...
                      Bandwidth
                      1800000             7.m3u8?...
                      Bandwidth
                      500000              6.m3u8?...
                      Bandwidth
                      800000              5.m3u8?...
                      Bandwidth


                     The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                     streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                     request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                     the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                     500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                     1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the




5
  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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                                        U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                        Example Infringement Evidence
                1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                the same alongside the status of the requests.
                 Method    Host                      Path                             …     Status
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude10.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude11.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude12.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude13.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …         Complete
                                                     Dude14.ts?...




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                                              U.S. Patent No. 10,757,156 to Kidoodle


 Claim Element                                               Example Infringement Evidence
                     Additionally, HLS provides that “[m]atching content in Variant Streams MUST have matching timestamps” to
                     allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media Segment in a Media Playlist has
                     an integer Discontinuity Sequence Number. The Discontinuity Sequence Number can be used in addition to the
                     timestamps within the media to synchronize Media Segments across different Renditions.” RFC 8216 at 39.
                     Thus, “[m]atching content in Variant Streams MUST have matching Discontinuity Sequence Numbers.” RFC
                     8216 at 43.

[1.7] adapting the   The End User Device adapts the successive determinations to shift the playback quality based on the factor to
successive           achieve continuous playback of the video using the streamlets of the highest quality copy of the video that is
determinations to    determined to be sustainable at that time.
shift the playback
                     HLS “allows a receiver to adapt the bitrate of the media to the current network conditions in order to maintain
quality based on
                     uninterrupted playback at the best possible quality.” RFC 8216 at 4; see also id. (“Using this protocol, a client
the factor to
                     can receive a continuous stream of media from a server for concurrent presentation.”).
achieve
continuous           As explained above, the master playlist for the instant test video—“Dude Perfect”—shows four versions of the
playback of the      video stream at the following bandwidths:
video using the
streamlets of the          300000 (referred to herein as “300000 Bandwidth”) having a resolution of 480x270
highest quality            1800000 (referred to herein as “1800000 Bandwidth”) having a resolution of 1280x720
copy of the video          500000 (referred to herein as “500000 Bandwidth”) having a resolution of 480x270
that is determined         800000 (referred to herein as “800000 Bandwidth”) having a resolution of 720x406
to be sustainable
                     For each of these versions, the master playlist provides a link to a playlist for the specified version of the
at that time; and
                     selected video program at a particular bandwidth and resolution. Each version playlist is defined by the token
                     associated with the stream file path. For example:




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                                              U.S. Patent No. 10,757,156 to Kidoodle


    Claim Element                                           Example Infringement Evidence
                      Bandwidth           Token6
                      300000              8.m3u8?...
                      Bandwidth
                      1800000             7.m3u8?...
                      Bandwidth
                      500000              6.m3u8?...
                      Bandwidth
                      800000              5.m3u8?...
                      Bandwidth


                     The End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth version of the
                     streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device switches to
                     request and receive the 300000 Bandwidth version of the streamlets. The End User Device then determines that
                     the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                     500000 Bandwidth version of the streamlets. Then, the End User Device then determines that the higher
                     1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and receives the
                     1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence” listing showing
                     the same alongside the status of the requests.
                      Method     Host                        Path                              …     Status




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  Token abbreviated for readability. The abbreviated portions of each token are the same across all bandwidth versions. The full token
identifier is shown in the original Charles file.


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                                       U.S. Patent No. 10,757,156 to Kidoodle


Claim Element                                        Example Infringement Evidence
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude6.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude7.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude8.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude9.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude10.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude11.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude12.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude13.ts?...
                 GET       vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …        Complete
                                                     Dude14.ts?...


                Additionally, HLS provides that “[m]atching content in Variant Streams MUST have matching timestamps” to
                allow Kidoodle to synchronize the media. RFC 8216 at 43. And “[e]ach Media Segment in a Media Playlist has
                an integer Discontinuity Sequence Number. The Discontinuity Sequence Number can be used in addition to the
                timestamps within the media to synchronize Media Segments across different Renditions.” RFC 8216 at 39.


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 Claim Element                                              Example Infringement Evidence
                   Thus, “[m]atching content in Variant Streams MUST have matching Discontinuity Sequence Numbers.” RFC
                   8216 at 43.

[1.8] presenting   The End User Device presents the video for playback by providing the requested streamlets in order of
the video for      ascending start time.
playback by
                   In response to requesting the first streamlet via an HTTP GET request, as shown above, the End User Device
providing the
                   accessing Kidoodle.TV receives the requested streamlet from the server via the one or more network
requested
                   connections. See e.g., RFC 8216 at 4 (“Using this protocol, a client can receive a continuous stream of media
streamlets in
                   from a server for concurrent presentation.”); id. at 5 (“To play this Playlist, the client first downloads it and then
order of
                   downloads and plays each Media Segment declared within it. The client reloads the Playlist as described in this
ascending start
                   document to discover any added segments.” ).
time.
                   For the instant test, the End User Device accessing Kidoodle.TV requests and receives the 1800000 Bandwidth
                   version of the streamlets. Upon a determination that the higher bitrate cannot be supported, the End User Device
                   switches to request and receive the 300000 Bandwidth version of the streamlets. The End User Device then
                   determines that the 500000 Bandwidth version of the streamlets can be supported, and subsequently requests
                   and receives the 500000 Bandwidth version of the streamlets. Then, the End User Device then determines that
                   the higher 1800000 Bandwidth version of the streamlets can be supported, and subsequently requests and
                   receives the 1800000 Bandwidth version of the streamlets. Below is an excerpt of the Charles “Sequence”
                   listing showing the same alongside the status of the requests.
                    Method     Host                         Path                                …     Status
                    GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                            Dude6.ts?...
                    GET        vcdm-cf.kidoodle.tv          …/7/hls/S0E4_WorldsStrongest …            Complete
                                                            Dude7.ts?...




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Claim Element                                         Example Infringement Evidence
                 GET        vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude8.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/8/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude9.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude10.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude11.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/6/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude12.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude13.ts?...
                 GET        vcdm-cf.kidoodle.tv       …/7/hls/S0E4_WorldsStrongest …          Complete
                                                      Dude14.ts?...


                Kidoodle confirms that its media player provides video playback to end user stations over a network connection
                on the Kidoodle support webpage, https://about.kidoodle.tv/faq/. There, Kidoodle troubleshoots problems end
                users may have with HLS and instructs users on how to optimize their video playback experience. See
                https://about.kidoodle.tv/faq/.




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Claim Element                                 Example Infringement Evidence




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